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                        EXHIBIT B
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                                                                                  Page 1
1
2                   IN THE UNITED STATES DISTRICT COURT
3                 FOR THE NORTHERN DISTRICT OF ILLINOIS
4                               EASTERN DIVISION
5
6      DIANE M. TRAHANAS,                        )
7                    Plaintiff,                  )
8                     vs.                        ) No. 1:15-cv-11192
9      NORTHWESTERN UNIVERSITY;                  )
10     and STEVEN J. SCHWULST, M.D., )
11                   Defendants.                 )
12
13                   Deposition of DIANE M. TRAHANAS, taken
14     before GREG S. WEILAND, CSR, RMR, CRR, pursuant to
15     the Federal Rules of Civil Procedure for the United
16     States District Court pertaining to the taking of
17     depositions, at Suite 400, 123 North Wacker Drive,
18     in the City of Chicago, Cook County, Illinois,
19     commencing at 10:13 o'clock a.m., on the 5th day of
20     January, 2018.
21
22
23
24    Reported By: Greg Weiland
25    Job No: 135524


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                                                                                  Page 2
1
2     PRESENT:
3
4     ON BEHALF OF THE PLAINTIFF:
5            JOHN P. DeROSE & ASSOCIATES
6            BY: MR. JOHN DeROSE, ESQ.
7                 15 Spinning Wheel Road
8                 Hinsdale, IL 60521
9
10
11
12
13    ON BEHALF OF THE DEFENDANTS:
14           COZEN O'CONNOR
15           BY: MS. ANNA WERMUTH, ESQ.
16                MS. DANIELLE HARRIS, ESQ.
17                123 North Wacker Drive
18                Chicago, IL 60606
19
20
21
22
23
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                                                                                  Page 3
1
2     ALSO PRESENT:
3            MS. THALIA L. MYRIANTHOPOULOS,
4                 Office of General Counsel,
5                 Northwestern University;
6            STEVEN J. SCHWULST, M.D.
7
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22                         Handbook, Bates labeled
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5                          Bates labeled Trahanas-NU000039
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18    Exhibit 11           E-mails, Bates labeled Trahanas                  96
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25                         001897


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5                          Trahanas-NU009056
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3     NUMBER                     DESCRIPTION                             PAGE
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5                          Trahanas-NU009994 through
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5                          1:19 p.m.
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21     Exhibit 55          E-mails, Bates labeled Trahanas                 335
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25                         Trahanas-NU0015


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24
25


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                                                                                 Page 14
1                                  D. Trahanas
2                              (Witness sworn.)
3                              DIANE M. TRAHANAS
4       after being first duly sworn, testified as follows:
5                                  EXAMINATION
6      BY MS. WERMUTH:
7            Q.     Hi, Ms. Trahanas.         How are you this
8      morning?
9            A.     Good.     How are you?
10           Q.     Good.     So my name is Anna Wermuth.             I
11     represent both Northwestern University and
12     Dr. Schwulst in connection with this litigation.
13                  Okay?
14           A.     Okay.
15           Q.     So let me just state for the record that
16     we are taking the deposition of the plaintiff,
17     Diane Trahanas, in Case Number 15-cv-11192 pending
18     in the Northern District Court, the U.S. District
19     Court of the Northern District of Illinois, and that
20     this deposition is being taken pursuant to both the
21     Federal Rules of Civil Procedure and the local rules
22     of the court and also pursuant to notice.
23                  So can you please state your name for the
24     record.
25           A.     Diane, middle initial M, Trahanas.


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                                                                                 Page 15
1                                  D. Trahanas
2            Q.     And what does the M stand for?
3            A.     It's just M.       There's no name associated
4      with it.
5            Q.     Okay.     And, Ms. Trahanas, have you ever
6      had your deposition taken before?
7            A.     No.
8            Q.     Have you ever testified before?
9            A.     No.
10           Q.     Okay.     So let me just go through a couple
11     of ground rules so we're all kind of working from
12     the same place today.
13                  Obviously I'm reminding you that you're
14     under oath.
15                  It is important because, as you can see,
16     we have a court reporter here who is taking down
17     everything that's being said today.               So it's
18     important that I allow you to finish your responses
19     before I start asking you the next question.
20                  Okay?
21           A.     Okay.
22           Q.     And, likewise, I would ask that you allow
23     me to finish my question before you start answering.
24     Sometimes that's hard, but I'll remind you if I'm
25     not done.      This is mainly so we can get a clear


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                                                                                 Page 16
1                                  D. Trahanas
2      record so we're not talking at the same time.
3                   Okay?
4            A.     Sure.
5            Q.     It's also important that you give verbal
6      answers, right, because, again, the court reporter
7      is taking this down and can't always take nods of
8      the head.
9                   Okay?
10           A.     Yes.
11           Q.     All right, good.         I am not going to
12     pretend like I am always the most articulate
13     examiner.      If there's a question I ask that you
14     don't understand or doesn't make sense to you, will
15     you please let me know that?
16           A.     Definitely.
17           Q.     Okay.     And if for some reason you don't
18     let me know that I'm going to assume that you
19     understood my question.
20                  Is that fair?
21           A.     Yes.
22           Q.     Your lawyer may object from time to time,
23     but as you can see there's no judge here to rule on
24     objections.      So unless your lawyer instructs you not
25     to answer a question you're going to have to answer


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                                                                                 Page 17
1                                  D. Trahanas
2      over the objection.
3                   Okay?
4            A.     Okay.
5            Q.     All right.       Let me ask you this question:
6      Are you currently on any medications?
7            A.     Yes.
8            Q.     What are you taking currently?
9            A.     I'm taking Wellbutrin.
10           Q.     What's the dosage?
11           A.     300 milligrams.
12           Q.     And how frequently?
13           A.     Once a day in the morning.
14           Q.     Okay.     So you took that this morning?
15           A.     Yes.
16           Q.     And what does Wellbutrin treat?
17           A.     Depression.
18           Q.     Okay.     And what time this morning did you
19     take it?
20           A.     7:30.
21           Q.     All right.       Any other medications?
22           A.     Adderall XR.
23           Q.     What's the dosage?
24           A.     25 milligrams.
25           Q.     How frequently?


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1                                  D. Trahanas
2            A.     Once a day about five times a day -- I'm
3      sorry, five times a week.
4            Q.     Not every day?
5            A.     No.
6            Q.     Okay.     And which days of the week do you
7      take it?
8            A.     Monday through Friday.
9            Q.     And you took that this morning as well?
10           A.     Yes.
11           Q.     7:30?
12           A.     Yes.
13           Q.     And what does that treat?
14           A.     ADHD.
15           Q.     Okay.     Any other medications?
16           A.     I take -- I haven't taken it this morning.
17     Is that still --
18           Q.     Yes.
19           A.     Clonazepam.       That's 1 milligram.
20           Q.     How many times?
21           A.     As needed.       It could be once a day, it
22     could be twice or not at all.
23           Q.     And today you did not take it?
24           A.     I have not, no.
25           Q.     And what does clonazepam treat?


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                                                                                 Page 19
1                                  D. Trahanas
2            A.     Anxiety.
3            Q.     Okay.     Any other medications?
4            A.     No.
5            Q.     Does the Wellbutrin or Adderall impact
6      your ability to recall events?
7            A.     No.
8            Q.     Okay.     Is there anything, any substance,
9      alcohol or any other substance that you've had in
10     the last 24 hours that could impact your ability to
11     recall events accurately and truthfully?
12           A.     No.
13           Q.     Is there anything that I should know about
14     that would impact your ability to testify accurately
15     and truthfully today?
16           A.     No.
17           Q.     All right.       Did you review any documents
18     to prepare for your deposition today?
19           A.     As you have sent over the Bates stamps
20     I've gone over those, but, I mean, not specifically
21     yesterday or anything like that.
22           Q.     Okay.     Did you speak with anybody other
23     than your lawyer to prepare for your deposition
24     today?
25           A.     I've spoken to them but not to prepare.


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                                                                                 Page 20
1                                  D. Trahanas
2            Q.     Okay.
3            A.     About the trial, but not about -- or about
4      the case rather.
5            Q.     Okay.     So let me ask you this:           Did you
6      meet with your -- and I don't want you to tell me
7      what you and your lawyer talked about, but did you
8      meet with your lawyer to prepare for your
9      deposition?
10           A.     I'm not sure what you mean by "prepare,"
11     but he gave me a general idea of what was going to
12     happen.
13           Q.     Again, I don't want to know about the
14     content of your discussion.
15           A.     Sure.
16           Q.     I just want to know, did you spend time
17     with your lawyer preparing for your deposition
18     today?
19           A.     Sure.
20           Q.     Okay.     And was that yesterday?
21           A.     No.
22           Q.     When was that?
23           A.     Wednesday.
24           Q.     Wednesday.
25           A.     The 3rd.


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                                                                                 Page 21
1                                  D. Trahanas
2            Q.     And how much time did you spend with your
3      lawyer?
4            A.     Probably an hour.
5                   MR. DeROSE:       I'll say two hours because
6      I'm keeping track of my hours, and I don't want to
7      get hooked on this later.
8                   THE WITNESS:       Okay, two.
9      BY MS. WERMUTH:
10           Q.     You recall one hour?
11           A.     It was an hour, an hour and a half --
12           Q.     Okay.
13           A.     -- at most.
14           Q.     Okay.
15                  MR. DeROSE:       It was two hours at most.
16                  THE WITNESS:       Sure, two.
17     BY MS. WERMUTH:
18           Q.     All right.       Let me ask you this:          You said
19     that you have spoken with folks about the trial or
20     the case, the litigation.
21                  Can you identify who you've spoken with
22     for me, please?
23           A.     My mom, Christina Trahanas.
24           Q.     Okay.     Anyone else?
25           A.     My brother, Jim Trahanas.


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                                                                                 Page 22
1                                  D. Trahanas
2              Q.    Okay.    Anyone else?
3              A.    As of recently, or are you talking about
4      anything that happened during the case, like during
5      the time of?
6              Q.    Since you've left the employment of
7      Northwestern University.
8              A.    Since Northwestern?
9              Q.    Yes.
10           A.      Sure.    Renee Davros.
11           Q.      Who is Renee Davros?
12           A.      She is my friend.
13           Q.      She did not work for Northwestern?
14           A.      No.
15                   Nicki Davros.
16           Q.      Who is Nicki Davros?
17           A.      Also my friend.
18           Q.      She did not work for Northwestern?
19           A.      No.
20                   Dimitra Stamatoukos.
21                   MR. DeROSE:      Would you spell that, please?
22                   THE WITNESS:      Yes.     D-i-m-i-t-r-a.
23     BY MS. WERMUTH:
24           Q.      And what's the last time?           Can you spell
25     that?


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                                                                                 Page 23
1                                  D. Trahanas
2            A.     S-t-a-m-a-t-o-u-k-o-s.           She has been
3      married, so I'm not sure if she changed it to her
4      married.     Her last name is Freehill.
5            Q.     F-r --
6            A.     Free and then hill.
7                   MR. DeROSE:       Excuse me one second.           You
8      tend to talk real fast.           She might not get worn out
9      listening, but the court reporter will get worn out
10     trying to take you down.           Slow down.       She has got a
11     lot of questions for you.            You're going to be here
12     for a while.
13                  THE WITNESS:       Okay.
14                  MR. DeROSE:       Talk slowly.
15                  THE WITNESS:       Okay.     Sorry about that.
16     BY MS. WERMUTH:
17           Q.     No apologies.        Dimitra Freehill.
18                  Who else?
19           A.     Seth Wescott.
20           Q.     Who is Seth Wescott?
21           A.     He is a friend from since college.
22           Q.     Okay.     Did not work at Northwestern?
23           A.     No.    He's in the Navy right now.
24           Q.     Who else?
25           A.     Mike and Lisa Psarros.           They're my


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                                                                                 Page 24
1                                  D. Trahanas
2      cousins.
3                   MR. DeROSE:       Spell the last name.
4                   THE WITNESS:       P-s-a-r-r-o-s.
5      BY MS. WERMUTH:
6            Q.     Cousins?
7            A.     Yes.
8            Q.     Mike is also your tax preparer; is that
9      right?
10           A.     Yes.
11           Q.     Okay.     Anyone else?
12           A.     Nick Giangrande, G-i-a-n-g-r-a-n-d-e.
13           Q.     Okay.     And who is Nick?
14           A.     He's a friend.
15           Q.     Did not work at Northwestern?
16           A.     Did not, no.
17           Q.     Anyone else?
18           A.     Would just kind of notifying somebody,
19     would that count?
20           Q.     Yes.    So when you say you've notified
21     somebody, are you talking about you've given them
22     notification by way of written notification, like a
23     text, an e-mail?
24           A.     I chatted with them about there's going to
25     be a case going on and --


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                                                                                 Page 25
1                                  D. Trahanas
2            Q.     So who are you talking about?
3            A.     Salina Dominguez.
4                   MR. DeROSE:       Can you spell the last name?
5                   THE WITNESS:       Sure.     D-o-m-i-n-g-u-e-z.
6      BY MS. WERMUTH:
7            Q.     Okay.     And she currently works at
8      Northwestern?
9            A.     I believe so, yes.
10           Q.     And she worked at Northwestern at the time
11     that you --
12           A.     Yes.
13           Q.     -- worked at Northwestern?
14           A.     Her position has changed.
15                  MR. DeROSE:       Just wait until counsel
16     finishes the question.
17                  THE WITNESS:       Okay.
18     BY MS. WERMUTH:
19           Q.     Okay.     When you say you chatted with her,
20     by what means?
21           A.     Over the phone.
22           Q.     And when did you last chat with her?
23           A.     Probably October.         I think it was around
24     the time of Halloween.
25           Q.     This past October?


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                                                                                 Page 26
1                                  D. Trahanas
2            A.     Yes.
3            Q.     Of 2017?
4            A.     Of 2017, correct.
5            Q.     Have you communicated with her in any way
6      other than through telephonic discussions?
7            A.     About the case or in general?
8            Q.     About the case.
9            A.     The case, I believe we sent the text
10     messages that I had communicated with her but not at
11     the time in October.
12           Q.     Okay.     So have you communicated with her
13     by text message about your lawsuit or any of the
14     incidents involved in your lawsuit?
15           A.     I perhaps sent her a text in alliance with
16     the phone call.        I can't remember because I also
17     texted Carla Cuda, and I think that I -- I know I
18     texted Carla, but I can't remember if I texted
19     Salina only or if I called her.
20                  MR. DeROSE:       And could you spell
21     Ms. Cuda's last name?
22                  THE WITNESS:       Sure.     C-u-d-a.      She has
23     since been married also, so I'm not sure if she's
24     changed it, but I think she still goes by Cuda.
25


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                                                                                 Page 27
1                                  D. Trahanas
2      BY MS. WERMUTH:
3            Q.     And does Carla still work for Northwestern
4      University?
5            A.     She does.
6            Q.     And she worked there when you worked
7      there --
8            A.     Yes.
9            Q.     -- as well?
10                  Anyone else that you have spoken with
11     about either the incidents involved in your lawsuit
12     that form the basis of your lawsuit or the
13     litigation itself?
14           A.     Melissa Wallin.
15           Q.     And that's spelled W-a-l-l-i-n?
16           A.     Correct.
17           Q.     Okay.     Does she still work at
18     Northwestern?
19           A.     She does not.
20           Q.     She used to?
21           A.     Yes.
22           Q.     Do you know when she left?
23           A.     I believe late 2015.
24           Q.     Okay.     And you've stayed in touch with her
25     since that time?


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                                                                                 Page 28
1                                  D. Trahanas
2            A.     Yes.
3            Q.     And do you communicate with her by text
4      message as well as phone conversations?
5            A.     Yes, that would be correct.
6            Q.     Any other form of communication with
7      Melissa, Carla and Salina, like Facebook Messenger
8      or Facebook posts, Instagram, Snapchat?
9            A.     No, other than liking one of their
10     pictures or something, but nothing to do with this,
11     nothing in conjunction with this case.
12           Q.     Okay.     Any other individuals?
13           A.     I think that covers -- I think that's it.
14           Q.     Now, as you mentioned, you did produce
15     some text messages between yourself and Salina
16     Dominguez and then separately between yourself and
17     Melissa Wallin, Wallin --
18           A.     I think it's Wallin.
19           Q.     -- some dated February of 2015, but I have
20     not seen any text messages other than those that
21     were I think the same day as the day that you went
22     on leave on February 17 of 2015.
23                  Do you have other text messages between
24     these individuals about your litigation, the
25     lawsuit, the claims in your Complaint?


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                                                                                 Page 29
1                                  D. Trahanas
2            A.     Not before that obviously; and then after
3      that, not that I can scroll back and find.                  I would
4      have to -- I tried to call my phone company, but
5      they won't go back as far as that, so there would
6      have to be another means of me trying to see.                   I
7      can't recall any.
8            Q.     What about October of 2017?
9            A.     Oh, yes, I can send you those or give you
10     the one that I sent Carla.
11           Q.     Okay.
12                  MR. DeROSE:       Counsel, for those kind of
13     requests, would you put that in a letter to me, and
14     I'll remind her to get them to me and I will get
15     them to you.
16     BY MS. WERMUTH:
17           Q.     So let me ask you this -- I will certainly
18     follow up with a 37.2 letter, John.
19                  Can I ask you about what you did to
20     collect documents and electronically-stored
21     information in connection with this litigation?
22           A.     What I did as far as -- I mean, I had a
23     folder from work, and basically whatever I had in
24     the folder I gave John or my attorney.
25           Q.     Okay.


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                                                                                 Page 30
1                                  D. Trahanas
2            A.     And then I tried to search through my
3      e-mails anything Northwestern, but I can't produce
4      as many as Northwestern can because the e-mails that
5      I had written, a lot of them that I'd written was
6      via my Northwestern account.             We get an e-mail
7      account once we start working there.                And so I no
8      longer have access to that account.
9            Q.     Do you currently have the same Gmail
10     account -- you have a Gmail account, right?
11           A.     Yes, yes.
12           Q.     And is that the same e-mail account that
13     you had while you were employed at Northwestern?
14           A.     Yes.
15           Q.     And it was an e-mail account that you used
16     for some work-related purposes, correct?
17           A.     Yes.
18           Q.     Okay.     And you searched your Gmail account
19     in connection with the document requests that were
20     sent to you?
21           A.     Yes.
22           Q.     Okay.     And what did you do, like what
23     search terms did you use to search for documents?
24           A.     People's names, like Dr. Schwulst,
25     Dr. Perlman or Harris, Salina, pretty much anybody


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                                                                                 Page 31
1                                  D. Trahanas
2      that worked in the lab.
3            Q.     Okay.
4            A.     If there was a specific event that I
5      recalled.
6            Q.     So primarily you were searching for names.
7      Do I understand that correctly?
8            A.     Yes.
9            Q.     And the names that you were searching for
10     were anyone who worked in the lab?
11           A.     In the lab, also with Ms. Fernandez, Daina
12     Fernandez.
13           Q.     Okay.
14           A.     And Mrs. or Ms. Burke.           I'm not sure if
15     either are married.
16           Q.     B-u-r-k-e?
17           A.     Yes.
18           Q.     Fernandez, F-e-r-n-a-n-d-e-z?
19           A.     Yes.
20           Q.     What's your date of birth?
21           A.     July 17th, 1985.
22           Q.     And where do you live?           What's your
23     residential address?
24           A.     10602 South Vicky Lane, V-i-c-k-y.
25           Q.     And do you live with anyone?


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                                                                                 Page 32
1                                  D. Trahanas
2            A.     I live with my parents.
3            Q.     Your parents live together?
4            A.     Yes.
5            Q.     Are they divorced?
6            A.     They are not.
7            Q.     How long have you lived at that
8      residential address?
9            A.     We moved there probably right as I turned
10     one, so 30 -- I moved away for college and then I
11     moved back, so I'm not sure.             Do you want me to
12     include the college years?
13           Q.     That's okay.       So you've lived with your
14     parents --
15           A.     Correct.
16           Q.     -- your whole life except for when you
17     were at college?
18           A.     Correct.
19           Q.     Okay.     And so do you assist with household
20     expenses?      Do you pay rent?
21                  Let me ask you this:          Do you pay rent?
22           A.     I do not pay rent, no.           I pay for my own
23     groceries.
24           Q.     Do you pay utilities?
25           A.     Not directly.


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                                                                                 Page 33
1                                  D. Trahanas
2            Q.     Okay.     Are you an owner of the home?
3            A.     I am not.
4            Q.     Do you own any vehicles?
5            A.     Yes.
6            Q.     What vehicles do you own?
7            A.     A 2017 Acura.
8            Q.     What about a motorcycle?
9            A.     Yes.
10           Q.     What kind of motorcycle?
11           A.     It's a Honda.        Do you want me to give you
12     the specific?
13           Q.     That's okay.       Do you have payments on
14     those two vehicles, or do you own them?
15           A.     I have payments on the Acura.              I own the
16     motorcycle.
17           Q.     Okay.     And what are the monthly payments
18     on the Acura?
19           A.     500.
20           Q.     Is it a lease or is it a loan?
21           A.     It's a loan through the car company.
22           Q.     And what is your educational background?
23     What degrees do you have?
24           A.     I did my Bachelor's of Science in biology.
25           Q.     Okay.     Where did you obtain that degree?


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                                                                                 Page 34
1                                  D. Trahanas
2            A.     At the University of Illinois at Chicago.
3            Q.     What year?
4            A.     In 2007, and then a Bachelor of Arts in
5      psychology at the same school.
6            Q.     Okay.
7            A.     In 2007 as well, and then a Master's of
8      Science in biotechnology at Rush University.
9            Q.     What year did you obtain your Master's?
10           A.     2009.
11           Q.     And do you know off the top of your head
12     what your GPA for your biology degree was?
13           A.     3.2, between a 3 and a 3.2 I would say.
14           Q.     You don't know precisely sitting here as
15     you speak?
16           A.     I would guess more 3.2, but just so I'm
17     not -- I just want to be as accurate as I can.
18           Q.     What about your Bachelor's in psychology?
19           A.     3.8.
20           Q.     And what about your Master's?
21           A.     3.77.
22           Q.     And are you currently in school?
23           A.     I -- not this semester.           I did take a
24     class.
25           Q.     When did you take a class?


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                                                                                 Page 35
1                                  D. Trahanas
2             A.    Last fall.
3             Q.    Where?
4             A.    I'm sorry, last -- this is 2017, so 2016
5      at Moraine Valley.
6             Q.    So, I'm sorry, so in the fall of 2016 --
7             A.    Correct.
8             Q.    -- you took a single class?
9             A.    Correct.
10            Q.    At Moraine Valley?
11            A.    Yes.
12            Q.    Is that a community college?
13            A.    Yes.
14            Q.    Okay.     And what was the class?
15            A.    Anatomy and physiology and lab.
16            Q.    The lab was attendant to the class?
17            A.    Lecture, yes.
18            Q.    And how did you perform?
19            A.    I received an A in both the lab and
20     lecture.
21            Q.    And why did you not continue taking
22     classes?
23            A.    There's certain programs that require
24     certain electives, and I had not taken anatomy at
25     UIC.    So one, I wanted to better prepare myself in


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                                                                                 Page 36
1                                  D. Trahanas
2      case I go back to school or when I go back to
3      school, and it was a requirement for some of the
4      schools that I would be applying to.
5            Q.     When you say a requirement of the program
6      or a requirement of the school that I would be
7      applying to, what are you referring to?
8            A.     Medical schools.
9            Q.     Okay.     Have you applied to medical school
10     before?
11           A.     Since 2015?
12           Q.     Ever.
13           A.     Yes.
14           Q.     How many times?
15           A.     Three, maybe four.
16           Q.     When was the first time?
17           A.     2008, 2009.
18           Q.     For the '08-'09 academic year?
19           A.     I applied -- I probably applied starting
20     my Master's for matriculation in 2009.
21           Q.     Okay.     And were you accepted anywhere?
22           A.     No.
23           Q.     Okay.     And then when did you apply the
24     second time?
25           A.     I believe that would be my time when I was


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                                                                                 Page 37
1                                  D. Trahanas
2      at Northwestern, the 2014.            So you apply 2014 for
3      matriculation starting fall of 2015.
4            Q.     And you did actually apply that year?
5            A.     Yes.
6            Q.     You completed your application?
7            A.     Yes.
8            Q.     Okay.     All right.      And when was the next
9      time?
10           A.     Fall of 2017.
11           Q.     So you're in the application process now?
12           A.     Correct, right now.
13           Q.     Okay.     And you said three or four times.
14     Was there a fourth time?
15           A.     I took such a break in between the
16     Master's and working I can't precisely say if I had
17     or hadn't.      So I think check with AMCAS, and if
18     you'd like me to send that with John in the
19     letter --
20           Q.     Yes, I would.        We actually made a request
21     for those documents.
22           A.     Sure, no problem.
23           Q.     I'm going to need those.
24                  And, John, just depending what those
25     documents show, we may have to agree to keep the


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                                                                                 Page 38
1                                  D. Trahanas
2      deposition open just because I didn't get the
3      documents.
4                   MR. DeROSE:       Could you give me all the
5      documents you're --
6                   MS. WERMUTH:       Certainly.
7                   MR. DeROSE:       Very well.
8      BY MS. WERMUTH:
9            Q.     Okay.     So immediately prior to working --
10     strike that.
11                  What is Express Hair Studios?
12           A.     That's my mother's salon.
13           Q.     A hair salon?
14           A.     Yes.
15           Q.     Do you work there?
16           A.     I help her.       I don't -- I'm not employed
17     there.
18           Q.     Okay.     Have you ever received any wages
19     from Express Hair?
20           A.     No, I have not.
21           Q.     Do you have an ownership interest?
22           A.     No.
23           Q.     Now, you first started working at
24     Northwestern University in the summer of 2012.
25                  Is that accurate?


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                                                                                 Page 39
1                                  D. Trahanas
2            A.     Yes.
3            Q.     Okay.     Now, you had applied to various
4      jobs, research-type jobs at Northwestern University
5      starting in 2010.
6                   Does that sound right to you?
7            A.     Yes.
8            Q.     Okay.     So you applied to several jobs in
9      2010, correct?
10           A.     Yes.
11           Q.     You did not get any of those jobs?
12           A.     No.    I did have an interview prior to
13     interviewing with Dr. Schwulst.              However, I'm not
14     sure what year that -- that application may have
15     been submitted in 2011, but I was interviewed in
16     2012 for another position at Northwestern.
17           Q.     Okay.     So between 2010 and the time that
18     you were hired by Dr. Schwulst, how many different
19     jobs at Northwestern did you apply to?
20           A.     Between 2010 and 2012, if I had to take a
21     guess, maybe --
22                  MR. DeROSE:       Don't talk out -- excuse me,
23     don't think out loud because the reporter takes
24     everything down.
25                  MS. WERMUTH:       Excuse me.


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                                                                                 Page 40
1                                  D. Trahanas
2                   MR. DeROSE:       Just when you're ready to
3      answer, answer.
4                   MS. WERMUTH:       Let's try to refrain from
5      informing the witness how to answer questions.                   I
6      understand -- if you want to take a break and if at
7      any point in time you need a break, please let me
8      know.    I'm happy to accommodate folks with breaks.
9      But let's just be careful about instructing the
10     witness during the examination.
11                  MR. DeROSE:       Counsel, I don't need to be
12     lectured by you as to how to take a deposition.
13     When I want to talk to my client I will.                 The record
14     will reflect if I am correct or wrong in doing so.
15     You may make your objection to it.
16                  Right now may go ahead and ask your
17     question, Counsel.
18                  MS. WERMUTH:       Well, first of all, I wasn't
19     lecturing anybody.         I want -- you know, this is --
20     and you are not taking the deposition.                I'm taking
21     the deposition, and I don't need your permission to
22     ask questions.
23                  So all I'm suggesting is that if you want
24     to give your client instructions you should do so
25     off the record; that while a question is pending


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                                                                                 Page 41
1                                  D. Trahanas
2      it's not appropriate to do that.              That's all I'm
3      suggesting.        We don't have to argue about it.             I
4      just want to -- I'd like to --
5                   MR. DeROSE:       Very well, Counsel.          I am
6      trying to help you make a good record here.                  But
7      I'll refrain.        You go ahead.
8                   But I will tell my client first, and if
9      you want to step out while I do it, fine.                 I want
10     you not to be thinking out loud.              I want you only to
11     wait and then answer the question when you're
12     firmly -- when you have it firmly in your mind.
13                  Go ahead, Counsel.          I'm through.
14                  MS. WERMUTH:       Okay.     And I will state for
15     the record again I think it is inappropriate for you
16     to advise your client during the course of a
17     deposition; I'm going to make that clear.                 And if it
18     continues, we will take it up as we need to.
19     BY MS. WERMUTH:
20           Q.     All right.       So how many times to the best
21     of your recollection did you apply to jobs at
22     Northwestern University before you were hired in
23     2012?
24           A.     15.
25           Q.     Okay.     And you got two interviews, one


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                                                                                 Page 42
1                                  D. Trahanas
2      with Dr. Schwulst and -- is that right?
3            A.     Yes.
4            Q.     So one was with Dr. Schwulst and the other
5      was with whom?
6            A.     I don't recall his name, but I can give
7      you the building and the projects that they were
8      working on.
9            Q.     Okay.
10           A.     It was in the Robert H. Lurie building.
11           Q.     Okay.
12           A.     And they worked on nanotechnology with
13     cancer.
14           Q.     Were you offered that job?
15           A.     I can't remember if Dr. Schwulst offered
16     me a job before they did.
17           Q.     So my question is, did you get a job offer
18     from this other lab?
19           A.     No.
20           Q.     Okay.     And the job that you applied for at
21     Northwestern University was Research Technologist 2;
22     is that correct?
23           A.     For Dr. Schwulst or -- yes.
24           Q.     I'm sorry, good question.
25                  So the job that you applied for in


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                                                                                 Page 43
1                                  D. Trahanas
2      Dr. Schwulst's lab was Research Technologist 2?
3              A.    Yes.
4              Q.    Okay, thank you.        And at the time that you
5      applied were you working anywhere else?
6              A.    Yes.
7              Q.    Where were you working?
8              A.    The University of Chicago.
9              Q.    What were you doing at the University of
10     Chicago?
11           A.      I was a research tech there.
12           Q.      And did you voluntarily leave that
13     position?
14           A.      Yes.
15           Q.      What was your pay at the time that you
16     left?
17           A.      15 an hour.
18           Q.      And what was your position there?
19           A.      Research -- Lab Technician 1.
20           Q.      And that position, do you know, was that a
21     position that was funded by a grant, if you know?
22           A.      Most likely, yes.
23           Q.      And why do you say "most likely"?
24           A.      Most research projects at academic
25     institutions are grant-based.


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                                                                                 Page 44
1                                  D. Trahanas
2            Q.     Okay.     Did you interview with
3      Dr. Schwulst?
4            A.     Yes.
5            Q.     And do you recall when you interviewed
6      with Dr. Schwulst?
7            A.     May of 2012.
8            Q.     Did you interview with anyone else for the
9      job in Dr. Schwulst's lab?
10           A.     Yes.    I met with a few others that were
11     already in the lab with Dr. Perlman's lab.
12           Q.     And who were those individuals?
13           A.     Rana.
14           Q.     What's her last name?
15           A.     Saber, S-a-b-e-r.
16           Q.     Okay.     Anyone else?
17           A.     Alexander Misharin, M-i-s-h-a-r-i-n.
18           Q.     Anyone else?
19           A.     Dr. Perlman, Harris Perlman.
20           Q.     Anyone else?
21           A.     Carla Cuda.
22                  MR. DeROSE:       Spell that.
23                  THE WITNESS:       C-u-d-a last name.
24     BY MS. WERMUTH:
25           Q.     Anyone else?


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                                                                                 Page 45
1                                  D. Trahanas
2              A.    That's all I can recall.
3              Q.    Okay.    So Dr. Perlman, obviously he's a
4      Ph.D.; is that right?
5              A.    Yes.
6              Q.    Okay.    What about Alexander Misharin, a
7      Ph.D.?
8              A.    Yes.
9              Q.    Okay.    Was he a faculty member, do you
10     know?
11           A.      I believe he is an associate professor.
12     I'm not sure if that qualifies him as faculty.
13           Q.      Okay.    What about Rana or Rana Saber, is
14     she a Ph.D.?
15           A.      She has a Master's, I believe.             I wouldn't
16     know in what.
17           Q.      Okay.    And what about Carla Cuda?
18           A.      She has her Ph.D.
19           Q.      Do you know, is Carla faculty also?
20           A.      I think she would be the same as
21     Alexander, but I'm not sure.             I don't remember them
22     teaching.
23           Q.      What about Dr. Perlman, was he faculty at
24     the university?
25           A.      I believe so.


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                                                                                 Page 46
1                                  D. Trahanas
2             Q.    When you interviewed with Dr. Schwulst,
3      did you have any conversation with him about your
4      pay, your pay expectations?
5             A.    No, not that day.
6             Q.    Okay.     At some point -- how would you --
7      strike that.
8                   At some point did you talk with
9      Dr. Schwulst about your pay expectations?
10            A.    Yes, after the interview.
11            Q.    After the interview.          And when did that
12     conversation take place about the pay?
13            A.    It took place starting over e-mail to set
14     up a phone call conversation, and then he called me
15     and we spoke about it over the phone.
16            Q.    And what do you recall saying to him about
17     pay?
18            A.    We were negotiating.
19            Q.    Did you tell him that your expectation was
20     to be paid somewhere in the 20 to $23 per hour
21     range?
22            A.    I believe so.
23            Q.    And did he tell you about how the --
24     whether the position was a funded position?
25            A.    I don't remember specifically.


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                                                                                 Page 47
1                                  D. Trahanas
2            Q.     Okay.     Now, when you ultimately joined
3      Dr. Schwulst's lab, you understood that he was being
4      mentored as a young scientist by Dr. Perlman; is
5      that right?
6            A.     Yes.
7            Q.     Okay.     So Dr. Schwulst's lab was set up
8      within the confines of Dr. Perlman's lab; is that
9      right?
10           A.     Yes.
11           Q.     Okay.     And so there was some sharing of
12     equipment; is that right?
13           A.     Yes.
14           Q.     Okay.     And the two labs were ultimately
15     studying different systems in the human body, right?
16           A.     Can I ask you what you mean specifically
17     by "systems"?
18           Q.     So let me ask you this:           Dr. Perlman is a
19     rheumatologist?
20           A.     Yes.
21           Q.     And what is Dr. Schwulst?
22           A.     He's a trauma surgeon, and we were
23     interested in traumatic brain injury.
24           Q.     Okay.     So Dr. Perlman wasn't necessarily
25     studying -- well, both labs were studying white


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                                                                                 Page 48
1                                  D. Trahanas
2      blood cells as I understand it?
3            A.     We were studying the immune system.
4            Q.     But for looking at different anatomical
5      systems.     So, for example, you and Dr. Schwulst were
6      looking at the brain, correct?
7            A.     Sure.     Like prior to analysis of let's say
8      the immune system our prior functions were different
9      as a rheumatologist and then Dr. Schwulst as a
10     trauma surgeon.
11           Q.     As a trauma surgeon?
12           A.     Yes.
13           Q.     Okay.     And so you were the only person in
14     the lab that reported directly to Dr. Schwulst,
15     right?
16           A.     Yes.
17           Q.     Okay.     So you were hired to help
18     Dr. Schwulst with his research, right?
19           A.     Yes.
20           Q.     Okay.     Which was distinct from
21     Dr. Perlman's research?
22           A.     Yes.
23           Q.     So the reason you were in Dr. Perlman's
24     lab, however, is because Dr. Schwulst was a junior
25     scientist who needed to have a mentor with respect


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                                                                                 Page 49
1                                  D. Trahanas
2      to the development of his own scientific research?
3            A.     Yes.
4            Q.     Okay.     And so, for example, Rana, Carla
5      and Sasha I think Alexander --
6            A.     Yes.
7            Q.     -- all worked for Dr. Perlman?
8            A.     Correct.
9            Q.     Okay.     And when you joined Dr. Schwulst's
10     lab, you were aware that he did not yet have any NIH
11     funding for the work that he was doing, correct?
12           A.     No, after a few months when I knew we were
13     applying for an NIH grant, but in terms of when I
14     started if I knew that, I don't think so.
15           Q.     Okay.     So at some point you became aware
16     of the fact that his research was not yet funded by
17     the federal government?
18           A.     By NIH, yes, correct.
19           Q.     NIH, okay.       All right.      Do you know what
20     his funding sources were prior to obtaining NIH
21     funding?
22           A.     I did not.
23           Q.     Okay.     When you told Dr. Schwulst what
24     your salary requirements or desires were, what did
25     he say to you?


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                                                                                 Page 50
1                                  D. Trahanas
2            A.     Are you referring specifically to that pay
3      amount that you gave me or --
4            Q.     Well, so you testified that you told
5      Dr. Schwulst you were looking for somewhere between
6      20 and $23 per hour, correct?
7            A.     Correct.
8            Q.     Okay.     How did Dr. Schwulst respond to
9      that?
10           A.     He said that what he would like to do is
11     he actually counteroffered me I believe 17, and so I
12     told him that that was too low.
13           Q.     When you say he countered at 17, what was
14     his initial offer?
15           A.     Well, I think I began with, you know, I
16     wanted 20, 23, because I think in an e-mail I gave
17     him an idea prior to our phone call ballpark of at
18     least the yearly salary that I would expect, which
19     would fall under that amount, 20 or 23 an hour.
20           Q.     Okay.     And he countered with 17?
21           A.     I believe so, yes.
22           Q.     And you said that's not enough?
23           A.     I said -- I was trying to negotiate, so I
24     believe I countered with 21, and then we ended up
25     agreeing with 19.


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                                                                                 Page 51
1                                  D. Trahanas
2            Q.     Okay.     And then you agreed to accept the
3      job; is that right?
4            A.     Yes, with the stipulation that after six
5      months if we got along and if we were making
6      progress we would go back to the issue.
7            Q.     Of pay?
8            A.     And talk about it, yes.
9            Q.     And then you were given formal
10     notification of the offer and acceptance?
11           A.     Yes.
12                  MS. WERMUTH:       Mr. Court Reporter, can we
13     mark this, please, as Exhibit 1.
14                                (Exhibit 1 was marked for
15                                identification.)
16     BY MS. WERMUTH:
17           Q.     Okay.     Ms. Trahanas, I've given you now
18     what's been marked as Deposition Exhibit Number 1.
19                  Do you recognize that document?
20           A.     Yes.
21           Q.     And have you seen that letter before?
22           A.     Yes.
23           Q.     So that was a letter that you received on
24     or about May 21st of 2012 regarding the contours of
25     your job at Northwestern; is that right?


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                                                                                 Page 52
1                                  D. Trahanas
2            A.     Yes.
3            Q.     Okay.     And it has in here a start date of
4      June 11th, 2012.
5                   Do you see that?
6            A.     Yes.
7            Q.     And is that when you actually started at
8      the university?
9            A.     Yes.
10           Q.     Okay.     And it says in the next sentence --
11     well, it says above that that you were being -- that
12     you had accepted the offer to work as a Research
13     Technologist 2.
14                  Do you see that?
15           A.     Yes.
16           Q.     Okay.     And you understood that to be your
17     position at the time, correct?
18           A.     Yes.
19           Q.     Okay.     And then in the next sentence it
20     says your compensation will be $19 per hour.
21                  Do you see that?
22           A.     Yes.
23           Q.     Okay.     So that was your starting pay?
24           A.     Yes.
25           Q.     That's accurate?


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                                                                                 Page 53
1                                  D. Trahanas
2            A.     Yes.
3            Q.     And then the letter goes on to say you
4      will be eligible for a salary review based on your
5      performance in September 2013.
6                   Do you see that?
7            A.     Yes.
8            Q.     Okay.     So that informed you that the first
9      time you could get your salary reviewed would be not
10     six months later but about 14 months later.
11                  Do you see that?
12           A.     Yes.
13           Q.     Okay.     And you didn't take issue with that
14     at the time?
15           A.     I probably didn't think that this would
16     override Dr. Schwulst's word.
17           Q.     So here's my question.           You didn't take
18     that issue up with HR at the time, correct?
19           A.     No.
20           Q.     Okay.     And you didn't take it up with
21     Dr. Schwulst at the time that you received this
22     letter?
23           A.     No.
24           Q.     Okay.     All right.      So when you started
25     working at Northwestern you were required to fill


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                                                                                 Page 54
1                                  D. Trahanas
2      out some forms and an application; is that right?
3      Do you remember?
4            A.     I'm sorry, can you restate it, the
5      beginning part at least?
6            Q.     Sure.     So once you actually started
7      working at Northwestern University you were required
8      to fill out a job application; is that right?
9            A.     Yes.
10           Q.     Okay.     And you were also required to fill
11     out a Personal Data Form.
12                  Does that sound familiar to you?
13           A.     Yes.
14           Q.     And you actually filled these documents
15     out on your first day of work.
16                  Does that sound right to you?
17           A.     I can't specifically say if it was
18     June 11th.      We had like an orientation day, and I'm
19     not sure if that was assigned or how much -- it was
20     in the beginning.         It was definitely in June, but I
21     can't specifically testify that it was June 11th.
22           Q.     Okay.     Fair enough.
23                  Can we have this marked as 2, please.
24                                (Exhibit 2 was marked for
25                                identification.)


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                                                                                 Page 55
1                                  D. Trahanas
2      BY MS. WERMUTH:
3            Q.     Okay.     So you've now been handed what's
4      been marked as Deposition Exhibit Number 2.
5                   Do you recognize that document,
6      Ms. Trahanas?
7            A.     Yes.
8            Q.     Okay.     And is that your signature down
9      sort of two-thirds of the way down where it says
10     Employee's Signature?
11           A.     Yes.
12           Q.     Okay.     And the date looks like it was
13     6/11/12; is that right?
14           A.     Correct.
15           Q.     Okay.     And is this your handwriting on
16     this form?
17           A.     Yes.
18           Q.     So you completed this form, correct?
19           A.     Yes.
20           Q.     And let me just note for the record that I
21     see your social security number is here, and we will
22     make sure that that gets redacted --
23           A.     Thank you.
24           Q.     -- insofar as it's used in connection with
25     the litigation at all.


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                                                                                 Page 56
1                                  D. Trahanas
2                   Okay.     Now, will you look with me at the
3      box that says Demographic Data.
4                   Are you with me?
5            A.     Yes.
6            Q.     Okay.     And then Question 18 appears to
7      have a number of subquestions, and the last one is
8      on the far right of the page.             It says, "Do you have
9      a disability?"
10                  Do you see that?
11           A.     Yes.
12           Q.     And there's a checkmark in the box that
13     says "no"?
14           A.     Yes.
15           Q.     And you put that checkmark there?
16           A.     At the time, yes.
17           Q.     Okay.     Can you mark this as 3, please.
18                                (Exhibit 3 was marked for
19                                identification.)
20     BY MS. WERMUTH:
21           Q.     Okay.     You've now been handed what's been
22     marked as Deposition Exhibit Number 3.
23                  Do you recognize that document?
24           A.     I don't recognize it by seeing it.
25     However, it is Bates stamped, so I may have seen it


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                                                                                 Page 57
1                                  D. Trahanas
2      within the exhibits that you sent my attorney.
3            Q.     Okay.     Fair point.       So let me turn your
4      attention to the very last page, the third page of
5      the document.        There's a handwritten signature
6      there.
7            A.     Yes.
8            Q.     Is that your signature?
9            A.     Yeah.
10           Q.     Okay.     So you -- and I'm sorry, there's a
11     date there of June 11, 2012.
12                  Do you see that?
13           A.     Yes.
14           Q.     Okay.     And is that your handwriting?
15           A.     Yeah.
16           Q.     So does this refresh your recollection as
17     to whether or not you would have seen this on
18     June 11th, 2012, and signed it?
19           A.     It's possible.        I mean, if I signed it
20     that day, then yes.
21           Q.     Okay.     And according to the box just above
22     your signature, the application was complete and
23     accurate, correct?
24           A.     Can you restate your question?
25           Q.     Yes.    By signing this document, you were


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                                                                                 Page 58
1                                  D. Trahanas
2      attesting that the information that you had provided
3      in your application was true and accurate?
4            A.     Yes.
5            Q.     Okay.     Let me ask you just a couple quick
6      questions.      I notice you didn't put any former pay
7      information for any of your prior jobs.
8                   Can you tell me why?
9            A.     I don't -- probably because I didn't think
10     it was necessary.
11           Q.     Okay.     And also I noticed that you don't
12     put your last day of employment at the University of
13     Chicago.
14                  Is there any reason why you didn't put
15     that date?
16           A.     No.    That must have been an oversight.
17           Q.     Okay.     You were not fired from the
18     University of Chicago?
19           A.     No.    I gave two weeks' notice there.
20           Q.     Okay.     And then I see on the second page
21     under License/Certificate there's something that
22     says LCNL.
23                  Can you just tell me what that is?                I just
24     don't know what that is.
25           A.     Which?


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                                                                                 Page 59
1                                  D. Trahanas
2            Q.     On the page that's Bates labeled 82
3      there's a box that says License/Certificate about a
4      third of the way down, and then it says LCNL.
5                   Do you see that?
6            A.     Yes.
7            Q.     Do you know what that refers to?
8            A.     Right now I don't know what that acronym
9      stands for.
10           Q.     Do you hold any licenses or certificates?
11           A.     We were certified in laboratory-based
12     techniques from Rush.
13           Q.     Okay.     And certified by what entity?
14           A.     Via the university; and there was probably
15     one other signature on anything, but I don't know
16     what the entity was.
17           Q.     Okay.     And when you say "the university,"
18     you're talking about Rush University?
19           A.     Yes.
20           Q.     Okay, thank you.         And you don't hold any
21     licenses?
22           A.     No.
23           Q.     Okay.     Can you mark this, please, as 4.
24                                (Exhibit 4 was marked for
25                                identification.)


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                                                                                 Page 60
1                                  D. Trahanas
2      BY MS. WERMUTH:
3            Q.     Ms. Trahanas, you've been handed what's
4      been marked as Deposition Exhibit 4.
5                   Do you recognize the name and signature on
6      this document?
7            A.     Yes.
8            Q.     Is that your name and your signature?
9            A.     Yes.
10           Q.     And you personally filled this form out?
11           A.     Yes.
12           Q.     Okay.     And you filled it out on June 11th
13     of 2012?
14           A.     Yes.
15           Q.     Okay.     And this is a form acknowledging
16     receipt of the Northwestern University Staff
17     Handbook; is that correct?
18           A.     Yes.
19           Q.     Okay.     And this form acknowledges that you
20     actually received a copy of the handbook on that
21     date, correct?
22           A.     Correct.
23           Q.     Okay.     And the first paragraph of this
24     acknowledgment form informs the recipient that the
25     handbook contains important information about


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                                                                                 Page 61
1                                  D. Trahanas
2      policies at the university, correct?
3            A.     Yes.
4            Q.     And it specifically talks about
5      information about leaves of absences.
6                   Do you see that?
7            A.     Yes.
8            Q.     Okay.     And it also specifically mentions
9      that certain policies that, quote, every employee
10     must know, end quote, included the sexual harassment
11     policy.
12                  Do you see that?
13           A.     Yes.
14           Q.     Okay.     And then it said also be sure to
15     call human resources if you have questions about the
16     policies.
17           A.     Sure.
18           Q.     Okay.     Can we mark this as 5, please.
19                                (Exhibit 5 was marked for
20                                identification.)
21     BY MS. WERMUTH:
22           Q.     So I've handed you now what's been marked
23     as Deposition Exhibit 5.
24                  Do you have that, Ms. Trahanas?
25           A.     Yes.


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                                                                                 Page 62
1                                  D. Trahanas
2            Q.     Okay.     And does this look like the
3      handbook that you received on June 11th of 2012?
4            A.     Yes.
5            Q.     Okay.     And this handbook, in fact, does
6      have information in it about leaves of absences and
7      sexual harassment, correct?
8            A.     Yes.
9            Q.     Okay.     So, for example, if you would turn
10     with me to -- it's Page 9 of the handbook.                  It's
11     also Bates labeled 1332.
12           A.     Okay.
13           Q.     There's a provision there about
14     nondiscrimination at the university, correct?
15           A.     Yes.
16           Q.     Okay.     And it specifically says that the
17     university does not discriminate against any
18     individual on a variety of bases, and it included
19     sex and sexual orientation.
20                  Do you see that?
21           A.     Yes.
22           Q.     It also included disability, correct?
23           A.     Yes.
24           Q.     And then it explained -- it gave a
25     definition of what harassment can be, correct?


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                                                                                 Page 63
1                                  D. Trahanas
2            A.     Yes, it gives a definition.
3            Q.     Okay.     And then it gives you information
4      about how to file a complaint of discrimination at
5      the university, correct?
6            A.     It does.
7            Q.     Okay.     And on the next page there's a
8      section regarding how to seek an accommodation for a
9      disability, correct?
10           A.     Yes.
11           Q.     Okay.     And on the next page, Page 11,
12     which is also marked 1334, there's information about
13     how to seek a promotion, correct?
14           A.     Yes.
15           Q.     Okay.     And it informs the employee that a
16     promotion must be accompanied by an application,
17     correct?
18           A.     What line are you looking at?              I'm sorry.
19           Q.     So there's a bolded word section that
20     reads Application, period.
21                  Do you see that?
22           A.     Yes.
23           Q.     And it says, "To ensure consideration for
24     a position, the staff member submits an application
25     for transfer or promotion along with a resumï¿½ to the


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                                                                                 Page 64
1                                  D. Trahanas
2      human resources department."
3                    Right?
4              A.    Yes.
5              Q.    Okay.    Okay.    And then if you turn to
6      Page 33, which is also Bates labeled 1356 -- strike
7      that.      That's an unpaid leave of absence.             Give me
8      just a moment.
9                    I'm sorry, 1356, if you would go to that
10     page, please.        Oh, that is where we were, right?
11     Okay.
12                   So there are a variety of types of --
13     well, strike that.
14                   Go to 1354, Page 31.         The university on
15     this page explains the various types of paid leaves
16     of absence.
17                   Do you see the second section on that
18     page?
19           A.      Yes.    Kinds of leave?
20           Q.      Yes.    And it says paid leave is available
21     for absence due to sickness or injury, and then it
22     also goes on to say unpaid leave of absence is
23     granted for personal medical care for an employee's
24     serious health condition.
25                   Do you see that?


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                                                                                 Page 65
1                                  D. Trahanas
2            A.     Yes.
3            Q.     And on Page 33 then it has information
4      about how to obtain that type of a leave, correct?
5            A.     Under -- I'm sorry, specifically
6      certifications and approval, is that what you're
7      looking at?
8            Q.     Correct.      And that provision actually
9      provides that the employee's written request
10     specifying the reason for the leave and the start
11     and ending dates must be submitted to the department
12     manager at least two weeks before the leave starts
13     except in emergency.
14                  Do you see that?
15           A.     Yes.
16           Q.     Okay.     So if there's an emergency
17     situation notice might not -- an employee might not
18     be able to give notice, right?
19           A.     Yes.
20           Q.     But if you have an opportunity to give
21     notice the university expected that, right?
22           A.     As it states here, yes.
23           Q.     Okay.     And do you know what the reason for
24     giving notice would be or the rationale why the
25     university would want notice of an impending leave


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                                                                                 Page 66
1                                  D. Trahanas
2      or absence?
3                   MR. DeROSE:       Objection to the form to the
4      extent this calls for a conclusion on the part of
5      the witness for somebody else's reason.
6                   But you may answer.
7                   THE WITNESS:       I guess they would just want
8      to know.
9                   MR. DeROSE:       Objection to guessing.
10                  THE WITNESS:       They would like to know.
11     BY MS. WERMUTH:
12           Q.     So that they can make arrangements for
13     coverage, for example, that would be a reason for
14     giving notice; is that right?
15                  MR. DeROSE:       Objection to the form that
16     this calls for a conclusion on the witness' part for
17     someone else's stated motives.
18                  But you may answer the question if you
19     know.
20                  THE WITNESS:       Maybe they would like it as
21     a courtesy.
22     BY MS. WERMUTH:
23           Q.     So you would agree with me that it's
24     reasonable for an employer to expect notice of a
25     leave if notice can be given?


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                                                                                 Page 67
1                                  D. Trahanas
2            A.     I'm sorry, can you resay that?
3            Q.     Yes.    You would agree with me that it's
4      reasonable generally speaking for an employer to
5      expect notice of an absence if such notice can be
6      given?
7            A.     Sure.
8            Q.     Okay.     Now, if you look at Page 51 of the
9      handbook, which is also Bates labeled 1374.
10                  MR. DeROSE:       Wait one second.         51, I'm
11     sorry, Counsel?
12                  MS. WERMUTH:       No problem.       Yes, 51 of the
13     handbook, which is Bated labeled 1374.
14     BY MS. WERMUTH:
15           Q.     Are you with me, Ms. Trahanas?
16           A.     Yes.
17           Q.     So you would see on this page that the
18     university lays out its policy on sexual harassment,
19     correct?
20           A.     Yes.
21           Q.     And under the section labeled Examples,
22     are you with me?
23           A.     Yes.
24           Q.     Okay.     It specifically mentions that
25     belittling remarks about a person's gender or sexual


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                                                                                 Page 68
1                                  D. Trahanas
2      orientation is an example of what sexual harassment
3      may include, correct?
4            A.     Yes, it's stated there.
5            Q.     Okay.     And it also talks about the
6      university's position on retaliation for making
7      reports under this policy, correct?
8            A.     Yes, it does state it.
9            Q.     And it states that it prohibits
10     retaliation, correct?
11           A.     Yes.
12           Q.     Okay.     And if you go to the next two
13     pages, there's a variety of information about to
14     whom an employee can make reports of harassment,
15     correct?
16           A.     Are you specifically talking about the
17     Personal Safeguards page or the other page?
18           Q.     Pages 52 and 53.         There's information
19     about where an employee -- what an employee can do
20     if they believe they are being harassed and where
21     they can go for help?
22           A.     Yes.
23           Q.     Okay.     What is your sexual orientation?
24           A.     Heterosexual.
25           Q.     Okay.     Can you mark this, please, as 6.


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                                                                                 Page 69
1                                  D. Trahanas
2                                 (Exhibit 6 was marked for
3                                 identification.)
4      BY MS. WERMUTH:
5            Q.     Ms. Trahanas, you've been handed what's
6      been marked as Deposition Exhibit 6.
7                   Do you recognize that document?
8            A.     Yes.
9            Q.     Okay.     And what do you recognize this
10     document to be?
11           A.     A welcoming letter.
12           Q.     Okay.     And this one is dated October 2012,
13     right?
14           A.     Yes.
15           Q.     So this is about, what, four months after
16     you started?
17           A.     Yes.
18           Q.     Okay.     And so the offer letter that we
19     looked at previously was -- and, I'm sorry, it was
20     marked as Exhibit -- was it 1?
21                  MR. DeROSE:       I think it was.
22     BY MS. WERMUTH:
23           Q.     Okay.     So that record -- or, I'm sorry,
24     Exhibit 1 did not have an end date on the
25     employment, correct?          It just had a start date,


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                                                                                 Page 70
1                                  D. Trahanas
2      right?
3            A.     Yes.
4            Q.     Okay.     And so was that an orientation
5      period to your understanding?
6            A.     In May -- I'm sorry, in June?              Yes.
7            Q.     Okay.     And so then in October you had
8      passed your orientation period, and you got the
9      formal one-year appointment, is that correct, that
10     we see in Exhibit 6?
11           A.     Yes.
12           Q.     Okay.     And according to this document your
13     position would begin on October 30th, 2012, and end
14     the following October 30th, a year later.
15                  Do you see that?
16           A.     Yes.
17           Q.     Okay.     And the salary rate given to you or
18     you were notified of was $19 per hour?
19           A.     Yes.
20           Q.     Okay.     So your rate did not go up in that
21     first year of employment?
22           A.     No.
23           Q.     Okay.     And did you complain to anybody in
24     HR at the time that you got this letter?
25           A.     No.


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                                                                                 Page 71
1                                  D. Trahanas
2            Q.     Okay.     Can we mark this as 7, please.
3                                 (Exhibit 7 was marked for
4                                 identification.)
5      BY MS. WERMUTH:
6            Q.     Okay.     You've been handed what's been
7      marked as Deposition Exhibit 7.
8                   Do you recognize that document?
9            A.     Yes.
10           Q.     What do you recognize it to be?
11           A.     An extension offer.
12           Q.     Okay.     And this was given to you in
13     November of 2013; is that correct?
14           A.     Correct.
15           Q.     And according to this letter, the position
16     began on November 1st, 2013, and ended on August 31,
17     2014; is that right?
18           A.     Yes.
19           Q.     And your pay was increased to 19.48 per
20     hour at that time?
21           A.     Yes.
22           Q.     And you accepted that offer?
23           A.     Yes.
24           Q.     And you did not complain to human
25     resources about your pay at that time?


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                                                                                 Page 72
1                                  D. Trahanas
2            A.     No.
3            Q.     Okay.     All right.      So can you briefly
4      describe for me what your job functions at the
5      university working in Dr. Schwulst's lab were?
6            A.     From 2012 all the way until --
7            Q.     Yes, just generally during the period of
8      time that you worked.          And if they changed over time
9      let me know that.
10                  But during the period of time that you
11     worked in Dr. Schwulst's lab, what were you
12     responsible for doing?
13           A.     So mostly I -- because Dr. Schwulst was in
14     trauma surgery or in his trauma unit two weeks --
15     for two weeks at a time, I would basically be
16     handling all of the lab sort of duties from
17     experiments, such as inducing a traumatic brain
18     injury to the mice that we were using as a model.
19           Q.     Okay.
20           A.     To collecting samples, tissue samples.
21           Q.     From the mice?
22           A.     From the mice, correct.
23           Q.     The mice's brain?
24           A.     It wasn't just the brain.            We did other
25     organs as well.


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                                                                                 Page 73
1                                  D. Trahanas
2            Q.     Okay.
3            A.     Processing those tissues, like cleaning
4      and filtering, and then isolating the specific cells
5      that we were interested in, immune cells, and then
6      staining those so that we could run them through
7      flow cytometry.
8            Q.     And what is flow cytometry?
9            A.     Flow cytometry, basically you put colored
10     stained cells in a tube, the isolated stained cells
11     that you want through a tube, and then it goes
12     through a specific machine; and the machine then is
13     connected to a computer who shows you the data as to
14     what type of cells you're collecting or population
15     of cells.
16           Q.     And then what do you do with the data?
17           A.     You analyze the data to see if our
18     hypothesis was correct or what we were really
19     learning that TBIs were inducing.
20           Q.     Have you ever used this -- I'm sorry.
21                  Is flow cytometry the process or the
22     machine?
23           A.     Flow cytometry is the process.
24           Q.     Okay.     And what was the name of the
25     machine that you used to do that process?


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                                                                                 Page 74
1                                  D. Trahanas
2             A.    LSR II.
3             Q.    Okay.     And was that equipment, the LSR II,
4      was that equipment owned by Dr. Perlman's lab?
5             A.    It was in that lab.          However, I'm not sure
6      if only Dr. Perlman -- it's a very expensive
7      machine, so I'm not sure if only Dr. Perlman owned
8      it or if there was another lab or I guess doctor
9      that -- doctor's lab that owned it with him.
10            Q.    Okay, fair enough.          Now, before you
11     started working in Dr. Schwulst's lab, had you ever
12     done flow cytometry before?
13            A.    Once at Rush, and prior to leaving the
14     University of Chicago I took a course there that
15     Dr. Schwulst had suggested for me prior to going to
16     Northwestern.
17            Q.    Okay.     To help you learn --
18            A.    Sure.
19            Q.    -- how to do the job?
20            A.    Yes.
21            Q.    And then you I assume had to have some
22     additional training while you were in Dr. Schwulst's
23     lab?
24            A.    Yes.
25            Q.    Okay.     And because Dr. Schwulst was not in


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                                                                                 Page 75
1                                  D. Trahanas
2      the lab all the time, some of that training came
3      from individuals in Dr. Perlman's lab; is that
4      right?
5            A.     Yes.
6            Q.     Okay.     And you said you mentioned that the
7      subjects that you used in Dr. Schwulst's research
8      were mice; is that right?
9            A.     Yes.
10           Q.     And those mice have to be purchased by
11     Dr. Schwulst?
12           A.     Yes, via a vendor, yes.
13           Q.     Okay.     And so you would help with those
14     purchasing responsibilities; is that right?
15           A.     Yes.
16           Q.     Okay.     And because it's an animal subject,
17     there are certain protocols that have to be put into
18     place about the treatment of the animal, correct?
19           A.     Yes.
20           Q.     Okay.     And that has to go through a
21     committee at Northwestern University.                Those
22     protocols have to be approved by a committee at
23     Northwestern University, right?
24           A.     Correct, IACUC.
25           Q.     I'm sorry?


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                                                                                 Page 76
1                                  D. Trahanas
2            A.     It's called IACUC, I-A-C-U-C.
3            Q.     And do you know what that stands for?
4            A.     I can't recall the acronym's exact name.
5            Q.     Okay.
6                   MR. DeROSE:       I bet they had something to
7      do with animal cruelty though.
8                   MS. WERMUTH:       Okay.
9      BY MS. WERMUTH:
10           Q.     You understood that and you were actually
11     included on the protocol in Dr. Schwulst's lab as
12     someone who would be working with the mice?
13           A.     Yes.
14           Q.     Okay.     And so you were well-versed in that
15     protocol then?
16           A.     Yes.
17           Q.     Right.     And you knew that there were
18     certain -- that, for example -- well, let me back up
19     for a minute.
20                  So you said that part of your job involved
21     applying an injury to the mice; is that right?
22           A.     Yes.
23           Q.     Okay.     Is that knocking?         Do you call that
24     knocking?
25           A.     We would -- formally on an IACUC protocol


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                                                                                 Page 77
1                                  D. Trahanas
2      we wouldn't call it that.
3            Q.     I understand.
4            A.     But we would say hit.
5            Q.     Okay.     And did the protocol contain
6      information about how long after the injury had been
7      applied to the mice it could remain alive before it
8      had to be euthanized?
9            A.     Yes.
10           Q.     Okay.     And do you recall off the top of
11     your head what that time period was?
12           A.     Our experiments varied.           I can't remember
13     in 2012.     Each year we had to update it.
14                  So in 2012 I'm not sure if our study
15     included, if that protocol included each time point
16     that we would use between 24 hours and 72, so it's
17     possible it only stated 24.            And then once we
18     hypothesized maybe changing the amount of time we
19     would wait after the injury, then that would have to
20     be included in the protocol.
21           Q.     Okay.     And that has to do with making sure
22     that the animals are treated humanely and not
23     suffering?
24           A.     Of course.
25           Q.     Is that right?


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                                                                                 Page 78
1                                  D. Trahanas
2            A.     Yes.
3            Q.     Okay.     And so the protocol might be that
4      anywhere between 24 to 72 hours after injuring the
5      mouse the mouse had to be euthanized; is that right?
6            A.     Yes.
7            Q.     Okay.     And do you know, how many mice
8      would you have in the lab at any given time?
9            A.     The mice were housed in a subbasement
10     actually, not in the lab.
11           Q.     Okay.
12           A.     But depending on when we would schedule
13     experiments, because each day that a mouse -- I
14     wouldn't call it cabin but we called them cabins
15     within the lab, but each box contains five mice.                    So
16     that box would cost X amount per day for
17     Dr. Schwulst or Dr. Perlman or whoever to keep the
18     mice in housing because they need to be monitored,
19     and there's specific things that need to be taken
20     care of in the basement; so they would be charged.
21                  So sometimes we would have four cages,
22     which is five mice per cage, so about 20 mice.
23           Q.     Okay.
24           A.     At one time -- I can't recall a time that
25     we had more than 30.


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                                                                                 Page 79
1                                  D. Trahanas
2            Q.     30 cages or 30 mice?
3            A.     30 mice.
4            Q.     Okay.
5            A.     But our mice were not genetically
6      engineered.      They were more or less common mice, so
7      we could order them and receive them relatively
8      quickly.     So as long as we could plan about a week
9      or so ahead of time we would be able to have the
10     mice in the lab -- not in the lab, I'm sorry, in the
11     subbasement.
12                  So once we were done with an experiment we
13     would analyze it, see what the results say,
14     fine-tune things, adjust things; and then it could
15     be a week or it could be a couple days and then I
16     would order another set.           So there was time periods
17     where there were none; there were other times where
18     there were 20 or 30 at most.
19           Q.     Okay.
20           A.     20 to 30 total mice.
21           Q.     And so there was a cost for ordering the
22     mice as well as a cost for storing the mice?
23           A.     Correct, separate.
24           Q.     Got it, okay.        So one was an external cost
25     and one was an internal cost?


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                                                                                 Page 80
1                                  D. Trahanas
2              A.    Yes.    One was for the vendor to deliver
3      the models, the mice, and then the other was for the
4      university's management.
5              Q.    Okay.    But that came out of Dr. Schwulst's
6      research budget?
7              A.    Yes, both did.
8              Q.    Both did, okay.        Now, you mentioned that,
9      you know, from time to time as you hypothesized and
10     analyzed data you would have to tweak your
11     methodologies and your protocols; is that right?
12           A.      Yes.
13           Q.      Okay.    And that's sort of what science is,
14     right, so it's trial and error often, correct?
15           A.      Yes.
16           Q.      And the same would be true for protocols
17     as they relate to processes being used in the lab as
18     well; is that right?
19           A.      Yes.
20           Q.      Okay.    And so there may be changes to, for
21     example, the flow cytometry protocol from time to
22     time?
23           A.      So the flow cytometry protocol has -- I
24     don't want to just lump it into one protocol.
25     There's kind of different steps to it.                But


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                                                                                 Page 81
1                                  D. Trahanas
2      generally the preparation of the cells, the protocol
3      remained relatively similar, but depending on the
4      tissue and what cells we were looking for and the
5      colors that we would use with those cells, that
6      could change.
7            Q.     Okay.     And these protocols that relate to
8      the variety of processes that you were using in the
9      lab, were they in writing?
10           A.     Yes.
11           Q.     Okay.     And typically they have to be in
12     writing for purposes of any sort of funding that
13     goes along with them, correct?
14           A.     Funding, but also so we could keep record
15     and know where we started, where we ended, where we
16     may have gone wrong, just for record keeping.
17           Q.     Got it.      Okay.    And so sometimes you were
18     involved with tweaking and modifying some of the
19     protocols; is that right?
20           A.     Yes.
21           Q.     Okay.     And when you did that, did you
22     share that information with others in the lab?
23           A.     With Dr. Schwulst.          I presented a couple
24     times during lab meetings with Dr. Perlman's lab.
25     We would -- I would also attend, and if Dr. Schwulst


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                                                                                 Page 82
1                                  D. Trahanas
2      was not on service he would also attend.
3                    So during those times I would speak to
4      others about it and within the Perlman lab.
5              Q.    Okay.    And how frequently did Dr. Perlman
6      hold lab meetings?
7              A.    It would depend on the time of year also.
8      I know he celebrated specific holidays, so if it
9      wasn't -- he would be accommodating, knowing, you
10     know, Christmas break for some in the lab, and then,
11     you know, he celebrated Hanukkah and stuff.
12                   So naturally during holiday season the lab
13     meetings would kind of taper off, but generally
14     during the year I would say at least once a month.
15           Q.      And they would take place in the lab
16     proper?
17           A.      No.   They would take place in the
18     conference room that was kitty-corner to the lab.
19           Q.      And how long would they last?
20           A.      Anywhere from 15 minutes to an hour and a
21     half.
22           Q.      Okay.    Now, while you were working in
23     Dr. Schwulst's lab, you also, in terms of analyzing
24     the data, you also coauthored papers and manuscripts
25     with Dr. Schwulst; is that right?


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                                                                                 Page 83
1                                  D. Trahanas
2            A.     Yes.
3            Q.     Okay.     And you actually appear as an
4      author on a number of articles with Dr. Schwulst --
5            A.     Yes.
6            Q.     -- is that right?         Okay.
7                   Do you know how many of those, how many
8      articles that you were a coauthor on during the
9      period of time that you worked with Dr. Schwulst?
10           A.     Articles, do you mean just specifically
11     papers or presentations as well?
12           Q.     Well, why don't you tell me the full
13     gamut.
14           A.     Four papers, three presentations.
15           Q.     And what does it mean in terms of being
16     like -- when a publication is or a paper is
17     published, the multiple authors' names appear in
18     succession.
19                  What does it mean if your name is the
20     first in the name of succession?
21           A.     Generally it's pretty much someone who did
22     most of the work and then, you know, the second
23     person -- everyone contributed.              The first person
24     contributed the most, but then the last name is the
25     senior author, which basically shows like oversight,


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                                                                                 Page 84
1                                  D. Trahanas
2      just like Dr. Perlman and Dr. Schwulst would more
3      than likely be mostly at the end of publications at
4      this point in their careers just because they're
5      very versed and so far in their careers.
6            Q.     Okay.     And, I'm sorry, you said you had
7      how many papers published with Dr. Schwulst?
8            A.     I believe four.
9            Q.     And you would agree that was a good
10     opportunity for you to get published as a result of
11     your work at the university?
12           A.     Yes.
13           Q.     Okay.     And you also -- I think you just
14     mentioned that you from time to time also presented
15     at conferences?
16           A.     I presented a -- myself had a poster
17     presentation, and Dr. Schwulst lecture presented.
18           Q.     Okay.     And what is a poster presentation?
19           A.     We basically would have a giant-sized
20     poster with pictures, and it kind of gives you a
21     synopsis of our entire research paper but just on a
22     poster board so people could walk around and talk
23     about it.
24           Q.     Okay.     So you were responsible for
25     preparing the poster board that was being displayed


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                                                                                 Page 85
1                                  D. Trahanas
2      then?
3              A.    Yes.
4              Q.    Okay.    And that's considered a
5      presentation?
6              A.    A poster presentation, yeah; a
7      presentation, but poster presentation specifically.
8              Q.    Okay.    And so you can put that on your
9      resumï¿½ as sort of like you being the senior author
10     of that particular presentation, like your name
11     would go last?
12           A.      No, it would go -- because it's based on a
13     paper, whatever the paper -- if I was first author
14     on that paper, then yes.           I would never be a senior
15     author just because I would never oversee anything.
16     I'm not, you know, a mentor or a boss at that point.
17                   So I would not be a senior author, so I
18     would more than likely be the first author.
19           Q.      Okay.
20           A.      But it's based on the paper that we were
21     writing about, so that's how that order would go.
22     It would be parallel to that paper.
23           Q.      I see.    Thank you for that clarification.
24     Okay.    So it's very different in legal publications.
25           A.      Sure.


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                                                                                 Page 86
1                                  D. Trahanas
2             Q.    So you would agree with me that having
3      those opportunities to present at national
4      conferences was also good for your career?
5             A.    Yes.
6             Q.    Okay.     And you traveled with Dr. Schwulst
7      on at least a couple of occasions to national
8      conferences; is that right?
9             A.    Yes.
10            Q.    Once I think West Coast, is that right,
11     and once in North Carolina?
12            A.    Yes.    Once was in San Diego, California,
13     and the other time was in Charlotte, North Carolina,
14     yes.
15            Q.    Okay.     And that was the Shock conference;
16     is that right?
17            A.    Yes.
18            Q.    And that's sort of the premier association
19     for injury-related research; is that right?
20            A.    What was the first part?            I'm sorry?
21            Q.    Is Shock the -- Shock is an association,
22     am I right, about that, a medical association?
23            A.    Yes, yes.
24            Q.    And that's the premier association for the
25     study of injury?


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                                                                                 Page 87
1                                  D. Trahanas
2            A.     Yes.
3            Q.     Okay.     And you went to two of those
4      national conferences?
5            A.     Correct.
6            Q.     Okay.     And you would agree with me that
7      you did a pretty good job while you worked at
8      Northwestern University?
9            A.     Yes.
10           Q.     Okay.     So you would say that you did
11     better than a pretty good job; is that right?
12           A.     Yes.
13           Q.     Okay.     You think you were a very good
14     performer?
15           A.     Yes.
16           Q.     Okay.     Can we mark this, please, as 8.
17                                (Exhibit 8 was marked for
18                                identification.)
19     BY MS. WERMUTH:
20           Q.     Okay.     You've been handed Deposition
21     Exhibit 8, Ms. Trahanas.
22                  Looking at the last page, can you tell me
23     if that's your signature?
24           A.     Yes.
25           Q.     Okay.     And can you tell -- so you've seen


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                                                                                 Page 88
1                                  D. Trahanas
2      this document before?
3            A.     Yes.
4            Q.     And what do you know it to be?
5            A.     It's our performance review, our annual
6      performance review.
7            Q.     Is this your annual performance review?
8            A.     It's a performance review that our
9      superiors gave to me, so Dr. Schwulst gave to me.
10           Q.     Okay.     And in this document it is your
11     performance that is being reviewed, correct?
12           A.     Correct.
13           Q.     Okay.     And the date of your signature is
14     May 28th of 2013?
15           A.     Yes.
16           Q.     So this was about a year into working in
17     the lab?
18           A.     Yes.
19           Q.     Okay.     So this is your first formal
20     review?
21           A.     Yes.
22           Q.     Okay.     And you agreed with it, correct?
23           A.     I did.
24           Q.     Okay.     Your overall year-end rating was
25     highly effective?


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                                                                                 Page 89
1                                  D. Trahanas
2            A.     Yes.
3            Q.     Okay.     And underneath your signature
4      there's a sentence that reads that the employee may
5      attach a response page if he or she wishes.
6                   Do you see that?
7            A.     I do.
8            Q.     Okay.     And you did not attach a response
9      to this particular document?
10           A.     I did not, no.
11           Q.     Okay.     Was there something else you wanted
12     to add?
13           A.     No.
14           Q.     Can you mark this, please, as 9.
15                                (Exhibit 9 was marked for
16                                identification.)
17     BY MS. WERMUTH:
18           Q.     Okay.     Ms. Trahanas, you've been handed
19     Deposition Exhibit 9.
20                  Do you recognize that document?
21           A.     Yes.
22           Q.     And what do you recognize that document to
23     be?
24           A.     It is another performance annual review.
25           Q.     And if you look at the last page, that's


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                                                                                 Page 90
1                                  D. Trahanas
2      your signature on the document?
3             A.    Yes.
4             Q.    Okay.     And it's dated April 17th, 2014.
5                   Do you see that?
6             A.    Yes.
7             Q.    Okay.     So this was about a year after the
8      one we just saw in Exhibit 8; is that right?
9             A.    Yes.
10            Q.    Okay.     And, again, your overall rating was
11     highly effective.
12                  Do you see that?
13            A.    Yes.
14            Q.    And you agreed with that rating?
15            A.    I did.
16            Q.    Okay.     And you did not attach any
17     responses to this document either?
18            A.    I did not.
19            Q.    Okay.     Now, in the Comments section on the
20     last page, do you see that?
21            A.    Yes.
22            Q.    Okay.     Do you know whose comments those
23     are?
24            A.    I believe this to be Dr. Schwulst's.
25            Q.    Okay.     And did the two of you have any


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                                                                                 Page 91
1                                  D. Trahanas
2      conversations about the contents of his comments in
3      or around the time of April 2014?
4            A.     Yes.
5            Q.     Okay.     And when do you recall having a
6      conversation about the topics raised in his
7      comments?
8            A.     Very close to that date, if not that day.
9            Q.     Okay.     And what do you recall about that
10     conversation?       First of all, where do you recall it
11     taking place?
12           A.     The conversation, his office,
13     Dr. Schwulst's office.
14           Q.     Okay.     And it was just the two of you?
15           A.     Yes.
16           Q.     Okay.     And what do you recall about that
17     conversation?
18           A.     He went over the performance review that
19     you see in front here, I guess performance marked
20     Exhibit 9.      We went over specifics and spoke about
21     the projection of how to -- I'm sorry, we planned,
22     we made subsequent plans as to kind of what our
23     goals for the rest of the year or specific time
24     frame, and then I can't remember what those goals
25     specifically were at this time; and we also touched


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                                                                                 Page 92
1                                  D. Trahanas
2      on me asking about receiving a pay increase.
3            Q.     Okay.     And did you ask for a particular
4      increase?
5            A.     As a percentage or a specific amount?
6            Q.     Either.
7            A.     No.     We spoke about it being a promotion,
8      so my conclusion would be it would be within this
9      range.
10           Q.     Okay.     Within what range?
11           A.     The Research Tech 3, their pay, their pay
12     raise.
13           Q.     Okay.     Now, there isn't anything in the
14     comments that mentions promotion specifically,
15     right?     You would agree with me on that?
16           A.     Yes, not in the Comments section, correct.
17           Q.     Okay.     And nothing in the document at all
18     that mentions promotion?
19           A.     No.
20           Q.     Okay.     Now, did he compliment you in this
21     meeting on your improvement with the advanced flow
22     cytometry skill set?
23           A.     Are you referring to the Comments section?
24           Q.     Yes.    Did you guys discuss that?
25           A.     Yes.


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                                                                                 Page 93
1                                  D. Trahanas
2            Q.     Okay.     And he complimented you?
3            A.     Yes.
4            Q.     Okay.     And you said you discussed the
5      prospect of a raise, which you say was also
6      discussed as a promotion; is that right?
7            A.     Yes.
8            Q.     Okay.     And what specifically did you ask
9      for and what did Dr. Schwulst respond with?
10           A.     My -- my response was if we could take a
11     look at me receiving a pay raise, and then also if,
12     because I had taken on more responsibility, if I
13     could be moved to Research Tech 3.
14                  And so I even wrote an e-mail to him I
15     believe this same day thanking him for being
16     receptive and accepting of our discussion of the
17     promotion and pay raise.
18           Q.     Can we mark this, please.
19                                (Exhibit 10 was marked for
20                                identification.)
21     BY MS. WERMUTH:
22           Q.     Okay.     You've been handed what's
23     Deposition Exhibit 10.
24                  Do you recognize that document?
25           A.     Yes.


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                                                                                 Page 94
1                                  D. Trahanas
2            Q.     Is that the e-mail you were just
3      referencing?
4            A.     Yes.
5            Q.     Okay.     Now, this e-mail is dated
6      March 17th, 2014.
7                   Do you see that?
8            A.     It is, yes.
9            Q.     So it was actually about a month before
10     you got your review that you had the conversation
11     with Dr. Schwulst?
12           A.     Yes.
13           Q.     Okay.     And so this was you letting
14     Dr. Schwulst know that you appreciated him taking
15     the time to meet with you, correct?
16           A.     Yes.
17           Q.     And being receptive to your requests
18     regarding pay and possible promotion; is that right?
19           A.     Yes.
20           Q.     Okay.     Now, and then you say you can't
21     wait until Shock and this paper and the new stuff
22     gets fine-tuned.
23                  Do you see that?
24           A.     Yes.
25           Q.     So Shock was coming up that June?


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                                                                                 Page 95
1                                  D. Trahanas
2            A.     Correct.
3            Q.     All right.       And that was when you were
4      going to do your first poster presentation?
5            A.     Yes.
6            Q.     June of 2 --
7            A.     In Charlotte, yes.
8            Q.     And you write also that you were excited?
9            A.     Yes.
10           Q.     All right.       So you were feeling good about
11     work at that point in time?
12           A.     About the papers and work, yes.
13           Q.     Okay.     And can you tell me, you say that
14     your duties, you took on additional duties.
15                  Can you tell me what additional duties you
16     took on?
17           A.     Sure, more of ordering supplies.
18           Q.     Okay.     Anything else?
19           A.     I was given access to budgets or funding
20     and so kept track of the funds.
21           Q.     Did Dr. Schwulst have NIH funding at that
22     point in time?
23           A.     He was granted, NIH-funded, and then they
24     withdrew it because I suppose unfortunately that
25     grant went bankrupt for some reason.


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                                                                                 Page 96
1                                  D. Trahanas
2            Q.     So he didn't -- so during the period of
3      time that you worked in his lab he had not actually
4      received NIH funds?
5            A.     They did not give him, yeah, the money.
6            Q.     Okay.     And he then followed up pretty
7      immediately with the business manager about the
8      discussion that the two of you had.
9                   Do you recall that?
10           A.     Yes.
11           Q.     Okay.     May I have that marked, please.
12                                (Exhibit 11 was marked for
13                                identification.)
14     BY MS. WERMUTH:
15           Q.     So I've handed you now what's been marked
16     as Deposition Exhibit 12 [sic].              This is a document
17     that you produced to us, okay.
18                  Do you see the Bates on the lower right
19     looks a little different than the documents we've
20     been looking at?
21           A.     Yes.
22           Q.     Okay.     So if you look at the bottom of the
23     first page, which is marked Trahanas 21, you see an
24     e-mail from Steve to someone by the name of Nicole
25     Buikema.


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                                                                                 Page 97
1                                  D. Trahanas
2                    Do you see that?
3              A.    Yes.
4              Q.    Okay.    And he writes to her, and this
5      is -- so this is March 17th, 2014, the same day that
6      you met with him, correct?
7              A.    Yes.
8              Q.    And it's at 10:23 in the morning,
9      according to this record that you produced to us.
10           A.      Yes.
11           Q.      So would that have been directly after
12     your meeting with him or shortly after your meeting
13     with him?
14                   Is that 11?      I called it Exhibit 12.
15     Thank you.      I should correct the record.
16                   MR. DeROSE:      Yes, thank you.        I'll change
17     this.
18                   MS. WERMUTH:      Sorry about that.
19                   THE WITNESS:      Yes.
20     BY MS. WERMUTH:
21           Q.      So he very quickly followed up and said we
22     have started talking about raises and possibly
23     retitling her position to a higher level.
24                   Do you see that?
25           A.      Yes.


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                                                                                 Page 98
1                                  D. Trahanas
2              Q.    So he's at least inquiring about it,
3      right?
4              A.    Yes, here, yes.
5              Q.    And he then forwards it to you to show you
6      that he -- well, I don't know.             I'm not going to ask
7      you why.      But he ends up forwarding his
8      conversation, his e-mail conversation to you,
9      correct?
10           A.      Yes.
11           Q.      And that's what we see at the top of the
12     page?
13           A.      Yes.
14           Q.      Okay.    Can we mark that, please, as 12.
15     I'll get that one right.
16                                (Exhibit 12 was marked for
17                                identification.)
18     BY MS. WERMUTH:
19           Q.      So, Ms. Trahanas, you're looking now at
20     Deposition Exhibit 12.
21           A.      Yes.
22           Q.      And this again is a document that you
23     produced to us with Bates label Trahanas 77.
24                   Do you see that?
25           A.      I see that.


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                                                                                  Page 99
1                                   D. Trahanas
2             Q.     So what is this?
3             A.     This is a conversation between me and my
4      friend Dimitra.
5             Q.     And where -- how were you communicating
6      with Dimitra?
7             A.     This is a text message or Gchat.
8             Q.     What's Gchat?
9             A.     It's a form of texting through our Gmail.
10            Q.     Okay.    And when you were doing your
11     searches for documents, did you search through your
12     Gchat as well for relevant documents?
13            A.     If I searched through specific words like
14     title, this probably came up, yes.
15            Q.     So my question is, did you search Gchat
16     for relevant documents?
17            A.     Not specifically.
18            Q.     Okay.    Now, this looks like it's an
19     excerpt, like it's a part of a conversation.
20                   Is that accurate?
21            A.     Yeah, it's a screen shot.
22            Q.     Okay.    And there's then a translation at
23     the bottom of the page -- I don't know, it's not the
24     bottom, the middle of the page I guess.
25                   Do you see that?


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                                                                                Page 100
1                                   D. Trahanas
2             A.     Yeah, yeah.
3             Q.     Who added this translation to the
4      document?
5             A.     I gave the translation because it was in
6      Greek.
7             Q.     So like what I'm trying to understand is,
8      how did this document come to exist?                So you took a
9      screen shot of a portion of a conversation, correct?
10            A.     Yes.
11            Q.     And then you turned that into some sort of
12     document upon which you could add additional text?
13            A.     Yes.
14            Q.     And you typed the additional text that is
15     the translation?
16            A.     Yes.
17            Q.     Okay.    And when in time did you create
18     this document that looks the way it looks today?
19            A.     As soon as -- between the time that the
20     defendants or you sent us the interrogatories and
21     the I guess discovery items that you needed.
22            Q.     Okay.    So did you take the screen shot on
23     March 17th, 2014, or did you take the screen shot
24     after you got a request for documents?
25            A.     No, that is part of -- that was when the


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                                                                                Page 101
1                                   D. Trahanas
2      conversation happened.           That's like on a text
3      message, right.        It will tell you that it's the same
4      thing.
5             Q.     Right.     So the conversation that is
6      displayed here took place on March 17th, 2014?
7             A.     Correct.
8             Q.     At 10:33 in the morning?
9             A.     Correct.
10            Q.     Okay.    So at the same time Dr. Schwulst is
11     sending his e-mail to Buikema?
12            A.     Yes.
13            Q.     Okay.    And when did you screen shot it?
14     Was it on March 17th, 2014, or was it in connection
15     with the request for documents?
16            A.     No, it was the request for documents.
17            Q.     Okay.    And that's when you added this
18     additional text?
19            A.     Yes.
20            Q.     Okay.    So according to your translation,
21     it says, "I spoke with my boss.              He's going to give
22     me a job title change, which means I can make more
23     money."
24            A.     Yes.
25            Q.     Okay.    Now, his e-mail doesn't say he's


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                                                                                Page 102
1                                   D. Trahanas
2      going to give you a job title change, right?
3             A.     His e-mail does not.
4             Q.     Right.     In fact, his e-mail says about
5      possibly retitling her position?
6             A.     Yes, his e-mail says that.
7             Q.     And when he forwarded this to you,
8      Exhibit 11 to you, the Gmail conversation, you did
9      not correct him and say anything about what are you
10     talking about possibly retitling my position?
11            A.     No.    I mean, we spoke that I do more
12     duties, so I would be -- it would be retitled.
13            Q.     Right.     But I guess in Exhibit 11 you see
14     that he's referring to a possible retitling.
15                   Do you see that?
16            A.     Yes.
17            Q.     Okay.    And you didn't go to him and say
18     what do you mean by that?
19            A.     No.
20            Q.     Okay.    Did you formally apply for the
21     Tech 3 position?
22            A.     No.
23            Q.     Now, at some point -- well, strike that.
24                   Was there any portion of the conversation
25     between you and Dr. Schwulst about a potential pay


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                                                                                Page 103
1                                   D. Trahanas
2      raise and a potential retitling of your position
3      about when that might go into effect?
4              A.    He didn't give me a specific date, but he
5      did say very soon, I mean as soon as he could get
6      the paperwork done.
7              Q.    He told you that as soon as he got the
8      paperwork done this would all be in place?
9              A.    Yeah, he would have to talk to his
10     department.
11            Q.     Okay.    And did you know what paperwork
12     needed to get submitted?
13            A.     No.
14            Q.     Did you ask him if there was any paperwork
15     that you needed to prepare?
16            A.     I didn't specifically say paperwork, but
17     if there was anything he needed me to do to let me
18     know.
19            Q.     Okay.    Can we mark this, please.
20                                (Group Exhibit 13 was marked for
21                                identification.)
22     BY MS. WERMUTH:
23            Q.     Okay.    I'm going to turn your attention.
24     So Exhibit 13, Ms. Trahanas, is a string of e-mails,
25     but it's a single document.             As you can see by the


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                                                                                Page 104
1                                   D. Trahanas
2      page numbers at the bottom it starts from Page 1
3      through Page 12.
4                    MR. DeROSE:       Are you going to call it a
5      group or just --
6      BY MS. WERMUTH:
7             Q.     We can call it a group, that's fine.
8                    I bring this to your attention only
9      because you would not have received all of these
10     e-mails, okay, but some of these I don't -- you
11     know, they exist in this form.
12                   So if I could turn your attention to
13     Page 10, which is also Bates labeled 1895.
14                   MR. DeROSE:       And it's Group 13?
15                   MS. WERMUTH:       That's fine.       We can call it
16     Group 13 if that's your preference.
17     BY MS. WERMUTH:
18            Q.     Are you with me on Page 10?
19            A.     Yes.
20            Q.     So I see an e-mail in the middle of the
21     page; it looks to be from you at your Northwestern
22     account to Rachel Rufer.
23                   Do you see that?
24            A.     Yes.
25            Q.     And do you recall sending this e-mail to


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                                                                                Page 105
1                                   D. Trahanas
2      Ms. Rufer?
3             A.     I do.
4             Q.     And who is Ms. Rufer or who was she?
5             A.     Rachel at the time worked for the
6      department, and she was the one I would contact in
7      terms of anything I would be purchasing, anything
8      really financially oriented with the lab.
9             Q.     Okay.    And the first part of your e-mail
10     is referencing precisely that sort of information,
11     right?
12            A.     Yes.
13            Q.     Okay.    So when you talk about a Chart
14     string, this has to do with availability of funds to
15     make purchases; is that right?
16            A.     Yes.
17            Q.     Okay.    All right.       And then in the last
18     paragraph you write in addition -- and by the way,
19     this e-mail is dated June 27th, 2014, right?
20            A.     Yes, I see that.
21            Q.     And is that consistent with your memory as
22     to when you had this e-mail communication with
23     Ms. Rufer?
24            A.     It is.
25            Q.     Okay.    And you in the last paragraph of


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                                                                                Page 106
1                                   D. Trahanas
2      your e-mail, you say, "I know Dr. Schwulst submitted
3      the paperwork for my promotion, but I have not seen
4      the change since the submission."
5                    Do you see that?
6             A.     Yes.
7             Q.     "Is there someone I or Dr. Schwulst need
8      to contact?"
9                    Do you see that?
10            A.     Yes.
11            Q.     Okay.    And then you go on to say, "It's
12     been months that my pay increase has not been in
13     effect.     Do we need to backdate this?"
14            A.     Yes.
15            Q.     Now, before you sent this e-mail, it
16     sounds like you talked to Dr. Schwulst; is that
17     right?
18            A.     About the promotion, yes.
19            Q.     Okay.    And did you talk to Dr. Schwulst
20     about the paperwork, because it says "I know
21     Dr. Schwulst submitted the paperwork for my
22     promotion."
23                   What's the basis for that statement?
24            A.     I must have spoken to him.
25            Q.     You don't recall?


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                                                                                Page 107
1                                   D. Trahanas
2             A.      I don't recall.
3             Q.      Okay.   And Ms. Rufer responded to you
4      later that day, right?
5                     MR. DeROSE:      What page, Counsel?
6      BY MS. WERMUTH:
7             Q.      Same page.     It's starts on the preceding
8      page.       So it says -- on Page 9 it says from Rufer,
9      Rachel, Friday, June 27, 2014, at 2:50 p.m.
10                   Do you see that?
11            A.     Yes.
12            Q.     And then on the next page, Page 10, it
13     says to Diane M. Trahanas with a carbon copy to
14     Krissy Dulek?
15            A.     Yes.
16            Q.     Okay.    And she says, "This is something
17     that is in the works for the new fiscal year, which
18     starts September 1," right?
19            A.     Yes.
20            Q.     Okay.    And that satisfied you at the time;
21     is that right?
22            A.     At the time, yes.
23            Q.     Okay.    And then in September of that year
24     you got your new salary letter?
25            A.     I received a merit increase.             I'm not


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                                                                                Page 108
1                                   D. Trahanas
2      sure.       I don't want to -- that's what it was called
3      or that's how I know it as.
4             Q.      Okay.   Can we have that marked, please.
5                                 (Exhibit 14 was marked for
6                                 identification.)
7      BY MS. WERMUTH:
8             Q.      All right.     Do you see what's now been
9      marked as Deposition Exhibit 14?
10            A.     Yes.
11            Q.     And is that an e-mail that you received on
12     or about August 19th of 2014?
13            A.     Yes.
14            Q.     Okay.    And according to this e-mail you
15     were being notified that your employment was being
16     extended for an additional year in the position of
17     Research Technologist 2.
18                   Do you see that?
19            A.     Yes.
20            Q.     With the begin date being September 1,
21     2014, and end date being August 31, 2015 --
22            A.     Yes.
23            Q.     -- do you see that?         Okay.
24                   So you knew as of August that you were
25     going to remain in the research technologist


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                                                                                Page 109
1                                   D. Trahanas
2      position 2 for the following year?
3             A.     Yes.
4             Q.     Okay.    Can we mark that, please.
5                                 (Exhibit 15 was marked for
6                                 identification.)
7                    THE WITNESS:       Can I add to that?
8      BY MS. WERMUTH:
9             Q.     Sure.
10            A.     When I knew -- I knew with this letter I
11     was being told that, but I'm pretty sure I responded
12     to this e-mail.
13            Q.     When you say "this e-mail," what are you
14     referring to?
15            A.     I'm responding to --
16            Q.     Just tell me the exhibit number.              I just
17     want to make sure I'm looking at the same document
18     that you're looking at.
19            A.     So we were just talking about Exhibit 14.
20            Q.     Okay.
21            A.     And so you had asked me if I knew that I
22     would be in the Research Tech 2 position in
23     October 19, 2014, starting from September 1st to
24     August 31st.       I had seen this, but the -- from what
25     I knew it would not be -- it had to be changed,


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                                                                                Page 110
1                                   D. Trahanas
2      which would be effective September 1st because of
3      what Ms. Rufer wrote me in Group Number 13's e-mail,
4      that she was essentially saying my promotion would
5      be effective September 1st for the new fiscal year.
6             Q.     And so this Exhibit 13 has -- I'm sorry,
7      Exhibit 14 has a sentence at the very end that says,
8      "Please reply confirming you have received this
9      e-mail."
10                   Do you see that?
11            A.     Yes.
12            Q.     And did you reply to confirm that you had
13     received it?
14            A.     I did not.
15            Q.     So you did not reply to Exhibit 14?
16            A.     No.
17            Q.     All right.      Now you've been handed what's
18     been marked as Exhibit 15.
19                   Do you recognize that letter?
20            A.     I recognize it from the Bates or discovery
21     that you had sent us.
22            Q.     Okay.
23            A.     But I noticed that it's not my name at the
24     top that it's addressed to.
25            Q.     So you do see in the upper left there's a


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                                                                                Page 111
1                                   D. Trahanas
2      date August 19, 2014, right?
3             A.     Correct.
4             Q.     And it has your name and your residential
5      address correct there?
6             A.     It does.
7             Q.     And then it says "Dear Kendra" instead of
8      "Dear Diane"?
9             A.     Yes.
10            Q.     And did you receive this at your home
11     address in August of 2014?
12            A.     I don't recall.
13            Q.     Okay.    Do you ever remember asking
14     somebody why you might have gotten a letter that was
15     addressed to Kendra as opposed to yourself?
16            A.     I never asked.        I'm sure I would have if I
17     did receive the letter.
18            Q.     Do you have any reason to believe this was
19     not sent to your home?
20            A.     I would most definitely just inquire about
21     there possibly being a mistake because they maybe
22     had confused me with this person that it is
23     addressed to as Kendra.
24            Q.     So let me ask you this though:              You were
25     working in the department of trauma and --


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                                                                                Page 112
1                                   D. Trahanas
2             A.     Critical care.
3             Q.     -- critical care, although "care" is
4      missing as well, right?
5                    And the department -- here it's listed the
6      Feinberg School of Medicine, Department of Trauma
7      and Critical.
8                    Do you see that?
9             A.     Yes.
10            Q.     So that's at least your right department,
11     correct?
12            A.     Yes.
13            Q.     And the research technologist position 2
14     is the same position that was in the e-mail that was
15     in the exhibit marked 14, correct?
16            A.     Yes.
17            Q.     Okay.
18            A.     Those two agree.
19            Q.     Okay.    And in the second-to-last paragraph
20     it says Diane, we are looking forward to working
21     with you.
22                   Do you see that?
23            A.     Yes, I do.
24            Q.     Okay.    But you just can't recall if you
25     actually received this at your home address?


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                                                                                Page 113
1                                   D. Trahanas
2             A.     No.     The only letter I recall receiving
3      about any sort of merit or title position letter is
4      from Mr. Chris Scarpelli.
5             Q.     And who is Mr. Chris Scarpelli?
6             A.     Definitively I can't tell you what
7      department he works for, but I know that he was the
8      one that sent us -- he would send us our annual
9      merit increase.
10            Q.     Can we mark this, please, then as 16.
11                                (Exhibit 16 was marked for
12                                identification.)
13     BY MS. WERMUTH:
14            Q.     Okay.    You've now been handed what's been
15     marked as Deposition Exhibit 16.
16                   Do you recognize that document?
17            A.     Yes.
18            Q.     Okay.    And this is a letter to you from
19     Chris Scarpelli dated September 2014; is that right?
20            A.     Yes.
21            Q.     Okay.    And according to this letter, under
22     your name in the upper left it says Research
23     Technologist 2.
24                   Do you see that?
25            A.     Yes.


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                                                                                Page 114
1                                   D. Trahanas
2             Q.     And it says "MED dash Trauma & Critical"?
3             A.     Yes.
4             Q.     So that information is accurate or was
5      accurate at the time?
6             A.     It was not.       I responded to this, to this
7      letter.
8             Q.     Okay.    And you say it was not accurate
9      because you believed that you were entitled to a
10     promotion to Research Technologist 3?
11            A.     Yes, I believed that I was supposed to be
12     retitled to Research Tech 3.
13            Q.     Okay.    And so when you got this letter you
14     were unhappy?
15            A.     I just thought that there was a mistake.
16            Q.     Oh, okay.      Now, let me ask you this:
17     According to this letter, your new hourly rate was
18     $20.06 according to this letter, right?
19            A.     As the letter states, yes, $20.06.
20            Q.     And that was an increase over 19.48 the
21     prior year, $19.48?
22            A.     Yes.
23            Q.     So that was about a 3 percent increase?
24            A.     Yes.
25            Q.     So when you got this letter, what did you


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                                                                                Page 115
1                                   D. Trahanas
2      do?
3             A.     I e-mailed -- I believe I e-mailed Rachel,
4      Ms. Rufer, Rachel Rufer, and then she directed me to
5      Krissy Dulek because Rachel was no longer within the
6      department, or I'm not sure, maybe her position
7      changed; and I notified them that there was
8      something inconsistent with this letter.
9             Q.     Okay.    Can you mark that, please.
10                                (Group Exhibit 17 was marked for
11                                identification.)
12     BY MS. WERMUTH:
13            Q.     Okay.    So you're looking now at I guess
14     what we can call Group Exhibit 17.               This is a series
15     of e-mails that you produced to us in this
16     litigation, okay?
17            A.     Okay.
18            Q.     And you can see the Bates labeling at the
19     bottom is Trahanas 261 through Trahanas 270.
20                   Do you see that?
21            A.     Yes.
22            Q.     Okay.    So let's go to Page 268, which
23     is -- it's Trahanas 268.
24            A.     Okay.
25            Q.     And that's the e-mail that you sent to


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                                                                                Page 116
1                                   D. Trahanas
2      Krissy Dulek; is that right?
3             A.     Yes.
4             Q.     At the bottom there?
5             A.     Yes.    On September 24th of 2014?
6             Q.     Yes.    At 2:34 p.m.?
7             A.     Yes.
8             Q.     Okay.    And you copied Rachel Rufer?
9             A.     Yes.
10            Q.     Okay.    And so is this the date upon which
11     you received the letter from Mr. Scarpelli?
12                   MR. DeROSE:       That was Exhibit 16.
13                   THE WITNESS:       I believe it was
14     September 24th, yes.
15     BY MS. WERMUTH:
16            Q.     Okay.    And you say, "I wanted to inform
17     you that this is not reflective of the promotion
18     Dr. Schwulst issued me back in March."
19            A.     Yes.
20            Q.     Okay.    Now, we haven't seen any
21     documentation that shows that you were issued a
22     promotion, have we?
23            A.     Thus far, no.
24            Q.     Do you have any documentation that
25     supports your assertion that Dr. Schwulst issued you


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                                                                                Page 117
1                                   D. Trahanas
2      a promotion in March of 2014?
3             A.     I don't have any documentation that he
4      issued it to me.         However, within the evidence that
5      Northwestern provided us there is an e-mail chain in
6      which he is discussing with somebody about my
7      promotion.
8             Q.     Right.     Well, we did see already today
9      that on March 17th he mentioned to the department
10     administrator the possibility of retitling your
11     position, right?
12            A.     In March, correct.
13            Q.     Okay.    And you're saying there's a
14     subsequent conversation where he is actually trying
15     to or where it's documented that he has issued you
16     the promotion?
17            A.     He is having a discussion with I believe
18     Ms. Burke in an e-mail about finishing the paperwork
19     for the promotion and discussing the duties and the
20     pay so that it could be implemented September 1st.
21     However, I mean, at this time in September 24th of
22     2014 I did not have that documentation.
23            Q.     Right, okay.       And you say, "I have been
24     fulfilling my Research Tech 3 responsibilities since
25     March."


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                                                                                Page 118
1                                   D. Trahanas
2                    Do you see that?
3             A.     Yes.
4             Q.     Okay.    And that was the purchasing
5      responsibilities that you talked about?
6             A.     Amongst others.
7             Q.     What are the others?
8             A.     I mean, I was the only person that -- I
9      was the only person in the lab, so I did -- I was
10     essentially a lab manager and not just a Research
11     Tech 3.
12            Q.     And what duties are associated with being
13     a lab manager?
14            A.     Managing the lab in terms of knowing
15     goals; knowing projects; attending meetings;
16     making -- schedule meetings; ordering, as we
17     discussed earlier, supplies.
18            Q.     The duties that you've just described, are
19     those duties that you just started assuming in March
20     of 2017?
21            A.     I list it as March of 2017, but I believe
22     I was probably -- not probably.              I believe I was
23     fulfilling them a little bit earlier than that.
24            Q.     Okay.    And Krissy referred you back to
25     Dr. Schwulst, correct?


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                                                                                Page 119
1                                   D. Trahanas
2             A.     Yes.
3             Q.     On Page 268 she referred you back to
4      Dr. Schwulst, right?
5             A.     Yes.
6             Q.     And this trail is confusing.             I don't know
7      if it's a Gmail situation, but if look at
8      Page Trahanas 267.
9             A.     Uh-huh.
10            Q.     It looks like -- so I'm looking at the
11     bottom third of the page where it says On Wednesday,
12     September 24th, 2014, at 4:27 p.m.
13                   Do you see that?
14            A.     Yes.
15            Q.     And it looks like an e-mail from
16     Dr. Schwulst?
17            A.     Yes.
18            Q.     To you?
19            A.     Correct.
20            Q.     Okay.    It says, "Diane, can we talk about
21     this when I am off service?"
22                   So he was in his surgery service or
23     clinical work at that time?
24            A.     Yes, at that time.
25            Q.     Okay.    And then he goes on to say, "My


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                                                                                Page 120
1                                   D. Trahanas
2      impression was that this was a substantial
3      percentage raise, 4.5 percent I think, and in line
4      with what we discussed at your review.                 Please
5      refresh my memory if this is correct."
6                    MR. DeROSE:       Incorrect.
7      BY MS. WERMUTH:
8             Q.     Incorrect, I'm sorry.          Do you see that?
9             A.     Yes, I do see that.
10            Q.     And your review happened in as we've seen
11     in April of 2017, correct?
12            A.     Yes.
13            Q.     Okay.    So that was a month after the March
14     conversation about the promotion?
15            A.     Yes.
16            Q.     Okay.    And if you look at Exhibit 9.
17            A.     Okay.
18            Q.     And if you could go to the last page with
19     Dr. Schwulst's comments.
20            A.     Okay.
21            Q.     At the time of your review he does say
22     that you should be considered for a
23     performance-based raise, right?
24            A.     Yes.
25            Q.     Okay.    But at the time of your review he's


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                                                                                Page 121
1                                   D. Trahanas
2      not saying anything in his comments about a
3      promotion, correct?
4              A.    In the Comments section, no.
5              Q.    Okay.    So then later that day, going back
6      to the current exhibit, which is Group Exhibit 17,
7      Page Trahanas 267, you write back at 5:58, you say,
8      "Hello, everyone," but I can't tell who's on your
9      e-mail.
10                   Do you see that, the upper third on
11     September 24, 2014, at 5:58 p.m.?               Do you see that?
12            A.     Oh, yes.
13            Q.     Okay.    It's an e-mail from you, and it
14     says, "Hello, everyone."
15                   Who are you sending this to?             I can't
16     tell.
17            A.     It would have to be Krissy and Heather.
18            Q.     It was not Dr. Schwulst?
19            A.     And Dr. Schwulst, yes.
20            Q.     Okay.    So you say that you'd like to talk
21     to Dr. Schwulst before you get back to them and get
22     things straightened out, right?
23            A.     Yes.
24            Q.     But you did ask about when the
25     clarification when he returns would take effect,


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                                                                                Page 122
1                                   D. Trahanas
2      right?       So in the last paragraph you say, "My
3      concern:       Will the clarification/agreement we make
4      when he returns in October take effect for this
5      September 2014?"
6                     Do you see that?
7              A.     Yes.
8              Q.     Okay.   Okay.     And then two days later it
9      looks like you e-mailed them again, and it looks
10     like -- I'm looking at the top of 267, Trahanas 267.
11     You say -- and this looks like it's just to Krissy
12     and Heather.
13            A.     Yes.
14            Q.     Not to Dr. Schwulst.
15            A.     No.
16            Q.     So are you certain that the other one also
17     copied Dr. Schwulst, the one just below?
18            A.     Yes, because he would be the one that
19     directed me, so I would want to keep him in the
20     loop.
21            Q.     Okay.    But you didn't keep him in the loop
22     on this other e-mail, right?
23            A.     If he's on service he's probably not going
24     to see it anyways was probably my thinking so why
25     spam him.      But realistically he wouldn't be able to


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                                                                                Page 123
1                                   D. Trahanas
2      answer any questions I asked anyways.
3             Q.     So you repeated your question about when
4      any potential agreement might take effect, right?
5             A.     Correct.
6             Q.     And Krissy did say that on the preceding
7      page, Trahanas 266, that if changes were approved by
8      the dean's office they can be retroactive, right?
9             A.     Are you --
10            Q.     Do you see the bottom of Trahanas 266?
11            A.     Yes.
12                   Yes, I see that Ms. Burke wrote any
13     changes would need to be approved by the dean's
14     office, FSM dean's office.
15            Q.     By the way, up above that e-mail it says
16     "Quoted text hidden," and I see that like four times
17     on this page.
18            A.     Uh-huh.
19            Q.     What is that?
20            A.     So it's basically when you have a
21     signature on Gmail -- can I ask, do you have a Gmail
22     account, or am I not allowed to ask?                It doesn't
23     matter.
24                   MR. DeROSE:       She asks questions.         Just
25     answer.


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                                                                                Page 124
1                                   D. Trahanas
2                    THE WITNESS:       So on a Gmail account what
3      happens is when you have like a signature, like your
4      name, maybe like a department you work for and your
5      degrees, it will -- when you're looking at things,
6      so it doesn't span I guess the entire page when
7      you're viewing something, it will compact that so
8      you're not seeing everyone's ending or their,
9      quote-unquote, signature as Gmail calls it.
10     BY MS. WERMUTH:
11            Q.     So everywhere I see that "Quoted text
12     hidden" that's the only thing that's hidden?
13            A.     Yes.
14            Q.     There isn't like substantive conversation
15     that you've hidden?
16            A.     No, not that I have hidden, no.              That's
17     how it prints out.
18                   So I can go back and triple check, but as
19     far as everything I've already looked over I did
20     look that over because my attorney asked me the same
21     thing, and that's what I found.              It's just the
22     signature or it's showing you what you're responding
23     to.
24            Q.     Okay.    Did you have a conversation with
25     Dr. Schwulst when he returned from service?                   I think


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                                                                                Page 125
1                                   D. Trahanas
2      that's what you call it, service.
3             A.     About the promotion, yes.
4             Q.     And what do you recall about that
5      conversation?
6                    Strike that.
7                    So let me ask you this:           When did
8      Dr. Schwulst return from service after these
9      particular e-mails that we looked at in Group 17?
10            A.     Probably after the first week of October.
11            Q.     Okay.    And where do you recall having the
12     conversation with Dr. Schwulst on this topic?
13            A.     In the lab.
14            Q.     Okay.    And tell me what you recall about
15     that conversation, what he said to you and what you
16     said to him.
17            A.     He told me that he would talk to the
18     department and I guess reach out to the department
19     and see what needed to be done.
20            Q.     To do what?       What needed to be done for
21     what purpose?
22            A.     For the promotion, the retitle.
23            Q.     So is it a promotion or is it a retitling?
24            A.     I mean, the retitling would be to a higher
25     job, so it would be equal to a promotion.


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                                                                                Page 126
1                                   D. Trahanas
2             Q.     Okay.    So it's your testimony that in
3      October of 2014 Dr. Schwulst was still telling you
4      that he was seeking to get you promoted?
5             A.     Yes.
6             Q.     Okay.    And do you know if he, in fact,
7      took efforts to get you a promotion with the
8      department administration?
9             A.     Yes.
10            Q.     Okay.    And you know that because he told
11     you that?
12            A.     Well, he told me, and I believe there's a
13     few e-mails that I read from Northwestern that show
14     that as well.
15            Q.     Right.     And it shows that he was, in fact,
16     trying to get you higher pay, correct?
17            A.     Yes.
18            Q.     And he was also at least inquiring as to
19     whether or not you could still be graded as a
20     Tech 3, correct?
21            A.     I'm sorry, still graded as a Tech 3, or do
22     you mean --
23            Q.     He was still inquiring about whether or
24     not you could be graded as a Tech 3?
25            A.     Yes.


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                                                                                Page 127
1                                   D. Trahanas
2                    MR. DeROSE:       Counsel, we haven't had a
3      break, but I don't want to wear out the reporter.
4      Are we close to lunchtime, or should we take a break
5      at some point?
6                    MS. WERMUTH:       Sure.    So let's go off the
7      record for a quick second here.
8                                 (Whereupon, an off-the-record
9                                 discussion was held.)
10     BY MS. WERMUTH:
11            Q.     So we can go back on the record.
12                   There is an exhibit that we have marked
13     already, Group Exhibit 13.            If you could go back to
14     that for a moment.
15                   Do you have it?
16            A.     Oh, yes.     I'm sorry.
17            Q.     No worries.       So Page 8 of this exhibit,
18     which is also Bates marked Trahanas-NU1893.
19            A.     Yes, I'm there.
20            Q.     Okay.    So are these the e-mails that you
21     said that you read that showed that Dr. Schwulst was
22     endeavoring to get you a higher rate of pay and a
23     retitling of your position?
24            A.     This is part of them, yes.
25            Q.     Okay.    So after you reached out to


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                                                                                Page 128
1                                   D. Trahanas
2      Rachel Rufer on September 24th, 2014, ultimately
3      Heather Burke got involved and she reached out to
4      Dr. Schwulst, right, according to these e-mails?
5             A.     According to these e-mails, yes.
6             Q.     And if you look at Page 8, you can see
7      that Dr. Schwulst says to Heather I can't afford to
8      lose Diane right now.
9                    Do you see that?
10            A.     Yes.
11            Q.     "Can we make her an RT3 at $21 per hour?"
12            A.     Yes.
13            Q.     Okay.    And RT3, do you know what that
14     refers to?
15            A.     Research Tech 3.
16            Q.     Okay.    So in September of 2014 he was
17     asking if he could change your pay and change your
18     title?
19            A.     Correct.
20            Q.     Okay.    And there's some back and forth
21     which you were not copied on at the time that tells
22     him that -- where he learns according to these
23     e-mails that this would require an off-cycle budget
24     request, right?
25                   So look at Page 7, for example --


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                                                                                Page 129
1                                   D. Trahanas
2             A.     Okay.
3             Q.     -- which is Trahanas-NU1892.
4                    Do you see at the bottom the e-mail from
5      Heather to Dr. Schwulst?
6             A.     Yes.
7             Q.     It says, "Unfortunately, since this
8      request is not considered off-cycle and Diane's
9      salary isn't funded, it won't be approved by the
10     dean's office."
11                   Do you see that?
12            A.     I do see that.
13            Q.     And do you know what that means, that your
14     salary is not funded?
15            A.     No.    I would assume --
16                   MR. DeROSE:       Well, objection to assuming
17     anything.
18                   THE WITNESS:       No, I don't know.
19     BY MS. WERMUTH:
20            Q.     Okay.    Did Dr. Schwulst have -- he didn't
21     have NIH funding at that point in time, correct?
22            A.     He did not.
23            Q.     Okay.    And then on Page 6, the preceding
24     page at Trahanas-NU1891, do you see that?
25            A.     Yes.


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                                                                                Page 130
1                                   D. Trahanas
2             Q.     Okay.    He writes to Heather.           Now we're in
3      December of 2014.
4                    Do you see that?
5             A.     Yes, I see that.
6             Q.     December 11, 2014.         He writes to Heather
7      saying, "Diane, my research technician, is really
8      unhappy with her compensation."
9                    Do you see that?
10            A.     I do see that.
11            Q.     And that's what you told Dr. Schwulst,
12     right, you were not happy with your compensation?
13            A.     Amongst other things, yes.
14            Q.     Okay.    Well, so when you say "amongst
15     other things," what are you referring to?
16            A.     That was -- that wasn't the only topic of
17     our conversation.
18            Q.     What conversation?
19            A.     About the compensation, the conversation
20     including the compensation.
21            Q.     What was the other part of that
22     conversation?
23            A.     How tired I was, just how I felt, yeah.
24            Q.     So you told him you were working a lot,
25     and the compensation was not sufficient for the


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                                                                                Page 131
1                                   D. Trahanas
2      hours you were putting in?
3             A.     Not just for the hours I was putting in
4      but for the work I was doing.
5             Q.     Okay.    So you told him you were not happy;
6      is that right?
7             A.     Unhappy or disappointed.
8             Q.     Were you frustrated?
9             A.     No.
10            Q.     You weren't frustrated?
11            A.     I think I was just -- not I think.               I was
12     really just disappointed.
13            Q.     Okay.    And he writes that you were
14     actively looking for and had received an offer of
15     alternate employment.
16                   Do you see that?
17            A.     I do see that.
18            Q.     And did you tell him that, that you had
19     gotten another offer somewhere else?
20            A.     I told him that if I were going somewhere
21     else they would pay me more.
22            Q.     So here's my question:           Did you actually
23     tell him you had another job offer?
24            A.     No.
25            Q.     So he just made that up?


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                                                                                Page 132
1                                   D. Trahanas
2             A.     Maybe he misunderstood.           I'm not sure.
3             Q.     So you never told him that you had another
4      job offer?
5             A.     No.
6             Q.     Okay.    All right.       Can you turn to Page 4,
7      which is also marked Trahanas-NU1889.
8                    By the way, you didn't have another job
9      offer in December of 2014, did you?
10            A.     No.
11            Q.     Were you actively looking for work outside
12     the university at that time?
13            A.     That is correct.
14            Q.     Okay.    And when did you start actively
15     looking for alternate work?
16            A.     It was starting back in 2013.
17            Q.     And where?      Were you looking inside the
18     university or outside the university?
19            A.     Mostly inside the university.
20            Q.     Okay.    Were you also looking outside the
21     university?
22            A.     Yes.
23            Q.     And did you -- between 2013 and December
24     of 2014, did you have any interviews with anybody,
25     any other employers, whether within the university


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                                                                                Page 133
1                                   D. Trahanas
2      or outside the university?
3              A.    I believe in 2014.
4              Q.    And did you receive any offers?
5              A.    They gave me a recommendation to apply for
6      another -- they gave me a recommendation that based
7      on my background that I would be better for a
8      different position than the one that I had
9      interviewed for, but I did not receive an offer for
10     that specific position that I had interviewed for at
11     the time.
12            Q.     And was that inside the university or
13     outside the university?
14            A.     It was outside.
15            Q.     Okay.    Where was it?
16            A.     It was for a medical sales group.               They
17     sold anything from cardiology equipment to plastics
18     equipment, plastic surgery equipment.                And so I had
19     interviewed for a plastics device sales position,
20     and they recommended me for a neuro sales position.
21            Q.     And did you -- when you say they
22     recommended you, did they refer you over to that
23     unit?
24            A.     They did, but I did not follow up with
25     them.


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                                                                                Page 134
1                                   D. Trahanas
2             Q.     Okay.    So you chose to take yourself out
3      of the running for that job?
4             A.     I didn't -- based on the interview that I
5      did with the woman, I didn't think that that company
6      or position was exactly what I needed, what I was
7      looking for.
8             Q.     Okay.    So you took yourself out of the
9      running for any potential employment with that
10     employer?
11            A.     Yes.
12            Q.     And what was the name of the company?
13            A.     I would -- I would have to go back and
14     look for it.       I don't recall.
15            Q.     Okay.    Can you stay in that same group
16     exhibit and turn to Page 4.
17            A.     Sure.
18            Q.     And when you say you have to go back and
19     look for it, would you have records of your
20     application with that employer?
21            A.     I have records of jobs that I was applying
22     to on my notebook.
23            Q.     What notebook?
24            A.     My -- the list of jobs that you guys had
25     sent us, the Research Tech 3 jobs or Research Tech 4


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                                                                                Page 135
1                                   D. Trahanas
2      jobs, like back in 2000 [sic], so that would be
3      that --
4                    MR. DeROSE:       We produced that?
5                    THE WITNESS:       Yeah.
6      BY MS. WERMUTH:
7             Q.     Back in 2000?
8             A.     Not in 2000, after 2010, like all those
9      jobs that you were mentioning about applying to
10     Northwestern between 2010 and 2012.
11            Q.     Okay.
12            A.     I probably noted somewhere the job or
13     maybe the company somehow or maybe a suggestion that
14     somebody told me to apply to that position.
15            Q.     What we produced to you is only records
16     that Northwestern would have about applications you
17     made to Northwestern.
18            A.     Sure.
19            Q.     So when you say that you applied to some
20     company outside of Northwestern and you kept a
21     notebook, I'd like to know what you're referring to.
22     Those are not records that we produced.
23            A.     Like a --
24                   MR. DeROSE:       We produced to you, Counsel,
25     her job searches; you know that.


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                                                                                Page 136
1                                   D. Trahanas
2                    THE WITNESS:       Yeah.
3      BY MS. WERMUTH:
4             Q.     Dating back to 2014?
5             A.     Yeah.    It was between -- I believe you
6      asked from 2012 to 2015.
7             Q.     And you produced all of that?
8             A.     Yes, so it should be within that list.
9             Q.     Okay.    All right.       Looking at Group
10     Exhibit 13, Page 4, which is Trahanas 1889,
11     Trahanas-NU1889.         I should be clear.
12            A.     Okay, yes.
13            Q.     And in the middle of the page it says
14     forwarded message, Steven Schwulst to Diane
15     Trahanas, December 16, 2014, at 1:15 p.m.
16                   Do you see that?
17            A.     Yes.
18            Q.     Okay.    So according to this Steven
19     Schwulst forwarded to you the following e-mails with
20     a note that says, "See below.             Can you start this
21     while I am on service?"
22                   Do you see that?
23            A.     I do see that.
24            Q.     Okay.    So at this point in time
25     Dr. Schwulst was back on service again; is that


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                                                                                Page 137
1                                   D. Trahanas
2      right?
3             A.     Correct.
4             Q.     Okay.    And so the e-mails that he forwards
5      are all the e-mails that follow in Pages 5 through
6      12, right?
7             A.     Yes.
8             Q.     Okay.    And so when you look at Page 5,
9      which is Trahanas-NU1890, it says the process --
10     it's an e-mail from Heather Burke to Steven Schwulst
11     saying, "The process for requesting an off-cycle
12     increase is attached.           This document details the
13     steps and the process as well as supplementary
14     information you'll need to provide."
15                   So Dr. Schwulst in his e-mail to you on
16     December 16th is asking you to start pulling that
17     information together.
18                   Is that what you understood his e-mail to
19     be?
20            A.     Yes.
21            Q.     Okay.    And you quickly as of 2:01 p.m.
22     forward his e-mail to Daina Fernandez.
23                   Do you see that?
24            A.     What page, I'm sorry?
25            Q.     Page 3, 1888.


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                                                                                Page 138
1                                   D. Trahanas
2             A.     Okay.    I'm there.
3             Q.     So do you see at the very bottom from
4      Diane Trahanas, December 16th, 2014, at 2:01 p.m. to
5      Daina Fernandez, subject, forward promotion.
6             A.     Yes.
7             Q.     Do you see that?
8             A.     I do.
9             Q.     Okay.    So you say, "Hello, Diane.             I think
10     you meant Daina.         And I don't know if she pronounces
11     it Daina or --
12                   MS. MYRIANTHOPOULOS:          Daina.
13     BY MS. WERMUTH:
14            Q.     D-a-i-n-a.      But you write, "Hello, Diane,"
15     and then you say, "I am a bit confused again."
16                   So who is Daina Fernandez?
17            A.     She's in HR.       She's in the department of
18     HR.
19            Q.     And you say, "I am a bit confused again."
20                   Was this the first time -- this was not
21     the first time you had reached out to Daina?
22            A.     No.    I had met with her right before that.
23            Q.     I see.     To talk about this issue of the
24     promotion?
25            A.     Yes.


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                                                                                Page 139
1                                   D. Trahanas
2              Q.    Okay.    And that was the first time you had
3      contacted Daina; is that right?
4              A.    Correct.
5              Q.    Okay.    And you say, "I am not
6      understanding why Dr. Schwulst needs to submit all
7      this unnecessary paperwork."
8              A.    Yes, I see that.
9              Q.    "For something that was submitted and
10     agreed upon back in March."
11                   Do you see that?
12            A.     I do see that.
13            Q.     And when you say, again, when you say
14     "agreed upon back in March," you're referring to the
15     conversation on March 17th, 2014, that we've already
16     talked about?
17            A.     Yes.
18            Q.     Okay.    And so you had questions about why
19     this was considered off-cycle and why this paperwork
20     needed to be completed?
21            A.     Yes.
22            Q.     Okay.    And so tell me about your meeting
23     with Daina Fernandez.           When did that occur?
24            A.     It must have been -- I'm sorry, not must
25     have.     It was -- it was in December after


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                                                                                Page 140
1                                   D. Trahanas
2      Dr. Schwulst and I had met about revisiting this
3      promotion issue, and he was -- he was unhappy with
4      me.    And so my co-worker Salina, she saw me upset
5      and insisted that I go and see someone at least and
6      talk to in HR; so I -- so Salina walked me to HR,
7      and I met with Ms. Fernandez, and I gave her a
8      little bit of background of sort of from the
9      beginning of March until kind of what was going on
10     at the moment and what I could do or what my options
11     were in terms of who I could contact and get a
12     better idea of kind of what was going on.
13            Q.     Okay.    So you met with her in December of
14     2014, is that fair?
15            A.     Yes.
16            Q.     Okay.    And the topic of the meeting was
17     your concerns about your pay and promotion?                   That's
18     what you discussed with her?
19            A.     Yes, and also another one of my concerns
20     was all these e-mails that had been going back and
21     forth, and it just seemed -- I got that e-mail back
22     in June from Rachel saying this will be starting in
23     September, and then September rolls around and next
24     thing you know it's December and we've kind of been
25     playing e-mail tag with everyone.


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                                                                                Page 141
1                                   D. Trahanas
2              Q.    Okay.
3              A.    So --
4              Q.    So you wanted to get closure on this topic
5      of the pay and promotion --
6              A.    Yes.
7              Q.    -- and so sought out HR's assistance --
8              A.    Yes.
9              Q.    -- to make that happen?
10                   And as you pointed out, you were unhappy
11     at this point in time?
12            A.     I was sad.
13            Q.     Okay.    Were you mad?
14            A.     No.
15            Q.     Were you frustrated?
16            A.     I just felt really hurt and just
17     disappointed, and I kind of felt helpless.
18            Q.     Okay.    Ultimately you did get a pay
19     increase, correct?
20            A.     In January of 2015.
21            Q.     Okay.    And that increase was to $23 an
22     hour?
23            A.     Yes.
24            Q.     Okay.    So even higher than the 21 that we
25     saw Dr. Schwulst asking for in September, right?


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                                                                                Page 142
1                                   D. Trahanas
2             A.     Correct.
3             Q.     Okay.     And it was implemented beginning
4      1/1 of '15; is that right?
5             A.     January 1st.       I believe there's an e-mail
6      that says the start date of it.              I can't recall that
7      it was January 1st, but it was in January that it
8      did begin, the promotion.
9             Q.     Okay.     Now, one of the pieces of paperwork
10     that needed to get done in order to make --
11     ultimately to make the pay increase happen was
12     midyear review.
13                   Do you remember that?
14            A.     Yes.
15            Q.     Okay.    And so Dr. Schwulst prepared a
16     midyear review, correct?
17            A.     He did.
18            Q.     Okay.    And he tried to meet with you to go
19     over that midyear review, right?
20            A.     Yes.
21            Q.     Okay.    And, again, he needed you to sign
22     it so that he could submit it so that he could get
23     you the pay increase, correct?
24            A.     Correct.
25            Q.     Okay.    And at the time that he prepared


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                                                                                Page 143
1                                   D. Trahanas
2      it, he was out on FMLA leave, correct?
3             A.     I'm -- I can't speak to the FMLA, but I
4      believe he was on paternity leave at the time.
5             Q.     Caring for a newborn, right?
6             A.     Correct.
7             Q.     So he was on a leave of absence to care
8      for a newborn, correct?
9             A.     Yes.
10            Q.     Okay.    But he nevertheless took the time
11     to put together the midyear review, correct?
12            A.     When he came back, I believe he came back
13     a day early from the paternity leave to prepare the
14     midyear review, correct.
15            Q.     And he tried to meet with you to go over
16     that review, right?
17            A.     Correct.
18            Q.     But you would not meet with him, correct?
19            A.     I did not meet with him.           I could not meet
20     with him.
21            Q.     And the reason you couldn't meet with him
22     is because your car was in the shop; is that right?
23            A.     Yes.    My car had broken.         I'm not sure
24     what the exact mechanical term is, but it wasn't --
25     the heat wasn't working amongst a couple of other


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                                                                                Page 144
1                                   D. Trahanas
2      problems I ended up finding out, but it wasn't
3      drivable.
4              Q.    And there was no other way for you to get
5      to the lab to meet with him?
6              A.    No, because I would need the car to get to
7      the train station, which would be the other way that
8      I would often commute to work.
9              Q.    And there was nobody else who could give
10     you a ride to the train station?
11            A.     Not at that time.
12            Q.     And you didn't have Uber or Lyft or any
13     other type of app on your phone that would give you
14     a ride to the train station?
15            A.     I don't even think I knew about Uber in
16     2015.
17            Q.     Really?
18            A.     Yeah, really.       I'm not sure when the
19     company started.         But no, I did not have Uber on my
20     phone at that time, no.
21            Q.     You do now?
22            A.     I do now, yes.
23            Q.     And you couldn't take a cab to get to the
24     train station to go meet with Dr. Schwulst?
25            A.     There's not really cabs in the southwest


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                                                                                Page 145
1                                   D. Trahanas
2      suburbs.       I mean, I'm not sure if they would even
3      come.       I know that they cab you from the burbs to an
4      airport, but I wouldn't be able to cab from home to
5      the city because that would be at least $50 plus
6      another $50 to go home.           And I had to pick up my car
7      that day or the next day; I wasn't sure.
8             Q.      So you couldn't take a cab to the train
9      was my question, not downtown but to the train.
10            A.     No.
11            Q.     Because there's no ability to call a cab
12     service in the southwest suburbs, is that fair?
13            A.     There is an ability.          I don't believe I
14     said there isn't an ability.
15            Q.     But you didn't take advantage of that,
16     correct?
17            A.     I believe my car may have also been ready
18     that day, so I needed to be ready to possibly
19     somehow get my car.          I wasn't sure if it could be
20     towed to my house or how that would really work.
21            Q.     Can we mark that, please.
22                                (Exhibit 18 was marked for
23                                identification.)
24     BY MS. WERMUTH:
25            Q.     You've been handed now what's been marked


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                                                                                Page 146
1                                   D. Trahanas
2      as Exhibit 18.
3                    Do you recognize those e-mails?
4             A.     Yes.
5             Q.     Okay.    And these are documents that you
6      produced to us in connection with this litigation;
7      is that right?
8             A.     Yes.
9             Q.     Okay.    And the top portion is an e-mail
10     from Dr. Schwulst to you on January 13th of 2015.
11                   Do you see that?
12            A.     Yes.
13            Q.     Okay.    And then below that there's a
14     message from Heather Burke to Dr. Schwulst that he
15     forwards to you, correct?
16            A.     Yes.
17            Q.     Okay.    And the e-mail from Heather to
18     Dr. Schwulst is dated January 13th of 2015.
19                   Do you see that?
20            A.     Yes.
21            Q.     Okay.    And she writes that HR compensation
22     contacted her on Friday regarding Diane Trahanas'
23     promotion.
24                   Do you see that?
25            A.     I do.


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                                                                                Page 147
1                                   D. Trahanas
2             Q.     And she writes Diane has been contacting
3      them directly rather than working with you and the
4      department and that it's appropriate -- that the
5      appropriate course of action is to have the manager
6      submit the request.
7                    Do you see that?
8             A.     I do.
9             Q.     Okay.    And, in fact, we saw from the
10     Exhibit 17 -- no, I'm sorry, Exhibit 13 that he sent
11     you back in December the information that he wanted
12     you to get together to submit the request, right?
13            A.     I'm sorry, what exhibit was that?
14            Q.     So in Group Exhibit 13.           We've already
15     looked at this.
16            A.     Yes.
17            Q.     On Page 4, Page 4 he's asking you to start
18     putting the documentation together.
19            A.     Yes.
20            Q.     Okay.    And so he was trying to get it
21     together to get it approved, correct?
22            A.     Yes.
23            Q.     Okay.    And you understood that
24     Dr. Schwulst had to get approval from the dean to do
25     increases and promotions, right?               You had been


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                                                                                Page 148
1                                   D. Trahanas
2      advised of that already?
3             A.     I knew he needed approval.            I suppose
4      maybe in the e-mails, I don't know what they were
5      dated, then it would be the dean's approval,
6      correct.
7             Q.     Okay.    So he had to put up the case to get
8      the approval, right?
9             A.     I'm not --
10            Q.     He had to submit the documentation in
11     order to get the approval?
12            A.     Yes.
13            Q.     Okay.    And so when you look now at
14     Exhibit 18, he writes to you there is a specific
15     protocol to get this done.
16                   Do you see that?
17            A.     Yes.
18            Q.     Okay.    And he says we will talk on Friday
19     when I'm back from paternity leave.
20                   Do you see that?
21            A.     Yes.
22            Q.     And do you know how long he was on
23     paternity leave?
24            A.     I don't recall.
25            Q.     Okay.    And he forwards you the protocol


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                                                                                Page 149
1                                   D. Trahanas
2      again now on January 13, correct?
3             A.     Is it on Exhibit 18?
4             Q.     Yes.    If you look at the e-mail he
5      forwards you, the protocol starts at the bottom of
6      the page and goes on to the following page, right?
7             A.     Yes.
8             Q.     And this was the second time he sent you
9      the protocol?
10            A.     I don't believe I received a protocol with
11     can you start this while I'm on service from
12     Exhibit 13.
13            Q.     Well, he forwarded it to you, right, and
14     he forwarded the e-mail to you from Heather on
15     December 13th, 2014?
16                   So if you look at Page 5 of Group
17     Exhibit 13.
18            A.     Uh-huh, yes.
19            Q.     Heather says to Steven the process for
20     requesting an off-cycle increase is attached.
21                   Do you see that?
22            A.     Yes.
23            Q.     Okay.    And then he forwards that e-mail to
24     you, if you look at Page 4, right?
25            A.     Yes.


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                                                                                Page 150
1                                   D. Trahanas
2             Q.     And says can you start this while I'm on
3      service, right?
4             A.     Yes.
5             Q.     So he had sent you the process back in
6      December, correct?
7             A.     Yes.
8             Q.     And he sends it to you again, now we can
9      see, in Exhibit 18 again in January, right?
10            A.     Yes.
11            Q.     And then he actually tried to contact you
12     to set up a time to meet to go over your review,
13     right?
14            A.     Yes, after January 13th.
15            Q.     So he texted you, correct?
16            A.     Yes.
17            Q.     And he called you, correct?
18            A.     I don't recall.
19            Q.     Okay.    Can I have that marked, please.
20                                (Exhibit 19 was marked for
21                                identification.)
22     BY MS. WERMUTH:
23            Q.     Okay.    So you've been handed Exhibit 19.
24            A.     Yes.
25            Q.     Do you see that?        And this isn't Bates


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                                                                                Page 151
1                                   D. Trahanas
2      labeled, but I'll represent that we received this
3      from your attorney, and it looks like a
4      transcription in part of a voicemail from it says
5      Steve Schwulst.
6                    Was he in your contacts?
7             A.     Yes.
8             Q.     On January 14th, 2015?
9             A.     Correct.
10            Q.     Okay.    So he did call you, correct?
11            A.     Yes.
12            Q.     And he left you a message because you
13     didn't pick up, right?
14            A.     Yes.
15            Q.     And he said he expected you in his office
16     I think that morning, right?             He wanted to see you
17     on the 14th, correct?
18                   MR. DeROSE:       It says tomorrow morning on
19     the second line.
20                   MS. WERMUTH:       My question is to the
21     witness.
22                   THE WITNESS:       No, it would have to be
23     January 15th because he called me January 14th.
24     That voicemail was left at 12:11, so it would have
25     to be the next day, 8:15 in the morning.


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                                                                                Page 152
1                                   D. Trahanas
2      BY MS. WERMUTH:
3             Q.     Okay.    So he's telling you he's going to
4      come in the following morning, and he expected you
5      to meet him at 8:15?
6             A.     Correct.
7             Q.     Okay.    Did you respond to this?            Did you
8      call him back when you got this voicemail?
9             A.     I recall e-mailing him.           I do not recall
10     if I called him.
11            Q.     Okay.    Well, he called you again later
12     that day, right?         Do you remember?
13            A.     I believe so because there was another
14     voicemail that day.
15            Q.     Okay.    And by the way, so if he's saying
16     tomorrow is Friday, this is a Thursday, right?
17     January 14th must have been Thursday then; is that
18     right?
19            A.     Yes.
20            Q.     Okay.    So you were not in the lab that
21     day?
22            A.     No.
23            Q.     Okay.
24                                (Exhibit 20 was marked for
25                                identification.)


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                                                                                Page 153
1                                   D. Trahanas
2      BY MS. WERMUTH:
3             Q.     So you've been now handed Exhibit 20.
4                    Are you with me?
5             A.     Yes.
6             Q.     And this is a voicemail from Dr. Schwulst
7      the same day at 1:43.
8                    Do you see that?
9             A.     Yes.
10            Q.     So about an hour and a half later than the
11     other?
12            A.     Yes.
13            Q.     So in that hour and a half had you called
14     him back?
15            A.     I don't recall.
16            Q.     Okay.    And he again is trying to schedule
17     a meeting with you for the following morning to go
18     over your review, correct?
19            A.     Correct.
20            Q.     Okay.    And so at some point did you
21     respond to his attempts to schedule this meeting
22     with you?
23            A.     Yes.    As I said before, I believe I
24     e-mailed him.
25            Q.     Okay.    And when did you e-mail him?


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                                                                                Page 154
1                                   D. Trahanas
2             A.     Definitely on the 14th.           I don't recall
3      what time specifically.
4             Q.     Can you mark this as 21, please.
5                                 (Exhibit 21 was marked for
6                                 identification.)
7      BY MS. WERMUTH:
8             Q.     Do you have Exhibit 21 now?
9             A.     Yes.
10            Q.     And this again is a series of e-mails, but
11     let's look at the second-to-last page, which is
12     Bates labeled Trahanas-NU10041.
13                   Are you with me?
14            A.     Yes.
15            Q.     Okay.    So at 12:32 p.m., so this is after
16     his first phone call to you before his second phone
17     call to you on January 14th, 2015, right?
18            A.     Yes.
19            Q.     Okay.    And he has also texted you, is that
20     right, on this day?          Do you recall?
21            A.     It's possible.
22            Q.     Can you mark this, please.
23                                (Exhibit 22 was marked for
24                                identification.)
25


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                                                                                Page 155
1                                   D. Trahanas
2      BY MS. WERMUTH:
3              Q.    I've handed you now what's been marked as
4      Deposition Exhibit 22.           I see these copies are kind
5      of poor, so we may have to get a better set.
6                    Can you read your copy okay?
7              A.    I think so.
8              Q.    Okay.    Can you look at Page 2240, the
9      Bates page 2240, so it's near the end.                 This copy is
10     terrible.
11                   Can you read the date and the time on that
12     page?
13                   MR. DeROSE:       I've got twin copies of 2229.
14     I don't know if I go to 2220.
15                   MS. WERMUTH:       Yours is cut off?
16                   MR. DeROSE:       No, no, I've got many, many
17     copies of 2229.
18                   Would you see if you could turn this for
19     me to 2240?
20                   Okay.    Go ahead, Counsel.
21     BY MS. WERMUTH:
22            Q.     Okay.    So when we break I can get a better
23     copy, but if you look at the bottom third of the
24     page, it looks like -- well, what I can see is on
25     January 14th, 2015, at 1:06 p.m. there's a text from


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                                                                                Page 156
1                                   D. Trahanas
2      Dr. Schwulst to you saying, "Please confirm meeting
3      in my office at 8:15 tomorrow."
4                    Do you see that?
5             A.     Yes.    I can't see the time, but yes.
6             Q.     Okay.    And you don't respond to that text,
7      correct, at least not on January 14th?
8             A.     No, not -- no.
9             Q.     Okay.    All right.       Now, go back, please,
10     to Exhibit 21.
11            A.     Okay.
12            Q.     So he e-mails you that day also and asks
13     for you to meet with him at 8:15.
14                   So now what we can see is he e-mailed you,
15     texted you and called you twice, correct?
16            A.     Yes.
17            Q.     Okay.    And on the -- at 1:49 p.m. you
18     responded to his e-mail that same day, correct?
19            A.     Oh, yes.
20            Q.     Okay.    And where were you?
21            A.     I was at the mechanics.
22            Q.     So how did you respond?
23            A.     I had their wifi and had my laptop on me,
24     so I checked my e-mail.
25            Q.     Do you have your Gmail on your phone?


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                                                                                Page 157
1                                   D. Trahanas
2             A.     I do.
3             Q.     But you specifically recall that you
4      responded through your computer and not through your
5      phone?
6             A.     Yes.
7             Q.     Okay.    And so you tell him that your car
8      is in the shop and that your reception and service
9      is horrible.
10                   Why are you telling him that?             You're
11     referring to your phone reception; is that right?
12            A.     Yes.
13            Q.     Why are you telling him that?
14            A.     Just so he would know if he was trying to
15     contact me because I can't remember if he was in the
16     lab or not.       I don't quite know at that time if I
17     knew he was returning from paternity leave or not,
18     what day he would be back.
19            Q.     You were giving him an excuse as to why
20     you weren't calling him back or responding to his
21     texts, right?
22            A.     No.
23            Q.     And you say that at that point in time you
24     were unsure if you were going to have a ride to work
25     or to the train tomorrow, the following day?


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                                                                                Page 158
1                                   D. Trahanas
2             A.     Correct.
3             Q.     And you say you'll follow up with him
4      tomorrow about meeting on Friday.               Oh, so the
5      14th was a Wednesday?
6             A.     Yes, because underneath it says Wednesday,
7      January 14th.
8             Q.     Okay.    And then if you turn to Page -- the
9      first page of this exhibit, you respond to him at
10     11:44 p.m. telling him that you're not going to make
11     it into the office the following day?
12            A.     Yes.
13            Q.     Because your car is in the shop?
14            A.     Yes.    I had to leave it overnight.
15            Q.     Okay.    But he did then ultimately send you
16     your midyear review, correct?
17            A.     He e-mailed it to me, yes.
18            Q.     And you signed it?
19            A.     Correct.
20            Q.     Okay.    And you agreed with it, correct?
21            A.     I signed it.       I did not agree with it.
22            Q.     You didn't send any additional
23     information, attach any commentary to it when you
24     signed it, correct?
25            A.     I did not.


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                                                                                Page 159
1                                   D. Trahanas
2             Q.     Okay.    Can you mark that, please.
3                                 (Exhibit 23 was marked for
4                                 identification.)
5      BY MS. WERMUTH:
6             Q.     I'm handing you Exhibit 23.            That's an
7      e-mail from you to Dr. Schwulst, correct?
8                    MR. DeROSE:       Did we have a 22?         That was
9      the big one.
10                   MS. WERMUTH:       The big one, yes.
11     BY MS. WERMUTH:
12            Q.     Exhibit 23, that's an e-mail from you to
13     Dr. Schwulst dated January 15, 2015 at 9:30 in the
14     morning, correct?
15            A.     Yes.
16            Q.     Okay.    And that's you enclosing your
17     signature for the performance review, the midyear?
18            A.     Correct.
19            Q.     Okay.    And do you know if Dr. Schwulst
20     then also prepared a letter to support the request
21     for the increase?         Did he share with you a letter?
22            A.     I don't recall a letter.
23            Q.     Okay.    And ultimately you were notified
24     that you did get the increase?
25            A.     Yes.


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                                                                                Page 160
1                                   D. Trahanas
2              Q.    Okay.
3                                 (Exhibit 24 was marked for
4                                 identification.)
5      BY MS. WERMUTH:
6              Q.    Okay.    So giving you Exhibit 24 now, do
7      you recognize those series of e-mails?
8              A.    Yes.
9              Q.    Okay.    And Dr. Schwulst e-mailed you on
10     February 4th, 2015, informing you that your raise
11     had been approved.
12                   Do you see that?
13            A.     Yes.
14            Q.     And it was retroactive to January 19th,
15     2015?
16            A.     Yes.
17            Q.     And your pay, do you know -- it went up to
18     $23; is that right?
19            A.     Yes.
20            Q.     Okay.    So from $20.06 to $23; is that
21     right?
22            A.     Correct.
23                   MS. WERMUTH:       Okay.    Let's go off the
24     record.
25


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                                                                                Page 161
1                                   D. Trahanas
2                                 (Whereupon, a lunch recess was
3                                 taken from 1:19 p.m. to
4                                 1:56 p.m.)
5                    MS. WERMUTH:       Can we get this marked.
6                                 (Exhibit 25 was marked for
7                                 identification.)
8      BY MS. WERMUTH:
9             Q.     Okay.    Ms. Trahanas, do you recognize
10     Exhibit 25?
11            A.     I do.
12            Q.     Okay.    Did I just say it wrong?            No, I
13     said it right.
14                   And what do you recognize that document to
15     be?
16            A.     The Second Amended Complaint of Diane
17     Trahanas, plaintiff, versus Northwestern University
18     and Steven Schwulst as defendants.
19            Q.     Okay.    So it's the operative Complaint in
20     your lawsuit?
21            A.     Yes.
22            Q.     Okay.    And did you review this before it
23     was filed?
24            A.     I did.
25            Q.     Okay.    All right.       Can you -- so strike


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                                                                                Page 162
1                                   D. Trahanas
2      that.
3                    Let me ask you this:          Do you know what
4      Title VII of the Civil Rights Act is?
5             A.     Yes.
6             Q.     Okay.    And you're bringing a claim under
7      Title VII of the Civil Rights Act contending that
8      you were subjected to harassment based on sexual
9      orientation.
10                   Do I understand that correctly?
11            A.     Yes.
12            Q.     And you say that this harassment took the
13     form of certain name calling; is that right?
14            A.     Correct.
15            Q.     Okay.    And you contend that it was
16     Dr. Schwulst who participated in this name calling;
17     is that correct?
18            A.     Yes.
19            Q.     Okay.    So can you look with me at Page 9
20     of your Complaint, the Second Amended Complaint,
21     Paragraph 31.
22            A.     Yes.
23            Q.     Okay.    So that paragraph reads, "In front
24     of her co-workers, Dr. Schwulst would regularly
25     refer to plaintiff as, quote, a typical millennial,


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                                                                                Page 163
1                                   D. Trahanas
2      end quote, or Princess Diana, stating that she was
3      spoiled compared to him."
4                    Do you see that?
5             A.     I do see that.
6             Q.     Okay.    Now, it's not your contention that
7      the phrase "a typical millennial" is derogatory
8      based on sexual orientation, correct?
9             A.     That phrase, no.
10            Q.     Okay.    And Princess Diana, again you would
11     not say that that's a phrase that is derogatory
12     based on sexual orientation, correct?
13            A.     Correct.
14            Q.     Okay.    And there are other people in your
15     life that call you Princess Diana; is that right?
16            A.     No.
17            Q.     There's nobody?        Nobody has ever called
18     you Princess Diana except for Dr. Schwulst?
19            A.     No.
20            Q.     No family members?
21            A.     No.
22            Q.     Okay.    And then in Paragraph 32 you write,
23     "Because plaintiff would not share information about
24     her personal life with Dr. Schwulst, he presumed and
25     referred to her as a lesbian in front of


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                                                                                Page 164
1                                   D. Trahanas
2      co-workers."
3                    Do you see that?
4             A.     What number, I'm sorry?
5             Q.     32.
6             A.     Yes, okay.
7             Q.     Okay.    So it's your contention that you
8      did not share personal information with
9      Dr. Schwulst; is that right?
10            A.     With that aspect, yes.
11            Q.     What aspect?       What do you mean by "that
12     aspect"?
13            A.     My relationship.
14            Q.     Okay.    So you did tell Dr. Schwulst you
15     had a boyfriend who was in professional school, one
16     of the professional schools, right?
17            A.     In 2014.
18            Q.     Uh-huh, okay.       And that boyfriend lived
19     out of state, correct?
20            A.     Correct.
21            Q.     Okay.    And he was in school?
22            A.     Yes.
23            Q.     And you did share that with Dr. Schwulst?
24            A.     Yes.
25            Q.     Okay.    So you say that he referred to you


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                                                                                Page 165
1                                   D. Trahanas
2      as, quote, a lesbian, end quote.
3                    Do you see that?
4              A.    Yes.
5              Q.    So he actually called you a lesbian.
6                    Is that your allegation?
7              A.    Yes.
8              Q.    Used that word?
9              A.    Yes.
10            Q.     When was the first time Dr. Schwulst
11     called you a lesbian?
12            A.     2012.
13            Q.     And where did that take place?
14            A.     In the lab.
15            Q.     And who was present?
16            A.     For each time or for --
17            Q.     When was the first time?           You said it was
18     2012.
19            A.     The first time it was him and I.
20            Q.     Okay.    And when in 2012?
21            A.     October.
22            Q.     Okay.    And he specifically -- tell me how
23     it was he came to refer to you as a lesbian at that
24     point in time.
25            A.     We would speak about working out, and he


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                                                                                Page 166
1                                   D. Trahanas
2      was interested in finding a new workout technique,
3      and so I had informed him of the workouts that I was
4      doing, like I specifically told him I was doing P90,
5      and there was also by the same company a workout
6      program called Insanity.            So he was interested in
7      that, and he would talk about how if you work out
8      too much you start to look manly, and then, you
9      know, all lesbians are manly looking, and then he
10     asked me are you a lesbian.             And then I swallowed
11     it.    I didn't -- I didn't -- I didn't want to
12     respond to that at the time.             I was kind of taken
13     aback, and I think that after -- after he made
14     the -- after he made the statement that people who
15     work out start to look -- specifically women who
16     work out too much start to look manly, then he
17     inferred that they are lesbians; and he asked me how
18     often I worked out, and then asked me if I was a
19     lesbian, and then basically he stated so you're a
20     lesbian.
21            Q.     Okay.    So this was October of 2012,
22     everything that you've just described right now, is
23     my understanding --
24            A.     The first time, correct.
25            Q.     -- is October of 2012.


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                                                                                Page 167
1                                   D. Trahanas
2                    And it was in the lab?
3             A.     Correct.
4             Q.     And who else was present?
5             A.     The first conversation was just him and I.
6             Q.     Nobody else was present?
7             A.     No.
8             Q.     Okay.    And you're saying that during this
9      conversation you guys were talking the context of
10     the conversation was working out, working out
11     routines?
12            A.     Yes.
13            Q.     Okay.    And he made a statement to you,
14     according to you, that women who work out too much
15     start to look too manly?
16            A.     Yes.
17            Q.     Okay.    Did he tell you he thought you
18     looked too manly?
19            A.     Not too manly but he said manly.
20            Q.     You're telling me that Dr. Schwulst told
21     you that you looked manly?
22            A.     Yes.
23            Q.     Okay.    By the way, when you were in the --
24     strike that.
25                   And how did you respond to that comment?


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                                                                                Page 168
1                                   D. Trahanas
2             A.     I was kind of just shocked at the whole
3      conversation because I thought I was just kind of
4      giving workout advice, and then it kind of got
5      turned very quickly into a very personal topic.                    So
6      I didn't say anything.           I just kind of sat there
7      with a shocked face and pretty much thinking what I
8      could say but didn't say anything.
9             Q.     Okay.    And when he asked you if you were a
10     lesbian, what did you say?
11            A.     No.
12            Q.     Okay.    And was that the end of the
13     conversation then?
14            A.     At that time I believe so, yes.
15            Q.     Okay.    And you did not report that
16     conversation to HR, correct?
17            A.     No.
18            Q.     Okay.    And you did not report that
19     conversation to Dr. Perlman, his mentor?
20            A.     No.
21            Q.     Okay.    Or anyone else in the
22     administration at the medical school?
23            A.     No.
24            Q.     Okay.    All right.       So how many times --
25     just so I'm clear, because at one point you said he


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                                                                                Page 169
1                                   D. Trahanas
2      inferred that manly women are lesbians.                 I don't
3      know what you mean by he inferred that.
4                    Do you mean he implied that?
5             A.     No.     He basically said they are -- women
6      who work out too much and start to look manly, then
7      they look butch, and, of course, they're lesbians;
8      so I wouldn't say inferred or implied, concluded.
9             Q.     Okay.     You used the word "inferred."
10     That's what I was trying to clarify.
11            A.     Okay, yeah, sorry.
12            Q.     Okay.    So you're saying he actually said
13     women who work out too much look manly, they look
14     butch?      Now you're saying that he used the word
15     "butch"?
16            A.     He included that in there, yes.
17            Q.     Okay.    And therefore they are lesbians?
18            A.     He didn't say therefore.           He just said
19     those women are lesbians.
20            Q.     And he didn't call you a lesbian?               He
21     asked if you were a lesbian, correct?
22            A.     He said, "You're a lesbian, Diane, aren't
23     you, right?       You're a lesbian?"         And that was it.
24     And I said no.
25                   And then we were at our desks, so I think


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                                                                                Page 170
1                                   D. Trahanas
2      I just turned around and did something else.
3              Q.    Okay.    So you didn't object to him
4      directly?
5              A.    I said no.
6              Q.    I understand that you answered his
7      question no, but you didn't say to him I don't like
8      what you're saying, I think it's inappropriate, I
9      want you to stop?         You didn't say anything like
10     that?
11            A.     Not the first time, no.
12            Q.     Okay.    All right.       How many times did
13     Dr. Schwulst call you a lesbian?
14            A.     Well, after that initial conversation with
15     my coworker Salina, who was present at the time, he
16     changed -- instead of saying the word "lesbian," he
17     basically said lesbians are softball players.                   So he
18     wouldn't as frequently say lesbian, but when he
19     would say softball player he was saying lesbian.
20            Q.     Okay.    So let me go back to my question.
21                   How many times did Dr. Schwulst call you a
22     lesbian?      Not softball player, I'm asking about
23     lesbian.
24            A.     I don't recall a specific number.
25            Q.     Was it -- is it your testimony that he


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                                                                                Page 171
1                                   D. Trahanas
2      stopped using the word "lesbian" at some point in
3      time and started using the phrase "softball player"?
4              A.    Lesbian still came up.
5              Q.    But you can't tell me how frequently?
6              A.    For the word "lesbian" --
7              Q.    Yes.
8              A.    -- specifically?
9              Q.    Yes.
10            A.     No, I don't recall.
11            Q.     Okay.    And are you telling me that every
12     time it did come up he was directing it at you?                    He
13     was calling you a lesbian?
14            A.     Yes.
15            Q.     Okay.    And then you said at some point in
16     time with Salina he changed the reference to lesbian
17     to being a reference to softball player?
18            A.     Yes.
19            Q.     Okay.    And when did that happen?
20            A.     It was in 2012, so towards the end of
21     2012.
22            Q.     Okay.    And tell me about that
23     conversation.        It took place in the lab?
24            A.     Yes.
25            Q.     And you were present, Salina Dominguez was


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                                                                                Page 172
1                                   D. Trahanas
2      present --
3             A.     Yes.
4             Q.     -- and Dr. Schwulst was present?
5             A.     Correct, yes.
6             Q.     Tell me how that conversation went.
7             A.     It started out with Salina was playing
8      like a fantasy football league or she was in a
9      fantasy football league, and so we started talking
10     about sports.        I can't recall if Dr. Schwulst also
11     had a fantasy football league group, or I'm not sure
12     what they call it but competition.
13                   And so Salina would do one every year, but
14     she was talking to me about it.              And I didn't know
15     anything about really the whole football, the
16     fantasy football world I guess, and so we started
17     speaking about sports.           And Dr. Schwulst at one
18     point chimed in and told her her picks -- she
19     shouldn't have picked this person, or he made some
20     sort of comment towards one of the players.
21                   And so we just got on the topic of sports,
22     and subsequently he made a comment that softball
23     players are lesbians.
24            Q.     And I'm sorry, when did this take place?
25            A.     Towards the end of 2012, so probably


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                                                                                Page 173
1                                   D. Trahanas
2      November-ish.
3              Q.    Okay.    And during the course of this
4      conversation did you say you were a softball player,
5      that you played softball?
6              A.    No.
7              Q.    Okay.    So at some point you guys are
8      talking about sports, and at some point during that
9      conversation he says, well, softball players are
10     lesbians?
11            A.     Yes.
12            Q.     Okay.    And did he call you a lesbian in
13     that conversation?
14            A.     He said, yes, like Diane.
15            Q.     So he said softball players are lesbian
16     like Diane?
17            A.     Softball players are lesbian, you know,
18     like Diane.
19            Q.     Okay.    And what did you say when he said
20     that?
21            A.     I think I just turned to Salina and just
22     gave her a straight face and turned around, like, I
23     mean, what am I going to say to that.
24            Q.     So you didn't object directly to
25     Dr. Schwulst at that time?


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                                                                                Page 174
1                                   D. Trahanas
2             A.     I may have muffled something underneath my
3      breath, but I can't say that he heard it for sure,
4      but no, I pretty much just walked away.
5             Q.     Okay.    And Salina didn't say anything to
6      him --
7             A.     No.
8             Q.     -- either?
9                    And you didn't take that discussion to HR
10     either?
11            A.     No.
12            Q.     Or to any administrator in the medical
13     school?
14            A.     No.
15            Q.     Or to Dr. Perlman?
16            A.     No.
17            Q.     Okay.    And is it your testimony that he
18     then referred to you or nicknamed you Softball
19     Player?
20            A.     Yes.
21            Q.     And so how many times during the course of
22     the time that you worked with him did he call you
23     Softball Player?
24            A.     I can't give you a specific number, but it
25     was regular and frequently when he was around.


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                                                                                Page 175
1                                   D. Trahanas
2             Q.     So he was only around at most two weeks
3      out of every month; is that right?
4             A.     About, yeah.
5             Q.     Okay.    And are you telling me that every
6      single day that you saw him during those two weeks
7      in each month he called you Softball Player, or what
8      are you telling me about the frequency which he
9      purportedly called you Softball Player?
10            A.     I mean, if it wasn't one day he said it --
11     maybe he said it twice the next day or he was
12     calling me other things.
13            Q.     What are the other things that he called
14     you?
15            A.     Millennial, typical millennial, Princess
16     Diana.      He would allude to other things, like at 28
17     you lose your sparkle, so, you know, you have to
18     find someone because after you lose your sparkle, it
19     was just things that he would say.
20            Q.     Okay.    So losing your sparkle is not
21     related to sexual orientation?
22            A.     Correct.
23            Q.     Okay.    And we already talked about
24     millennial and Princess Diana, correct?
25            A.     Correct.


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                                                                                Page 176
1                                   D. Trahanas
2             Q.     So set aside those comments.             I understand
3      that, you know, that you contend he made those other
4      comments to you, but set those aside for the moment,
5      and if you can separate out how many times he
6      supposedly called you Softball Player, I'd like to
7      know that information.
8             A.     I can't give you an exact number.               Like I
9      said, it was just pretty regular and frequently.
10            Q.     And you never went to HR to complain about
11     that --
12            A.     No.
13            Q.     -- conduct, correct?
14                   Is that correct or incorrect?
15            A.     That's correct.
16            Q.     And you never complained to anybody in the
17     administration about any of this commentary,
18     correct?
19            A.     Correct.
20            Q.     Okay.    And who else did Dr. Schwulst
21     purportedly use that nickname for you in front of
22     other than Salina?         Who else supposedly was witness
23     to this?
24            A.     Pretty much everybody in the lab.
25            Q.     Well, tell me who those people are.


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                                                                                Page 177
1                                   D. Trahanas
2              A.    Carla Cuda.
3              Q.    Okay.    So you contend that Carla Cuda
4      heard Dr. Schwulst call you Softball Player?
5              A.    Yes.
6              Q.    Okay.    And when Carla Cuda was present,
7      did he also use it in connection with the word
8      "lesbian"?
9              A.    At least once, but I can't give you a
10     specific number if it was how many other times after
11     that.
12            Q.     So he did not use the word "lesbian" every
13     time he called you Softball Player, correct?
14            A.     Not every time, no.
15            Q.     So he was using, to your allegation, he
16     was using the word "Softball Player" as a proxy for
17     "lesbian," right?
18            A.     Yeah, in substitution of saying the word
19     "lesbian" he would say a softball player.
20            Q.     But if he used that phrase "softball
21     player" without using the word "lesbian," you don't
22     know how someone else might interpret that, right?
23            A.     Well, everyone in the lab knew.
24            Q.     Well, first of all, I don't know who
25     everyone in the lab is yet, and I don't know how you


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                                                                                Page 178
1                                   D. Trahanas
2      can testify to what other people know or don't know,
3      so let's break that down.
4                    Who in the lab heard Dr. Schwulst call you
5      lesbian?
6             A.     Carla Cuda, Alexander Misharin, Rana
7      Saber, Salina Dominguez, Melissa Wallin.                  There were
8      people in other labs as well.             Oh, Angelica Spare
9      who was there for a few years.              She wasn't there the
10     entire time I was.         Luisa Gonzalez, she was part of
11     a different lab.
12            Q.     Anyone else?
13            A.     Not that I can recall right now.
14            Q.     Who was present when Dr. Schwulst used the
15     phrase "Softball Player" and "lesbian" together?
16            A.     Each one of those people at some point,
17     because they probably, as you said, didn't know or
18     wouldn't understand perhaps what he meant.                  It would
19     be clarified.
20            Q.     I don't understand your answer.              What do
21     you mean "it would be clarified"?
22            A.     So if he said Softball Player and kind of
23     like looked at them or looked at me, they would be
24     like, huh, and so he would say lesbian, you know
25     what I mean, like a lesbian.


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                                                                                Page 179
1                                   D. Trahanas
2             Q.     Who would say that?
3             A.     Dr. Schwulst.
4             Q.     Okay.    So everyone that -- so all of the
5      people that you just named that you said heard him
6      call you lesbian also heard him call you Softball
7      Player and lesbian together?
8             A.     Correct.
9             Q.     Okay.    Did you sometimes refer to yourself
10     as Softball Player?
11            A.     I had told him I don't play softball as a
12     way to basically get him to stop saying that.
13            Q.     And what did he say?
14            A.     It didn't work.
15            Q.     When did that conversation take place?
16            A.     Probably a couple times in 2013 and a
17     couple times in 2014.
18            Q.     Where you told him you don't play
19     softball?
20            A.     Where I told him, yeah, I'm not a softball
21     player, I'm not a lesbian; I don't know why we keep
22     going back to this.
23            Q.     You said that, "I don't know why we keep
24     going back to this"?
25            A.     Yeah.


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                                                                                Page 180
1                                   D. Trahanas
2             Q.     When did you say that?
3             A.     2014.
4             Q.     And who else was present?
5             A.     I believe Salina was there.
6             Q.     When in 2014 was that conversation?
7             A.     August or September, I want to say around
8      summertime, late summertime.
9             Q.     Now, in August of 2014 didn't you take the
10     month off to study for the MCAT?
11            A.     I didn't take a month off.            Yes, I did
12     take some time off.
13            Q.     Okay.    But you think that conversation
14     might have happened in the lab in August of 2014?
15            A.     Like I said, August or September.
16            Q.     And did he ever refer to you as Softball
17     Player or as a lesbian after that conversation?
18            A.     Yeah.    I was just -- it was something that
19     wasn't going away.
20            Q.     So but I need you to answer my question.
21                   So you say in August or September of 2014
22     you asked him why do we keep going back to this.
23                   After you asked him that question, did you
24     ever call you a softball player or a lesbian again?
25            A.     Yes.


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                                                                                Page 181
1                                   D. Trahanas
2             Q.     Okay.    How many times after that
3      conversation?
4             A.     I can't give you an exact number.
5             Q.     Can you give me any kind of a number?
6             A.     I'll say at least ten.
7             Q.     So at least ten times between August 2014
8      and early February --
9             A.     Yes.
10            Q.     -- of '15 --
11            A.     Yes.
12            Q.     -- when you went out and never returned?
13            A.     Yes.
14            Q.     And did you ever refer to yourself as a
15     softball player?
16            A.     No.
17            Q.     Okay.    Other than softball player, lesbian
18     and butch, which I think you said he said once, are
19     there any other references to sexual orientation
20     that he made that you haven't told me about?
21            A.     It was before his -- it was actually
22     twice.      It was once when he found out his second kid
23     was going to be a girl, and the other time was
24     subsequent to that a few months.               It was probably
25     closer to the time that I think he -- it was


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                                                                                Page 182
1                                   D. Trahanas
2      December-ish of 2014, and it was him worrying that
3      having a girl would mean that basically she would --
4      there's a higher possibility of her getting
5      pregnant, and so that was one of his concerns that
6      he voiced.      His response to that was he hoped that,
7      you know, perhaps to make his life easier if his
8      daughter grew up to be a lesbian like me that he
9      wouldn't have that problem.
10            Q.     Okay.    And when did that conversation take
11     place?
12            A.     It was around the time after he found out
13     he was having a girl and then again right before I
14     think he left.        It was around the holidays, like
15     December-ish of 2014.
16            Q.     Of 2014?
17            A.     Correct.
18            Q.     Okay.    And so these were two separate
19     conversations?
20            A.     Yes.
21            Q.     And they both happened in late 2014.                Do I
22     understand that correctly?
23            A.     One happened in late 2014.
24            Q.     When did the other one happen?
25            A.     When he found out he was having a girl,


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                                                                                Page 183
1                                   D. Trahanas
2      around that time.
3              Q.    When was that time?
4              A.    May or June of 2014.
5              Q.    Okay.    And so in May or June of 2014 when
6      you had this conversation who else was present?
7              A.    May and June it was just him and I.               The
8      one in December it was the two of us and Salina and
9      Melissa Whalen.
10            Q.     So the one in December of 2014 took place
11     in the lab?
12            A.     Correct.     Both did.
13            Q.     Both did, okay.        The springtime one as
14     well?
15            A.     Correct.
16            Q.     Okay.    And did -- and the -- so it was the
17     same conversation about I'm glad I'm having a
18     girl -- or no, if my daughter is a lesbian I don't
19     have to worry about her getting pregnant?                  Is that
20     the same conversation both in the springtime and in
21     December of 2014?
22            A.     In December we were also speaking about
23     gifts that he was thinking about getting his wife.
24     That was part of the conversation, the one that was
25     similar to the May or June one, the earlier on one.


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                                                                                Page 184
1                                   D. Trahanas
2      And then also we spoke about gifts that he could get
3      his wife, and that's when the conversation about
4      if -- he was thinking about getting her a charm
5      bracelet, amongst other things.              I can't remember
6      what else he was thinking about getting her.                   But he
7      also said that if I were to get a charm bracelet it
8      would have like a mitt, a ball and a bat on it
9      because that's what softball players would do.
10            Q.     And what did you say?
11            A.     I think I just responded -- I just
12     responded with no, I wouldn't.
13            Q.     Okay.    Can you turn to Paragraph 39 in
14     your Complaint on Page 10.
15            A.     Okay.
16            Q.     So Paragraph 39 says, "In December 2014
17     when his wife was expecting a baby girl,
18     Dr. Schwulst announced in front of plaintiff's
19     co-workers that he hoped his baby girl would be like
20     plaintiff so he would not have to worry about her
21     getting pregnant."
22            A.     Yes.
23            Q.     So that's the conversation you were just
24     telling me about?
25            A.     Yes.


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                                                                                Page 185
1                                   D. Trahanas
2             Q.     And you said that a similar conversation
3      happened earlier that year?
4             A.     Yes.
5             Q.     Is there any reason why you didn't include
6      that in your Complaint?
7             A.     No.
8             Q.     Okay.     And have you met Dr. Schwulst's
9      wife?
10            A.     I have.
11            Q.     Okay.    Does she wear a charm bracelet?
12            A.     Not that I've seen her.
13            Q.     Do you have any -- have you ever talked to
14     her about charm bracelets?
15            A.     No.
16            Q.     All right.      Other than softball player,
17     lesbian, butch, charm bracelet and baby girl, any
18     other conversations or offensive statements that
19     Dr. Schwulst made directed at calling you a lesbian
20     or referring to sexual orientation that you haven't
21     told me about?
22            A.     Unless I missed one that's already
23     included in the Complaint, I can't think of any
24     right now.
25            Q.     All right.      Well, this is the one


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                                                                                Page 186
1                                   D. Trahanas
2      opportunity that I get to depose you, so if there
3      are any other words that he used to refer to being a
4      lesbian or sexual orientation that -- any words that
5      he has used that you haven't shared with me, I need
6      to know them now.
7             A.     Not that I recall.
8             Q.     Now, you -- sometimes you got along very
9      nicely with Dr. Schwulst, right?
10            A.     Yes.
11            Q.     So sometimes you had fun together?
12            A.     I mean, we had a professional
13     relationship.        It's hard to have fun with your boss.
14            Q.     Okay.    Well, you learned from him, right?
15            A.     Well, of course.
16            Q.     And he gave you opportunities for
17     publication and professional opportunities to go to
18     conferences and the like, right?
19            A.     Yes.
20            Q.     And when you traveled you'd find fun
21     things to do together, like go kayaking, correct?
22            A.     Yes.
23            Q.     And so sometimes you did engage in some
24     banter with him, correct?
25            A.     Can you define "banter," what you're


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                                                                                Page 187
1                                   D. Trahanas
2      specifically referring to?
3             Q.     Well, sometimes you would joke with him,
4      right?
5             A.     It's possible, yeah.
6             Q.     Okay.    Can we -- I'm just going to ask the
7      court reporter, can we switch out the set of text
8      messages that we previously marked with this better
9      version?      Does it make sense to go off the record
10     and take care of this?
11                                (Whereupon, an off-the-record
12                                discussion was held.)
13                   MS. WERMUTH:       So let's go back on the
14     record.
15     BY MS. WERMUTH:
16            Q.     So, Ms. Trahanas, the exhibit that was
17     marked as 22, so these are text messages, let me
18     just represent to you these are text messages that
19     we pulled from Dr. Schwulst's phone between you and
20     him, and they date from June 14th, 2012, through
21     February 17th, 2015, okay?
22            A.     Okay.
23            Q.     All right.      So let me turn your
24     attention -- and so it looks like the very first
25     text that you sent him, it looks like maybe you sent


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                                                                                Page 188
1                                   D. Trahanas
2      him your contact information -- no, I'm sorry,
3      that's to him -- that's to Diane, that's to you, I'm
4      sorry.      Maybe he was sending you his contact
5      information.
6                    Do you know?
7             A.     Most likely.
8             Q.     Okay.    So can you turn with me to
9      Page 2204.
10                   Let me ask you this:          We produced these to
11     your lawyer.       Did you review these text messages at
12     some point in time when you got them?
13            A.     Some of them, most of -- most of them.
14            Q.     Okay.    Actually I'm sorry, yeah, 2204.
15                   So there's a text message in the dark
16     bubble at the top of the page which is to you.
17                   Do you see that?
18            A.     Yes.
19            Q.     Okay.    So he texted you and says he can't
20     find his badge; can you let me know when you get in
21     so someone can let him in.
22                   Right?
23            A.     Yes.
24            Q.     And you respond LOL, yea, NP.
25                   So what does that mean?


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                                                                                Page 189
1                                   D. Trahanas
2             A.     I'm sorry, I might be on the wrong page.
3             Q.     Are you on 2204?
4             A.     Sorry, I was on 2202.          Okay.
5             Q.     So at the top of the page he's asking you
6      to let him in?
7             A.     Yes.
8             Q.     Okay.
9             A.     LOL is like laugh out loud; yea; NP stands
10     for no problem.
11            Q.     Okay.    And then later that day he sends
12     you a text that says Harris sucks and then frowning
13     face, right?
14            A.     Yes.
15            Q.     And you respond with "I'm not going to say
16     what tho," right?
17            A.     Yes.
18            Q.     Okay.    So you're joking with him about
19     Harris sucking something but something that you're
20     not going to say, right?
21                   MR. DeROSE:       Wait.    That's a half hour
22     later.
23                   MS. WERMUTH:       That's not my question.
24     BY MS. WERMUTH:
25            Q.     He texts you at 1:32 and Harris sucks


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                                                                                Page 190
1                                   D. Trahanas
2      smiley face -- or frowning face, right?
3              A.    Yes.
4              Q.    And at 2:48 you respond "I'm not going to
5      say what tho"?
6              A.    I'm not sure what I was referring --
7              Q.    So you weren't trying to say there that
8      Harris sucks penis?
9              A.    No.
10            Q.     What were you saying, I'm not going to say
11     what?     Wasn't that a reference to say I'm not going
12     to say what he sucks?
13                   MR. DeROSE:       Well, objection, Counsel.
14     The man before said he sucks.             He doesn't say what
15     he sucks either.
16                   MS. WERMUTH:       That's not my question.
17     BY MS. WERMUTH:
18            Q.     Your question is -- your statement is,
19     "I'm not going to say what tho."
20                   Does that mean I'm not going to say what
21     Harris sucks?
22            A.     I mean, that was an hour and 15 minutes
23     after that, so I don't even know if we had a
24     conversation in between that.
25            Q.     That's not my question.           Is that text


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                                                                                Page 191
1                                   D. Trahanas
2      message "I'm not going to say what tho" in response
3      to the message "Harris sucks"?
4             A.     I can't say yes to that.           I don't know.
5             Q.     Okay.    Fast forward to 2208, please.              So
6      there's a series of text messages that start in the
7      middle of the page on April 9th.
8                    Do you see that?
9             A.     Yes.
10            Q.     Okay.    And you tell him that you're still
11     at a funeral, that if you get done before
12     2:30 you'll head in, but if not you'll work from
13     home and stay late tomorrow, Tom/Friday.
14                   I'm assuming that means tomorrow/Friday?
15            A.     Correct.
16            Q.     And then you correct a spelling error in
17     the next text, and he responds, "Don't worry about
18     it, just keep working on your paper"?
19            A.     Yes.
20            Q.     Okay.    And you say, "Thank you, Boss,"
21     right?
22            A.     Yes.
23            Q.     Okay.    And then two days later he sends
24     you a text message that says, "Millennials
25     dot-dot-dot," right?


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                                                                                Page 192
1                                   D. Trahanas
2             A.     Yes.
3             Q.     And what was that?         Do you remember what
4      that was in reference to?
5             A.     No.
6             Q.     Okay.    And then he -- then you respond
7      with the word "softball" and a picture of a baseball
8      or a softball, right?
9             A.     Right.
10            Q.     Okay.    And he doesn't respond to your text
11     at all that day, right?
12            A.     No.
13            Q.     Am I wrong or am I right?
14            A.     That's -- you are right.
15            Q.     Okay.    Thank you.       So you refer -- you're
16     the one using the term "softball" in this text
17     message, correct?
18            A.     Responding to his "millennial" text,
19     correct.
20            Q.     Okay.    And millennial you've already
21     testified isn't a reference to sexual orientation,
22     right?
23            A.     Not sexual orientation.
24            Q.     Okay.    All right.       Then if you could turn
25     to 2212.      Let's start with the May 15th, 2014 text


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                                                                                Page 193
1                                   D. Trahanas
2      to you from Dr. Schwulst where he says, "We are
3      getting an undergraduate for the summer."
4                    Do you see that?
5             A.     Yes.
6             Q.     Okay.    And then he goes on to say, "You
7      can make her your biotch."
8                    Do you see that?
9             A.     Yes.
10            Q.     And did you find that offensive?
11            A.     I did.
12            Q.     You did?
13            A.     Yes.
14            Q.     Okay.    But you go with it, and you say,
15     "Just ours or Perlman's?"
16                   Do you see that?
17            A.     Yes.
18            Q.     Okay.    And by the way, did you ever use
19     the word "bitch" or "biotch" in the lab?
20            A.     To refer to somebody else, no.
21            Q.     Never?
22                   MR. DeROSE:       Can you pick that up?
23                   THE WITNESS:       It's possible, but I don't
24     recall a time that I have.
25


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                                                                                Page 194
1                                   D. Trahanas
2      BY MS. WERMUTH:
3             Q.     Okay.    And this was not a reference to
4      sexual orientation here, correct?
5                    MR. DeROSE:       Which one, the one she's
6      making?
7      BY MS. WERMUTH:
8             Q.     No, the "You can make her your biotch."
9      You did not understand that to mean a reference to
10     sexual orientation?
11                   MR. DeROSE:       Objection to the way the
12     question is asked.         She doesn't know what he means.
13     That's not her prerogative.             Objection to the form
14     of the question.
15                   You may answer though.
16                   THE WITNESS:       Yeah, I'm not sure what
17     exactly he was -- you know, how many things he was
18     meaning by that, but I take it offensively just
19     because that refers to a female dog.
20     BY MS. WERMUTH:
21            Q.     Okay.    Okay.     So you think it's a
22     derogatory --
23            A.     Correct.
24            Q.     -- term?
25            A.     Correct.


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                                                                                Page 195
1                                   D. Trahanas
2             Q.     Okay.    But did you interpret it as a term
3      that referred to anyone's sexual orientation or just
4      a derogatory term meaning female dog?
5             A.     At face value, a derogatory term, a
6      disrespectful term.
7             Q.     Okay.    But you didn't protest at the time
8      in writing at least, right?
9             A.     I did not, but you can't really protest
10     with your boss.
11            Q.     Well, you didn't take that text message to
12     HR?
13            A.     No.
14            Q.     Okay.    So then he responds, "Technically
15     Harris' but he is assigning her to our projects,"
16     right?
17            A.     Yes.
18            Q.     And you say, "That's good.            It's
19     officially for is then," and then you correct and
20     say "us."
21                   And then he responds, "Apparently she's
22     some sort of prodigy," probably smarter than us; and
23     you respond, "Thankfully cuz I won't trust some rich
24     lazy kid, hahahaha, highly doubt it," right?
25            A.     Yes.


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                                                                                Page 196
1                                   D. Trahanas
2             Q.     And that's all from you?
3             A.     Yes.
4             Q.     And then you also -- and this is all
5      within the same minute, "Softball players can be
6      smart"?
7             A.     Yes.
8             Q.     Okay.    So again that's a text from you
9      using the phrase "softball player," correct?
10            A.     That's correct.
11            Q.     And he responds, "I think she plays
12     violin, not softball"?
13            A.     Yes.
14            Q.     And then you say, "I was referring to
15     myself, LOL."
16            A.     Yes.
17            Q.     Okay.    So you were correcting his thinking
18     there or at least explaining what you meant, right?
19            A.     I was sticking up for myself.
20            Q.     By calling yourself a softball player?
21            A.     Well, that's what he would call me, so
22     that's basically me saying we can be smart too since
23     you think I'm that.
24            Q.     Okay.    But he then responds, "I think she
25     plays violin, not softball," so he seems to not know


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                                                                                Page 197
1                                   D. Trahanas
2      what you're talking about, and then you --
3                    MR. DeROSE:       Objection, Counsel, to your
4      testifying.
5      BY MS. WERMUTH:
6              Q.    Let me ask you this:          He texts you "I
7      think she plays violin, not softball," right?
8              A.    That's in the text, correct.
9              Q.    Right.     And so then you clarify what you
10     meant by your text, right, by saying "I was
11     referring to myself, LOL"?
12            A.     Yes.
13            Q.     Okay.    And then later down at the end of
14     that page you say, "Never mind about the violin."
15                   Do you see that?
16            A.     Yes.
17            Q.     And that's because up above he says,
18     "Huh," right?
19            A.     I'm not sure why he said "huh."
20            Q.     But he says "huh," right?
21                   MR. DeROSE:       Counsel, objection, out of
22     context, the sentence above it also.
23                   MS. WERMUTH:       I can ask the questions,
24     okay.
25                   MR. DeROSE:       You can, but you can't take


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                                                                                Page 198
1                                   D. Trahanas
2      them out of context.
3                    MS. WERMUTH:       Certainly I can ask if he
4      texted "huh," okay.          Now if she wants to -- look,
5      what you're doing is you're telling your witness how
6      to answer the question.
7                    MR. DeROSE:       No, Counsel.       For the federal
8      rules of completeness, if you're going to talk about
9      one little sentence and there's a whole sentence
10     above, I ask that you complete it.
11                   MS. WERMUTH:       We need to stop with the
12     speaking objections because your speaking objections
13     are counseling your witness on how to answer the
14     question.      She has the document in front of her.
15     BY MS. WERMUTH:
16            Q.     There's no mistake about what the document
17     says, and one of the things that he says to her is
18     "huh."
19                   Is that correct?
20            A.     There is a text here that says "huh."
21            Q.     All right.      And up above that, to be
22     complete if I may, he tells you he's on service for
23     a week and he anticipates being busy, and he wants
24     you to perfect our new equipment and become the
25     Midwest regional expert when he gets back, right?


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                                                                                Page 199
1                                   D. Trahanas
2             A.     Correct.
3             Q.     Okay.    But he also says "huh"?
4             A.     Yes, he says that.
5             Q.     Okay.    And you respond to the "huh" with,
6      "Never mind about the violin.             I will be the Midwest
7      expert when you get back."
8                    Right?
9             A.     Yes.
10            Q.     Okay.    Can we mark that, please.
11                                (Exhibit 26 was marked for
12                                identification.)
13     BY MS. WERMUTH:
14            Q.     Ms. Trahanas, you've been handed what's
15     been marked Deposition Exhibit 26.
16                   Can you help me understand what these
17     e-mails are?       So it looks like Rana on March 1st,
18     2013, sends an e-mail that you respond to; is that
19     right?
20            A.     Yes.
21            Q.     Okay.    And you say, "I'm offended because
22     in no way do I want to be associated with LeBron"?
23            A.     Correct.
24            Q.     "But I could see the basketball
25     connection, LOL"?


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                                                                                Page 200
1                                   D. Trahanas
2             A.     Yes.
3             Q.     So are you joking here?           What is this
4      YouTube video?
5             A.     I believe it's something with the
6      Cleveland Cavaliers.          LeBron is LeBron James, who
7      plays basketball for the Cleveland Cavaliers.                   I
8      mean, I play basketball, so, I mean, I'm not joking
9      about that.       I guess I'm just trying to be friendly
10     with Rana.
11            Q.     Okay.    So this e-mail exchange has nothing
12     to do with sexual orientation; is that right?
13            A.     Right.
14            Q.     Okay.    So just because it's a
15     sports-related topic doesn't mean it's related to
16     sexual orientation, correct?
17                   MR. DeROSE:       Counsel, this part of the
18     chain, was this part of an e-mail chain, do we know?
19                   MS. WERMUTH:       Yeah, I mean, it has the
20     underlying e-mail from Rana in there.
21     BY MS. WERMUTH:
22            Q.     Here's my question:         Is there -- just
23     because a conversation in the lab revolves around
24     the topic of sports doesn't mean it also includes
25     sexual orientation, correct?


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                                                                                Page 201
1                                   D. Trahanas
2             A.     Not unless it's been previously
3      established that something means something else, no.
4             Q.     Okay.    But there's nothing in this e-mail
5      chain in Exhibit 28 -- 26, I'm sorry, that
6      specifically you can recall referencing sexual
7      orientation in any way?
8             A.     No.
9                    MR. DeROSE:       Objection.      Wait, objection.
10     Exhibit 26 is a one -- two-line e-mail.                 It is not
11     the whole e-mail chain.           She's obviously responding
12     to something.        I object to giving me one e-mail out
13     of a whole e-mail chain.
14                   MS. WERMUTH:       I don't -- I object with
15     your characterization of the document, but I'm not
16     going to argue with you.
17                   MR. DeROSE:       But I do know that there are
18     more e-mails to this, Counsel.              I object to you --
19     so the record reflects, you can ask your questions.
20     I object to Exhibit 26 being one part of a several
21     e-mail conversation.
22                   MS. WERMUTH:       Well, if you have those
23     other e-mails, I'd like to see them.
24                   MR. DeROSE:       You will.
25                   MS. WERMUTH:       You've produced them to me?


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                                                                                Page 202
1                                   D. Trahanas
2                    MR. DeROSE:       Yes, I have.
3                    MS. WERMUTH:       Can we mark this, please.
4                                 (Exhibit 27 was marked for
5                                 identification.)
6      BY MS. WERMUTH:
7             Q.     So, Ms. Trahanas, I've handed you now
8      Exhibit 27 or you've been handed Exhibit 27.
9                    That's an e-mail that you sent to
10     Dr. Schwulst, right?
11            A.     Yes.
12            Q.     And you sent him a video from YouTube,
13     right?
14            A.     Yes.
15            Q.     And the re line subject line says
16     "football in basketball"?
17            A.     Yes.
18            Q.     Okay.    What is that referring to?             What is
19     this video that you sent Dr. Schwulst?
20            A.     I don't recall what the video is, but I'm
21     assuming two people probably hit their heads during
22     basketball.
23            Q.     Okay.    So this has to do with trauma and
24     injury, right?
25            A.     I would think so, yes.


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                                                                                Page 203
1                                   D. Trahanas
2             Q.     Okay.    So this has nothing to do with
3      sexual orientation?
4             A.     No.
5             Q.     Even though it has to do with sports?
6             A.     Correct.
7             Q.     Okay.    So some of your work, because it
8      involved traumatic injuries, you were interested in
9      it in connection with sports injuries, is that
10     right, Ms. Trahanas?
11            A.     I mean, there -- concussions and TBI, I
12     mean, that whole area is kind of under a big
13     umbrella.      But, I mean, I was interested in sports
14     prior to, but there's no suggestion that -- I mean,
15     mostly if anything we would speak about football in
16     terms of brain injuries just because they're so
17     frequent.
18            Q.     Okay.    So just because you sent him a
19     video about sports doesn't mean that you were
20     raising the topic of sexual orientation, correct?
21            A.     Correct.
22            Q.     And you also asked Dr. Schwulst to help
23     you raise money in connection with a basketball
24     tournament.
25                   Do you remember that?


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                                                                                Page 204
1                                   D. Trahanas
2             A.     I believe I sent an e-mail to everyone in
3      the lab about --
4             Q.     Including Dr. Schwulst?
5             A.     Yes, about a basketball tournament I was
6      involved in.
7             Q.     Asking to raise money, right?
8             A.     It's possible.        I don't recall the exact
9      contents of that e-mail.
10            Q.     And did he, did Dr. Schwulst give you any
11     money for the basketball tournament?
12            A.     No.    No one from the lab did.
13            Q.     Can you mark this, please.
14                                (Exhibit 28 was marked for
15                                identification.)
16     BY MS. WERMUTH:
17            Q.     Okay.    You've been handed Deposition
18     Exhibit 28.
19                   Do you see that e-mail?
20            A.     Yes.
21            Q.     And that's an e-mail that you sent to
22     Dr. Schwulst with a YouTube video, right?
23            A.     Yes.
24            Q.     Do you recall what that YouTube video
25     showed?


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                                                                                Page 205
1                                   D. Trahanas
2             A.     I don't recall this video either.
3             Q.     And you wrote "Millennial written all over
4      this"; is that right?
5             A.     It does say that, yes.
6             Q.     So you were teasing back?
7             A.     Teasing?
8             Q.     Well, what was your intent in sending this
9      to him?
10                   MR. DeROSE:       Counsel, was this part of
11     another e-mail chain, do you know?
12                   THE WITNESS:       I think it's just a single
13     e-mail.
14                   MS. WERMUTH:       I mean, at least this
15     exhibit is a single e-mail, and I'm asking her about
16     her e-mail to the doctor.
17                   MR. DeROSE:       I know you are.        I'm just
18     trying to see if I can figure out what's going on
19     here either.
20     BY MS. WERMUTH:
21            Q.     You were joking with him when you sent
22     that to Dr. Schwulst, right?
23            A.     I don't want to say I was joking.               If I
24     could make a synonymous situation, it's like -- it's
25     like me kind of trying to stay part of -- like part


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                                                                                Page 206
1                                   D. Trahanas
2      of the group, somewhat seeking approval or
3      seeming -- I guess that's the best way to say it is
4      just kind of seeking approval and him seeing me not
5      as an outcast, because at the time, I mean, I just
6      felt like -- I felt that him and at least one other
7      lab member had -- they had a lot of inside jokes or
8      ways of offending me, and I think this is me trying
9      to just be friendly with him so maybe he doesn't see
10     me as an outcast amongst him and the other lab
11     member.
12            Q.     Who was the other lab member you're
13     talking about?
14            A.     Rana.
15            Q.     Rana Saber?
16            A.     Yes.
17            Q.     And you said they had inside jokes and
18     ways to offend you.
19                   What does that mean?          I don't understand
20     that.
21            A.     One thing is that I would just get blamed
22     everything in the lab, for the lab.
23            Q.     So if something went wrong in the lab you
24     got blamed for it?
25            A.     Yes.


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                                                                                Page 207
1                                   D. Trahanas
2             Q.     By Rana?
3             A.     A lot of the time, yes.
4             Q.     Okay.    So that's what you were saying,
5      what you referred to by inside jokes and trying to
6      offend you?
7             A.     Part of it, yeah.
8             Q.     Well, what's the other part?
9             A.     I mean, she would join in with the
10     softball playing.         She would join in with just
11     saying, you know, the blind leading the blind if I
12     was showing somebody how to do something.
13            Q.     Okay.    So the blind leading the blind
14     doesn't refer to sexual orientation.                You would
15     agree with that?
16            A.     That, yes, I would agree.
17            Q.     Okay.    And you said that she joined in
18     with the softball playing.
19                   Does that mean she played softball, or she
20     called you a softball player?
21            A.     She called me a softball player.
22            Q.     Did she ever call you a lesbian?
23            A.     Yes.
24            Q.     Okay.    When was the first time Rana Saber
25     called you a lesbian?


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                                                                                Page 208
1                                   D. Trahanas
2             A.     At least by early 2013.           I can't say for
3      sure if it was in 2012.
4             Q.     And where did she call you a lesbian?
5             A.     In the lab.
6             Q.     How many times?
7             A.     It wasn't -- it wasn't regular and
8      frequent, but it was a few times.
9             Q.     Who was present when she called you a
10     lesbian other than yourself?
11            A.     Some of my co-workers, so Salina, Melissa,
12     Angelica, Carla, Sasha or Alexander, maybe five
13     times.
14            Q.     And were those people that you just named
15     present every single -- all of them present at the
16     same time for every single of the five times that
17     she called you a lesbian?
18            A.     One or more of those were present during
19     that time.
20            Q.     And did you tell her to knock it off or
21     that you didn't like it or appreciate it?
22            A.     Yeah.
23            Q.     You did?
24            A.     For sure.
25            Q.     Okay.    And what did she say?


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                                                                                Page 209
1                                   D. Trahanas
2             A.     Sometimes she would laugh it off.
3      Sometimes she would say, oh, come on, you know it's
4      true, just tell us; you don't have any boyfriends.
5                    That's all I can recall for right now.
6             Q.     Did you ever report her comments to HR?
7             A.     I did not.
8             Q.     Did you report them to Dr. Schwulst?
9             A.     No.
10            Q.     Did you report them to Dr. Perlman?
11            A.     No.
12            Q.     Did you ever call her anything, any names?
13            A.     Directly to her?
14            Q.     Yes.
15            A.     No.
16            Q.     Okay.    Did you ever call her names to
17     anybody else?
18            A.     When I was upset with her I would be
19     venting to some of my co-workers.               I can't say
20     specifically what I called her, but I alluded to her
21     being passive-aggressive.            I called her probably an
22     ass, a jerk.
23                   That's all I can recall for right now.
24            Q.     Did you call her a bitch?
25            A.     It's possible, but I don't recall.


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                                                                                Page 210
1                                   D. Trahanas
2             Q.     So you said that she called you a lesbian
3      five times.
4                    How many times did she call you a softball
5      player?
6             A.     She wouldn't always necessarily refer to
7      me as softball player.           She was talking about
8      softball.      She would just say, so are you going to
9      play softball tonight, Diane, something like that.
10            Q.     How many times did she do that?
11            A.     Ten, maybe fifteen times.
12            Q.     Ten or fifteen times?
13            A.     Yeah.
14            Q.     And who was present when she made those
15     references to softball directed toward you?
16            A.     A few of my co-workers, again Angelica,
17     Carla, Salina, Melissa, Sasha, Alexander.
18            Q.     Dr. Schwulst?
19            A.     A couple of the times.
20            Q.     Anybody else call you lesbian or softball
21     player?
22            A.     Not directly.       Sasha would pretty much
23     kind of chime in with Rana in making fun of me.
24            Q.     Okay.    So making fun of you?
25            A.     With --


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                                                                                Page 211
1                                   D. Trahanas
2             Q.     How?
3             A.     In regards to my orientation, you know,
4      dating, I don't have boyfriends, anything like I
5      said earlier.         She would say are you going to go
6      play softball tonight, and Sasha would be like yeah,
7      come on, Diane, tell us, like that.
8             Q.     So he never used the phrase himself?
9             A.     No.
10            Q.     Okay.    Or lesbian, right?          He never used
11     that phrase?
12            A.     Sasha did not, no.
13            Q.     Okay.    Anyone else?
14            A.     No.
15            Q.     There were times when Dr. Schwulst praised
16     you, correct?
17            A.     Yes.
18            Q.     He would tell you you rocked or you did a
19     great job, correct?
20            A.     Sure.
21            Q.     And there were times when you did joke
22     around with him, correct?
23            A.     With certain things.
24            Q.     And there were other -- there were times
25     when you joked around with others in the lab as


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                                                                                Page 212
1                                   D. Trahanas
2      well; is that right?
3             A.     Yes.
4             Q.     Now let's talk for a minute about your
5      ADHD diagnosis and your depression and anxiety
6      diagnosis.
7                    So let's first establish, you are aware
8      that the court dismissed your disability
9      discrimination claim, right?             You understand that?
10            A.     Yes.
11            Q.     Okay.    So you have a retaliation claim but
12     you don't have a disability harassment claim.
13                   You understand that, right?
14            A.     Yes.
15            Q.     Okay.    So tell me what you contend your
16     disability is.
17            A.     I mean, at the time that I was -- at the
18     time that I was at work at Northwestern, I mean, I
19     basically got to the point where I had -- I was
20     going to have a nervous breakdown.               It was just very
21     stressful.      I felt like if I did something I'd be in
22     trouble; if I didn't do something it would still
23     fall on my shoulders.
24                   And so my disability is just being -- I
25     was extremely sad.         I -- work was just very hard for


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                                                                                Page 213
1                                   D. Trahanas
2      me.    Working in that environment was very hard for
3      me.
4             Q.     So just so I'm clear then, you're not
5      claiming that your ADHD diagnosis is a disability
6      for purposes of this litigation, correct?
7             A.     I think that's part of it.
8             Q.     Oh, okay.      So you were first diagnosed
9      with ADHD in 2007; is that right?
10            A.     Yes.
11            Q.     Okay.    And you were actually diagnosed
12     with depression and anxiety around the same time or
13     earlier than that?
14            A.     I believe around the same time.
15            Q.     Okay.    And eating disorders and insomnia;
16     is that right?
17            A.     It was -- yes.
18            Q.     Okay.    And you've been taking a variety of
19     types of medications to treat the ADHD and the
20     depression and anxiety since before you started
21     working at Northwestern; is that right?
22            A.     I was -- I was being treated by my primary
23     physician, and then I found a psychiatrist to manage
24     my medication, and she put me on I guess a cocktail
25     of what I needed to be treated with.


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                                                                                Page 214
1                                   D. Trahanas
2                    My primary care physician, I don't believe
3      she gave me an anti-anxiety medication.                 I believe I
4      started taking that in 2012, around that time.
5             Q.     Okay.
6             A.     But she was giving me the antidepressant.
7      She was giving me some form of antidepressants and
8      Adderall.
9             Q.     So is Lexapro an antidepressant?
10            A.     It is.
11            Q.     Okay.    And so you were taking Adderall and
12     some sort of antidepressant before you started
13     working at Northwestern, right?
14            A.     Yes.
15            Q.     Okay.    And then subsequent or at some
16     later point in time after you started treating with
17     Dr. Cano -- is it Cano --
18            A.     Dr. Cano.
19            Q.     -- C-a-n-o, you also started taking an
20     anti-anxiety medication?
21            A.     Correct.
22            Q.     And you currently still take all three,
23     correct?
24            A.     Yes.
25            Q.     Okay.    And has your anxiety and your


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                                                                                Page 215
1                                   D. Trahanas
2      depression interfered with other of your jobs other
3      than your job at Northwestern?
4             A.     Prior to Northwestern or --
5             Q.     Yes.
6             A.     No.
7             Q.     Do you remember telling your primary care
8      physician while you worked at University of Chicago
9      that you had difficulty focusing and organizing your
10     thoughts at work?
11            A.     Yes.
12            Q.     Okay.    All right.       So did you ever tell
13     Dr. Schwulst that you were being treated for ADHD?
14            A.     Yes.
15            Q.     When did you tell him that?
16            A.     It was around the same time we were having
17     the conversation of working out and how I kind of
18     managed that.
19            Q.     How you managed what?
20            A.     The anxiety or the depression and the
21     anxiety and the ADHD, working out helped.
22            Q.     Okay.    So just so I'm clear, so when
23     you -- so my question was did you tell him about the
24     ADHD; you said yes; I said when.
25                   So is it your testimony that you told him


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                                                                                Page 216
1                                   D. Trahanas
2      about your diagnosis of ADHD, depression and anxiety
3      all at the same time?
4             A.     Yes.
5             Q.     Okay.    And when did you have that
6      conversation with him?
7             A.     October of 2012.
8             Q.     And where did you have that conversation
9      with him?
10            A.     In the lab.
11            Q.     And this was where you were explaining to
12     him how you used exercise as way to mitigate the
13     symptoms that you suffered as a result of those
14     three conditions?
15            A.     Yeah.
16            Q.     Okay.    And is this the same conversation
17     in which he said you were manly?
18            A.     Not at the same time.
19            Q.     Okay.    And you did not have any job
20     restrictions that you turned in to him like from
21     your doctor saying -- in October of 2012 saying she
22     can't perform her job functions without this sort of
23     accommodation, right?
24            A.     No.
25            Q.     All right.      And what major life activities


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                                                                                Page 217
1                                   D. Trahanas
2      do you contend were impacted in 2012 through 2015 as
3      a result of your ADHD?
4                    MR. DeROSE:       I need a minute.
5                    MS. WERMUTH:       Let her answer the question,
6      and then we can take break.
7                    MR. DeROSE:       All right.      Go ahead and
8      answer.
9                    THE WITNESS:       Can you repeat the question?
10     BY MS. WERMUTH:
11            Q.     Yes.    So what major life activities do you
12     contend were impacted by your diagnosis of ADHD
13     during the 2012 to 2015 time frame?
14            A.     I can say typical symptoms of ADHD, just
15     lack of organization, life activities.                 I can't
16     definitively say it was only ADHD.               I'm not sure how
17     much of the depression in conjunction with the ADHD
18     and anxiety contributed.
19            Q.     Okay.    So what were the symptoms?
20                   MR. DeROSE:       Whoa, whoa, whoa.
21                   MS. WERMUTH:       So you want to take a break?
22                   MR. DeROSE:       Yes, right now.
23                                (Whereupon, a recess was taken
24                                from 3:24 p.m. to 3:30 p.m.)
25


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                                                                                Page 218
1                                   D. Trahanas
2      BY MS. WERMUTH:
3             Q.     Okay.    So, Ms. Trahanas, you took a
4      medical leave of absence from Northwestern starting
5      in February of 2015; is that right?
6             A.     Yes.
7             Q.     Okay.    And let me ask you this:            So
8      Dr. Cano -- I'm sorry, Cano?
9             A.     Cano.
10            Q.     Okay.    So you've been treating with her
11     for several years; is that right?
12            A.     Yes.
13            Q.     And she's a psychiatrist?
14            A.     Correct.
15            Q.     And you trust her; is that right?
16            A.     Yes.
17            Q.     She has been helpful to you?
18            A.     Yes.
19            Q.     And you know her to be honest in her
20     dealings with you, right?
21            A.     Yes.
22            Q.     And you meet with her on, what, about a
23     monthly basis?
24            A.     Once a month.
25            Q.     Okay.    And you've been meeting with her


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                                                                                Page 219
1                                   D. Trahanas
2      once a month for several years now --
3             A.     Yes.
4             Q.     -- is that right?
5                    Okay.    The sessions are relatively short
6      typically, is that right, 20 minutes or so?
7             A.     Up to a half hour.
8             Q.     Okay.    And does she take notes when you
9      meet with her?
10            A.     She puts things in the computer.              I'm not
11     sure if she's -- I know doctors, there's different
12     programs, and so I'm not sure if she's checking
13     boxes or writing notes.
14            Q.     But you see her at the computer entering
15     information?
16            A.     Sure.
17            Q.     Okay.    So let's -- and you know that we
18     subpoenaed her records in connection with this
19     litigation, right?
20            A.     Yes.
21            Q.     So why don't we look at her records.
22     Since they're voluminous, I tried not to kill too
23     many trees, so we will mark one, and then is there a
24     chance that the two of you can look over each
25     other's shoulder?


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                                                                                Page 220
1                                   D. Trahanas
2                    MR. DeROSE:       I'll just listen.         If I need
3      to, I'll ask.
4                    MS. WERMUTH:       Okay.
5                    MR. DeROSE:       Put it on my lap, not now
6      though.     Go ahead, you just do it together.
7                                 (Exhibit 29 was marked for
8                                 identification.)
9      BY MS. WERMUTH:
10            Q.     So your leave of absence in February of
11     2015 began on the 17th of February; is that right?
12            A.     Yes.
13            Q.     Okay.    All right.       So if you could with me
14     on Exhibit 29 take a look at -- I'll just have to
15     give you the page number.
16                   Can we go off the record for a second.
17                                (Whereupon, an off-the-record
18                                discussion was held.)
19     BY MS. WERMUTH:
20            Q.     Can you turn to Bates page 10392.
21                   By the way, do you still treat with
22     Dr. Cano?
23            A.     My last appointment with her was December
24     of 2016.
25            Q.     Why did you stop treating with her?


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                                                                                Page 221
1                                   D. Trahanas
2              A.    She -- I can't afford the insurance that
3      she takes.
4              Q.    Are you treating with anyone else?
5              A.    Yes.
6              Q.    Who are you treating with now?
7              A.    I actually just switched, so the doctor of
8      the clinic is Dr. Jada Johnson, but there's also a
9      therapist, and I don't know his name.
10            Q.     Okay.    And when did you start treating
11     with the therapist, the new therapist?
12            A.     October of 2017.
13            Q.     Okay.    So this particular -- these
14     treaters haven't been disclosed to me, so we will
15     need to get that information and their records as
16     well.
17                   MR. DeROSE:       Put it in a letter, and I'll
18     get it for you.
19     BY MS. WERMUTH:
20            Q.     So -- I'm sorry, actually it's 10397.                I'm
21     sorry.
22                   So this looks like a progress note for a
23     session you had with Dr. Cano on February 11th of
24     2015.
25                   Do you see that at the top?


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                                                                                Page 222
1                                   D. Trahanas
2             A.     Yes.
3             Q.     Okay.    And under Chief Complaint it says
4      depressive -- so she writes "Says depressive and
5      anxiety symptoms have mildly improved."
6                    Do you see that?
7             A.     Yes.
8             Q.     Okay.    And you have no reason to doubt
9      that she accurately wrote down what you told her on
10     this date; is that right?
11            A.     No, I don't have a reason.
12            Q.     Okay.    And so this is about a week before
13     you went on leave from work, right?
14            A.     Correct.
15            Q.     By the way, this was not your first
16     medical leave of absence at Northwestern, right?
17            A.     Correct.
18            Q.     Okay.    You had at least one prior one?
19            A.     About in June of 2014.
20            Q.     Okay.    And you returned to work with no
21     problems after that medical leave of absence, right?
22            A.     Yeah.
23            Q.     And you don't claim that you were
24     retaliated against in any way in connection with
25     that leave of absence, right?


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                                                                                Page 223
1                                   D. Trahanas
2              A.    Not the June of 2014, no, leave.
3              Q.    Okay.    All right.       So on February 11th of
4      2015 you tell Dr. Cano that you're depressive and
5      anxiety symptoms have mildly improved, right?
6              A.    Yes.
7              Q.    Okay.    And if you look under HPI, do you
8      see the area that says HPI?
9              A.    Yes.
10            Q.     Okay.    And the second paragraph, the last
11     sentence, "Denies recent and current SI," do you see
12     that?
13            A.     Yes.
14            Q.     Do you understand SI to mean suicidal
15     ideation?
16            A.     Yes.
17            Q.     Okay.    So is that accurate, that on
18     February 11th of 2015 you denied any suicidal
19     ideation?
20            A.     Yes.
21            Q.     Okay.    And then do you see where it says
22     Past/Family/Social?
23            A.     Yes.
24            Q.     Okay.    It says, "Says she has not been
25     studying for MCATs but will have to take the new


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                                                                                Page 224
1                                   D. Trahanas
2      test."
3                    So were you planning on taking the MCAT
4      test in 2015?
5             A.     In -- I wasn't sure when I would take it,
6      but I was hoping for sometime at the end of the
7      summer of 2015.
8             Q.     For matriculation in what year?
9             A.     For 2016.
10            Q.     Okay.    And then she goes on to write,
11     "Says she is taking time off from job starting next
12     Monday, February 16th."
13                   Do you see that?
14            A.     Yes.
15            Q.     Okay.    So you were actually planning in
16     advance to take the leave of absence from your job
17     at Northwestern University?
18            A.     Well, as of that day.
19            Q.     Okay.    And you are the one informing your
20     physician that you're going to take the time off,
21     right?
22            A.     We had spoken before about -- she wanted
23     me to take time off because I was burnt out.                   And so
24     we had spoken about it, and I had told her that we
25     had deadlines at the time and I didn't -- I didn't


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                                                                                Page 225
1                                   D. Trahanas
2      want to not make those deadlines for our publication
3      purposes and so that basically I promised her like
4      once we were done with those deadlines that I would
5      take her advice and I would take some time off.
6             Q.     Okay.    And if I were to tell you that
7      there's nothing in her notes from the month
8      preceding this visit that suggests that she
9      recommended you taking time off, would you have
10     reason to dispute that?
11            A.     We spoke about it, so I'm not sure if --
12     are you saying that you didn't see it, or are you
13     saying that you might not see it?               I didn't quite
14     catch the beginning.
15            Q.     I'll strike that.
16                   So let me ask you this:           So you're feeling
17     better on February 11th, 2015, but you're also
18     telling her that you're going to take time off the
19     next week, right?
20            A.     Feeling better is -- feeling better to how
21     I was.      I mean, getting out of bed at that point is
22     feeling better.
23            Q.     All right.      Well, look at Page 10398 about
24     a third up from the bottom where it says Mood.
25            A.     Yes.


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                                                                                Page 226
1                                   D. Trahanas
2             Q.     And it says, quote, "I feel good."
3                    Do you see that?
4             A.     Yes.
5             Q.     Okay.    So according to her notes, on
6      February 11th, 2015, you told her not just that you
7      were feeling better but that you feel good?
8             A.     She asked me that every day that I would
9      go into the office.
10            Q.     Right.     And on February 11th, 2015, you
11     told her "I feel good"?
12            A.     Compared to probably previous times, yes.
13            Q.     Okay.    And but, again, you are
14     nevertheless telling her you're going to take time
15     off starting next week, the following week, right?
16            A.     Right.     I already said why.
17            Q.     Now, also there's a note in here that says
18     you were trying out for Chicago Red Stars tomorrow.
19                   Do you see that at the bottom, at the end
20     of the paragraph on Past/Family/Social on
21     Page 10397?
22            A.     Oh, yeah.
23            Q.     Okay.    What are the Chicago Red Stars?
24            A.     It's a soccer team.
25            Q.     Professional soccer team, right?


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                                                                                Page 227
1                                   D. Trahanas
2              A.    Yes.
3              Q.    Okay.    So that would be a full-time job --
4              A.    No.
5              Q.    -- if you were to get on the team?
6              A.    No.
7              Q.    It's not a full-time job?
8              A.    No.
9              Q.    The tryouts last how long about?
10            A.     An hour and a half.
11            Q.     They're not two days?
12            A.     No, unless you get invited, like you have
13     to -- there's certain groups depending on your
14     position, certain things like that.                It depends what
15     they were looking for, what they were in most need
16     of that dictates what days you go and how long you
17     stay.
18            Q.     Did you try out for the Chicago Red Stars
19     on February 12th, 2015?
20            A.     Yes.
21            Q.     Did you get invited to join the team?
22            A.     No.
23            Q.     Okay.    But you felt physically and
24     mentally well enough to go through the tryout
25     process on February 12th, 2015?


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                                                                                Page 228
1                                   D. Trahanas
2             A.     I would say as well as I was trying to
3      function at work.
4             Q.     Okay.    Now, if you go to Page 10399, it
5      says under Plan, the very last entry, "Patient
6      agrees to follow up Monday, March 2nd, at 10:00
7      a.m."
8                    Do you see that?
9             A.     Yes.
10            Q.     So you agreed you would meet with her the
11     following month on March 2nd at 10:00 a.m., right?
12            A.     Yes.
13            Q.     And she did not give you or you did not
14     ask her for a letter regarding your leave from work
15     the following week, correct?
16            A.     On March 2nd?
17            Q.     On February 11th.
18                   MR. DeROSE:       If you want her to refer to
19     the notes for the answer --
20                   MS. WERMUTH:       No, I'm just asking her.
21                   MR. DeROSE:       Don't look at the notes.
22     Just answer her question.
23                   THE WITNESS:       Can you repeat that?          I'm
24     sorry.
25


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                                                                                 Page 229
1                                   D. Trahanas
2      BY MS. WERMUTH:
3             Q.     On February 11th, 2015, did you ask your
4      physician to give you a note to excuse you from work
5      the following week?
6                    MR. DeROSE:       Without referring to the
7      notes.
8                    MS. WERMUTH:       Please do not direct the
9      witness.
10                   MR. DeROSE:       Wait a minute, Counsel.           Are
11     you asking her from her notes or from her memory?                     I
12     don't want her to be referring to notes if you're
13     asking --
14                   MS. WERMUTH:       Please don't instruct the
15     witness.      I've asked you at least four times now.
16     You're telling the witness how to answer.
17                   MR. DeROSE:       You can ask me a hundred
18     times, Counsel.        I have a right to make a record
19     here too, okay.        I do want --
20                   MS. WERMUTH:       You do not have a right to
21     give the witness instructions on how to answer a
22     question.      You don't.
23                   MR. DeROSE:       Counsel, please.        If you are
24     asking her a question from her memory, I have a
25     right to tell my client --


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                                                                                Page 230
1                                   D. Trahanas
2                    MS. WERMUTH:       You do not.
3                    MR. DeROSE:       -- do not look at notes.
4                    MS. WERMUTH:       No, you do not.
5                    MR. DeROSE:       -- answer the question.           She
6      will refer you to a note if she wants.
7      BY MS. WERMUTH:
8              Q.    You can answer the question.             Let's
9      proceed.
10            A.     I know that she would have to write a
11     note.     I can't recall if she gave me a note that
12     day.
13            Q.     Okay.    And there's nothing in the notes
14     that suggests that you asked her to fill out any
15     FMLA forms or give you a note on that particular
16     day, correct?
17                   MR. DeROSE:       Objection.      Unless she can
18     see the notes, how would she know the answer?
19                   MS. WERMUTH:       The notes are right in front
20     of her.
21                   MR. DeROSE:       Do you want her to look at
22     the notes?
23     BY MS. WERMUTH:
24            Q.     I'm asking her there's nothing in those
25     notes, right?        I've asked you that question.


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                                                                                Page 231
1                                   D. Trahanas
2                    There's nothing in the notes from
3      February 11th, 2015, that suggests that you asked
4      your physician to give you a note or to fill out any
5      forms to go on leave the following week?
6             A.     I'm not sure that she would necessarily
7      note that.
8             Q.     Okay.    But you don't see anything in the
9      notes, right?
10            A.     I don't see anything in her notes, no.
11            Q.     Thank you.      So now you did not then go
12     back to Dr. Schwulst or to HR that same day and tell
13     them that you were planning on taking a leave the
14     following week?
15            A.     I did not.      If I told anybody, if I told
16     Dr. Schwulst my personal information, I knew it
17     would get spread throughout the lab in minutes.
18            Q.     Okay.    But you knew that you were expected
19     to give notice before going on a leave if notice --
20     if the leave was not an emergency, right?
21            A.     I mean, like I said before, I was burnt
22     out, so I considered it, yeah, as an emergency.                    I
23     mean --
24            Q.     Well, you knew a whole week in advance you
25     were going to take that -- you were going on leave


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                                                                                Page 232
1                                   D. Trahanas
2      the following week.          So it wasn't an emergency,
3      right?      You had the ability to give your employer
4      notice, correct?
5             A.     My employer being Dr. Schwulst?
6             Q.     Dr. Schwulst, the university, HR --
7             A.     Right.
8             Q.     -- administration.
9             A.     As I stated, if I gave him that
10     information it would be given to everybody else.                    My
11     personal medical information would be given to
12     everybody else in the lab.
13            Q.     Okay.    So let me ask my question again.
14                   You had the ability to give notice but you
15     chose not to, correct?
16            A.     No.
17            Q.     Okay.    You could have -- you had gone on a
18     leave before, so you knew the process for going on a
19     leave of absence, right?
20            A.     Somewhat.      I mean, it was over a year.            I
21     can't -- I'm sure each type of problem has a
22     different, you know, protocol or procedure or
23     paperwork I suppose.
24            Q.     You could have gone to HR on
25     February 11th, 2015, and said I'm going to need to


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                                                                                Page 233
1                                   D. Trahanas
2      start a leave of absence next week, right?
3             A.     Right.     I did that on February 16th.
4             Q.     You didn't do it on the 11th though when
5      you knew you were going to be out?
6             A.     No, I did not send them an e-mail that
7      day, correct.
8             Q.     Okay.    So on the 16th, so let's talk about
9      what happened on the 16th.
10                   So the 16th of February is a Monday,
11     correct, or you don't recall?
12            A.     I don't remember if the 15th or the
13     16th is a Monday.
14            Q.     But you did not report to work on the
15     16th, correct?
16            A.     Correct.
17            Q.     And before you went on a leave of absence
18     you cleaned out your workspace, right?
19            A.     Cleaned out?
20            Q.     Yes, like took home personal effects,
21     cleaned out your desk area.
22            A.     I mean, I -- when I left or after I was
23     terminated I asked for my belongings to be returned
24     to me.
25            Q.     So that's not my question.            Before you


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                                                                                Page 234
1                                    D. Trahanas
2      went on a leave of absence you cleaned out your
3      workspace, cleaned it out of its personal effects?
4             A.     No.
5             Q.     And before you went on a leave of absence
6      you removed personal pictures and the like from your
7      work computer that was issued to you?
8             A.     Maybe in the years prior, but not -- are
9      you saying on a specific day?
10            Q.     Yes.    Immediately prior to going on the
11     leave of absence you started to remove, for example,
12     the wallpaper picture of you and your mother on the
13     computer?
14            A.     No.
15            Q.     You did not?
16            A.     I don't recall anything like that, no.
17            Q.     And the week of February 16th, whatever
18     that fell in, did you take a trip that week?
19            A.     No.
20            Q.     You stayed in town?
21            A.     Yeah.    Yes.
22            Q.     You did not go to visit your boyfriend?
23            A.     No.
24            Q.     By the way, are you still currently dating
25     the individual that you were dating in 2014?


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                                                                                Page 235
1                                   D. Trahanas
2              A.    We're not together anymore.
3              Q.    So you're not dating?
4              A.    No.
5              Q.    And what is his name?
6              A.    John.
7              Q.    John, what's his last name?
8              A.    Sitaras.
9                    MR. DeROSE:       Can you spell that for the
10     record?
11                   THE WITNESS:       S-i-t-a-r-a-s.
12     BY MS. WERMUTH:
13            Q.     Were you dating him in February of 2015?
14            A.     Yes.
15            Q.     And January of 2015?
16            A.     Yes.
17            Q.     Okay.    So did you talk to him about what
18     was going on at work?
19            A.     I mentioned to him a little bit, yes.
20            Q.     Okay.    And do you have text messages and
21     e-mails with him regarding what was going on at
22     work?
23            A.     The only e-mails that I have are what were
24     included in the I guess chains that we sent you or I
25     sent you or gave to John to give to you.                  So I think


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                                                                                Page 236
1                                   D. Trahanas
2      there's a total of maybe two over the span of
3      however many years, and I don't have texts from him
4      since 2016 when him and I separated.
5             Q.     So you did produce texts between you and
6      Salina from February of 2015, right?
7             A.     Yes.
8             Q.     And also texts from you to Melissa Wallin
9      in February of 2015 --
10            A.     Yes.
11            Q.     -- right?
12                   But you didn't produce any text messages
13     with Dr. Schwulst from that time period, correct?
14            A.     His texts were already provided to us, and
15     my carrier can't go that far back to give me those
16     text messages.
17            Q.     So that's not my question, okay.
18                   So you were able to get text messages to
19     produce from Salina and from -- or to Melissa,
20     right?
21            A.     I had screen shot those to show them to my
22     attorney at the time of that year.
23            Q.     So you screen shotted those text messages
24     in February of 2015?
25            A.     No, later on in 2015.


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                                                                                Page 237
1                                   D. Trahanas
2             Q.     Okay.    And so are you telling me that all
3      the old text messages between you and Carla and
4      Salina and Angelica and Melissa and Dr. Schwulst,
5      you didn't do anything to preserve them?
6             A.     Beyond keeping as much as I could or like
7      voicemails or screen shots, no.              My phone -- I mean,
8      I had a different model phone at the time, and so
9      that one actually got run over so it completely
10     cracked.      So whatever ended up being saved was
11     saved, and the rest I can't retrieve because it's
12     too far, it's too far back to go.
13            Q.     When did your phone get run over?
14            A.     2016.
15            Q.     Okay.    So between the time you went to the
16     EEOC in 2015 and the time your phone got run over in
17     2016 you didn't take any steps to preserve the data
18     that you had on your phone?
19            A.     There is -- like Apple does that, but I
20     don't know a way for me to access that information.
21     I would have to ask Apple to, you know, retrieve
22     that data or information or texts.
23            Q.     You were represented by counsel when you
24     filed at the EEOC; is that correct?
25            A.     At the time that I was there?


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                                                                                Page 238
1                                   D. Trahanas
2             Q.     No.     When you -- so you actually engaged
3      counsel in February of 2015, right?
4             A.     Yes.
5             Q.     And vis-a-vis your disputes with the
6      university and Dr. Schwulst, you've been represented
7      by some lawyer since that time, correct?
8             A.     There was a break in between February and
9      until my current attorney, but, yes, after that
10     probably April of 2015, so maybe there was like a
11     month where I didn't have counsel.
12            Q.     Okay.    And just so I'm clear, you've
13     been -- so you've at least been represented
14     continuously since April of 2015 vis-a-vis these
15     issues involved in your lawsuit, correct?
16            A.     Yes.
17            Q.     Okay.    And you did not do anything from
18     April '15 to the present to make sure before those
19     text messages disappeared and went away to preserve
20     them, right, to save them, to get them into a file
21     where they could be produced?
22            A.     Like I said, they are there.             It's just
23     I'm not able -- I'm not a computer person, so I
24     can't retrieve them.          The way that iTunes or Apple's
25     iCloud account works is -- from what I've asked it's


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                                                                                Page 239
1                                   D. Trahanas
2      very complicated, and unless you're a computer
3      expert you won't be able to retrieve those text
4      messages.
5             Q.     When did you first notify human resources
6      that you were going to be out on leave?
7             A.     February 15th or 16th of 2015.
8             Q.     And how did you notify human resources?
9             A.     I e-mailed.       I e-mailed them.
10            Q.     Who did you e-mail?
11            A.     I believe Ms. Fernandez.
12            Q.     And what did you say in the e-mail?
13            A.     I don't recall.
14            Q.     Did you provide any medical documentation
15     of the need for leave?
16            A.     In the e-mail, probably.           I would believe
17     that that would be sent through the doctor's office.
18     I don't think I would have access to that.
19            Q.     Okay.    When did you -- and did you e-mail
20     and notify HR first thing in the morning on the day
21     that you didn't report to work, or what time of day?
22            A.     I don't recall.        If you have an e-mail
23     that I could refresh my memory, I'd be more than
24     happy to try and answer, but I can't recall right
25     now.


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                                                                                Page 240
1                                   D. Trahanas
2             Q.     When did you notify Dr. Schwulst?
3             A.     I believe February 16th, February 16th or
4      17th, via e-mail.
5             Q.     So was it the second day that you did not
6      report to work that you notified Dr. Schwulst?
7             A.     I would have to take a look and see the
8      dates on -- I'm not sure what's Monday, what's
9      Tuesday.
10            Q.     Was Monday the first day you took off?                So
11     let's set aside whether it was the 15th or 16th.
12                   Was Monday the first day you took off?
13            A.     Yes.
14            Q.     Okay.    And you did not notify Dr. Schwulst
15     until the following Tuesday; is that right?
16                   MR. DeROSE:       Objection, Counsel.         She just
17     said she doesn't know unless she can see a document.
18     BY MS. WERMUTH:
19            Q.     You can answer the question.
20                   MR. DeROSE:       Asked and answered.
21                   MS. WERMUTH:       You've stated your
22     objection.
23     BY MS. WERMUTH:
24            Q.     You can go ahead and answer my question.
25            A.     You said the following Tuesday?


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                                                                                Page 241
1                                   D. Trahanas
2             Q.     The Tuesday -- okay.          So you've testified
3      that the first day that you didn't report to work in
4      connection with the leave of absence was a Monday,
5      right?
6                    So my question is, did you notify
7      Dr. Schwulst on that Monday or the next day,
8      Tuesday?
9             A.     Like I said, I can't remember if it was
10     the 16th or 17th or Monday or Tuesday.                 I'd have to
11     refresh my memory with the e-mails.
12            Q.     Can you mark that, please.
13                                (Exhibit 30 was marked for
14                                identification.)
15                   MR. DeROSE:       Remember, an hour and a half
16     before we get --
17                   MS. WERMUTH:       We may have to just agree to
18     continue the deposition.
19                   MR. DeROSE:       Well, no, you get seven
20     hours.
21                   MS. WERMUTH:       And it hasn't been close to
22     seven hours yet.
23                   MR. DeROSE:       Well, I didn't say you have
24     to leave now.        I'll wait for seven hours.
25


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                                                                                Page 242
1                                   D. Trahanas
2      BY MS. WERMUTH:
3             Q.      Okay.   So, Ms. Trahanas, these are e-mails
4      in Deposition Exhibit 30 that you produced to us.
5                     Can I ask you to look at the second page,
6      which is marked Trahanas 193.
7             A.      Yes.
8             Q.      Actually no, I'm sorry, don't look at
9      that.       Look at the first page.
10                   So it's Tuesday, February 17th, 2015, at
11     12:00 noon.
12            A.     Yes.
13            Q.     "Hello, Steve.        I am taking a medical
14     leave of absence.         I have contacted HR, and they
15     will be notifying you."
16                   Do you see that?
17            A.     Yes.
18            Q.     So was that the first notice that you gave
19     to Dr. Schwulst that you were going to be taking a
20     leave of absence?
21            A.     Yes.
22            Q.     So it was on the second day of your
23     absence at noon, correct?
24            A.     Yes.
25            Q.     And he responds about an hour, over an


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                                                                                Page 243
1                                   D. Trahanas
2      hour later, "Diane, what is going on?                Can you call
3      me," right?
4             A.     Yes.
5             Q.     And you say, "I really appreciate your
6      concern, but it's a private matter that I am not
7      comfortable discussing."
8                    Do you see that?
9             A.     Yes.
10            Q.     Okay.    And then he responds, "When are you
11     coming back?"
12            A.     Yes.
13            Q.     And then three -- I'm sorry, a day later
14     you tell him you are unsure, right?
15            A.     Yes.
16            Q.     And you tell him you will only be
17     communicating with HR?
18            A.     Correct.
19            Q.     Okay.    So you didn't want to talk directly
20     with him?
21            A.     Correct.
22            Q.     And you wanted to limit any e-mails, texts
23     or calls from him, right?
24            A.     Yes.
25            Q.     Okay.    Now, I haven't seen any similar


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                                                                                Page 244
1                                   D. Trahanas
2      e-mail that you sent to HR.
3                     Are you sure you sent an e-mail to HR?
4             A.      If I e-mailed him that -- well, I said
5      contacted, so it's quite possible that I called them
6      and my doctor was going to send over the paperwork.
7      It may have been an e-mail; it may have been a phone
8      call.       I can't recall.
9             Q.      And if you look at 22, if you look at
10     Exhibit 22, the big stack of text messages.
11                   MR. DeROSE:       Let me look at it over your
12     shoulder for a second when she gives you the page.
13     Oh, I have that.
14     BY MS. WERMUTH:
15            Q.     Can you just turn to the last page.
16            A.     Yes.
17            Q.     Wait, I'm sorry, turn to the
18     second-to-last page.          So there's a text from
19     Dr. Schwulst to you, "Are we meeting with Harris
20     today?"
21                   Do you see that?
22                   MR. DeROSE:       Do you see it?
23                   MS. WERMUTH:       2246.
24                   THE WITNESS:       Okay.    Oh, here.
25


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                                                                                Page 245
1                                   D. Trahanas
2      BY MS. WERMUTH:
3             Q.     "Are we meeting with Harris today," do you
4      see that?
5             A.     Yes, I see that.
6             Q.     So that's on the 16th, which was that
7      Monday.     And you respond, "He changed the time last
8      week and hasn't confirmed this week.                I will be
9      staying home sick today."
10            A.     Yes.
11            Q.     So you told him that Monday that you were
12     staying home sick, right?
13            A.     Yes.
14            Q.     And then Tuesday at 1:00 o'clock he texts
15     you and says, "Are you okay?             Can you call me?"
16            A.     Yes.
17            Q.     And then you did not respond?
18            A.     Correct.
19                   MR. DeROSE:       When you say you did not, you
20     got the 12:00 o'clock response, 12:00 o'clock noon
21     response on the 17th, Tuesday.              Am I wrong in that?
22                   MS. WERMUTH:       Yes, you are wrong on that.
23                   THE WITNESS:       I did not respond to that
24     text message.
25                   MS. WERMUTH:       Thank you.


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                                                                                Page 246
1                                   D. Trahanas
2      BY MS. WERMUTH:
3             Q.     Okay.    So going to Exhibit 30, okay, so he
4      had texted you that day of the 17th, and you had
5      e-mailed him at noon on the 17th, okay.                 Got it.
6                    Now, he also tried to call you on the
7      17th; is that right?
8             A.     Yes.
9             Q.     And you did not return his phone call
10     either, right?
11            A.     Correct.
12            Q.     Okay.    And that is -- let me just get that
13     marked.
14                   You took a screen shot of the
15     transcription of the message that he left you,
16     right?
17            A.     Yes.
18            Q.     You also saved that message, right?
19            A.     I have that message, yes.
20            Q.     Can we mark that.         Thank you.
21                                (Exhibit 31 was marked for
22                                identification.)
23     BY MS. WERMUTH:
24            Q.     Okay.    Now, according to Exhibit 31,
25     Dr. Schwulst tells you that he asked his HR people,


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                                                                                Page 247
1                                   D. Trahanas
2      and then it's blank, blank -- or blank days they
3      blank blank not have heard anything about it, okay.
4                    So do you recall that in his voicemail
5      message he told you he contacted HR and they had
6      nothing to share with him?
7             A.     I'm sorry, your question was if I recall
8      the voicemail that he left?
9             Q.     Yes.    Do you recall him telling you in the
10     voicemail that he contacted HR and they did not have
11     any information?
12            A.     I don't recall remembering it at the time.
13     I see it here now, but ...
14            Q.     Okay.    Now, at some point you had to speak
15     with The Hartford; is that right?
16            A.     I believe so.
17            Q.     And The Hartford is the insurance company
18     that administers leaves of absence for Northwestern
19     University.       Is that your understanding?
20            A.     My understanding is they're like
21     mediators.      I'm not sure.        They're the ones that
22     approve leaves.
23            Q.     And you were approved for a leave of
24     absence, right?
25            A.     Correct.


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                                                                                Page 248
1                                   D. Trahanas
2             Q.     And you were approved -- and you received
3      pay during the period of time that you were on a
4      leave of absence; is that right?
5             A.     Yes.
6             Q.     Okay.    And you texted Melissa Wallin on
7      that same day; is that right?
8             A.     On the 17th?
9             Q.     Yes.
10            A.     Yes, after I received a voicemail from
11     Salina -- I'm sorry, a text message from Salina.
12            Q.     Can you mark that, please.
13                                (Exhibit 32 was marked for
14                                identification.)
15                   MR. DeROSE:       32, Counsel?
16                   MS. WERMUTH:       Yes.
17     BY MS. WERMUTH:
18            Q.     Now, this is a text message, portion of a
19     text message I guess that you sent to Melissa Wallin
20     on February 17th, 2015.
21                   Is that accurate?
22            A.     Yes.
23            Q.     Okay.    And you say, "My boss may approach
24     you as I have received a text from another co-worker
25     inquiring about my private personal medical leave of


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                                                                                Page 249
1                                   D. Trahanas
2      absence because that's exactly what it is."
3                    So you tell Melissa that you were on a
4      medical leave of absence, right?
5             A.     Yes.
6             Q.     So you disclosed that information to her?
7             A.     I disclosed that I was taking a leave of
8      absence.
9             Q.     Okay.    A medical leave of absence, right?
10            A.     Yes.
11            Q.     And you say, "Please do not be concerned,
12     and let him know that you are unaware of my private
13     info."
14            A.     Yes.
15            Q.     Okay.    She did not respond to that text,
16     right?
17            A.     She did not, no.
18            Q.     Okay.    And then there's another text at
19     the bottom of the page that's cut off.
20            A.     That's a text message from months later.
21     It has nothing to do with -- I don't even remember
22     what's on it.
23            Q.     Do you still have that text?
24            A.     I -- I could find it.          Yeah, I probably
25     have it.


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                                                                                Page 250
1                                   D. Trahanas
2             Q.     These are terrible copies.
3                    I'm sorry, can we go off the record for a
4      second.
5                                 (Whereupon, an off-the-record
6                                 discussion was held.)
7      BY MS. WERMUTH:
8             Q.     Now, you had to interview with
9      The Hartford on the 17th to tell them about the
10     nature of your request for leave; is that right?
11     You had a phone interview with The Hartford?
12            A.     I can't definitively say yes.             I don't
13     remember.
14            Q.     Okay.    And ultimately Dr. Cano had to
15     submit information to The Hartford to support your
16     request for a leave; is that right?
17            A.     Yes, yes.
18            Q.     And you were on an approved paid leave of
19     absence through May 24th of 2015; is that right?
20            A.     It's possible, but I'm not sure of the
21     exact date to which it was a paid leave or not.
22            Q.     At some point was your pay turned off?
23            A.     I don't know.       I don't remember.
24            Q.     Do you remember if The Hartford asked you
25     whether you were going to be filing for a worker's


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                                                                                Page 251
1                                   D. Trahanas
2      comp claim?
3             A.     It's possible, but I don't recall.
4             Q.     You never did file for a worker's comp
5      claim --
6             A.     No.
7             Q.     -- correct?       Okay.
8                    Now, let me ask you this:            The week before
9      you went on a leave of absence you worked at the
10     lab, right?
11            A.     To the best of my recollection, yes.
12            Q.     Okay.    And you were in the middle of
13     running experiments at the time before you went on a
14     leave of absence, right?
15            A.     I mean, we were always running
16     experiments.        So I believe at the time we were
17     trying to test -- we were trying something new.                    It
18     wasn't just the typical project in terms of like
19     changing the data we were analyzing but keeping
20     procedures the same or the protocol.
21                   So I think we were -- I think we were
22     trying to figure out the results after we do what's
23     called a clodronate injection.              I think that was
24     kind of what we were working on at the time.
25            Q.     Okay.    So this injection was an injection


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                                                                                Page 252
1                                   D. Trahanas
2      into the model, the mice?
3             A.     Correct.
4             Q.     Okay.    So you had done the injection
5      before you went on the leave of absence; is that
6      right?
7             A.     Well, after you do the injection, to what
8      I remember, I believe we would have to collect the
9      samples about a day or 48 hours after.                 I don't
10     think it would last days after.
11            Q.     So my question is, you had injected the
12     mice before you went on your leave of absence?
13            A.     So my response would be I didn't inject
14     mice -- let's say Friday was my last day of work --
15     to wait until Monday.           We didn't do a set of
16     injections -- we don't do a set of injections on
17     Friday because it's the last day of the week, and so
18     we wouldn't be able to collect anything come
19     Saturday or Sunday.
20            Q.     Because if that were the case, then you
21     would be off protocol?
22            A.     For that specific hypothesis, yeah, for
23     that specific project at the time, from what I
24     remember, correct.
25            Q.     Okay.    And if you're off protocol -- and


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                                                                                Page 253
1                                   D. Trahanas
2      I'm talking now about the animal treatment protocol,
3      right?
4             A.     I'm referring to our protocol for the
5      project that we were working on.
6             Q.     I see, okay.       But there's also the
7      treatment of the mouse protocol, right?
8             A.     Of course.
9             Q.     Of course.      And so if at any point in time
10     you're off protocol with the treatment of the mice,
11     that either has to get reported or the mice have to
12     be euthanized; is that right?
13            A.     If we were approved to do an experiment,
14     let's say, and we hit the mouse, we wouldn't have to
15     report like that day that we did a hit or traumatic
16     brain injury in the mouse.            We would just go on
17     doing our research.
18                   If a mouse was ever sick, we never had a
19     sick mouse, then it would -- we would be notified
20     via e-mail with the people who run the subbasement
21     at Northwestern or the animal caretakers that our
22     animal is sick and we need to attend to it, and we
23     could either euthanize it or we could pay to have
24     them do it for us.
25            Q.     Okay.    So here's my question:           If you go


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                                                                                Page 254
1                                   D. Trahanas
2      off the mice care protocol, like if somehow you're
3      not compliant with the treatment of the mice, that
4      protocol -- and you told me you were familiar with
5      that protocol, right?
6             A.     Yes.
7             Q.     So if at any point in time you veer from
8      that protocol, the scientist in charge,
9      Dr. Schwulst, would either have to notify IUCAC.                    Is
10     that what it was called?
11            A.     IAC -- yes, CUC, IACUC, yes.
12            Q.     I-A-C-U-C?
13            A.     Yes.
14            Q.     And/or you'd have to euthanize the mice,
15     right?
16            A.     I can't say that we would kill the mice
17     if -- we wouldn't have mice ordered prior to them
18     approving us, so I wouldn't -- we wouldn't choose
19     between euthanizing them and the protocol.                  It would
20     just be we have mice, we do our experiment, and that
21     would really be it.
22            Q.     Okay.    We're going to take a quick break.
23            A.     Okay.
24                                (Whereupon, a recess was taken
25                                from 4:19 p.m. to 4:22 p.m.)


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                                                                                Page 255
1                                   D. Trahanas
2                    MS. WERMUTH:       Let's go back on the record.
3      BY MS. WERMUTH:
4             Q.     Let me ask this quick question:              Did --
5      strike that.
6                    Can we go off the record.
7                                 (Whereupon, a recess was taken
8                                 from 4:22 p.m. to 4:24 p.m.)
9                    MS. WERMUTH:       Let's go back on the record.
10                                (Exhibit 33 was marked for
11                                identification.)
12     BY MS. WERMUTH:
13            Q.     So very quickly, Ms. Trahanas, let's go
14     through these exhibits that we've marked.
15                   So Deposition Exhibit 33 is a letter to
16     you dated February 20th, 2015, from The Hartford.
17                   Do you see that?
18            A.     Yes, I do see it.
19            Q.     Okay.    And if you look at the second page,
20     there's a notice of approval of your continuous FML
21     leave and continuous short-term disability leave
22     through March 2nd, 2015, right?
23            A.     Correct.
24            Q.     Okay.    And you were paid through that time
25     period, correct?


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                                                                                Page 256
1                                   D. Trahanas
2             A.     Yeah, yes.
3                                 (Exhibit 34 was marked for
4                                 identification.)
5      BY MS. WERMUTH:
6             Q.     Okay.    And then if you look at
7      Exhibit 34 -- I'm sorry, so Exhibit 34 is just --
8      I'm sorry.      I'm not even going to ask you about
9      that.
10                   That didn't go to you.           That went to your
11     doctor; is that right?
12            A.     I don't recognize the --
13            Q.     It says "Dear Dr. Cano"?
14            A.     Yeah, that probably went to her.
15                                (Exhibit 35 was marked for
16                                identification.)
17     BY MS. WERMUTH:
18            Q.     Okay.    And then Exhibit 35 -- I'm sorry,
19     yeah, 35, that went to you, and that's dated
20     April 21, 2015.
21                   Do you see that?
22            A.     Yes.
23            Q.     Okay.    And according to this letter, you
24     were approved on FML and short-term disability leave
25     through May 3rd, 2015; is that right?


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                                                                                Page 257
1                                   D. Trahanas
2             A.     Yes.
3             Q.     Okay.    And you were paid during that time
4      period; is that right?
5             A.     It's been a long time since I've seen any
6      of the time-related things from Northwestern, so
7      without doing math, I suppose, yeah, that's what
8      this is reflecting, but so yes.
9                                 (Exhibit 36 was marked for
10                                identification.)
11     BY MS. WERMUTH:
12            Q.     Okay.    And then on Exhibit 36 you were
13     notified that as of May 10th your FMLA leave had
14     exhausted, but you were eligible for additional
15     leave, right?
16            A.     Yes, I see that.
17                                (Exhibit 37 was marked for
18                                identification.)
19     BY MS. WERMUTH:
20            Q.     Okay.    And then in Exhibit 37, also dated
21     May 13th, you were notified that your short-term
22     disability was approved through 5/24/2015 but that
23     your FML had been exhausted, right?
24            A.     I see that on this, yes.
25            Q.     Okay.    And were you paid through


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                                                                                Page 258
1                                   D. Trahanas
2      May 4th of 2015?
3              A.    I see zero.
4              Q.    I'm sorry, May 24th of 2015.
5              A.    I'm not sure because I see zeros here, so
6      like I said, I don't remember how --
7              Q.    Where do you see zeros?
8              A.    On the second page, 59 -- 5917, remaining
9      remaining zero, zero, zero, zero.               So I'm not sure
10     if that -- like I said in the previous one, I'm not
11     sure how the hours worked.            It says 450, 12 next to
12     that, so --
13            Q.     So those are hours, not pay.             So you can
14     see that you have been -- if you go down to the last
15     row, short-term disability/medical leave approved,
16     right?
17            A.     You're referring to 2/16 to 5/24 --
18            Q.     Yes.
19            A.     -- of that line?
20            Q.     Yes.
21            A.     Yes.
22            Q.     Okay.    You just don't recall if you were
23     paid?
24            A.     Yes.
25            Q.     But you were approved on a leave of


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                                                                                Page 259
1                                   D. Trahanas
2      absence through 5/24/2015?
3             A.     Correct.
4                                 (Exhibit 38 was marked for
5                                 identification.)
6      BY MS. WERMUTH:
7             Q.     Okay.    And then Exhibit 38 is dated
8      June 9th, and that's a notice that in the third
9      paragraph says, "On June 8th, 2015, it was brought
10     to our attention that you instructed The Hartford to
11     close your claim.         As of 6/9/2015 you have not
12     returned to work."
13                   Those two statements are accurate; is that
14     correct?
15            A.     Yes.
16            Q.     Okay.    And you were further informed that
17     if you intended to resign that you should let
18     Victoria Sherb know immediately.               If you've not been
19     released to return to work, you must submit
20     documentation from your physician so that your
21     leave -- so that the university can determine
22     whether to extend your leave.
23                   Do you see that?
24            A.     Yes, I see that.
25            Q.     Okay.    So you had told The Hartford that


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                                                                                Page 260
1                                   D. Trahanas
2      you -- to close the claim, right, to close your
3      claim, right?
4             A.     Yes.
5                                 (Exhibit 39 was marked for
6                                 identification.)
7      BY MS. WERMUTH:
8             Q.     Okay.    And then Exhibit 39 is just -- that
9      was the official notice on June 12th that your
10     short-term disability was approved through
11     May 24th of 2015; is that right?
12            A.     That's what it says, yes.
13            Q.     Now, can you go back to Dr. Cano's
14     records, please, which are Exhibit 29, and can you
15     turn to Page 10470.
16            A.     Okay, I'm there.
17            Q.     So these are notes from a visit with
18     Dr. Cano dated 4/28/2015.
19                   Do you see that?
20            A.     Yes.
21            Q.     Okay.    And if you look on the next page of
22     this visit at 10471 where it says Past History --
23            A.     Yes.
24            Q.     -- it says, "Says she is trying to study
25     for MCAT."


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                                                                                Page 261
1                                   D. Trahanas
2                    Do you see that?
3             A.     Yes.
4             Q.     "Plans to leave current job."
5                    Do you see that?
6             A.     Yes.
7             Q.     Okay.    So you told Dr. Cano in April, on
8      April 28th of 2015 that you did not intend to return
9      to Northwestern; is that right?
10            A.     I didn't -- I didn't tell her.              That I
11     think is reflecting our conversation of plans that I
12     wouldn't be able to go back to my current job.
13            Q.     Well, it says "plans to leave current
14     job," right?
15            A.     Like, I mean, we had made plans that I
16     would not be able to return being supervised under
17     Dr. Schwulst.
18            Q.     Okay.    Well, then go to Page 10467.
19     Actually go to Page 10466, please.
20                   MR. DeROSE:       And, Counsel, so the record
21     is clear, the records speak for themselves, but
22     you're asking her if she agrees with the statements
23     she sees in the records or did she actually say
24     these things to the doctor?
25                   MS. WERMUTH:       Well, my questions speak for


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                                                                                Page 262
1                                   D. Trahanas
2      themselves, but I've moved on to a different
3      question.
4      BY MS. WERMUTH:
5              Q.    So are you on Page 10466?
6              A.    Yes.
7                    MR. DeROSE:       Counsel, can I be clear on
8      the record?       Are you asking her to confirm what's
9      written in the record, or you're asking her is this
10     what she's saying, because you asked her did you say
11     this, and the record says what it says.
12                   MS. WERMUTH:       I understand, so I'm
13     asking -- so, look, right now she has answered the
14     question I already asked.            So let me ask this
15     question, and if you find it confusing -- if the
16     witness finds it confusing, she can let me know
17     that.
18     BY MS. WERMUTH:
19            Q.     Okay.    So you met with Dr. Cano on
20     5/26/2015?
21            A.     Yes.
22            Q.     Okay.    And there's a -- if you could turn
23     to Page 10467, in the section that reads Past
24     History there's a note where the doctor writes,
25     "Says she is studying for the MCAT exam."


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                                                                                Page 263
1                                   D. Trahanas
2                    Do you see that?
3             A.     Yes.
4             Q.     And that's true, you were studying for the
5      MCAT in May of 2015?
6             A.     I was trying to.
7             Q.     And you told her that you were trying to?
8             A.     Yes.
9             Q.     Okay.    And then the next sentence, the
10     doctor writes, "Says she left job."
11                   Did you tell Dr. Cano on 5/28/2017 [sic]
12     that you left your job?
13            A.     I don't recall telling her I left my job.
14     I recall us having a conversation about me leaving.
15            Q.     This is written in the past tense.               It
16     says she left job.
17                   So your testimony is that you did not tell
18     her on 5/28/2015 that you left your job?
19                   MR. DeROSE:       Objection, Counsel.         That's
20     not what she just said.           Do you want it read back?
21                   MS. WERMUTH:       I don't.
22                   MR. DeROSE:       She said I don't recall,
23     Counsel.
24                   MS. WERMUTH:       No, sir.
25                   MR. DeROSE:       Wait one second.


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                                                                                Page 264
1                                   D. Trahanas
2                    MS. WERMUTH:       I asked a new question.
3                    MR. DeROSE:       Let me --
4                    MS. WERMUTH:       I asked a new question.
5                    MR. DeROSE:       I am going to make my record.
6      You cannot take an answer from the client, and I
7      object to it, when she says I don't recall and then
8      you turn it around to a different answer.
9                    MS. WERMUTH:       First of all, that's not
10     what she said.        She didn't say she didn't recall.
11                   MR. DeROSE:       Would you please, sir, for me
12     read back her last answer to counsel's questions.
13                                (Record read.)
14     BY MS. WERMUTH:
15            Q.     So the next sentence reads, "Plans to file
16     for unemployment benefits today."
17                   Do you see that note?
18            A.     Yes, I see the note.
19            Q.     Did you tell Dr. Cano that you planned to
20     file for unemployment benefits on 5/28/2015?
21            A.     I don't recall telling her I would file it
22     that day.
23            Q.     Okay.    And I'm sorry, it's 5/26, not 28,
24     2015.
25                   When did you apply for unemployment


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                                                                                Page 265
1                                   D. Trahanas
2      benefits?
3             A.     June of 2015.
4             Q.     Is there any reason why you didn't produce
5      the records relating to your application for
6      unemployment?
7             A.     There's no reason.         I just don't have
8      them.
9             Q.     Why didn't you retain those records?
10            A.     I don't recall if I even have any paper --
11     I think you have to go to the unemployment office
12     and you file it with an adviser there or
13     representative there.           I can't -- I can't recall
14     taking something home or having any papers.
15            Q.     Okay.    Can you please look at Page 10641
16     in Exhibit 29.
17            A.     29?
18            Q.     Yes, 10461.
19            A.     I'm there.
20            Q.     Okay.    So you saw Dr. Cano on June 16th of
21     2015; is that right?
22            A.     Yes.
23            Q.     Okay.    And if you turn to Page 10462, the
24     second page of the note, under Past History Dr. Cano
25     writes, "Says Northwestern is denying unemployment


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                                                                                Page 266
1                                   D. Trahanas
2      benefits."
3                    Do you see that, the second sentence under
4      Past History?
5             A.     I do see that.
6             Q.     Okay.    So that means, if her notes are
7      accurate, that you applied for unemployment benefits
8      sometime before June 16th of 2015; is that right?
9             A.     According to this, yes.
10            Q.     Okay.    And you have no reason to dispute
11     the accuracy of Dr. Cano's notes, do you?
12            A.     Generally no, but like I said, I can't
13     recall specific dates as to when the unemployment
14     benefits were submitted.
15            Q.     Okay.    Then if you go to Page 10464, are
16     you with me?
17            A.     Sorry, they're sticking.
18            Q.     Yeah, that's okay.
19            A.     Okay, yes.
20            Q.     So this is still part of the June 16th,
21     2015 note, and just above the chart there's four
22     bullet points, and the third bullet, do you see like
23     a dash --
24            A.     Yes.
25            Q.     -- four dashes?


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                                                                                Page 267
1                                   D. Trahanas
2                    So the third dash says, "Patient requests
3      letter to date to return to work as of last
4      appointment."
5             A.     Yes.
6             Q.     "But with recommendations for appropriate
7      work environment."
8             A.     Yes.
9             Q.     Okay.    So even though you had, according
10     to Dr. Cano's notes, left Northwestern and applied
11     for unemployment, you were asking her on
12     June 16th to give you a note to return to work; is
13     that right?
14            A.     We just -- our conversation was about me
15     being able to work but with her discretion not to
16     work under Dr. Schwulst or in the current
17     environment that I had been working in.
18            Q.     Okay.    But as of the date that you asked
19     for that letter you had already applied for
20     unemployment?
21            A.     It would seem so.
22            Q.     Okay.    And she gave you that note that
23     day, correct?
24            A.     On June 16th?
25            Q.     Yes.    It says given letter today.


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                                                                                Page 268
1                                   D. Trahanas
2             A.     Yes.
3             Q.     And the next page is that letter, correct?
4             A.     Yes, that's the letter.
5             Q.     Okay.    So you walked out with that letter?
6             A.     Yes.
7             Q.     And what did you do with it?
8             A.     Are you saying that day, or are you saying
9      like -- because I have the letter.
10            Q.     Once you got that letter, did you ever
11     give it to anybody at Northwestern?
12            A.     It's possible I dropped it off to somebody
13     at HR, maybe like Daina's -- the person at the front
14     desk at HR, but I don't specifically -- I don't
15     recall.
16            Q.     Okay.    Can you mark that, please.
17                                (Exhibit 40 was marked for
18                                identification.)
19                   MR. DeROSE:       This is 40, Counsel?
20                   MS. WERMUTH:       Yes.
21     BY MS. WERMUTH:
22            Q.     Okay.    Deposition Exhibit 40 is the letter
23     notifying you that your job was being terminated
24     because they had not heard back from you; is that
25     right?


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                                                                                Page 269
1                                   D. Trahanas
2             A.     Yes, I see -- yes, I see it.
3             Q.     And that letter then was also sent to you
4      by e-mail from Victoria Sherb as well.
5                    Do you remember getting that e-mail?
6             A.     I know I have it.         I can't -- I can't
7      testify that I saw it that day or when I saw it, but
8      I do have it.
9             Q.     I can just mark that.
10                                (Exhibit 41 was marked for
11                                identification.)
12     BY MS. WERMUTH:
13            Q.     And Exhibit 41, that's the e-mail that you
14     got from Victoria Sherb with the letter attached,
15     right?
16            A.     Yes.
17            Q.     And Victoria Sherb also reached out to you
18     in advance of that by e-mail.
19                   Do you remember communicating with her by
20     e-mail prior to that notice in Exhibit 41?
21                   MR. DeROSE:       It is an e-mail, isn't it?
22                   MS. WERMUTH:       I'll withdraw the question.
23                   Can we mark this, please, as 42.
24                                (Exhibit 42 was marked for
25                                identification.)


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                                                                                Page 270
1                                   D. Trahanas
2      BY MS. WERMUTH:
3             Q.     According to -- so you now have Exhibit 42
4      in front of you?
5             A.     Yes.
6             Q.     And you see in the middle of the first
7      page there's an e-mail from Victoria Sherb dated
8      June 9th of 2015?
9             A.     I do see it.
10            Q.     And it says, "Hi Diane, I have tried
11     calling you a few times to inquire about the status
12     of your medical leave."
13                   Do you see that?
14            A.     I do see that.
15            Q.     Okay.    And then she says, "Yesterday it
16     was brought to my attention you closed your leave
17     claim with The Hartford."
18                   Do you see that?
19            A.     I see that as well.
20            Q.     Okay.    And then you responded to this
21     e-mail on the 15th, so six days later, saying, "My
22     doctor is not allowing me to return to work at
23     Northwestern University."
24            A.     Yes, that's stated in the e-mail.
25            Q.     Okay.    Can you mark that, please.


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                                                                                Page 271
1                                   D. Trahanas
2                                 (Exhibit 43 was marked for
3                                 identification.)
4                    THE WITNESS:       I believe there is a
5      subsequent e-mail to this chain.               I'd like to state
6      that for the record.
7      BY MS. WERMUTH:
8             Q.     Between you and Victoria?
9             A.     Correct.
10            Q.     And what do you think that chain says?
11            A.     I believe it was an e-mail from me to her,
12     and I received an automatic message.                She was on
13     leave or wasn't available at the time.
14            Q.     And what do you recall doing with that, if
15     anything?
16            A.     Doing with the e-mail or why I e-mailed
17     her?
18            Q.     So I'm confused.
19                   What is the subsequent communication you
20     had with Victoria Sherb after you gave her the
21     e-mail in Exhibit 42?
22            A.     So after I gave her the e-mail in
23     Exhibit 42 I tried to follow up and clarify what I
24     had written as just Northwestern University, as I
25     had spoken to my physician; and she had told me I


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                                                                                Page 272
1                                   D. Trahanas
2      can go back to work so long as it's not under
3      Dr. Schwulst's supervision.
4                    And so I e-mailed Victoria, and I received
5      an automatic vacation response or out of the office
6      response.
7             Q.     Okay.    And did you follow up after that?
8             A.     No.
9             Q.     Okay.    Can we give you Exhibit 43.             These
10     are e-mails between you and -- I'm sorry, text
11     messages between you and Salina Dominguez.
12                   Can you tell me the date on these?
13            A.     February 17th.
14            Q.     And where do you see that?
15            A.     I see that on the second page of
16     Exhibit 43 at the top.
17            Q.     So where do these messages start?
18                   So --
19            A.     So I know what you're getting at.               You
20     want to know the first.           I'm trying to see -- okay.
21                   So the second page actually should be the
22     first.      It should be the top of that text message
23     thread so Trahanas 108 at the bottom.                This should
24     be the first part.         So Salina sent me this text
25     first.


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                                                                                Page 273
1                                   D. Trahanas
2             Q.     Are you sure?
3             A.     Pretty sure, yes.
4             Q.     Okay.    So Salina says, "Steve and Rana
5      came over to me asking about you"?
6             A.     Yes.
7             Q.     Okay.    "Steve said you only sent him a
8      one-line e-mail saying you were taking your med
9      leave."
10            A.     Yes.
11            Q.     All right.      And then she goes through,
12     "That's TMI to for me and Rana."
13                   What does that mean?
14            A.     TMI is short for too much information.
15            Q.     "You need to talk to HR and make sure he's
16     aware your businesses stays private."
17                   Did you do that?        Did you follow her
18     advice?
19            A.     Yes, I spoke to HR after.
20            Q.     After this?
21            A.     Not the minute after this, but after this,
22     yes.
23            Q.     Okay.    What does -- the first page, 107,
24     where does that fit in the string?
25            A.     107 would be towards the end, so


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                                                                                Page 274
1                                   D. Trahanas
2      somewhere -- does it say a time?               Somewhere towards
3      the end of that conversation.             I mean, if you want
4      to give me a few minutes I can organize them for
5      you.
6             Q.     Can we -- I mean, I don't want to take up
7      my seven-hour time with you doing that, if we can
8      all agree to go off the record and not use record
9      time for that.
10                   MR. DeROSE:       This is all news to me.           I'm
11     an old man, these new ways of communicating.
12                   Go ahead and put them in order.
13                   MS. WERMUTH:       Go ahead and go off the
14     record then.
15                                (Whereupon, a recess was taken
16                                from 4:50 p.m. to 4:56 p.m.)
17     BY MS. WERMUTH:
18            Q.     Okay.    So this is Exhibit 43.
19                   So I understand it, the first text message
20     on this date came from Salina to you?
21            A.     Correct.
22            Q.     Okay.    Are there any text messages
23     preceding 1:46 p.m. on that date between you and
24     Salina?
25            A.     We texted often.        I wouldn't be able -- it


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                                                                                Page 275
1                                   D. Trahanas
2      wasn't that day.         I wouldn't know from what day or
3      the contents of those texts, but I'm sure there are.
4      I don't know if I have them still, like if they're
5      on -- they're somewhere on my computer or like Apple
6      has them, but I don't -- not that day.
7              Q.    Okay.    So it sounds to me like Salina may
8      have known that you were on medical leave at the
9      time that she sent this.
10                   Did you notify her in advance -- strike
11     that.
12                   When did you first tell Salina that you
13     were on medical leave?
14            A.     With this text she told me actually.                She
15     didn't know.
16            Q.     You didn't tell her yourself?
17            A.     No, prior to this, no.
18            Q.     And she said -- and apparently what
19     Dr. Schwulst said was that you sent him a one-line
20     e-mail saying you were taking medical leave, taking
21     your medical leave, right?
22            A.     That's what it says, yes.
23            Q.     Okay.    So that according to her text
24     that's the only thing Dr. Schwulst said, right?
25            A.     As -- as far as the text, yes, but her and


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                                                                                Page 276
1                                   D. Trahanas
2      I spoke subsequently to the text.               I can't recall if
3      it was that day or the day after that.                 Him and Rana
4      came over asking her and talking about it.                  And then
5      they kind of went around the lab talking about it
6      with everyone and stipulating as to what my medical
7      leave was for.
8             Q.     Stipulating to what your --
9             A.     Like they were taking guesses at why I
10     wasn't there.
11            Q.     And this is information that you know only
12     because Salina told you, correct?
13            A.     Correct.
14            Q.     All right.      So you don't have firsthand?
15     You weren't in the lab, you didn't hear those
16     conversations?
17            A.     I did not.
18            Q.     Okay.    And did Salina take a guess as to
19     why you were out?
20            A.     Take a -- I mean, she asked me, even in
21     this thread I believe somewhere, she asked me kind
22     of what was going on.
23            Q.     Okay.    Because she was concerned?
24            A.     Yeah.    I mean, she knew a little bit of my
25     home background, but also she knew what was going on


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                                                                                Page 277
1                                   D. Trahanas
2      in the lab with Dr. Schwulst and everybody else.
3             Q.     And your home background, you had shared
4      with her your home background, right?
5             A.     Yes.
6             Q.     And your home background involved some
7      domestic violence; is that right?
8             A.     At some point, yes.
9             Q.     Okay.    And is that what you mean by your
10     home background?
11            A.     Just the -- just a lot of stress at home.
12            Q.     Okay.    And your parents are not divorced?
13            A.     They're not.
14            Q.     Did your mother file for divorce at some
15     point in time?
16            A.     She -- she asked for divorce papers.                She
17     has the papers, but she has not filed for divorce.
18            Q.     She never filed for divorce?
19            A.     Correct.
20            Q.     And you never told -- did you ever tell
21     your psychiatrist that she had filed for divorce?
22            A.     No.    I told her that she was speaking to
23     attorneys and looking to file for divorce.
24            Q.     Did you -- so you voluntarily shared this
25     information with Salina, right?


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                                                                                Page 278
1                                   D. Trahanas
2              A.    Correct.
3              Q.    Did you voluntarily share that information
4      that you shared with Salina with other people in the
5      lab as well?
6              A.    Yes.
7              Q.    Who else?
8              A.    Rana.
9              Q.    Okay.    So you voluntarily told Rana about
10     your home life, right?
11            A.     I was speaking -- she was speaking to me
12     about her experience because one time she had gotten
13     in a fight with at the time her husband prior to her
14     divorcing, and I touched on it, but I didn't get
15     into details at that time.
16            Q.     Okay.    Anyone else that you shared
17     information about why you were on medical leave or
18     your home life with in the lab other than Salina and
19     Rana?
20            A.     Other than the text message with Melissa
21     that is -- I'm not sure what exhibit that is, no, I
22     did not.
23            Q.     Okay.    And did you -- so you never told
24     Angelica about your depression or anxiety or your
25     home life?


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                                                                                Page 279
1                                   D. Trahanas
2             A.     Angelica knew a little bit about my home
3      life.
4             Q.     And your depression and anxiety, did you
5      tell her about that?
6             A.     I definitely told her after I left
7      Northwestern.         I can't recall a time where I
8      specifically told her while I was at Northwestern.
9             Q.     What about Carla Cuda, did you have any
10     conversations with Carla?
11            A.     Not as I guess detailed as Salina or
12     Melissa.
13            Q.     Okay.    And then on Trahanas 114, Salina --
14     or no, I guess this is -- I don't know.
15                   The dark bubbles is your stuff, your text,
16     right?
17            A.     That would be correct.
18            Q.     Okay.    So you asked should I text Melissa?
19            A.     Yes.
20            Q.     Okay.    And then that's the text that we
21     saw, right?
22            A.     Correct.
23            Q.     Okay.    And then you asked Salina to let
24     Amy know, correct?
25            A.     Correct.


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                                                                                Page 280
1                                   D. Trahanas
2             Q.     So there were some people that you did
3      want them to know the information?
4             A.     I wanted her to -- I wanted Amy to know to
5      not be concerned because she had reached out to me,
6      but I didn't want to text everyone back.                  I
7      didn't -- the only person I texted back was Salina
8      and Melissa because I knew that they all knew that I
9      was close with Melissa that they would possibly go
10     to her to ask for information.
11            Q.     So some people reached out to you to find
12     out if you were okay?
13            A.     Yes.
14            Q.     And Dr. Schwulst sent you a text message
15     asking you that same question, are you okay?
16            A.     Yes.
17            Q.     So it's possible that conversations in the
18     lab about your absence were out of concern?
19                   MR. DeROSE:       Objection to what's possible,
20     but you may answer.
21                   THE WITNESS:       It's possible.
22     BY MS. WERMUTH:
23            Q.     Okay.    In your Complaint, in
24     Paragraph 46 --
25            A.     I'm sorry, can you tell me the exhibit


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                                                                                Page 281
1                                   D. Trahanas
2      number?
3              Q.    Yes.    I have to look.
4                    MR. DeROSE:       You can get mine here too.
5                    THE WITNESS:       Is that it?
6                    MR. DeROSE:       I think it is.
7                    MS. HARRIS:       25.
8                    MS. WERMUTH:       25, I'm sorry.        Thank you,
9      Danielle.
10                   THE WITNESS:       Okay.    What number?
11     BY MS. WERMUTH:
12            Q.     46.
13            A.     Okay.
14            Q.     Okay.    You say, "On several occasions
15     thereafter," and this is after supposedly
16     Dr. Schwulst shared confidential information -- by
17     the way, when did Dr. Schwulst supposedly share
18     confidential medical information about you?                   Is that
19     this set of text messages that you're referring to?
20            A.     Oh, no.     This was early on.         Definitely by
21     the end of 2012, so at least by November-December of
22     2012.
23            Q.     Okay.    And had you already told some of
24     the other people in the lab about your ADHD,
25     depression and anxiety before he did?


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                                                                                Page 282
1                                   D. Trahanas
2             A.     No.     He was the one that told -- he told
3      Rana, and Rana and Sasha were very close, so Rana
4      told Sasha.
5             Q.     Wait.     Were you present when Dr. Schwulst
6      told Rana supposedly?
7             A.     No, but they came to me after.
8             Q.     Who did?
9             A.     Rana.
10            Q.     Okay.    So sometime in 2012 Rana came to
11     you and said what?
12            A.     Something to the effect of, dude, why
13     didn't you tell me you were taking antidepressants,
14     and something to the effect of I guess it makes
15     sense that you work out that much.
16            Q.     And why do you believe that she heard from
17     Dr. Schwulst about you taking antidepressants?
18            A.     There would be nobody else for her to know
19     that from at that time.
20            Q.     He's the only person that supposedly you
21     had told that to before she made that comment to
22     you?
23            A.     Yes.
24            Q.     Did you take your medication at work?
25            A.     Yes.


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                                                                                Page 283
1                                   D. Trahanas
2             Q.     Is it possible she saw you taking the
3      medication at work?
4             A.     Her desk is like two bays over.              No.
5             Q.     Okay.    So you made an assumption that she
6      learned this information from Dr. Schwulst?
7             A.     I can't say that it was an assumption
8      because there were other times where Rana would say,
9      dude, why didn't you take your meds, and she would
10     kind of ask Steve and be like, hey, Steve, did she
11     take her meds yet today?
12                   So I don't think that that's assuming.                I
13     think that that would be accurately inferring.
14            Q.     Okay.    So Paragraph 47, the comments that
15     you put in Paragraph 47 of your Complaint refer to
16     comments that Rana made; is that right?                 You say on
17     one occasion a certain co-worker told plaintiff --
18            A.     Yes.
19            Q.     So you're talking about the one occasion
20     where Rana said, dude, take your meds?
21            A.     Yes.
22            Q.     Okay.    And that was not Dr. Schwulst who
23     said the things in Paragraph 47, correct?
24            A.     No.
25            Q.     Okay.    And then in Paragraph 49 you say


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                                                                                Page 284
1                                   D. Trahanas
2      that Dr. Schwulst and a co-worker yelled at you and
3      said Diane always screws something up and claimed
4      that you did not know how to complete experiments
5      and use the equipment.
6                    Do you see that?
7             A.     Yes.
8             Q.     Okay.    But that's not in reference -- I
9      mean that doesn't -- nothing about those statements
10     specifically and explicitly refers to any mental
11     health issues that you suffer from, right?
12            A.     47 does.
13            Q.     I'm not asking you about 47.             You already
14     told me 47 was said by Rana, so now I'm asking about
15     Paragraph 49.
16                   The statement "Diane always screws
17     something up" doesn't explicitly refer to a
18     disability, correct?
19                   MR. DeROSE:       Well, Counsel, objection due
20     to the form of the question.             "Always screws up" may
21     be talking about a mental disability.
22                   MS. WERMUTH:       Okay, no, no, no, you can't
23     answer.     You're testifying now.
24                   MR. DeROSE:       You do what you want.
25                   Go ahead, you may answer.


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                                                                                Page 285
1                                   D. Trahanas
2                    MS. WERMUTH:       You really need to stop
3      this, John.
4                    MR. DeROSE:       You really need to stop
5      asking argumentative questions and you won't draw
6      these kind of objections.            You have one assumption
7      of what those words mean.            Everybody else in the
8      room might have another one.
9                    MS. WERMUTH:       I need you to stop, okay,
10     because your objections are speaking at length, and
11     they're giving the witness -- and it's clear by the
12     way that she answers after your long objections that
13     you're coaching her on how to answer.
14                   MR. DeROSE:       Counsel, I have sat her quiet
15     for about five hours.           If you think this is
16     coaching, I'm sure you have lawyers that do much
17     more than you see happening today; and you can show
18     this to any federal judge you want and see what he
19     thinks about my behavior or she thinks about my
20     behavior in this room with you today.
21                   So, please, I don't like those
22     corrections.
23     BY MS. WERMUTH:
24            Q.     Ms. Trahanas, there's nothing in the
25     statement "Diane always screws something up" that


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                                                                                Page 286
1                                   D. Trahanas
2      specifically refers to a disability, correct?
3                    MR. DeROSE:       Objection to the form.          It
4      calls for a conclusion on the witness' part.
5                    You may answer.
6      BY MS. WERMUTH:
7             Q.     You can answer.
8             A.     Firstly the tone of voice and the facial
9      expressions and body language of when these things
10     were being said, it's definitely possible that they
11     could be interpreted.
12                   In terms of disability, are you including
13     any of the three that I'm being treated for or are
14     you including all three, because it's alluding to
15     the fact that I would work quickly, and so because
16     I'm kind of working quickly that I'm messing things
17     up or doing something wrong or not paying attention,
18     and so I would say that that speaks to my ADHD.
19            Q.     So you interpreted "Diane always screws
20     something up" as a reference to your ADHD, just so
21     I'm clear?
22            A.     I don't want to necessarily say interpret.
23     Like I said, it was the manner in which it was being
24     said and what I was doing at the time when these
25     things were being said.


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                                                                                Page 287
1                                   D. Trahanas
2             Q.     Okay.    So -- strike that.
3                    And you never complained to anyone in HR
4      that you felt like being yelled at for making
5      mistakes in your work was somehow related to what
6      you claimed to be a disability; is that right?
7             A.     No, I did not.        There's no way for me to
8      do that without getting hurt.
9             Q.     Now, you claim that some of the co-workers
10     in the lab, not Dr. Schwulst but others, gave you
11     inaccurate scientific protocols --
12            A.     Correct.
13            Q.     -- for purposes of messing you up?
14            A.     Yes, I agree with that.
15            Q.     Okay.    And who did that?
16            A.     Rana and Sasha Alexander.
17            Q.     Okay.    And so Dr. Schwulst didn't do that?
18            A.     No.
19            Q.     Okay.    Now, if they gave you inaccurate
20     protocols, that would interfere with your ability to
21     perform your job accurately; is that right?
22            A.     Amongst other things.
23            Q.     Well, it would also interfere with your
24     ability to perform the scientific research well,
25     right?


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                                                                                Page 288
1                                   D. Trahanas
2             A.     That's another thing.          It wasted
3      Dr. Schwulst's money, wasted Dr. Perlman's money, it
4      wasted our time.         It wasted us getting less results
5      that were accurate for us to publish more.                  I mean,
6      it really -- there's a lot of effects of that.
7             Q.     Absolutely.       And the effects were, as you
8      point out, not just negative on you in your personal
9      career but on Dr. Schwulst's career, correct?
10            A.     Correct.
11            Q.     Okay.    So he presumably didn't approve of
12     such conduct, right?
13                   MR. DeROSE:       Objection to what someone
14     else does, but you may answer.
15     BY MS. WERMUTH:
16            Q.     Let me ask it this way:           You don't have
17     any reason to believe that he was involved in giving
18     you inaccurate protocols?
19            A.     No.
20            Q.     Right.     Because that would be against his
21     own interests, right?
22            A.     Correct.
23            Q.     And you don't believe that Dr. Perlman was
24     involved in giving you incorrect protocols, right?
25            A.     No, I don't believe they would purposely


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                                                                                Page 289
1                                   D. Trahanas
2      do such a thing, Dr. Perlman and Dr. Schwulst that
3      is.
4             Q.     You do think Sasha and Rana did it
5      intentionally though?
6             A.     I don't think.        I know.
7             Q.     And did you report that to Dr. Schwulst?
8             A.     Dr. Perlman knew.
9             Q.     The question is, did you report it to
10     Dr. Schwulst?
11            A.     I mentioned it to him in a very
12     lighthearted way so I wouldn't seem like I'm kind of
13     blaming other people, like basically I didn't want
14     him thinking what we just did for like four or six
15     months just was a big waste and it was my fault.                    I
16     was trying to kind of like cover my -- cover me but
17     also kind of let him know like, well, hey, sort of
18     this happened.
19                   And I'm sure -- I'm not sure, but I would
20     assume Dr. Perlman did speak to him about it, but I
21     mentioned it in a lighthearted way in the lab one
22     day when he was back from service because at the
23     time that I found out he was on service and we had a
24     meeting with the entire Perlman lab, which I
25     attended regularly, and so that's when we found out


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                                                                                Page 290
1                                   D. Trahanas
2      that I got the wrong cocktails or the wrong
3      protocol.
4             Q.     Okay.    And when was that?
5             A.     The meeting or when I told Dr. Schwulst?
6      The meeting?
7             Q.     Let's start with the meeting, yes.
8             A.     It was in 2013.        I know we sent e-mails
9      with my other lab members providing me with other
10     cocktails, so it was at that time.               I can't recall
11     the exact date, but those e-mails are subsequently
12     after I found out during the lab meeting that they
13     were supplying me with the wrong stuff.
14            Q.     So I'm confused.        So the way that you got
15     the wrong protocol was by e-mail from Sasha or
16     e-mail from Rana?
17            A.     It's possible, or they gave me a sheet
18     with like a cocktail mix.            I mean, it's not a
19     protocol.      It's just a cocktail.
20            Q.     Like a recipe?
21            A.     Yes, exactly.
22            Q.     Okay.    So you got one recipe or one set of
23     protocols from was it Rana or Sasha?
24            A.     Both of them.
25            Q.     Okay.    At the same time?


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                                                                                Page 291
1                                   D. Trahanas
2             A.     So Sasha basically would review what Rana
3      would give me because he was just a little more --
4      he was kind of like the guru, the flow Joe or the
5      flow cytometry guru of the lab.
6             Q.     And he's a Ph.D. scientist working on the
7      faculty or at least in an assistant or associate
8      professor position, and he gives you -- and he's --
9      is he an M.D. in addition to a Ph.D., do you know?
10            A.     It's possible.        He came here from Russia,
11     so I'm not sure if he was an M.D. there and is here.
12            Q.     Okay.
13            A.     I'm not sure.
14            Q.     So you're telling me this individual
15     intentionally gave you a protocol that would both
16     interfere with Dr. Perlman's science and
17     Dr. Schwulst's science?
18            A.     Yes.
19            Q.     Okay.    And you learned that it was the
20     wrong protocol because you attended a meeting and
21     learned that there was a different protocol that was
22     being used?
23            A.     Correct.
24            Q.     Okay.    So now it wasn't -- it was like an
25     old protocol that he gave you, correct?


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                                                                                Page 292
1                                   D. Trahanas
2              A.    Yes.
3              Q.    And he gave it to you by e-mail or
4      personally and handed you something?
5              A.    I can't recall if it was a piece of paper
6      that I put in my lab notebook or if it was e-mailed.
7      It could be both.
8              Q.    Okay.    And you would agree with me as we
9      talked about earlier that protocols, as you refine
10     your science and your techniques, protocols change
11     over time, right?
12            A.     Sure.
13            Q.     Okay.    They're constantly changing?
14            A.     But they had already refined it at that
15     time.
16            Q.     Okay.    Is it possible he grabbed the wrong
17     one?
18                   MR. DeROSE:       Objection what's possible,
19     Counsel, calls for conjecture but --
20                   MS. WERMUTH:       Well, she said it was
21     intentional, so I'm trying to figure out --
22                   MR. DeROSE:       Wait a minute.       I'm trying to
23     finish my record.
24                   Objection to possible, calls for
25     conjecture on the witness' part, but you may answer


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                                                                                Page 293
1                                   D. Trahanas
2      the question.
3      BY MS. WERMUTH:
4             Q.     Thank you.
5                    It's certainly possible that he
6      unintentionally gave you the old protocol?
7             A.     He's a very meticulous guy, so it is
8      possible but highly unlikely.
9             Q.     Okay.    And this came out in a lab meeting?
10            A.     Correct.
11            Q.     Okay.    And so this was one occasion; is
12     that right?
13            A.     Yes.
14            Q.     And this was in 2013?
15            A.     Yes.
16            Q.     Okay.    And so during the lab meeting you
17     somehow came to learn that you were using an old
18     protocol?
19            A.     Yes.
20            Q.     Okay.    And you mentioned that in the
21     meeting?
22            A.     Yes.
23            Q.     Okay.    So there was discussion among
24     everybody in the meeting about what the right
25     protocol was?


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                                                                                Page 294
1                                   D. Trahanas
2             A.     Yes.
3             Q.     Okay.    And Dr. Perlman was there?
4             A.     Yes.
5             Q.     Dr. Schwulst was not there?
6             A.     He was on clinic.
7             Q.     Okay.    And what did Dr. Perlman say?
8             A.     He's like give her the new one.              And
9      actually Dr. Spare, Angelica stuck up for me
10     because, I mean, I was still relatively new.                   I'm
11     one person, part of another big lab, Dr. Perlman's
12     lab.    I mean, you can understand trying to be
13     diplomatic but also trying to kind of stick up for
14     yourself.      It was really hard for me at the time.
15     But Dr. Spare, Angelica, stuck up for me.                  And right
16     before she basically yelled at Rana and Sasha
17     because they were laughing.             They thought it was
18     kind of comical that I didn't get the right protocol
19     or I wasn't doing the right thing, like for some
20     reason I should have known that it was the old
21     cocktail and it wasn't the new one.
22            Q.     Okay.    So Dr. Spare yelled at them in the
23     meeting?
24            A.     Yes.
25            Q.     Okay.    And Dr. Perlman said make sure


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                                                                                Page 295
1                                   D. Trahanas
2      Diane gets the new protocol?
3             A.     Yes.
4             Q.     Okay.    And then that was the last time
5      that that happened, like they didn't as far as you
6      know give you an outdated protocol after that?
7             A.     As far as I know, no.
8             Q.     Okay.    How many times have you taken the
9      MCAT?
10            A.     Five.    Five.
11                                (Exhibit 44 was marked for
12                                identification.)
13     BY MS. WERMUTH:
14            Q.     Okay.    You produced, Ms. Trahanas,
15     Exhibit 44.
16                   Can you tell me what this is?
17            A.     This is the AMCAS report for my
18     application to medical school for the 2015 entering
19     class.
20            Q.     Okay.    So I have a few questions to ask
21     about this.
22            A.     Sure.
23            Q.     So it says in the upper left Report Date:
24     10/28/2014.
25                   Do you see that?


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                                                                                Page 296
1                                   D. Trahanas
2             A.     Yes.
3             Q.     Okay.    And then so what does that mean?
4      So this is a -- you produced a report as it existed
5      on October 28th of 2014, right?
6             A.     Yes.
7             Q.     And then Submission Date, what does that
8      mean?
9             A.     I'm not -- I'm really not sure.
10            Q.     What does Processed Date mean?
11            A.     It probably alludes to when they were done
12     reviewing the transcripts and all the information
13     within my report.         By "they" I mean AMCAS.
14            Q.     Okay.    So can you print out the final
15     processed report?
16            A.     This would be it because in October most
17     of -- most of the schools won't accept an AMCAS
18     report after that.
19            Q.     Okay.    But it doesn't -- so when was your
20     application for medical school for 2015
21     matriculation, when was it fully complete and
22     processed?
23            A.     Before the 2 -- before this, before
24     Dr. Schwulst's letter, initial first letter.
25            Q.     Oh, it was done?


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                                                                                Page 297
1                                   D. Trahanas
2             A.     Yes.
3             Q.     So Dr. Schwulst's letters were not -- you
4      were not using them in connection with this
5      particular application?
6             A.     Yes, that's separate from what I can do
7      for the application and finish.              When you mean
8      finish, that's a separate -- that's not -- that's
9      part of my file.         That's theoretically not part of
10     the application.         The application would be like my
11     credentials.       Part of my file would be the letters
12     of support.
13            Q.     When does the whole file have to be
14     complete for purposes of being a candidate for
15     matriculation in 2015?
16            A.     Each school varies.
17            Q.     Okay.    All right.       So this is like your --
18     what I see here in Exhibit 44 is basically your
19     application, like the information that you entered?
20            A.     Correct.
21            Q.     Okay.    So can you turn to the second page?
22     I'm sorry, it actually says Page 3.                What's Page 1?
23     There's Page 1 missing.
24            A.     I'm not sure.       It may just be a title page
25     or something.        This is all I have.


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                                                                                Page 298
1                                   D. Trahanas
2             Q.     Okay.    And then Page 3 under Additional
3      Application Information, okay, it says -- I'm sorry.
4                    So it says Previous Matriculation: No.
5                    Does that mean you haven't gone to medical
6      school before?
7             A.     Correct.
8             Q.     Okay.    So when it says Explanation of
9      Reapplication, that's not referring to reapplying to
10     medical school generally, right?               That refers to --
11            A.     Right.
12            Q.     -- okay, that particular institution, if
13     you had been enrolled before?
14            A.     Correct.
15            Q.     Okay.    Because you had applied to medical
16     school before this 2015 --
17            A.     Cycle.
18            Q.     -- application -- cycle?           Thank you.
19            A.     Yes.
20            Q.     Okay.    Now, you had asked Dr. Schwulst in
21     the summer of 2014 if you could have time off to
22     study to take the MCAT exam in September of 2014; is
23     that right?
24            A.     Correct.
25            Q.     And you took some time off to do that; is


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                                                                                Page 299
1                                   D. Trahanas
2      that right?
3             A.     I did.
4             Q.     How long did you take off?
5             A.     I can't specifically recall but probably
6      two weeks.      I was working during that time though
7      like via e-mail and remote log-in, simple tasks.
8             Q.     Can you mark that, please.
9                                 (Exhibit 45 was marked for
10                                identification.)
11     BY MS. WERMUTH:
12            Q.     So, Ms. Trahanas, Exhibit 45 is an e-mail
13     from you to Dr. Schwulst dated June 27th of 2014; is
14     that right?
15            A.     Yes.
16            Q.     Okay.    And it's flagged as important.
17                   Do you see that?
18            A.     Yes.
19            Q.     Okay.    And in the middle, in the first
20     paragraph you tell him you've been trying to study
21     for the MCAT, but you were anxious and you would
22     like to take vacation time in August to prep for the
23     September testing.
24                   Do you see that?
25            A.     I do see that.


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                                                                                Page 300
1                                   D. Trahanas
2              Q.    Okay.    So you took some time off then in
3      August to do that; is that right?
4              A.    Correct.
5              Q.    And you think it was a couple of weeks?
6              A.    I believe so, yes.
7              Q.    And you were paid for that time?
8              A.    I believe it was part of probably my
9      vacation time pay.
10            Q.     Okay.    And did you leave the state during
11     the period of time that you were out in August of
12     2014?
13            A.     No.
14            Q.     Okay.    Did you take the September MCAT
15     test?
16            A.     I did not take it in 2014.            I took it in
17     2015.
18            Q.     Okay.    So you did not take it in September
19     of 2014?
20            A.     I did not.
21            Q.     Do you remember telling Dr. Schwulst, when
22     he asked you how it went, do you remember telling
23     him it went okay?
24            A.     Yes.
25            Q.     So you lied to him?


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                                                                                Page 301
1                                   D. Trahanas
2             A.     I didn't lie to him.          I just didn't want
3      to disappoint him.
4             Q.     Well, you told him it went okay, but you
5      didn't even take it so you don't call that a lie?
6                    MR. DeROSE:       Objection, Counsel.         Don't
7      answer that question.
8      BY MS. WERMUTH:
9             Q.     You're not going to answer the question as
10     to whether or not telling somebody a test went well
11     that you didn't take is a lie?
12                   MR. DeROSE:       She's being instructed by her
13     lawyer not to answer it.
14                   MS. WERMUTH:       On what basis, sir?
15                   MR. DeROSE:       On the basis that that's
16     argumentative.
17                   MS. WERMUTH:       But that's not a basis to
18     instruct a witness not to answer a question.
19                   MR. DeROSE:       Don't answer the question.
20     I'll tell my client when I think a question is out
21     of line.      I won't tell you everything about me
22     either.     There's some things that are none of your
23     business.
24                   MS. WERMUTH:       So I can't call the court
25     right now, but I will take this up to the judge.


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                                                                                Page 302
1                                   D. Trahanas
2                     MR. DeROSE:      Why don't you.
3      BY MS. WERMUTH:
4              Q.     Okay.   So are you going to follow your
5      lawyer's instruction?
6                     MR. DeROSE:      If you want to answer it, go
7      ahead.
8                     See how well that plays in front of a jury
9      some day, Counsel.
10                    Go ahead and answer it.          Did you think you
11     were lying is what she wants to know.
12                    THE WITNESS:      I mean, did he specifically
13     say did you take the test, I don't remember.                   I
14     mean, do you think you would have done well, do you
15     think you did well, I don't remember specifically
16     what he asked me, but sure.
17     BY MS. WERMUTH:
18            Q.      Ms. Trahanas, you told him it went well,
19     right?       You told him it went well?
20            A.      You said that I said it went okay.
21            Q.      No, I didn't.      But in any event, you told
22     him whether it went well or went okay, you told
23     him -- you led him to believe that you took the
24     test?
25            A.      At that time, yes.


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                                                                                Page 303
1                                   D. Trahanas
2             Q.     Okay.    Thank you.       And so when, in fact,
3      did you take the test for the 2015 cycle?
4             A.     September.
5             Q.     Of what year?
6             A.     Oh, I'm sorry, I took the test September
7      of 2015, so for the test for 2014 I just used one of
8      my older scores.
9             Q.     Okay.    And so you understand that every
10     time you take the MCAT test it gets reported to all
11     of the schools that you want to -- that you end up
12     applying to, right?          Like you don't get to pick
13     which MCAT score gets reported?
14            A.     Correct, but they go by the most recent
15     score.
16            Q.     Who does?
17            A.     The schools.
18            Q.     Okay.    And how do you know that?
19            A.     I believe it states it on the AMCAS
20     website or the application process.
21            Q.     So the school -- I'm sorry.
22                   AMCAS reports every single MCAT score
23     you've ever received, right, at the time you apply?
24            A.     Is that the same question you just asked
25     me?


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                                                                                Page 304
1                                   D. Trahanas
2             Q.     Well, I just want to make sure we're
3      saying the same thing.
4                    So let me ask it.         So let's look at
5      Exhibit 44 again.
6             A.     Sure.
7             Q.     Are you with me on Exhibit 44?
8                    All right.      And let's go to the -- it says
9      Page 8 or Trahanas 149.
10            A.     Yes.
11            Q.     Okay.    And there are one, two, three, at
12     the bottom under MCAT test scores, there are one,
13     two, three, four, five, six entries, right?
14            A.     Correct.
15            Q.     All six of those entries obviously
16     appeared in your AMCAS report for the 2015 cycle?
17            A.     On my AMCAS report, yes.
18            Q.     Okay.    And so all of those scores get
19     released to the schools that you're applying to?
20            A.     I can't say that definitively.
21            Q.     Okay.    You just don't know?
22            A.     They don't accept scores that are over
23     three years old, so anything post -- or pre 2011 for
24     that 2015 entering class, which the application
25     cycle starts 2014, they wouldn't accept any of those


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                                                                                Page 305
1                                   D. Trahanas
2      test scores.
3             Q.     Okay.    But you did take it six times
4      between 2006 and 2011.
5                    Do I understand that --
6             A.     Yes.
7             Q.     -- correctly?
8                    And your composite total scores are in the
9      far right?
10            A.     Yes.
11            Q.     And there's a new scoring system now, but
12     at the time the scoring system was based on numbers
13     up to, what, 45, is that right, or higher?                  Yes, 45.
14            A.     45.
15            Q.     Okay.    And so a score of 21 puts you in
16     the bottom 30th percentile.
17                   Does that sound right?
18            A.     I would have to look at the curve that
19     they make.      I'm not quite sure.
20            Q.     Can you mark that, please.
21                                (Exhibit 46 was marked for
22                                identification.)
23     BY MS. WERMUTH:
24            Q.     Okay.    So this is an MCAT conversion chart
25     that I'll represent I pulled off the AMCAS website,


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                                                                                Page 306
1                                   D. Trahanas
2      okay?
3             A.     Okay.
4             Q.     Okay.    So if you look, there's the old
5      scoring with 44/45 at the top end.               There's the 2015
6      scoring system, which I guess is when the conversion
7      happened.
8                    Does that sound familiar to you?
9             A.     I believe so, yes.
10            Q.     Okay.    And then there's a percentile,
11     corresponding percentile in the third column?
12            A.     Yes.
13            Q.     Do you see that?        Okay.
14                   So in 2011 your score was 21, right?
15            A.     Yes.
16            Q.     So that puts you down in the 24th to
17     27th percentile?
18            A.     It does if you look at just that score.
19     If a school perhaps would take not the composite
20     score but your highest score from each date,
21     assuming that they would accept a prior date to
22     2011, the score could be different.
23                   So I'm just not sure if every school, you
24     know, which schools would do something like that.
25            Q.     Okay.    But just to be clear --


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                                                                                Page 307
1                                   D. Trahanas
2             A.     For that score, yes.
3             Q.     -- your composite score puts you in the
4      24th to 27th percentile?
5             A.     Yes.
6             Q.     Okay.    But you don't know if a school
7      looked at a particular subset of the scores, right?
8      Is that your testimony?
9             A.     Yes.
10            Q.     Can you mark that, please.
11                                (Exhibit 47 was marked for
12                                identification.)
13     BY MS. WERMUTH:
14            Q.     Okay.    Ms. Trahanas, you've been given
15     Deposition Exhibit 47.
16            A.     Yes.
17            Q.     Okay.    So these again also come off the
18     AMCAS website or AAMC website, and these relate to
19     the scores in 2011, which is the last time you took
20     the test, right?
21            A.     Yes.
22            Q.     Okay, as of October 2014.
23                   And if you look at the second page, it
24     gives you also the percentage where you would fall
25     if you looked at each one of the individual exams,


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                                                                                Page 308
1                                   D. Trahanas
2      okay.
3                    So for physical sciences you got an 8,
4      which puts you somewhere in the 38th to
5      54th percentile, right, for that year; is that
6      right?
7             A.     Yes.
8             Q.     And then in verbal reasoning you got a 3,
9      which puts you in the 2 to 5 percentile, right?
10            A.     Correct.
11            Q.     And then in the writing sample you got an
12     M, which puts you in the 10 to 33 percentile, right?
13            A.     I see scaled score on the right that says
14     25th percentile for M.
15            Q.     All right.      But do you see scaled score M
16     in the chart and then you go across for the
17     percentile rank range?
18            A.     Sure.
19            Q.     And you would agree with me there it says
20     10.9 to 32.5?
21            A.     It does, but I'm not sure what the scaled
22     scores on the right are.
23            Q.     Okay.    Well, O is a better grade than M,
24     right?
25            A.     Yeah, if I remember correctly, yes.


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                                                                                Page 309
1                                   D. Trahanas
2             Q.     And Q is a better score than O?
3             A.     Yes.
4             Q.     Okay.    And then in biological sciences you
5      got a 10, right?
6             A.     Yes.
7             Q.     Which puts you in the 55 to 76 percentile,
8      right?
9             A.     Yes.
10            Q.     Okay.    And in addition to -- you would
11     agree with me that your MCAT scores are not very
12     strong?
13            A.     Standing alone, possibly not, but in the
14     entirety of my application I think they're okay.
15            Q.     Do you know what the acceptance rate is
16     for a Caucasian applicant scoring a composite score
17     of 21?      Was that your 2011 score?
18            A.     Offhand I do not know.
19            Q.     Okay.    Can I have that marked, please.
20                                (Exhibit 48 was marked for
21                                identification.)
22     BY MS. WERMUTH:
23            Q.     Okay.    So according to this data that
24     again I pulled off the internet you had a total MCAT
25     score of 21 in the 2015 cycle.


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                                                                                Page 310
1                                   D. Trahanas
2             A.     2014.
3             Q.     Well, so this is two cycles, 2013 through
4      2016.
5                    Do you see at the top?
6             A.     Yes.
7             Q.     Okay.     And you look at the 21 to 23 score
8      range, right?         The acceptance rate for someone with
9      a 3.8 to 4 is 11 percent, 3.6 to 8 is a 7 percent,
10     and so on, and then you get down to 3 to 3.19 and
11     that's a 4 percent acceptance rate.
12                   Do you see that?
13            A.     I see that on this sheet, yes.
14            Q.     Okay.    Now, you took the test again in
15     September of '15; is that right?
16            A.     Correct.
17            Q.     And did you apply -- you're in the midst
18     of applying for the -- no, I'm sorry.
19                   So you took it in '15 for what cycle?
20            A.     This cycle, 2017.
21            Q.     Okay.    So you're in the middle of an
22     application right now?
23            A.     Correct.
24            Q.     Have you also applied to physician
25     assistants' programs?


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                                                                                Page 311
1                                   D. Trahanas
2              A.     I looked at them, but I started their
3      application but I did not apply.
4              Q.     And what was your score from the
5      September 2015 exam?
6              A.     498.
7              Q.     Which according to Exhibit 46 puts you in
8      a, what, 41st percentile to 43rd percentile?
9              A.     Yes.
10            Q.      Okay.    And it's your understanding that
11     although all of your MCAT scores over time get
12     reported in your AMCAS report each cycle, your
13     letters of reference do not carry over from cycle to
14     cycle.       You understand that, right?
15            A.      They are kept in a file, but they are not
16     in my AMCAS report for the subsequent year.
17            Q.      Right.    And so they don't get released to
18     schools, old reference letters don't get released to
19     schools in subsequent cycles?
20            A.      Not for that cycle, but they do have it on
21     file.     It stays in my file.
22            Q.      AMCAS has it on file?
23            A.      No, each school does.         So once you apply,
24     they'll have to know -- if you're a re-applicant you
25     have to indicate it to them.             So what they'll do is


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                                                                                Page 312
1                                   D. Trahanas
2      they'll compare your previous year's application to
3      your new application, what's changed, what's
4      improved, et cetera.
5             Q.     Did you apply in this current cycle to all
6      the same schools that you applied to in the 2015
7      cycle?
8             A.     Not all schools.
9             Q.     Okay.    So -- can we mark this, please.
10                                (Exhibit 49 was marked for
11                                identification.)
12     BY MS. WERMUTH:
13            Q.     So I also printed this off of the AAMC
14     website.
15                   Can you look at the second page with me?
16     So this is an FAQ.
17                   Do you see that?
18            A.     Yes.
19            Q.     Okay, Exhibit 49.         And look at the FAQ on
20     the second page in the middle, do I need to submit
21     new letters of evaluation if I applied with AMCAS
22     previously.
23                   Do you see that?
24            A.     I do see that.
25            Q.     And it says, "AMCAS does not keep letters


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                                                                                Page 313
1                                   D. Trahanas
2      on file from applications in previous years.                   You
3      must resubmit letters of evaluation to AMCAS for
4      each application cycle you apply."
5                    Do you see that?
6             A.     I do.
7             Q.     Okay.    You don't have any reason to
8      believe that's not accurate?
9             A.     I agreed with you before that that's true
10     for AMCAS, but that's not true for each school.
11            Q.     Okay.    But you said on the AMCAS website
12     is where you learned what each school does?
13            A.     They have a -- I forget what the exact tab
14     is that kind of gives you a synopsis of each
15     school's GPA range, MCAT range, and a little tidbit
16     of each of the school's information.
17                   So I don't remember what tab, but it is
18     there, yes.
19            Q.     And according to that tab you can find
20     information about whether or not a school has kept
21     your old application and old letters on file?
22            A.     I mean, I can't click on the tab, and the
23     school is not going to give me that information,
24     like it's not -- are you asking if the website gives
25     me that information?


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                                                                                Page 314
1                                   D. Trahanas
2             Q.     How do you know?        So you've testified that
3      each school keeps old letters of recommendation if
4      you've reapplied.
5                    How do you know that to be the case?
6             A.     After speaking with all the previous
7      schools that I had called in 2015, and also I've
8      spoken to other faculty members at other medical
9      schools.
10            Q.     Okay.    So when did you -- so you called
11     the schools to which you were applying in the
12     current cycle to find out whether or not they would
13     keep old letters of evaluation on file?
14            A.     The current cycle right now?
15            Q.     Yes.
16            A.     No.    I did that in 2015.
17            Q.     Okay.    And you did that with every school
18     that you applied to?
19            A.     Correct.
20            Q.     Did you talk to every single school?
21            A.     I believe it was maybe 12 of the 15
22     schools that I spoke with.
23            Q.     And did every single one of those 12
24     schools tell you that, in fact, they were going to
25     keep those letters if you reapplied?


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                                                                                Page 315
1                                   D. Trahanas
2             A.     Not every but most.         And they asked me to
3      explain in next year's cycle if I were to reapply to
4      give them an explanation of why that was the
5      previous year.
6             Q.     And did you reapply to all the same
7      schools --
8             A.     I did not.
9             Q.     -- in the cycle?
10            A.     I did not reapply that next cycle.               I
11     didn't have any letters to submit to them.
12            Q.     In the current cycle did you reapply to
13     the schools that you applied to in the 2015 cycle?
14            A.     Some of them but not all of them.
15            Q.     Okay.    How many schools did you apply to
16     in the current cycle?
17            A.     From the previous set or just in general?
18            Q.     Total.
19            A.     15.
20            Q.     Okay.    And that's my next question then.
21     How many of those 15 had you applied to previously
22     in the 2015 cycle?
23            A.     Four possibly.
24            Q.     Okay.    So at least 11 of the schools do
25     not have your old letters of recommendation?


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                                                                                Page 316
1                                   D. Trahanas
2             A.     Correct.
3             Q.     Okay.    And when do you expect to hear
4      from -- when are the decision dates typically?
5             A.     Right now we're in the midst -- this is
6      like interview season, so starting January until
7      like April you'll be notified.
8             Q.     Okay.    All right.       So I'm going to just
9      ask that I make sure that I get the 2017 cycle
10     application and know which schools she has applied
11     to, and then I'll ask to learn if you've been
12     accepted or rejected from any schools.
13                   Okay.    So was there -- so I'm assuming all
14     the schools that you applied to in 2015, none of
15     them accepted you, is that right --
16            A.     Correct.
17            Q.     -- in the 2015 cycle?          Okay.
18                   And you don't know if that was because of
19     your letters or if it was because of your MCAT
20     scores?     You don't know the reason, you just get a
21     letter?
22            A.     They don't give you a specific explanation
23     from each school with the letter, but it definitely
24     hurts you with a bad letter on there for sure.
25            Q.     Did you save all of your notifications


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                                                                                Page 317
1                                   D. Trahanas
2      from the medical schools in the 2015 cycle?
3             A.     Oh, some e-mail, some just don't get back
4      to you.     I don't remember.         Or they may have mailed
5      the letters, but I can't recall where any of that
6      is.    I mean, I don't --
7             Q.     So you didn't do anything to preserve
8      those letters despite the allegations you have in
9      this particular litigation?
10            A.     I can't recall for sure.           It's possible
11     that I have marked them, but I don't know right now.
12            Q.     Okay.    So sticking with Exhibit 44 for
13     another minute, your application in the 2015
14     cycle -- is it 44?         Yes.
15                   Okay.    So on Page 3, 4, 5, 6 and 7 you
16     have to enter all of your grades from your
17     undergraduate and Master's Degree program; is that
18     right?
19            A.     Yes.
20            Q.     Okay.    And so these are grades that you
21     manually enter?
22            A.     Yes.
23            Q.     Okay.    And so I see during your
24     undergraduate experience you had some Cs and even an
25     F in one of your classes; is that right?


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                                                                                Page 318
1                                   D. Trahanas
2             A.     That's correct.
3             Q.     Okay.    And the Cs and the one F are all in
4      hard science classes; is that right?
5                    So let's just look at Page 3.             You got a C
6      in General Chemistry I, correct?
7             A.     Correct.
8             Q.     You got a C in General Chemistry II,
9      correct?
10            A.     Correct.
11            Q.     You got a C on Page 4 on Intro to Physics?
12            A.     Yes.
13            Q.     You got a C in Organic Chemistry I, right?
14            A.     Yes.
15            Q.     You got an F in Organic Chemistry II?
16            A.     Yes.
17            Q.     Okay.
18            A.     With a subsequent B grade.
19            Q.     All right.      So you retook that class?
20            A.     Correct.
21            Q.     But you still got the F?
22            A.     For the first time.
23            Q.     You had to report it?
24            A.     Yes.
25            Q.     And the next page, you got a C in Intro to


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                                                                                Page 319
1                                   D. Trahanas
2      Physics II?
3             A.     That's just a lecture.           The lab I got a B.
4             Q.     Okay.    And then you got a C in ecology and
5      evolution?
6             A.     Yes.
7             Q.     Page 6, you got a C in vertebrate
8      embryology?
9             A.     Yes.
10            Q.     Okay.    On Page 10 you list your
11     experience.       This is a section where you're listing
12     your experience, correct?
13            A.     Yes.
14            Q.     Okay.    And at the end, the last entry is
15     your job with Dr. Schwulst, right?
16            A.     Correct.
17            Q.     Okay.    And you indicate that the
18     experience name was Northwestern University research
19     scientist and lab manager; is that right?
20            A.     Correct.
21            Q.     But, in fact, your title was Research
22     Technologist 2, correct?
23            A.     My official title as my payment, yes, but
24     like I said earlier, I did -- I was the only person
25     that worked for him was the lab manager.                  There was


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                                                                                Page 320
1                                   D. Trahanas
2      nobody else there.
3             Q.     And are research scientist positions, are
4      those faculty positions at Northwestern University?
5             A.     To my knowledge, as long as you're doing
6      research you're a scientist.
7             Q.     So there isn't a separate non-tenure track
8      position for an academic at Northwestern University
9      called research scientist?
10            A.     I'm not sure.
11            Q.     And then on the next Page, 11, your job at
12     University of Chicago?
13            A.     Yes.
14            Q.     You testified earlier today that your job
15     title was Research Technologist 1?
16            A.     Yes.
17            Q.     But you put here that you were a lab
18     manager?
19            A.     I was a lab manager.
20            Q.     I thought you were a Research
21     Technologist 1.
22            A.     Just like I was a research tech for
23     Dr. Schwulst, I was the same for doctor or for
24     Dr. Sokoloff.
25            Q.     And would your employment records at


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                                                                                Page 321
1                                   D. Trahanas
2      University of Chicago support that?
3             A.     They would support the pay that I received
4      for tech.
5             Q.     Tech 1?
6             A.     Yes.
7             Q.     At $15 an hour?
8             A.     Yes.
9             Q.     Okay.    Now, on February 19th of 2015 you
10     received a notice from AMCAS; is that right?
11            A.     I'm sorry, am I looking at a specific
12     exhibit?
13            Q.     No, I'm just asking you.           December -- or
14     February 19th of 2015, you received an e-mail
15     notification from AMCAS?
16            A.     Correct.
17            Q.     Okay.    And that notification or that
18     e-mail notified you that a letter of reference, a
19     second letter of evaluation or reference had been
20     submitted by Dr. Schwulst, right?
21            A.     Yes.
22            Q.     Okay.    Now, previously Dr. Schwulst had
23     given you a letter of recommendation, right?
24            A.     A positive letter of recommendation,
25     correct.


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                                                                                Page 322
1                                   D. Trahanas
2             Q.     Okay.    And one that he even let you look
3      at and revise, right?
4             A.     Yeah.
5             Q.     Okay.    And it was positive?
6             A.     Yes.
7             Q.     Okay.    And you also got a letter of
8      recommendation from Dr. Perlman, right?
9             A.     Yes.
10            Q.     And that was a positive letter of
11     recommendation as well?
12            A.     Correct.
13            Q.     Okay.    And you quote that letter in full
14     in your Complaint; is that right?
15            A.     I believe so.
16            Q.     Okay.    And I'll just go ahead and have
17     these letters marked.           I'll have this marked,
18     please.
19                                (Exhibit 50 was marked for
20                                identification.)
21     BY MS. WERMUTH:
22            Q.     Okay.    So Exhibit 50 is the first letter
23     of recommendation that Dr. Schwulst submitted to
24     AMCAS on your behalf; is that right?
25            A.     That's correct.


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                                                                                Page 323
1                                   D. Trahanas
2             Q.     Okay.    And then there's some handwriting
3      at the bottom.
4                    Do you recognize that?
5             A.     Yes, that's my handwriting.
6             Q.     Okay.    And when did you write that?
7             A.     March of 2015.
8             Q.     And what tells you that?
9             A.     My memory.
10            Q.     Okay.    So there's nothing on the document
11     that tells you that?
12            A.     No.
13            Q.     Okay.    You just recall doing that?
14            A.     Correct.
15            Q.     And were you -- where did you do that?
16            A.     At home.
17            Q.     Okay.    Were you by yourself?
18            A.     In my room, yes.        I'm not sure if anybody
19     else was home.
20            Q.     Okay.    You weren't with your lawyer?
21            A.     At this time, no.
22            Q.     Okay.    Can you just read what you wrote
23     because I want to make sure I understand it.
24            A.     Original letter of recommendation.               Only
25     letter given permission to Dr. Schwulst to upload.


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                                                                                Page 324
1                                   D. Trahanas
2      Never spoke about any subsequent letters being
3      uploaded.      Certainly not any letters
4      needing/permitted to be uploaded on February 19th,
5      comma, which defamed/nullified I want to say
6      anything in this letter above as soon as I took
7      medical leave.
8             Q.     Okay.    So now you asked Dr. Schwulst to be
9      an evaluator for you, right, for medical school?
10            A.     Correct.
11            Q.     Okay.    And so as an applicant you don't
12     give permission or not, am I right, to upload
13     letters?      What you do is you identify who your
14     evaluators are once you have asked them to be an
15     evaluator, right?
16            A.     Well, by asking I believe that would be
17     under permission.
18            Q.     Okay.    So you gave Dr. Schwulst permission
19     to serve as your evaluator, right?
20            A.     Right.     My e-mail asked him to be a
21     positive letter of recommendation, which he agreed
22     to, and so did Dr. Perlman.
23            Q.     But you asked him to be an evaluator for
24     you?
25            A.     Correct.


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                                                                                Page 325
1                                   D. Trahanas
2             Q.     And he agreed to do that?
3             A.     Yes.
4             Q.     Okay.    And you would agree with me that
5      applications -- that letters of evaluation for
6      applications to medical school -- well, strike that.
7                    So physicians, folks with medical degrees,
8      have to abide by certain ethical codes, right?
9             A.     Absolutely.
10            Q.     Okay.    And physicians and folks with
11     medical degrees have to abide by certain
12     professional standards, right?
13            A.     Sure, first of which is do no harm to
14     somebody else.
15            Q.     And so those standards also though require
16     then someone to be candid when they are performing
17     an evaluation of someone who is interested in
18     joining that select group of professionals, right?
19            A.     Yes.
20            Q.     And that candor that's required in that
21     process provides the best opportunity then for folks
22     who -- strike that.
23                   And AMCAS will not -- AMCAS maintains
24     confidentiality over letters of evaluation.
25                   You would agree with that?


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                                                                                Page 326
1                                   D. Trahanas
2             A.     To the applicant, yes.           I'm not sure if
3      you waive, if you waive that if you are able to see
4      the letters.       There's a choice to waive your right
5      to see the letters.
6             Q.     Okay.    And did you click the button saying
7      that you were waiving any right to see the letters?
8             A.     More than likely.
9             Q.     Okay.    For all three of your evaluators?
10            A.     Correct.
11            Q.     In the 2015 cycle?
12            A.     Correct.
13            Q.     And, again, the purpose of that
14     confidentiality and waiving the right to review them
15     is to promote candor in the process, right?
16            A.     I'm not --
17            Q.     Is that your understanding?
18            A.     I can't speak to that.           I mean, my
19     experience is everyone knows, everyone sees the
20     letters anyway, and it doesn't really affect whether
21     you waive or you don't waive any school application.
22     It's not going to affect you negatively if you see a
23     letter.
24            Q.     Okay.    But my question is more about the
25     process.      So AMCAS treats the letters as


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                                                                                Page 327
1                                   D. Trahanas
2      confidential?
3             A.     As long as you waive your right.
4             Q.     As long as you waive that right.              And the
5      purpose of that confidentiality is to promote candor
6      in the process?
7                    MR. DeROSE:       Objection, objection to
8      someone else's purpose.           I don't see how -- calls
9      for conjecture on the witness' part.
10                   But you may answer if you know.
11                   THE WITNESS:       I'm not entirely sure.           It's
12     possible.      But either way the person who uploads the
13     letter would not know if I have or have not waived
14     my right unless they exclusively asked me.
15                   MS. WERMUTH:       Can we have that marked,
16     please.
17                                (Exhibit 51 was marked for
18                                identification.)
19     BY MS. WERMUTH:
20            Q.     Have you ever seen Deposition Exhibit 51
21     before?
22            A.     If you had sent this to us, I'm sure I had
23     seen it at some point.
24            Q.     Let me ask you this:          You participated in
25     the medical application process that's administered


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                                                                                Page 328
1                                   D. Trahanas
2      by AAMC, right?        Or AMCAS, I'm sorry.
3             A.     The application is on AMCAS.             I'm not sure
4      exactly what AAMC is in affiliation with AMCAS.                    I
5      don't know if one owns the other or if they're the
6      same entity.
7             Q.     Okay.    But you know they're affiliated in
8      some respect?
9             A.     Capacity, yes.
10            Q.     And so you consented to use their
11     processes when you decided to apply through their
12     system, correct?
13            A.     Sure.    You can't apply if you don't.
14            Q.     Okay.    Did you ever read their bulletin on
15     maintaining the confidentiality of letters of
16     evaluation before today?
17                   MR. DeROSE:       She asked you a question.
18     Don't read it.
19                   THE WITNESS:       No.
20     BY MS. WERMUTH:
21            Q.     Okay.
22            A.     I can't recall any -- I wouldn't be able
23     to tell you anything that's on this page.
24            Q.     Okay.    You never read it before?
25            A.     No.


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                                                                                Page 329
1                                   D. Trahanas
2             Q.     Okay.    Can we get these two documents
3      marked, please.
4                                 (Exhibit 52 and Exhibit 53 were
5                                 marked for identification.)
6      BY MS. WERMUTH:
7             Q.     Okay.    So 52 is the letter that
8      Dr. Perlman wrote on your behalf and submitted to
9      AMCAS; is that right?
10            A.     Yes.
11            Q.     Okay.    And then 53 is the letter that
12     Dr. Goldstein wrote on your behalf?
13            A.     Correct.
14            Q.     Okay.    And had you -- had Debra Goldstein
15     shared with you a copy of the letter before she
16     submitted it?
17            A.     Yes.
18            Q.     Oh, she did?
19            A.     Yes.
20            Q.     Okay.    And on the second page, the first
21     paragraph she refers to your composite MCAT score as
22     a negative in your application, right?
23            A.     She says the only negative.
24            Q.     Right, okay.       And you don't find that
25     statement to be defamatory, that she calls your MCAT


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                                                                                Page 330
1                                   D. Trahanas
2      score negative?
3             A.     I wouldn't accuse her of being defamatory
4      with that statement, but she also told me that she
5      showed me the letter prior to her submitting it.
6             Q.     Okay.     So can you mark that, please.
7                                 (Exhibit 54 was marked for
8                                 identification.)
9      BY MS. WERMUTH:
10            Q.     So Deposition Exhibit 54, on the first
11     page at the top that is a notice to you dated
12     February 19, 2015, that a letter of evaluation had
13     been submitted by Dr. Schwulst?
14            A.     Correct.
15            Q.     Okay.    And after receiving that e-mail did
16     you contact Dr. Schwulst?
17            A.     I did.
18            Q.     Okay.    And by what means did you contact
19     Dr. Schwulst?
20            A.     E-mail.
21            Q.     Okay.    And what did you say to
22     Dr. Schwulst?
23            A.     As it's -- do you want me to read what it
24     states here?
25            Q.     It's on the first page as well, right?


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                                                                                Page 331
1                                   D. Trahanas
2             A.     Correct.
3             Q.     All right.      Now, you had told Dr. Schwulst
4      that you had not wanted to talk to him while you
5      were on leave; is that right?
6             A.     Correct.     Well, I was limiting
7      communications.
8             Q.     Okay.    And that you wanted communications
9      to go through human resources, right?
10            A.     Correct.
11            Q.     Okay.    So you did not hear back personally
12     from Dr. Schwulst in response to this e-mail; is
13     that right?
14            A.     Correct.
15            Q.     Okay.    Now, it looks like you blind carbon
16     copied Daina Fernandez and Heather Burke?
17            A.     Correct.
18            Q.     Okay.    And did you communicate with them
19     after the fact?
20            A.     I communicated with them -- I communicated
21     with Daina before I sent him this e-mail.
22            Q.     Oh, before you sent it?
23            A.     Yes.
24            Q.     Okay.    So when you first got the AMCAS
25     e-mail what was the first thing you did?


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                                                                                Page 332
1                                   D. Trahanas
2                    MR. DeROSE:       Could I have 54?        Do I have a
3      copy of it?
4                    MS. WERMUTH:       I thought I gave one over.
5      I don't have an extra floating around me, but we can
6      give you an extra one if you'd like.
7                    MR. DeROSE:       Would you, because I want it.
8      These are all marked.
9                    THE WITNESS:       I'm sorry, I had spoken to
10     her before I had written this e-mail and asked her
11     what I should do.
12     BY MS. WERMUTH:
13            Q.     Okay.    And was that a telephone
14     conversation?
15            A.     It was.
16            Q.     So you called her in her office?
17            A.     Correct.
18            Q.     And she answered the phone?
19            A.     Yes.
20            Q.     Okay.    And you told her that you had
21     received this notification?
22            A.     Yes.
23            Q.     And you asked her what you should do?
24            A.     Yes.
25            Q.     Okay.


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                                                                                Page 333
1                                   D. Trahanas
2             A.     Where she instructed me to send him a
3      non-accusatory type of e-mail so I wouldn't, you
4      know, upset someone, and also to bcc her because she
5      didn't want to be seen on the thread because she
6      told me last time I got her involved he kind of
7      yelled at her.        He yelled at her and was unhappy
8      that she was involved with the whole promotion
9      situation.
10            Q.     So --
11            A.     So I bcc'd her and Heather.
12            Q.     I'm sorry, Daina Fernandez told you that
13     Dr. Schwulst had yelled at her about her involvement
14     in the pay and promotion question?
15            A.     Correct.
16            Q.     Okay.    And so she said, you know, do a
17     non-accusatory e-mail to him?
18            A.     Correct.
19            Q.     Okay.    And you followed her advice; is
20     that right?
21            A.     I believe so.
22            Q.     Okay.    And you sent that to him the
23     following day on the 20th I see; is that right?
24            A.     Yes.
25            Q.     Okay.    And then later that afternoon you


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                                                                                Page 334
1                                   D. Trahanas
2      e-mailed Heather?
3             A.     Yes.
4             Q.     And that said that Dr. Schwulst may be
5      limiting communication with you as you had
6      requested, right?
7             A.     Yes, that's what it says.
8             Q.     Okay.    But you wanted a response, so you
9      asked her to see to it that he replies to it?
10            A.     I mean, it was an emergency, yes.
11            Q.     Okay.    And she responded of course I will
12     forward to him and ask that he reply at his earliest
13     convenience, right?
14            A.     Yes, I see that.
15            Q.     And at some point thereafter did you hear
16     back from -- and you thanked her, and then you
17     forwarded that communication to Daina, right --
18            A.     Yes.
19            Q.     -- Fernandez?       Okay.
20                   And then on page Trahanas 176 there's
21     another e-mail to you from the same day,
22     February 20th, from Heather saying I just wanted to
23     let you know that we are looking into this and will
24     follow up with you via e-mail sometime next week.
25            A.     That's what it says.


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                                                                                Page 335
1                                   D. Trahanas
2             Q.     Okay.    And did you get a subsequent e-mail
3      from Ms. Fernandez?
4             A.     I got no subsequent communication with
5      anyone from Northwestern after that e-mail regarding
6      the letters.
7             Q.     Okay.    But you did get another
8      communication from AMCAS?
9             A.     Correct.
10            Q.     Okay.    Indicating that Dr. Schwulst had
11     submitted a third letter; is that right?
12            A.     Correct.
13            Q.     Okay.    And let me just get that marked.
14                                (Exhibit 55 was marked for
15                                identification.)
16     BY MS. WERMUTH:
17            Q.     Looking at Deposition Exhibit 55, it was
18     Thursday, February 26th that you got notice from
19     AMCAS of a third letter from Dr. Schwulst; is that
20     right?
21            A.     Yes.
22            Q.     Okay.    And by the way, I think, and we can
23     redact this, I'm just realizing now that there's a
24     lawyer, it looks like a lawyer e-mail here that you
25     produced that probably ought to be redacted.


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                                                                                Page 336
1                                   D. Trahanas
2                    MR. DeROSE:       I will be referring to it in
3      the case.
4                    MS. WERMUTH:       You will be?
5                    MR. DeROSE:       Yes, ma'am.
6                    MS. WERMUTH:       So you're not claiming
7      privilege over this communication?
8                    MR. DeROSE:       I am not at all.
9      BY MS. WERMUTH:
10            Q.     So you forwarded this to the lawyer who
11     was representing you at the time; is that right?
12            A.     Yes.
13            Q.     And you asked her when you can start
14     talking about lawsuit stuff?
15            A.     Yes.
16            Q.     Okay.    And how did you come to know this
17     lawyer, Pamela Visvardis?
18            A.     She's a family friend.
19            Q.     Okay.    And so at that point in time you
20     were thinking about filing a lawsuit against
21     Dr. Schwulst?
22            A.     She gave -- it was possibly an option that
23     she gave me.       I'm not sure exactly against who or
24     specifically what.
25            Q.     Okay.    And why did you switch counsel?


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                                                                                Page 337
1                                   D. Trahanas
2      Why did you leave or why is Ms. Visvardis no longer
3      representing you?
4             A.     This isn't her area of expertise.
5             Q.     Okay.    Now, ultimately you got copies of
6      the letters that Dr. Schwulst submitted, is that
7      right --
8             A.     Yes.
9             Q.     -- the two separate letters?
10                   MR. DeROSE:       And, Counsel, just so you
11     know, and if you want to inquire you can, I will be
12     using the letters that her lawyer sent and that
13     Dr. Schwulst's lawyer sent back to her.
14                   MS. WERMUTH:       Okay.    So you're waiving any
15     privilege over any communications between
16     Ms. Trahanas and her lawyer, her prior lawyer?
17                   MR. DeROSE:       Correct.
18                   MS. WERMUTH:       Okay.    Can we mark that,
19     please.     Thank you.
20                                (Exhibit 56 was marked for
21                                identification.)
22     BY MS. WERMUTH:
23            Q.     So you now have Deposition Exhibit 56.
24                   Is that the second letter, as you
25     understand it, that Dr. Schwulst submitted?


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                                                                                Page 338
1                                   D. Trahanas
2             A.     As I understand it, yes.
3             Q.     Okay.    And as you understand it.
4                    And he writes that he is formally
5      withdrawing his prior letter, correct?
6             A.     Correct.
7             Q.     And then he also writes, "I can no longer
8      support her candidacy for admission to medical
9      school," right?
10            A.     Yes, that's stated.
11            Q.     So he's providing his opinion to AMCAS in
12     this letter.       Would you agree with that?
13                   MR. DeROSE:       Objection.      There's no
14     indication of an opinion.
15     BY MS. WERMUTH:
16            Q.     You can answer the question.
17                   MR. DeROSE:       If you see an answer, go
18     ahead.
19                   THE WITNESS:       I'm not sure what his -- I
20     can't speak for him.
21     BY MS. WERMUTH:
22            Q.     That's not my question.
23                   So let me ask you this:           What statement in
24     here, if any, is a false statement of fact?
25                   MR. DeROSE:       Objection, calls for a


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                                                                                Page 339
1                                   D. Trahanas
2      conclusion on the witness' part.
3      BY MS. WERMUTH:
4              Q.    Do you see anything that's a false
5      statement of fact, a lie?
6              A.    The entire thing.
7              Q.    Well, he's saying he's formally
8      withdrawing his prior letter, right?
9              A.    Correct, which would --
10            Q.     That's not a lie.         That's a statement that
11     he's making, I withdraw my reference.
12            A.     He's withdrawing his reference based on
13     what?
14            Q.     Okay.    That's not my -- I'm asking
15     about -- so you've tried to state a claim for
16     defamation, okay?
17            A.     Correct.
18            Q.     So what I need to understand is the
19     admissions committee doesn't know based on what.
20     All they know is what he puts in the letter, right?
21            A.     Right.
22            Q.     Okay.    So what he puts in the letter is
23     I'm writing to formally withdraw my letter of
24     support, right?
25            A.     Meaning he's withdrawing everything that


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                                                                                Page 340
1                                   D. Trahanas
2      he wrote in the previous letter.
3             Q.     Okay.    So that's not a lie.
4                    MR. DeROSE:       Well, Counsel, wait a minute.
5      This is not a law school test.              Objection to asking
6      her to draw conclusions on what constitutes
7      defamation.       I suggest to you all of these letters
8      taken together are what we are talking about.
9                    MS. WERMUTH:       Okay.    Well, now you're
10     testifying, and that's improper.
11                   MR. DeROSE:       And I object, but you started
12     the area.
13                   MS. WERMUTH:       That's improper.
14                   MR. DeROSE:       So are your questions.
15                   MS. WERMUTH:       I'm asking her if she reads
16     this letter and sees a false statement of fact in
17     it.    That's all I'm asking.
18                   THE WITNESS:       Yes.
19     BY MS. WERMUTH:
20            Q.     Okay.    And what false statement of fact do
21     you see?      Read me the false statement.
22            A.     "I'm writing to formally withdraw my prior
23     letter of reference for Ms. Diane Trahanas.                   I can
24     no longer support her candidacy for admission to
25     medical school."


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                                                                                Page 341
1                                   D. Trahanas
2             Q.     So you say the entire letter is a false
3      statement of fact?
4             A.     He's withdrawing his prior letter, so he's
5      basically saying the prior letter was wrong, which
6      it was not.
7             Q.     Do you know when he prepared Exhibit 56?
8             A.     I do not.      It is dated February 9th, which
9      I'm not sure as to the authenticity of that, but
10     it's dated February 9th on this.
11            Q.     Okay.    And you just don't know when he
12     prepared it?
13            A.     Correct.
14            Q.     Can we mark this, please.
15                                (Exhibit 57 was marked for
16                                identification.)
17     BY MS. WERMUTH:
18            Q.     Okay.    And Exhibit 57, that is a copy that
19     you received now of the third letter that
20     Dr. Schwulst submitted to AMCAS; is that right?
21            A.     Correct.
22            Q.     Okay.    All right.       Now, you have
23     complained that your access to information on the
24     computer was improper while you were on medical
25     leave?


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                                                                                Page 342
1                                   D. Trahanas
2             A.     Correct.
3             Q.     Okay.    And why do you contend that you
4      should have been provided with access to sensitive
5      research information while you were on medical
6      leave?
7             A.     As far as I know in the handbook nothing
8      should have changed when I went to medical school.
9                    Secondly, I took leave before and I was
10     allowed access to the same information.                 And
11     everything on that computer was in my head anyway,
12     so it's not sensitive in terms of it being
13     classified where I didn't know it.
14            Q.     Okay.    So if it's in your head, you don't
15     need access to the computer then; is that right?
16            A.     Well, I'm just saying at some point I had
17     composed what was in that computer.
18            Q.     And you didn't anticipate working while
19     you were on this medical leave in February 2017,
20     correct?
21            A.     Not necessarily, but I had worked on prior
22     medical leaves or vacation days that I had taken
23     with e-mails or preparing graphs if we needed to
24     make a deadline for, you know, a specific
25     publication.


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                                                                                Page 343
1                                   D. Trahanas
2             Q.     Here's my question:         Did you anticipate
3      working during the medical leave that you took in
4      February, starting in February 2017?
5             A.     I was instructed by my physician to just
6      take a break.
7             Q.     Okay.    So you didn't need access to it
8      because you didn't anticipate working, correct?
9             A.     I didn't need access for that reason, but
10     Ms. Burke asked me a few questions, and that's when
11     I needed that information.
12            Q.     Okay.    And those questions were about the
13     location of mice and certain information about where
14     data was being housed, right?
15            A.     Well, the mice, I answered her that that
16     was just known, but yeah, anything data or file-wise
17     on the computer I hadn't memorized, so I would have
18     to take a look.
19            Q.     And you had specific credentials, log-in
20     credentials that were unique to you, right, like
21     your user name and your password?
22            A.     It was to our lab.
23            Q.     So what was the user name?
24            A.     It could have been Schwulst's lab; it
25     could have just been lab.            I don't recall.


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                                                                                Page 344
1                                   D. Trahanas
2             Q.     Wasn't the user name your name?
3             A.     It's possible.
4             Q.     Okay.
5             A.     I mean, I was the one that used that
6      computer most of the time, but Dr. Schwulst had the
7      password, the user name and password.                I mean, it
8      was his computer.         He purchased it.
9             Q.     Okay.    And he had it -- but they were your
10     credentials, right, that you had saved information
11     under?      Is it your testimony then that you gave him
12     information about what your credentials were?
13            A.     Yes.    He needed to have it.          I mean, he
14     needed to have that information.               He had that
15     information on a Post-It note since a long time
16     before that February.
17            Q.     Can you look at Exhibit 5, which is the
18     handbook.
19                   MR. DeROSE:       The big one.
20                   MS. WERMUTH:       One of the big ones but near
21     the bottom.
22     BY MS. WERMUTH:
23            Q.     Now, you testified a minute ago that when
24     you go on a medical leave of absence at the
25     university nothing is supposed to change.                  Can you


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                                                                                Page 345
1                                   D. Trahanas
2      tell me -- and you said that that was in the
3      handbook.
4                    Can you tell me where in the handbook I
5      can find reference to that?
6              A.    I would have to read -- do you want me to
7      read through the entire thing to find it?                  I can't
8      recall a page number right now.
9              Q.    Well, why don't you go to the leave
10     section and tell me if you can find reference to
11     that.
12            A.     What page?
13            Q.     Let's see.      Probably 31.
14            A.     It could possibly be in the benefits
15     handbook and not in the staff handbook.
16            Q.     There's nothing in the staff handbook that
17     says anything --
18            A.     Not that I can see right now.             I would
19     really have to look through the entirety of it.
20            Q.     Okay.
21                                (Exhibit 58 was marked for
22                                identification.)
23     BY MS. WERMUTH:
24            Q.     Okay.    So this Exhibit 58 is a series of
25     e-mails between you and Heather Burke, right?


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                                                                                Page 346
1                                   D. Trahanas
2             A.     Yes.
3             Q.     Okay.    And the e-mail from Heather Burke
4      comes to you on February 19th at 3:45 p.m., right?
5             A.     Yes.
6             Q.     Okay.    And she says that there are certain
7      things, information about the lab that she needs
8      help with and asks for some -- asks for your
9      response, right?
10            A.     Yes.
11            Q.     Okay.    And you don't know if Dr. Schwulst
12     asked her for this information?
13            A.     I don't know for a fact.
14            Q.     Okay.    Or if he did you don't know when he
15     asked her to find out this information?
16            A.     Correct.
17            Q.     All right.      So for all you know it could
18     have been on February 17th that he asked her for
19     that information, but she didn't get around to
20     e-mailing you until the 19th?
21            A.     It's possible.
22            Q.     Okay.    And you respond to each of the
23     questions.
24                   So with number one you tell her where the
25     labs are and that they're labeled Steven -- where


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                                                                                Page 347
1                                   D. Trahanas
2      the mice are, right?
3             A.     Correct.
4             Q.     And then you tell her what the computer
5      user name and password is?
6             A.     Yes.
7             Q.     Okay.    And it's actually your user name,
8      Diane Trahanas, right?
9             A.     Yes.
10            Q.     Password NIKE, all caps?
11            A.     Yes.
12            Q.     And you said that it has been provided to
13     Dr. Schwulst now on a Post-It we placed on the back
14     of his lab desktop computer.
15                   Do you see that?
16            A.     Yes.
17            Q.     So you had put that Post-It note on his
18     computer sometime prior, right?
19            A.     We had put it there, yes.
20            Q.     So you don't know if he remembered it was
21     there or not?        You frankly don't know?
22            A.     I can't speak for him.
23            Q.     Okay.    And then items 3 and 5, you say
24     that you've tried to access the computer but you are
25     now blocked from that access, right?


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                                                                                Page 348
1                                   D. Trahanas
2             A.     Correct.
3             Q.     Okay.    And then you answer question 6 as
4      well, right?
5             A.     Yes.
6             Q.     Okay.    And then did you -- and then you
7      followed up on the computer issue with Daina
8      Fernandez as well; is that right?
9             A.     Yes.
10            Q.     Okay.    And what did you want Daina
11     Fernandez to do, give you access to the computer
12     again?
13            A.     I just wanted a reason as to why I've been
14     locked out of my work computer.
15            Q.     Well, you were on a leave of absence with
16     no end date at that point in time; is that right?
17            A.     I didn't know.        Yeah, I didn't know when
18     I'd be returning exactly.
19            Q.     Did Daina give you an answer on why you
20     were no longer being given access to your computer?
21            A.     No.
22            Q.     Okay.    Did you speak with her by phone?
23            A.     If it was not by phone it was by e-mail.
24            Q.     And she didn't give you an explanation; is
25     that right?


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                                                                                Page 349
1                                   D. Trahanas
2             A.     No.
3             Q.     And you went to the EEOC on June 28th of
4      2015 to look into filing a charge of discrimination;
5      is that right?
6             A.     Yes.
7             Q.     And did you go by yourself, or did you go
8      with somebody?
9             A.     I went by myself.
10            Q.     Okay.    Were you represented by Mr. DeRose
11     at the time?
12            A.     Yes.
13            Q.     Okay.    Can I mark that, please.
14                                (Exhibit 59 was marked for
15                                identification.)
16     BY MS. WERMUTH:
17            Q.     Do you recognize Deposition Exhibit 59?
18            A.     Yes.
19            Q.     Okay.    And is that your signature on the
20     last page of this exhibit?
21            A.     Yes.
22            Q.     Okay.    And you filled out this form; is
23     that right?
24            A.     Yes.
25            Q.     Okay.    And I notice on Page -- the first


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                                                                                Page 350
1                                   D. Trahanas
2      page there's a question under your e-mail address,
3      it says, "Do you have a disability?"
4                    Do you see that?
5             A.     Yes.
6             Q.     You answered the question "no"; is that
7      right?
8             A.     I suppose.
9             Q.     Well, there's an X in the "no" box, right?
10            A.     There is an X in the "no" box.
11            Q.     And you put the X in the "no" box?
12            A.     I must have.
13            Q.     Okay.    And did you speak with an intake
14     coordinator that day?
15            A.     I spoke to two -- I spoke -- I was there
16     twice.      I can't remember who I spoke to first.                I
17     mean, I can't recall as to each conversation and
18     what they were about.
19                   MR. DeROSE:       Counsel, are these from two
20     different cases by some reason?
21                   MS. WERMUTH:       I'm sorry?
22                   MR. DeROSE:       This is a three- or four-page
23     document.
24                   MS. WERMUTH:       Yes, sir.
25                   MR. DeROSE:       And they have the Trahanas


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                                                                                Page 351
1                                   D. Trahanas
2      Bates stamp numbers on them, but the second, third
3      and fourth page, do they concern her?                They're
4      blank.
5                    MS. WERMUTH:       Well, I'll ask your witness
6      that question.
7      BY MS. WERMUTH:
8             Q.     Did you leave Pages 3 and -- the second,
9      third and fourth page blank except for your
10     signature on the fourth page?
11            A.     That would make no sense.            I mean --
12                   MR. DeROSE:       You know what --
13                   THE WITNESS:       -- why would I include my
14     demographic information but not include the reason
15     for going?      So I don't know.
16     BY MS. WERMUTH:
17            Q.     Well, you did sign the fourth page, right?
18            A.     That's my signature, but as far as 2 and 3
19     should have been -- should have writing on it.
20            Q.     Do you have a copy with writing?
21            A.     Not that -- not that I know of.
22            Q.     Okay.    So these are records we subpoenaed
23     from the EEOC.
24            A.     Okay.
25            Q.     And when we got them from the EEOC we


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                                                                                Page 352
1                                   D. Trahanas
2      produced them to your counsel, so I'm just producing
3      what the EEOC gave me.
4                    MR. DeROSE:       Counsel, I apologize to you.
5      If you look on the second page, it's only an
6      example, but it says discharged by John Soto in the
7      answer number 5, so I thought this was from another
8      case because I don't know a John Soto in our case.
9                    I apologize to you.
10     BY MS. WERMUTH:
11            Q.     Okay.    But you're telling me you did
12     complete the second and third pages?
13            A.     Like I said, I would -- I don't remember,
14     but I would think so.           I mean --
15            Q.     Can we get that marked, please.
16                                (Exhibit 60 was marked for
17                                identification.)
18     BY MS. WERMUTH:
19            Q.     Okay.    Ms. Trahanas, I know these are not
20     your notes.       Again, I'll represent that these are
21     notes that we received from the EEOC.                And I
22     shouldn't say we subpoenaed them.               We did a FOIA
23     request for their records, so that's what I meant.
24                   MR. DeROSE:       Is this 58?      What is this
25     exhibit?


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                                                                                Page 353
1                                   D. Trahanas
2                    THE WITNESS:       60.
3                    MS. WERMUTH:       This is 60.
4                    MR. DeROSE:       Excuse me.
5      BY MS. WERMUTH:
6             Q.     So, you know, I'm not suggesting that
7      these are your notes, but these are notes from one
8      of the investigators related to it looks like a
9      telephone conference with you on July 7th.
10                   So I'm going to ask you a couple questions
11     about these notes to see if it jogs your memory
12     about your conversation.
13                   But do you remember having a telephone
14     conference with the EEOC July 7th of 2015?
15            A.     It's possible.        I don't fully recall it.
16            Q.     Do you remember having a telephone
17     conversation with someone at the EEOC?
18            A.     I can't say that my memory recalls it, but
19     if it's documented, I suppose that it happened.
20            Q.     Okay.    So if you look next to -- so you go
21     about almost halfway down, there's a big black
22     scratch-out.
23                   Do you see that?
24            A.     On the first page?
25            Q.     Yeah.


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                                                                                Page 354
1                                   D. Trahanas
2              A.    Yes, like midsection?
3              Q.    Yeah.    So two lines above that it looks
4      like it reads "locked out of computer February" and
5      then there's a scribbly date, 2015.
6                    Do you see that?
7              A.    Yeah.
8              Q.    Is that something you recall telling the
9      EEOC?
10            A.     Yes.
11            Q.     Okay.    And then it goes on, it says, "PCP
12     released to return to work, comma, chose not to
13     return 5/24/15."
14                   Do you remember telling the investigator
15     that?
16            A.     Like I said, I vaguely remember this
17     entire conversation, but I'm not sure I specifically
18     said it like that.
19            Q.     Okay.    Well, go to the third page, if you
20     would, where it says 3 of 4 at the top, which is
21     also Bates labeled Trahanas-NU1635.
22            A.     Okay.
23            Q.     Again, halfway down it says, "PCP given
24     the option of filing a complaint."
25                   Do you see that?


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                                                                                Page 355
1                                   D. Trahanas
2             A.     Yes.
3             Q.     Okay.    And right above that it says, "FMLA
4      was approved as of May 24th, 2015."
5                    You told the investigator that, right?
6             A.     It would seem so.
7             Q.     And that's consistent with the records
8      we've seen already today, that you were approved --
9      FMLA approved through that date, correct?
10            A.     The records from The Hartford, yes.
11            Q.     Okay.    And then it says, "After May 24th,
12     2015, PCP was cleared to return to work, but PCP
13     elected not to return to work."
14                   Do you see that note?
15            A.     Yes, I see that.
16            Q.     Okay.    And did you tell the investigator
17     that as well?
18            A.     Not in those words.
19            Q.     Well, what do you recall telling the
20     investigator?
21            A.     I don't know the last time I used the word
22     "elected" or "elect."           I mean, I -- I'm sure I told
23     him I didn't go back to work.             I'm not sure as to
24     the exact phrase or conversation or --
25            Q.     Okay.    Can we get that marked.


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                                                                                Page 356
1                                   D. Trahanas
2                                 (Exhibit 61 was marked for
3                                 identification.)
4      BY MS. WERMUTH:
5              Q.    You've been handed Deposition Exhibit 61
6      now.
7                    Do you recognize that letter?
8              A.    Yes.
9              Q.    Okay.    And that was a letter approving a
10     family medical leave of absence in May of 2014; is
11     that right?
12            A.     Yes.    I thought you said May 24th, I'm
13     sorry.
14            Q.     May of 2014?
15            A.     Yes.
16            Q.     Okay.    And we talked about that earlier.
17     I just wanted to get the actual dates in the record,
18     okay?
19            A.     Okay.
20            Q.     You don't have any reason to dispute that
21     this was when you were on leave previously?                   It's
22     consistent with your memory; is that right?
23            A.     I believe so, and there's e-mails between
24     I and Dr. Schwulst about my leave at the time, so
25     that could, you know, concur with this as well.


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                                                                                Page 357
1                                   D. Trahanas
2             Q.     Okay.    But you did -- you had something
3      wrong with your ankle or foot; is that right?
4             A.     Yes.    I had severe ligament sprains.              I
5      was in a boot, and I had a sprained wrist.
6             Q.     Okay.
7             A.     But I was working during that time via
8      remote log-in.
9             Q.     Okay.
10                                (Exhibit 62 was marked for
11                                identification.)
12     BY MS. WERMUTH:
13            Q.     Okay.    You've been given Deposition
14     Exhibit 62 now, and again, I'm going to represent to
15     you that these are notes that we received from the
16     EEOC in connection with our FOIA request, but it
17     looks according to these notes that there was either
18     a conversation of some sort between you and the EEOC
19     on September 25th -- 24th, 2015.
20                   Does that -- is that consistent with your
21     memory?
22            A.     It's possible.        I don't specifically
23     recall that date or --
24            Q.     Okay.
25            A.     Is this a meeting?


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                                                                                Page 358
1                                   D. Trahanas
2             Q.     Well, I'm asking you that.            Again, these
3      are not your notes.          I recognize these are documents
4      that we got from the EEOC.            I'm wondering if this
5      helps you remember when you met with the EEOC.
6             A.     It's possible this was my second meeting
7      that I was referring to earlier.
8             Q.     Okay.    All right.       And then you did, in
9      fact, file a charge of discrimination with the EEOC
10     on that same date; is that right?
11            A.     I would think that it was filed
12     June 28th of 2015, as reflected on Exhibit 59.
13            Q.     Okay.    We will mark your charge.
14            A.     Okay.
15                                (Exhibit 63 was marked for
16                                identification.)
17     BY MS. WERMUTH:
18            Q.     All right.      So Deposition Exhibit 63 -- is
19     the charge marked 62?           Which document is marked 63?
20            A.     62 is the charge.
21            Q.     According to this, it looks like you filed
22     on September 24th, 2015; is that right?
23            A.     Yes, received at the bottom I see.
24            Q.     Okay.    And that's your -- well, there's
25     your signature in the lower left --


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                                                                                Page 359
1                                   D. Trahanas
2             A.     Yes.
3             Q.     -- right?
4                    That is your signature, correct?
5             A.     Yes.
6             Q.     And September 24th, 2015, is the date next
7      to your signature, right?
8             A.     Yes.
9             Q.     And according to this charge, dates
10     discrimination took place, it's typed in there
11     5/24/2015 as the last date of discrimination; is
12     that right?
13            A.     Yes.
14            Q.     Okay.    And you reviewed this before you
15     signed it; is that right?
16            A.     More than likely I at least glanced at it,
17     yes.
18            Q.     Okay.    Well, you were declaring under
19     penalty of perjury that the above information was
20     true and correct?
21            A.     Right.
22            Q.     So you probably more than glanced at it?
23            A.     Yeah.
24            Q.     Okay.    And there's some initials next
25     to -- there's like a handwritten change with the box


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                                                                                Page 360
1                                   D. Trahanas
2      checked "Retaliation," and then there's initials
3      there.
4                    Do you see that?
5             A.     KH.
6             Q.     Can you explain to me what that is?
7             A.     I have no idea.
8             Q.     Did you handwrite in the checkmark for
9      "Retaliation"?
10            A.     I don't know what that stands for, and I
11     can't recall writing it.            I would have no guess as
12     to what that is.
13                                (Exhibit 64 was marked for
14                                identification.)
15     BY MS. WERMUTH:
16            Q.     Okay.    And then Deposition Exhibit 64 is
17     your dismissal notice and right to sue letter; is
18     that right?
19            A.     Yes, it is.
20            Q.     And it's dated September 29th of 2015?
21            A.     Correct.
22            Q.     Okay.    And there's a checkmark in the box
23     that says, "The EEOC issues the following
24     determination:        Based upon its investigation, the
25     EEOC is unable to conclude that the information


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                                                                                Page 361
1                                   D. Trahanas
2      obtained establishes violations of the statutes."
3                    Do you see that?
4             A.     I do see that checkmarked.
5             Q.     Okay.    And you received this dismissal
6      notice?
7             A.     I'm sure I did.
8             Q.     Okay.
9             A.     So as I look at it right now, it's
10     probably Katarzyna who initialed the retaliation.
11            Q.     Okay.    And was that on there before --
12     Katarzyna Hammond is the investigator?
13            A.     That would be my guess.           I just saw KH,
14     and that's what I'm assuming.             I don't know if
15     that's true or not.
16            Q.     Okay.    When you signed this, was that box
17     marked and were those initials there?
18            A.     The X is mine.        The KH, like I said, I
19     don't know if she did that with me in the room or
20     she did that after.          I'm not sure.
21            Q.     Wait.    So you put the X in the box?
22            A.     If I signed it I'm assuming that I filled
23     it out or helped fill it out.
24            Q.     As you sit here right now, do you know
25     whether or not you put that X in the "Retaliation"


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                                                                                Page 362
1                                   D. Trahanas
2      box?
3             A.     No, I can't definitively say at this time
4      whether that's my X or not.
5             Q.     Okay.    And can you say at this moment
6      whether or not that X was there when you signed it
7      on September 24th, 2015?
8             A.     At this moment I can't recall.
9             Q.     I appreciate everybody's patience.               Let's
10     see.    I'm having trouble finding a document.
11                   Mark that, please.
12                                (Exhibit 65 was marked for
13                                identification.)
14     BY MS. WERMUTH:
15            Q.     You have now been handed what's been
16     marked Deposition Exhibit 65, which is a document
17     that you've produced to us.
18                   There's handwriting on this document.                Is
19     that your handwriting?
20            A.     Yes.
21            Q.     Okay.    And what is this document?
22            A.     This is a list of medical schools to which
23     AMCAS allows you to apply to.
24            Q.     Okay.    Can you tell me which of these
25     schools you applied to in the 2015 cycle?


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                                                                                Page 363
1                                   D. Trahanas
2             A.     They're listed in the interrogatories I'm
3      pretty sure.       Right now I have to go through this
4      entire thing.
5             Q.     Okay.    So your Answers to Interrogatories
6      indicate which schools you applied to?
7             A.     If not in the interrogatories, my
8      Complaint or somewhere else; they've been listed.
9             Q.     Okay.    You're right.        Okay.    So let me
10     just get your interrogatory answers, and we will cut
11     to the chase that way.
12                                (Exhibit 66 was marked for
13                                identification.)
14     BY MS. WERMUTH:
15            Q.     Okay.    So looking at Page 8 of Deposition
16     Exhibit 66 --
17                   MR. DeROSE:       Of the Second Amended
18     Complaint you mean?
19                   MS. WERMUTH:       Did I give you the Second
20     Amended Complaint?
21                   THE WITNESS:       Oh, yeah, this is --
22                   MS. WERMUTH:       I intended to mark the
23     Answers to Interrogatories.
24     BY MS. WERMUTH:
25            Q.     Okay.    So Page 8 of the Answers to


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                                                                                Page 364
1                                   D. Trahanas
2      Interrogatories has your signature, right?
3             A.     Yes.
4             Q.     And that signature, you're certifying that
5      you're declaring under penalty of perjury that the
6      information in the Answers to Interrogatories is
7      accurate?
8             A.     Correct.
9             Q.     Okay.    And so Interrogatory Number 16 has
10     you list -- you list all the schools that you
11     applied to in the 2015 cycle?
12            A.     Correct.
13            Q.     Okay.    And which of those schools did you
14     also apply to in the more current, the current
15     cycle?
16            A.     I would have to look.
17            Q.     And you can look and let us know, correct?
18            A.     I can give you one.
19            Q.     Yeah, go ahead and give me which you know
20     for sure.
21            A.     You know what, there's two Florida ones,
22     so I don't want to -- I don't want to misstate which
23     of the two.       So if I could, I would just rather wait
24     to make sure that it's accurate.
25                   MS. WERMUTH:       Okay.    And, John, you will


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                                                                                Page 365
1                                   D. Trahanas
2      agree to produce the information about the current
3      cycle?
4                    MR. DeROSE:       Right.    Will you tell me what
5      the exhibit number is that you're looking at?
6                    MS. WERMUTH:       It is 66.
7                    MR. DeROSE:       Thank you.      You've got to
8      give it to me in a letter.
9                    MS. WERMUTH:       I will do that.        We have a
10     lot of follow-up to do, absolutely.
11                   MR. DeROSE:       All right.
12     BY MS. WERMUTH:
13            Q.     Okay.    And then you also in your Complaint
14     indicate which schools you actually talked to about
15     the letters of evaluation submitted by Dr. Schwulst,
16     right?
17            A.     Correct.
18            Q.     And with some of those schools you have
19     information about who you spoke with and other
20     schools you just do not --
21            A.     Correct.
22            Q.     -- right?
23                   And all of the people that you spoke with
24     you did by telephone, correct?
25            A.     Yes.


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                                                                                Page 366
1                                   D. Trahanas
2             Q.     Okay.    And all of those people -- do you
3      have the Complaint?
4                    Okay.    So do you want to get Exhibit 25 in
5      front of you, which is the Complaint.
6                    MR. DeROSE:       It would be a bigger
7      document.
8                    THE WITNESS:       Oh, yes.
9      BY MS. WERMUTH:
10            Q.     Okay.    And if you'd look at Page 23.
11            A.     Yes.
12            Q.     Okay.    So, for example, in subpart A, you
13     spoke to someone named Kelly at Central Michigan
14     University, but you don't know Kelly's last name?
15            A.     No.
16            Q.     And you don't know Kelly's position?
17            A.     Just an administrator I'm sure in the
18     dean's office.
19            Q.     But you don't specifically know --
20            A.     No.
21            Q.     -- Kelly's position, correct?
22            A.     No.
23            Q.     And at FIU you spoke to an unidentified
24     female, correct?
25            A.     Correct.


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                                                                                Page 367
1                                   D. Trahanas
2             Q.     And you don't know either the identity of
3      the individual or her position, correct?
4             A.     Oftentimes they don't -- they won't
5      release that information, so correct, I don't
6      remember -- or I did not know or wasn't told.
7             Q.     Okay.    So the specific people that you --
8      so F is where you know somebody in specific,
9      Toni Sorrentino at Quinnipiac?              I don't know how to
10     say that word.
11            A.     Yes.
12            Q.     And do you know what his position or her
13     position was?
14            A.     She was an administrator in the dean's
15     office at that school.
16            Q.     And how do you know that?
17            A.     To my best -- to my knowledge, to my
18     memory.
19            Q.     And the only other person you identified
20     is at Florida Atlantic University, someone who
21     identified himself as Eddie?
22            A.     Yes.
23            Q.     Okay.    And you don't know what Eddie's
24     position was?
25            A.     He answered the phone, so no.             He


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                                                                                Page 368
1                                   D. Trahanas
2      didn't -- he didn't tell me.
3             Q.     After leaving Northwestern University, did
4      you begin looking for work?
5             A.     Yes.
6             Q.     Okay.    You actually began looking for work
7      before you left Northwestern University, right?
8             A.     I began looking for work while I was
9      employed, while I was Dr. Schwulst's research tech
10     because of how stressed I was.
11            Q.     And in 2015 after you actually left the
12     university you did get an interview with another lab
13     at Northwestern University; is that right?
14            A.     Yes.
15            Q.     Okay.    Who did you interview with?
16            A.     I don't remember their name.
17            Q.     Do you remember whose lab you were
18     applying to?
19            A.     I can try and look at the website and see
20     if a name sticks out at Northwestern, but right now
21     I don't recall as I sit here.
22            Q.     And you have no reason to believe that
23     Dr. Schwulst was involved in any way with your
24     application to that particular lab with which you
25     got an interview; is that right?


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                                                                                Page 369
1                                   D. Trahanas
2              A.    I would have no way of knowing that.
3                                 (Exhibit 67 was marked for
4                                 identification.)
5      BY MS. WERMUTH:
6              Q.    Okay.    Ms. Trahanas, can you tell me what
7      Deposition Exhibit 67 is?
8              A.    It's titled Northwestern Application
9      Summary.
10            Q.     Right.     Well, you produced this to us, so
11     I'd like to know what this is.
12            A.     I believe when -- in your interrogatories
13     you requested for proof of -- proof of searching for
14     work.     I can't remember specifically which
15     interrogatory.        But I remembered applying at
16     Northwestern's jobs, and so I went into my
17     Northwestern account and found this.
18            Q.     Okay.    And so these were -- this shows
19     three jobs that you applied for at Northwestern
20     University?
21            A.     Yes.
22            Q.     Can you tell when you applied for those
23     jobs?
24            A.     I can't -- I can't -- I don't remember.
25            Q.     Was it before you left the university or


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                                                                                Page 370
1                                   D. Trahanas
2      after you left the university?
3             A.     Well, if we look at the job ID number with
4      the job ID numbers that you guys gave us -- I'm
5      sorry, not guys but Northwestern provided us with,
6      I'm sure I'd be able to tell you.               It says which
7      date -- which job coincides with which date.
8             Q.     Okay.    Did you apply for more than three
9      jobs?
10            A.     At Northwestern?
11            Q.     Yes.
12            A.     After I was terminate -- or you're saying
13     in 2015 or throughout?
14            Q.     Well, let's start with after you left the
15     university.
16            A.     Yes.
17            Q.     How many did you apply for at
18     Northwestern?
19            A.     I can't give you an exact number.
20            Q.     Okay.
21            A.     More than 20.
22            Q.     More than 20 jobs at Northwestern
23     University?
24            A.     I believe so, yes.
25            Q.     Are you sure about that?


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                                                                                Page 371
1                                   D. Trahanas
2             A.     Like I said, I can't give you a number for
3      certain.
4             Q.     Would the job log that we produced, is
5      that consistent with your memory of how many jobs
6      you applied for?
7             A.     I know that we also gave you a job log
8      from the employment office for which there were lots
9      of applications to Northwestern, so it wasn't just
10     only in Northwestern's job log.              It was also my
11     unemployment log that we supplied.
12                                (Exhibit 68 was marked for
13                                identification.)
14     BY MS. WERMUTH:
15            Q.     Just so I know what that is, can you tell
16     me what this document is, Exhibit 68?
17            A.     These are my notes.
18            Q.     These are the notes of the conversations
19     with the folks at the medical schools to which you
20     applied that are referenced in the Complaint that we
21     just looked at?
22            A.     Correct.
23            Q.     Okay.    And were those notes all taken the
24     same day?
25            A.     Yes.    They were with each phone call.


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                                                                                Page 372
1                                   D. Trahanas
2             Q.     Okay.    But so did you sit down on one day
3      and make all of these phone calls?
4             A.     To the best of my recollection, all of
5      these phone calls were made in one day.
6             Q.     And when did you make these phone calls?
7      There's no date on the document.
8             A.     From what I can remember, it was mid
9      March, maybe end of March.
10            Q.     2015?
11            A.     Correct.
12            Q.     Okay.
13                                (Exhibit 69 was marked for
14                                identification.)
15     BY MS. WERMUTH:
16            Q.     Can you tell me what Deposition Exhibit 69
17     is?
18            A.     It's a copy of my -- a version of my CV.
19            Q.     Okay.    And is this a current version?
20            A.     Well, the margins and stuff have changed,
21     so no.      I'm sure I've fixed that.           And I would --
22     it's -- I can update -- it's been updated.                  There's
23     several updates to this.
24            Q.     Did you use this particular resumï¿½ to
25     apply for any jobs after you left Northwestern


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                                                                                Page 373
1                                   D. Trahanas
2      University?
3             A.     To those jobs that I sent you for the
4      interrogatories, yes.
5             Q.     Okay.    So when I look at research
6      experience on the first page, I see that from 2012
7      to 2015 you have yourself listed as a research
8      scientist and a lab manager --
9             A.     Yes.
10            Q.     -- at Northwestern, right?
11            A.     Yes.
12            Q.     Even though your title was Research
13     Technologist 2?
14            A.     My title was.       My job wasn't.
15            Q.     Okay.    And then from 2011 to 2012 you have
16     yourself listed as both a lab manager and a senior
17     research technologist at the University of Chicago.
18                   Do you see that?
19            A.     Yes.
20            Q.     But your title at the University of
21     Chicago was Research Technologist 1?
22            A.     Yes, but my duties were everything.
23            Q.     But you did not have the title senior
24     research technologist?
25            A.     I didn't have -- no.


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                                                                                Page 374
1                                   D. Trahanas
2             Q.     Okay.    Can I get that marked.
3                                 (Exhibit 70 was marked for
4                                 identification.)
5      BY MS. WERMUTH:
6             Q.     Can you tell me what this exhibit is?
7                    MR. DeROSE:       This is 70, Counsel?
8                    MS. WERMUTH:       Yes.
9                    THE WITNESS:       This is a resumï¿½ format of
10     my CV.
11     BY MS. WERMUTH:
12            Q.     Okay.    And is this a resumï¿½ that you're
13     using in your job search or have used in your job
14     search since leaving Northwestern University?
15            A.     Yes.
16            Q.     Okay.    And, again, at Northwestern you
17     describe your position as being research scientist
18     and lab manager; is that right?
19            A.     Yes.
20            Q.     Okay.    At University of Chicago you
21     describe your position as being lab manager and
22     researcher?
23            A.     Yes.
24            Q.     Okay.    And are you currently using
25     Deposition Exhibit 70 in your job search now?


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                                                                                Page 375
1                                   D. Trahanas
2             A.     It's been updated with my other
3      publications.        I've had subsequent publications, so
4      it's been updated.
5             Q.     When did you update it?
6             A.     2016 possibly, end of 2015.
7             Q.     Is there any reason why you didn't give us
8      your updated version?
9             A.     Not specifically.         I mean, I may have
10     labeled this just resume, and so this is the one
11     copy that I thought was it.             But I can certainly
12     give you the -- if there is an updated one or if I
13     did change anything.
14            Q.     And the subsequent publications that you
15     referred to are the ones, are the publications that
16     came out of the work that you did in Dr. Schwulst's
17     lab?
18            A.     That's one, and another is from my work at
19     Northern Illinois University.
20            Q.     Which that work preceded the period of
21     time that you were in Dr. Schwulst's lab; is that
22     right?
23            A.     Yes.
24            Q.     But the publication came out after?
25            A.     Yes.


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                                                                                Page 376
1                                   D. Trahanas
2             Q.     After 2015?
3             A.     I believe it's 2017.
4             Q.     Oh, did you continue to work on the
5      manuscript between 2015 and 2017?
6             A.     Not experiment wise, but in terms of
7      reviewing the article, yes.
8             Q.     Okay.    But you weren't doing the
9      underlying research?
10            A.     No.
11                                (Exhibit 71 was marked for
12                                identification.)
13     BY MS. WERMUTH:
14            Q.     You have been given Deposition Exhibit 71.
15                   What do you recognize that document to be?
16            A.     An updated version of my CV.
17            Q.     Okay.    And does it differ in any -- well,
18     we can figure out if it differs.
19                   Is this the one that you're currently
20     using in your job search?
21            A.     Yes.
22                                (Group Exhibit 72 was marked for
23                                identification.)
24     BY MS. WERMUTH:
25            Q.     Okay.    Do you recognize Deposition


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                                                                                Page 377
1                                   D. Trahanas
2      Exhibit 72?         I can call this a group one.
3                    It's a series of cover letters; is that
4      right?
5             A.     Yes.
6             Q.     Okay.     And what are the dates on these
7      letters?      I can't tell.       Can you tell?
8             A.     No.     I mean, they're not written on the
9      sheet of paper.         I'm trying to see if I can remember
10     what dates they were sent out.
11                   No, they're not written.
12            Q.     Did you get any of these jobs or were you
13     offered any of these jobs?
14            A.     No.
15            Q.     Okay.    Have you been offered a job that
16     you've declined since being -- since leaving
17     Northwestern University?
18            A.     Recently, yes.
19            Q.     Okay.    And what was that job?
20            A.     It was a sales position, something to do
21     with solar energy from what I understood it.                   It's a
22     newer company.
23            Q.     And you declined the offer?
24            A.     It seemed like a sketchy place, so I
25     didn't trust them, so yeah.             They didn't offer me --


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                                                                                Page 378
1                                   D. Trahanas
2      they invited me for a second interview, and I
3      declined the second interview.
4             Q.     And are there documents -- wait.              I
5      thought you said they offered you a job.
6             A.     I meant like an interview.
7             Q.     Okay.    So here's my question.           Let me go
8      back to my question.
9             A.     Okay.
10            Q.     Is there any job or position that you've
11     been offered since leaving Northwestern University
12     that you have declined?
13            A.     No.
14            Q.     Okay.    Can we get this marked, please.
15                                (Exhibit 73 was marked for
16                                identification.)
17     BY MS. WERMUTH:
18            Q.     You've now been handed Deposition
19     Exhibit 73.
20                   Is this the job search log that you were
21     referring to previously?
22            A.     Yes, the unemployment search log, I
23     believe so.
24            Q.     Okay.    So you kept records it looks like
25     from July of 2015 to October of 2015.


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                                                                                Page 379
1                                   D. Trahanas
2                    Why did you stop keeping records of your
3      job search activities?
4              A.    This was via the unemployment website, so
5      I -- after unemployment ends you're no longer
6      granted access.
7              Q.    Well, how many months of unemployment did
8      you receive?
9              A.    I can't say.       I can't say precisely.           I
10     don't know.
11            Q.     Okay.    And are there any other documents
12     other than this job log that show that you applied
13     for these jobs, cover letters, communications with
14     these employers, any other documents that you have
15     that you haven't produced as it relates to these
16     jobs?
17            A.     I mean, some of the cover letters, I would
18     have to look and see if some of these are this.
19            Q.     So other than the four cover letters that
20     we looked at --
21            A.     Correct.
22            Q.     -- are there any other documents?
23            A.     There might be, or I wrote over these
24     because they're relatively all very similar, so
25     either as I went I would just alter the title and


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                                                                                Page 380
1                                   D. Trahanas
2      the position and the company.
3                    And so I wouldn't have like let's say 150,
4      or I'm not sure how many jobs are in here, I
5      wouldn't have like 160 versions of a cover letter.
6      I would just replace, like I said, the position and
7      the institution that I was applying to more or less.
8              Q.    Did you keep records after October 27th of
9      2015 about any of the jobs that you applied for?
10            A.     I'm sure there are records, but I would
11     have to Google probably any company that's bio
12     related within a 100-mile radius and check with each
13     website to conclude if yes or no.
14            Q.     That's not my question.           So my question
15     is, did you retain any documents related to your job
16     search after the date of this log, October 25th --
17     October 27th, 2015?
18            A.     Unless I -- they sent me an e-mail
19     confirming my job application, I don't have other
20     like -- I never made like an Excel file or list like
21     this.     That would be the only records I would have.
22            Q.     Well, let's say you applied online.               Would
23     you have printed a copy for purposes of this
24     litigation of the online application before
25     submitting it?


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                                                                                Page 381
1                                   D. Trahanas
2             A.     From 2015?
3             Q.     From 2015 to the present.
4             A.     I haven't printed it out, no.
5             Q.     Okay.
6             A.     Like I said, I would have to go back to
7      each place and check and see if I did apply that
8      year or when I did or if I did.              There's like a
9      thousand companies.
10            Q.     You're telling me you applied to a
11     thousand companies?
12            A.     No, I'm just saying there are a thousand.
13     I don't remember right as I sit here which ones I
14     applied to one position or ten positions or none.
15            Q.     Okay.    So you can't tell us how many
16     companies -- after the date of this log, you can't
17     tell us exactly where you applied, how many
18     applications you made, and what the results of those
19     applications were?
20            A.     As I sit here, not accurately.
21            Q.     And you didn't search your e-mails for any
22     confirmation e-mails from prospective employers, you
23     didn't -- in connection with answering the requests
24     for production in this case?
25            A.     I did search, but, I mean, with promotions


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                                                                                Page 382
1                                   D. Trahanas
2      and, I mean, any type of search that you do on
3      Gmail, if you type in "job" in the Gmail account,
4      it's going to have like 14,000 e-mails.                 So to the
5      best that I could, yeah, I provided you with
6      everything I could.
7             Q.     So the only e-mails that I -- and I don't
8      even know if these are e-mails -- that I got from
9      you showing job search efforts, I'll present them to
10     you.
11            A.     For the record we also did state it's
12     ongoing.
13            Q.     So you have an obligation ongoing to
14     preserve all the records related to your job search
15     efforts, right?        You understand that, right?
16            A.     From the time that -- the interrogatories,
17     yes.
18            Q.     No, from the time that you go to the EEOC,
19     right?
20                   MR. DeROSE:       No, Counsel, I don't know
21     that that's true.         We will give you anything we get
22     from the day we give you our discovery onward.
23     No -- I don't know of the requirement at the EEOC.
24                   MS. WERMUTH:       Certainly at the date of the
25     Complaint.


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                                                                                Page 383
1                                   D. Trahanas
2                    MR. DeROSE:       The filing of the Complaint
3      we are preserving things.            We're not throwing
4      anything out.         You can rest assured of that.            And
5      you've gotten volumes, as you know.
6                    MS. WERMUTH:       But I've not gotten job
7      search records other than this log and the four
8      cover letters and the two e-mails that I'm going
9      to -- I don't know if they're e-mails, but let's
10     mark this, please.         Thank you.
11                                (Exhibit 74 was marked for
12                                identification.)
13     BY MS. WERMUTH:
14            Q.     Okay.    Deposition Exhibit 74, it looks
15     like you had an e-mail communication in July of 2015
16     with Elspeth Morrison Beauchamp, a post-doctoral
17     fellow in somebody's lab.
18            A.     This was a -- sorry.
19            Q.     Go ahead.
20            A.     This was the job I was -- that you had
21     asked me earlier about that I was referring to at
22     Northwestern with the interview.
23            Q.     Okay.    And it looks like you set something
24     up for July 30th at 1:30.
25                   Did that interview actually take place?


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                                                                                Page 384
1                                   D. Trahanas
2             A.     Yes, to the best of my knowledge.               I would
3      have no reason to think otherwise.
4             Q.     You don't recall interviewing at
5      Northwestern University a month after leaving, two
6      months after leaving?
7             A.     I mean, there were a million things going
8      on at that time.         I can't say for certain.           I mean,
9      I set it up, so I would have no reason to believe I
10     wouldn't go.
11            Q.     Do you keep an electronic calendar?
12            A.     No.
13            Q.     In 2015 did you keep an electronic
14     calendar?
15            A.     No.
16            Q.     So you don't use the Gmail calendar
17     function?
18            A.     No.    It doesn't -- I don't -- I don't like
19     it, no.
20            Q.     Do you keep a paper calendar?
21            A.     No.
22            Q.     You just remember your appointments in
23     your head?
24            A.     Yes.
25            Q.     Can I get that marked, please.


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                                                                                Page 385
1                                   D. Trahanas
2                                 (Exhibit 75 was marked for
3                                 identification.)
4                    MR. DeROSE:       Wait a minute, I want to go
5      on the record.        We have taken one break in the
6      morning session for about five minutes before we
7      took a half hour lunch; and then the afternoon
8      session we've probably taken a five-minute break.
9                    So whatever time it is, I'm going to look
10     for a similar courtesy --
11                   MS. WERMUTH:       I understand.
12                   MR. DeROSE:       -- when I depose your
13     witnesses.
14                   MS. WERMUTH:       I understand.       I do
15     appreciate that.
16                   MR. DeROSE:       I don't want you to make
17     light of how my -- maybe at the end of the dep I'd
18     like to agree on how much time we spent today in the
19     dep.
20                   MS. WERMUTH:       Okay.
21     BY MS. WERMUTH:
22            Q.     Okay.    This is the only other e-mail that
23     I saw related to some sort of job search efforts,
24     although I can't -- I can't tell if you actually
25     sent in a resume or not.


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                                                                                Page 386
1                                   D. Trahanas
2                    Do you know?
3             A.     Is your copy clearer?          Because I'm not
4      sure if that's --
5             Q.     No.
6             A.     Okay.
7             Q.     I can't read it at all.
8             A.     Okay.
9             Q.     Can you tell me the date on that?
10            A.     In the middle where I respond hello Anne,
11     it looks like it says something 2016.                I don't know
12     what month and day that is.             But that's the most I
13     can make out from this copy.             I can't recall if I
14     sent a CV or resumï¿½ or followed up.
15            Q.     Okay.    Okay.     You're currently working at
16     a dental office?
17            A.     Yes.
18            Q.     How many hours a week?
19            A.     It's intermittent.
20            Q.     What's your rate?
21            A.     15 an hour.
22            Q.     When did you start working there?
23            A.     2016, fall of 2016.
24            Q.     And on average how many hours a week do
25     you work?


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                                                                                Page 387
1                                   D. Trahanas
2             A.     Like I said, it's intermittent; so if
3      there's other people in the dental office that are
4      gone, I fill in for them.
5             Q.     It's literally just a fill-in job?
6             A.     At one point in time it was for six, seven
7      months, and then subsequently it's intermittently.
8             Q.     Okay.    And why did the number of hours --
9      or why did it become an intermittent job?                  Was that
10     your choice?
11            A.     Yeah.    I mean, if I can go she would love
12     me to go.      It's just I had -- it was at the time I
13     was taking classes or perhaps I was shadowing
14     another doctor, so I had to make time to ensure that
15     I was fulfilling shadowing hours or observation.
16            Q.     Okay.    And you were doing those shadow
17     hours and observation for purposes of your medical
18     school application?
19            A.     Correct.
20            Q.     Okay.    And when did you start doing
21     shadowing and observations?
22            A.     2016 towards the end, maybe the beginning
23     of -- towards the end of 2016.
24            Q.     Okay.    So by deciding to focus on getting
25     into medical school and doing that shadowing, that


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                                                                                Page 388
1                                   D. Trahanas
2      interfered with your ability to get full-time
3      employment, would you -- or to work full-time?
4             A.     No.     The position, that position didn't
5      have a full-time position.            She has three people
6      that work in the office, who some -- because each
7      specific day that one of us goes someone handles
8      only like errands or ordering.              Sometimes, you know,
9      I'll do finances.
10            Q.     I think you're going a little bit beyond
11     the question, so let me ask you this:                Are you still
12     currently looking for full-time employment?
13            A.     Yes.
14            Q.     In late 2016 were you looking for
15     full-time employment?
16            A.     Yes.
17            Q.     Okay.    But I thought you just testified
18     that you couldn't work more hours at the dental
19     office because you were spending time in class and
20     doing observations?
21            A.     I didn't -- I didn't say more hours.                The
22     days that she's open and the times are very
23     specific.      So those specific hours of operation,
24     like I said, some days she needed me one day and
25     that week I would be in class perhaps.


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                                                                                Page 389
1                                   D. Trahanas
2              Q.    When is the last time you made an
3      application for full-time employment?
4              A.    Oh, three weeks ago, two weeks ago.
5              Q.    And you have those documents to give your
6      lawyer?
7              A.    I can give it to -- I can give it to him,
8      yes.
9              Q.    And who is that employer that you applied
10     with?
11            A.     It's multiple.
12            Q.     Three weeks ago?
13            A.     Yes.
14            Q.     How many?
15            A.     At least ten.
16            Q.     All on the same day?
17            A.     The same week.
18            Q.     Are you driving for Uber?
19            A.     I do.
20            Q.     How frequently?
21            A.     It depends on -- it depends on multiple
22     factors and time of day, you know, demand.                  There's
23     certain times that Uber would prefer drivers, and
24     they have certain promotions to have you fulfill.
25            Q.     When did you start driving for Uber?


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                                                                                Page 390
1                                   D. Trahanas
2              A.    February of 2017.
3              Q.    And you're also a soccer coach?
4              A.    Yes.
5              Q.    And, I'm sorry, do you get a 1099 from
6      Uber?
7              A.    I'm not sure.       It's my first year, so I'll
8      find out I guess in the next couple weeks.
9              Q.    Okay.    So I'll ask for a couple of the
10     1099 and the W-2s from the dental office.
11                   What about the soccer coaching, what's
12     your pay rate for that?
13            A.     There's two different clubs.
14            Q.     Okay.
15            A.     So one is $50 an hour, the other is 60.
16            Q.     And how many hours a week -- $60 an hour?
17            A.     Yes.
18            Q.     How many hours a week do you work at those
19     jobs?
20            A.     It depends on the season, but it could be
21     anywhere from six to ten hours or none depending on
22     the week.      We also have to go to games, but that's
23     not paid time.
24            Q.     You don't get paid to be at a game?
25            A.     No.


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                                                                                Page 391
1                                   D. Trahanas
2             Q.     Do you get a W-2 from the soccer club,
3      either soccer club?
4             A.     I know from the Nazarene United one
5      because I've worked with them for a few years, I
6      believe it's a W-2.          And I'm sure the other one is
7      also going to be a W-2.
8             Q.     Okay.    And when did you start working --
9      you said the Nazarene one, you've worked for them
10     for how many years?
11            A.     Probably end of 2015.
12            Q.     Okay.    And the other one you've worked at
13     for how long?
14            A.     I just started last year, so July of 2017.
15            Q.     One last document.
16                                (Exhibit 76 was marked for
17                                identification.)
18     BY MS. WERMUTH:
19            Q.     You've been handed Deposition
20     Exhibit 75 -- 76, which looks like two separate
21     pages.      Can you tell me what these items are?
22            A.     You guys asked for notes, any electronic
23     or otherwise notes, and I happened to come across
24     these on my computer, so I provided them.
25            Q.     Okay.    So they're just like in a Word


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                                                                                Page 392
1                                   D. Trahanas
2      document or what kind of system?
3             A.     It's on a Mac.        It's Notepad.
4             Q.     Got it, okay.       Both of these are on --
5             A.     It's one page.        I just don't know how it
6      can print on one page.
7             Q.     Okay.    Well, except that there's two
8      different dates on these.
9                    Do you see that?        So there's a date on the
10     first page of December 16, 2015, and then there's a
11     date on the second page of October 30th, 2017.
12            A.     That's the date that it was printed.                If
13     you look on the left --
14            Q.     Okay, notes on my -- okay.
15            A.     -- it says notes on my computer, and
16     that's the day it was printed.              The big, I guess the
17     big date, the big font is the font of Notepad.
18            Q.     Okay.    Well, on the first page, the lower
19     left says Google -- mail.google.com, right?
20            A.     Yes.
21            Q.     All right.      So is this a Google Mail
22     document?      Is this a Notes document?
23            A.     No, I had to -- in order to print it I had
24     to e-mail it to myself so I could print it.                   I don't
25     have a printer at home.


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                                                                                Page 393
1                                   D. Trahanas
2             Q.     When did you write these notes for the
3      first time?
4             A.     December 16th of 2015.
5             Q.     Okay.    Now, according to these notes, I
6      have just a couple quick questions, in the middle it
7      says "E-mailed Harris."
8                    Do you see that?
9             A.     Yes.
10            Q.     "To seek advice about a few co-workers
11     sabotaging my work and Steve making me uncomfortable
12     with the sexual harassment discrimination comments."
13                   So I have not seen an e-mail that
14     explicitly says either one of those things from you
15     to Harris Perlman.
16                   Do you know when you supposedly sent this
17     e-mail?
18            A.     There was an e-mail where Harris dodged
19     for like months.
20            Q.     Was it from your Gmail account?
21            A.     I can't definitively say if it was Gmail
22     or my Northwestern account.
23            Q.     And in the e-mail were you specific about
24     what you wanted to talk to him about?
25            A.     To the best of my recollection, honestly,


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                                                                                Page 394
1                                   D. Trahanas
2      to get him to meet with me I probably was very
3      vague.
4             Q.     So you didn't use the words "sexual
5      harassment" in your e-mail to him?
6             A.     Probably not.
7             Q.     Okay.    Or the word "discrimination"?
8             A.     Probably not.
9             Q.     Okay.    And so when you e-mailed, according
10     to this note, Harris Perlman, I know you don't know
11     which e-mail account you e-mailed -- which of your
12     e-mail accounts you used, but did you e-mail him at
13     his Northwestern account or at some other like Gmail
14     type account?
15            A.     I don't know.
16            Q.     Okay.    All right.       Then underneath that
17     paragraph, "Why I don't dress like Rana to work."
18                   Do you see that?
19            A.     Yes.
20            Q.     What is that a reference to?
21            A.     Rana would dress rather specifically to
22     work every day.
23            Q.     And how was that?
24            A.     Stiletto heels, short shorts and low tops.
25            Q.     Did you guys wear lab coats in the lab?


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                                                                                Page 395
1                                   D. Trahanas
2             A.     Unless we knew that we were going to be --
3      unless we knew that the lab was going to be I guess
4      looked at for the day, they were going to come and
5      do I guess an inspection, no, we wouldn't.
6             Q.     Okay.    And this note here isn't because
7      someone supposedly said this to you.                You're
8      explaining why you don't dress like Rana; is that
9      right?
10            A.     Dr. Schwulst said that to me one time.
11            Q.     When?
12            A.     It was in the lab.         He was sitting at his
13     desk, I was sitting at mine, and Rana came over and
14     as she walked away he asked me.
15            Q.     Can you give me a date?
16            A.     Not definitively.
17            Q.     Can you give me a year?
18            A.     I don't recall.
19            Q.     And you never complained to anyone in HR
20     about that comment, correct?
21            A.     Not to HR.
22            Q.     Or anyone in the administration?
23            A.     Not the administration.
24            Q.     Or anyone in management in the lab?
25            A.     Not management.


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                                                                                Page 396
1                                   D. Trahanas
2                    MS. WERMUTH:       Okay.    I have no further
3      questions.
4                    MR. DeROSE:       I'm going to need about five
5      minutes, but before I do that, Mr. Reporter, can you
6      give us an idea how long you think this dep took
7      today to this point?
8                    THE COURT REPORTER:         Can we go off the
9      record?
10                   MR. DeROSE:       Surely, of course.
11                                (Whereupon, an off-the-record
12                                discussion was held.)
13                                  EXAMINATION
14     BY MR. DeROSE:
15            Q.     Get in front of you 76.
16                   Now, these notes, as I understand, what
17     you're telling us, you made these on December 16,
18     2015?
19            A.     Correct.
20            Q.     All right.      And where you got the words
21     counsel just asked you about, "Why I don't dress
22     like Rana to work," did somebody ask you that?
23            A.     Yes, Dr. Schwulst said that to me.
24            Q.     And he asked you that sometime before
25     December 16, 2015?


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                                                                                Page 397
1                                   D. Trahanas
2             A.     Yes.
3             Q.     And you've already described how Rana
4      comes to work.
5                    Does she come to work dressed that way on
6      a regular basis?
7             A.     Yes.
8             Q.     And you never wear short shorts when you
9      go to work?
10            A.     No.
11            Q.     Or low-hanging blouses?
12            A.     No.
13            Q.     Did he say why he was asking you why you
14     don't dress like Rana?
15            A.     He was not explaining why.
16            Q.     All right.      Did you feel offended in some
17     way?
18            A.     Of course.
19            Q.     Why?
20                   It's going to take a long time if you just
21     can't answer the question quicker than that.
22            A.     Because he already -- he already had bias
23     towards Rana with other things, and I felt that the
24     only reason why possibly had something to do with
25     the way she dressed.          So I was sad because I felt


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                                                                                Page 398
1                                   D. Trahanas
2      that I would never be able -- I wouldn't dress like
3      that, so I would be not able to, you know, be like
4      Rana I suppose.
5              Q.    When you say you wouldn't be able to dress
6      like that, did you find something about Rana's dress
7      different than -- how would you describe Rana's
8      dress yourself as a woman?
9              A.    Inappropriate for a laboratory.
10            Q.     What was inappropriate about it?
11            A.     The heels, that's -- I mean, open-toed
12     heels, in case of an emergency she wouldn't be able
13     to run.
14            Q.     What about the shorts?
15            A.     Very revealing.
16            Q.     In what way?
17            A.     They would show -- basically they were all
18     the way up to her thighs where your thigh starts
19     to -- and it revealed some of a back portion of her
20     body.
21            Q.     Were there times when those of you who
22     were in the laboratory used your phones to take
23     photographs of each other, maybe at parties or just
24     greet each other on various days?
25            A.     I mean, we have pictures if we were out


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                                                                                Page 399
1                                   D. Trahanas
2      perhaps, not that I have any.             I think I have one
3      maybe on Instagram with someone from work, but I
4      don't know.       It wasn't at work.
5             Q.     Do you have any photograph depicting the
6      way Rana would dress when she would come to work?
7             A.     No, but we would often talk about it.
8             Q.     Who is the "we"?
9             A.     People in the lab, so Angelica, Carla,
10     Salina.
11            Q.     What would you say about the way she
12     dressed?
13            A.     We just -- we would reiterate how
14     inappropriate it was and why she would be trying to
15     do that.
16            Q.     Now I want to stay on 76 with you.               Right
17     after those words you have typed on here
18     "Blackmailed me with a letter of recommendation,
19     December."
20                   Do you see that?
21            A.     Yes.
22            Q.     And then you've got certain quotes.
23            A.     Yes.
24            Q.     Who are you quoting?
25            A.     Dr. Schwulst.


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                                                                                Page 400
1                                   D. Trahanas
2             Q.     Are you saying that Dr. Schwulst said to
3      you, quote, "Diane, if you're going to go nuclear on
4      us, then you are going to start clocking in and out;
5      if you put the numbers down you are overpaid,"
6      closed quotes?
7             A.     Correct.
8             Q.     Then you've got a "me."           Now, is that your
9      answer to him?
10            A.     Yes, in that conversation.
11            Q.     And you said, "I disagree with being
12     overpaid.      Clocking in and out is not a problem, but
13     I will need to be getting paid overtime when I clock
14     over 40 hours a week, and with our type of
15     experiments that happens a lot."
16            A.     Yes.
17            Q.     How long would you work overtime?               How
18     long would these experiments take?
19                   MS. WERMUTH:       Objection, relevance.
20     BY MR. DeROSE:
21            Q.     Go ahead.      You may answer.
22            A.     Some took 24 hours, 18 hours.             18 hours
23     was very common; 24 depending on the number of mice
24     we had and what we were specifically looking at, how
25     many tissues I needed to process at that time.


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                                                                                Page 401
1                                   D. Trahanas
2             Q.     When you're doing an 18-hour experiment,
3      do you go home for some of that time and come back?
4             A.     No.    You have to be moving constantly.
5             Q.     In the lab?
6             A.     Yes.
7             Q.     So when one experiment takes a 24-hour
8      period, you're in the lab all that time?
9             A.     You start -- I would start in the
10     subbasement where the mice are, retrieve the tissue
11     samples from the mice, and then bring the tissue
12     samples upstairs and start processing the tissue.
13            Q.     So once the experiment starts it is a
14     continuous 24-hour experiment or an 18-hour
15     experiment?
16            A.     Yes, because the tissue will start
17     degrading or won't be viable.             It will -- it would
18     alter the results if we don't do it in the same day.
19            Q.     And while you're there for that 24 hours,
20     who is in the lab during the nighttime with you,
21     like from 9:00 o'clock until 8:00 o'clock in the
22     morning?
23            A.     Dr. Spare was there twice, not -- she
24     slept on the floor one day.             And then the other time
25     I believe she left at like 3:00 or 4:00 in the


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                                                                                Page 402
1                                   D. Trahanas
2      morning.
3                    And the other days I was -- unless it was
4      somebody from the other lab that left at like
5      midnight, like Rojo or Alex, then it would just be
6      me.
7             Q.     Well, was Dr. Schwulst, was he in the lab
8      for that 24-hour lab test?
9             A.     No.
10            Q.     He never spent the night in the lab?
11            A.     Not in the lab.
12            Q.     And then he writes -- further down I see
13     quotes again.        Is that a quote to him you're giving
14     us?
15            A.     He said that to me.
16            Q.     All right.      So he says, quote, "You should
17     really think long term here, ya know, Harris sent in
18     his letter of rec late, so you probably won't get
19     into school this year, and you'll need my letter of
20     recommendation for next year's application," closed
21     quotes.
22            A.     That's correct.
23            Q.     "I mean, I wrote you a kick ass letter,
24     didn't I?      You've got -- you've also gotten to go on
25     conferences.        I've treated you like a grad student."


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                                                                                Page 403
1                                   D. Trahanas
2                    Is that all something that he said to you?
3             A.     During that same conversation, yes.
4             Q.     What did you say to him when he said "I
5      wrote you a kick ass letter"?
6             A.     It was a good letter.          I agreed with that.
7             Q.     And he said if you didn't get into medical
8      school that year because Dr. Harris' letter was late
9      you would need a letter from him the following year?
10            A.     Yes.
11            Q.     Did you believe that?
12            A.     Yes.
13            Q.     Because you were relying on his letter of
14     recommendation to get you into medical school?
15            A.     Right.     I mean, I invested two and a half
16     years at that time at work, and there would be
17     nowhere else for me to go the subsequent year.
18            Q.     All right.      And just a couple more because
19     it's very late and I appreciate it.
20                   Would you go to Exhibit 60, the
21     handwritten notes that the lady from EEOC apparently
22     wrote, according to counsel.
23                   Have you got that?
24            A.     60, yeah, yes.
25            Q.     You don't have 60 or I don't have 60.


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                                                                                Page 404
1                                   D. Trahanas
2      It's a handwritten note.
3                    All right.      Right under where counsel
4      directed your attention to with that long cross-out
5      line, it says, "Dr. Schwulst, sex, male."
6                    Do you know why the lady wrote that?
7                    MS. WERMUTH:       Objection, foundation.
8      BY MR. DeROSE:
9              Q.    Did you tell her that Dr. Schwulst was a
10     male?
11            A.     If she asked, yes.
12            Q.     All right.      And then it says, "Made
13     comments to her first three/four months.                  PCP, if I
14     tell you that means the complainant at the EEOC --
15     "PCP was called a softball player because all
16     softball players are lesbians."
17                   Do you remember telling her that?
18            A.     Yes.    I remember that was the reason to go
19     to the EEOC, part of the reason.
20            Q.     Then she writes, "PCP said she played
21     basketball, and he said doesn't matter, all
22     basketball players are lesbians also."
23                   Did you tell her that?           Ma'am, can you
24     answer the question?
25            A.     Yes.


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                                                                                Page 405
1                                   D. Trahanas
2             Q.     Don't just nod your head because we can't
3      take that down.        No matter how hard you shake your
4      head we won't get enough sound out of that, okay?
5             A.     Yes, that was part of my complaint.
6             Q.     "PCP states he knew she was a big sports
7      fan."
8                    And Carla Cuda was a laboratory worker?
9             A.     Carla was a person in our lab.
10            Q.     And then you gave the lady a list of
11     witnesses including Ms. Dominguez and any names that
12     would help her?
13            A.     Yes.
14            Q.     All right.      One more and I'll be all
15     finished.
16                   Wait a minute.        There might be something
17     else on this document.
18                   Yes, go to Page 2.         About five lines down
19     she writes, "PCP states Schwulst would refer to her
20     as a softball player, meaning PCP was a lesbian.
21     And PCP states she's never been with a significant
22     other around" something "or others, around him or
23     others."
24                   Did you ever bring a boyfriend around to
25     the laboratory?


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                                                                                Page 406
1                                   D. Trahanas
2             A.     Not that I recall.
3             Q.     Did you ever go to any parties where you
4      could bring someone with you to the party?
5             A.     Yes, there were multiple parties during
6      the year.
7             Q.     Did you ever bring anybody to any of the
8      parties?
9             A.     Once.
10            Q.     Who did you bring?
11            A.     My mom.
12            Q.     Was there any talk about the fact that you
13     had to bring your mom to the party instead of a
14     significant other?
15            A.     Not that I recall.
16            Q.     And if you'll look, I'm not going to
17     belabor the record with it, but if you look at the
18     paragraph at about the middle of the page, you're
19     complaining to her about him withdrawing those
20     letters of recommendation, giving you one that
21     wasn't good, and then trying to nullify the second
22     letter with a third?
23            A.     Yes.
24            Q.     And we've already seen the letters here
25     today, have we not?


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                                                                                Page 407
1                                   D. Trahanas
2              A.     We have.
3              Q.     All right.     One more document and I'll be
4      done.       Counsel also showed you Exhibit Number 62.
5                     Do you have that in front of you?              It's a
6      typed document.        And that's a document that counsel
7      tells us they had subpoenaed from the EEOC, and I
8      want you to look down about the middle of the page
9      right after the date 5/24.
10                   Do you see that sentence?
11            A.     Yes.
12            Q.     All right.      Now, the next sentence, it
13     says, "After a while R sent a notice," that would be
14     respondent, "sent a notice to PCP to go back to
15     work.     PCP was unable to do it due to a hostile
16     environment."
17                   Do you remember telling that to anybody at
18     the EEOC?      Just that sentence, ma'am, do you
19     remember saying it?
20            A.     I remember talking about a hostile,
21     stressful work environment.
22            Q.     Now look at the next paragraph that's
23     typed.
24                   By the way, you didn't talk to anybody
25     while they were typing at the EEOC, did you?


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                                                                                Page 408
1                                   D. Trahanas
2             A.     No.
3             Q.     So if the notes are typed, they're typed
4      sometime after you finished your conversation with
5      them, as best you know?
6                    MS. WERMUTH:       Objection to the form of the
7      question.      Also assumes that this was an in-person
8      meeting, which she testified she wasn't sure about,
9      so it assumes facts not of record.
10                   MR. DeROSE:       Counsel, you're exactly
11     right.
12     BY MR. DeROSE:
13            Q.     You don't know how these notes got typed
14     and into the EEOC file; is that correct?
15            A.     I can't say with certainty one way or the
16     other.
17            Q.     And you didn't see anybody ever in your
18     memory over at the EEOC typing things down while you
19     were talking to them?
20            A.     I do, but I can't recall which meeting it
21     was.
22            Q.     Look at the next paragraph, "Medical
23     leave, February 17, 2015, due to high anxiety,
24     mental stress and depression.             Diagnosed few years
25     ago prior to going on leave.             It got exacerbated.


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                                                                                Page 409
1                                   D. Trahanas
2      It was stressful work environment.               Doctor gave PCP
3      a note May 24, 2015, that no release to the same
4      position under the same employer."
5                    What employer did the doctor give you a
6      letter to that said you can't go back to work with
7      that person?
8                    MS. WERMUTH:       Object to the form of the
9      question.      It misstates what's written here.               It
10     also misstates the record evidence.
11     BY MR. DeROSE:
12            Q.     You may answer.
13            A.     The employer would be Dr. Schwulst, which
14     would be the position of research tech.
15            Q.     Is it fair to say that you don't know how
16     the letter from Dr. Cano got over to Northwestern?
17            A.     Yes, that would be fair.
18            Q.     And you don't know how it ever got into
19     their file?
20            A.     No, I do not.
21                   MR. DeROSE:       All right.      I have no further
22     questions, Counsel.          You may inquire.
23                   MS. WERMUTH:       I have no further questions.
24                   MR. DeROSE:       All right.      Thank you.
25                   Signatures are -- can we waive these?


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                                                                                Page 410
1                                    D. Trahanas
2       That man, he hasn't said boo.              He has only worked
3       real hard.
4                     You had no trouble taking her down, did
5       you?
6                     THE COURT REPORTER:          No.
7                     MR. DeROSE:       Diane, do yourself a favor.
8       Waive the reading of the dep.              Trust that this man
9       took you down accurately.            He was listening
10      carefully today.
11                    THE WITNESS:       I just say it?
12                    MR. DeROSE:       Say "I waive."
13                    THE WITNESS:       I waive.
14                                  (Whereupon, the deposition was
15                                  concluded at 8:02 p.m.)
16
17
18
19
20                   _________________
21                       D. Trahanas
22         Subscribed and sworn to before me
23     this _____ day of ________, 20__.
24     __________________________
25            NOTARY PUBLIC


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                                                                                Page 411
1                                    D. Trahanas
2      STATE OF ILLINOIS         )
3                                )    SS:
4      COUNTY OF C O O K         )
5                    The within and foregoing deposition of the
6      witness, DIANE M. TRAHANAS, was taken before GREG S.
7      WEILAND, CSR, RMR, CRR, at Suite 400, 123 North
8      Wacker Drive, in the City of Chicago, Cook County,
9      Illinois, commencing at 10:13 o'clock a.m., on the
10     5th day of January,           2018.
11                   The said witness was first duly sworn and
12     was then examined upon oral interrogatories; the
13     questions and answers were taken down in shorthand
14     by the undersigned, acting as stenographer and
15     Notary Public; and the within and foregoing is a
16     true, accurate and complete record of all the
17     questions asked of and answers made by the
18     aforementioned witness at the time and place
19     hereinabove referred to.
20                   The signature of the witness was waived by
21     agreement of counsel.
22                   The undersigned is not interested in the
23     within case, nor of kin or counsel to any of the
24     parties.
25


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                                                                                Page 412
1                    Witness my signature on this 18th day of
2      January, 2018.
3
4
       ______________________________
5      GREG S. WEILAND, CSR, RMR, CRR
       License No. 084-003472
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                                                                                Page 413
1      NAME OF CASE:
2      DATE OF DEPOSITION:
3      NAME OF WITNESS:
4      Reason Codes:
5             1.   To clarify the record.
6             2.   To conform to the facts.
7             3.   To correct transcription errors.
8      Page ______ Line ______ Reason ______
9      From _____________________ to _____________________
10     Page ______ Line ______ Reason ______
11     From _____________________ to _____________________
12     Page ______ Line ______ Reason ______
13     From _____________________ to _____________________
14     Page ______ Line ______ Reason ______
15     From _____________________ to _____________________
16     Page ______ Line ______ Reason ______
17     From _____________________ to _____________________
18     Page ______ Line ______ Reason ______
19     From _____________________ to _____________________
20     Page ______ Line ______ Reason ______
21     From _____________________ to _____________________
22     Page ______ Line ______ Reason ______
23     From _____________________ to _____________________
24
                                            ________________________
25


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                                                                                Page 414
 1
 2                   IN THE UNITED STATES DISTRICT COURT
 3                      NORTHERN DISTRICT OF ILLINOIS
 4                            EASTERN DIVISION
 5
 6
 7      DIANE M. TRAHANAS,         )
                                   )
 8          Plaintiff,             )
                                   )
 9              vs.                ) No. 15-cv-11192
                                   )
10      NORTHWESTERN UNIVERSITY    )
        and STEVEN J. SCHWULST,    )
11      M.D.,                      )
                                   )
12          Defendants.            )
        ___________________________)
13
14
15
16
17                      DEPOSITION OF DIANE M. TRAHANAS
18                                 VOLUME II
19                             Chicago, Illinois
20                         Tuesday, January 8, 2019
21
22
23      Reported by:
24      PAULA CAMPBELL, CSR, RDR, CRR, CRC
25      JOB NO. 153261

                              TSG Reporting - Worldwide   877-702-9580
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                                                                                Page 415
 1

 2

 3

 4

 5

 6

 7

 8                                      January 8, 2019
 9                                      10:06 A.M.
10

11

12                      Volume II of the discovery
13      deposition of DIANE M. TRAHANAS, held at the
14      offices of COZEN O'CONNOR, 123 North Wacker
15      Drive, Chicago, Illinois, pursuant to notice
16      before Paula Campbell, CSR, RDR, CRR, CRC.
17

18

19

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                                                                                Page 416
 1

 2      A P P E A R A N C E S:
 3             JOHN P. DeROSE & ASSOCIATES
 4             Attorneys for the Plaintiff
 5                       15 Spinning Wheel Road
 6                       Hinsdale, Illinois 60521
 7             BY:       JOHN DeROSE, ESQ.
 8

 9             COZEN O'CONNOR
10             Attorneys for the Defendants
11                       123 North Wacker Drive
12                       Chicago, Illinois 60606
13             BY:       ANNA WERMUTH, ESQ.
14                       DANIELLE HARRIS, ESQ.
15

16

17

18      ALSO PRESENT:
19                      Robert Zellner, Videographer
20                      Thalia L. Myrianthopoulos, Northwestern
21                      Steven J. Schwulst
22

23

24

25


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                                                                                   Page 417
 1                 D. TRAHANAS - VOLUME II
 2           VIDEOGRAPHER:           And good morning.                   This is
 3      the start of disc labeled number one of the
 4      continuing videotaped deposition of Diane, M.
 5      Trahanas in the matter of Diane M. Trahanas
 6      versus Northwestern University and Steven J.
 7      Schwulst, M.D., in the United States District
 8      Court for the Northern District of Illinois,
 9      Eastern Division, bearing case number
10      15-cv-11192.
11           This deposition is being held at Cozen
12      O'Connor, at 123 North Wacker Drive,
13      Suite 1800, in Chicago, Illinois, 60606, on
14      Tuesday January 8th, 2019, at approximately
15      10:06 A.M.
16           My name is Robert Zellner from TSG
17      Reporting, Inc., and I am the legal video
18      specialist.        And the court reporter is Paula
19      Campbell, also in association with TSG
20      Reporting.
21           And will counsel please introduce
22      yourselves for the record?
23           MS. WERMUTH:          This is Anna Wermuth.                    I'm
24      counsel for Northwestern University and for
25      Dr. Schwulst.

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                                                                                Page 418
 1                 D. TRAHANAS - VOLUME II
 2           MR. DeROSE:         And I'm John DeRose on behalf
 3      of Ms. Trahanas.
 4           We have other people here.                      Can we have
 5      them all identified also?
 6           MS. WERMUTH:          Yes.       I was getting to that.
 7      To my left.
 8           MS. MYRIANTHOPOULOS:                 Thalia
 9      Myrianthopoulos on behalf of Northwestern
10      University.
11           MR. SCHWULST:           Steven Schwulst.
12           MS. HARRIS:         Danielle Harris on behalf of
13      the defendants.
14           MR. DeROSE:         And, Counsel, before we start,
15      can we indicate, although the videographer
16      thought it was a continuing video deposition,
17      it is not.       This is the first time you have
18      dep- -- videotaped Ms. Trahanas.                         I do not
19      believe that there was a prior authorization to
20      do that, but go ahead.
21           MS. WERMUTH:          Okay.        I believe that the
22      deposition notice indicated that it would be
23      taken pursuant to transcription and video.
24           MR. DeROSE:         Do you have a copy of that
25      here now?

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                                                                                 Page 419
 1                 D. TRAHANAS - VOLUME II
 2           MS. WERMUTH:          I don't have it with me, but
 3      I can get it.
 4           MR. DeROSE:         That's all right.                   Go ahead.
 5           MS. WERMUTH:          And I'll just -- I'll add
 6      that this is a continuing deposition in the
 7      case of Diane Trahanas versus Northwestern
 8      University and Steven Schwulst, M.D., and that
 9      this deposition is being taken pursuant to
10      Judge Mason's order of December 3rd, 2018.
11           MR. DeROSE:         All right.               And, Counsel, can
12      we also mention this deposition is for a very
13      limited purpose.           I allowed you to go beyond
14      the seven hours for the deposition of
15      Ms. Trahanas a couple of years ago, and you
16      took, I believe, as much as nine hours of
17      deposition.
18           Today's deposition is limited for the
19      purpose that His Honor, Judge Mason, set
20      forward concerning your inquiry of the searches
21      that Ms. Trahanas made for any letters of --
22      she received from medical schools, and I would
23      ask that we try to stay as closely as possible
24      into that very limited area.
25           MS. WERMUTH:          I would disagree that the

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                                                                                   Page 420
 1                         D. TRAHANAS - VOLUME II
 2             only issue for today is her searches within her
 3             gmail account, but rather her preservation
 4             obligations generally, her -- her efforts to
 5             preserve, and then her efforts to collect
 6             certain electronically stored information.                          So
 7             I'll be talking about those topics.
 8                   MR. DeROSE:          And I believe that that is
 9             appropriate.          I think that is what His Honor
10             ordered, and I do ask that you just stay to
11             that and don't go into the other areas where we
12             already had extensive discovery.
13      BY MS. WERMUTH:
14             Q.    Ms. Trahanas, you recall that I took your
15      deposition about a year ago in January of 2018?
16             A.    Yes.
17                   MS. WERMUTH:           Oh, I'm sorry.               Can you swear
18             the witness in, please.                    Thank you.
19                   MR. DeROSE:          Oh boy.
20                   REPORTER:         Would you please raise your
21             right hand.
22      D I A N E        T R A H A N A S,
23             called as a witness, having been duly sworn,
24             was examined and testified as follows:
25      ///

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                                                                                      Page 421
 1                         D. TRAHANAS - VOLUME II
 2      EXAMINATION
 3      BY MS. WERMUTH:
 4             Q.    Okay.     And just to reiterate my --
 5                   MR. DeROSE:          Excuse me one second.                Will
 6             you get a napkin there?                    In the wintertime my
 7             nose -- oh, I forget that, yeah.                          Give me one
 8             second, Counsel.
 9                   Thank you.         I got it.
10                   MS. WERMUTH:           Are we ready to proceed?
11                   MR. DeROSE:          Yes.
12                   MS. WERMUTH:           Yes, okay.
13                   VIDEOGRAPHER:            Just a little higher up.
14             Thank you.        Thanks.
15      BY MS. WERMUTH:
16             Q.    Okay.     Ms. Trahanas, I'll ask you the
17      question again.
18                   Do you recall that I took your deposition
19      on January 5th of 2018?
20             A.    Yes.
21             Q.    Okay.     You were under oath at that time;
22      correct?
23             A.    Correct.
24             Q.    And you swore to tell the truth; correct?
25             A.    Yes.

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                                                                                Page 422
 1                         D. TRAHANAS - VOLUME II
 2             Q.    And you did tell the truth at that time; is
 3      that correct?
 4             A.    Yes.
 5             Q.    Okay.     If I were --
 6                   MS. WERMUTH:           What I'm going to do, John,
 7             and what I've talked to the court reporter is
 8             we are going to -- for ease of administration,
 9             we're going to continue with the pagination of
10             this deposition in sequence with her -- the
11             plaintiff's first deposition, and we're also
12             going to then sequentially mark exhibit
13             numbers.       Okay?
14                   MR. DeROSE:          That's fine.
15                   MS. WERMUTH:           Okay.         Thank you.
16                   All right.         I will then have this exhibit,
17             if you would, Madam Court Reporter, marked
18             as -- oh, actually, you know what, I don't need
19             to mark this.           It's marked in the -- in the
20             first deposition.
21      BY MS. WERMUTH:
22             Q.    So let me hand to you, Ms. Trahanas, what
23      was previously marked as your Deposition Exhibit 55.
24      I'm sorry.
25                   MR. DeROSE:          This is a problem I have.             Too

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                                                                                 Page 423
 1                         D. TRAHANAS - VOLUME II
 2             big of tables.
 3                   MS. WERMUTH:           Yeah, yeah.             I'll make sure I
 4             stand up and pass it to you.                        Okay?
 5                   MR. DeROSE:          Thank you.
 6      BY MS. WERMUTH:
 7             Q.    All right.         So, Ms. Trahanas, I know we
 8      talked a little bit about this exhibit in your first
 9      deposition, but let me ask you a couple quick
10      questions about it.
11                   In the e-mail on the first page dated
12      February 26th, 2015, from you to pam@lattaslaw, do
13      you see that?
14             A.    Yes.
15             Q.    Okay.     And Pam was your -- was representing
16      you at the time of this e-mail; is that right?
17             A.    Could you please define "representing"?
18             Q.    Well, okay.          Let me -- strike that.
19                   Pam Visvardis is an attorney; correct?
20             A.    She is.
21             Q.    Okay.     And you were consulting with her
22      about legal action vis-à-vis Dr. Schwulst in
23      February of 2015; correct?
24             A.    I wouldn't describe it as consulting.
25             Q.    What would you describe it as then?

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                                                                                Page 424
 1                         D. TRAHANAS - VOLUME II
 2             A.    Asking a friend for a favor.
 3             Q.    Okay.     And your friend was a lawyer; right?
 4             A.    Correct.
 5             Q.    And your friend sent a legal demand letter
 6      to Dr. Schwulst on your behalf in February of 2015;
 7      correct?
 8             A.    Correct.
 9             Q.    Okay.     So she was then representing you in
10      February of 2015; correct?
11             A.    Via the demand letter, yes.
12             Q.    Yeah.
13                   And, in fact, in this e-mail on Exhibit 55
14      you say to her, "Let me know when you can start
15      talking about lawsuit stuff."
16                   Do you see that?
17             A.    I do see that.
18             Q.    Okay.     So, and you were talking about a
19      lawsuit against Dr. Schwulst; is that correct?
20             A.    I don't recall exactly what in context that
21      was reference to.
22             Q.    Was there other litigation that you were
23      contemplating in January -- or, I'm sorry,
24      February 2015?
25                   MR. DeROSE:          Well, Counsel, now wait a

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                                                                                Page 425
 1                         D. TRAHANAS - VOLUME II
 2             minute.      This is -- I allow a certain amount of
 3             background, but we're really here to talk about
 4             her searches, not about whatever she was
 5             contemplating against anybody in a lawsuit.
 6                   MS. WERMUTH:           Well, I would disagree,
 7             because under Rule 37, which was part of what
 8             our motion was related to, preservation
 9             obligations attach at certain points in time.
10                   So I'm trying to discern at what points in
11             time Ms. Trahanas was contemplating seeking
12             legal action.           She's now telling me that she
13             doesn't recall whether or not she was
14             seeking -- wanting to talk to Pam Visvardis
15             about a lawsuit against Dr. Schwulst or some
16             other lawsuit, and I'm trying to get to the
17             bottom of that.
18             A.    That's mischaracterizing, I believe, what I
19      said.
20      BY MS. WERMUTH:
21             Q.    Please tell me what you said.
22             A.    Can you read it back to her, please.
23                   (Record was read as requested.)
24                   MS. WERMUTH:           There was a question about
25             the phrase in the e-mail, "Let me know when we

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                                                                                Page 426
 1                         D. TRAHANAS - VOLUME II
 2             [sic] can start talking about lawsuit stuff."
 3                   (Record was read as requested.)
 4      BY MS. WERMUTH:
 5             Q.    Okay.     So, Ms. Trahanas, can you please
 6      read all of Exhibit 55 and tell me if you understand
 7      what you are talking -- or what you are writing
 8      about in connection with mentioning "lawsuit stuff"?
 9                   THE WITNESS:           John, are we still --
10                   MR. DeROSE:          Read it out loud or --
11                   MS. WERMUTH:           Read it to herself.
12                   MR. DeROSE:          Read it to herself.
13             A.    Just the first page?
14      BY MS. WERMUTH:
15             Q.    I'm asking you to read the exhibit so that
16      you can answer the question in the context which you
17      say that you need context for.
18             A.    I believe John just objected, though, to
19      the question.
20                   MR. DeROSE:          Just --
21                   MS. WERMUTH:           This is being argumentative.
22             A.    I'm just double checking, because --
23                   MR. DeROSE:          All right.             Read the document.
24                   MS. WERMUTH:           He will state an objection if
25             he has an objection.                 It's not your place to

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                                                                                Page 427
 1                         D. TRAHANAS - VOLUME II
 2             object.
 3             A.    I honestly couldn't tell you what in
 4      context.
 5                   MR. DeROSE:          Read the whole document to
 6             yourself.
 7             A.    Okay.     I believe I've reviewed the entire
 8      document.
 9      BY MS. WERMUTH:
10             Q.    Okay.     So now that you've reviewed the
11      document, can you tell me what you're referring to
12      when you e-mail Miss Visvardis on February 26, 2015,
13      about "lawsuit stuff"?
14             A.    I'm not sure, because on Wednesday,
15      March 4th, I asked her what her opinion and what to
16      do would be, like how to you pursue further.                        So how
17      could I be speaking about a lawsuit when I'm not
18      even sure what I'm doing?
19                   MS. WERMUTH:           I'm going to strike that
20             answer as nonresponsive.
21      BY MS. WERMUTH:
22             Q.    You write -- these are your words; correct?
23                   MR. DeROSE:          I object to striking it.
24                   MS. WERMUTH:           That's fine.
25                   MR. DeROSE:          But go ahead, Counsel.

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                                                                                  Page 428
 1                         D. TRAHANAS - VOLUME II
 2                   MS. WERMUTH:           That's fine.
 3      BY MS. WERMUTH:
 4             Q.    You -- these are your words; right?                    You
 5      wrote the e-mail talking about -- using the phrase
 6      "lawsuit stuff," did you not?
 7             A.    Sure, it could be -- I could have
 8      written --
 9                   MR. DeROSE:          That's the answer is yes.
10             Okay.
11             A.    Sure.     Yes.       I'm sorry.
12      BY MS. WERMUTH:
13             Q.    And as you sit here today, you don't
14      recall, is that your testimony, what you meant by
15      "lawsuit stuff"?
16             A.    Correct.
17             Q.    So is it your testimony -- well, strike
18      that.
19                   In February 2015 were you contemplating
20      taking legal action against Dr. Schwulst?
21             A.    No.
22             Q.    Really?       Okay.
23                   MS. WERMUTH:           Can we mark this as 77,
24             please.
25                   (Trahanas Exhibit 77 marked for

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                                                                                Page 429
 1                         D. TRAHANAS - VOLUME II
 2             identification.)
 3      BY MS. WERMUTH:
 4             Q.    Do you have now in front of you what's been
 5      marked as Deposition Exhibit 77?
 6             A.    Yes.
 7             Q.    Do you recognize that document?
 8             A.    Yes.
 9             Q.    And did you see that -- so, strike that.
10                   That is a letter from Pam Visvardis to
11      Dr. Schwulst; correct?
12             A.    Yes.
13             Q.    And it's dated February 27th, 2015.
14                   Do you see that?
15             A.    Correct.
16             Q.    And you received a copy of this letter at
17      the same time; correct?
18             A.    I'm not sure if it's the exact date, but
19      yes, around that time.
20             Q.    Right.
21                   And in this letter on your behalf, where
22      Pam Visvardis writes that her firm represents you,
23      do you see that in the first sentence?
24             A.    Yes.
25             Q.    So does that refresh your recollection as

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                                                                                  Page 430
 1                         D. TRAHANAS - VOLUME II
 2      to whether or not Miss Visvardis represented you in
 3      February of 2015?
 4             A.    I believe I already answered the question.
 5             Q.    And the answer is?
 6             A.    She was doing me a favor, so she wrote a
 7      letter to Dr. Schwulst for the letters.
 8             Q.    She's an attorney; correct?
 9             A.    Correct.
10             Q.    And she has a legal obligation to abide by
11      her ethical obligations as a lawyer; correct?
12             A.    Yes.
13             Q.    Okay.     And --
14                   MR. DeROSE:          Objection.             Calls -- wait,
15             wait.     Let me make my objections.                      Objections
16             to what an attorney's obligation is to this lay
17             person.
18                   Go ahead.
19      BY MS. WERMUTH:
20             Q.    And, in fact, in this letter Miss Visvardis
21      indicates that she or her firm was representing you
22      at the time; correct?
23             A.    She indicates that, yes.
24             Q.    Right.
25                   You don't think she's lying?

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                                                                                   Page 431
 1                 D. TRAHANAS - VOLUME II
 2           MR. DeROSE:         Objection to that question.
 3      Don't answer that?
 4           MS. WERMUTH:          On what basis?
 5           MR. DeROSE:         On your asking her to arrive
 6      at a conclusion of what someone else is doing.
 7      She's not here to be a jury.                       So I don't want
 8      her to answer that question.
 9           MS. WERMUTH:          She can answer it subject to
10      your objection.
11           MR. DeROSE:         Well, I -- I suggest not
12      Kate -- Counsel.           I don't think a judge is
13      going to ask a lay person to say if a lawyer
14      was lying in sending a letter, okay.                              So you
15      will have to bring that one in front of Judge
16      Mason.
17           MS. WERMUTH:          You know what, John, I don't
18      understand why your client is -- you have --
19      you have told me that she was represented by
20      Pam Visvardis at this time.                       I don't understand
21      why your client is suddenly taking the position
22      that she's not sure whether or not
23      Miss Visvardis or her firm was representing
24      her.    It's clear as day.                She is being
25      unnecessarily argumentative.

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                                                                                      Page 432
 1                 D. TRAHANAS - VOLUME II
 2           MR. DeROSE:         She hasn't argued with you
 3      about anything.
 4           MS. WERMUTH:          Sure she has.               She is asking
 5      the court reporter to read stuff back.                             She is
 6      asking you if you are making objections.                              She
 7      is arguing with me about her answers.
 8           MR. DeROSE:         Well, she will stop doing
 9      that --
10           MS. WERMUTH:          Thank you.
11           MR. DeROSE:         -- because I just told her
12      that.     But she has not raised her voice.                           She
13      has not --
14           MS. WERMUTH:          It doesn't matter.                    It
15      doesn't -- the voice isn't the -- the issue.
16      She is arguing with me on not answering
17      question.
18           MR. DeROSE:         Counsel, excuse me.                     I am the
19      one who objected to you asking her if she
20      thought her friend, a lawyer, was lying.                              And I
21      do not want her to answer that question,
22      because her opinion and conclusion about
23      whether another person is lying or not is
24      really not appropriate in this case.
25           MS. WERMUTH:          I'm going to ask this

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                                                                                Page 433
 1                         D. TRAHANAS - VOLUME II
 2             question, and I'm going to ask it, and I'm
 3             going to get an answer to it.
 4                   MR. DeROSE:          No, you're not, and I already
 5             told --
 6                   MS. WERMUTH:           Excuse me.
 7                   MR. DeROSE:          -- she is not going to answer.
 8                   MS. WERMUTH:           Hang on.           I'm going do this
 9             question, if I may.
10      BY MS. WERMUTH:
11             Q.    Miss Visvardis wrote on February 27th of
12      2015 that her firm represented you; correct?
13                   MR. DeROSE:          Asked and answered.
14      BY MS. WERMUTH:
15             Q.    Please answer.
16             A.    Yes.
17             Q.    And in this letter she threatens legal
18      action against Dr. Schwulst; is that correct?
19                   MR. DeROSE:          Can you led me to where you're
20             talking about?           What paragraph, Counsel?
21                   MS. WERMUTH:           She can read the letter and
22             answer the question.
23                   MR. DeROSE:          All right.             Take your time and
24             read the letter.
25             A.    Okay.     I'm finished reading.

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                                                                                Page 434
 1                         D. TRAHANAS - VOLUME II
 2      BY MS. WERMUTH:
 3             Q.    Okay.     And you would agree with me that in
 4      this letter legal action is threatened against
 5      Dr. Schwulst; correct?
 6             A.    I don't know if I would say -- I don't know
 7      if it technically counts as threatened, but it's
 8      asked to be complied with certain expectations.
 9             Q.    Well, so you've read the full letter;
10      correct?
11             A.    Yes.
12             Q.    You will turn to the second page with me,
13      please.
14             A.    Okay.
15             Q.    The final paragraph, it says, "If you fail
16      to comply with these demands, our client" -- that
17      refers to you; correct?
18             A.    Yes.
19             Q.    -- "our client has authorized us to file
20      suit against you in the Circuit Court of Cook
21      County."
22                   Do you see that?
23             A.    I see that.
24             Q.    Okay.     So the letter suggests that if
25      certain actions are not taken by Dr. Schwulst, you

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                                                                                   Page 435
 1                         D. TRAHANAS - VOLUME II
 2      have authorized a lawsuit to be filed against him;
 3      correct?
 4                   MR. DeROSE:          The letter says what it says.
 5                   MS. WERMUTH:           She can answer the question,
 6             John.
 7                   MR. DeROSE:          Would you read the question
 8             back so I -- I think it's -- you're asking
 9             about what the letter says.
10                   MS. WERMUTH:           Which I can do.
11                   MR. DeROSE:          Ma'am, would you read that
12             question back, please?
13                   (Record was read as requested.)
14                   MR. DeROSE:          Objection.             The letter says
15             what it says.
16                   MS. WERMUTH:           She can still answer the
17             question over your objections.
18                   MR. DeROSE:          All right.             Does the letter
19             say that?
20                   MS. WERMUTH:           John, it's my question.
21                   MR. DeROSE:          All right.             Go ahead.   Go
22             ahead, Counsel.
23             A.    If I heard correctly, you're asking if the
24      letter states that.             Yes, I do see that on the piece
25      of paper that the letter states that, yes.

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                                                                                    Page 436
 1                         D. TRAHANAS - VOLUME II
 2      BY MS. WERMUTH:
 3             Q.    Well, the letter wouldn't state that if you
 4      didn't authorize such action to be taken; correct?
 5                   MR. DeROSE:          Objection, Counsel.
 6             Objection.
 7                   MS. WERMUTH:           What is the basis for the
 8             objection, John?
 9                   MR. DeROSE:          Is that the letter says what
10             it says.       The author said that.                      You can't ask
11             her the letter wouldn't say something --
12                   MS. WERMUTH:           John --
13                   MR. DeROSE:          -- if she didn't authorize it.
14                   MS. WERMUTH:           John, let me take you back
15             through every deposition you took where you
16             read full pages of documents into the record
17             and asked my clients to confirm that it said
18             what it said.           If you don't like this, I'm
19             going to call Judge Mason, because there hasn't
20             been a question, a noncontroversial question
21             that I've asked today that hasn't elicited
22             either an argument from your client or an
23             argument from you.
24                   MR. DeROSE:          Here's your program, Counsel,
25             you had a nine-hour deposition where I never

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                                                                                  Page 437
 1                 D. TRAHANAS - VOLUME II
 2      requested one time that you contact the
 3      lawyer -- or the judge.                 I've never recommended
 4      that to any lawyer, only other lawyers who feel
 5      like they can't handle an appropriate question,
 6      go and talk to the judge.                   I don't really care.
 7           If you want to call the judge, the judge
 8      has a limited purpose for this deposition.                          You
 9      had nine hours to ask about all this, and you
10      did already.
11           MS. WERMUTH:          I didn't -- I didn't have
12      nine hours to ask about all this, because I've
13      learned through the course after her deposition
14      that there is certain e-mails that she never
15      produced.       So let me -- the judge has allowed
16      this deposition, regardless of what -- how many
17      hours --
18           MR. DeROSE:         For a limited purpose, not for
19      what -- what she's doing with her -- her
20      friend, who happened to be a lawyer at the
21      time.
22           MS. WERMUTH:          No, no, no, no.                 Her friend
23      who is representing her and threatening legal
24      action.      It's important to know when her
25      preservation obligation kicked in.

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                                                                                 Page 438
 1                         D. TRAHANAS - VOLUME II
 2                   MR. DeROSE:          And Dr. Schwulst's lawyer
 3             responded also threatening legal action against
 4             Diane.
 5                   MS. WERMUTH:           What is -- that's not the
 6             question, though.              The question is the judge
 7             allowed me to take the deposition of
 8             Ms. Trahanas a second time for this purpose.
 9             And I'm --
10                   MR. DeROSE:          All right.             Go ahead.   Let's
11             see if we can get through this somehow.
12                   MS. WERMUTH:           Yeah, let's do that.             Let's
13             do that, John.
14      BY MS. WERMUTH:
15             Q.    According to this letter, you authorized
16      legal action to be taken against Dr. Schwulst if he
17      failed to comply with the demands in this letter;
18      correct?
19             A.    I never signed an authorization form to --
20      to say --
21                   MR. DeROSE:          But that's what the letter
22             says.
23             A.    That's what the letter says, yes.
24      BY MS. WERMUTH:
25             Q.    Which means you told Pam that you would

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                                                                                Page 439
 1                         D. TRAHANAS - VOLUME II
 2      authorize legal action if he didn't comply; correct?
 3             A.    I don't recall what I told Pam.
 4             Q.    All right.         So if I have to take Pam's
 5      deposition, she'll tell me?
 6             A.    Well, I would believe it's privileged,
 7      then, if you're saying that she's a lawyer, but, I
 8      mean, that would be up to John I guess.
 9             Q.    I asked that question early on and your
10      lawyer told me he was waiving privilege over your
11      relationship with Miss Visvardis.
12             A.    For these --
13             Q.    Absolutely.
14             A.    -- for these documents, I believe.
15             Q.    Well, you can't do a limited waiver
16      Ms. Trahanas.
17                   MR. DeROSE:          All right.             Counsel, please.
18                   MS. WERMUTH:           Well, she's arguing with me.
19             A.    I'm just asking.
20                   MR. DeROSE:          Just answer the question.
21      BY MS. WERMUTH:
22             Q.    You can't ask questions in a deposition.
23      You're the witness.             I'm asking the question.
24             A.    I apologize.
25             Q.    You can talk to your lawyer on a break if

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                                                                                  Page 440
 1                         D. TRAHANAS - VOLUME II
 2      you'd like to do that.
 3                   MR. DeROSE:          All right.             Counsel, please.
 4                   MS. WERMUTH:           No.      You "please," John.
 5                   MR. DeROSE:          Will you ask you --
 6                   MS. WERMUTH:           You "please," John.
 7                   MR. DeROSE:          Just ask your questions.
 8                   MS. WERMUTH:           I'm trying.             Your client
 9             hasn't answered any question yet, literally.
10                   MR. DeROSE:          Well, Counsel, I disagree with
11             you, but go ahead.
12      BY MS. WERMUTH:
13             Q.    Did Miss Visvardis ever tell you about
14      Rule 37?
15             A.    No.
16             Q.    Did Miss Visvardis ever tell you about your
17      obligation to preserve relevant information in
18      connection with legal action?
19             A.    No.
20             Q.    Did you ever read Rule 37?
21             A.    Up until maybe if it was mentioned in your
22      letter to the judge, no.
23             Q.    So you have read it since I filed the
24      motion for sanctions?
25             A.    If it was in that letter, perhaps, but I

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                                                                                  Page 441
 1                         D. TRAHANAS - VOLUME II
 2      don't recall what it is.
 3                   MS. WERMUTH:           Can we mark this as 78,
 4             please.
 5                   (Trahanas Exhibit 78 marked for
 6             identification.)
 7                   MR. DeROSE:          Thank you.             Diane, can you
 8             push that over?
 9                   MS. WERMUTH:           Yeah, sorry.
10                   MR. DeROSE:          Never mind.              I got it.
11      BY MS. WERMUTH:
12             Q.    Okay.     Ms. Trahanas, you have now been
13      handed what's been marked as Deposition Exhibit 78.
14                   Do you recognize that document?
15             A.    No.
16             Q.    So you've never -- you've never read
17      Rule 37 before?
18             A.    Not in this document form, no.
19             Q.    Have you read it in any form?
20             A.    I don't recall.
21             Q.    At the time -- in February of 2015 -- so
22      let me go back to Exhibit 55, please.
23             A.    Okay.
24                   MR. DeROSE:          The last one was 78?
25                   MS. WERMUTH:           Correct.

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                                                                                Page 442
 1                         D. TRAHANAS - VOLUME II
 2                   MR. DeROSE:          Okay.           Thank you.
 3      BY MS. WERMUTH:
 4             Q.    By the way, I'm sorry, let me go back to
 5      Exhibit 55.        The first e-mail on the first page is
 6      from AMCAS to you; right?
 7             A.    Yes.
 8             Q.    Okay.     And one of the things that AMCAS
 9      tells you is that you can check the status of your
10      application throughout the admissions process by
11      logging in; right?
12             A.    Yes, it says that.
13             Q.    Okay.     Okay.        So you had the capability to
14      log in to AMCAS to see what schools were doing with
15      your applications while they were pending; is that
16      correct?
17             A.    I -- that can mean a lot of different
18      things.      I'm not sure exactly what you're asking me,
19      so I would ask you to rephrase it, if you could.
20             Q.    What -- what about my question do you not
21      understand, Ms. Trahanas?
22             A.    Checking on my status, I mean, I'm not sure
23      if you're saying if they received an evaluation
24      letter, if a grade was changed or I needed to update
25      like --

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                                                                                  Page 443
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Let me ask you this question:                       You had an
 3      AMCAS account; right?
 4             A.    Yes.
 5             Q.    Okay.     And you had electronic access to
 6      that account; right?
 7             A.    Yes.
 8             Q.    And you continue to have electronic access
 9      to that account; correct?
10             A.    Yes.     At the time, yes.
11             Q.    Well, do you continue to have access to
12      that account?
13             A.    When you have an application, yes.
14             Q.    Okay.     So in February of 2015 you had
15      access to that account?
16             A.    Correct.
17             Q.    Okay.     So you could go in to that account
18      and see whether or not schools had rejected you or
19      accepted you; correct?
20             A.    No.
21             Q.    That was not included among the information
22      that you could check?
23             A.    Not that I recall, no.
24             Q.    Okay.     Now if February of 2015 you had
25      already received a number of e-mails from schools

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                                                                                Page 444
 1                         D. TRAHANAS - VOLUME II
 2      rejecting your application; correct?
 3             A.    No.
 4             Q.    Zero?     You -- you hadn't received any?
 5             A.    I don't recall what I received.
 6             Q.    What was the gmail address account that you
 7      used in connection with your AMCAS application?
 8             A.    It's the account that's in front of us,
 9      diane.trahanas, T-r-a-h-a-n-a-s, at gmail.com.
10             Q.    And that's an e-mail account that you've
11      had how long?
12             A.    Maybe a couple years before 2015.                   I
13      couldn't tell you the year.
14             Q.    Okay.     And you continue to have that same
15      e-mail address; correct?
16             A.    Yes.
17             Q.    And so, as you sit here today, it's your
18      testimony that you cannot remember whether or not in
19      February 2015 you had received any rejection e-mails
20      from any of those medical schools you had applied to
21      for that cycle?
22             A.    If -- if I remember -- if I received any or
23      which one -- I'm sorry.                 Can -- can you repeat that?
24                   (Record was read as requested.)
25             A.    I can't remember what I had received or not

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                                                                                Page 445
 1                         D. TRAHANAS - VOLUME II
 2      received.
 3             Q.    Did you tell Pam Visvardis that you had
 4      already been rejected from some of these schools in
 5      February of 2015?
 6             A.    Other than the e-mail chain that you have
 7      in front of me, I don't recall any other further
 8      correspondence with Miss Visvardis.
 9             Q.    Okay.     So I'm not asking you if there is
10      other correspondence.               What I'm asking you is:            Have
11      you -- did you communicate in any form, written or
12      verbal or any chat, any form with Miss Visvardis
13      where you told her you had already been rejected
14      from some of the medical schools to which you had
15      applied?
16             A.    I don't recall.
17             Q.    Did you tell her that you hadn't completed
18      your application to some of the medical schools to
19      which you had applied?
20             A.    I don't recall.
21             Q.    And going back to what's been marked as
22      Deposition Exhibit 77, that letter sent on your
23      behalf was sent to Dr. Steven Schwulst; right?
24             A.    Yes.
25             Q.    It was not sent to the University; correct?

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                                                                                Page 446
 1                         D. TRAHANAS - VOLUME II
 2             A.    Correct.
 3             Q.    Okay.     And so, when you had authorized
 4      legal action at that point in time, you had
 5      authorized it only against Dr. Schwulst; correct?
 6             A.    I'm not trying to be argumentative, but,
 7      again, I don't know what "authorized" -- the
 8      definition of "authorized" in the legal realm is.
 9      So it says it in the letter.
10             Q.    Well, there's nothing in the letter that
11      suggests that you're contemplating taking legal
12      action against the University at that point in time;
13      would you agree with me?
14             A.    Yes, I would agree with that.
15             Q.    And -- and is it true that you didn't
16      consider that until you engaged Mr. DeRose?
17             A.    Correct.
18             Q.    Okay.     And when did you engage Mr. DeRose?
19             A.    Sometime later in 2015, maybe the summer,
20      early summer.
21             Q.    June or July of 2015?
22             A.    I believe so, yeah, around that time.
23             Q.    Do you have an engagement letter with
24      Mr. DeRose?
25             A.    If that's a contract, then yes.

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                                                                                Page 447
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Okay.     All right.            So I'd like to talk to
 3      you a little bit about your gmail account.                       You gave
 4      us the address of your gmail account already.                        And
 5      just so that I'm clear, that was the address that
 6      you used to apply to medical schools in the 2015
 7      cycle; correct?
 8             A.    That's the address that's in association
 9      with my AMCAS application, but you don't use the
10      e-mail address, right, to apply to the schools.
11             Q.    Well, you -- you submitted that e-mail
12      address in your AMCAS application; correct?
13             A.    Correct.
14             Q.    And -- and then in your AMCAS application
15      you identify which schools you are applying to;
16      correct?
17             A.    Yes.
18             Q.    And AMCAS pushes your information to those
19      schools; correct?
20             A.    Yes.
21             Q.    Including your gmail address; right?
22             A.    I don't get a copy of what the schools get
23      into my gmail account.
24             Q.    Okay.
25             A.    We -- we put our information into AMCAS.

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                                                                                  Page 448
 1                         D. TRAHANAS - VOLUME II
 2      We pay them, and they distribute it to the schools.
 3             Q.    Okay.     But you do hear back directly from
 4      the schools; correct?
 5             A.    Sometimes yes, sometimes no.
 6             Q.    How many times have you applied to medical
 7      school?
 8             A.    I believe I already asked and answered
 9      this.     2008, 2015, and 2018.
10             Q.    Three times only?
11             A.    That I can recall, yes.
12             Q.    All right.         So when you -- and by the way,
13      you know that I asked you to bring your login
14      credentials to your gmail account; correct?
15                   MR. DeROSE:          And I objected to it.
16                   MS. WERMUTH:           I understand.
17      BY MS. WERMUTH:
18             Q.    I'm asking --
19                   MR. DeROSE:          All right.             Counsel, but I
20             want to make that clear.                    Go ahead.
21      BY MS. WERMUTH:
22             Q.    You understand that I asked you to bring
23      those; correct?
24             A.    Yes, I did see that.
25             Q.    Okay.     And you -- is it your position that

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                                                                                Page 449
 1                         D. TRAHANAS - VOLUME II
 2      you will not log into your gmail account during this
 3      deposition today?
 4             A.    It is my position that the judge did not
 5      grant you access to review my gmails.
 6             Q.    Okay.     So I'm going to -- I disagree with
 7      you on the -- what the judge actually ordered,
 8      but -- so let me ask you this question.
 9             A.    Okay.
10             Q.    As you sit here today, are you going to
11      allow me to ask you to log into your gmail account?
12             A.    That's access by proxy, so no.
13             Q.    You're not going to?
14             A.    Correct.
15             Q.    Okay.     So --
16                   MR. DeROSE:          That's also following the
17             advice of her lawyer, but go ahead.
18      BY MS. WERMUTH:
19             Q.    Okay.     So let me ask you this, when you log
20      into your gmail account, do you have folders, e-mail
21      folders?
22             A.    Folders, I'm not sure -- there is -- are
23      folders the same thing as tabs?                        Or I guess I can't
24      ask you a question.
25                   Can you please be more specific?

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                                                                                Page 450
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Do you have an inbox?
 3             A.    Yes.
 4             Q.    Do you have an outbox?
 5             A.    Yes.
 6             Q.    Do you have a sent items?
 7             A.    Yes.
 8             Q.    Do you have a trash folder?
 9             A.    Yes.
10             Q.    Do you have an archive folder?
11             A.    I don't use it.              I don't know.
12             Q.    You don't know?
13                   Do you have -- do you have an important
14      folder?
15             A.    I don't recall.              It's possible.
16             Q.    What about a starred folder?
17             A.    I believe so.
18             Q.    Do you have an importance folder?
19                   MR. DeROSE:          Importance as opposed to
20             important?
21                   MS. WERMUTH:           Important.
22             A.    I don't recall.
23      BY MS. WERMUTH:
24             Q.    Now, if you -- if you logged into your
25      e-mail here, you could tell me whether or not you

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                                                                                Page 451
 1                         D. TRAHANAS - VOLUME II
 2      have those folders, right, because you would be able
 3      to see your e-mail?
 4             A.    Probably, yeah.
 5             Q.    Okay.     Do you have a spam folder?
 6             A.    I don't know if that's a folder.
 7             Q.    Okay.     Can you identify any other folders
 8      or categories of e-mails that you have that I
 9      haven't gone through?
10             A.    I think if you mean by categories, there
11      is, like, promotional type stuff.
12             Q.    Okay.     Any others?
13             A.    But I don't know if that's necessarily what
14      you mean by "folder."               That's all I can recall at
15      this time.
16             Q.    In connection with your medical school
17      applications, did you create a medical school
18      folder?
19             A.    I don't recall.
20             Q.    As you sit here today, do you have a folder
21      where you keep your medical school application
22      information in your gmail?
23             A.    I don't recall.
24             Q.    But if you looked at your gmail account,
25      you could answer that question; correct?

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                                                                                Page 452
 1                         D. TRAHANAS - VOLUME II
 2             A.    I'm not sure.
 3             Q.    Well, if you looked at it, you could see
 4      whether or not you had a folder for your medical
 5      school applications; correct?
 6             A.    Sure, but I wouldn't be able to tell you
 7      exactly what's in there by just looking at the
 8      folder.      Right?
 9             Q.    That's not what I -- okay.
10                   But you could tell me whether or not you
11      had a folder that you designated for medical school
12      applications?
13             A.    Yes.
14             Q.    Correct?
15             A.    Yes.
16             Q.    But as you sit here now, you can't answer
17      that question, because you're not going to log in;
18      correct?
19             A.    Correct.
20             Q.    Are you familiar with gmail settings?
21             A.    I'm not sure if we would have the same
22      definition of "familiar," so I'm going to say I'm
23      not sure.
24             Q.    Well, tell me what you define settings to
25      be, then.

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                                                                                Page 453
 1                         D. TRAHANAS - VOLUME II
 2             A.    You open up the screen, and maybe your
 3      background and, like you said, an inbox folder, a
 4      sent folder, and there is a settings icon
 5      somewhere --
 6             Q.    Right.
 7             A.    -- on the page.
 8             Q.    Right.      And it looks like a little gear.
 9                   Would you agree with me?
10             A.    Yes.
11             Q.    And if you click on that little gear, you
12      can change the settings in connection with your
13      gmail account; correct?
14             A.    Yes.
15             Q.    Okay.     And do you -- as you sit here today,
16      can you tell me how your gmail account is set up?
17             A.    I have no idea.
18             Q.    No idea.
19                   Have you ever gone into that settings tool
20      to change your settings in your gmail account?
21             A.    It's possible to change a password or a
22      privacy.      It's possible.
23             Q.    When's the last time you went into settings
24      and made any changes in your gmail account settings?
25             A.    I don't -- I don't recall.

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                                                                                Page 454
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Did you -- excuse me.
 3                   When you threatened -- or when you -- your
 4      friend/lawyer Pam Visvardis sent a letter to
 5      Dr. Schwulst in February of 2015, at that point in
 6      time did you change any of your settings in your
 7      gmail account?
 8             A.    I don't recall.
 9             Q.    When you filed your charge of
10      discrimination against the University, did you
11      change any settings your gmail account?
12             A.    I don't recall.
13             Q.    What you filed your lawsuit against
14      Dr. Schwulst and the University, did you change any
15      settings in your gmail account?
16             A.    I don't recall.
17             Q.    And during the pendency of the litigation,
18      since have you changed the settings in your gmail
19      account?
20             A.    I don't recall.
21                   MS. WERMUTH:           Mark this as 79, please.
22                   (Trahanas Exhibit 79 marked for
23             identification.)
24                   MR. DeROSE:          Thank you, Counsel.            Good job.
25      ///

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                                                                                Page 455
 1                         D. TRAHANAS - VOLUME II
 2      BY MS. WERMUTH:
 3             Q.    Okay.     Ms. Trahanas, I'm showing you a
 4      screenshot of a gmail account to see if we can --
 5      since -- since we can't see yours, to see if we can
 6      get some clarity around some of these issues.
 7                   So in the -- on the right, upper right
 8      corner there is a little sort of circular gear icon.
 9                   Do you see that?
10             A.    The colored one, I'm sorry, or the one with
11      the bell?
12             Q.    So underneath the bell.
13             A.    Oh, yes.
14             Q.    Do you see it looks like a gear?
15             A.    Yes.
16             Q.    You understand that to be the setting icon;
17      correct?
18             A.    Yes, yes.
19             Q.    Okay.     And when you go to the left, you'll
20      see there is an inbox, a starred box, a snoozed box.
21                   Do you see me?
22             A.    Yes, I follow.
23             Q.    Okay.     Sent, drafts, and then there is
24      categories.
25                   Do you see all of these on the -- on the

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                                                                                Page 456
 1                         D. TRAHANAS - VOLUME II
 2      left?
 3             A.    Yes.
 4             Q.    Okay.     Are there any, as you sit here today
 5      looking at these, are there any on the left side
 6      here that you don't have in your account?
 7             A.    Snoozed.
 8             Q.    You don't have snoozed?
 9             A.    No.
10             Q.    Okay.     Any -- any else?
11             A.    Categories.
12             Q.    So the promotions issue that you talked
13      about before is not in a categories file on your
14      gmail?
15             A.    The promotions I was referring to is if you
16      look closer to the top of the page, is if it looks
17      like a tab, that's the promotions I was referring
18      to.
19             Q.    Do you see, though, that same word and icon
20      is under categories as well?                      So do you see how
21      categories has a little arrow, and then there's four
22      sub --
23             A.    Oh, yes.
24             Q.    -- folders --
25             A.    I see that.

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                                                                                   Page 457
 1                         D. TRAHANAS - VOLUME II
 2             Q.    -- social, updates, forums, and promotions.
 3                   So you don't have a categories file?                      You
 4      would just have one that says promotions; is that
 5      your testimony?
 6             A.    I've never noticed it in this format on the
 7      left-hand side.          I've only see it where it's on the
 8      top.
 9             Q.    Okay.     Any other folders or icons along the
10      left that you don't have?
11             A.    I don't recall most of these, other than
12      sent, drafts, trash.              I've never ever in my life
13      seen "managed labels."                So sent, draft.            Perhaps
14      there's a starred.             I don't know what "less" is.
15      I've never seen that icon.                   Did I -- I'm not sure if
16      I already said trash, but I've seen that.
17             Q.    Inbox you have; correct?
18             A.    Yes, inbox.
19             Q.    What about chat, do you have gmail chat?
20             A.    I don't recall it going a folder.
21             Q.    But you do have gmail chat; correct?
22             A.    I don't know.
23             Q.    Okay.     I think your testimony last time
24      indicated that you did.
25                   Any other folders that are not listed here

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                                                                                Page 458
 1                         D. TRAHANAS - VOLUME II
 2      or icons not listed here that you use to organize
 3      your e-mails?
 4             A.    I'm not sure if spam is, like, an automatic
 5      default of gmail, but I don't have a folder that
 6      I've created.         But other than that, I don't -- I
 7      don't recognize any other folders.
 8             Q.    Okay.     And are there any folders that you
 9      created that are not default gmail accounts that
10      don't show up on this particular exhibit?
11             A.    Yes.
12             Q.    What are those?
13             A.    Workout routines.
14             Q.    Any others?
15             A.    I don't recall definitively what they are.
16             Q.    Do you have any -- well, do you recall
17      generally what any of them are, or might be, if not
18      definitively?
19             A.    Something with workout routines, or soccer,
20      nutrition, something like that.
21             Q.    No others?
22             A.    Not that I recall.
23             Q.    What about one in connection with your
24      litigation that's pending currently against
25      Dr. Schwulst and the University?

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                                                                                Page 459
 1                         D. TRAHANAS - VOLUME II
 2             A.    No.
 3             Q.    What about one related to your work at
 4      Northwestern University?
 5             A.    No.
 6             Q.    When you were employed at Northwestern
 7      University, you had a Northwestern University e-mail
 8      account; correct?
 9             A.    Yes.
10             Q.    And you also had a gmail account, correct,
11      that you used for work; correct?
12             A.    Yes.
13             Q.    And did you somehow connect those two
14      accounts to one another?
15             A.    At some point, yes.                  I don't recall when.
16             Q.    And how -- how is it that you did that?
17             A.    I don't recall.
18             Q.    So as you sit here today, you can't tell me
19      how you connected those two e-mail accounts?
20             A.    I would imagine I asked IT at Northwestern
21      to help me with that.               I don't know how to do that.
22             Q.    And did -- did IT help you connect those
23      e-mail accounts?
24             A.    I would be speculating.                     Like I said, I'm
25      not familiar with it, so I'd rather not assume.

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                                                                                   Page 460
 1                         D. TRAHANAS - VOLUME II
 2             Q.    I don't understand your answer.                     I think
 3      you testified that you would have worked with IT to
 4      connect the two accounts?
 5             A.    I don't recall specifically, but if I don't
 6      remember how to do any of that, or I don't know,
 7      then yes, I probably would have used a resource like
 8      that, yes.
 9             Q.    Did you disconnect those accounts at some
10      point in time?
11             A.    Not that I recall, no.
12             Q.    And so, is there a way in looking at your
13      gmail to see whether or not there's an import of
14      Northwestern e-mails?
15             A.    Not that I know of.
16             Q.    When e-mails come in -- strike that.
17                   In settings -- strike that.
18                   Do you have any filters set up on your
19      incoming e-mail?
20             A.    Not that I know of.                  I don't -- I don't
21      know.
22             Q.    Okay.     So you don't recall setting up any
23      filters to send particular e-mails to particular
24      places when they come in?
25             A.    Correct.

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                                                                                Page 461
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Okay.     And do you have any auto delete set
 3      up on your e-mail?
 4             A.    I don't know.
 5             Q.    And why is it that you don't know?
 6                   MR. DeROSE:          Objection to the form of the
 7             question.
 8                   Counsel, I got to tell you I'm amazed with
 9             the familiarity the two of you have with this,
10             but why you don't know something -- go ahead
11             and answer it, if you have any way to answer
12             that.
13             A.    I'm not a computer expert, so I can't know
14      every possible setting or default for everything we
15      use.
16      BY MS. WERMUTH:
17             Q.    Have you ever gone into your settings to
18      determine what the defaults are on your gmail
19      account?
20             A.    I don't recall.
21             Q.    And once you initiated legal action, did
22      you go in to your settings to make sure that if
23      there were any defaults, you turned them off so as
24      to not destroy relevant information?
25             A.    I don't recall.

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                                                                                     Page 462
 1                         D. TRAHANAS - VOLUME II
 2             Q.    And you haven't done that since I took your
 3      deposition in January of last year; correct?
 4             A.    I'm sorry.         Can you -- can you repeat that?
 5             Q.    You haven't -- you said you don't recall,
 6      but let me ask you this question:                          In the last year
 7      since I took your deposition, have you gone into
 8      your settings to make sure that any auto deletes
 9      have been turned off?
10             A.    I don't recall.
11                   MS. WERMUTH:           Can we have this marked,
12             please.
13                   (Trahanas Exhibit 80 marked for
14             identification.)
15                   MS. WERMUTH:           I'm sorry.             Got it.
16                   MR. DeROSE:          Yeah, thank you.               And I'm
17             learning a lot, because I don't know half the
18             things you ladies are talking about, but go
19             ahead.
20                   MS. WERMUTH:           Is this Exhibit 80?              Thank
21             you.
22      BY MS. WERMUTH:
23             Q.    Okay.     So you've been handed, Ms. Trahanas,
24      what's been marked as Exhibit 80.                          And you see sort
25      of in the -- in the middle of the page near the top

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                                                                                Page 463
 1                         D. TRAHANAS - VOLUME II
 2      where it says "search e-mail."
 3                   Do you see that?
 4             A.    Yes.
 5             Q.    And then just below that it says
 6      "settings."
 7                   Do you see that?
 8             A.    Yes.
 9             Q.    Okay.     And then under settings there is
10      several hyperlinks, and you can see that one of them
11      is underlined and in the color blue.
12                   Do you see that?
13             A.    Yes.
14             Q.    Okay.     So one of the settings is general,
15      one is labels, one is inbox, one is accounts and
16      imports, filters and blocked addresses, forwarding
17      and POP/IMAP, add-ons and chat.
18                   Do you see that?
19             A.    Yes, I do.
20             Q.    Okay.     Have you ever gone into this
21      settings tab to see these hyperlinks?
22             A.    It's possible at some point, but I don't
23      recall.
24             Q.    Okay.     Do you know what POP or IMAP stands
25      for?

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                                                                                Page 464
 1                         D. TRAHANAS - VOLUME II
 2             A.    No.
 3             Q.    Do you know whether or not POP and IMAP
 4      have anything to do with how e-mails are stored on a
 5      server?
 6             A.    No.    I have no idea.
 7             Q.    Okay.     And you can see from these two pages
 8      that I clicked on that particular link, forwarding
 9      and POP/IMAP.
10                   Do you see that?
11             A.    Yes.
12             Q.    Okay.     And if you look at POP download, do
13      you see that?
14             A.    Yes.
15             Q.    Okay.     And it allows you to enable POP for
16      all e-mail or for types of e-mail, do you see
17      that -- or based on dates.
18                   Do you see that?
19             A.    Yes.
20             Q.    And you'll see also that you can indicate
21      where POP e-mails ought to be, if you look at number
22      two, where POP e-mails ought to be moved once they
23      are accessed.
24                   Do you see that?               There is a drop down box
25      there.

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                                                                                Page 465
 1                         D. TRAHANAS - VOLUME II
 2             A.    So number two?
 3             Q.    Correct.
 4             A.    When messages are accessed with POP, keep
 5      gmail's copy in the inbox.                   That's what I'm reading.
 6             Q.    Right.
 7             A.    Okay.     I follow you.
 8             Q.    And you -- have you ever looked at that?
 9             A.    Not that I can recall.
10             Q.    Have you ever indicated where those
11      messages accessed with POP should be moved once they
12      are accessed?
13             A.    Can I ask what POP is or can -- I don't --
14      I can't answer the question, because I'm not sure
15      what POP is.
16             Q.    My question is:              Have you ever looked at
17      this and directed where those e-mails ought to be
18      located?
19             A.    Not that I can remember, no.
20             Q.    Okay.     Do you see in the next section where
21      it says IMAP access?
22             A.    Underneath, yes.
23             Q.    Yes.
24                   And then, on the next page under IMAP it
25      says, "When I mark a message in IMAP as deleted,"

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                                                                                    Page 466
 1                         D. TRAHANAS - VOLUME II
 2      and then there are options, auto expunge on, auto
 3      expunge off.
 4                   Do you see that?
 5             A.    I do see.
 6             Q.    Have you, in connection with this
 7      litigation, gone in to see whether or not you have
 8      an auto expunge on or off?
 9             A.    I have never made any adjustments to my
10      gmail to change anything.
11             Q.    Anything ever?
12             A.    In correlation with this litigation, to
13      change anything in my settings.
14             Q.    So in the -- if the default auto expunge is
15      on, you never went in to turn it off?
16             A.    I don't recall seeing this.                         I don't know.
17             Q.    I think you just testified that you've
18      never made any changes to your settings in
19      connection with the litigation --
20             A.    Right.
21             Q.    -- correct?
22             A.    I don't recognize this.
23             Q.    So you have not turned auto expunge off
24      since filing your lawsuit; correct?
25             A.    I -- I can't tell you either way.                         I don't

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                                                                                 Page 467
 1                         D. TRAHANAS - VOLUME II
 2      know what the default is.
 3             Q.    Well, it says what the default is, right,
 4      auto expunge on; right?                 It says default at the end
 5      of that entry.
 6             A.    It says -- it says it for this account.
 7      I'm not sure if it's different for different gmail
 8      accounts.
 9             Q.    And you didn't bother to go in and look
10      whether or not auto expunge was on or off?                          Is
11      that -- do I understand your testimony correctly?
12             A.    I -- I don't know.                   I don't recall.
13             Q.    Is it I don't know, I don't recall, or I
14      didn't do it, because you've said all three now?
15      Which one is it?
16             A.    I'm not sure what the default is, so I
17      can't speak to one or the other.                          I don't -- I don't
18      recognize this page, as I've said.
19             Q.    Okay.     Regardless of what the default may
20      be in your gmail, what you're telling me is you
21      didn't bother to look what the default was in your
22      gmail account; correct?
23             A.    I was never instructed to look.
24             Q.    Okay.
25             A.    So . . .

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                                                                                Page 468
 1                         D. TRAHANAS - VOLUME II
 2             Q.    And so, you didn't; correct?
 3             A.    I don't recall.
 4             Q.    And as you sit here today, you cannot tell
 5      me that you took any measures to make sure that
 6      relevant e-mails in your gmail account were not
 7      being auto expunged in connection with your legal
 8      claims against Dr. Schwulst or the University?
 9             A.    That's not what I said.
10             Q.    That's my question.
11             A.    I don't recall what exactly -- my settings
12      there is.
13             Q.    Okay.     That's not my question.
14                   My question is:              You did not take any steps
15      in your gmail account to make sure that e-mails that
16      were relevant to the litigation were not being auto
17      expunged; is that fair?
18             A.    I don't even know what -- I don't think I
19      understand the question.
20             Q.    Setting aside this particular page --
21             A.    Okay.
22             Q.    -- did you -- when you were thinking about
23      filing claims against Dr. Schwulst, did you go into
24      your gmail account to preserve and make sure that
25      e-mails were not being deleted?

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                                                                                    Page 469
 1                         D. TRAHANAS - VOLUME II
 2             A.    As far as I know, if you don't delete
 3      something, it doesn't get deleted.
 4             Q.    Okay.     So let me ask you about your
 5      deletion practices, then.                   When e-mails come into
 6      your gmail inbox, what do you do with them?
 7             A.    Can you be more specific?
 8             Q.    When you get an e-mail to your gmail
 9      account, what do you do with it?
10             A.    It depends on the e-mail.                      It depends on
11      the time.
12             Q.    Okay.     So what are the variety of options
13      that you would do with an e-mail that comes into
14      your gmail account?
15             A.    If I happen to see it, and it's important,
16      I might open it.           If it's not, I may open it later.
17      I may not ever get to it.                   I may forget about it.
18      There is a lot of things that people do with
19      e-mails.
20             Q.    I'm asking what you do.
21             A.    I'm just giving you an example.                      I'm one of
22      those people.         I -- it would depend on the time and
23      where I'm at and what I'm doing.
24             Q.    So if it was a work-related e-mail, what
25      would you do with it?

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                                                                                Page 470
 1                         D. TRAHANAS - VOLUME II
 2             A.    At the time that I was at Northwestern or
 3      now?
 4             Q.    When you were at Northwestern and you got a
 5      work e-mail, what would you do with it?
 6             A.    It depends who it was from.
 7             Q.    Okay.
 8             A.    So if it was from my superiors, that would
 9      take priority.
10             Q.    So you would read it?
11             A.    More than likely, yes.
12             Q.    Yeah.
13                   And after you read it, what would you do
14      with it?
15             A.    Address whatever they were asking me to do
16      in the e-mail.
17             Q.    Okay.     What did you do with the e-mail, is
18      my question, not what did you do in response to any
19      instruction?        What did you do with the e-mail after
20      you read it?
21             A.    With any e-mail or the -- like, I'm not
22      sure which "the e-mail" --
23             Q.    We were talking about your work e-mails,
24      weren't we, Ms. Trahanas?
25             A.    Sure.

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                                                                                Page 471
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Okay.     So you get a work e-mail from one of
 3      your superiors, right --
 4             A.    Okay.
 5             Q.    -- which is what you said.
 6             A.    Sure.
 7             Q.    You will open it and read it, right,
 8      because you said you would give priority to that?
 9             A.    Sometimes yes, but it depends if I was busy
10      that day or not, or where I was, what we were doing,
11      what it was in relation with.
12             Q.    Okay.     So there would be some e-mails you
13      wouldn't look at at all, even though they were work
14      related, you would never read them; is that your
15      testimony?
16             A.    It's possible, but not that I recall, no.
17             Q.    Okay.     And so, after you read an e-mail
18      from work, I don't care if you read it immediately
19      or an hour later or two days later, once you read an
20      e-mail from work, what did you do with the e-mail?
21             A.    I don't know.            I mean, I would address
22      what's in the e-mail.               If I needed to forward it to
23      somebody, I would forward it.                      If I needed to reply,
24      I would reply.         If I needed to, you know, send it
25      over to Harris, or send it over to Steve, or print

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                                                                                  Page 472
 1                         D. TRAHANAS - VOLUME II
 2      out a result that's from that e-mail, depending on
 3      what experiment we were working on, I would print
 4      out, you know, the attachment.                       I don't know.
 5             Q.    Would you archive it?
 6             A.    I don't know how to ar- -- no, I don't.
 7             Q.    Would you delete it?
 8             A.    If it was -- it's possible I've deleted an
 9      e-mail from work while I was at Northwestern.                         I
10      don't know.
11             Q.    Do you have any practices with respect to
12      organizing your gmail e-mails?
13             A.    No, I have an inbox.
14             Q.    You have an inbox.
15                   And do you clean out that inbox from time
16      to time?
17             A.    If it's spam mail, yeah, I will delete an
18      e-mail.
19             Q.    Okay.     What about if it's work related, do
20      you clean out your inbox?
21             A.    Again, it depends on the relevancy of the
22      e-mail.      If people were e-mailing me nonsense, or
23      Okay, see you in five, or some miniscule thing, then
24      I'd probably end up deleting it.                         I'm not sure.
25             Q.    Would you put it into a folder?

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                                                                                Page 473
 1                         D. TRAHANAS - VOLUME II
 2             A.    It would be in the deleted folder, the
 3      trash.
 4             Q.    Okay.     So if you deleted something, it
 5      would go into trash?
 6             A.    I believe, yeah.
 7             Q.    Okay.     Did you organize your e-mails into
 8      other types of folders, like these are -- these are
 9      experiment-related e-mails?
10             A.    No.
11             Q.    No.    So it would either be in your inbox or
12      in your trash?
13             A.    Correct.
14             Q.    Okay.     And right this minute, can you tell
15      me how far back in time you have e-mails from
16      your -- in your inbox in your gmail account?
17             A.    At least until two thousand maybe -- prior
18      to me starting at Northwestern, at least.                        So I
19      started in June of 2012.                  I'm not sure if it's that
20      year or the year before.                  I couldn't tell you.
21             Q.    So in your e-mail box right now, your
22      inbox -- I'm sorry.             Strike that.
23                   In your inbox in your gmail account right
24      this minute you have e-mails dating back, you think,
25      at least until 2012 and maybe earlier?

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                                                                                 Page 474
 1                         D. TRAHANAS - VOLUME II
 2             A.    I don't know for sure.
 3             Q.    Okay.     You do know that you have produced
 4      e-mails to us in this litigation dating back to
 5      2012?
 6             A.    Correct, that's why I say at least until
 7      2012.
 8             Q.    Okay.     And are you familiar with org- --
 9      filtering your e-mails from the sender?                          Do you know
10      how to do that?
11             A.    No.
12             Q.    Okay.     So you don't know how to create a
13      rule that allows you to look at all the e-mails from
14      a particular sender?
15             A.    When you say "filter," I would assume that
16      that means block -- like block somehow or redirect
17      it.
18             Q.    No, I'm talking more about a sort.
19                   So, like, do you know how in gmail to say,
20      okay, I want to see all my e-mails from
21      Dr. Schwulst?
22             A.    Sure, you search for it.
23             Q.    Beyond searching, do you know that you can
24      apply a rule that allows you to sort by sender?
25             A.    In a possible setting, yes.

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                                                                                Page 475
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Okay.
 3             A.    It's possible.
 4             Q.    And did you do that in connection with
 5      pulling e-mails that were relevant to the document
 6      requests that we made in this case?
 7             A.    I don't recall.
 8             Q.    How many times have you searched your
 9      e-mail in connection with the lawsuit pending in
10      this case?
11             A.    I can't give you a number.
12             Q.    Can you give me an approximate number?
13             A.    I'd be speculating either way, so I'd
14      rather not.
15             Q.    Was it one time?               Did you search one time?
16             A.    I'd be speculating either way, but clearly
17      not one time, no.
18             Q.    Was it ten times?
19             A.    It was much more than ten.
20             Q.    More than ten times?
21             A.    Much more.
22             Q.    Twenty times?
23             A.    Much more.
24             Q.    Fifty times?
25             A.    Are you saying for a specific thing or are

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                                                                                   Page 476
 1                         D. TRAHANAS - VOLUME II
 2      you saying in general?
 3             Q.    In connection with the legal claims that
 4      you have pending against Dr. Schwulst and
 5      Northwestern University, how many times have you
 6      searched your gmail account to find relevant
 7      e-mails?
 8             A.    I can't give you a specific number.                      It's a
 9      lot.
10             Q.    Is it 50 times?
11             A.    It's a lot.
12             Q.    So more than 20; yes?
13             A.    More than 50, could be more than 100, could
14      be more than 200.            I honestly couldn't tell you the
15      number.      It's a lot.
16             Q.    More than 200 times that you searched your
17      gmail account for relevant e-mails?
18                   MR. DeROSE:          She said she can't tell you.
19             Counsel, that's not fair.                     She said she can't
20             tell you.
21                   MS. WERMUTH:           She's giving me numbers.               I'm
22             trying to hone in on the number she's giving
23             me.    Please don't instruct her.
24                   MR. DeROSE:          Well, but please.              I don't
25             want you to guess.

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                                                                                 Page 477
 1                         D. TRAHANAS - VOLUME II
 2                   But go ahead, Counsel.                    The way that
 3             questioning pattern came out, I think you're
 4             asking her to guess, but go ahead.                        Go ahead,
 5             Counsel.
 6      BY MS. WERMUTH:
 7             Q.    Can you give me an approximation of the
 8      number of times you searched your gmail account for
 9      relevant e-mails in connection with this litigation?
10             A.    I can't give you a specific number.
11             Q.    Did you document your searches in any way?
12             A.    No.
13             Q.    Did you confer with your counsel on which
14      search terms you should be using?
15             A.    Yes, he --
16             Q.    I don't want to know exactly what he
17      told --
18             A.    Yeah.
19             Q.    -- you, but you did have conversations with
20      your counsel on the topic of search terms?
21             A.    On being thorough with my searches, yes.
22             Q.    I'm --
23                   MR. DeROSE:          That's about all I could tell
24             her, by the way.             I don't know how to do all
25             this stuff, but go ahead, Counsel.

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                                                                                  Page 478
 1                         D. TRAHANAS - VOLUME II
 2      BY MS. WERMUTH:
 3             Q.    Okay.     I'm not asking about thoroughness.
 4      I'm asking about specific search terms.
 5                   Did you have conversations with your
 6      counsel about specific search terms?
 7             A.    I'm not sure if that's really privileged.
 8                   MR. DeROSE:          And, Counsel, I don't know how
 9             to give her search terms, so, but go ahead.
10                   And don't guess.               If you know an answer,
11             tell her yes or no.
12                   MS. WERMUTH:           Please don't instruct the
13             witness during the course of the deposition.
14                   MR. DeROSE:          Counsel, please don't give me
15             instructions of how I shall proceed in this
16             deposition.         I've been very patient with you.
17             Go ahead.
18                   MS. WERMUTH:           You're instructing the
19             witness during the course of the deposition,
20             which is not proper.                 I'm going to say that.
21                   MR. DeROSE:          Counsel, please.               I don't need
22             your instruction of what's proper.                         I will try
23             to conform myself to the Federal Rules of
24             Evidence, and I'm trying not to interrupt at
25             all, but you're asking her did I give her

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                                                                                Page 479
 1                         D. TRAHANAS - VOLUME II
 2             search terms.           I can't do it.
 3      BY MS. WERMUTH:
 4             Q.    So the answer is no, you didn't discuss
 5      specific search terms with your counsel?
 6             A.    No, he didn't instruct me on what to
 7      search.
 8             Q.    When did you start using Gchat?
 9             A.    I don't know.
10             Q.    Does it go back as far as 2012, Gchat?
11             A.    I don't recall.
12             Q.    Do you use the Google Drive at all?
13             A.    Yes.
14             Q.    And do you back up files on -- on Google
15      Drive?
16             A.    No.
17             Q.    You've never backed up files on Google
18      Drive?
19             A.    I didn't say never, but I -- I don't
20      practice that.
21             Q.    Have you ever done that?
22             A.    Yes.
23             Q.    When was the last time you did that?
24             A.    A couple of days ago.
25             Q.    Why?

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                                                                                   Page 480
 1                         D. TRAHANAS - VOLUME II
 2             A.    For a soccer schedule for work.
 3             Q.    When was the time before that that you
 4      backed up your files on Google Drive?
 5             A.    I don't know.
 6             Q.    Did you back up your Google Drive files
 7      when you filed your lawsuit against Northwestern and
 8      Dr. Schwulst?
 9             A.    So backed up files and download I think --
10      I'm not sure if -- I want to make sure that we're
11      both on the same page.                So are you assuming
12      downloading and -- can you be more specific on
13      downloading versus backing up?
14             Q.    I didn't say downloading.                      I asked you if
15      you backed up files on Google Drive, saved them and
16      backed them up so that they were preserved.                          Did you
17      do that?
18             A.    Yes, save files on Google Drive, yes.
19             Q.    And did you back up those files to make
20      sure that they stayed intact?
21             A.    They are in Google Drive.                      That's where
22      they are.
23             Q.    And your e-mail is connected to Google
24      Drive; correct?
25             A.    It's connected to Google.                      I don't know

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                                                                                 Page 481
 1                         D. TRAHANAS - VOLUME II
 2      necessarily it's connected to the gmail account.
 3             Q.    And you didn't bother to check; correct?
 4             A.    It's available to me.                   I mean, it's there.
 5      That's how I checked, I guess.
 6             Q.    Have you been backing up your e-mails on
 7      Google Drive?
 8             A.    No.
 9             Q.    You've never done that?
10             A.    No.
11             Q.    When you were applying to medical school,
12      how frequently were you checking your gmail account
13      in 2014 and 2015?
14             A.    It was my primary means of communication
15      for work, so I would assume once a day.
16             Q.    Okay.     And -- and did you have a process
17      for going through your e-mails when you looked at it
18      at least once a day?
19             A.    Like I said, I would try and prioritize it,
20      especially if it was a busy day, like an
21      experimental day.
22             Q.    Okay.     And what if you got e-mails from a
23      medical school in that late 2014/early 2015 time
24      frame, what did you do with those e-mails?                       Would
25      you review them?

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                                                                                Page 482
 1                         D. TRAHANAS - VOLUME II
 2             A.    I'm -- yes, I suppose.
 3             Q.    And you did get e-mails from the schools
 4      that you were applying to, correct, in 2014 and
 5      2015?
 6             A.    I don't recall which schools gave me
 7      e-mails.
 8             Q.    That's not my question.
 9                   You did get e-mails from some of the
10      schools you applied to in 2014 and 2015; correct?
11             A.    Yes.
12             Q.    Okay.     And you would review those e-mails;
13      right?
14             A.    I would think so, yes.
15             Q.    Yeah, because they are giving you important
16      information about your application typically; right?
17             A.    Sometimes they are sending you
18      advertisements about other programs, but yes.
19             Q.    Okay.     But they might be sending you
20      information about, Hey, we want to invite you to
21      submit a secondary application, and the deadline is
22      X date; right?
23             A.    Yes.
24             Q.    Okay.     So that's an important e-mail from a
25      medical school; right?

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                                                                                   Page 483
 1                         D. TRAHANAS - VOLUME II
 2             A.    Yes.
 3             Q.    Because if you don't submit your secondary
 4      application on time, you are no longer considered a
 5      candidate; correct?
 6             A.    I don't agree with that statement.
 7             Q.    Okay.     So has any school that you applied
 8      to told you that you could submit your secondary
 9      application after the deadline and still be
10      considered a candidate?
11             A.    I know schools that will reject you, and
12      you can still get an invitation right before the
13      matriculation of that class.
14             Q.    An invitation for what?
15             A.    To matriculate into their program.
16             Q.    So you're telling me that a school will
17      reject a candidate and then later send that
18      candidate a letter or an e-mail accepting them?
19             A.    Yes.
20             Q.    Has that ever happened to you?
21             A.    No.
22             Q.    What school do you know does that?
23             A.    They were both in the south.                        I can't
24      exactly tell you which schools they are.
25             Q.    And how do you know that two schools in the

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                                                                                   Page 484
 1                         D. TRAHANAS - VOLUME II
 2      south do that?
 3             A.    Two friends of mine got e-mails.
 4             Q.    After they were already rejected?
 5             A.    Correct.
 6             Q.    Were they two schools that you applied to?
 7             A.    No, I don't believe so.                     I don't recall.
 8             Q.    And -- and just so I'm clear, you typically
 9      did one of two things with your e-mails when you get
10      them, you either put them in -- you leave them in
11      your inbox, or you put them in trash; is that right?
12             A.    Yes, to the best of my recollection, yes.
13             Q.    Okay.     Is there anywhere else you would
14      have put them, other than trash or leave them in
15      your inbox?
16             A.    Not that I recall.
17             Q.    And do you have any process for going
18      through your trash items on any periodic basis?
19             A.    No routine process, no.
20             Q.    And since this litigation has started, have
21      you gone in and cleaned out your trash box and
22      permanently deleted any e-mails?
23             A.    Can you be more specific?
24             Q.    Since -- since February of 2016, have you
25      permanently deleted any e-mails from your trash box?

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                                                                                Page 485
 1                         D. TRAHANAS - VOLUME II
 2             A.    Yes.
 3             Q.    When?
 4             A.    I'm not sure.            I got a couple viral type
 5      of, like, spam messages that I immediately
 6      permanently deleted, because it was like a
 7      phishing/hacking scam, and I clicked on one, so I
 8      didn't want to continue downloading -- I didn't want
 9      them to infect the computer, so I deleted that.                         I
10      don't recall a time.
11             Q.    Okay.     Have you permanently deleted any
12      e-mails from the medical schools that you applied to
13      in the 2015 cycle?
14             A.    From -- like ever?                   Can you please be more
15      specific?       I'm sorry.
16             Q.    How many schools did you apply to in the
17      2015 cycle?
18             A.    Fifteen.
19             Q.    And you got e-mails from some of those
20      schools; correct?
21             A.    Yes, from some of the schools, yes, it's
22      possible.
23             Q.    And when you got those e-mails, what did
24      you do with them?
25             A.    I don't recall.

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                                                                                   Page 486
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Did you permanently delete any of those
 3      e-mails?
 4             A.    Yes.
 5             Q.    Why?
 6             A.    You don't have access to -- secondary
 7      applications are on a time frame, so some schools
 8      give you a rejection within your secondary
 9      application, so you don't necessarily get a
10      rejection letter.            Some schools won't even send you
11      a letter.       Some schools will call you, and some
12      schools will mail you letters.                       So I don't know
13      which schools did what.
14             Q.    Okay.     But here's my question:                   Why did you
15      permanently delete e-mails from the schools that
16      sent you e-mails?            You said you permanently deleted
17      some.     Why?
18             A.    I can't tell you why at the time.                      I don't
19      know.
20             Q.    When did you permanently delete e-mails
21      from medical schools that sent you e-mails?
22             A.    I don't recall a time.                    If you remember
23      correctly, I was seeing a psychiatrist eight times
24      in two months.         It was a very stressful time.                   I
25      don't recall.

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                                                                                     Page 487
 1                         D. TRAHANAS - VOLUME II
 2             Q.    I don't know what time period you're
 3      talking about.         Can you tell me?
 4             A.    December, January.
 5             Q.    Okay.     So you're saying you don't recall if
 6      you permanently deleted e-mails during that point in
 7      time?
 8             A.    I don't recall which schools or -- yes.
 9             Q.    Okay.     So let's go through the schools
10      then, since you can't recall.
11                   MR. DeROSE:          How long have we been going
12             now?
13                   MS. WERMUTH:           About an hour fifteen.              Do
14             you want a break?
15                   MR. DeROSE:          Yeah, let's take a break.
16                   VIDEOGRAPHER:            Ending disc number one of
17             the deposition of Diane Trahanas.                         Off the
18             record at 11:21 A.M.
19                   (Recess taken from 11:21 A.M. to
20             11:47 A.M.)
21                   VIDEOGRAPHER:            And beginning disc number
22             two of the deposition of Diane Trahanas.                         We're
23             back on the record at 11:47 A.M.
24                   MS. WERMUTH:           Okay.         Before I continue the
25             examination, can I get this marked, please, as

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                                                                                 Page 488
 1                         D. TRAHANAS - VOLUME II
 2             Exhibit 81.
 3                   (Trahanas Exhibit 81 marked for
 4             identification.)
 5                   THE WITNESS:           I got it, John.
 6                   MR. DeROSE:          That's all right.              I can get
 7             it.
 8                   MS. WERMUTH:           So I just want it clear on
 9             the record that this is the dep -- Exhibit 81
10             is the deposition notice that we served in this
11             case which does indicate that it would be
12             recorded before a court reporter and a
13             videographer.
14                   MR. DeROSE:          And I do acknowledge that,
15             Counsel.       I got to read more carefully.
16                   MS. WERMUTH:           No worries.
17      BY MS. WERMUTH:
18             Q.    All right.         Ms. Trahanas, before we broke
19      you were -- you had told me that two of your friends
20      were admitted to medical school after initially
21      being rejected from medical school.
22                   Do you remember that testimony?
23             A.    I did not say they were admitted.
24             Q.    Oh, you didn't say that?
25             A.    No, I said that they were offered.

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                                                                                     Page 489
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Offered what?
 3             A.    An invitation to matriculate.
 4             Q.    They were offered admission?
 5             A.    Yes, but they did not accept.
 6             Q.    Okay.
 7             A.    They did not go.
 8             Q.    They were offered admission?
 9             A.    Right, after their rejection, correct.
10             Q.    After being rejected?
11             A.    Correct.
12             Q.    Not after being wait listed, but after
13      being rejected?
14             A.    Correct.
15             Q.    And those were osteopathic or allopathic
16      school?
17             A.    M.D. schools, so allopathic.
18             Q.    And you can't remember the names of the
19      schools?
20             A.    Not at this time.
21             Q.    Can you tell me your friends' names?
22             A.    Can I talk to my counsel?
23                   MR. DeROSE:          Tell them the names.                  They are
24             not going to investigate this.                            Tell them the
25             names.

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                                                                                Page 490
 1                         D. TRAHANAS - VOLUME II
 2                   THE WITNESS:           I don't want to get them
 3             involved.
 4                   MR. DeROSE:          They are not involved.            Give
 5             them the names, please.
 6             A.    Peter Gerginis.
 7      BY MS. WERMUTH:
 8             Q.    How do you spell that last name?
 9             A.    G-e-r-g-i-n-i-s.
10             Q.    The other person?
11             A.    It was his friend.                   I don't know his first
12      and last name.
13             Q.    It was Peter's friend?
14             A.    Yes.
15             Q.    And it was two different schools, or they
16      were accepted or offered admission to the same
17      school?
18             A.    I don't recall.              I know it was somewhere in
19      the south.
20             Q.    So you don't know if it was one school or
21      two schools?
22             A.    I don't remember.
23             Q.    And is Peter Gerginis in medical school
24      now?
25             A.    He is doing a residency now.

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                                                                                Page 491
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Okay.     So he did go to medical school?
 3             A.    Yes.
 4             Q.    Where did he go to medical school?
 5             A.    He -- I don't know which medical school
 6      exactly he went to, but it was somewhere in the
 7      Dominican, but he studied in London, and he is an
 8      anesthesiology -- anesthesiology resident --
 9             Q.    Where?
10             A.    -- currently.            I don't know where.
11             Q.    Do you stay in touch with him?
12             A.    From time to time.
13             Q.    By what means?
14             A.    Social gatherings.
15             Q.    Do you have his e-mail address?
16             A.    I don't have his e-mail.
17             Q.    Do you have his cell phone number?
18             A.    I don't know it, but I could get it.
19             Q.    You can get it.
20                   Do you have his address?
21             A.    No.
22             Q.    And how do you know Peter?
23             A.    A family friend.
24             Q.    And Peter's friend, male or female?
25             A.    Male.

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                                                                                Page 492
 1                         D. TRAHANAS - VOLUME II
 2             Q.    And have you met this individual?
 3             A.    Yes.
 4             Q.    Where?
 5             A.    It was a social gathering -- a Greek social
 6      gathering.
 7             Q.    Where?
 8             A.    In the city.           I don't remember the venue.
 9             Q.    When?
10             A.    A year or two ago.
11             Q.    And did the friend end up going to medical
12      school?
13             A.    I don't know.
14             Q.    And how is it that you learned that Peter
15      and his friend were rejected and subsequently
16      offered admission?
17             A.    We had a conversation about it.
18             Q.    When?
19             A.    At the time of the event.
20             Q.    The social gathering you're talking about?
21             A.    Yes.
22             Q.    And that was in Chicago?
23             A.    Yes.
24             Q.    Where in Chicago?
25             A.    I don't know.            I believe I already answered

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                                                                                     Page 493
 1                         D. TRAHANAS - VOLUME II
 2      that.
 3                   MR. DeROSE:          And, Counsel, we do agree that
 4             this is supposed to be a deposition about my
 5             client's searches.               You know, so I do ask that
 6             you try to stay in what the court talked about.
 7             This is not a discovery deposition.
 8                   MS. WERMUTH:           I understand, but she also --
 9             first of all, it's not just the searches.                            We
10             already discussed that this morning.                            But she
11             opened the door on this, so I'm just -- I'm
12             just closing out this line of inquiry.
13                   I mean, she offered this in connection with
14             a question that I didn't pose.                            So because she
15             offered it, I'm just going to ask her some
16             follow-up questions about it.
17      BY MS. WERMUTH:
18             Q.    When -- so just so I'm clear, you remember
19      that the social gathering was one or two years ago
20      in Chicago, you just don't remember the actual venue
21      or location?
22             A.    Correct.
23             Q.    And do you know -- do you recall what the
24      purpose of the gathering was?
25                   MR. DeROSE:          Objection.             Don't answer the

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                                                                                     Page 494
 1                         D. TRAHANAS - VOLUME II
 2             question.
 3      BY MS. WERMUTH:
 4             Q.    Are you going to follow your lawyer's
 5      advice?
 6             A.    I am going to take my legal counsel's
 7      advice.
 8             Q.    When you say a school in the south, do you
 9      mean the southern United States or do you mean
10      outside of the U.S.?
11                   MR. DeROSE:          Don't answer the question.
12      BY MS. WERMUTH:
13             Q.    Are you going to follow that instruction?
14             A.    I'm taking legal counsel's advice, correct.
15             Q.    Was it a school in the Caribbean?
16                   MR. DeROSE:          Do not answer the question.
17                   MS. WERMUTH:           All right.             Then I will move
18             to strike the testimony about the two
19             individuals getting accepted, because if I
20             can't learn where they got accepted from, she
21             can't use that in her -- in her motion.
22                   MR. DeROSE:          Fine, Counsel.                 You can make
23             the motion.         Do whatever you want.                    Go ahead.
24                   MS. WERMUTH:           Yeah, I will.                I have.   I've
25             made the motion to strike.

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                                                                                 Page 495
 1                         D. TRAHANAS - VOLUME II
 2                   MR. DeROSE:          You have to bring it up to a
 3             judge, because none of us are going to strike
 4             it for you, but go ahead.
 5      BY MS. WERMUTH:
 6             Q.    Before we broke, Ms. Trahanas, you
 7      testified that it was your practice to, and tell me
 8      if I'm wrong, to permanently delete spam that you
 9      felt could potentially cause some sort of viral
10      infection in your computer.                       Do I understand that
11      correctly?
12             A.    Yes.
13             Q.    Okay.     And did you have any practices with
14      respect to permanent deletions of other types of
15      e-mails?
16             A.    I'm sorry.         Can you read back the first
17      part of that question?
18                   (Record was read as requested.)
19             A.    I don't have a set protocol on practices of
20      deletion of e-mails, no.
21             Q.    Okay.     But you didn't suspend any of your
22      deletion practices when you were involved in the
23      litigation; correct?
24             A.    Can you be more specific?
25             Q.    You didn't stop permanently deleting

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                                                                                Page 496
 1                         D. TRAHANAS - VOLUME II
 2      e-mails after February of 2015; correct?
 3             A.    I'd still ask you to be a little more
 4      specific.
 5             Q.    Have you permanently deleted any e-mails
 6      since February of 2015 from your gmail account?
 7                   MR. DeROSE:          Counsel, could you say -- can
 8             you ask it with respect to this case?
 9                   MS. WERMUTH:           No.
10                   MR. DeROSE:          Because that's what we are
11             here about.
12                   MS. WERMUTH:           I will get there.            This is my
13             question.       This is my deposition.
14      BY MS. WERMUTH:
15             Q.    Have you permanently deleted any e-mails
16      from your gmail account since February of 2015?
17             A.    Yes.
18             Q.    What e-mails?
19             A.    Like I said earlier, any sort of spam or
20      excessive promotional advertisements, maybe
21      anything -- like an invitation or like a Facebook
22      things that says that it's someone's birthday.
23             Q.    Okay.
24             A.    Trash, basically.
25             Q.    Have you permanently deleted since February

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                                                                                Page 497
 1                         D. TRAHANAS - VOLUME II
 2      of 2015 any e-mails to or from AMCAS?
 3             A.    I don't recall what -- can you be more
 4      specific?
 5             Q.    You receive -- in connection with your
 6      medical school applications in 20 -- for the 2015
 7      cycle and the 2018 cycle, you received e-mails from
 8      AMCAS; correct?
 9             A.    Yes.
10             Q.    Yes.
11                   Have you permanently deleted any of those
12      e-mails?
13             A.    No.
14             Q.    None of them?
15             A.    No.
16             Q.    And so, if you went into your inbox and
17      used a search term AMCAS, you would -- you would
18      discover many e-mails; yes?
19             A.    Any e-mails that I have found, I have
20      produced to you.           I gave to my lawyer, and he gave
21      to you.
22             Q.    That's not my question.
23                   If you went into your inbox and used a
24      search term AMCAS, how many e-mails would you find?
25             A.    I don't know.

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                                                                                Page 498
 1                         D. TRAHANAS - VOLUME II
 2             Q.    And did you ever use the search term AMCAS
 3      in your inbox?
 4             A.    I'm sure I did.              I don't recall the dates
 5      of that search.
 6             Q.    Did you search the term AMCAS in your sent
 7      items?
 8             A.    You search AMCAS, everything comes up.
 9             Q.    Did you search -- so the answer is yes, you
10      searched in your sent items; is that right?
11             A.    Yes.
12             Q.    And you searched the term AMCAS in your
13      trash items as well?
14             A.    Yes.
15             Q.    And in connection with your deposition
16      today you were asked certain discovery questions; is
17      that right, Ms. Trahanas?
18             A.    Yes.
19                   MS. WERMUTH:           Can we have this marked,
20             please.
21                   (Trahanas Exhibit 82 marked for
22             identification.)
23                   MS. WERMUTH:           I'm sorry.
24                   MR. DeROSE:          That's okay.
25                   MS. WERMUTH:           Is that better?

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                                                                                   Page 499
 1                         D. TRAHANAS - VOLUME II
 2                   MR. DeROSE:          Yes.
 3      BY MS. WERMUTH:
 4             Q.    Okay.     You've been handed what's been
 5      marked as Deposition Exhibit 82.
 6                   Do you recognize this document?
 7             A.    It's possible I've seen it.                         I . . .
 8             Q.    Did you see the questions, at least, if not
 9      the responses?
10             A.    Oh, yes.
11             Q.    Right?
12             A.    I'm sorry.         I thought this -- I'm sorry.
13      Yes, yes.       I thought this was something else.
14             Q.    So you have seen this before?
15             A.    Yes, yes.
16             Q.    Okay.     And so, in -- in connection with the
17      third request on the last page, where we asked for
18      the searches that you performed in your gmail
19      account --
20             A.    I see that.
21             Q.    -- specifically for e-mails to and/or from
22      medical schools to which you applied in the 2015 and
23      2018 cycles, you responded that you do not remember
24      the variations on the words you used, but that you
25      believe that you used obvious words like university,

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                                                                                 Page 500
 1                         D. TRAHANAS - VOLUME II
 2      Northwestern, Schwulst, et cetera.
 3                   What does "et cetera" mean?
 4                   MR. DeROSE:          What does "et cetera" mean?                I
 5             typed it.       You don't know what that word means?
 6             Counsel, this is --
 7                   MS. WERMUTH:           No, no, no.
 8      BY MS. WERMUTH:
 9             Q.    In this connection what -- she is -- I'm
10      asking for search terms, university, Northwestern,
11      Schwulst, et cetera.
12                   So what are the other search terms
13      comprised in the word "et cetera"?
14                   MR. DeROSE:          Oh, that's a different
15             question.
16      BY MS. WERMUTH:
17             Q.    What are the search terms?
18             A.    These would be examples.                      So I don't want
19      my testimony to be mischaracterized, because I've
20      seen that in letters before.                      These are examples.
21      It doesn't just mean only them.
22             Q.    Then why didn't you give us a complete
23      answer?
24             A.    I'm trying to give you as much as I can
25      recall.      An example would be Dr. Steven Schwulst,

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                                                                                      Page 501
 1                         D. TRAHANAS - VOLUME II
 2      Steve Schwulst, Steve J. Schwulst, Schwulst, M.D.
 3      Dr. Harris Perlman, Perlman, Perlman lab.
 4             Q.    Why didn't you give us all of those
 5      iterations here?
 6                   MR. DeROSE:          Counsel, do you see who signed
 7             this?     I'm the one who prepared that.                         That's
 8             not a fair question.                 I wrote that.
 9                   MS. WERMUTH:           Counsel, your witness helped
10             you prepare this answer, because you've said on
11             the record that you don't know what search
12             terms she used.            So I'm asking her to tell me.
13             She clearly gave you the information to prepare
14             this answer.          These are fair questions.                    This
15             is about the e-mail searches.                        I need to know
16             what --
17                   MR. DeROSE:          But your question was why
18             didn't you write it down here.                            She didn't
19             write this.         I wrote it, Counsel.                     Please, just
20             ask her what other terms.                     I don't have any
21             problem with that, but don't ask her why did
22             she not put them in here.                     I wrote this.
23                   MS. WERMUTH:           I can certainly ask that.
24      BY MS. WERMUTH:
25             Q.    But why don't you tell me every single term

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                                                                                     Page 502
 1                         D. TRAHANAS - VOLUME II
 2      that you remember searching in your gmail, and which
 3      boxes you search in?
 4             A.    Like it says here -- I mean, I can give you
 5      all the obvious ones.               Whether there were
 6      variations, or derivatives, or even after -- you had
 7      requested after my deposition a lot of, you know,
 8      follow-up items, I searched for those.                              After each
 9      deposition, if there was something said by
10      Dr. Perlman, I searched for something that I may
11      have read in his deposition or heard, like -- excuse
12      me, like lab invitation, lab party invitation,
13      Perlman lab, Harris lab, lab personnel, laboratory,
14      Schwulst lab, Schwulst laboratory, every person that
15      I ever met or worked with in both the Perlman or
16      Schwulst laboratory.
17                   I would say keywords for the research
18      projects we were doing, like flow cytometry, flow
19      cytometer.       I had gone to San Diego for a lecture
20      and for also a conference, so shock society, shock
21      journal, publications, published, anything that's
22      probably on my CV, Northwestern, that's in here,
23      though, University of, stereotaxic.                              We had gone to
24      Michigan for a stereotaxic, I guess, introductory
25      course with a Ph.D. doctor there, so Michigan.

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                                                                                Page 503
 1                         D. TRAHANAS - VOLUME II
 2                   You had asked me for a job search at one
 3      point, so things like job, job opportunity,
 4      employment, employment opportunity, taxes, because
 5      you had asked for my tax records, places that I
 6      thought that maybe I had applied to, like the
 7      University of Illinois at Chicago, Rush University,
 8      Abbvie, Abbott, any local labs, Pfizer,
 9      pharmaceutical, pharmaceutical sales, research tech,
10      research technician, research technician probably
11      with every number after that, maybe three or four,
12      lab manager, managerial, lab managerial.
13                   These are all examples.                     AMCAS, AMCAS
14      applications, all the schools that were on my list
15      of AMCAS that I had applied to, Dr. Debra
16      Goldstein's -- I'm sorry, Goldstein's name, letter
17      of evaluation, Sasha, because -- that's Alexander
18      Misharin, but we also called him Sasha, any probably
19      supplies to do with the lab, lab supply, order,
20      mouse, mouse order, procurement, Holly, because she
21      was the procurement person that I had dealt with,
22      addresses, like 676 was Dr. Schwulst's office,
23      Huron, that was the street that our building was on,
24      Fienberg, Fienberg School of Medicine, Northwestern
25      Memorial, anything to do with the hospital.                         These

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                                                                                Page 504
 1                         D. TRAHANAS - VOLUME II
 2      are examples.
 3      BY MS. WERMUTH:
 4             Q.    And you didn't document any of your
 5      searches?
 6             A.    No.
 7             Q.    And for all of the search terms that you
 8      just identified, tell me where in your gmail account
 9      you searched?
10             A.    Everywhere.
11             Q.    Tell me.
12             A.    You type it in the search bar, it will come
13      up.    It will bring up the folder that any one of
14      those terms is in.
15             Q.    So if it -- so you search -- it's your
16      testimony that you used those terms in your
17      search -- I'm sorry, in your trash folder?
18             A.    Yes, everywhere, yes.
19             Q.    In your sent folder?
20             A.    Yes.
21             Q.    In your inbox?
22             A.    Correct.
23             Q.    And you don't know what other folders you
24      had other than those?
25             A.    Well, if you type in the search criteria,

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                                                                                Page 505
 1                         D. TRAHANAS - VOLUME II
 2      it will open up every folder regardless of what
 3      folder it's in.          So if it hits, you know, let's say
 4      Dr. Perlman, it's going to bring up the e-mails that
 5      are in trash, sent, inbox.
 6             Q.    And if your -- if your account was set up
 7      for default to archive, would the archive e-mails
 8      come up as well?
 9             A.    I don't know that I have -- I don't know.
10             Q.    And the only way for us to know what your
11      settings are is for us to actually look at your
12      account; right?
13             A.    I don't -- I don't know if there is a
14      default for that or not.
15             Q.    Right.
16                   And the only way you could answer that
17      question is if you looked at your account, right, to
18      see whether or not your settings are set up for
19      default?
20             A.    It's possible, yes.
21             Q.    Well, if you looked at your account, you
22      could see what your settings are; correct?
23             A.    Yes.
24             Q.    Right.
25                   And you're not going to do that today;

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                                                                                Page 506
 1                         D. TRAHANAS - VOLUME II
 2      correct?
 3                   MR. DeROSE:          The judge ordered that we
 4             didn't have to do that.
 5                   MS. WERMUTH:           I disagree with your
 6             characterization.              I'm asking her the question.
 7                   MR. DeROSE:          All right.
 8      BY MS. WERMUTH:
 9             Q.    You're not going to do that today?
10                   MR. DeROSE:          You asked the question.            She's
11             following her lawyer's advice.
12                   Do not answer the question.
13                   MS. WERMUTH:           She can answer the question
14             that, no, she is going to follow her lawyer's
15             advice and not open up her gmail account.
16             Right?
17                   MR. DeROSE:          Go ahead and answer the
18             question.
19             A.    I mean, I already answered it, but no,
20      that's correct.          I will follow my lawyer's advice.
21      BY MS. WERMUTH:
22             Q.    Now, before we went on break, we were going
23      to start looking at e-mails from the medical schools
24      you applied to.          And your testimony was that there
25      was a lot going on in December and January of 2014

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                                                                                        Page 507
 1                         D. TRAHANAS - VOLUME II
 2      and 2015 that you don't recall because you were
 3      seeing a psychiatrist.
 4                   Do you remember that testimony?
 5             A.    I'm not sure if that's verbatim, but
 6      that's -- might be paraphrasing it, yes.
 7                   MS. WERMUTH:           Can we go -- can we go back
 8             and look at what her testimony was about seeing
 9             a psychiatrist.
10                   (Record was read as follows:                          "Q.   When did
11             you permanently delete e-mails from medical
12             schools that sent you e-mails?                            A.   I don't
13             recall a time.           If you remember correctly, I
14             was seeing a psychiatrist eight times in two
15             months.      It was a very stressful time.                         I don't
16             recall.")
17      BY MS. WERMUTH:
18             Q.    Is it your testimony that because
19      December 2014 and January 2015 was a stressful time,
20      you have difficulty recalling what happened during
21      those two months?
22             A.    Can you please be more specific?
23             Q.    Do you have difficulty recalling -- strike
24      that.
25                   MS. WERMUTH:           Can you just read my question

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                                                                                 Page 508
 1                         D. TRAHANAS - VOLUME II
 2             back.     I don't know how to be more specific.
 3                   (Record was read as requested.)
 4             A.    I would have difficulty with recalling
 5      specific e-mails or papers or notes in the lab I
 6      took, or anything like that, but I can't not recall
 7      everything that was going on at that time.
 8             Q.    Can you recall getting e-mails from medical
 9      schools that you applied to in November and December
10      of 2014?
11             A.    Yes.
12             Q.    Okay.     So you do remember that?
13             A.    I remember getting e-mails.
14                   MS. WERMUTH:           Can we mark this, please.
15                   (Trahanas Exhibit 83 marked for
16             identification.)
17      BY MS. WERMUTH:
18             Q.    All right.         So, Ms. Trahanas, you know that
19      we, at your counsel's urging, subpoenaed the medical
20      schools that you applied to for the 2015 cycle?
21             A.    Yes.
22             Q.    Okay.     And so, what I -- what's marked now
23      as Exhibit 83 is a set of materials that we received
24      from University of Central Florida in connection
25      with the subpoena we sent to that school.                        Okay?

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                                                                                     Page 509
 1                         D. TRAHANAS - VOLUME II
 2             A.    Okay.
 3             Q.    All right.         And according to the materials,
 4      and I'm directing your attention to the page that's
 5      Bates labeled Trahanas-NU11725.
 6             A.    Okay.     I'm on that page.
 7             Q.    Okay.     So according to the materials we
 8      received from University of Central Florida, they
 9      had your e-mail address as diane.trahanas@gmail.com.
10                   Do you see that?
11             A.    Yes, I do.
12             Q.    Okay.     And that is the gmail address that
13      you testified to already today; correct?
14             A.    Correct.
15             Q.    Okay.     And then if you turn to
16      Page 11740 --
17                   MR. DeROSE:          Give me a second to get there,
18             Counsel.
19                   MS. WERMUTH:           Certainly.              Second-to-last
20             page.
21                   MR. DeROSE:          Okay.           That helps.      Go ahead.
22             I'm there.        I'm sorry.
23      BY MS. WERMUTH:
24             Q.    Okay.     You'll see on this page that
25      there's -- in the AMCAS report there is a

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                                                                                  Page 510
 1                         D. TRAHANAS - VOLUME II
 2      transaction history.
 3                   Do you see that?
 4             A.    Yes.
 5             Q.    And is this the sort of thing that if you
 6      logged into your AMCAS account, you could see a
 7      transaction history from each school?
 8             A.    I have never seen this before -- no.                     A
 9      transaction history?              No.
10             Q.    You can't see that when you log into your
11      AMCAS?
12             A.    I've given you the AMCAS application from
13      that cycle in 2018, and this is not in there.
14             Q.    That's not my question.                     Because what you
15      gave me was a snapshot in time, your application at
16      a snapshot in time.
17                   I'm asking you if you go in -- if you --
18      for example, if you went into your AMCAS account in
19      March of 2015, could you see a transaction history
20      from each school?
21             A.    I -- I don't know.
22             Q.    And you didn't look for that when we asked
23      you for information about your medical school
24      application materials?
25             A.    I don't know if this is available to us.

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                                                                                Page 511
 1                         D. TRAHANAS - VOLUME II
 2             Q.    I understand that, but you didn't look is
 3      my question.        Right?        You didn't -- so when we gave
 4      you a discovery request for information related to
 5      your medical school, you didn't log back into your
 6      AMCAS account to look at what was in there to see
 7      whether or not it was responsive to our request?
 8             A.    I did, because I had to print out for you
 9      the 2018 application.
10             Q.    Did you do that for 2015, though?
11             A.    I don't recall.
12             Q.    All right.         And if you look at this
13      transaction history with central -- University of
14      Central Florida, you'll see there are a variety of
15      entries dated November 17th and November 18th of
16      2014 with respect to rejecting your application.
17                   Do you see that?
18             A.    Yes.
19             Q.    Okay.     And then -- and then there's an
20      entry on December 11th of 2014, which says,
21      "Admission status:             Rejected, not yet entered on
22      spreadsheet."
23                   Do you see that?
24             A.    I do see that.
25             Q.    Okay.     So according to these records from

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                                                                                Page 512
 1                         D. TRAHANAS - VOLUME II
 2      University of Central Florida, you were rejected on
 3      or about December 11th of 2015 at the latest;
 4      correct?
 5             A.    Yeah, as it states on this piece, yes.
 6             Q.    Okay.
 7                   MR. DeROSE:          Objection, counsel.
 8                   MS. WERMUTH:           I said 2014.
 9                   MR. DeROSE:          Excuse me, Counsel.            We don't
10             know if not entered -- "not yet entered on
11             spreadsheets" mean they notified her.
12                   MS. WERMUTH:           That's not my question.
13                   MR. DeROSE:          I know it's not your question,
14             but --
15                   MS. WERMUTH:           And now you're giving -- now
16             you are instructing the witness again.
17                   MR. DeROSE:          No, I'm not instructing her of
18             anything.       I want to make sure this record is
19             clear.      If they don't even have it on their
20             spreadsheets, it doesn't mean that she was
21             notified she was rejected.
22                   MS. WERMUTH:           Can I finish -- that's just
23             pure argument.           You can make that argument in
24             briefing, okay.
25      ///

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                                                                                        Page 513
 1                         D. TRAHANAS - VOLUME II
 2      BY MS. WERMUTH:
 3             Q.    I'd like to turn to the next page, please.
 4                   MR. DeROSE:          And, Counsel, excuse me, but
 5             you seem to have a practice of not allowing me
 6             to finish making my record.                       These are very
 7             important dates for all of us.                            Okay.
 8                   MS. WERMUTH:           You can object.                 Of course
 9             you can object.
10                   MR. DeROSE:          All right.             Then let me make
11             my record.
12                   MS. WERMUTH:           The problem is when you make
13             an argumentative objection, it instructs the
14             witness, and there is case law on that.                            You
15             need to object and state the grounds, but not
16             give argument.
17                   MR. DeROSE:          All right.             Counsel, go ahead.
18             I don't mean to be obstrep- -- obstreperous.
19             Go ahead.
20                   MS. WERMUTH:           Thank you.
21      BY MS. WERMUTH:
22             Q.    The next page, please, 11741.
23             A.    Okay.     I'm there.
24             Q.    Okay.     You see this document, do you not?
25             A.    Yes, it's in front of me.

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                                                                                Page 514
 1                         D. TRAHANAS - VOLUME II
 2             Q.    And the first two sentences say, "The
 3      following is an e-mail that is housed within the
 4      AMCAS system."
 5                   Do you see that?
 6             A.    Yes.
 7             Q.    It was sent from the ucf.com e-mail address
 8      to the applicant on November 18th, 2014, at
 9      8:55 A.M.
10                   Do you see that?
11             A.    Yes.
12             Q.    So according to University of Central
13      Florida, they sent you an e-mail on November 18th of
14      2014 at 8:55 in the morning; correct?
15             A.    Yes, that's what it says, yes.
16             Q.    And then the content of the e-mail follows.
17                   Do you see that?
18             A.    Yes.
19             Q.    So according to University of Central
20      Michigan -- I'm sorry, Central Florida's records,
21      they e-mailed you on November 18th of 2014 telling
22      you that you were rejected; is that right?
23             A.    I'll agree that it says that here, but
24      based on the page that we just looked at on NU11740,
25      the dates don't coincide.

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                                                                                Page 515
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Well, it certainly says that on
 3      November 18th there was a preliminary objection;
 4      right?
 5                   MR. DeROSE:          A preliminary objection or
 6             rejection?
 7                   MS. WERMUTH:           Rejection.
 8      BY MS. WERMUTH:
 9             Q.    Do you see that, the third -- the third
10      entry under "transaction history"?
11             A.    Yes, I see.          There is three on that date,
12      so I'm just looking at all three.
13             Q.    But the third one says, "Admission action:
14      Preliminary rejection"; right?
15             A.    Yes, the --
16             Q.    Is it your testimony that you did not
17      receive the e-mail on Page 11741?
18             A.    I don't recall.
19             Q.    Did you search UCF in your gmail account?
20             A.    I searched UCF.              I searched University of
21      Central Florida.           I searched whatever University of
22      Central Florida's medical school is in association
23      with that on my AMCAS list.
24             Q.    Now, it -- this -- this report on
25      Page 11741 also tells us that this e-mail is housed

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                                                                                  Page 516
 1                         D. TRAHANAS - VOLUME II
 2      within the AMCAS system.
 3                   Do you see that?
 4             A.    Yes, at the top.
 5             Q.    Did you search the -- your AMCAS materials
 6      for UCF?
 7             A.    The am -- I've never received an e-mail via
 8      AMCAS system.
 9             Q.    That's not -- yes, you have.                        You've
10      produced e-mails from AMCAS; right?
11             A.    Like an am -- so how I'm reading this is as
12      AMCAS is acting like a gmail account, so that am --
13      so this is -- this e-mail is provided on an AMCAS
14      forum, just like an e-mail is provided on a gmail
15      forum.      I've never seen an e-mail from an AMCAS
16      forum.
17             Q.    Okay.     So I don't know if you're
18      interpreting it correctly.                   My question is this --
19      let me ask you this:              If you're sitting here right
20      now, can you log into the AMCAS website and see your
21      old application materials?
22             A.    Yes, but I -- yeah.                  Yes, it's possible.
23             Q.    Okay.     And did you, in connection with the
24      discovery requests that were served in this
25      litigation, go into your AMCAS account online to

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                                                                                Page 517
 1                         D. TRAHANAS - VOLUME II
 2      search for any transaction history or any
 3      communications from the schools that you applied to
 4      in the 2015 cycle?
 5             A.    Anything that had to do with the 2015 or
 6      2018 cycle I searched on AMCAS.
 7             Q.    When?
 8             A.    When the requests were submitted, when we
 9      were supposed to, after interrogatories at some
10      point.
11             Q.    How many times did you search am -- your
12      AMCAS materials online through -- through AMCAS's
13      website?
14             A.    I don't recall.
15             Q.    Is it your testimony that you did not
16      receive this e-mail from the University of Central
17      Florida in 11741?
18             A.    I don't -- I don't recall.
19             Q.    Do you have any reason to believe that
20      University of Central Florida did not reject your
21      application in 2014?
22             A.    I'm sorry.         Could you read that back?
23                   (Record was read as requested.)
24             A.    I don't know.
25             Q.    So in the 2015 cycle you were applying to

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                                                                                Page 518
 1                         D. TRAHANAS - VOLUME II
 2      law -- medical school for the second time; is that
 3      right?
 4             A.    Yes.
 5             Q.    Okay.     And so, you were interested in
 6      knowing whether or not you were admitted to the
 7      schools that you were applying to; right?
 8             A.    Well, sure, I was applying, yes.
 9             Q.    Right.
10                   You spent time putting together an
11      application; right?
12             A.    Yes.
13             Q.    And you -- and you paid money to have the
14      application sent to the schools that you applied to;
15      right?
16             A.    Yes.
17             Q.    So you were interested in knowing whether
18      or not you were going to be admitted to those
19      schools; right?
20             A.    Sure.
21             Q.    So if you got a rejection notice, you would
22      know that you were rejected from that school; right?
23             A.    Well, if I had gotten the notice, then I
24      would know at that time, yes.
25             Q.    And you know, as you sit here today, that

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                                                                                Page 519
 1                         D. TRAHANAS - VOLUME II
 2      you were not accepted to the University of Central
 3      Florida; correct?
 4             A.    After seeing this, I would assume that that
 5      statement is correct, but I don't know that prior to
 6      looking at this.
 7             Q.    So you're tell -- really?                      So you're
 8      telling me that in 2014 you believe that your
 9      application to University of Central Florida was
10      still live?        Is that your testimony?
11             A.    No, my testimony is that this gives me
12      evidence -- this is the evidence that shows that I
13      had been preliminary rejected from UCF.
14             Q.    Well, let's look at what the e-mail says.
15      Look at the -- the second paragraph, the last
16      sentence.       "As such, our committee will no longer
17      consider your application for this application
18      cycle."
19                   Do you see that?
20             A.    Yes.
21             Q.    So that's not just a preliminary rejection,
22      you're being rejected?
23             A.    Right, I -- I was just trying to be -- I
24      was just trying to quote from 11 -- I didn't want to
25      misrepresent it, because that's what it said here.

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                                                                                     Page 520
 1                         D. TRAHANAS - VOLUME II
 2             Q.    So your testimony is in November of 2018
 3      you just cannot remember whether or not in 20 -- in
 4      November of 2018 -- I'm sorry.                       Strike that whole
 5      thing.
 6                   As you sit here right now, it's your
 7      testimony that you cannot remember receiving a
 8      rejection notice from UCF in November of 2014?
 9             A.    Correct.
10             Q.    Even though you were specifically applying
11      and looking for notices from these schools at the
12      time?
13             A.    I was expecting to hear back from them,
14      but -- I was expecting to hear back from them.
15             Q.    And so, a rejection had no impact or your
16      memory at all?         The fact that you were rejected, it
17      just is not sticking in your memory; is that right?
18             A.    There were 15 schools that I applied to
19      that year.       That's a lot of schools to keep track of
20      when you're working 24-hour shifts and you have
21      multiple projects going on at work.                              I wasn't just a
22      full-time person working on applications at home.
23             Q.    Okay.     That's pure argument.
24                   My question is this --
25                   MR. DeROSE:          Well, excuse me, Counsel.

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                                                                                 Page 521
 1                         D. TRAHANAS - VOLUME II
 2                   MS. WERMUTH:           No.
 3                   MR. DeROSE:          That's not argument.             That's
 4             an answer to your question.
 5                   MS. WERMUTH:           No, my question --
 6                   MR. DeROSE:          My objection to you --
 7                   MS. WERMUTH:           No.
 8                   MR. DeROSE:          Excuse me.             Let me finish
 9             my -- Counsel, you continue to do this.
10                   Ask her a question and don't -- you don't
11             editorialize on it, and I will try not to also,
12             because that's --
13                   MS. WERMUTH:           If it's argument, I'm going
14             to move to strike it.
15                   Now I'd like an answer to my question.
16      BY MS. WERMUTH:
17             Q.    You had spent time and money preparing
18      applications to medical school, right, in 20 -- in
19      the 2014-2015 cycle; correct?
20                   MR. DeROSE:          Asked and answered.             Answer it
21             again.
22             A.    Yes.
23      BY MS. WERMUTH:
24             Q.    You were invested in the process; right?
25             A.    Yes.

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                                                                                 Page 522
 1                         D. TRAHANAS - VOLUME II
 2             Q.    You wanted to go to medical school?
 3             A.    Absolutely.
 4             Q.    Yeah.
 5                   So you were looking for communications from
 6      the medical schools in 2014 and 2015; correct?
 7             A.    I'm sure I was.              I don't recall when and
 8      where I was at the time.
 9             Q.    So you -- you have no memory of getting an
10      e-mail from the University of Central Florida
11      telling you that your application was no longer
12      going to be considered for that cycle?
13                   MR. DeROSE:          Asked and answered.
14             Objection.
15                   Go ahead and answer it again.
16             A.    That's correct.              I don't recollect.
17      BY MS. WERMUTH:
18             Q.    And you have no recollection of what you
19      would have done with this e-mail either; is that
20      your testimony?
21             A.    I can't say for certain.                      Maybe I deleted
22      it.    If it's a rejection, there is nothing further
23      for me to have done, so you kind of move on, right.
24             Q.    I don't know.            I'm asking you.
25                   Did you delete it?

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                                                                                Page 523
 1                         D. TRAHANAS - VOLUME II
 2             A.    I don't recall if I deleted it on that date
 3      that -- if I had received it in an e-mail or what.
 4             Q.    And if you delete it, it goes into your
 5      trash; right?
 6             A.    Yes.
 7             Q.    Which is still searchable; right?
 8             A.    Yes.
 9             Q.    And you're telling me that you searched the
10      words UCF, University of Central Florida, and other
11      iterations in connection with the discovery requests
12      we made in this litigation?
13             A.    Correct.
14             Q.    And you found zero e-mails to or from the
15      University of Central Florida?
16             A.    Everything I had, I gave you.
17             Q.    My question is this:                  You found zero
18      communications to or from the University of Central
19      Florida?
20             A.    For that year, yes.                  I don't know if I
21      applied to that in 2018 and gave you any
22      communications from that.                   If I had it, I gave it to
23      you.
24                   MS. WERMUTH:           Can we mark this, please.
25                   (Trahanas Exhibit 84 marked for

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                                                                                Page 524
 1                         D. TRAHANAS - VOLUME II
 2             identification.)
 3                   MR. DeROSE:          Am I correct the last one was
 4             83?
 5                   REPORTER:         Yes.
 6                   MR. DeROSE:          So you are numbering each one
 7             of these?       Okay.
 8      BY MS. WERMUTH:
 9             Q.    Okay.     I'm handing you now -- or you've
10      been handed now what's been marked as Exhibit 83 --
11                   MR. DeROSE:          No.       This is --
12      BY MS. WERMUTH:
13             Q.    I'm sorry, 84.             84.
14                   And these are the materials that we
15      received in connection with the subpoena that we
16      made to University of Miami.                      And I'm turning your
17      attention to Trahanas-NU11777.
18                   MR. DeROSE:          Is that in the front area?
19                   MS. WERMUTH:           Yeah, it's three or four
20             pages in.       Five pages -- five pages in.
21                   MR. DeROSE:          All right.             I'm there.
22      BY MS. WERMUTH:
23             Q.    Okay.     And you see that the University of
24      Miami sent us this letter?                   You see that,
25      Ms. Trahanas?

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                                                                                  Page 525
 1                         D. TRAHANAS - VOLUME II
 2             A.    Yes, I do.
 3             Q.    Okay.     And according to this letter and the
 4      University of Miami's records, they received your
 5      AMCAS application on November 5th of 2014.
 6                   Do you see that?
 7             A.    I do.
 8             Q.    Do you have any reason to dispute that?
 9             A.    Just to be clear, I'm not sure if that
10      means that all letters had been submitted at that
11      point, but my am -- my AMCAS application was
12      submitted, correct.
13             Q.    Okay.     So you are in agreement with the
14      first paragraph?
15             A.    I believe so, yes.
16             Q.    All right.         Then they write that on
17      December 2nd they sent you an acknowledgment e-mail.
18                   Do you see that?
19             A.    Yes.
20             Q.    Okay.     Did you receive that e-mail?
21             A.    I don't recall.
22             Q.    And if you look at the following page,
23      11778, there's an e-mail dated December 2nd, 2014 --
24                   MR. DeROSE:          Excuse me.             Are you on the
25             last page --

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                                                                                Page 526
 1                         D. TRAHANAS - VOLUME II
 2                   MS. WERMUTH:           Nope, the next page, sir.
 3                   MR. DeROSE:          Okay.           Go ahead.
 4      BY MS. WERMUTH:
 5             Q.    -- from med.admissions@miami.edu to
 6      diane.trahanas@gmail.com.
 7                   Do you see that?
 8             A.    I see that at the top, yes.
 9             Q.    Okay.     And the substance of the e-mail is
10      similar to what is described in the paragraph we
11      just looked at on 11777; correct?
12             A.    I mean, it doesn't specifically state an
13      acknowledgment, but I'll say that it does state
14      there is a correspondence, and it says a decision to
15      send you a secondary application.
16             Q.    Right.
17                   So it says, "Your verified AMCAS
18      application for the 2015 entering class has arrived
19      at the University of Miami, Miller School of
20      Medicine"; correct?
21             A.    Yes.
22             Q.    Okay.     And then there is a -- as you point
23      out, there is a sentence inviting you to complete a
24      secondary application; right?
25             A.    Yes.     I'm sorry.            Can I --

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                                                                                   Page 527
 1                         D. TRAHANAS - VOLUME II
 2                   MR. DeROSE:          Well, it only says -- Counsel,
 3             it doesn't say that.                 "A decision will be
 4             made" --
 5                   MS. WERMUTH:           Oh, I see.             You're right.
 6             I'm sorry.
 7      BY MS. WERMUTH:
 8             Q.    "A decision to send you a secondary
 9      application will be made shortly."
10                   Do you see that?
11             A.    Yes.
12             Q.    Okay.     And then, on the next page, where
13      the e-mail follows, 11779, near the end, in the
14      second-to-last paragraph it says, "Most of our
15      communications with you will be done by e-mail, so
16      make certain that your e-mail address is correct on
17      your AMCAS application"; right?
18             A.    Yes, I see that.
19             Q.    Okay.     Going back to 11777, University of
20      Miami, then tells us that on December 4th you
21      received an e-mail invi- -- well, strike that.
22                   Do you recall receiving the e-mail on
23      Pages 11778 through 79?
24             A.    I don't recall.
25             Q.    You do see that it was sent to the gmail

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                                                                                    Page 528
 1                         D. TRAHANAS - VOLUME II
 2      address that you've described for us today,
 3      diane.trahanas@gmail.com?
 4             A.    Can you point to me where you're looking
 5      at?    I'm sorry.
 6             Q.    11778.
 7             A.    So is 779 a continuation of 778?                         I know I
 8      can't ask questions, but it says Page 1 of 1 at the
 9      top, so I'm not sure if this is a --
10             Q.    Okay.     Let me ask you this.                      Look at
11      Page 778.
12             A.    Okay.
13             Q.    That has your gmail address on it; correct?
14             A.    Yes.
15             Q.    And that e-mail tells you that your
16      verified AMCAS application has arrived?
17             A.    Yes.
18             Q.    And that e-mail also says a decision to
19      send you a secondary application will be made
20      shortly; correct?
21             A.    Yes.
22             Q.    Okay.     And that was sent to the gmail
23      address that you've testified was -- is the address
24      that you continue to use this day?
25             A.    Yes.

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                                                                                Page 529
 1                         D. TRAHANAS - VOLUME II
 2             Q.    And did you search your gmail address for
 3      University of Miami?
 4             A.    Yes.
 5             Q.    Is there any reason why you didn't produce
 6      this particular e-mail dated December 2nd, 2014?
 7             A.    I -- I gave you what you have.
 8             Q.    All right.         And then, if you look at the
 9      last page of this exhibit, 798.
10             A.    Okay.
11             Q.    According to the University of Miami's
12      records, they sent you an e-mail on December 4th of
13      2014, from med.admissions@miami.edu to
14      diane.trahanas@gmail.com.
15                   Do you see that?
16             A.    Yes.
17             Q.    Do you recall being invited to complete a
18      secondary application at the University of Miami?
19             A.    I don't recall.
20             Q.    Do you recall getting this e-mail?
21             A.    I don't recall.
22             Q.    Did you search for this e-mail in your
23      gmail account?
24             A.    I searched for anything to do with the
25      University of Miami.

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                                                                                Page 530
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Any reason why you didn't produce this
 3      e-mail?
 4             A.    I didn't have it.
 5             Q.    This e-mail tells you that the deadline to
 6      complete your secondary application was
 7      January 15th.
 8                   Do you see that?
 9             A.    I do.
10             Q.    And you did not complete a secondary
11      application for the University of Miami, did you?
12             A.    I don't recall.              Is there a page in here
13      that I can look at?
14             Q.    Did you complete a secondary application to
15      any of the medical schools to which you applied in
16      2015 cycle?
17             A.    I don't recall.
18             Q.    You literally can't tell me as you sit here
19      today that you -- there was a single school that you
20      submitted a secondary application to?
21             A.    I don't remember.
22             Q.    All right.         Well, if you look at
23      Page 11777, Paragraph 4 in that letter tells us that
24      the deadline for submitting a supplemental/secondary
25      application was January 15th of 2015.

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                                                                                   Page 531
 1                         D. TRAHANAS - VOLUME II
 2                   Do you see that?
 3             A.    I do, yes.
 4             Q.    And Paragraph 5 says a
 5      supplemental/secondary application was never
 6      received from Diane Trahanas.
 7                   Do you see that?
 8             A.    I see that.
 9             Q.    Do you have any reason to dispute that?
10             A.    No, this is what I was trying to ask for
11      earlier, but yes.
12             Q.    Yes what?
13             A.    I see that.
14             Q.    And you don't dispute it?
15             A.    No.
16                   MS. WERMUTH:           Can I have this marked,
17             please.
18                   (Trahanas Exhibit 85 marked for
19             identification.)
20      BY MS. WERMUTH:
21             Q.    Okay.     Ms. Trahanas, you've been handed
22      what's been marked as Deposition Exhibit 85.                         These
23      are the materials that we received in connection
24      with our subpoena to Oakland University.                         And I'm
25      going to direct your attention to the page Bates

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                                                                                Page 532
 1                         D. TRAHANAS - VOLUME II
 2      labeled Trahanas -- Trahanas-NU11665.
 3             A.    Okay.     I'm there.
 4             Q.    This appears to be an e-mail to you from
 5      Oakland dated January 5th of 2015 from a Christina
 6      Grabowski.
 7                   Do you see that?
 8             A.    Yes.
 9             Q.    According to this e-mail you were eject --
10      rejected from Oakland on or about January 5th of
11      2015; is that correct?
12             A.    Just to be clear, it doesn't -- it's not
13      necessarily a rejection letter.                         It just says, "You
14      do not meet the minimum requirement for receiving
15      our secondary application."                       So it's addressing the
16      secondary application more so than saying a
17      rejection letter, or attaching one.
18             Q.    So as you sit here and read this, you think
19      this is a, Hey, maybe we'll accept you, but we're
20      not going to give you the secondary application?                          Is
21      that how you read this communication?
22             A.    No, I'm just trying to be clear for the
23      record.      I just -- you asked me to if it's a
24      rejection letter.
25             Q.    Do you believe that you were accepted to

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                                                                                  Page 533
 1                         D. TRAHANAS - VOLUME II
 2      Oakland University School of Medicine?
 3             A.    No.
 4             Q.    In fact, you know you were rejected from
 5      Oakland; correct?
 6             A.    After reviewing the subpoenaed documents,
 7      yes.
 8             Q.    You didn't know you were rejected until
 9      after you reviewed the subpoenaed documents?                        You
10      were still waiting three years later to -- to see
11      whether or not you were admitted to Oakland; is that
12      your testimony?
13             A.    No, I'm saying that it's confirmed.
14             Q.    So you were rejected from Oakland; correct?
15             A.    To the best of my recollection, yes.
16             Q.    In January of 2015; correct?
17             A.    I don't know what the date was.
18             Q.    Well, according to this, it was January of
19      2015; correct?
20                   MR. DeROSE:          She just said what this letter
21             means to her.           Doesn't -- it doesn't say you
22             were rejected.
23      BY MS. WERMUTH:
24             Q.    It does say, "We wish you the best in your
25      pursuit of medical education"; right?

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                                                                                Page 534
 1                         D. TRAHANAS - VOLUME II
 2             A.    Yes, I do see that.
 3             Q.    And it does say that you must have a total
 4      MCATs score of 24 or above to receive our secondary
 5      application; correct?
 6             A.    It says that, yes.
 7             Q.    And you did not have an MCATs score of 24
 8      or above -- a total MCATs score of 24 or above;
 9      correct?
10             A.    Well, it depends how the school is grading
11      your MCATs.        Some schools take your composite score.
12      Other schools gather the highest score in each
13      category.
14             Q.    According to this communication from
15      Oakland, you did not have a total MCATs score of 24;
16      correct?
17             A.    Correct.
18             Q.    So according to their standards, you did
19      not have a total MCATs score of 24; correct?
20             A.    Yes, I would agree to that.
21             Q.    But you didn't -- you didn't understand
22      that to be a rejection notice; is that your
23      testimony?
24             A.    I mean, I already told you what I think
25      it -- it indicated.

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                                                                                    Page 535
 1                         D. TRAHANAS - VOLUME II
 2             Q.    And I want to be clear for the record,
 3      since you want clarity for the record, you didn't
 4      believe it indicated that you were being rejected at
 5      that time?
 6             A.    I don't know at that time what I thought.
 7      I can't -- I can't speak to that.                          I don't recall
 8      seeing this letter, so I don't know.
 9             Q.    Did you search for Oakland in your gmail
10      account?
11             A.    Yes.
12             Q.    Did you search for O -- OUWB?
13             A.    Yes, Oakland University William Beaumont
14      School of Medicine, OUWBSOM, several variations of
15      it.
16             Q.    And nothing came up?
17             A.    I gave you everything I have.                       No.
18             Q.    So nothing came up in your inbox, your sent
19      items, or your trash?
20             A.    Correct, that's what I just said.
21                   (Trahanas Exhibit 86 marked for
22             identification.)
23                   MS. WERMUTH:           Can you reach that, John?
24             I'm sorry.
25                   MR. DeROSE:          No, no.          Yes, I have it.

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                                                                                        Page 536
 1                         D. TRAHANAS - VOLUME II
 2             Thank you.
 3      BY MS. WERMUTH:
 4             Q.    Okay.     You've been handed what's been
 5      marked as Deposition Exhibit 86 -- are you marking
 6      on the exhibits?
 7             A.    Oh.
 8                   MR. DeROSE:          No, you're not to mark.
 9             A.    I'm sorry.         I just circled the bottoms.
10      BY MS. WERMUTH:
11             Q.    Okay.     So --
12             A.    On the last two documents.                          The rest are
13      untouched.
14             Q.    When you say "circle the bottoms," what do
15      you mean by that?
16                   MR. DeROSE:          Show us the pages.                  Can I see
17             it?
18                   Counsel, the record shows on the one she
19             just showed me she is circling the Bates stamp
20             number of the pages.                 And there is also a star
21             on there.
22                   THE WITNESS:           On this one, yeah.
23                   MR. DeROSE:          All right.             Give me the number
24             of the one.         She put a star -- do not -- put
25             your pen down, please.

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                                                                                       Page 537
 1                         D. TRAHANAS - VOLUME II
 2                   THE WITNESS:           Sorry.
 3                   MR. DeROSE:          Can I see that document?
 4                   THE WITNESS:           Yes.
 5                   MR. DeROSE:          The client has put a star on
 6             Trahanas-NU11665.              She has also circled NU11665
 7             on the document, Counsel.                     And I will ask her
 8             not to do that again.                 I'm sorry.             I didn't
 9             know that -- you want examine that, in case you
10             want to say anything more?
11                   THE WITNESS:           These are the other two
12             pages.
13                   MR. DeROSE:          And the other page, she put a
14             circle on Trahanas-NU11778, where it says
15             NU11778.       There are no other marks on the page.
16                   Counsel, you want to examine that?
17                   MS. WERMUTH:           That's fine.                 Thank you.
18                   MR. DeROSE:          Please do not mark any
19             documents.        Those are court records.
20                   THE WITNESS:           I'm sorry.             I didn't -- I
21             didn't know.
22      BY MS. WERMUTH:
23             Q.    Okay.     So I believe Deposition Exhibit 86
24      is the materials that we received from Geisinger.
25      Bear with me.

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                                                                                 Page 538
 1                         D. TRAHANAS - VOLUME II
 2                   Do you have the documents Bates labeled
 3      11709 through 11723 in front of you?
 4             A.    Yes, I do.
 5             Q.    Okay.     And again, I'll represent to you
 6      that these are the documents that we received from
 7      Geisinger in connection with our subpoena, which
 8      were produced to your Counsel.
 9                   Can you turn to the second-to-last page,
10      which is Bates labeled 7 -- 11722.                          Can you take a
11      moment to read that, please.                      Let me know when
12      you're done.
13             A.    Finished.
14             Q.    You're done?           Okay.
15             A.    Yes.
16             Q.    Do you recall receiving a communication
17      from Geisinger inviting you to submit a secondary
18      application?
19             A.    I -- I don't recall this.
20             Q.    Okay.     But you don't dispute Geisinger's
21      records in this regard, do you?
22             A.    I do not dispute it.
23             Q.    Okay.     And if you look on Page 11712,
24      which, John, for your information, is closer to the
25      beginning.

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                                                                                  Page 539
 1                         D. TRAHANAS - VOLUME II
 2                   MR. DeROSE:          All right.
 3      BY MS. WERMUTH:
 4             Q.    But maybe a third of the way through.
 5                   MR. DeROSE:          What's the number, 1 --
 6                   MS. WERMUTH:           11712.
 7                   MR. DeROSE:          Okay.           I'm there.      Go ahead.
 8      BY MS. WERMUTH:
 9             Q.    Okay.     You see the e-mail on file with
10      Geisinger is diane.trahanas@gmail.com; is that
11      right?
12             A.    Yes.
13             Q.    And -- and did you search Geisinger in your
14      e-mail?
15             A.    I did.      I searched, excuse me, Geisinger
16      Commonwealth.         I searched the state that it's in,
17      but I don't recall what that was.
18             Q.    Did you search TCMC?
19                   (Pause.)
20             Q.    I'm sorry, did you answer, or are you still
21      thinking?
22             A.    No, I'm thinking.               If that's how it was
23      indicated on the MCATs application, then yes, I
24      would have searched that, but I don't recall
25      specifically.

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                                                                                Page 540
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Did you search TCMEDC?
 3             A.    I don't recall.
 4             Q.    And according to this e-mail, in order to
 5      submit the secondary or the supplemental application
 6      you had to also submit a $100 application fee.
 7                   Do you see that on page -- I'm sorry,
 8      11722?
 9             A.    Yes, I see that.
10             Q.    Did you submit the $100 to TCMC or
11      Geisinger?
12             A.    Not that I recall.
13             Q.    Okay.     And then on the next page, 11723,
14      there's a communication to you that begins, "Dear
15      Diane, It is my unfortunate obligation to inform you
16      that the admissions committee has decided not to
17      accept your application, because materials related
18      to the application process were incomplete."
19                   Do you see that?
20             A.    I see that.
21             Q.    So -- and the date of that communication,
22      according to Geisinger's records, was
23      January 15th of 2015; correct?
24             A.    Yes.
25             Q.    And you do understand this to be a

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                                                                                     Page 541
 1                         D. TRAHANAS - VOLUME II
 2      rejection letter, do you not?
 3             A.    I mean, again, it doesn't say rejection,
 4      but it does say "has decided not to accept your
 5      application, because materials related to the
 6      application process were incomplete."
 7             Q.    So not accepting is the same as rejecting,
 8      is it not?
 9                   MR. DeROSE:          Well, objection.                Counsel,
10             until -- in the next paragraph they invite her
11             to go to their master's of biomedical science
12             program.
13                   MS. WERMUTH:           They didn't invite her to go
14             to it.      They invited her to look at it.
15                   MR. DeROSE:          Okay.           All right.
16      BY MS. WERMUTH:
17             Q.    So I just want to be clear here.
18      Ms. Trahanas, as you sit here and read this, do you
19      think that you were being told by Geisinger that
20      there was a chance you were going to get accepted to
21      their medical school?
22             A.    There's always a chance you can get into a
23      medical school even the day that the school starts.
24             Q.    This e-mail, when you read this, you're
25      thinking to yourself, Oh, there's still a chance, or

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                                                                                     Page 542
 1                         D. TRAHANAS - VOLUME II
 2      are you thinking, I was just rejected?
 3             A.    I don't know what I was thinking when I
 4      read this.
 5             Q.    That's fine.           That's fine.
 6                   If you -- if you view this as an acceptance
 7      letter, that's fine.              The fact is you never --
 8                   MR. DeROSE:          Counsel, she did not --
 9                   MS. WERMUTH:           The fact is --
10                   MR. DeROSE:          Wait a minute.                 Wait.   Wait.
11             Let me make my record.
12                   Counsel, your observation after the answer
13             to that question is inappropriate.                           She did not
14             say that she viewed this as an acceptance
15             letter.      Now, I ask you not to be
16             argumentative.           Just ask your questions.
17                   MS. WERMUTH:           I'm trying.
18      BY MS. WERMUTH:
19             Q.    Do you view this as an acceptance letter?
20      11723, do you view this as an acceptance letter?
21             A.    I do not view it as an acceptance letter.
22             Q.    And as you sit here today, you know that
23      you did not submit your secondary application to
24      Geisinger; correct?
25             A.    Um, after reading this, yes.

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                                                                                 Page 543
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Yes what?
 3             A.    That the secondary application was
 4      incomplete.
 5             Q.    You didn't complete it; correct?
 6             A.    According to this, yes, I would agree.
 7             Q.    So you don't have an independent
 8      recollection of -- of whether or not you completed
 9      the application?
10             A.    No.
11             Q.    Really?
12                   MR. DeROSE:          Counsel, please, not "really,"
13             because December and -- January of
14             2015/December of 2014 she was in care with her
15             psychiatrist.           Please.
16      BY MS. WERMUTH:
17             Q.    So is it -- is it your testimony, then,
18      that there's a lot of things that happened in
19      2015 -- December 2014 and January 2015 that you just
20      don't remember?
21             A.    You've already asked me that question, and
22      I told you that with every e-mail that I've received
23      or responded to, with everything going on at work, I
24      couldn't possibly recollect that.                          It doesn't mean I
25      don't remember anything that happened at that time.

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                                                                                      Page 544
 1                         D. TRAHANAS - VOLUME II
 2             Q.    But your testimony is that you don't
 3      remember anything about your communications from the
 4      medical schools at that time; that's your testimony?
 5             A.    I did not say that.                  That's
 6      mischaracterizing it.
 7             Q.    Well, we've looked at how many schools now,
 8      and you've told me for each one of the schools that
 9      we've looked at you don't remember anything about
10      the communications you were receiving at the time;
11      is that right?
12             A.    I didn't say don't remember anything.                        I
13      can't possibly tell you what I said in the past two
14      hours about each school and every question you
15      asked.
16             Q.    Well, if we have to do this, then we'll do
17      this.
18                   MR. DeROSE:          If we have to do what,
19             Counsel?
20                   MS. WERMUTH:           Go back through them.
21                   MR. DeROSE:          Well, if you're going to do it
22             and ask her the same questions, I'm going to be
23             objecting asked and answered.                        This is not
24             going to be a trial by ordeal, Counsel.
25                   You can ask her all the questions you want,

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                                                                                Page 545
 1                         D. TRAHANAS - VOLUME II
 2             but if they've been asked and answered, you
 3             will get that objection, and she will be
 4             instructed not to answer.
 5      BY MS. WERMUTH:
 6             Q.    Do you have any recollection of getting any
 7      rejection communications from the University of
 8      Central Florida?
 9             A.    I've already asked and -- you've already
10      asked -- I've already answered.
11                   MR. DeROSE:          Answer it again.
12      BY MS. WERMUTH:
13             Q.    What's the answer?
14             A.    Can you please read that back to me?
15                   REPORTER:         The question?
16                   THE WITNESS:           Yeah, I'm sorry.
17                   (Record was read as requested.)
18             A.    No.
19      BY MS. WERMUTH:
20             Q.    Do you have any recollection of getting any
21      rejection communications from University of Miami?
22                   MR. DeROSE:          Don't look at them.            Just
23             answer the question.
24             A.    No, I don't recall when I got -- if I got
25      any e-mails, when I got them, what it was about,

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                                                                                Page 546
 1                         D. TRAHANAS - VOLUME II
 2      when it was a rejection letter, if it was a
 3      secondary application, or anything specific.
 4      BY MS. WERMUTH:
 5             Q.    To any of the 15 schools that you applied
 6      to in the 2015 cycle?
 7             A.    Based on not looking at anything right now,
 8      I can't definitively say yes.
 9             Q.    Okay.     Then we are going to go through one
10      by one.
11                   With respect to Oakland University, do you
12      recall getting a rejection notice from Oakland
13      University?
14                   MR. DeROSE:          Objection.             Asked and
15             answered.       Do not answer the question.
16                   Counsel, you got a record there.                     Use your
17             record.
18                   Do not look, Diane.
19      BY MS. WERMUTH:
20             Q.    Are you following the instruction to not
21      answer the question?
22             A.    I'm, yeah, taking advice from John.
23                   MS. WERMUTH:           Can I mark this, please.
24                   MR. DeROSE:          Good job.
25                   MS. WERMUTH:           I don't mean to throw it.

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                                                                                 Page 547
 1                         D. TRAHANAS - VOLUME II
 2                   MR. DeROSE:          No, no, no.              I appreciate it.
 3                   (Trahanas Exhibit 87 marked for
 4             identification.)
 5      BY MS. WERMUTH:
 6             Q.    Okay.     Ms. Trahanas, you now have what's
 7      marked as Deposition Exhibit 87, which are the
 8      materials that we received from Central Michigan
 9      University in connection with our subpoena to that
10      school.
11                   Can you turn to the last page, please?
12             A.    I'm there.
13             Q.    And this is the page Bates labeled
14      Trahanas-NU11800.            And this is a communication from
15      Chris Austin, the director of admissions at CMU
16      College of Medicine, to you.
17                   Do you see that?
18             A.    I do.
19             Q.    Have you read it?
20             A.    Right now or in -- I can read it real
21      quick.
22                   (Pause.)
23             A.    Okay.
24             Q.    Do you recall receiving this communication
25      from Central Michigan College of Medicine?

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                                                                                  Page 548
 1                         D. TRAHANAS - VOLUME II
 2             A.    I don't recall the specific e-mail.
 3             Q.    Do you recall generally receiving a
 4      communication in December of 2014 from Central
 5      Michigan College of Medicine?
 6             A.    I -- I don't remember.
 7             Q.    Okay.     So you don't remember being rejected
 8      from Central Michigan College of Medicine in
 9      December of 2014?
10                   MR. DeROSE:          Objection.             This letter does
11             not say rejected in any place, but go ahead.
12             A.    I don't remember receiving it in December.
13      I don't remember if -- I don't recall.
14      BY MS. WERMUTH:
15             Q.    You don't recall what, receiving this, or
16      being rejected, or both?
17                   MR. DeROSE:          Counsel, she's not being
18             rejected.       They said we are unable to move your
19             application forward at this time.                         It's
20             clearing -- you're right to ask did you receive
21             this, and she said she doesn't remember.                         But
22             characterizing any document the way you're
23             doing is not fair.
24                   MS. WERMUTH:           I object to your commentary
25             which is instructing the witness improperly.

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                                                                                       Page 549
 1                         D. TRAHANAS - VOLUME II
 2             I've said it four times now --
 3                   MR. DeROSE:          Well, you know what --
 4                   MS. WERMUTH:           -- and I'll say it again
 5             every single time you do it.
 6                   MR. DeROSE:          All right.             Counsel, all I'm
 7             going to say, then, you're going to get an
 8             objection the document speaks for itself.                            The
 9             document only says what it says.
10                   MS. WERMUTH:           I am permitted to ask
11             questions about the document.
12      BY MS. WERMUTH:
13             Q.    Do you -- when you read this, Ms. Trahanas,
14      do you believe -- do you not read this as a
15      rejection letter?
16             A.    I read it as a delay in the application.
17             Q.    A delay?        You thought this was a delay?
18             A.    I don't remember what I thought at the
19      time.     That was four plus years ago.                          I don't
20      remember at the time what I thought about it.                              I
21      don't remember reading it.                   I don't remember it.
22             Q.    As you sit here today, you think it's a
23      delay in the application?                   That's what you're
24      telling me?
25             A.    Well, like I said with the other

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                                                                                Page 550
 1                         D. TRAHANAS - VOLUME II
 2      applications, it doesn't specifically state that
 3      it's a rejection.
 4             Q.    It does say this, "We wish you every
 5      success in finding a position at another fine
 6      institution"; right?              It says that?
 7             A.    Yes, I do see that.
 8             Q.    But you think this is, nevertheless, a
 9      delay in your application?
10             A.    Well, in the second paragraph that's what I
11      would read that as.
12             Q.    A rejection?
13                   MR. DeROSE:          Wait.
14             A.    No, a delay.
15      BY MS. WERMUTH:
16             Q.    You still read it as a delay?
17             A.    I'm saying according to the second
18      paragraph.
19             Q.    Read the -- read the letter as a whole.
20      You think that Central Michigan College of Medicine
21      is telling you we're delaying review of your
22      application?        You think that's what this message is
23      in total?
24                   MR. DeROSE:          You know what, Counsel, I
25             don't want to argue with you, but, first of

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                                                                                   Page 551
 1                 D. TRAHANAS - VOLUME II
 2      all, she told you that applications get
 3      considered later when they don't fill their
 4      class.     They said we're not considering your
 5      application at this time.                   That's all they're
 6      saying.
 7           MS. WERMUTH:          You're arguing.                 She --
 8           MR. DeROSE:         I'm not arguing.
 9           MS. WERMUTH:          Let me finish.                Let me
10      finish.
11           MR. DeROSE:         I am not arguing.                  I'm making
12      a statement.        Wait a minute.
13           MS. WERMUTH:          You're arguing.
14           MR. DeROSE:         Let me finish.                I am not
15      arguing.      I'm saying the document says what it
16      says, and no more.             No less, no more.                 It says
17      at this time we're not considering your
18      application.
19           MS. WERMUTH:          No, it doesn't say that.                   If
20      it says what it says, it certainly doesn't say
21      that.
22           MR. DeROSE:         Well, we are not able to -- I
23      don't have it right in front of me now, but it
24      said we cannot consider the application.                            They
25      got probably many more bright students that

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                                                                                Page 552
 1                 D. TRAHANAS - VOLUME II
 2      they are looking at.
 3           MS. WERMUTH:          That's not what it says.               It
 4      doesn't say that, John.
 5           MR. DeROSE:         I agree.
 6           MS. WERMUTH:          And you have mischaracterized
 7      it now several times.
 8           MR. DeROSE:         But you --
 9           MS. WERMUTH:          The fact of the matter is
10      this is a rejection letter.                       If she wants to
11      characterize it differently, fine.
12           MR. DeROSE:         Well, that can be your
13      argument.
14           MS. WERMUTH:          The other thing is the
15      testimony about schools accepting people
16      after -- after rejecting them is testimony that
17      I've already moved to strike today because
18      there is no foundation for it.                        She says that
19      none of the schools that she applied to ever
20      did anything of the sort.
21           MR. DeROSE:         Do you see the word
22      "rejection" in there?
23           MS. WERMUTH:          It certainly says we wish you
24      every success -- we're not -- we're unable to
25      move your application forward, and we wish you

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                                                                                   Page 553
 1                 D. TRAHANAS - VOLUME II
 2      success in another institution --
 3           MR. DeROSE:         We're not able to --
 4           MS. WERMUTH:          -- not our institution.
 5           MR. DeROSE:         What page are you on again?
 6           MS. WERMUTH:          11800.
 7           MR. DeROSE:         Give me one moment.                     I think
 8      it says more than.
 9           MS. WERMUTH:          Honestly, I'm moving on.
10           MR. DeROSE:         Well, before you move on, I
11      got to make a record on what it says.
12           MS. WERMUTH:          I thought it -- I thought the
13      record is clear, John.                I thought you said the
14      record is clear.
15           MR. DeROSE:         Yeah, but you just said that
16      it says something different than it says.
17           MS. WERMUTH:          Honestly, it's an absurd
18      argument to -- it is an absurd argument to
19      suggest that this is anything other than a
20      rejection letter.            If that's the position you
21      want to take, that's fine.
22           MR. DeROSE:         Excuse me.
23           MS. WERMUTH:          I don't think any court of
24      law will agree with you.
25           MR. DeROSE:         I want to read the one

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                                                                                Page 554
 1                         D. TRAHANAS - VOLUME II
 2             sentence into the record again that you just
 3             misstated.
 4                   MS. WERMUTH:           I didn't misstate it.
 5                   MR. DeROSE:          The sentence -- the sentence
 6             says, "We are unable to move your application
 7             forward at this time."                     Period.
 8                   MS. WERMUTH:           And then there is another
 9             sentence that says, "We wish you every success
10             in finding a position at another fine
11             institution."
12                   MR. DeROSE:          And that's fine, Counsel.             But
13             the document says what it says.
14                   MS. WERMUTH:           Can you mark this, please.
15                   (Trahanas Exhibit 88 marked for
16             identification.)
17                   MS. WERMUTH:           Here, I will ask you
18             please -- thank you.                 I don't want throw a
19             heavy one.
20      BY MS. WERMUTH:
21             Q.    Okay.     Ms. Trahanas, you've been handed
22      Deposition Exhibit 88.                These are the materials that
23      we received from the University of South Carolina.
24                   Were you accepted to medical school at the
25      University of South Carolina?

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                                                                                  Page 555
 1                         D. TRAHANAS - VOLUME II
 2             A.    No.
 3             Q.    And you received a rejection notice from
 4      the University of South Carolina; is that correct?
 5             A.    I don't recall receiving a rejection letter
 6      from them.
 7             Q.    How do you know that you were rejected?
 8             A.    The subpoenaed documents you gave me
 9      probably.
10             Q.    You didn't know that before the subpoena --
11      you got the subpoenaed documents in 2018; is that
12      your testimony?
13             A.    I don't think that's what I said, but I
14      don't know when I knew.
15             Q.    Can you turn, please, to the page that's
16      Bates labeled Trahanas-NU11819.                        Are you with me?
17             A.    Yes.
18             Q.    You'll see that that's an e-mail dated
19      December 1st of 2014.
20                   Do you see that?
21             A.    Yes.
22             Q.    From admissions@greenville --
23      greenvillemed.sc.edu to diane.trahanas@gmail.com?
24             A.    I see that at the top, yes.
25             Q.    Okay.

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                                                                                   Page 556
 1                         D. TRAHANAS - VOLUME II
 2                   MR. DeROSE:          You said 118?
 3                   MS. WERMUTH:           19.
 4                   MR. DeROSE:          19.       How close -- is it at the
 5             bottom there?           I'm having a little trouble
 6             here.
 7                   I'm sorry.         Go ahead, Counsel.               I'm sorry.
 8      BY MS. WERMUTH:
 9             Q.    Do you recall receiving that e-mail?
10             A.    I don't recall receiving this e-mail.
11             Q.    Did you search your gmail account for
12      greenvillemed?
13             A.    Yes, University of South Carolina,
14      Carolina, southern, Greenville, Greenville School of
15      Medicine, Greenville Medical School, South
16      Carolina -- or USC, Greenville Medical School,
17      School of Medicine.
18             Q.    And no e-mails came up when you ran all of
19      those searches that you just told me you ran?
20             A.    Correct, unless I reapplied to this in 2018
21      and I have e-mails that I gave you from that.                          I
22      don't remember what -- what schools those were.
23             Q.    When did you first -- strike that.
24                   Central Michigan University, did you run
25      any of -- did you run that school's name through

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                                                                                   Page 557
 1                         D. TRAHANAS - VOLUME II
 2      your gmail account?
 3             A.    Yes.
 4             Q.    And that would include your inbox, sent
 5      box, and deleted items?
 6             A.    Yes.
 7             Q.    And you found no e-mails responsive to
 8      those search queries?
 9             A.    For the 2015 cycle, that's correct.                       I
10      don't know if I applied in 2018.                          If so, I'm
11      positive I gave you those e-mails or
12      correspondences.
13             Q.    And in looking at Page 11819, this is an
14      invitation to submit a secondary application to the
15      University of Southern -- South Carolina; correct?
16             A.    Yes.
17             Q.    And it tells you in this e-mail that the
18      supplemental application was due January 15th of
19      2015; correct?
20             A.    Yes.
21             Q.    And you did not submit a secondary
22      application by that date; correct?
23             A.    I don't believe so, correct.
24                   MS. WERMUTH:           Excuse me, Ms. Trahanas, will
25             you hand that to John?                     Thank you.

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                                                                                   Page 558
 1                         D. TRAHANAS - VOLUME II
 2                   (Trahanas Exhibit 89 marked for
 3             identification.)
 4      BY MS. WERMUTH:
 5             Q.    You now have Deposition Exhibit 89 in front
 6      of you.      These are the materials that we received
 7      from Florida International University.                           And I'm
 8      going to direct your attention to NU -- I'm sorry,
 9      Trahanas-NU12041, which is near the end.
10                   MR. DeROSE:          Let me get there. All right.
11             I'm there, honey -- Counsel.
12      BY MS. WERMUTH:
13             Q.    According to the records we received from
14      FIU, you were invited to submit a secondary
15      application on December 1st of 2014.
16                   Do you see that?               So let me ask this in a
17      better way.        There's -- if you look at the -- the
18      screenshot that FIU sent us on Page 11241, there's
19      an area that looks like it's boxed off, and in the
20      middle of it says, "Acknowledgment e-mail sent."
21                   Do you see that under "description"?
22             A.    I do.
23             Q.    And then, next to that, under "Comments,"
24      it says "Selected for secondary application."
25                   Do you see that?

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                                                                                Page 559
 1                         D. TRAHANAS - VOLUME II
 2             A.    I see that.
 3             Q.    And the date is 12/1/2014.
 4                   Do you see that?
 5             A.    Yes.
 6             Q.    Okay.     And then, according to -- and do you
 7      have memory of being selected and receiving an
 8      acknowledgment e-mail from FIU to submit a secondary
 9      application?
10             A.    I don't recall.
11             Q.    And did you search your e-mail for FIU or
12      Herbert Wertheim for responsive e-mails?
13             A.    Yes, both the long and the -- so both the
14      acronym and Florida International University.
15             Q.    And you did not turn up any e-mails in
16      connection with that search?
17             A.    For the 2015 cycle, no.                     Like I said
18      earlier, if I applied to it in 2018, I gave you
19      those e-mails.
20             Q.    And then there's an entry two levels below
21      what we just looked at where it says, "Secondary
22      application started."
23                   Do you see that?
24             A.    Yes.
25             Q.    And -- and then under "Date" it says

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                                                                                Page 560
 1                         D. TRAHANAS - VOLUME II
 2      12/3/2014.
 3                   Do you see that?
 4             A.    Yes.
 5             Q.    And then under "Username" it has your gmail
 6      account.
 7                   Do you see that?
 8             A.    Yes.
 9             Q.    Okay.     So according to their records, FIU's
10      records, you went in and started the secondary
11      application on December 3rd of 2014.
12                   Do you see that?
13             A.    Sure, but I'm not sure what "started"
14      means.
15             Q.    Okay.     So let me ask you that question.
16                   Did you start a secondary application for
17      FIU in December of 2014?
18             A.    I don't remember.
19             Q.    And then, there is a -- an entry below that
20      where it says "Withdrawn before accepted, applicant
21      withdrew."
22                   Do you see that?
23             A.    I do.
24             Q.    And it says under "Comments," "Passive."
25                   Do you see that?

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                                                                                Page 561
 1                         D. TRAHANAS - VOLUME II
 2             A.    I see that.
 3             Q.    And then, the date that's being marked as
 4      the date of your passive withdrawal is December 16
 5      of 2014.
 6                   Do you see that?
 7             A.    Yes.
 8             Q.    And do you know, as you sit here now, when
 9      the appli- -- secondary application to FIU was due?
10             A.    No.
11             Q.    Do you have reason to believe it was due on
12      December 15th of 2014?
13             A.    I have no idea.
14             Q.    And you did not complete a secondary
15      application for FIU; correct?
16             A.    I don't recall.
17             Q.    Well, according to FIU's records, you did
18      not complete a secondary application; is that right?
19                   MR. DeROSE:          If you know what their records
20             show.
21             A.    I'm not sure what "passive" means in that
22      box that you referred to on Bates stamp
23      Trahanas-NU12041 -- I'm sorry, 12041.
24      BY MS. WERMUTH:
25             Q.    But as you sit here today, you can't tell

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                                                                                Page 562
 1                         D. TRAHANAS - VOLUME II
 2      me with certainty that you finished a secondary
 3      application for FIU; correct?
 4             A.    That's correct.
 5             Q.    You were never invited to interview at FIU;
 6      correct?
 7             A.    Not that I recall.
 8             Q.    And you were not invited to interview at
 9      University of Central Florida; correct?
10             A.    Not that I recall.
11             Q.    And you were not invited to interview at
12      University of Miami; correct?
13             A.    Not that I recall.
14             Q.    And you were not invited to interview at
15      Oakland University; correct?
16             A.    Not that I recall.
17             Q.    And you were not invited to interview at
18      Geisinger Commonwealth; correct?
19             A.    Not that I recall, yes.
20             Q.    And you were not invited to interview at
21      Central Michigan University; right?
22             A.    Not that I recall.
23             Q.    And you were not invited to interview at
24      the University of South Carolina; right?
25             A.    Not that I recall.

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                                                                                Page 563
 1                         D. TRAHANAS - VOLUME II
 2             Q.    And you were not invited to interview with
 3      FIU?    Did I ask you that one?
 4                   MR. DeROSE:          Answer it again.
 5             A.    I'll answer it.              Not that I recall.
 6      BY MS. WERMUTH:
 7             Q.    Okay.     In fact, you haven't interviewed
 8      with any medical school; correct?
 9             A.    Um, yes, that would be correct.
10                   MS. WERMUTH:           Can I have this marked,
11             please.
12                   Excuse me, Ms. Trahanas, would you mind?
13             Thank you.
14                   (Trahanas Exhibit 90 marked for
15             identification.)
16      BY MS. WERMUTH:
17             Q.    Okay.     Ms. Trahanas, do you recall being
18      invited for -- to -- to submit a secondary
19      application for Florida Atlantic University?
20             A.    I -- I don't recall.
21             Q.    Do you recall -- strike that.
22                   You did not complete a secondary
23      application for Florida Atlantic University; is that
24      correct?
25                   MR. DeROSE:          If you know without looking at

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                                                                                Page 564
 1                         D. TRAHANAS - VOLUME II
 2             documents, you can answer.
 3             A.    I don't recall.
 4      BY MS. WERMUTH:
 5             Q.    You think you may have completed a
 6      secondary application for Florida Atlantic; is that
 7      your testimony?
 8             A.    I don't remember.
 9             Q.    Has any school ever indicated to you that
10      you could submit a secondary application after
11      January 30th of any given application cycle?
12             A.    I don't know.
13             Q.    You don't know?
14             A.    (Witness nods.)
15             Q.    Have you received any communication from
16      any school that you applied to with a date for a
17      secondary application after January 30th?
18             A.    For any application cycle, I don't know.
19             Q.    What about for the 2015 application cycle?
20             A.    For either.          I don't know.
21                   MS. WERMUTH:           Can you mark this, please.
22                   (Trahanas Exhibit 91 marked for
23             identification.)
24                   MS. WERMUTH:           Thank you.
25      ///

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                                                                                      Page 565
 1                         D. TRAHANAS - VOLUME II
 2      BY MS. WERMUTH:
 3             Q.    Okay.     Ms. Trahanas, you've been handed
 4      what's been marked as Deposition Exhibit 91.                               This
 5      was material that was appended to Jorge Girotti's
 6      expert report.
 7                   You attended his deposition; right?
 8             A.    Correct.
 9             Q.    Okay.     And according to these materials,
10      Florida Atlantic University, if you -- if you look
11      on the first page of this, will not consider
12      secondary applications submitted after
13      December 31st of an application cycle.
14                   Do you see that?
15             A.    Yes, I see it at the bottom.
16             Q.    And if you look at Deposition Exhibit 90,
17      which was Florida Atlanta [sic] subpoena materials,
18      are you with me -- Florida Atlantic?                             On
19      Page 12060 --
20             A.    I'm on that page.
21                   MR. DeROSE:          Give me a couple seconds.
22                   MS. WERMUTH:           Certainly.
23                   MR. DeROSE:          I'm almost there.                   All right.
24             Counsel, go ahead.
25      ///

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                                                                                Page 566
 1                         D. TRAHANAS - VOLUME II
 2      BY MS. WERMUTH:
 3             Q.    You'll see on that page that in the middle
 4      of the sort of grid area under application status --
 5      I'm sorry, under "Description" it says "Selected
 6      secondary application."
 7                   Do you see that?
 8             A.    Yes, I follow you.
 9             Q.    And the date indicated there is 12/15/2014.
10                   Do you see that?
11             A.    Yes.
12             Q.    And then, right below it, it says an
13      acknowledgment e-mail was sent to you on
14      12/15/2014 regarding your selection for secondary
15      application.
16                   Do you see that?
17             A.    I see that.
18             Q.    Okay.     And as you sit here today, you can't
19      tell me with certainty that you submitted the
20      secondary application; correct?
21             A.    That's correct.
22             Q.    And you can't tell me with certainty that
23      you submitted the secondary application before
24      December 31st of 2014; correct?
25             A.    That's correct.

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                                                                                Page 567
 1                         D. TRAHANAS - VOLUME II
 2             Q.    And you haven't produced any evidence that
 3      you have submitted a secondary application to FAU;
 4      correct?
 5             A.    Not that I recall.
 6             Q.    Okay.     And you -- and you did not get an
 7      interview with FAU; correct?
 8             A.    Correct.
 9             Q.    And did you, excuse me, search FAU and its
10      various iterations in your gmail account?
11             A.    Yes.     I remember FAU, Florida Atlantic
12      University with the Charles E. Schmidt portion, also
13      with the College of Medicine portion, also FAU
14      Charles E. Schmidt College of Medicine.
15             Q.    And you didn't -- no e-mails were returned
16      in connection with that search -- those searches?
17             A.    If I applied in 2018, then I gave you
18      those, but I -- I don't know what -- if I had it, I
19      gave it to you.          I'm not sure what year -- which
20      schools I applied to in 2018 that may have
21      overlapped with that year, 2015.
22                   MS. WERMUTH:           Can we mark this, please.
23                   (Trahanas Exhibit 92 marked for
24             identification.)
25                   MS. WERMUTH:           Do you mind passing that?

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                                                                                       Page 568
 1                         D. TRAHANAS - VOLUME II
 2             Thank you.
 3      BY MS. WERMUTH:
 4             Q.    Okay.     Ms. Trahanas, you have Deposition
 5      Exhibit 92 in front of you.                       These are the materials
 6      that we received from Florida State in connection
 7      with our subpoena.
 8                   MS. WERMUTH:           Oh, did I have this marked?
 9                   MR. DeROSE:          Yes.       Well, I don't know.
10             I -- 92.
11                   MS. WERMUTH:           92, and that is -- I said
12             that was Florida State.                     Okay.          I'm sorry.   I
13             got myself confused here for a moment.
14      BY MS. WERMUTH:
15             Q.    Okay.     And if I could direct your
16      attention, please, Ms. Trahanas, to the pages Bates
17      labeled Trahanas-NU11658.
18                   MR. DeROSE:          Give me one second.                   All
19             right.      Go ahead.
20      BY MS. WERMUTH:
21             Q.    And 659.        Actually, you know what, I'm
22      sorry.      Let's look first at Page 660 to 661.
23      According to FSU's records, you were e-mailed at
24      diane.trahanas@gmail.com from
25      medadmissions@med.fsu.edu on December 1st of 2014.

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                                                                                Page 569
 1                         D. TRAHANAS - VOLUME II
 2                   Do you see that?
 3             A.    I see that at the top, yes.
 4             Q.    Okay.     And according to this e-mail, FSU
 5      was confirming receipt of your AMCAS application; is
 6      that right?
 7             A.    Yes, I see that.
 8             Q.    And they also invited you to complete a
 9      secondary application; is that right?
10             A.    Yes.
11             Q.    And if you look at the next page, 661,
12      where the e-mail is continued, there's a sentence
13      that reads, "The deadline to submit the secondary
14      and all supplemental materials is December 31st,
15      2014."
16                   Do you see that?
17             A.    Yes.
18             Q.    Okay.     And you did not submit a secondary
19      application to FSU; correct?
20             A.    Not that I recall.                   I don't know.
21             Q.    You don't know or you don't -- or did you
22      do it?
23                   MR. DeROSE:          She just said she doesn't
24             recall, but go ahead.
25                   MS. WERMUTH:           Well, she said I don't

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                                                                                Page 570
 1                         D. TRAHANAS - VOLUME II
 2             recall, and then she said I don't know, and I'm
 3             just trying to understand --
 4                   MR. DeROSE:          All right.             That's fair
 5             enough.
 6                   Do you not recall or you don't know?
 7      BY MS. WERMUTH:
 8             Q.    Did you submit a secondary application to
 9      FSU?
10             A.    Not that I recall.
11             Q.    Turning to Pages 11658 to 659, this is an
12      e-mail to the diane.trahanas@gmail.com account.
13                   Do you see that?               Do you see that your
14      gmail account is listed as the recipient?
15             A.    I'm sorry.         I'm on Page 11658.
16             Q.    Correct.
17             A.    Okay.
18             Q.    Do you see that your gmail account is
19      listed as the recipient?
20             A.    Yes.
21             Q.    And it is from medadmissions@med.fsu.edu.
22                   Do you see that?
23             A.    Yes, I do.
24             Q.    And the date of the e-mail is 1/6/2015.
25                   Do you see that?

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                                                                                Page 571
 1                         D. TRAHANAS - VOLUME II
 2             A.    I do.
 3             Q.    And do you see what the subject line says?
 4             A.    Yes.
 5             Q.    It says that your application was
 6      incomplete; correct?
 7             A.    Correct.
 8             Q.    And in the third paragraph of this e-mail,
 9      it reads, "Unfortunately, your application will not
10      be considered this admission cycle, as all required
11      admission criteria were not met."
12                   Do you see that?
13             A.    I do.
14             Q.    Does this help refresh your memory as to
15      whether you completed your secondary application to
16      FSU?
17             A.    I would believe what it says.
18             Q.    All right.         You have no reason to dispute
19      what this e-mail says?
20             A.    Correct.
21             Q.    Okay.     And did you search for FSU or
22      Florida State University in your gmail account?
23             A.    I did, along with college of -- FSU College
24      of Medicine and the long form.
25                   MS. WERMUTH:           Can I have this marked,

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                                                                                    Page 572
 1                         D. TRAHANAS - VOLUME II
 2             please.
 3                   (Trahanas Exhibit 93 marked for
 4             identification.)
 5                   MS. WERMUTH:           Thank you.             Would you mind
 6             passing that?           Thank you.
 7      BY MS. WERMUTH:
 8             Q.    Okay.     Ms. Trahanas, you've been handed now
 9      what's been marked as Deposition Exhibit 93.
10                   Do you recognize this document?                      Strike
11      that.     I'm sorry.         Let me tell you what this is.
12                   VIDEOGRAPHER:            Microphone, Counsel.
13      BY MS. WERMUTH:
14             Q.    Okay.     I'm sorry.            Deposition Exhibit 93 --
15      let me make sure I get the right one here.
16                   Okay.     So these, I'll represent to you, in
17      this exhibit are the records we received from
18      Virginia Tech College of Medicine in connection with
19      our subpoena.
20                   You applied to Virginia Tech; correct?
21             A.    I have no reason to dispute otherwise, but
22      yes.
23                   MR. DeROSE:          It's Carilion, C-a-r-i -- or,
24             excuse me, C-a-r-l-l-i-o-n [sic] School of
25             Medicine, not College of Medicine.

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                                                                                Page 573
 1                         D. TRAHANAS - VOLUME II
 2      BY MS. WERMUTH:
 3             Q.    Virginia Tech, yeah, Carilion School of
 4      Medicine.
 5                   You applied to that school in the 2015
 6      cycle; right?
 7             A.    Yes.
 8             Q.    Okay.     And if you look at the page that's
 9      Bates labeled -- it actually has a labeling that the
10      school itself put on the documents, so it's
11      VTCSOM0002.
12             A.    I'm on that page.
13             Q.    And on this page it appears to be an e-mail
14      with diane.trahanas@gmail.com as the recipient.
15                   Do you see that?
16             A.    Yes.
17             Q.    And that's your -- the gmail account that
18      we've been discussing today; correct?
19             A.    Yes.
20             Q.    And the e-mail is from
21      vtcadmissions2015@carilionclinic.org.
22                   Do you see that?
23             A.    I do.
24             Q.    And the date of the e-mail is December 4th,
25      2014.

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                                                                                Page 574
 1                         D. TRAHANAS - VOLUME II
 2                   Do you see that?
 3             A.    Yes.
 4             Q.    And on this date you were notified by
 5      Virginia Tech that after review and consideration of
 6      your record, the admissions committee had decided
 7      not to invite you to submit a secondary application.
 8                   Do you see that?
 9             A.    Yes.
10             Q.    Okay.     And do you recall receiving this
11      e-mail?
12             A.    I don't recall.
13             Q.    And did you search for Virginia Tech in
14      your gmail account?
15             A.    Yes.
16             Q.    Did you --
17             A.    I'm sorry.
18             Q.    Tell me all of the iterations that you
19      searched for.
20             A.    VTC, Virginia Tech, Carilion, Virginia Tech
21      Carilion SOM, Virginia Tech Carilion School of
22      Medicine.       I think that's all of them.
23             Q.    And you did not turn up any e-mails in
24      those searches?
25             A.    I'm not sure if I reapplied to this school

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                                                                                Page 575
 1                         D. TRAHANAS - VOLUME II
 2      in 2018, but yes, I don't have any correspondence
 3      with them.
 4             Q.    From the 2015 cycle?
 5             A.    Yeah.
 6             Q.    Did you ever contact anyone at Google to
 7      see whether or not you could retrieve e-mails that
 8      you had deleted from these medical schools?
 9             A.    No.
10             Q.    And according to this e-mail, the last
11      paragraph says, "On behalf of the admissions
12      committee, I want to thank you for your interest in
13      the Virginia Tech Carilion School of Medicine, and I
14      wish you the best of luck with applications you may
15      have pending at other medical schools."
16                   Do you see that?
17             A.    I do.
18             Q.    So did you understand this to be a notice
19      that you were being rejected from Virginia Tech?
20             A.    I don't recall at the time how I
21      interpreted it, but it doesn't invite me to a
22      secondary application.
23             Q.    Right.
24                   And it also doesn't invite you to an
25      interview; correct?

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                                                                                Page 576
 1                         D. TRAHANAS - VOLUME II
 2             A.    Correct.
 3                   MS. WERMUTH:           Can we mark this, please.
 4                   (Trahanas Exhibit 94 marked for
 5             identification.)
 6      BY MS. WERMUTH:
 7             Q.    Okay.     You've been handed now what's been
 8      marked as Deposition Exhibit 94.                         These are
 9      materials we received in connection with our
10      subpoena to Wayne State University.
11                   MS. WERMUTH:           We'll take a break after this
12             one.
13             A.    Okay.     Thanks.
14             Q.    Okay.     So if you could turn to Trahanas-NU
15      at 1111 -- I'm sorry, 11987.
16             A.    I'm on that page now.
17             Q.    Okay.     And according to Wayne State's
18      records, you -- there -- there was an action taken
19      on your application on January 9th of 2015 that is
20      coded as a preliminary rejection.
21                   Do you see that?
22             A.    Yes.
23             Q.    Okay.     And do you recall receiving any
24      notification from Wayne State about the preliminary
25      rejection on that date?

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                                                                                Page 577
 1                         D. TRAHANAS - VOLUME II
 2             A.    No.
 3             Q.    Okay.     And on the next page, 11988, are you
 4      with me?
 5             A.    I am.
 6             Q.    You'll see that Wayne State has coded your
 7      application as rejected on February 15th of 2017.
 8                   Do you see that?
 9             A.    I do see that.
10             Q.    And you don't dispute that this one is a
11      rejection; right?
12             A.    No, it says rejection.
13             Q.    And do you recall receiving a communication
14      from Wayne State with a rejection?
15             A.    No.
16             Q.    But you know you were rejected from Wayne
17      State; correct?
18             A.    I -- I don't dispute their record.
19             Q.    And did you search for Wayne State in your
20      gmail account?
21             A.    I did.      Wayne State, Wayne State
22      University, Wayne State University School of
23      Medicine, Michigan -- Wayne State Michigan, I'm
24      sorry.      That's what I recall.
25                   MR. DeROSE:          Counsel, could you give me the

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                                                                                  Page 578
 1                 D. TRAHANAS - VOLUME II
 2      number of the page you just talked about?                          What
 3      was it?      I'm sorry, because I'm on 11998, and
 4      it's not a rejection at all.
 5           MS. WERMUTH:          11988.
 6           MR. DeROSE:         11988.         Okay.        I got it.
 7           MS. WERMUTH:          Okay.        We can take a break
 8      now.
 9           VIDEOGRAPHER:           Ending disc number two of
10      the deposition of Diane Trahanas.                          We are off
11      the record at 1:43 P.M.
12           (Lunch recess taken from 1:43 P.M.
13      to 2:23 P.M.)
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                                                                                   Page 579
 1                         D. TRAHANAS - VOLUME II
 2                                 AFTERNOON SESSION
 3                            (Time noted: 2:23 P.M.)
 4                   VIDEOGRAPHER:            And beginning disc number
 5             three of the deposition of Diane Trahanas.                       We
 6             are back on the record at 2:23 P.M.
 7                   MS. WERMUTH:           Okay.         I would like to have
 8             this marked, please.
 9                   (Trahanas Exhibit 95 marked for
10             identification.)
11                   MS. WERMUTH:           Do you mind passing it?            I
12             appreciate that.
13      D I A N E        T R A H A N A S,
14         resumed and testified as follows:
15      CONTINUED EXAMINATION
16      BY MS. WERMUTH:
17             Q.    All right.         Ms. Trahanas, you've been
18      handed what's been marked as Deposition Exhibit 95.
19      These are the materials that we received from -- by
20      subpoena from Wash U.               You applied to Wash U in the
21      2015 app- -- application cycle; right?
22             A.    Yes.
23             Q.    Okay.     And if you would turn to Page --
24      what's marked WU0005.               According to this document,
25      this is an e-mail sent to the

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                                                                                Page 580
 1                         D. TRAHANAS - VOLUME II
 2      diane.trahanas@gmail.com address on December 1st,
 3      2014.
 4                   Do you see that?
 5             A.    Yes, at the top.
 6             Q.    And -- okay.           And it's from
 7      wumscoa@wustl.edu.
 8                   Do you see that?
 9             A.    I do.
10             Q.    Do you recall receiving this e-mail on or
11      about December 1st of 2014?
12             A.    I don't recall.
13             Q.    Okay.     Do you recall being invited to
14      submit supplemental application materials to
15      Washington University School of Medicine?
16             A.    I don't recall.
17             Q.    Okay.     According to this e-mail you were
18      invited to do that; do you agree?
19             A.    I do agree.
20             Q.    Okay.     And then, on the next page, Bates
21      labeled WU0006, on 12/18 of 2014 an e-mail is sent
22      to you at diane.trahanas@gmail.com.
23                   Do you see that?
24             A.    Yes.
25             Q.    And it's from wumscoa@wustl.edu.

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                                                                                Page 581
 1                         D. TRAHANAS - VOLUME II
 2                   Do you see that?
 3             A.    Yes.
 4             Q.    Okay.     And according to this e-mail, your
 5      supplemental application was still in draft status.
 6                   Do you see that?
 7             A.    I do.
 8             Q.    Do you recall starting to draft a
 9      supplemental application for Washington University
10      School of Medicine?
11             A.    I don't recall.
12             Q.    Okay.     Did you ever complete one for
13      Wash U?
14             A.    I don't recall.
15             Q.    Well, on the next page, WU0007, on
16      January 18 of 2015, from the same e-mail address to
17      your gmail address you were notified again that your
18      supplemental application could not be processed
19      without you completing it; right?
20             A.    Yes, it says that in the e-mail.
21             Q.    Okay.     And as you sit here today, you
22      cannot state with any certainty that you, in fact,
23      did complete your supplemental application materials
24      by Wash U's deadline?
25             A.    That's correct.

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                                                                                Page 582
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Or that you completed them at all, you
 3      can't say that with certainty; right?
 4             A.    Correct.
 5             Q.    And did you search Wash U and any iteration
 6      of Wash U College of Medicine in your e-mail
 7      searches?
 8             A.    Yes.     Washington University, Washington
 9      University School of Medicine, Washington University
10      St. Louis.       I believe I only searched St. Louis as
11      well.     Did I say Wash -- and then Wash University.
12             Q.    How is it that you're recalling all of
13      these specific e-mail searches, the actual search
14      terms, as you sit here today?
15             A.    I'm not sure I can explain my, I guess,
16      neurological response to that, but sometimes things
17      are triggered from your memory.                        But I remember
18      searching for different iterations.
19                   Also, I believe Dr. Schwulst went to this
20      school, so he would refer to it as, like, Wash U, so
21      that would give me, you know, something to -- an
22      iteration to look for.
23             Q.    You'll see from the e-mails we just looked
24      at there's no -- the first one mentions Washington
25      University, but none of the other ones that we

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                                                                                     Page 583
 1                         D. TRAHANAS - VOLUME II
 2      looked at mentions it.
 3                   Do you see that?
 4                   So Page Bates labeled 6 and 7, there is no
 5      reference to university or Washington in those
 6      e-mails.
 7                   Do you see that?
 8             A.    Yes.     Well, no, it says Washington
 9      University School of Medicine in the subject line.
10             Q.    Not on Page 6 or 7; correct?
11             A.    Not that I can see.
12                   MR. DeROSE:          On 7 don't you have a wstl.ed?
13                   MS. WERMUTH:           My question is whether it has
14             the word "Washington" or the word "University"
15             in these e-mails, which are the --
16      BY MS. WERMUTH:
17             Q.    Did you search by "WUSTL"?                          That wasn't one
18      of the terms that you mentioned.
19             A.    I don't -- yeah, I don't recall.
20             Q.    Do you recall when you first -- you've
21      mentioned for each of the 10 or 12 schools that
22      we've talked about already today that you -- you
23      took some iteration of their name and ran searches
24      in your e-mail.          Do you remember the first time you
25      ran searches using the names of the schools?

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                                                                                Page 584
 1                         D. TRAHANAS - VOLUME II
 2             A.    No.
 3             Q.    Did you -- did you search for the word just
 4      "medical school" or the words "medical school"?
 5             A.    Yes, medical school, medicine, School of
 6      Medicine.
 7             Q.    Did you search for the word "application"?
 8             A.    Sure, medical school application, med
 9      school application.
10             Q.    No.    My question is did you search for the
11      word "application," not in connection with other
12      words, but I'm just wondering did you do -- run any
13      searches under -- just using the term "application"
14      or "apply"?
15             A.    I don't recall.
16                   MS. WERMUTH:           Can you mark this, please.
17                   (Trahanas Exhibit 96 marked for
18             identification.)
19                   MS. WERMUTH:           Can I ask you -- thank you.
20      BY MS. WERMUTH:
21             Q.    Okay.     You've been handed now what's been
22      marked as Deposition Exhibit 96.                         These are
23      materials we received from the Frank H. Netter
24      School of Medicine at Quinnipiac.
25                   Is that how you pronounce it, do you know?

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                                                                                Page 585
 1                         D. TRAHANAS - VOLUME II
 2             A.    I believe so.
 3             Q.    Okay.     You applied to Quinnipiac University
 4      in the 2015 cycle; correct?
 5             A.    Yes.
 6             Q.    Okay.     And if you look on Page NU -- I'm
 7      sorry.      Trahanas-NU11824, which is the last page?
 8             A.    Yes, I'm on that page.
 9             Q.    You see an e-mail dated 12 -- is that a 6
10      or 8?     My eyes are bad with this copy -- 12/8/2014.
11                   Do you see that?
12             A.    Yes.
13             Q.    And it's an e-mail from Tony Sorrento [sic]
14      to you, and what did you under- -- well, strike
15      that.
16                   Do you recall receiving this e-mail on or
17      about December 8th of 2014?
18             A.    I don't recall.
19             Q.    And as read it today, you don't have any
20      reason to believe that this was not sent to you on
21      or about December 8th, 2014?
22             A.    I have no way of confirming if it was sent
23      or not.      There's no -- just like in snail mail, you
24      get like a certification of something being sent.
25      There is nothing signed back.

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                                                                                Page 586
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Do you have reason to dispute Quinnipiac's
 3      records?
 4             A.    I can't speak to what -- how well their
 5      computer system is.             I don't know.
 6             Q.    You were never offered admission at
 7      Quinnipiac; correct?
 8             A.    Correct.
 9             Q.    And you were never offered the opportunity
10      to interview at Quinnipiac; correct?
11             A.    Correct.
12             Q.    And you were never offered the opportunity
13      to submit secondary application materials at
14      Quinnipiac; right?
15             A.    I don't -- I don't recall.
16             Q.    Well, according to this e-mail, you were
17      being told in early December of 2014 that a decision
18      had been made not to send you a secondary
19      application in order to complete your application.
20                   Do you see that?
21             A.    Yes, I see that.
22             Q.    Okay.     Did you search your gmail account
23      for Quinnipiac, or Netter, or any of the other --
24             A.    I recall Quinnipiac University, Quinnipiac
25      University School of Medicine.                       Those are the two I

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                                                                                      Page 587
 1                         D. TRAHANAS - VOLUME II
 2      remember.
 3             Q.    You didn't search Netter?
 4             A.    I don't recall.
 5                   MS. WERMUTH:           Can you mark that, please.
 6                   (Trahanas Exhibit 97 marked for
 7             identification.)
 8      BY MS. WERMUTH:
 9             Q.    Okay.     You've been handed what's been
10      marked as Deposition Exhibit 97.                         These are the
11      materials we received from Western Michigan in
12      connection with our subpoena.                      I guess it's the
13      Western Michigan University Homer Stryker M.D.
14      School of Medicine.
15                   Did you see apply to that school in the
16      2015 cycle?
17             A.    Yes.
18             Q.    Okay.     Let me ask you this:                      As you sit
19      here right now, can you tell -- can you name for me
20      the schools that you applied to in 20 -- the 2018
21      cycle?
22             A.    I can recall one.
23             Q.    Only one?
24             A.    Definitively one.
25             Q.    And what school is that?

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                                                                                Page 588
 1                         D. TRAHANAS - VOLUME II
 2             A.    Loyola University.
 3             Q.    And you were rejected from Loyola; right?
 4             A.    Correct.
 5             Q.    Okay.     So looking at Deposition Exhibit 97,
 6      can you turn to Page Trahanas-NU11769, please.
 7      According to the records we received from Western
 8      Michigan, an e-mail was sent to you on
 9      December 9th of 2014 with this content.
10                   Do you recall receiving an e-mail with this
11      content?
12             A.    No, I do not.
13             Q.    Okay.     And according to this particular
14      record, you were being notified by Western Michigan
15      that they were not going to extend you an invitation
16      to complete a supplemental application.
17                   Do you see that?
18             A.    Yes.
19             Q.    Do you recall a communication from Western
20      Michigan telling you as much?
21             A.    I don't recall that.
22             Q.    Do you recall being rejected from Western
23      Michigan?
24             A.    I don't recall.
25             Q.    All right.         Can you turn to the page marked

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                                                                                Page 589
 1                         D. TRAHANAS - VOLUME II
 2      11772.      Do you see in the middle of the page there's
 3      a box that says --
 4                   MR. DeROSE:          Excuse me.
 5                   MS. WERMUTH:           Bless you.
 6                   MR. DeROSE:          Thank you.
 7      BY MS. WERMUTH:
 8             Q.    -- "Applicant status activity log."
 9                   Do you see that?
10             A.    I do.
11             Q.    And do you see that there is an entry with
12      a date of 12/9/2014 at 9:47 A.M.?
13             A.    Yes.
14             Q.    And the action associated with that entry
15      is "Decline after AMCAS"?
16             A.    I see that.
17             Q.    Okay.     And you have no review to dispute
18      the accuracy of Western Michigan's records?
19             A.    Correct.
20             Q.    And did you search Western Michigan
21      University in your gmail account?
22             A.    I remember searching Western Michigan
23      University.        That's the one I can definitively say.
24             Q.    What about Homer?
25             A.    I don't recall.

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                                                                                 Page 590
 1                         D. TRAHANAS - VOLUME II
 2             Q.    What about Stryker?
 3             A.    It's possible.             I don't recall.
 4                   MS. WERMUTH:           Mark this, please.
 5                   (Trahanas Exhibit 98 marked for
 6             identification.)
 7                   MS. WERMUTH:           Would you mind passing that
 8             to your Counsel.             Thank you.
 9      BY MS. WERMUTH:
10             Q.    Okay.     You've been handed what's been
11      marked as Deposition Exhibit 98, which is the
12      materials we received from Sidney Kimmel Medical
13      College at Thomas Jefferson University.                          Turning to
14      Page Trahanas-NU11683, do you see that the preferred
15      contact information provided to this particular
16      school is your e-mail at diane.trahanas@gmail.com?
17             A.    Yes, I do.
18             Q.    Okay.     And that was your preferred contact
19      method; is that right?
20             A.    Yes.
21             Q.    And you'll see in the -- on the same page
22      in the upper right, not the far upper right, but in
23      the light green box where it says "action"?
24             A.    I'm sorry.         There's -- there is no green on
25      my page.

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                                                                                Page 591
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Oh, I'm so sorry.
 3             A.    That's okay.
 4             Q.    Yeah, yeah.
 5                   So there's a box that says "primary
 6      applicant information" on the left.
 7                   Do you see that?
 8             A.    I do.
 9             Q.    And it has your name, and then it has your
10      AAMC I.D. number.
11                   Do you see that?
12             A.    I follow, yes.
13             Q.    Okay.     And there is a box -- there is a
14      field here that says "action," colon.
15                   Do you see that?
16             A.    Yes.
17             Q.    And next to that it says "Preliminary
18      rejection 1/20/2015."
19                   Do you see that?
20             A.    I do.
21             Q.    Do you recall receiving an e-mail from
22      Sidney Kimmel --
23             A.    I do --
24             Q.    -- with a preliminary rejection on
25      1/20/2015?

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                                                                                Page 592
 1                         D. TRAHANAS - VOLUME II
 2             A.    I do not recall that.
 3             Q.    And you know that you were not accepted to
 4      Sidney Kimmel; correct?
 5             A.    Correct.
 6             Q.    And you did not receive an invitation
 7      for -- to submit secondary materials; correct?
 8             A.    I -- I don't recall.
 9             Q.    You did not receive an invitation to
10      interview; correct?
11             A.    Correct.
12             Q.    Do you know that most interviews for
13      medical school applicants are done -- are completed
14      typically before the end of January of each
15      application cycle?
16             A.    That's not -- no, I don't know that.
17             Q.    You don't know that.
18                   And is the reason that you don't know
19      because you were not invited to interview with any
20      of the medical schools?
21             A.    No.    It's because I've known people to
22      interview as late as June.                   And typically, at least
23      until April, I would say that's a normal interview
24      cycle.
25             Q.    What's the basis of that understanding on

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                                                                                 Page 593
 1                         D. TRAHANAS - VOLUME II
 2      your part?
 3             A.    Working in the medical field, having a lot
 4      of friends that are students, or were students, or
 5      residents, and speaking to various deans or
 6      programs, medical school programs.                          Also, it depends
 7      on the type of medical school that you're referring
 8      to.
 9             Q.    And the type of medical schools that you
10      applied to in the 2015 cycle all completed their
11      interview cycle some time in, at the very latest, in
12      January or February of 2015?
13             A.    I don't know.
14             Q.    You don't know, okay.
15                   Did you search your Gchats for data related
16      to your medical school applications?
17             A.    Um, anything -- any term I searched for
18      would search for anything that's related to my
19      gmail.      So inbox, send, trash, if that's a folder,
20      then it searches it.
21             Q.    So it automatically searches Gchat when
22      you're in gmail?           So if you're running a search in
23      gmail, Gchat gets included in that search?
24             A.    Yes, much like anything sent is -- is
25      found, as much as anything in the inbox, per se.

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                                                                                Page 594
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Did you search Sidney Kimmel or Thomas
 3      Jefferson in your gmail account?
 4             A.    Sidney Kimmel College of Medicine I
 5      remember.       And again, if it was on the AMCAS
 6      application, the way that the name is on the AMCAS
 7      application, I would include that or some iteration
 8      of that.      So if Thomas Jefferson is in that list,
 9      then I would search for that too.
10             Q.    Okay.     Now for the 2018 cycle, by that time
11      you're -- you're well entrenched in the litigation
12      here; right?
13             A.    The 2018, so yes.
14             Q.    Right.
15                   So you filed the lawsuit in December of
16      2015; correct?
17             A.    Correct.
18             Q.    Okay.     So by the time you went through the
19      application cycle for 2017, which would
20      have -- strike that.
21                   That -- the application cycle for 2018
22      matriculation would have required you to submit
23      application materials in 2017; right?
24             A.    Correct.
25             Q.    And by that time your lawsuit had been

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                                                                                Page 595
 1                         D. TRAHANAS - VOLUME II
 2      pending a couple of years?
 3             A.    Correct.
 4             Q.    And so, you knew you had an obligation to
 5      preserve the e-mails related to your 2018
 6      application cycle; correct?
 7             A.    Yes.
 8             Q.    Okay.     And you produced some of those
 9      communications, but not all of them; correct?
10             A.    Whatever I had, I know I sent you, so
11      I'm . . .
12                   MS. WERMUTH:           Give me just a minute,
13             please.
14                   (Whereupon a discussion was had off the
15             record.)
16                   MS. WERMUTH:           So can I please have this
17             marked.
18                   (Trahanas Exhibit 99 marked for
19             identification.)
20             Q.    Okay.     So this is Deposition Exhibit 99,
21      and you see it's Bates labeled TRAHANAS ADD
22      Exhibit 425.
23                   Do you know what -- what that means?
24             A.    Um, I remember it as it being requested.                      I
25      sent my 2018 AMCAS report, and so this was added to

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                                                                                       Page 596
 1                         D. TRAHANAS - VOLUME II
 2      the other documents I had sent.
 3             Q.    Okay.     So you did not produce this in
 4      connection with our first request for documents, it
 5      was only after we specifically came back and -- and
 6      asked your lawyer to make sure we got this; is that
 7      right?
 8             A.    It -- I don't recall either way.                         He may
 9      have had it before, but we didn't add it until later
10      because he needed to Bates stamp it.                             I don't know.
11             Q.    But it's -- it's marked "add" because it
12      was not included with the original production;
13      correct?
14             A.    I would assume so, yes.
15             Q.    And it looks like, based on what is listed
16      as a report date, that it wasn't actually run -- or
17      printed until February of 2018.
18                   Do you see that?
19             A.    Yes.
20             Q.    Okay.     And if I look at the last page of
21      this exhibit --
22             A.    Uh-hum.
23             Q.    -- there's a list of schools.
24                   Do you see that?
25             A.    Yes.

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                                                                                 Page 597
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Do you know what that means, the designated
 3      program, do you know what means?
 4             A.    Those are the schools I had applied to --
 5             Q.    Okay.
 6             A.    -- for the 2018 cycle.
 7             Q.    Okay.     So in addition to producing your
 8      application -- and, by the way, in order to produce
 9      this application, you had to go into the AMCAS
10      system and have this printed; right?
11             A.    Correct.
12             Q.    And you were able to access the system in
13      February of 2018?
14             A.    According to this, yes.
15             Q.    Well, do you remember accessing it in
16      February of 2018?
17             A.    I remember accessing it.                      I don't remember
18      when.
19             Q.    Okay.     And when you accessed it, were you
20      also able to access a report for the 2018 entering
21      class?      I'm sorry, 2015 entering class, not 2018.
22             A.    I don't recall.
23             Q.    And if you were to log into your AMCAS --
24      the AMCAS system now, would you still be able to see
25      your 2018 materials?

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                                                                                Page 598
 1                         D. TRAHANAS - VOLUME II
 2             A.    I don't know.
 3             Q.    And if you logged in now, would you be able
 4      to see your 2015 materials?
 5             A.    I don't know.
 6             Q.    And you didn't check for that before coming
 7      here today?
 8             A.    I checked --
 9                   MR. DeROSE:          You mean ever or just for the
10             dep?     I don't know what you mean by that.
11             A.    Yeah, can you please clarify?
12      BY MS. WERMUTH:
13             Q.    Okay.     So any time between October 2014 and
14      the present have you gone into the AMCAS system to
15      see if you can still access your 2015 application
16      materials?
17             A.    Yes.
18             Q.    When?
19             A.    I don't know.
20             Q.    How many times?
21             A.    I don't recall.
22             Q.    And between the time that you originally
23      applied, which looks like it was for the 2018 class,
24      September 24th, 2017, and the present, have you gone
25      into the AMCAS system to find -- to -- to look at or

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                                                                                Page 599
 1                         D. TRAHANAS - VOLUME II
 2      pull information relating to your 2018 application
 3      cycle?
 4             A.    Since the submission date, yes.
 5             Q.    Okay.     How many times?
 6             A.    I don't know.
 7             Q.    When?
 8             A.    I don't recall dates.
 9             Q.    And between February 5th, 2018, and today,
10      have you gone into the AMCAS system to pull
11      information in connection with this litigation?
12             A.    I don't -- it says here February 5th of
13      2018, so that's at least once.                       I don't know how
14      many other times.
15             Q.    Any times after February 5th, 2018?
16             A.    I -- I don't recall.
17             Q.    Okay.     And so, the schools on the last
18      page, which are Bates labeled 440, those are the
19      schools you applied to in the 2015 cycle -- I'm
20      sorry, 2018 cycle?
21             A.    Yes.
22             Q.    And it looks like three of them overlap
23      with your application in 2015; is that right?                        Wayne
24      State, Oakland?
25             A.    I would agree with those two, yes.

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                                                                                   Page 600
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Florida State?
 3             A.    No.
 4             Q.    Central Michigan.               Central Michigan you
 5      applied to in 2015?
 6             A.    I know there was another Michigan school,
 7      and I know there was a couple Florida schools.                         I
 8      would have to look and double check.
 9                   (Whereupon a discussion was had off the
10             record.)
11      BY MS. WERMUTH:
12             Q.    Okay.     So Exhibit 94.
13             A.    Okay.
14             Q.    You applied to Wayne State in 2015 cycle;
15      right?
16             A.    Yes.
17             Q.    And the 2018 cycle; correct?
18             A.    Correct.
19             Q.    Exhibit 92, you applied to Florida State in
20      the 2015 cycle?
21             A.    Yes.
22             Q.    You applied to Florida State in the 2018
23      cycle; correct?
24             A.    Yes.
25             Q.    Exhibit 87, you applied to Central Michigan

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                                                                                Page 601
 1                         D. TRAHANAS - VOLUME II
 2      in the 2015 cycle; correct?
 3             A.    Correct.
 4             Q.    And you also applied in the 2018 cycle?
 5             A.    Yes.
 6             Q.    Exhibit 85, you applied to Oakland in the
 7      2015 cycle?
 8             A.    Yes.
 9             Q.    And in the 2018 cycle?
10             A.    Correct.
11             Q.    The remaining schools you applied to in
12      2018 you did not apply to in 2015; am I correct?
13             A.    Correct.
14                   MS. WERMUTH:           Okay.         Can we mark these,
15             please.
16                   (Trahanas Exhibit 100 marked for
17             identification.)
18      BY MS. WERMUTH:
19             Q.    Okay.     So I'm handing you now what's been
20      also marked as -- I'm sorry, what's been marked as
21      Deposition Exhibit 100, which is also an
22      additional -- says "Trahanas Additional Doc 101."
23                   Do you see that?
24             A.    Yes.
25             Q.    Do you recognize the materials in

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                                                                                Page 602
 1                         D. TRAHANAS - VOLUME II
 2      Exhibit 100?
 3             A.    Yes.
 4             Q.    And what do you recognize these to be?
 5             A.    Notifications from the various schools that
 6      I had applied to for the 2018 cycle.
 7             Q.    And in order to retrieve these informations
 8      from your -- I'm sorry.
 9                   And the reason it's Bates labeled
10      "additional" is because it was not part of your
11      original production to us; is that right?
12             A.    Correct.
13             Q.    Okay.     And the reason it was not part of
14      your original production to us is because you didn't
15      search for these schools in your gmail, is that
16      correct, in connection with the original request?
17             A.    If I remember correctly, the original
18      request was made at my deposition for these
19      documents.
20             Q.    Okay.     And so, you searched for these after
21      your deposition; is that right?
22             A.    I -- I don't recall when I searched for
23      them.
24             Q.    Well, I can -- we can determine when you
25      produced them based on when your lawyer sent them to

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                                                                                Page 603
 1                         D. TRAHANAS - VOLUME II
 2      us, but you would agree with me they were not
 3      submitted with your original request -- I mean your
 4      original production; right?
 5             A.    As I look at the documents right now, these
 6      wouldn't have been available to me at that time,
 7      because they are in February.
 8             Q.    Okay.     Although some were in December of
 9      2017; correct?         November 2017 I see.
10             A.    I do see one for November, and I do see one
11      for December, yes.
12                   MS. WERMUTH:           Okay.         Could you mark that,
13             please.
14                   (Trahanas Exhibit 101 marked for
15             identification.)
16                   MS. WERMUTH:           Do you mind passing that?
17             Thank you.
18      BY MS. WERMUTH:
19             Q.    You've been handed what's been marked as
20      Deposition Exhibit 101.
21                   Do you recognize this document?
22             A.    It seems familiar.
23             Q.    Okay.     So this is the document request that
24      the defendants' served on you on September 5th of
25      2017.     Okay?     You helped your lawyer respond to

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                                                                                Page 604
 1                         D. TRAHANAS - VOLUME II
 2      these document requests; correct?
 3             A.    Yes.
 4             Q.    Okay.     And you'll see on Page 2 there's a
 5      definition of "document."
 6                   Do you see that?
 7             A.    Yes.
 8             Q.    And that -- that definition includes
 9      e-mails, if you look five lines in?
10             A.    I see that.
11             Q.    Okay.     And it also, if you look two lines
12      up, any -- "all other records kept by written,
13      electronic, photographic, or mechanical means."
14                   Do you see that?
15             A.    Yes.
16             Q.    Okay.     So you understood that when you were
17      searching for documents, you needed to look at
18      e-mails and other electronically stored information;
19      is that right?
20             A.    Yes.
21             Q.    Okay.     And you will agree with me that
22      document request No. 5 specifically asks for
23      documents -- electronic documents regarding your
24      applications to medical school.
25                   Do you see that?               It's on Page 6, document

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                                                                                Page 605
 1                         D. TRAHANAS - VOLUME II
 2      request No. 5.
 3             A.    Yes.
 4             Q.    Okay.     So there was a specific request for
 5      documents related to your applications to medical
 6      school; right?
 7             A.    Yes.
 8             Q.    Right.
 9                   And it says applications in the plural;
10      correct?
11             A.    Yes.
12             Q.    Okay.     Yeah, and you would agree with me
13      that -- strike that.
14                   So there's a document request No. 4 on that
15      same page.       It asks for all communications between
16      you and any other person concerning matters alleged
17      in the second amended complaint.
18                   Do you see that?
19             A.    I do.
20             Q.    And that would include e-mail messages;
21      right?
22             A.    Yes.
23             Q.    Okay.     And that would encompass
24      communications with medical schools; correct?
25             A.    Yes.

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                                                                                Page 606
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Do you recall what your testimony was in
 3      January of 2018 about your searches for -- in your
 4      e-mail?
 5             A.    No, I do not recall.
 6             Q.    Do you remember that you said you searched
 7      for names and events?
 8             A.    Yes, I recall that, now that you say it.
 9             Q.    Okay.     And did that include names of
10      medical schools?
11             A.    I don't recall.
12             Q.    Do you remember when I asked you if you
13      searched in Gchat?
14             A.    At my earlier deposition --
15             Q.    Correct.
16             A.    -- or earlier today?
17             Q.    No, at your deposition in 2018.
18             A.    I don't remember.
19             Q.    Okay.     So you don't remember telling me
20      that you did not search in Gchat?
21             A.    I don't recall.
22             Q.    And then, do you remember when I asked you
23      what you did to search for medical school
24      applications at that time?
25             A.    I don't recall.

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                                                                                      Page 607
 1                         D. TRAHANAS - VOLUME II
 2             Q.    So you don't know if your testimony today
 3      is consistent with what you told me a year ago?
 4                   MR. DeROSE:          And, Counsel, that's not the
 5             appropriate --
 6                   MS. WERMUTH:           I'll withdraw it.
 7                   MR. DeROSE:          -- way to impeach.
 8                   MS. WERMUTH:           I'll withdraw it.
 9                   MR. DeROSE:          So, all right.                 Thank you.
10                   MS. WERMUTH:           I'll withdraw it.                The record
11             stands.      She was under oath at the time.
12                   MR. DeROSE:          Well, there was no doubt about
13             that.     If you want to show her questions and
14             answers and what did you say, I'd be happy to
15             let you show her her dep.
16      BY MS. WERMUTH:
17             Q.    Okay.     Sticking with Exhibits 100 and
18      101 -- I'm sorry, 99 and 100.
19             A.    Okay.
20             Q.    I don't see any e-mails in -- or any
21      communications in Deposition Exhibit 100 coming from
22      East Tennessee State.               Can you tell me if I'm wrong?
23             A.    You are not wrong.
24             Q.    Okay.     Did you do anything to search for
25      communications from East Tennessee State?

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                                                                                Page 608
 1                         D. TRAHANAS - VOLUME II
 2             A.    Yes.
 3             Q.    And did you not discover any e-mails from
 4      East Tennessee State?
 5             A.    Anything I had, I gave you.
 6             Q.    Did you delete e-mails from East Tennessee
 7      State during the pendency of this litigation?
 8             A.    No.
 9             Q.    So you didn't -- so your testimony is you
10      didn't ever receive an e-mail from East Tennessee
11      State?
12             A.    Correct.
13                   MR. DeROSE:          Counsel, what she said was I
14             gave you what I got, and I did not delete
15             anything.       So you know that's not fair.
16                   MS. WERMUTH:           It is fair.             It's a
17             legitimate question.
18      BY MS. WERMUTH:
19             Q.    Okay.     Looking at Exhibit 99, it looks like
20      the first e-mail is from SF -- FSU -- I'm sorry,
21      100, from FSU.
22                   Do you see that?
23             A.    Yes.
24             Q.    Now, I'm having a little trouble following
25      these particular e-mails.                   So I see there's -- it

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                                                                                   Page 609
 1                         D. TRAHANAS - VOLUME II
 2      says medadmissions@med.fsu.edu to me.
 3                   Do you see that?
 4             A.    Correct.
 5             Q.    And then there's, like, a little arrow --
 6             A.    Yes.
 7             Q.    -- next to that.
 8                   What -- what does that arrow indicate?
 9             A.    My e-mail address.
10             Q.    Okay.     So if I clicked on that, I would see
11      diane.trahanas@gmail.com?
12             A.    Yes.
13             Q.    What is the question mark to the left?
14             A.    We'd have to ask FSU about that.                      I don't
15      know.
16             Q.    So that's not something you put on this
17      communication?
18             A.    No.
19             Q.    Is it a gmail indicator?
20             A.    I've never seen that before in -- a gmail
21      indicator.
22             Q.    And I only see the date Feb 21, but I don't
23      see a year.        Can you explain that to me?
24                   MR. DeROSE:          Don't guess.              If you know,
25             just tell her.

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                                                                                   Page 610
 1                         D. TRAHANAS - VOLUME II
 2                   MS. WERMUTH:           Please don't instruct the
 3             witness.       Thank you.
 4                   MR. DeROSE:          Excuse me, Counsel, I'm not
 5             instructing the witness, but I'm telling her if
 6             she doesn't know she --
 7                   MS. WERMUTH:           I'm not instructing, but I'm
 8             telling her.
 9                   MR. DeROSE:          Excuse me.             It's not a hard
10             question.       If you don't know, tell her.
11                   MS. WERMUTH:           I object to you instructing
12             the witness.
13                   MR. DeROSE:          You can object to everything.
14             I've before very patient with -- this is way
15             beyond what the judge allowed, but you keep
16             going, Counsel.            I'll bring it up with the
17             court if I must.
18             A.    I'm sorry.         Can I have you read the
19      question back?
20                   (Record was read as requested.)
21             A.    I cannot explain that to you.
22      BY MS. WERMUTH:
23             Q.    How do you know this is for the 2018 cycle?
24             A.    It's in regards to my application for
25      Florida State University for the 2018 entering

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                                                                                  Page 611
 1                         D. TRAHANAS - VOLUME II
 2      class.
 3             Q.    How do you know that?
 4             A.    This is the e-mail that came up when I
 5      searched for the 2018 applications.                              So
 6      February 21st is of 2018.                   Why it doesn't say 2018,
 7      I can't tell you.
 8             Q.    So just so I'm clear, when you searched for
 9      medical school applications for the 2018 cycle, you
10      put the school name in and a year in connection with
11      this?
12             A.    No.
13             Q.    Okay.     So you applied to FSU in both 2015
14      and 2018.       How do I know that this is the 2018
15      response?
16             A.    Because this is what came up when I
17      searched for it, so this is the -- this is the
18      e-mail that they gave me in response to that.                         I
19      don't know why 2018 is cut off.
20             Q.    But I -- what I'm asking you is why you
21      believe it's 2018.             Like, what did you do when you
22      searched for it to -- to con- -- for you to be
23      convinced today that this relates to the 2018
24      application?
25             A.    Because it would say February 21st, 2018.

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                                                                                 Page 612
 1                         D. TRAHANAS - VOLUME II
 2             Q.    But it doesn't say that.
 3             A.    It's not printed here.
 4             Q.    So with it -- without it being printed
 5      here, how can you be assured today, as you sit here,
 6      that it's from 2018 and not from 2015?
 7             A.    Because I know I searched for it, and I
 8      remember giving this to John.
 9             Q.    But you searched for it for 2015 as well.
10      So how do you know that this is the result that came
11      up for 2018?
12             A.    Because it would have the date next to it.
13                   MS. WERMUTH:           All right.             Then I'm going to
14             ask for copies with dates on them, then.                        Okay?
15                   MR. DeROSE:          If you've got them.              I don't
16             know if we can produce it, if this is what --
17                   MS. WERMUTH:           Well, it doesn't have the
18             year on it.
19                   MR. DeROSE:          If you've got more documents
20             that we haven't produced, please give them to
21             me, and I will get them to counsel right
22             away --
23                   MS. WERMUTH:           I'm talking about a
24             document --
25                   MR. DeROSE:          -- even though discovery is

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                                                                                Page 613
 1                 D. TRAHANAS - VOLUME II
 2      closed.
 3           MS. WERMUTH:          -- with -- with a date, a
 4      full date on it.
 5           MR. DeROSE:         I understand what you're
 6      asking for.
 7           MS. WERMUTH:          It's not an additional
 8      document.       It's a full document.
 9           MR. DeROSE:         Counsel, can you please tell
10      me how this relates to the discovery deposition
11      that His Honor granted you for a very limited
12      purpose?
13           MS. WERMUTH:          I don't think I have to
14      explain that to you.              What I've told you is
15      that how she searched her e-mails, what she
16      discovered when she searched her e-mails are
17      part of it.        She is telling me she discovered
18      this when she searched her e-mails, but I can't
19      tell what year this is, because there is no
20      year date on there.
21           MR. DeROSE:         I can't either.
22           MS. WERMUTH:          There you go.
23           MR. DeROSE:         And she might not have a date
24      for it, and I can't create what we don't have.
25      That's why I constantly asked you subpoena the

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                                                                                Page 614
 1                         D. TRAHANAS - VOLUME II
 2             records from the schools.                     She doesn't have to
 3             produce things she doesn't have.
 4                   MS. WERMUTH:           But she has a duty to
 5             preserve things that she should preserve.                       And
 6             if she's deleting e-mails or not preserving
 7             them with the dates on them, that's an issue
 8             that I'm going to continue to raise.
 9      BY MS. WERMUTH:
10             Q.    Let's turn to the next page, please.                    This
11      is from Nova -- Nova Southeastern University.                        You
12      applied to that school only in the 2018 cycle;
13      right?
14             A.    Correct.
15             Q.    Okay.     By the way, let me go back to -- I'm
16      sorry.      Let's go back to FSU, the first page there.
17                   It says in this e-mail that all of the
18      required admission criteria were not met.
19                   Do you see that in the -- in the sentence
20      that -- the paragraph that begins with
21      "unfortunately"?
22             A.    I do see that.
23             Q.    Were you invited to submit secondary
24      application materials to FSU?
25             A.    I don't know.

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                                                                                   Page 615
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Did you -- did any e-mails other than just
 3      this one e-mail come up in your e-mail search?
 4             A.    If it came up, it would -- I would have
 5      given it to you.
 6             Q.    So you may have deleted other e-mails from
 7      FSU?
 8             A.    That's not what I said.
 9             Q.    But that's my question.                     Is it possible you
10      deleted other e-mails from FSU?
11                   MR. DeROSE:          Objection what's possible.
12                   MS. WERMUTH:           Okay.         She can answer.
13             A.    What I searched for, I found, gave to John,
14      and he gave to you.
15      BY MS. WERMUTH:
16             Q.    Okay.     But here's my question:                   Did you
17      delete e-mails to or from any of the schools you
18      applied to in 2018?
19             A.    No.
20             Q.    You didn't delete any of them?
21             A.    To the best of my recollection, I would
22      never delete something when I'm supposed to preserve
23      it.
24             Q.    Okay.     The next page, please, which is
25      Bates labeled Trahanas Additional Doc 100, again, I

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                                                                                Page 616
 1                         D. TRAHANAS - VOLUME II
 2      don't see a date on here, but the only year that you
 3      applied to this school was in 2018 cycle; is that
 4      right?
 5             A.    Correct.
 6             Q.    Okay.
 7                   MR. DeROSE:          We have the question mark and
 8             the -- it's just like the last one.
 9                   MS. WERMUTH:           I get to ask those questions.
10                   MR. DeROSE:          I understand that, but,
11             Counsel, these are all the things out of her
12             computer.       So probably her computer is the one
13             that's putting the question mark on it.
14                   MS. WERMUTH:           That's what I'm trying to
15             find out from her.
16                   MR. DeROSE:          Well, I'm trying to help you.
17                   MS. WERMUTH:           I see a question mark on this
18             page, just like I saw on the prior page.
19                   MR. DeROSE:          So do I.
20      BY MS. WERMUTH:
21             Q.    And you had previously indicated that you
22      thought the question mark came from FSU.
23                   Does this help you understand where the
24      question mark comes from?
25             A.    No.    Again, I don't know if that's their

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                                                                                 Page 617
 1                         D. TRAHANAS - VOLUME II
 2      icon, just a question mark.                       Sometimes people put
 3      their picture as an identification on their gmail or
 4      another e-mail address.                 But if it's a school
 5      address, I doubt it.
 6                   MR. DeROSE:          This is the problem with you
 7             guessing, because I have a very different
 8             theory about it.
 9                   Go ahead, Counsel.
10             A.    I don't know.
11                   MR. DeROSE:          That's better.
12                   MS. WERMUTH:           I continue to object to this
13             coaching.
14                   MR. DeROSE:          Counsel --
15                   MS. WERMUTH:           I think it's wildly
16             inappropriate.
17                   MR. DeROSE:          -- this is not coaching.             You
18             and I know very well when she searches that
19             number -- that her computer is putting the
20             question mark on.
21                   MS. WERMUTH:           We -- I don't know that.
22                   MR. DeROSE:          Oh, well, I -- I can -- and I
23             don't even know computers as well as either one
24             of you.      You are kind of --
25                   MS. WERMUTH:           Well, you're not under oath

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                                                                                 Page 618
 1                         D. TRAHANAS - VOLUME II
 2             here.     Your client is.
 3                   MR. DeROSE:          You are kind of wasting time.
 4             We've been together now for about six hours on
 5             a very limited deposition.
 6                   Go ahead.
 7      BY MS. WERMUTH:
 8             Q.    Was there any e-mail prior to one on
 9      February 26th that you received from Nova
10      Southeastern University that you did not produce?
11             A.    No.    If I had it, I produced it.
12             Q.    So if -- so you -- you did -- so my
13      question then is:            Did you receive an e-mail from
14      Nova Southeastern University acknowledging receipt
15      of your application?
16             A.    If I had received it, I would give it to
17      you.
18             Q.    So is the answer to my question, no, I did
19      not receive an e-mail acknowledging --
20             A.    No, I didn't say no, I didn't receive it.
21      I -- if I had it, and I received it, I would have
22      given it to John to give to you.
23             Q.    Okay.     My question is:                 As you sit here
24      today, do you recall receiving from Nova -- Nova
25      Southeastern University an e-mail acknowledging

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                                                                                   Page 619
 1                         D. TRAHANAS - VOLUME II
 2      receipt of your application?
 3             A.    No, I don't recall that.
 4             Q.    Do you recall receiving from Nova
 5      Southeastern University an e-mail asking you to
 6      submit secondary -- or inviting you to submit
 7      secondary application materials?
 8             A.    No, I don't recall.
 9             Q.    And you didn't delete any such e-mails?
10             A.    Correct.
11             Q.    This one's difficult to read.                       This is
12      tradition -- or Trahanas Additional Doc 97.                           It
13      looks like it's from Central Michigan College of
14      Medicine.
15                   Do you see this?
16             A.    Yes.
17             Q.    And it says "admission decision"?
18             A.    Yes.
19             Q.    And it says February 27th, but again I
20      don't have a year.             I do see, though, that there's
21      an indication in the body of the e-mail that this
22      was the 2018 entering class.
23                   Do you see that?
24             A.    Yes.
25             Q.    Okay.     Did you receive any e-mails from

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                                                                                Page 620
 1                         D. TRAHANAS - VOLUME II
 2      Central Michigan prior to February 27th of 2018
 3      acknowledging receipt of your application?
 4             A.    I don't recall.
 5             Q.    Did you delete an e-mail acknowledging
 6      receipt of your application from CMU?
 7             A.    No.
 8             Q.    Did you receive prior to February 27th,
 9      2018, any e-mail from Central Michigan college
10      asking or inviting you to submit secondary
11      materials?
12             A.    I don't recall.
13             Q.    Did you delete any such e-mail?
14             A.    No.
15             Q.    Okay.     Trahanas Additional Doc 94, this is
16      Loyola Stritch.          It looks to be in letter form, but
17      it looks like it was sent to you by e-mail.
18                   Did you pull this from your gmail account?
19             A.    Yes.
20             Q.    Okay.     And it says in the body of the
21      e-mail, "We are sorry to inform you that we will not
22      be able to offer you an interview for the class of
23      2022."
24                   Do you see that?
25             A.    Yes.

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                                                                                     Page 621
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Did you apply to Loyola Stritch for the
 3      entering class of 2022?
 4             A.    No.
 5             Q.    Did you receive any communications from
 6      Loyola Stritch prior to February 27th, 2018,
 7      regarding receipt of your application?
 8             A.    I don't recall.
 9             Q.    Did you delete any such e-mails?
10             A.    No.
11             Q.    Did you receive any e-mails prior to
12      February 27th, 2018, from Loyola Stritch inviting
13      you to submit a secondary application?
14             A.    I don't recall.
15             Q.    Trahanas Additional Doc 95.                         Okay.   Is this
16      an e-mail?       This is strange to me.                     It says
17      mdadmissions@wayne.edu.
18                   Do you see that?
19             A.    I do.
20             Q.    To me.
21                   Do you see that?
22             A.    Yes.
23             Q.    And this looks like it was from your inbox;
24      is that right?
25             A.    Yes.

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                                                                                Page 622
 1                         D. TRAHANAS - VOLUME II
 2             Q.    And this was one of the schools that you
 3      applied to in 2015 as well; correct?
 4             A.    Correct.
 5             Q.    Okay.     But we know this is the e-mail from
 6      2018, because it talks about the 2018 entering
 7      class.
 8                   Do you see that?
 9             A.    Yes.
10             Q.    And did you receive any e-mails from Wayne
11      State prior to February 28th of 2018 acknowledging
12      receipt of your application?
13             A.    I don't recall.
14             Q.    Did you delete any such e-mail?
15             A.    No.
16             Q.    Did you receive any e-mails from Wayne
17      State University prior to February 28th, 2018,
18      inviting you to submit secondary materials?
19             A.    I don't recall.
20             Q.    But you didn't delete any such e-mails?
21             A.    Correct.
22             Q.    Please look at Trahanas Additional Doc 96.
23      This is from Oakland; is that right?
24             A.    Yes.
25             Q.    To your gmail account dated March 7th,

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                                                                                Page 623
 1                         D. TRAHANAS - VOLUME II
 2      2018.
 3                   Do you see that?
 4             A.    Yes.
 5             Q.    Did you receive any e-mails from Oakland
 6      prior to March 7th, 2018, acknowledging receipt of
 7      your application for the 2018 cycle?
 8             A.    I don't recall.
 9             Q.    Did you delete any e-mails from Oakland?
10             A.    No.
11             Q.    Did you receive an e-mail from Oakland
12      inviting you to submit secondary application
13      materials for the 2018 cycle?
14             A.    I don't recall.
15             Q.    All right.         This page isn't Bates labeled,
16      I'm not sure why, but it looks to be an e-mail from
17      coopermed.rowan.edu to you.
18                   Do you see that?
19             A.    Yes.
20             Q.    And it says -- it's dated March 23rd, but
21      again, I don't see the year.
22                   Did you apply to Cooper Medical in any year
23      other than the 2018 cycle?
24             A.    No.
25             Q.    Okay.     And did you receive any e-mail

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                                                                                Page 624
 1                         D. TRAHANAS - VOLUME II
 2      communications from Cooper Medical School prior to
 3      March 23rd, 2018, in connection with your
 4      application for the 2018 cycle?
 5             A.    I -- I don't recall.
 6             Q.    Did you delete any e-mails from Cooper
 7      Medical School?
 8             A.    No.
 9             Q.    Trahanas Additional Doc 102 is RFU.                    What
10      is that school?
11             A.    Oh, Rosalind Franklin University.
12             Q.    Okay.     And this is an e-mail that you
13      retrieved from your inbox?
14             A.    Yes.
15             Q.    And it says April 3rd, two days ago.
16                   Do you see that?
17             A.    Yes.
18             Q.    Does that mean you did the search on
19      April 5th of 2018?
20             A.    I -- I don't know what that means.                   I don't
21      know.
22             Q.    Is it possible that you searched for this
23      e-mail on or about April 5th of 2018?
24             A.    It's possible.
25             Q.    Now, in this e-mail it says in the -- in

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                                                                                Page 625
 1                         D. TRAHANAS - VOLUME II
 2      the first paragraph, the last sentence, "Our records
 3      indicate that you did not take action on your file
 4      as requested in the application process during the
 5      specified time frame for the Chicago Medical
 6      School."
 7                   Do you see that?
 8             A.    I do.
 9             Q.    Do you have another e-mail from RFU
10      inviting you to complete the application process
11      within a specified time frame?
12             A.    Not that I recall.
13             Q.    Did you delete any e-mails from RFU?
14             A.    No.
15             Q.    Okay.     Looking at the next page, which is
16      not Bates labeled for some reason, these -- the next
17      two pages I think -- next three pages go together.
18      This is from Howard University College of Medicine.
19      And this is an e-mail dated November 14th of 2017.
20                   Do you see that?
21             A.    I do.
22             Q.    And you were able to retrieve this e-mail
23      to produce in this litigation; correct?
24             A.    Yes.
25             Q.    And according to this e-mail, you were

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                                                                                Page 626
 1                         D. TRAHANAS - VOLUME II
 2      being invited to submit secondary application
 3      materials.
 4                   Do you see that?
 5             A.    Yes.
 6             Q.    And you were told that those materials were
 7      due on January 15th of 2018?
 8             A.    Correct.
 9             Q.    Did you submit those materials?
10             A.    I don't recall.
11             Q.    From just a year ago you don't recall if
12      you submitted the final application materials to
13      Tulane -- I'm sorry, to Howard?
14             A.    I don't recall.
15             Q.    Did you get any follow-up e-mail from
16      Howard after they invited you to submit secondary
17      application materials?
18             A.    If I had it, I -- I would give it to you.
19             Q.    Did you delete any e-mails from Howard
20      University?
21             A.    No.
22             Q.    Tulane, the final page, this is an e-mail
23      dated December 20th of 2017.
24                   Do you see that?
25             A.    Yes.

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                                                                                   Page 627
 1                         D. TRAHANAS - VOLUME II
 2             Q.    And this was still in your e-mail box when
 3      you searched for Tulane University; correct?
 4             A.    Yes.
 5             Q.    And this is a -- an e-mail inviting you to
 6      submit secondary application materials to Tulane;
 7      correct?
 8             A.    Yes.
 9             Q.    Did you submit the application fee for the
10      secondary application materials?
11             A.    I don't recall.
12             Q.    Did you submit secondary application
13      materials?
14             A.    I -- I don't recall.
15             Q.    Did you receive any other e-mail
16      communications from Tulane University?
17             A.    If I had it, I would give it to you.
18             Q.    Did you delete e-mails from Tulane
19      University?
20             A.    No.
21             Q.    Okay.     Were you rejected from Howard
22      University?
23             A.    Um, I did not interview there.                      I don't
24      remember.       I don't recall.
25             Q.    Were you accepted to any medical school for

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                                                                                Page 628
 1                         D. TRAHANAS - VOLUME II
 2      the 2018 cycle?
 3             A.    No.
 4             Q.    Okay.     So you were ultimately rejected from
 5      Howard University?
 6             A.    Yes.
 7             Q.    Okay.     And also from Tulane University?
 8             A.    Yes.
 9             Q.    How were you notified of -- of those
10      decisions?
11             A.    I don't know, but you just asked me to --
12      if I was not accepted.
13             Q.    Were you notified of decisions by Tulane or
14      Howard University that you were not accepted for
15      admission?
16             A.    I -- I don't have anything else.                    If
17      it's --
18             Q.    My question is were you notified?
19             A.    I don't recall.
20             Q.    Okay.     So you testified previously that
21      sometimes notifications come by hard copy mail;
22      right?
23             A.    Yes.
24             Q.    Okay.     And you've been providing to us
25      anything that's come by hard copy mail from these

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                                                                                Page 629
 1                         D. TRAHANAS - VOLUME II
 2      universities as well?
 3             A.    Correct.
 4                   MS. WERMUTH:           Can I have this marked,
 5             please.
 6                   (Trahanas Exhibit 102 marked for
 7             identification.)
 8                   MS. WERMUTH:           Would you mind passing that?
 9             Thank you.
10      BY MS. WERMUTH:
11             Q.    Okay.     Ms. Trahanas, now, we've looked
12      already at Deposition Exhibit 101, which is our
13      document requests, right, which were served on you
14      on September 5th of 2017; right?
15             A.    Yes.
16             Q.    Okay.     And I sent this letter to your
17      counsel on January 29th of 2018, and you'll see from
18      the second page that in the middle, the fifth
19      bullet -- I'm sorry, of 102, of Exhibit 102, the
20      fifth bullet, we are asking for all of your medical
21      application materials for the 2015 and 2018 cycle.
22                   Do you see that?
23             A.    Yes.
24             Q.    Okay.     So before January 29th of 2018 had
25      you searched your e-mail for any of these medical

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                                                                                Page 630
 1                         D. TRAHANAS - VOLUME II
 2      school application materials?
 3             A.    I don't recall.
 4             Q.    After getting this letter, did you search
 5      e-mails in your gmail account for medical school
 6      application materials?
 7             A.    Yes.
 8             Q.    Okay.
 9                   MS. WERMUTH:           Mark this, please.
10                   (Trahanas Exhibit 103 marked for
11             identification.)
12      BY MS. WERMUTH:
13             Q.    In a follow-up to my January 9 --
14      29th letter, Exhibit 102, I received an e-mail from
15      your counsel on February 6th, so if you look at the
16      second page of Exhibit 102.
17             A.    Okay.
18             Q.    Do you see that?               Okay.
19                   Attaching some additional documents.                    Okay.
20      And you'll see I responded to that e-mail on
21      February 21 indicating that we still did not have
22      any rejection letters from the 2015 cycle.
23                   Do you see that at the bottom of Page 1?
24             A.    Yes.
25             Q.    Okay.     So between January 29th, when I sent

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                                                                                  Page 631
 1                         D. TRAHANAS - VOLUME II
 2      the letter and you did searches, and February 21,
 3      did you find any documents responsive to our
 4      requests regarding medical school applications?
 5             A.    The documents that I found, I gave to John,
 6      who gave to you.
 7             Q.    Yeah, but my question is when.
 8                   So you said that after getting the
 9      January 29th letter you did a search.                            And by
10      February 21 I still didn't have any -- any of those
11      records.      So I'm trying to figure out when you did
12      the search.
13                   MR. DeROSE:          Well, Counsel, you may have or
14             may not have.           I don't have to -- and she
15             doesn't have to accept your representation.
16             But go ahead.
17             A.    I don't know.
18      BY MS. WERMUTH:
19             Q.    You don't know when you first did the
20      search for the medical school materials?
21             A.    I don't recall.
22             Q.    Okay.     And you haven't seen any
23      correspondence from your lawyer contesting our
24      assertion in Exhibit 103 about the medical school
25      applications; am I correct about that?

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                                                                                Page 632
 1                         D. TRAHANAS - VOLUME II
 2             A.    I haven't seen every correspondence between
 3      you and opposing counsel.
 4                   MS. WERMUTH:           Can you pass this to your
 5             lawyer, please.
 6                   (Trahanas Exhibit 104 marked for
 7             identification.)
 8                   MS. WERMUTH:           Can we mark that?            Thank you.
 9      BY MS. WERMUTH:
10             Q.    Okay.     Deposition Exhibit 104,
11      Ms. Trahanas, is an e-mail that I sent to your
12      lawyer on April 4th of 2018.
13             A.    Okay.
14             Q.    And I indicate in this letter that we
15      expect to receive the remaining 2018 medical school
16      acceptance and/or rejection letters.
17                   Do you see that?
18             A.    Yes.
19             Q.    And also, that if you look at the last
20      paragraph, we still not -- have not received any of
21      Ms. Trahanas' acceptance and/or rejection letters
22      from the 29 -- 2009 or 2015 application cycles.
23                   Do you see that?
24             A.    Yes.
25             Q.    Okay.     By the way, to this day we haven't

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                                                                                   Page 633
 1                         D. TRAHANAS - VOLUME II
 2      received any letters at all from the 2019 -- or
 3      materials at all for the 2019 cycle.
 4                   Have you --
 5                   MR. DeROSE:          2019 or 2009?
 6                   MS. WERMUTH:           I'm sorry, 2009.             2009.
 7      BY MS. WERMUTH:
 8             Q.    Have you searched for 2009 materials?
 9             A.    Yes.
10             Q.    Did you print your 2009 AMCAS application?
11             A.    No.
12             Q.    So this is dated April 4th, and we were
13      looking at Deposition Exhibit 100.                          You might
14      remember Deposition Exhibit 100 at Page 102.                            It's
15      not in order for some reason, so 102 is near the
16      end.    It's Roseland Franklin.
17             A.    Okay.     I'm there.
18             Q.    Okay.     And I was asking you if you searched
19      on April 5th for e-mails related to your medical
20      school applications.
21                   Do you remember that?
22             A.    I do remember you asking, yes.
23             Q.    Okay.     And you can see that my e-mail of
24      April -- that I sent an e-mail to your lawyer on
25      April 4th of 2018.

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                                                                                   Page 634
 1                         D. TRAHANAS - VOLUME II
 2                   Do you see that?
 3             A.    Yes.
 4             Q.    Does this refresh your recollection as to
 5      whether or not you did a search on April 5th for
 6      certain e-mails then?
 7             A.    I don't recall.
 8                   MS. WERMUTH:           John, I'm probably about 30
 9             minutes out, by the way.
10                   MR. DeROSE:          All right.             Can we take one
11             minute?
12                   MS. WERMUTH:           Sure.
13                   MR. DeROSE:          Just tell Donna that we should
14             be done --
15                   MS. WERMUTH:           Let's go off the record.
16             Let's go off the record.
17                   MR. DeROSE:          Yeah, don't -- yeah, it's off
18             the record.
19                   VIDEOGRAPHER:            Going off the record at
20             3:39 P.M.
21                   (Trahanas Exhibit 105 marked for
22             identification.)
23                   VIDEOGRAPHER:            We are back on the record at
24             3:40 P.M.
25      ///

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                                                                                Page 635
 1                         D. TRAHANAS - VOLUME II
 2      BY MS. WERMUTH:
 3             Q.    All right.         So, Ms. Trahanas, you'll see in
 4      Deposition Exhibit 105 that as a followup to my
 5      April 4th e-mail I sent another e-mail to your
 6      lawyer on June 5th of 2018.
 7                   Do you see that?
 8             A.    I do.
 9             Q.    And in my e-mail I indicate that we had
10      still not received any acceptance or rejection
11      letters from the 2015 application cycle.
12                   Do you see that?
13             A.    I --
14                   MR. DeROSE:          It's an e-mail from Miss
15             Harris, but go ahead.
16                   MS. WERMUTH:           Oh, fair enough.
17      BY MS. WERMUTH:
18             Q.    From Miss Harris, with a copy to me, to
19      your lawyer.
20                   Do you see that?
21             A.    I do.
22             Q.    Okay.     And in the body of the e-mail
23      Miss Harris indicates that we had still not received
24      any acceptance or rejection letters from the 2015
25      application cycle.

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                                                                                Page 636
 1                         D. TRAHANAS - VOLUME II
 2                   Do you see that?
 3             A.    I see that written here, yes.
 4             Q.    Did you do any searches after this e-mail
 5      came through?
 6             A.    Yes.
 7             Q.    Okay.     Do you recall when?
 8             A.    No.
 9             Q.    What searches did you do?
10             A.    I -- I don't recall what exact searches I
11      did.
12             Q.    Was that the first time you did a search
13      for anything from the 2015 application cycle?
14             A.    No.    I -- no.
15             Q.    Okay.     Now, in -- in connection with --
16      with that request, we got one e-mail back from you
17      from the 2015 cycle.
18                   MS. WERMUTH:           Can you mark that, please.
19                   (Trahanas Exhibit 106 marked for
20             identification.)
21                   MS. WERMUTH:           Do you mind passing that to
22             your counsel?           Thank you.
23      BY MS. WERMUTH:
24             Q.    Okay.     You've been handed what's been
25      marked as Deposition Exhibit 6 -- I'm sorry, 106.

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                                                                                   Page 637
 1                         D. TRAHANAS - VOLUME II
 2      And this is an e-mail from the University of Miami
 3      Miller School of Medicine.
 4                   Do you see that?
 5             A.    Yes.
 6             Q.    And it says two messages, but I only see
 7      one.    Was there another message that you didn't
 8      print and produce?
 9             A.    No.    As I look at the document, though, the
10      time and the date are identical, so they may have
11      sent the same e-mail.
12             Q.    Well, so it says two messages, but I only
13      see, like, literally one message.                          I see another
14      something, but then it looks like the text was
15      deleted or hidden.
16                   Do you see it says "quoted text hidden"?
17             A.    I see that at the bottom left, yes.
18             Q.    And is there a reason why you hid that
19      text?
20             A.    I did not hide that.
21             Q.    Is there a reason why the text is hidden?
22             A.    I have no idea.
23             Q.    And you've retained this -- this actual
24      electronic e-mail since; right?
25             A.    Yes.

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                                                                                       Page 638
 1                         D. TRAHANAS - VOLUME II
 2             Q.    Okay.     Now, we received this in June of
 3      2018?
 4                   MR. DeROSE:          How do you know that?                 It's
 5             not on here.
 6                   MS. WERMUTH:           Well, I'll tell you.                First
 7             of all, what I can do is pull the e-mails where
 8             you sent it to me, John, if you -- if you want
 9             me to do that, but --
10                   MR. DeROSE:          No.       Go ahead.            I don't want
11             you to do that.
12                   MS. WERMUTH:           But let me do this.
13                   (Trahanas Exhibit 107 marked for
14             identification.)
15                   MS. WERMUTH:           Ms. Trahanas, if you can give
16             that to counsel, I appreciate it.                           Thank you.
17                   Actually, here it is.                   I'm sorry.        I
18             probably marked the wrong thing.                           Let me mark
19             this one.
20                   MR. DeROSE:          This should not be 107?
21                   MS. WERMUTH:           No, it can -- it can be in
22             there.      That's fine.
23                   We'll mark this 108.
24                   (Trahanas Exhibit 108 marked for
25             identification.)

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                                                                                Page 639
 1                         D. TRAHANAS - VOLUME II
 2      BY MS. WERMUTH:
 3             Q.    Okay.     So Exhibit 108 is an e-mail on the
 4      bottom from your lawyer to me and Danielle, and he
 5      says, "Attached please find additional discovery
 6      documents being tendered in Trahanas versus
 7      Northwestern University and Dr. Schwulst bearing
 8      Bates stamp Nos. Trahanas Additional Discovery Doc
 9      158 through 213."
10                   Do you see that?
11             A.    I do.
12             Q.    Okay.     And actually, then, when you turn to
13      the next page, there's two PDFs attached.                        And one
14      is documents 153 through 177, and then 15 -- 178
15      through 213.
16                   Do you see that?
17             A.    I do.
18             Q.    Okay.     And you'll agree with me that
19      Exhibit 106 is marked Doc 153.
20                   Do you see that?
21             A.    Yes.
22             Q.    Okay.     So -- so just to clarify, this --
23      that e-mail, doc -- I'm sorry.
24                   Deposition Exhibit 106 was produced to us
25      on June 29th, 2018.

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                                                                                Page 640
 1                         D. TRAHANAS - VOLUME II
 2                   Do you see that?
 3             A.    Yes.
 4             Q.    Okay.     Now, can you tell me why it is that
 5      you didn't produce Exhibit 106 prior to -- to
 6      June 29th of 2018?
 7             A.    That's when John sent it.
 8             Q.    When did you first collect it?
 9             A.    I don't know.
10             Q.    And if you were to access your gmail
11      account, you could determine when you did that
12      search; correct?
13             A.    Not that I know of.
14             Q.    And that e-mail remains in your gmail
15      account to this day, correct, Exhibit 106?
16             A.    Oh, yes.
17             Q.    You have not deleted it; correct?
18             A.    Correct.
19             Q.    But you can't explain why it was not
20      produced until June 29th of 2018?
21             A.    I already answered that question.
22             Q.    You can answer it again.
23             A.    That's when John sent the e-mail.
24             Q.    But you don't know -- you can't tell me
25      when you gave it to him?

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                                                                                Page 641
 1                         D. TRAHANAS - VOLUME II
 2             A.    Correct.
 3             Q.    So it might have been on or around
 4      June 29th of 2018?
 5                   MR. DeROSE:          Objection when it might have
 6             been.
 7                   But go ahead, if you know.
 8             A.    I don't know.
 9                   MS. WERMUTH:           Can we take a quick break?
10                   VIDEOGRAPHER:            Going off the record at
11             3:47 P.M.
12                   (Recess taken from 3:47 P.M. to
13             3:56 P.M.)
14                   VIDEOGRAPHER:            And we are back on the
15             record at 3:56 P.M.
16      BY MS. WERMUTH:
17             Q.    Ms. Trahanas, I just have a couple more
18      questions for you.
19                   You have some yellow papers in front of you
20      today?
21             A.    Yes.
22             Q.    You've been taking notes during the
23      deposition today?
24             A.    Yes.
25             Q.    Okay.     I'll ask that I have -- have a copy

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                                                                                  Page 642
 1                         D. TRAHANAS - VOLUME II
 2      of the notes made before we adjourn today.
 3                   MS. WERMUTH:           Okay.         And that's all I have.
 4                   MR. DeROSE:          All right.             I have just a few,
 5             and I'll try to keep it as limited as I can.
 6      EXAMINATION
 7      BY MR. DeROSE:
 8             Q.    Could you pull Exhibit 89 there, 89?
 9             A.    Yes.
10             Q.    That's a pretty voluminous package, right,
11      you got there?         It's one of the big other ones we've
12      seen today?
13             A.    Yes.
14             Q.    And I just picked that up.
15                   I want you to go down about five pages in.
16      It will have Exhibit A to the original --
17             A.    Okay.
18             Q.    Five pages down from the top, or four
19      pages, they have an Exhibit A to the subpoena --
20      ma'am, it looks like this.                   All right.          Thank you.
21                   And you see at the top the Exhibit A that
22      went to the medical school in this one, it was
23      Florida International University Herbert Wertheim,
24      W-e-r-t-h-e-i-m, College of Medicine, asking for all
25      documents and electronically stored information that

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                                                                                  Page 643
 1                         D. TRAHANAS - VOLUME II
 2      the university medical school had in relation to
 3      your application.
 4                   Do you see that?
 5             A.    Yes.
 6             Q.    All right.         Now I want you to just piece
 7      through this very voluminous document.                           Do you see
 8      any letters in there from -- go fast, because
 9      it's -- I suggest you are not going to find them --
10      any letters in there from Dr. Schwulst?
11             A.    I -- I did not find any.
12             Q.    All right.         And you didn't see any letters
13      of recommendation from Dr. Harris Perlman either?
14             A.    I did not, correct.
15             Q.    And you didn't see any letter of
16      recommendation from other doctor, Dr. Goldstein,
17      that you had with your application?
18             A.    I did not.
19             Q.    As a matter of fact, none of the letters
20      that -- or none of the material that you submitted
21      with the application is there; is that correct?
22                   MS. WERMUTH:           Object to the extent you've
23             mischaracterized the evidence.
24      BY MR. DeROSE:
25             Q.    Is that correct?

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                                                                                Page 644
 1                         D. TRAHANAS - VOLUME II
 2             A.    None of the letters in association with
 3      this application are in this packet, correct.
 4             Q.    All right.         And now I want you to look at
 5      Exhibit 97, and I'm going to direct your attention.
 6      And this is a response to a subpoena from -- I
 7      forget which university it is.                       This is Western
 8      Michigan University Homer Stryker, S-t-r-y-k-e-r,
 9      School of Medicine.             And in there, if you look at
10      page on the bottom that has Bates stamp
11      Trahanas-NU11765.
12             A.    I'm on that page.
13             Q.    All right.         And that's that letter of
14      February 9th, 2015, from Dr. Schwulst withdrawing
15      his -- formally withdrawing his prior letter of
16      reference for you; correct?
17             A.    Correct.
18             Q.    And this is the letter that you were asking
19      for back in February of 2015 because you knew that
20      Dr. Schwulst had written something to the medical
21      schools?
22             A.    Yes.
23             Q.    So since this is in response to the
24      subpoena that defense counsel has written, there's
25      no question that this letter got to doctor -- excuse

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                                                                                Page 645
 1                         D. TRAHANAS - VOLUME II
 2      me, got to the medical school in this particular
 3      case; correct?
 4                   MS. WERMUTH:           Object to the form of the
 5             question.       I also, in terms of foundation,
 6             especially since this witness has already
 7             testified that she can't attest to the records
 8             produced by this particular -- by the schools,
 9             I also object insofar as it's argumentative.
10      BY MR. DeROSE:
11             Q.    As far as you understood it, you did not
12      see the packet of materials that Western Michigan
13      sent in response to this subpoena until you saw what
14      counsel sent back to us; correct?
15             A.    Correct.
16             Q.    All right.         So, and this letter from
17      Dr. Schwulst is in the response to their subpoena;
18      correct?
19             A.    Correct.
20             Q.    And also, his next letter dated -- give me
21      one second, I think it's a prior page -- his letter
22      dated February 24th, 2015, where he says, "Please
23      disregard the letter dated February 9th, 2015, as it
24      was entered in error, and I stand by the evaluation
25      offered in the original letter."

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                                                                                   Page 646
 1                         D. TRAHANAS - VOLUME II
 2                   Seeing this letter now, you're satisfied
 3      that this letter also got to the medical school that
 4      counsel has been able to get in response to the
 5      subpoenas?
 6             A.    Yes.
 7                   MS. WERMUTH:           Same -- hang on.               Same
 8             objections.         It's argumentative.                   And it lacks
 9             foundation.
10      BY MR. DeROSE:
11             Q.    All right.         Now, I want you to look at
12      Exhibit No. 98.          And this is a packet of materials
13      that counsel was able to get from -- let me see what
14      medical school.          Well, whatever school it is, I
15      can't find it right now.                  It's not important.
16                   But Exhibit 98 is also a packet of
17      materials that you were provided and I was provided
18      in answer to the subpoenas that counsel served on
19      this medical school; correct?
20             A.    Yes.
21             Q.    All right.         And now I want you to look at
22      the document marked Trahanas-NU11686 in that packet.
23      And again, do you see the letter from Dr. Schwulst
24      on February 9th, 2015, saying "I am writing to
25      formally withdraw my prior letter of reference for

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                                                                                Page 647
 1                         D. TRAHANAS - VOLUME II
 2      Ms. Diane Trahanas"?
 3             A.    I do.
 4             Q.    And can you tell us how many days after you
 5      went on FMLA this letter would be written, if it was
 6      sent on the day it indicates?
 7             A.    It was submitted on February 19th of 2015.
 8             Q.    All right.         So, yeah, that's right, I think
 9      the doctor testified that he dated this letter
10      before you went on FMLA.
11                   But what is the date you went --
12                   MS. WERMUTH:           Hang --
13      BY MR. DeROSE:
14             Q.    -- on FMLA?
15                   MS. WERMUTH:           Wait.         Let me object to the
16             form of the question, insofar as you have
17             mischaracterized Dr. Schwulst's testimony in
18             connection with the narrative portion of your
19             question, which is also objectionable as a
20             narrative.
21                   MR. DeROSE:          Excuse me.
22      BY MR. DeROSE:
23             Q.    Were you at Dr. Schwulst's dep?
24             A.    Yes.
25             Q.    And he indicated in his dep that this

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                                                                                    Page 648
 1                         D. TRAHANAS - VOLUME II
 2      February 9th date should have been February 19th,
 3      didn't he?
 4             A.    Yes.
 5             Q.    And what was the day you went on FMLA?
 6                   MS. WERMUTH:           Objection.             Asked and
 7             answered.
 8                   MR. DeROSE:          I didn't get the answer now,
 9             but let -- let me please ask it again.
10                   MS. WERMUTH:           Well, it's been answered in a
11             different deposition, but . . .
12                   MR. DeROSE:          Oh, I'm talking about today.
13      BY MR. DeROSE:
14             Q.    What was the date you went on FMLA?
15             A.    February 17th --
16             Q.    And --
17             A.    -- 2015.
18             Q.    All right.         And if this should be
19      February 19th, this would be two days after you took
20      your FMLA?
21             A.    That's --
22                   MS. WERMUTH:           Objection.             Argumentative.
23             A.    -- correct.
24      BY MR. DeROSE:
25             Q.    And you were asking -- by the way, did you

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                                                                                 Page 649
 1                         D. TRAHANAS - VOLUME II
 2      get notice that Dr. Trahanas [sic] had sent
 3      something to the medical schools just on that very
 4      date, February 19th?
 5                   MS. WERMUTH:           Object to the form of the
 6             question.       You misstated record evidence.
 7             A.    I received an indication that Dr. Schwulst
 8      had submitted a letter to AMCAS.
 9      BY MR. DeROSE:
10             Q.    All right.         And as far as you knew, AMCAS
11      was just the clearinghouse for sending all the
12      information regarding your applications to all those
13      different medical schools we've talked about today?
14             A.    AMCAS is the distributing company for our
15      medical school applications.
16             Q.    And counsel has asked you several questions
17      today about letters you were receiving from medical
18      schools in December 2014 and January 2015.                          Can you
19      tell us what was going on in your life -- and they
20      were inviting you to make further submissions for
21      your application; is that correct?
22                   MS. WERMUTH:           Objection.             Vague.
23             A.    At that time, yes.
24      BY MR. DeROSE:
25             Q.    What do they call them, supplemental

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                                                                                Page 650
 1                         D. TRAHANAS - VOLUME II
 2      submission or --
 3             A.    Supplemental applications.
 4             Q.    All right.         What was going on in your life
 5      in December 2014 and January 2015?
 6             A.    I was seeing my psychiatrist, who
 7      recommended to me to take time off work because of
 8      the excessive hours and hostile work environment.
 9      So I was seeing my psychiatrist at least once a week
10      for about eight weeks.
11                   I had a car accident, and so did my mom,
12      and I was working a lot of hours trying to finish up
13      our project so that we could submit it in February.
14             Q.    Submit it for publication?
15             A.    For review for publication, correct.
16             Q.    And you know that that particular project
17      ultimately was approved for publication?
18             A.    That particular project I'm unsure of what
19      ended up happening, but we had been published prior
20      to that.
21             Q.    And by "we," you mean you and Dr. Schwulst?
22             A.    Correct, with a couple other people.
23             Q.    What is the longest time you spent working
24      on one of these projects alone in the laboratory?
25                   MS. WERMUTH:           You know what, this goes way

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                                                                                   Page 651
 1                 D. TRAHANAS - VOLUME II
 2      beyond the scope of this particular deposition.
 3      You asked her those questions in her first
 4      deposition.
 5           MR. DeROSE:         All right, Counsel.                     But the
 6      record says what it says.
 7           I have no more questions.
 8           MS. WERMUTH:          No further questions.
 9           VIDEOGRAPHER:           This concludes the
10      deposition of Diane Trahanas.                      We are off the
11      record at 4:09 P.M.
12           (Whereupon a discussion was had off the
13      record.)
14           MS. WERMUTH:          Back on the record.
15           Okay.      So we're back on the record just for
16      a moment to indicate that Deposition Exhibit 79
17      has some additional -- is another exhibit that
18      has some handwritten notations that were made
19      by the witness, Diane Trahanas, today.                             It
20      includes five asterisks or stars and four
21      circles on the left-hand side of the page.
22           (Trahanas Exhibit 109 marked for
23      identification.)
24           MS. WERMUTH:          And then, we've also marked
25      as Deposition Exhibit 109 Ms. Trahanas'

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                                                                                Page 652
 1                 D. TRAHANAS - VOLUME II
 2      handwritten notes from today's deposition.
 3           (Time noted:          4:15 P.M.)
 4

 5         ______________________________
 6                DIANE M. TRAHANAS
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                                                                                   Page 653
 1

 2                             C E R T I F I C A T E
 3              I, Paula Campbell, CSR, RDR, CRR, CRC, do
 4      hereby certify that on Tuesday, January                          8, 2019
 5      appeared before me, DIANE M. TRAHANAS.
 6              I further certify that the said witness was
 7      first duly sworn to testify to the truth in the
 8      cause aforesaid.
 9              I further certify that the signature of the
10      witness to the foregoing deposition was waived by
11      agreement of counsel.
12              I further certify that I am not counsel for
13      nor in any way related to any of the parties to
14      this suit, nor financially interested in the
15      action.
16              IN TESTIMONY WHEREOF, I have hereunto set my
17      hand on this 18th day of January, 2019.
18

19                             ___________________________________
20                             Paula Campbell, CSR, RDR, CRR, CRC
                               Certified Shorthand Reporter
21                             Registered Diplomate Reporter
                               Certified Realtime Reporter
22                             Certified Realtime Captioner
23                             Illinois C.S.R. No. 084-003481
24

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                                                                                  Page 654
 1

 2      ----------------------- I N D E X ------------------
 3

 4      WITNESS                                   EXAMINATION BY                PAGE
 5      DIANE M. TRAHANAS                         MS. WERMUTH                    421
 6                                                MR. DeROSE                     642
 7

 8      ----------------------EXHIBITS----------------------
 9      TRAHANAS                                                         PAGE   LINE
10      Exhibit 77       Trahanas-NU001588 through                       428      25
11                       1589
12      Exhibit 78       Rule 37. Failure to make                        441       5
13                       disclosures or to
14                       cooperate in discovery;
15                       sanctions
16      Exhibit 79       one-page document showing                       454      22
17                       a gmail screenshot
18      Exhibit 80       two-page document showing                       462      13
19                       gmail settings
20      Exhibit 81       Notice of Plaintiff's                           488       3
21                       Second Deposition
22      Exhibit 82       Plaintiff's Response to                         498      21
23                       Defendants' Rule 34
24                       Request to Plaintiff
25      ///

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                                                                                  Page 655
 1

 2      ----------------------EXHIBITS----------------------
 3      TRAHANAS                                                         PAGE   LINE
 4      Exhibit 83       documents from University                       508      15
 5                       of Central Florida College
 6                       of Medicine
 7      Exhibit 84       documents from University                       523      25
 8                       of Miami School of
 9                       Medicine
10      Exhibit 85       documents from University                       531      18
11                       of William Beaumont School
12                       of Medicine
13      Exhibit 86       documents from Geisinger                        535      21
14                       Commonwealth School of
15                       Medicine
16      Exhibit 87       documents from Central                          547       3
17                       Michigan College of
18                       Medicine
19      Exhibit 88       documents from University                       554      15
20                       of South Carolina School
21                       of Medicine Greenville
22      Exhibit 89       documents from Florida                          558       2
23                       International University,
24                       Herbert Wertheim College
25                       of Medicine

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                                                                                  Page 656
 1

 2      ----------------------EXHIBITS----------------------
 3      TRAHANAS                                                         PAGE   LINE
 4      Exhibit 90       Charles E. Schmidt College                      563      14
 5                       of Medicine, Florida
 6                       Atlantic University
 7      Exhibit 91       two-page document for                           564      22
 8                       Florida Atlantic
 9                       University
10      Exhibit 92       documents from Florida                          567      23
11                       State University College
12                       of Medicine
13      Exhibit 93       documents from Virginia                         572       3
14                       Tech Carilion School of
15                       Medicine
16      Exhibit 94       documents from Wayne State                      576       4
17                       University School of
18                       Medicine
19      Exhibit 95       documents from Washington                       579       9
20                       University in St. Louis
21                       School of Medicine
22      Exhibit 96       documents from Frank H.                         584      17
23                       Netter MD School of
24                       Medicine
25      ///

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                                                                                  Page 657
 1

 2      ----------------------EXHIBITS----------------------
 3      TRAHANAS                                                         PAGE   LINE
 4      Exhibit 97       documents from Western                          587       6
 5                       Michigan University
 6                       Stryker M.D. School of
 7                       Medicine
 8      Exhibit 98       documents from Sidney                           590       5
 9                       Kimmel Medical College at
10                       Thomas Jefferson
11                       University
12      Exhibit 99       TRAHANAS ADD EX 425                             595      18
13                       through 440
14      Exhibit 100 Trahanas Additional Doc                              601      16
15                       101 (various numbers)
16      Exhibit 101 Defendants' First Request                            603      14
17                       for Production of
18                       Documents to Plaintiff
19      Exhibit 102 1/29/18 letter from Anna                             629       6
20                       Wermuth to John P. DeRose
21      Exhibit 103 2/21/18 e-mail from Anna                             630      10
22                       Wermuth to John P. DeRose
23      Exhibit 104 4/4/18 e-mail from                                   632       6
24                       Danielle Harris to John P.
25                       DeRose

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                                                                                  Page 658
 1

 2      ----------------------EXHIBITS----------------------
 3      TRAHANAS                                                         PAGE   LINE
 4      Exhibit 105 6/5/18 e-mail from                                   634      21
 5                       Danielle Harris to John P.
 6                       DeRose
 7      Exhibit 106 Trahanas Additional                                  636      19
 8                       Discovery Doc 153
 9      Exhibit 107 6/26/18 letter from Anna                             638      13
10                       Wermuth to John P. DeRose
11      Exhibit 108 7/2/18 e-mail from John P.                           638      24
12                       DeRose to Anna Wermuth
13      Exhibit 109 three pages of handwritten                           651      14
14                       notes
15

16      -------------EXHIBITS PREVIOUSLY MARKED--------------
17      TRAHANAS                                                         PAGE   LINE
18      Exhibit 55       Trahanas 212 through 215                        422      22
19

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                                                                                Page 659
 1                               ERRATA SHEET
 2     Case Name:
 3     Deposition Date:
 4     Deponent:
 5     Pg.    No. Now Reads               Should Read            Reason
 6     ___    ___ __________              __________             ____________________
 7     ___    ___ __________              __________             ____________________
 8     ___    ___ __________              __________             ____________________
 9     ___    ___ __________              __________             ____________________
10     ___    ___ __________              __________             ____________________
11     ___    ___ __________              __________             ____________________
12     ___    ___ __________              __________             ____________________
13     ___    ___ __________              __________             ____________________
14     ___    ___ __________              __________             ____________________
15     ___    ___ __________              __________             ____________________
16     ___    ___ __________              __________             ____________________
17     ___    ___ __________              __________             ____________________
18     ___    ___ __________              __________             ____________________
19     ___    ___ __________              __________             ____________________
20

                                                          _____________________
21                                                        Signature of Deponent
22     SUBSCRIBED AND SWORN BEFORE ME
23     THIS ____ DAY OF __________, 2019.
24     ____________________
25     (Notary Public)           MY COMMISSION EXPIRES:__________

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                         EXHIBIT B
                         DEP. EX. 2
         Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 662 of 871 PageID #:2416



                                                                                                                                                                3•
                                                                                                                                                                              EXHIBIT
          t:;,h,
           tJr::                                                                                                                                                               2-
             .,.ff~,;
   NORTHWESTERN
         UNIVERSITY
                                                                                     Personal Data Form
                                                                                               Please print or type                                             l1r~                 I /s/;ta

                                                                                                                                             2) UNIVERSITY ID NO. (Can be round on Wltdcard)
                                                                 [)v,M
                                                                   First                                Mic:ldlo

   3) INPICATE TYPE OF TRANSACTION
      a' New Employee (Complele items 1 through 20 below, skip 4)                                                  •   Name Change (Complete items 1, 2, 3, 4.19, and 20 below)
      D Rehire (Complete items 1.2,3,19,&20 below)                                                                 •  Address Change (Complete items 1,2,3.12,13,14,15,19&20 below)
                                                                                                                   (Adclress Chanacs should be made at hllos://nuhr.northwestern.edu}
   4) Name Change To:                                                                                               (must atta ch copy of Soclal Security Card showing name change)



 EMPLOYMENT INFORMATION
   5) What Is \he date you began working for Northwestern University?                          Mon th       J,1 "'1-                   Day        \   l                 Year         ::J_g t t.,
   6) If a temporary emp oyee.                ere sfiould we send your checl</pa91?)111RJiJT<:e1!rPllnre·Cl):-O-Home-Audress-e-PermanenM!ddre,s-B---9epartmeot-                                               - - --


 PERSONAL INFORMATION
  7) Birth Date                 7-- (                                                8) Sex:      Female               D Male           9) Marital Status:               Single      •       Married
  10) Co~ntry of Citizenship:                                                                                                                             Visa :   •    F1,    •   J1,   •     H1 , D Other
           VS                                                                                                                            or US Permanent Resident not US citizen D
   11) Social Security Number (only provid e If new hire):




 ADDRESS INFORM ATION                   (This will update all benefit carriers for facuflv and staff)
  12) Current Home Address/ Local Residence
       Is this Resldenco oart of Unlversltv HouslnQ?        Yes      'No      •      13) Permanent Mailina Address fif different from currenVlocal address)
  No. & Street      '-o 1- $ • \/
                        10                       ;ch,.; Vw\,1.. 1
                                                  Apartment                          No. & S1reet                                      Apartment                          I
  City
          iA.\~                ,h,\~                     State             I \.,                          City                                              I State
  Zip Code                                               Country     vt,ftr                               Zip Code                                          I Country
                        t. 0   "' "' <;'

 T ELEPHONE NUMBERS
  14) Local Home Phone: (                  :,.OS,   J'1 -                                                  15) Cellular Phone: (        to'!. ) 3(pCf       ·
  16) University Work Phone: (                       )                                                     17) Off Campus Work Phone: (


DEMOGRAPHIC DATA (Please see reverse for ex lanation and disabilil' caleQor codes)
 18) Are you Hispanic gr Latino? What Is your race? Select one or more.
          D Yes     l!i!f No     D American Indian or Alaskan Native    • Asian D Black or African American                                                            D Pacific Islander           ~IMlite
  Dis abled veteran?                   •   Yes       No          Armed Forces Scruice Medal Veteran?                    •   Yes   No         Do you have a disability?             D Yes            No
  Other Prolected Veteran? O Yes                     No          Recently Separated Veteran?                            •   Yes   No         Identify disability category: _ _ __ __
  19) As a condition of employmenl , I understand that Norll1western University requires employees to sign up for direct                                                20) Date:        b     1\   1   'L
  deposit. If I do not sign up for direct deposit before my first pay date afler being hired, I understand that Northwestern
  University will deposit wage payments to a Paychek Plus pay card which will be provided to me free of charge.


  Employee's Signature:

  Do you want to contribute to the Northwestern University Voluntary Savings Plan (VSP)?

  If yes. please provide your email address: .---,- - - , , - -- - , - -- -- , - -- -- - - - - , -- - - - , - , - - - - , - - -- - - - , -
  VSP Is a 403b retirement pretax savinqs plan. Benefit eliaible facullv and s taff will automaticallv be contacted reoardino retirement savinas plan participation.

 To be completed by Depa rtment • For Temporary Employees Only
                                                                                                    Supervisor's                                                Supervisor's
 Hire/Rehire Date _ __ _ __                               Job Code _ _             _ __ _ _         Name _ _ _ _ _ _ _ _ _ _ __                                 Employee ID# _ _ _ _ __ _

                                                                                                    Supervisor's                  Supervisor's
 Hourly Rate _ _ __ _ _ __                                HR Dept# _ _             _ __ __          Signature _ _ __ __ _ __ __ _ Phone _ _ __ _ _ __

 Fund -,,-_ _ Fin Dept _ _ _ _ _ __ Project _ _ _ _ _ _                   Activity _ _ __ Program _ __ _ __ _ _ /\eel _ _ _ _ __
       (Fund. Finc1ncial Department. and Account are re uired while ou ma not have a ,ro ·eel. activH • or ro ram es ecial/ if not on a rant.
When hiring/rehiring temporary employees, fax the Personal Data form to Payroll at 847-491 -3733 (Evanston) or 312-503-9702 (Chicago).
All original forms (Personal Data, W -4 , Direct Deposit) should then be mailed to the Payroll Office, 720 University Place, Evanston Campus.



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                         EXHIBIT B
                         DEP. EX. 4
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                                                           ~
                                                 NORTHWESTERN
                                                        UNIVERSITY




           Dear Northwestern Staff Member:



          The Staff Handbook contains information that all members of the University staff will find useful. It
          includes descriptions of policies about work, paid time off, and leaves of absences. It also contains
          polfcies that every ·employee must know regarding conflict of interest, drugs and alcohol,. and sexual
          harassment. Please·be,sure to call anyone in the Department of Human Resources if you have questions
          about these policies. We are happy to hefp.



          The Standards for Business Conduct booklet i:;ontains an overview of the major policies that guide
          business conduct at Northwestern as well as a reference for addltionaf resources.



         I have received the Northwestern University Staff Handb;:mk and the Standards for Business Conduct
         booklet.




                (Please Print)


                       ~-
        Signature       /
                    - ,,J
                            2---

       Date




                                                                                              EXHIBIT



                                                                                                        B

                                                                                          -Trahanas-NU000084
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                         EXHIBIT B
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                         NORTHWESTERN
                                    UNIVERSITY




                                     Staff Handbook




                                      ,(·; 2005 Norlhwcstcrn University
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        Staff Handbook
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        [ntroduction                                                                                                                5


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        About this handbook    This handbook provides descriptions of policies relating to work at Northwestern
                               University. lt presents material in these general areas:

                               "    Employment
                               ,.   Training
                               •    Work and hours
                               •    Absence, including both paid time benefits and unpaid absences
                               ..   Payroll
                               "'   Job perfo1manec and conduct
                               ,.   Services. including the Faculty and Staff Assistance Program

                              New members of the University staff will find this handbook a useful introduction to
                              the way the University works, and long-standing staff members will find it a handy
                              reference for answering many questions about University employment The
                              handbook also includes guidelines for job performance and behavior. A companion
                              handbook contains summary plan descriptions of the University's employee benefit
                              plans.

                              In summarizing the terms and conditions of staff employment at Northwestern, this
                              handbook docs not provide a detailed description of all employment policies and
                              practices; each University department adopts policies particular to its functions. From
                              time to time policies and programs of the University may change. To be sure of
                              having current information, each staff member should confer with his or her
                              supervisor. consult ,vith their deparirnent head's copy of the manual Human
                              Resources Policies and Procedures. or call the Department of Human Resources.
                              Human Resources oflices arc located on the Evanstou campus at 720
                              Place and on the Chicago campus at Abbott I-fall, room 150, 710 North Lake Shore
                              Drive. lhc manual Human Resources Policies and Procedures can also be accessed
                              through NlJNct at http:lh-vww.northwesterneclu!hrlpoliciesl

                              This staff handbook contains the policy information ordinarily needed hy staff
                              employees of the University; but more extensive infom1at1on on some matters may
                              be found in the Facultv Handbook, lhc policy on patents, the policy on research
                              safety, and other publications.

                              For jobs covered by a labor agreement, some of the policies and programs described
                              in this handbook may be modified by the agreement or may not apply. Employees
                              holding such jobs should obtain a copy of the labor agreement from their union
                              steward to determine those differences.

                              This handbook is not an employment contract nor an assurance of continued
                              employment. Northwestern University may change without notice any statement in
                              this handbook concerning rules, policies, tuiiion, fees, curricula, courses, procedures,
                              benefits, or other matters. Accordingly, staff employees should check lhc most
                              cmTcnt information if there is any doubt about the application of a policy. The
                              cmTcnt      edition   of    this     handbook        is     found      on      line   at
                              http:,llwww.north1vestern.edullu/hamlbookpdf
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                                            , the J_ L. Kellogg School of Management

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                                            a vice president.




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        Introduction                                                                                                   7



        The staff                The staff supports the faculty, students, and University in their educational and
                                 research missions.

                                 The regular staff numbers about 4,500 employees, and over l ,000 temporary staff arc
                                 added to the University employment during the academic year. Occupational
                                 categories include jobs in service, maintenance, clerical, technical, professional, and
                                 administrative areas. These job categories arc common to both the academic and
                                 adminish·ativc units of the University. Each category includes numerous job
                                 classifications and titles.     Staff classifications arc divided into two general
                                 categories, exempt staff and nonexempt staff

                                 TI1e exempt staff consists of employees whose responsibilities arc primarily
                                 executive, managerial, or administrative, or whose positions require an advanced
                                 educational degree or knowledge and experience in a field considered professional.
                                 These positions arc paid monthly and are exempt from the overtime requirements of
                                 the Fair Labor Standards Act (FLSA) that mandate overtime pay for time worked in
                                 excess of40 hours per week.

                                 The nonexempt staff consists of employees holding positions in support activities.
                                 Employees in these jobs are not exempt from the FLSA overtime provisions and they
                                 are paid by the hour and are paid ! 1/2 times their regular pay rate for hours worked in
                                 excess of 40 in a week.

       The Department of Human   Role. The Department of Human Resources provides services to the University in
       Resources                 recruiting and training, in the admimstration of compensation and benefits, and in
                                 payroll. rhe department assists other departments in meeting their staffing goals,
                                 managing job pcrfom1;:mcc, and interpreting policy. The department also supports
                                 empioyees and their supervisors in reaching understanding and reconciling
                                 ditforences to promot<: effective working relationships.

                                 Questions on policies and procedures. Employees and supervisors arc encouraged
                                 to call on a member of the Department of I-! um an Resources staff at any time for help
                                 in any area of policy or procedure. Any question can be addressed to any member or
                                 the department, who will answer it or direct it to the appropriate authority in the
                                 department.

                                 Working relationships. Occasionally, a member of the University staff and h1s or
                                 her supervisor may have difficulty working with each other or maintaining an
                                 dlcetive v/Orking relationship. Support for employee relations is available to assure
                                 Lrea1ment consistent with the policies in this handbook, and employees should seek
                                 help to mediate difficult discussions. Those in supervisory positions also frequently
                                 call on the Human Resources department to act as a neutral third party in 0rdcr to
                                 facilitate communication and restore productive working relationships.




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I       1:mployn;cn1 prnccdurcs   The Department ul'Httrmm Resources and the Sllpcrvisor seeking to fill a_iob vacancy
                                  V,'ori:




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                                        placement, transfer, and promotion
                                        promotion fiom within whcnc 1 cr p<,.,ciblc•
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                                  the position has been posted on the ()pen Positions List fr,r at least a \.VCek .. or at 1.cas!
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                                  C'hicago for jobs of lntcrc~L F\1rthcr irdf_HlY!~ll ion f--,,Ho1,,vs on page l ! .




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        Employment                                                                                                                           9




        Nondiscrimination     Northwestern University docs not discriminate against any individual or pem1it
                              discrimination by any member of its community against any individual on the
                              basis of rac<.:. color. religion, national origin, sex, sexual orientation, parental
                              status, marital status, age, disability, citizenship, veteran or status in matters of
                              admissions, employment, housing, or services or in the educational programs or
                              activities it operates.

                              Harassment, whether verbal, physical, or visual, that is based on any of these
                              characteristics is a form of discrimination. This includes harassing conduct that
                              affecting tangible job benefits, interfering unreasonably with an individual's
                              academic or work performance, or creating what a reasonable person would sense
                              is an intimidating, hostile, or offensive environment.

                              While Northwestern University is committed to the principles of free inquiry and
                              free expression, discrimination and harassment identified in lhis policy arc neither
                              legally protected expression nor the proper exercise of academic freedom.

                              Complaint. A complaint of discrimination on any basis in this policy can be filed
                              with the director of equal opportunity, affirmative action, and labor relations. A
                              complaint about the actions of the director will be investigated by an impartial
                              University official. Academic exempt employees direct complaints to the department
                              chair. Complaints involving deans arc investigated by the office of the Provost.
                              Time spent during scheduled working hours in the formal procedure is treated as time
                              worked. Complaints of sexual harassment follow the procedures on page 51.

                                        An.           nm satisfif?.d with the resolution of a complaint may appeal to
                              the associate vice president fi:.Jr human resources and, ,f still dissatisfied :1l1cr that
                              review, to the senior vice president for business and finance, whose                is the
                              final response for tbc University.
                              ~------- -.--- --------------·--------- ----~----- --------- . --·----------------------   -·-

       Affirmative action     Northwestern University actively seeks women. minorities, veterans, and dtsablcd
                              persons for employment and promolion to maintain a             comnnmi1y based
                              on equal opportunity.




                                                                                                                               Trahanas-NU001332
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       l0                                                                                                        Employ me·




       Aceommo<lation of disabilities   Northwestern University reasonably accommodates employees with disabilities.
                                        To be eligible for an acconnnodation. employees mus1 declare their dis:1hilitics A
                                        ··reast';n:-1bic ;iccor:n1nodalion't· n1ay include the purchase ef spcciaJ cquiprnen1,
                                                      till.·                                                 c!nlic~ .. rnodi
                                        ihc \vnrk sch(~duic. etc.


                                        Once the Department of Human Resources is provided with written documentation
                                        by a physician identifying the disability and specifying recommended
                                        accommodations based on the job duties, the employee has fulfilled his or her
                                        responsibility.

                                        The Office of Equal Employment Opportunity, Affinnativc Action and Labor
                                        Relations (EEO/AA/LR) is responsible for the management. implementation and
                                        coordination or the Employees with Disabilities Accommodation policy. This
                                        office must approve all accommodations and cmploymeni decisions in which an
                                        employee or applicant has declared a disability.

                                        The Employees with Disabilities Accommodation Poi icy can be accessed on line at
                                        http:llw11w.northwester11.ed11/hrleeolemp/ll(·copol.html.


       Evaluative authority over        No faculty or staff memher may have evaluative authority in such matlcrs as
       relatives                        employment, compensatio11, promotion, or wm1i11ation over ano1hcr employee who
                                        is the faculty or staff member's spouse. domestic partner, relative, or an individual
                                        with whom the faculty or staff member is having or has recently had a scxua
                                        relalionship.

                                        No facully or staff member may have evaluative or sorcrvisory authority
                                        (inciulling the nssignn1cn1 of grades, 1hc supervision of disscrunions~ or decisions
                                        relating to ,:mployrneJH or financial support) over a student who i::; a rclatiw or
                                        with whorn the faculty or statf member is having or has recently had a romantic or
                                        sexual relationship.

                                        For purposes of this poi icy, a relative is a blood relation, in-law, step or adoptive
                                        relative, as close as pr closer than nephew or niece.

                                        When a situation occurs that potentially violates this poiicy. the faculty or staff
                                        member with ,~va!uativc authority must report the relationship to his o.- her
                                        ;;upcrvisor or department chair, dean, the Department of Human Resources. or the
                                        University Provost. if the person to whom the relationship is reported determines
                                        that such action is necessary, it is the responsibility of both the facully or staff
                                        member with the evaiuativc authority and the individuai to whom the relationship
                                        is reported to ensure that the evaluative authority is reassigned. If this is not
                                        feasible in a particular instance, the faculty or staff member and the individual to
                                        whom the relationship is reported must bring the matter to the attention of the
                                        Provost or !he Associate Vice President of Hurnan Resources.
                                                                                                 -----~---         -·-----------




                                                         ----------------------·"                                - ·-----~~----
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        Employment                                                                                                   11



        Transfer and promotion   Northwestern University recognizes the value of its staff as an important asset in the
                                 community, and it encourages them to develop and consider other University job
                                 opportunities as part of their personal and career advancement.

                                 Service requirement. To be eligible for a transfer or promotion, a staff member
                                 must be in his or her current position for at least one year. No specified service
                                 period is required for a transfer or promotion within a department, but a department
                                 may reasonably limit such transfers or promotions.

                                 Performance requirement. A staff member must receive an overall evaluation of
                                 satisfactory or effective on the most recent perforn1ance review and have no current
                                 disciplinary action.

                                 Qualifications. To be considered for transfer to another position, a staff member
                                 must meet the minimum qualifications of the position.

                                 Application. To ensure consideration for a position, the staff member submits an
                                 application for transfer or promotion along with a resume to the human resources
                                 department. The staff member may work with a human resources consultant, staffing
                                 specialist, or other human resources representative on jobs of interest. The
                                 application is found on line at http://www.northwestern.edu/hrljobsltransfer.html.

                                 Hiring manager. The hiring manager reviews applications and determines whom to
                                 interview for the position. The hiring manager may contact the staff member directly
                                  to set up an interview.

                                 References. The hiring manager, a human resources consultant, or a staffing
                                 specialist checks at least two references when the staff member becomes a candidate
                                 of choice for the position, normally, including the current supervisor.

                                 Supervisor notice. In general, the staff member is notifies his or her supervisor
                                 during the transfer process. The human resources consultant or staffing specialist
                                 may coordinate this notice.

                                 Performance evaluations. Performance evaluations of finalist candidates are
                                 confidential but may be made available to the hning manager.

                                 Decision. Offer decisions are made jointly by the hiring manager and the staffing
                                 specialist or human resources consultant, who reviews the offer for equity and
                                 adherence to compensation guidelines.

                                 Transfer date. The human resources consultant or staffing specialist coordinates the
                                 transfer date with the hiring manager and the employee's current manager. Generally,
                                 exempt staff members provide three weeks of working notice and nonexempt staff
                                 provide two weeks of working notice, but the needs of the supervisors may call for
                                 other arrangements.

                                 Vacation and sick time. When transferring to a new position in the University, the
                                 individual retains the vacation and sick time accrued in the former position. For
                                 transfers between nonexempt and exempt, see page 25.




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        I.,.                                                                                                                         Ernploym




        Pay practice                         Lateral transfer. A staff member who transfers to a position having the same grade
                                             or salary range is not l~fip:iblc for :1 s~dnry increase and r·c1nains at the s;1rnc- salary in
                                             the new position.

                                             Prornotion. i\ 31.nff n1crnbcr \vho 1r;H1,:,:fr.. 1·.: u.--. g position h.'..1'-.ting a high~~r grade or
                                             salary range may be eligible for a salary increase. The amount or the increase is
                                             based on the compensation guidelines for promotions.

                                             Orientation and review period. The ~taff member is n:quin:d to complete a six-
                                             month orientation and review period in 111<.~ new position. The ~iaff member retains
                                             the accrncd University service after the transfer to the new position.
                                             ----·-------------
        Orientation and   rcvicv✓   period   The ori.::ntation and review period gives the supervising staff or faculty member an
                                             opportunity to provide orientation and training for a new staff member, to review the
                                             perfonnancc expectations for the position, and to dciermine whether expectations arc
                                             met during the initial period on the joh. The goal is success on ihc job tor the new
                                             staff member.

                                             Length. The orientation and review period is the initial six months of service in the
                                             position. Police officers work on a probaiionary basij fr;r Ilic firs! 12 month:-;_

                                             Procedures. The staff member              ca11 expect to complete an orientation checklist, to
                                             receive a job description and             work schedule and n schedule of training and
                                             feedback meetings.    Written             performance expectations or objectives can r
                                             expected, as well as meetings             to review progn:ss and performance during tt.
                                             review period.

                                                                                Pc:: f-. n ,1._., .:_"
                                             review period.

                                             Unsatisfactory performance in new l)Osition. An employee \Vho is not pcrforn1ing
                                             adequatciy in a position may be recommended by the supervisor for extension of the
                                             review period or !or dismissal from that position at any time during the review
                                             period.

        I~\nployincnt at \V1il               Succcssfi.Ji completion of the oricnl;iiion and review period docs not guarantee
                                             continued or permanent cmpioymenL            Eit!Kr the employee or Nmihwestcrn
                                             University may end the cmpioyrncnl relationship al wiil. with or without cause or
                                             advance notice, at any time during or afkr the oricnta1icm and review period.
                                                                         --------~---·----· --- -        .




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        Employment                                                                                                      13



        Termination of employment   Notice. Employees must provide two weeks of working notice to their supervisors to
                                    leave the University in good standing.

                                    Exit interview. Tcnninating employees should schedule an exit interview with the
                                    Department of Human Resources at least a week before their last work day.

                                    University property. Before the last day of work, employees must return to their
                                    department any University property, materials, and written information issued to
                                    them and in their possession. This property may include credit cards, identification
                                    badges or cards, keys, manuals, calculators, computers, other office equipment, key
                                    cards, and other materials. Northwestern will take all appropriate action to recover
                                    its property.

                                    Benefits. The employee is notified in wntmg by the Benefits Division of the
                                    Department of Human Resources about benefits that may be continued.

                                    Vacation. Unused accruals of vacation and personal floating holidays are paid on
                                    the payroll following the individual's last pay period and the employing department's
                                    notice to the payroll division that the employment has ended.

                                    NetID and email. Email and NetID access are terminated within 21 days of the
                                    termination date.

                                    Future references.       Fo1mer employees who want the University to verify
                                    employment can use the automated verification service by following the instructions
                                    at         http:llwww.northwestem.edu/hdhris/personallpayrolllemployverif.v.htm/.
                                    Northwestern vcri fies dates of employment, job title, and salary.

       Reinstatement                An employee who leaves University employment in good standing may be reinstated
                                    within 30 calendar days to an available regular position for which he or she is
                                    qualified without the loss of prior service or benefits status. Paid time benefits arc
                                    not accrued during the absence and the number of days absent is not included in the
                                    calculation of University service.

       Rehire                       Northwestern University considers reemploying people who have separated from the
                                    University when the previous work record, the reason for the separation, and the
                                    present qualifications warrant consideration.

                                    fndividuals may not be reemployed without the approval of the associate vice
                                    president or appropriate administrator in the Department of Human Resources. A
                                    record of the approval becomes a part of the personnel file. The rehired individual is
                                    considered a new employee with no University service for the purposes of accrning
                                    paid time benefits, service recognition, and qualifying for tuition, retirement, and
                                    insured benefit plans.




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       14                                                                                                            Trainin,


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      Training Opportunities   Northwestern University offers a 1vidc range of professional development
                               opportunities throu.Eh which employee, can enhance their 1vorkplacc skills nnd
                                                !'.dw:;;tio11al dcvciopmcnl is supoorted across the University.




                               The Training and Development Division of the Department of Human Resources
                               offers workshops and coaching throughout the calendar year. Employees may
                               register for a variety of offerings. including leadership and management. business
                               processes. workplace skills, computer applications, and organization development.
                               These workshops arc held on both the Evanston and Chicago campuses. The
                               Training and Development Division publishes and distributes quarterly schedules
                               of offerings. In addition, all information can be accessed on-line at
                               liftp://wiv1v.11orlhwes1er11.ed11/hr/rraining

      Recognition programs     Northwestern offers a variety cf employee recognition programs, awards. and
                               activities. These include
                               • Service Excellence Awards
                               • annual SlalTScrvicc Recognition Luncheon
                               s Length of Service Recognition.

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                               The Service Excclicncc Award program provides recognition ior exceptional service
                               rerformancc. Nominations rrom anyone in the communi1y, including faculty. staff,
                               students, supervisors. vendors and others, arc accepted throughout the year to
                               recognize instances of exceptional service rendered by a staff employee.

                                           arc honored \-vith lcnr1!1 (;f ~ervicc rccop:nitinn :1ficr their ')th . \ 0th, ;Jr:d
                               ! 5th anniversaries. Employees who have completed 20, 25. 30. 3:\ and 45 years of
                               service during the preceding year ,ire honored al the annual Sta ff Service Rccogn it ion
                               Luncheon.

                               The Employee or lhe Y car a\varcl recipients and finalists for each campus arc
                               honored a\ the annual StalT Service R.ccogni1ion Ltmchcon. A call for nominalions
                               and an explanation    or
                                                     the selection crilcria arc made in University publications and
                               by email.

                               For further information conccrnmg these offerings, contact !he Training ano
                               Dcvdormcnt Division. a; ;347 46 7-508 J.
                               - "-- ·----- ·-~----- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ~




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       Work and Hours                                                                                        15




       The work day           Scheduled work hours vary among departments, with the most common full-time
                              schedules totaling 35, 37½, or 40 hours per week. A 35-hour work week is the
                              minimum considered full time. Most regular work schedules continue throughout the
                              year, but some are partial year (for example, nine- or ten-month) work schedules.
                              Nine-, ten-, and eleven month employees are considered full time during the months
                              when they work the full work week.

                              The most common office hours of the University work day arc 8:30 a.m. to 5:00
                              p.m., Monday through Friday. However, each department determines the hours of
                              work for its employees as necessary to staff its operations. Departments and
                              supervisors set and adjust individual employee schedules to meet the department's
                              operational needs. They may adopt work schedules to accommodate individual
                              employee needs to the extent that department operations permit.

       Varying schedules      A work schedule can be any combination of days and hours totaling no more than
                              40 hours in a work week. The hours scheduled for work must total to the standard
                              hours budgeted for the position. No combination of hours and days may exceed 14
                              days without a full day off.

                              Working a regular daily schedule is not a University requirement, although
                              working a regular daily schedule may be a departmental requirement. Work
                              schedules can vary among employees within the same office or department
                              throughout the year, or they can be changed on a seasonal or other basis.

                             Examples of flexible scheduling with this policy include a schedule in which an
                             employee works four days of IO hours each for a total of 40 in the week, or a work
                             schedule of three days of 9½ hours and one day of 9 hours for 37½ hours in the
                             week. Overtime at l ½ times the nonexempt employee's hourly rate is paid for any
                             hour worked over 40 hours in a work week.

                             School or administrative department business offices may choose to coordinate
                             schedules in the departments of the unit. For staff using the Electronic Time Entry
                             System (ETES) to record hours, the payroll division must be notified of a schedule
                             change prior to the beginning of the pay period when the change is to occur.




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        16                                                                                                               Work and llm:


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       Recording hours        Nonexempt staff arc required lo report accurately all work hours, as well as paid
                              time off, and arc required by law to he paid for ,ill tinw worked. The stnff nH:mh('r'-;
                              accounting of all :-;chcdukd homs :nid wu1"kcd hours is rq,ortcd ()!l :he Bi week iy
                              1-:1nploycc 'Tin1c        or in ihc hlcc1ro11ic ; iinc LnH y        I l~'1·i · ! L
                              faisit)'ing the reporting nf\.vork 1in1c or liir11~   pff·i~ qiJ1}",~;   t(\   di-.:t·ipiin~1r~:·' '.lC.-lHJP up tn
                              and including discharge from University employment.

                              The individual's NetID and password arc used to access ETES. When properly used,
                              the NctlD and password :u-e considered authorizing signatures for entries and
                              approvals.

                              Instructions for reporting time through ETES begin on page 43. lnstmctions for use
                              of paper lime sheets begin on page 37. The department manager or the individuars
                              supervisor can inform the nonexempt staff member about the time reporting method
                              in use in the department.

                              Exempt staff positions may require employees to work beyond the hours of the work
                              week normally scheduled. Exempt employees arc nol compensated for this time nor
                              provided compensatory paid time off Exempt employees arc not required to record
                              work hours or scheduled hours.

       Lunch periods          Lunch periods an; unpaid and range from a minimum of 30 minutes lo a maximum of
                              one hour. However, h:ir cc1iain cmpioyces who are required to remain on duty or on
                              call through the lunch period. the lunch period is part of the paid work shifl
                              Employees arc not allowed to shorten or ciirninale sdH.:dukd lunch periods to alt1..
                              the beginning or ending of a workday. In a work period of 71,,; hours or more, a meal
                              period of al least 30 minutes mus, be provided bd'orc the encl of 5 hours of work.

       Rest periods           in work siwations where employees arc free to move about and visit rcsiroorns from
                              time to time. formal rest periods arc unnecessary. Therefore, immy departments and
                              offices do not have formal rest breaks. However. fi.11l-timc employct'.s who arc
                              substantially bound to one work site and to continuous tasks without freedom to
                              move should have a specific rest break each half day. Under similar working
                              conditions, part-time employee, vvho work at tc~:s, four but less tlrnn seven homs per
                              day arc eligible for one such rcsl break per day.

                              Rest periods do not c:xcccd l 5 111lnulcs and rnay not be acc:urnulatcd ur used to
                              shorten the beginning or ending cf a workday.

                              Rest breaks arc scheduled at the discretion      or the supervisor.




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        Work and Hours                                                                                                !7


                               -----------------------~--------
        Salaries               Jt is the University's goal to pay staff salaries that arc equitable within the University
                               and related to the salaries paid for similar work in the appropriate labor market.
                               Accordingly, most positions arc classified and then assigned salary ranges that define
                               the minimttm and maximum pay for the position. An employee's salary may
                               advance within the salary range as the result of periodic performance and salary
                               reviews. Such increases in pay arc considered merit increases, which may vary in
                               amount according to supervisory evaluation of the employee's perfonnanee. In
                               general, salaries arc reviewed annually. Salary increases that are granted ordinarily
                               take effect on or near September l, the beginning of the University's fiscal year.
                               Bargaining unit employees receive increases according to terms of their labor
                               agreements.

        Performance review    Employees participate in an annual performance review, in which the employee and
                              supervisor discuss how well work expectations have been met. The supervisor
                              evaluates perfomiancc in terms of achievement of standards and objectives related to
                              job responsibilities. The pcrfom1ancc ra1ing is considered in detennining the amount
                              of the employee's am1ual salary increase.

        Pay periods            The work week of the University staiis at the beginning of Sunday and ends at the
                               end of the following Saturday. Nonexempt staff are paid every Lwo weeks on the
                               Friday following the end of each two-week pay period.

                              Exempt employees arc paid monthly, and paychecks arc issued on the last working
                              day of the month.

        Overlimc                                           40 in a work wed,         the premium rntc of I 'lo
                                                     rate is reqmred for nonexempt cmp[oyees. Time paid for
                              Univcr:,,ity scheduled           ,s considered time worked when rnmputmg
                              premrnm overtime in a week where a Umvcrs1ty scheduled holiday falls.

                              Not paying the rate or l 'h tim.cs the regular rate for hours worked               40 in a
                              work \.VCek is a v1ota1ic;n of fe',deral Lnv.




                                                                                             Trahanas-NU001340
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       18                                                                                                         Abscnc,




       Types of Absence      Definition. A staff employee is considered absent if he or she is not present for work
                             as scheduled. regardless or cause:.

                             Paid abscnct·s and unpaid ;;bsuin·s, :~un,t.· abscnL:cs arc paid as bcnci1is. Thcs,:
                             paid lin1c hc.nt.~fils arc dcscrit»:.--d on p.;:1gc·s 20 to 29. Sotne other absences arc excused
                             but they arc not paid. Unpaid absence~ arc described on pages 30 lo :n.

                             Scheduled abs<.'nccs. An employee is to notify his or her supervisor as early as
                             possible about scheduling absences. whether paid or unpaid. Scheduled absences an:
                             arranged at the mutual convenience of the department and the employee. An
                             employee's request for absence may be denied, especially if the absence intcrkrcs
                             with department operations, as when the request is not sufficiently in advance of lhc
                             requested date.

                             Unscheduled absences. On each day that a staff member takes an absence not
                             scheduled in advance with the supervisor, the employee is to advise the supervisor
                             and give the expected return date.

                             Lack of notice to the supervisor for an absence of three consecutive days indicates
                             that the individual has abandoned 1he job and is grounds for ten-nination of
                             employment. Lack of notice during an abscn<..:c of less tban three days is grnunds for
                             corrective action that may include termination of employment.

                             Excessive absence. Unexcused absences arc cause for corrective action and may
                             result in termination. Excessive excused absences may also be reason for corrective
                             action. Each department defines excessive absence based on its own operations and
                             informs its employees of its policy.

                             Documentation of absence. ;-\ supervisor may require documentation from an
                             ~mp!oycc for requests frx ahsence prior to the absence nr al the time or returning
                             1


                             li·om the absence. Documentation or justification is not required fi'.ir vaca1ion m
                             personal floating holiday time unless an emergency necessitates short notice.
                                                                            -------------~--~~~---




                                                                                                Trahanas-NU001341
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        Absence                                                                                                   19



        Tardiness              Staff members arc expected to be at their place of work, prepared to work, at the
                               limes established by supervisors. An employee is tardy if he or she fails to report to
                               the assigned workplace, prepared to work, al the scheduled time. This includes
                               returning from breaks and lunch periods.

                               Departments define the punctuahty standards for their operations and communicate
                               them to employees. Staff members who expect to be late arc to notify their
                               supervisors according to the department's procedures.

                              Excessive tardiness is grounds for corrective action and may lead to termination of
                              employment.

                              For each full or partial six-minute period that a nonexempt staff member is late, time
                              worked is reduced by one-tenth of an hour and is recorded on the Biweekly
                              Employee Time Report or in the Electronic Time Entry System (ETES) as unexcused
                              absence, with the code UXA.

                              Supervisors may adjust work schedules to accommodate an individual's scheduling
                              need. However, if a nonexempt staff member is not at work, the individual is not
                              paid for that time, unless he or she has arranged with the supervisor in advance the
                              use of paid benefit time, such as vacation or paid sick time. A nonexempt employee
                              may not be paid for time not at work, as when tardy, and may not work any hours
                              (such as to compensate for tardiness) without being paid for them. The employee is
                              to be paid according to the time actually worked, even if this time does not coincide
                              with the planned work schedule.




--                                                                                        Trahanas-NU001342
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                              N,mcxcrnpt siaJTcarn vacation according to thL' fo!k,v1tng schedule.




                                       Under 6 months                    0.00 - 0.49                l \Vtck aHer 6 n1onths        .o:rns per hour
                                         (,!2 months                     ()50 -- 0.99
                                                                          :   {\fl,   ,'\ /){',
                                              9 year.-;                   !   .uu -   7. ---,,~,.



                                        10 -- ! 9 ye~1rs                10,00 - J().9')                                           DH,7 per hour
                             t - - - - - - - - - - --------------•---+---------------------,-----       .. ---------------------+--------;
                                           20 years                    20.00 or more                                              095;~ per hour


                               rhc qualified se,Yicc period is the amo1mi oi· employment ,.cr\Xc' ;iscd ,ic: tlw b;;isis
                               for benefits accun1uinrions. h consists of the Si..'Tvicc since the hire date {tnd ;_~xcludcs
                               1in1c off for sickness or leaves of absence. c>~u.:pt 1nilitary                 lc.J'/t·


                               i)uring the qualified period of service indicated in the 1ah1c, vac;_ttlon                    is   calculated by
                               rnuHirlying fhc vacation factor b:</ the cn1p!oycc \; ;H:rrtnti hase hours.

                               f\ccruai hasc hours arc regular~ scheduled \..Vork. hcn.1r::~. Th1,_~:-:c· schcdn!cd Vlurk hours
                               rnny be paid as
                                     regular hours \Vnrkcd~ bu! not ovcttirnc- houts ;,,;,:orkcd

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                                                                                                                  Trahanas-NU001343
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        Paid Time Benefits                                                                                               21



         Vacation accrual for           Vacation balances for exempt staff are maintained by the department, and yearly
         exempt staff                   totals are submitted to the HRJS Division of the Department of Human Resources.
                                        Listed below arc the amounts of vacation time exempt employees receive.

                                                         Service                        Annual allowance          Days earned
                                                        completed                                                  per month

                                                      Under 6 months                         I week                  0.83

                                                       7 - 12 months                        2 weeks                   1.67

                                                         1 -9 years                         3 weeks                   1.25

                                                       10- 19 years                         4 weeks                   1.67

                                                        20ormore                            5 weeks                  2.08


                                        After six months of continuous service, employees may use one week of vacation
                                        time. After completing the first year, employees may use the remainder of the first
                                        year's vacation. Thereafter, for those paid monthly, one-twelfth of the annual
                                        vacation time is accumulated at the end of each completed month of service.

         Accrual calculation            Following the first year of employment, an employee accrues vacation time at the
                                        end of each pay period. Accumulated vacation time appears on a nonexempt
                                        employee's payroll check stub or direct deposit notice. The employing department
                                        maintains records of vacation accruals and usage for exempt employees.

         Maximum accumulation           Staff members, both exempt and nonexempt, do not accumulate more than one and
         of vacation time               one-half times their annual allowance of vacation time at any time during the year.
                                        When this maximum has accumulated, no additional vacation accrues until some of
                                        the accumulated time has been used and the accumulation falls below the maximum.
                                         For an employee who has reached the maximum accumulation, vacation that might
                                        otherwise accrue is lost. The employee and the department must assure that vacation
                                        time is scheduled to avoid losing it. Employees who separate from the University are
                                        paid their accrued vacation up to the maximum allowed.

        Accruals for 9- IO- and l ! -   Employees working 9, 10, or 11 months per year accrue vacation and nonexempt
        month work schedules            sick time at the rates shown in these tables during the time paid in the 9, 10, and 11
                                        months of the work schedule. Vacation and sick time do not accrue during the
                                        months off work, and consequently the annual amount of vacation accrues in
                                        proportion to the number of months worked during the year. In addition, the
                                        University service indicated by the "Qualified service period" and "Service
                                        completed" in the tables above accrues during the time worked in the 9-, 10-, or I I -
                                        month schedule but does not accrue in the months not worked. During the months
                                        not worked, employees on these schedules arc on leave of absence to assure
                                        continuity of benefits.




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      22                                                                                          Paid Time Benefits




      Using vacation time    When available. Vacation is available for use in the first full pay period following
                             th,: date when six nr twelve months of ss.:rvicc is comrlctcd. After six rnnnths of
                             continuous service'. employees accrue and may u~c up lo one week of vae.iiion time.
                             ,-\lier co1T1plc:ting the :ir:;I vt:ai-.   n1ay use tht: r1.:1na111dcr of the 1irst ycat'·~
                             vacat!on.


                             Scheduled. Use of vacation time must be scheduled in advance in accordance with
                             department mies. The department and the employee schednlc vacation time when it
                             is mutually convenient. The department may limit the amount of vacation taken at
                             lme lime in consideration of departmental needs and the vacation entitlement of other
                             employees. Departments may specify periods when no vacation may be taken.

                             No advance. Vacation time is not advanced, that is, vacation cannot be taken hefore
                             it is accrued.

                             Not cashable. No payment is made to au employee in lieu of vacation time, except
                             al termination of employment.

                             Portability. Employee~ who transfer from one department lo another re1ain their
                             accumuiated vacation time.

                             Coinciding holiday.       When a University holiday falls during an employee's
                             vacation, the day is paid as holiday time rather than as vacation,




                                                                                             Trahanas-NU001345
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       Paid Time Benefits                                                                                       23



       University scheduled   Employees are paid their average daily rate for the scheduled holidays observed by
       holidays               the University.

                              The University observes these holidays and pays employees for the day:
                               New Year's Day       Labor Day             Friday after Thanksgiving Day
                               Memorial Day         Thanksgiving Day      Christmas Day
                               Independence Day

                              Additional holidays may be scheduled, usually at Christmas and New Year's. The
                              Department of Human Resources publishes a calendar of the dates on which holidays
                              are observed. Normally, holidays whose traditional date falls on a Sunday are
                              observed on the following Monday, and holidays falling on a Saturday are observed
                              on the previous Friday.

       Holiday pay            Average rate. Nonexempt employees are paid one tenth of their position's biweekly
                              standard hours for the holiday, calculated scheduled biweekly hours divided by I 0.

                              Holiday work. Nonexempt employees required to work on a regular holiday receive
                              pay at a rate I½ times their regular hourly rate for the work on the holiday, plus an
                              alternate day off with pay as a substitute for the holiday. If management determines
                              that it cannot schedule another day off within 30 days before or after the holiday
                              worked, the employee receives the alternate day's straight time pay in lieu of the day
                              off. Hours paid but not worked do not count toward overtime pay in the week paid.

                              Alternate holiday. If a holiday falls on an employee's scheduled day off, the
                              employee receives an alternate workday off, scheduled within 30 days of the holiday.

                              Forfeiture for absence. To be paid for a university scheduled holiday, exempt and
                              nonexempt employees must be in paid status for at least 50 percent of the pay
                              period in which the holiday falls. The holiday itself is included in the pay period
                              hours, whether 70, 75, or 80, but is excluded from the paid status time for
                              determining holiday pay eligibility.

                              Paid status means being paid for time
                              •   at work,
                              • on paid vacation,
                              • on approved, paid sick time,
                              • for a personal floating holiday,
                              • onjury duty,
                              • on funeral leave, or
                              • on paid military leave.

                              Scheduling of vacation, personal floating holidays, and alternate holidays is always
                              at the mutual convenience of the employee and the employing department and
                              requires the prior approval of the supervisor.

                              Newly hired employee. A newly hired employee is eligible for holiday pay for a
                              holiday following the first day of work if the employee works 50 percent of the
                              work days between lhe first day of work and the end of the pay period.




                                                                                          Trahanas-NU001346
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       24                                                                                         Paid Time Bencfii:;




        Personal floating     The University annually provides up to three days of paid time absent from work. to
        hnlidav~              he scheduled ;:lf the discr:.--tion of the cn1ploycc and \vith the ~·1ppnJvcil      or
                                                                                                                 ih~
                              dcpartrncn1 or supcrvis0r Fln:!l"ing holidays an.' :11adc available to cn1plu\1ccs for
                              pcrson~1l business~          sicJ-.ncs~; oi· hcrcavc1r1L~n1      lhc lea\ c. religious
                              observance; or other occasion;-; of their cho1.:,;)lng un University business Gays.
                              Floating holidays may also be used lo extend vacation.

                              Eligibility. An employee with six months     orservice is entitled to tl-lkc three rcrsonal
                              floating holidays before the end of the year, with a day becoming availabk: on each
                              of January I, April l, and July I foliowing the completion of six months of service.

                              No carryover. For nonexempt start: floating holidays earned during the year al the
                              dates specified must be taken by the end of the last full pay period of the year and
                              may not be taken in a final partial pay period of a calendar year or in the following
                              calcn<lar year. Floating holidays not taken in the year earned arc converted to sick
                              time days, available as paid sick time in case of illness. For exempt stail floating
                              holidays unused by year-end arc forfeited.

                              Scheduling. Floating holidays must be scheduled with the employee's supervisor. !r
                              dcpaiim<.:nt work and other vacation and holiday schedules permit, ihl' floating:
                              holiday may be <-:cheduled with other holidays or vacation.

                              floating holidays arc to be scheduled as for in advance as possible to permit
                              coordination of department work loads. Scheduling of holidays on short notice i( _
                              emergency pmvoscs is at the discretion of the department or supervisor, and !hL
                              supervisor may reque::;t documentation of the rcnson fiir emergency use.




                                                                                              Trahanas-NU001347
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       Paid Time Benefits                                                                                                     25



        Paid sick time                 Northwestern University provides paid time as a fonn of income protection for
                                       employees unable to work because of illness. Paid sick time is applicable only to
                                       absence required by bona fide disability and related visiL<s lo certified caregivers for
                                       treatment.

        Accrual for nonexempt          During each year of full-time service, a nonexempt employee may accrue up to 10
        employees                      days of time that may be taken as paid time absent if a disability or illness renders the
                                       employee unable to work. Part time employees accrue the fraction of 10 days of sick
                                       time proportionate to the fraction of full time that they work.

                                       Sick time accrues with additional service and continues to accrue from year to year
                                       without limit. Longer service employees accordingly have greater income protection
                                       in case of serious disability or sickness.

                                       Paid sick time is not accrncd on hours that arc reported as absent without pay or that
                                       arc taken as sick time, whether paid or unpaid.

        Available paid sick time for   Paid sick time is available to exempt employees on the following schedule.
        exempt employees
                                         In this year of   As indicated by this      The days of            At this percent
                                           continuous            qualified          paid sick time           of salary ...
                                           service ...       service period        available are ...
                                                              (in years) ...
                                              First            0.00- 0.99          l per completed
                                                                                   month, up to I0               JOO

                                          2nd and 3rd          1.00- 2.99                 20                     100
                                          4th and 5th          3.00-4.99                  42                     100
                                          6th through          5.00- 9.99                 65                     100
                                              IOth
                                                                                          65                      60
                                         11 th and after     I 0.00 or more              130                     100

                                       For exempt employees, unused sick time days arc not accumulated and are not
                                       carried forward for use in another year. As indicated by the qualified service period,
                                       the amount of sick time changes on the service anniversary.

       Transferring between            A staff member transferring from a nonexempt position to an exempt position
       nonexempt and exempt status     receives the sick time allocation for exempt staff based on the qualified service
                                       period.

                                       An employee transferring from an exempt position to a nonexempt position receives
                                       the sick time accrual based on the accrual for the person's qualified years of service
                                       less the number of sick days taken in those years.

       Sick time and Workers'          Absence due to an injury on the job or occupational disease is not charged to sick
       Compensation                    time but rather is paid as Workers' Compensation.




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        26                                                                                                    Paid Time Bcnefi




         Use of paid sick time       Evidence. A supervisor may require satisfactory evidence for any claim for paid
                                     sick time. An employee who n.::pni,s thm his or her doctor has ad\ised no, working
                                     may be required to provide a swtcn1cn! f'rp,n th,: carcg.ivc'.r to rec,:ivc:  slck 1irnc,
                                                                                              is disabled and unable' ro v,1ork
                                     \Vithout cndangcnng hi~; or her hcahh or the h~alth of others ir: the \vorkpiac~. Upon
                                     returning to work aflcr an absence        or
                                                                               l 5 or more working days, (he employee is
                                     required to submit a physician's statement aboul ability to return. A department may
                                     require such a statement after a shorter period nf absence.

                                     Physician visit. Visits lo ccnil!cd ciregivcrs for treatment or checkups qualify for
                                     use of sick time. This use of paid sick time must be scheduled at a time least
                                     disruptive to department operations and requires supervisory approval.
                                     Documentation may be required.

                                     No advance. Paid sick time is not available m advance of accrual.

                                     Portability. Transfer from one position or department to another docs not affect an
                                     employee's sick time accumulation.

                                     Available if disabled from work. An employee who must cease v,·ork because of
                                     illness or disability qualil1es for payme111 or aecrucd sick iimc prior to termination or
                                     leave of absence from employment. The scheduling                    or
                                                                                                        this bencfil may be
                                     coordinated with bcm:!its provided by the University's short term and long tcm1
                                     disability plans.

                                     Abuse. Sick time abuse is a basis    1101 only for disapproval of sick time pay but a!so
                                     for corrective action. up lo and rncluding termination       or
                                                                                                empioymcnl.

                                     Retirement bonus. ;\ nonexempt :.:mplnycc who retires from the University at age
                                     60 or older is paid a bonus equal tu 25 r.H.::rccn: of the, v:.1iu . .~ Gf accun1u!alcd sick tlmc,
                                     lo a maximum of$3,000.

         S11pph::mental disahility   Disability insurnnce is available in addition tn !he paid sick time benefit. Stuff
         1nsurancc                   mcmberi; with short service with the University may find ihc Shon Term Disability
                                     Plan insurance to be valuahic protection of income in c1scs \Vherc they have not
                                     accrued very n1uch .s1<.:k lin1c. Details Dn the Shon ·rcrrn I)isabi llty can be accessed
                                     al ht1p:iliPw1r.11ortlrn•eslern.edullir!he1w/its/.


                                     Long Term Disability insurance is rccornmi:ndcd for ali. Costs and benefits for this
                                     plan arc found at hUp:ilwww.nor!hH•csfern.edu/hr/henefits/.




                                                                                                       Trahanas-NU001349
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        Paid Time Benefits                                                                                              27




         Sick time for pregnancy    Pregnancy. Earned sick time is applicable to disabilities due to pregnancy that
         and maternity              prevent the employee from working scheduled hours.

                                    When a pregnant employee leaves her job while still able to work, either pemianently
                                    or on an authorized leave of absence, she docs not receive paid sick time, because the
                                    absence is not due to disability .

                                    .Maternity. For time off work during the disability following delivery, up to six
                                    weeks of accrued paid sick time may be used. A participant in the Short Tcm1
                                    Disability plan may also apply for benefits from that plan.

                                    Additional time off for maternity. An employee may seek up to an additional six
                                    weeks of leave for child care, whether the additional time is needed for disability or
                                    wanted for family care.
                                    • Paid sick time. If additional accrued paid sick time is requested for disability
                                      beyond the six weeks accrued and made available for maternity, the employee
                                      must provide the department with a caregiver's statement to establish that the
                                      employee is still unable to work because of the disability.
                                    • Vacation and holiday pay. For the additional six-week period, the employee may
                                      be paid by using accrued vacation and personal floating holidays.
                                    • If disability is the reason for extending the maternity leave beyond six weeks and
                                      if the employee has participated in the University's Short Term Disability Plan,
                                      she may apply for benefits to be paid according to that plan.
                                    • When the paid time is exhausted within 12 weeks of the delivery, including time
                                      paid from the accruals of up to six weeks of sick time and accruals of vacation and
                                      personal floating holidays, the paid time may be followed by unpaid leave of
                                      absence.

                                    Holding the job. An employee who has completed 12 continuous months of
                                    employment and has worked at least 1250 hours during those 12 months will have
                                    the job held during the 12 week period of leave.

         Sick time for illness in   Up to five working days in a calendar year may be used from the paid sick time
         the immediate family       allowance to care for a close relative who is ill. For the purpose of this policy, "close
                                    relative" is limited to
                                    • a child (natural, adopted, or foster child; or a stepchild or legal ward) under 18
                                         years of age or, if older, unable to care for himself or herself because of a serious
                                         illness or disability
                                        a parent (natural, foster, or adoptive parent; or a stepparent) or legal guardian of
                                         the employee or employee's spouse
                                    • a spouse or NU-registered domestic partner.

                                    Sec also the provisions for leave for family care on page 31.




-                                                                                                Trahanas-NU001350
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        Flec\1011 time         Employee;:; who arc unable !u vole before 01 alkr regular working hours on Election
                                                                                               during t11c '.vork




                                                           he or she ih..'CcL~ lu '/Uh: d11si11g \VOrking huurs.

        Funcr,ll lime          E1npinvc . .~s rnay receive paid tirnc- off fi·nrn \Vc,rk to ath:nd a funeral or inakc- funeral
                               a11ai1gi:rr1t.~n1s fc11 c /use re lat i vcs

                               Up to thrl..'.c days' ~1bsc1h.::c \Vith pay i;-; a!lo\A/t..:d f{)r death ii~ the ]nuncdi.ate fainily
                               (p0rcnL stcpporcnL spouse or f'Jt .l- rcgis1crcd dorncstic partner, child, stepchild~
                               ,~il:,!ing,   \11"   s:_,~~p~;ibiing).

                               L'.p tD ()nc d<1~/ is ~-dlov,;cd fc r :·i grandparent, gr~:ndchiid, ,:1-:ik1-in .Ja\v. parcnt--1n- h-!\v~
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                               bro1hcr·- ur :..;istcr-in-Ja\.v, (Jr stcp:_;ib!ing-ir1-la\V.

                               \Vith pnor ~upcrvisory approval, additional time for travel or making arrangements,
                               or for the funeral of another n:hilivc such as rm uncle, aunt, nephew, or niece, may be


                              'rhc c~n1pioy::c should provide the supervisor \:/1th 1:1:-:; n-nF;h notice ns possible.
                              Fvickncc ,ii' the death and n.:lationship 111:iy be t\cqnirecL

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        Paid Time Benefit<;                                                                                    29



         Military reserve       The University grants time off for mandatory periods of trammg to eligible
         training               employees who arc members of a military reserve or National Guard unit. Employees
                                who have completed at least six months of University service receive their regular
                                University wages for this period, less the amount of gross pay from federal or state
                                authorities, for training periods of two work weeks or less.




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       30                                                                                                 Unpaid Leave of AbsciK



       Military leave !i.)r active   Eligible employees who enlist or arc inducted into the armed forces of the United
       .:ltriy                       Stales me: entitled 10 military leave of absence by fodcml law .

                                               it..:~i\'C:.: COi ,~j ri!.iL   urn ii any nf flh~
                                          90 days aHc, dah:: of discharge: or nJcas~ frorn aclivc iHiliia1y ~crv·icc
                                          3 l days atkr date or release from six months of aclive duty training
                                          90 days after release from hospitalization, provided this docs not extend more
                                          than a year beyond the date of discharge

                                     Paid time accruals. On starting miiitmy leave for aclivc duty. the empioycc may
                                     hav..: vacation and personal floating holiday accruals paid by check. Sick time
                                     accruals arc not paid, but 1he balance of lhe accrual al the time of starting the leave
                                     n;mains availabk at the lime the individual returns to employment v,:i,h the
                                     Univer;jity.

                                     Employee requests leave. 1l1e employee's wrillcn request for a military lcaw of
                                     absence should be submitted to the cmpioyec's department head who forwards il to
                                     the appropriate administrator in the Department of Hunmn Resources. Evidence of
                                     the induction or enlistment date should be at!.achcd.

                                     ;\ ffcct on benefit plans. The various benefit plans for an cmploy,:c grnnt,;d :,
                                     military leave       or
                                                       absence arc affected. For more information, con1;:ict 1hc Benefits
                                     DiYision or the Depaitmcnt of Human Resources.

                                     Return from military leave. An cmpioycl'. rl'.luming from miiitary kavc
                                     reinstated to his or her frirmer or a comparable position unless such reinstatement is
                                     impossible or unreasonable ror the University. University c;crvicc comimics to
                                     ?('Cnw In Jfv· rn:·cilt 0r !ht": indivi!hm! dnrinr, 1hc- period of lc:ivt.' fnr :c:(·11v:: 1Y:i)~L1rv
                                     dutv.
                                                                         --------~--------.---------




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        Unpaid Leave of Absence                                                                                          31




        Leave of absence             For employees with at least one year of service, the University grants unpaid leaves
                                     of absence for family needs such as adoption or foster care of a child, or care of a
                                     spouse, child, or parent with a serious health condition, and grants medical leave for
                                     a personal serious health condition. The University may also grant leaves for
                                     personal development, research, or travel. Leave is provided after layoff following
                                     the discontinuation of a job.

        Kinds oflcave                Paid leave is available for absence due to sickness or injury and for military duty, as
                                     described sta11ing on page 25.

                                     Unpaid leave of absence is granted for
                                     • personal medical care, for an employee's serious health condition;
                                     • maternity, which is a form of family care leave;
                                     • family care, for adoption, or to care for a serious health condition of a spouse,
                                         parent, or child; and
                                     • personal development.

       Provisions for each kind of   Leaves of absence of each kind have provisions with respect to each of the following:
       leave                         • availability
                                     • duration
                                     • holding the position
                                     • benefits available during the leave
                                     • certification and approvals

                                     General descriptions of the provisions follow. Detailed provisions governing these
                                     leaves and an application form are found in the leave of absence booklet, available on
                                     line at http://www.northwestern.edu/hrlformsllOABuok2002.pd/ and at the
                                     Department of Human Resources

       Availability ofleaves of      Personal medical care or family care. A leave of absence is available to an
       absence                       employee for care of a personal serious health condition or for family care if the
                                     employee has completed 12 continuous months of employment and has worked at
                                     least 1250 hours during those 12 months.

                                     Personal leave. A leave of absence for personal reasons, such as personal
                                     development related to Northwestern work or career, for travel, or for research, is
                                     available to employees who have completed at least 12 continuous months of
                                     University employment.

                                     Unpaid leave of absence may be granted after accrued paid time benefits are
                                     exhausted. If departmental operations pennit, a personal leave of absence may be
                                     granted for sutlicient reason to eligible employees who wish to continue University
                                     employment but find that they need more time away from work than is available in
                                     their accrued vacation and personal floating holidays.




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        ;2                                                                                             Unpaid Leave of Ahscm




        Duration of leaves of absence   Leave f(ff personal health or family care. An absence of up to 12 weeks is
                                        a\'ailablc during which the cmp!oyct,·!; job or ;in cquiv,ikn: job j,, held fi:,r th,.:
                                        employee and bcnclits can lx, ,·ontinucd. P;:nd ri»K 10:·         hc~aith f,x
                                        care is used      10 unpaid ti1n~~- 1:1 ihis ord~:r:
                                        ½   available. paid f:ick flrnc or paid ha-nHy :;ick t!rnc~
                                        • aeeruccl vacation and personal floating holiday time. anJ
                                        • unpaid leave.

                                        An unpaid medical absence extending beyond r,vo weeks requires that a medical
                                        icave of absence be approved prior to the absence or as soon as possible during the
                                        absence if the employee is to retain ernploymen! slalus with the University.

                                        End of leave. A leave of absence ends on return to ilclive employment, whether at
                                        Northwestern or any other employer. The stalT member ,vho docs not report to work
                                        at the expiration   or  a leave or docs not request an extension of the leave at least two
                                        weeks before thl.'. l.'.xpirntion indicates to the University ,hat he or she is abandoning
                                        the job.

       Holding positions during         Personal medical care and family care. Leave for personal medical care or for care
       icavcs   or absence              of a parem, spouse. son, daughter, or NU-registered domestic partner-· nnd including
                                        leave for childbirth    provides for holding the employee's position or a similar
                                        position for I 2 weeks from the start oi' the s,~rious health condition. This 12-wcek
                                        period includes any paid time taken since the onset of the condition, such as holiday
                                        time, vacation, and paid sick time.

                                        During leaves for the care        or
                                                                         farniiy members othc1· than those listed above. the
                                        position can be hc!d for the employee if departmental Pperations permit.

                                        Similar position. l r deparlmentai opcrmions require, ,l different position equivaicni
                                        in pay and benefits and v;,1ith sin1iinr rc~ponsib!lities n1.~1y be- bc}d by lhc depurt1ncnt
                                        for the employee to assume on return from the leave.

                                        Intermittent and reduced sclicdulc leave. if an 111tcrn1ittcnt or reduced schedule
                                        !cave is granted for family e>r personal mcJica! care. the cmployL:c may be required to
                                        transfer to another, perhaps dissimilar. position in 1he department with equivalent pay
                                        and benefits.

                                        Leave at large. A leave is considerd at l;1rge when the position can nor be hc!d for a
                                        personal leave or after the 12 weeks of holding the _job during a medical leave.
                                        (Family care leave is not extended beyond !2 weeks, but medical leave for an
                                        employee's own serious health condition is available: beyond 12 weeks.) A leave at
                                        large provides no guarantee that the employee will obtain other Northwestern
                                        University employment.




                                                                                                        Trahanas-NU001355
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        Unpaid Leave of Absence                                                                                                33



        Benefits during leave of         Service accrual preserved. A leave of absence enables an employee to return to
        absence                          active employment at the end of the leave without loss of service credit accrued at the
                                         time the leave began.

                                         Paid time benefits accruals. Employees do not accrue vacation, personal floating
                                         holidays, paid sick time, or holiday time while on an unpaid leave of absence; nor do
                                         they accrue service credit during the leave, unless on active duty military leave.

                                         Insurance benefits availability. During leave of any length for personal medical
                                         care, the employee pays only the employee share of health plan premiums. Leave for
                                         family care permits the employee to continue insured benefits for up to 12 weeks,
                                         with the University paying the employer share and the employee paying the
                                         employee share. During a leave of absence for other reasons, and for nonmedical
                                         leave beyond 12 weeks, the employee may continue insured benefits by paying the
                                         entire premium, as usually paid by both the employer and the employee.

                                         Long term disability. For participants in the Long Term Disability plan, benefits
                                         may be available after six months of medical disability. For eligibility requirements,
                                         call the Benefits Division of the Department of Human Resources. The employee
                                         may also qualify for Social Security disability benefit<:.

        Certification and approval for   Written request. The employee's written request specifying the reason for the leave
        leaves of absence.               and the start and ending dates must be submitted to the department manager at least
                                         two weeks before the leave starts, except in emergency.

                                         Provider certification. For a medical or family medical care leave, a written
                                         statement from the health care provider is required. The certification form is available
                                         in the Leave of Absence booklet available from the Department of Human Resources
                                         or on-line at the address above.

                                         Approval of leave. An absence of more than two weeks for medical for family care,
                                         or for other personal reasons, requires a leave of absence approved by the
                                         Department of Human Resources if the employee is to retain employment status.

                                         Return to work. To be restored to active employment after a medical leave of 15 or
                                         more work days, the employee is required to submit a medical certification of ability
                                         to return to work.




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        34                                                                                                             Bene Ii




        Benefit plans                  Northwestern University provides the following benefits lo eligible employees:
                                         group lcrm !i !(; insurnncc
                                         f'fHiuna! tcnn IdC' i1~sun1ncc

                                          denial t'~1n.' pian'.>
                                          flexible spending account (FSA)
                                          short term disability plan
                                          long-tc1111 disability (LTD) plan
                                          accidental death and dismemberment (AD&D) plan
                                          cducat1onal assistance plan for cmpioycc undergraduate an<l graduate study at
                                           Northwcslcrn University
                                          portable tuition plan
                                          retirement plan
                                          travel accident plan

                                       No individual mny be covered mon; than once :;imullancousiy under any University
                                       sponsnn:d crnp!oycc bcncfit plans.
                                       -------------·-··--· --------------------~------------
        Plan descriptions              A companion to this handbook contains the summary plan descriptions for each of
                                       th:.: University's benefit plans. The plan dcscriptitms arc also available on line at
                                       hup :/,\tiH'I·\ '. nortInt ·e,. .;tern. edulhr/ben(iits/.
                                        - - - - - - - - - .. --·-··. ·-
        Faculty and Staff Assistance   The University offers to its faculty and staff a wst-frce, contiJcnlial, voluntary
        Prog1·an1                      counseling service tor help in hamliing issues of personal iill: such as problems ,. ··
                                       relationships wilh others. loss of a loved one. alcohol or drug use. stress from work
                                       from emotional pressure, financial or legal issues. or other personal problems. The
                                       service is provided for the faculty and staff and for members of their families or
                                       honschoitk

                                       Perspectives. lnc .. provides !be service a:; a contractor h) the University. but
                                       Pcrspcelivcs works separately from the University and shares nu files or individual
                                       names with the University. The w:e of their service is a matter between ihc faculty
                                       or staff member and Perspectives. and is not reported to the University except as
                                       sunm1arized in statis1.ieal reports.

                                       Perspectives, fnc .. i:; staffed by licensed clinical .,ocial workers ;:nu nas aOJ!iatcd
                                       prokssionals at the doctoral level or equivalent in psychologicr.11. lcgai. financial. and
                                       othcr areas. Perspectives has a number of otTiccs in the Chicago metropolitan area,
                                       «nd appointments can be an-angcd at the convenience of the faculty or staff membeL
                                       whether near home or near either campus. To make an inquiry or arrange an
                                       appointment. call Perspectives at 800-456-6127. Crnmsclor<: arc available 24 hours a
                                       day.




                                                                                                    Trahanas-NU001357
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         Payroll                                                                                                            35




         Direct deposit                 Direct deposit is the usual method of wage payment to employees paid through
                                        Northwestern 's payroll system. Jt guarantees that wages will lx deposited in the
                                        employee's bank account on payday, even if the employee is absent or on vacation.
                                        Each payday the employee receives a direct deposit verification. similar to a pay
                                        stub. confim1ing the amount paid, deductions, and the amount deposited.

                                        Some local banks offer free checking accounts to Northwestern employees who have
                                        direct deposit. For bank information and direct deposit applications, contact the
                                        Payroll Division of the Department of Human Resources.

                                        Employees can sign up for Direct Deposit by using the HR!S Self-Service feature at
                                        http://nuhr.northwestern.edu/

        Personnel records               The Department of Human Resources maintains a personal file for every employee.
                                        The file includes the record of transactions relating to employment at the U nivcrsity.
                                        The file is confidential, and no infom1ation is provided to persons outside the
                                        University without the employee's consent or legal authorization.

                                        An employee interested in reviewing his or her personal file may request a review in
                                        writing to the Department of Human Resources.

                                        After separation from employment by the University, files arc available for an
                                        employee's review until one year after the separation.

        llomc address, telephone. and   Home address and phone. fmployccs arc required to mamwin their home address
        other required infrmnaticm      ar:d                           the
                                                                  .11orlfnvestern.edu

                                        Other information. A change of name or marital status. or information about a
                                        birth or death in the staff member's immediate family should be reported to Jhc
                                        Payio!l Division. This information is submitted on the Personal Data Fon11, availah!c
                                        f'rnrn the employee's department or from iluman Resources and at
                                        hI!p:11/w11'1F.northwc>stern.edulhr!hrisl

                                        Name changes must be ciccompanicd by a copy of the Social                Card bearing
                                        the same name as the name to be used in the payroil system.

                                        Name and address changes arc reported to the providers of benefits. such as HM Os.
                                        However, it is important to notify the Benefits Division of Human Resmirces of any
                                        change in family circumstances that will affect those who arc covered by or or who
                                        arc beneficiaries of employee insurance plans.




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         Time Reporting                                                                                              37



          Completing the biweekly   Biweekly Employee Time Reports arc distributed to the department every other
          employee time report      week through campus mail. Each nonexempt employee should keep the Biweekly
                                    Employee Time Report form at the workplace and fill it out every day he or she is at
                                    work. After an absence, the time report should be filled out on the first day back at
                                    work.

                                    Members of departments using the Electronic Time Entry System (ETES) instead of
                                    the printed time report will find ETES instructions starting on page 43.

         Time reporting             The employee must account for all time that is to be paid, whether for work or as
                                    paid time benefits, and for all of the position's standard hours during the biweekly
                                    pay period. Time is recorded in hours and tenths of hours (6 minutes). Time that
                                    cannot be divided evenly by 6 minutes should be rounded to the nearest tenth of an
                                    hour. These hours are reported in one of the following classifications.

                                    • Regular. Hours worked under 40 in a week are regular time. The timeshcct code
                                        is REG.
                                    • Overtime. Hours worked beyond 40 in the University's work week are paid at
                                      1½ times the regular hourly rate. The timcshcet code is OTP.
                                    • Paid time off.
                                          Vacation (VAC)
                                          Paid sick time (SCK)
                                          Personal floating holiday (PFH)
                                          Jury duty (JUR)
                                          Funeral leave (FNL)
                                          Other paid time (OPT)
                                          Workers compensation (WCK)
                                    • Unpaid time off.
                                          Excused absence (EXA)
                                          Unexcused absence (UXA)

                                    Reporting in each pay period. A time report must be submitted for each pay
                                    period in order for an hourly-paid employee to continue on the payroll. If an
                                    individual takes a pay period as absent without pay, a report must be made on a
                                    timesheet for the time and submitted with the supervisor's signature of approval.

                                    Dropping below 17½ paid hours per week or below 50 percent paid time in a pay
                                    period jeopardizes continuation of employee benefits. An employee absent and
                                    unpaid for a full biweekly pay period must request and receive approval for a leave
                                    of absence to avoid termination of University employment. Ordinarily, 30 days
                                    notice is needed for planned leaves of absence. See the policy on Leave of
                                    Absence.




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        38                                                                                                      Time Rcporti


                                                               -------··---·-·--· - ~ - - - - - - - - - - - - - - - - -
         Approval required        Alter completing the Biweekly Employee Time Report. the employee should sign ii
                                  and give it lo the supcr\'isor or :-:upc,·vi,c,r·s designcc to sign. /\n employee cannot
                                  sign his or her O\vn Birvcckl~l Fn1pl{;ye:c 'f:1:·,c Report f0r the stlpcrvi.sor even jf
                                  authorizi..~d to sigH other docuin\:nh.

                                  Employees who expect lo be absent v.-·hcn the report mus! be submitted should leave
                                  it with the supervisor, who indicates the absence on the employee signature line.

                                  Falsifying a Biweekly Empioyec Time Report is a serious offense that can lead lo
                                  disciplinary action up to and including discharge.

        Submitting the report     The Biweekly Employee Time Report must be received in the Payroll Division of the
                                  Human Resources department by noon or the Friday before payday. If a holiday
                                  occurs during a pay week, the form must be submitted one day earlier for each
                                  holiday. A schedule  or payroll deadlines is published to all departments. Missing a
                                  deadline for submitting the Riwcekly Employee Time Report means not being paid
                                  the following Friday. Employees whose reports arc received afkr noon on lhc cutoff
                                  day but before 5 p.m. on payday can receive their paychecks on the Wednesday
                                  following the regular payday in the employing department without direct deposit.

                                  Supervisors should note that the signed Biweekly Empioycl.: Time Report must be
                                  dciivercd directly to Human Rcsoun.:cs: ii is not to bt.: returned to the employee.

                                  On the Evanston campus. the Biweekly Empioycc Time Report should be taken
                                  l luman Resources, 720 University Place. ground floor. or placed in a Jrop box al:
                                  • the cast entrance to the l !uman Resources building
                                  • the administration office    or  the Kd!ogg (iraduatc School                or
                                                                                                          Mnnagcrnent,
                                      l _evcronc Hall 2-fl03
                                  • the mail room o!'the Schooi of l~dueation, /\nnrnberg l iaii                                      .
                                  • the mail room of the Robert R. iVlcCorrnick School of' Engineering and Applied                    ft
                                     Science

                                  On the Chicago campus, the forms may he delivered to the Chicago llurnan
                                  Resources office, Abbott Hall. Room l 50.
                                                                                                                                      l;
                                  Use of the pink or green lrnnsrnitwl envelopes a·-iaibblc ai ,he l iuman Resources
                                  Department offices on both campuses helps give priori,~y to processing this mail.                   i
        Reporting regular tin1c
                                                                          --·----·-·--·--·------
                                  The i3iweckly Employee Time Report must report ever; hour worked. Employees
                                                                                                                                      I
                                  should fill in daily the number of hours worked for that given day. All hours
                                  worked up to 40 hours in the University V-iork week arc recorded as regular pay
                                  (REG).

                                  EXAMPLE: An employee is scheduled for 37.5 hours in a work week but works
                                  38.5. flours 'ihouid be rcponcd as fr,llov.;s_

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        Time Reporting                                                                                           39



        Reporting overtime    Time worked beyond 40 hours in a work week is overtime. An employee may work
                              extra hours only with the supervisor's approval. The University work week begins at
                              the start of Sunday and ends at the end of the following Saturday.

                              Time worked for a University department other than one's own department 1s
                              included in determining overtime.

                              For work beyond 40 hours in a work week. the hours beyond 40 should be recorded
                              as overtime, coded OTP.

                              Only hours worked and University Scheduled Holiday hours are used in
                              computing the hours to start overtime. Sick time, vacation and personal floating
                              holiday time, paid Workers' Compensation (WCK), and other paid time not
                              worked, are not included in the accumulation of hours to qualify for overtime.

                              EXAMPLE: An employee works 9 hours on each of Monday, Tuesday and
                              Wednesday, and on Thursday takes 8 hours of vacation time. After Thursday, the
                              employee would have to work another 13 hours before receiving premium
                              overtime. The time worked for that week would be recorded as follows:

                                Sun      Mon      Tues      Wed      Thur      Fri      Sat      Type      Total
                                          9         9        9                  5        8       REG        40
                                                                      8                          VAC        8
                                                                                         3       OTP        3


                              In this example, Saturday is the employee's scheduled day off, but the first eight
                              hours worked are regular work hours because there were only 32 hours worked
                              before Saturday. Thus the last three hours of the 11 hours worked on Saturday arc
                              premium overtime because at the end of eight hours on Saturday, the employee had
                              worked 40 hours for the week.

                              Because the scheduling policy allows adjusting an employee's weekly schedule,
                              the same employee with the approval of the supervisor might elect to change the
                              schedule for that work week, working Monday, Tuesday, Wednesday, Friday and
                              Saturday, and not using a vacation day on Thursday. The employee would report
                              the hours for that week as follows:

                               Sun      Mon       Tues     Wed      Thur       Fri      Sat      Type     Total
                                          9        9         9                  5        8       REG       40
                                                                                                 VAC
                                                                                         3       OTP        3

                              In this schedule, the work days arc changed without the use of the vacation day on
                              Thursday.




                                                                                         Trahanas-NU001362
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        Rcp(>rting holidays     l iouri:,-jiaid L'mpl,,yccs arc paid one tenth of their biweekly standard hvurs for




                                EXAMPLE: An employee's biweekly schedule is 80 hours. The employee works
                                S hours on cJch l_-if'Tucsday_ t,J1/cdncsday, and Thursday in the first \:vcck, for a tot~d
                                uf 24 rcgu i~n hours. Monday of the folJo\v1ng \vcck Is the holiday and ihc
                                            ,2;-1rns t~ h(,urs fJf huliday p~1y, The cn1plo)'Ct is required \.•~ be 1n paid
                                status fur l 6 1norc hour.s ln ihL: pny r,cnod to earn the g hours of hoi iday tin1c.

                                :,u   I Mu ·•T;,··r 'w: I Th           Fri      <,.:        '.;u   ~~~!-0. . . . _T_u__~_-.:1_:_,_·_r_h-+-_l·_-·r_,._<_·1------<·-r_-T___o_-,--.....-·-

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                                !n thl: case t-10ovc-~ the· crnploycc~ has pa:;d tin1c f(-ir Hl least 5CV1/u or the pay period.,
                                v.,hi:...'..lt ~dlo\v:; paynh;nt or the scheduled holiday p;-ly: even i•hough the ind1v:dual
                                had excused ;ibscncc (FXl-.~) Ior 32 hours during the pcrind.

       i{cpor!ing s!ck 1in1c    :,..;i,:t :im,: !'.', r>:Dt>!l,'d 1,,r ali nf the work hour:, ll1isscd due 1n ~icknc·,s. F
                                               1l' a       inisscd due lo sickn~~:s~ is scheduled fnr five hours •Jf work. fiv,._




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          Time Reporting                                                                                                       41




          Reporting holiday work    When working on a University scheduled holiday, the employee should report the
                                    number of hours worked for the holiday as regular hours worked (RFG) and hair
                                    of the hours worked as straight overtime (OTS ). l C the hoi1day time is to be
                                    rescheduled to a later tirnc. note in the comment section. "'Holiday lo be scheduled
                                    at a later date."

                                    Su   Mo    Tu   We    Th    Fri   Sa   Su   Mo    Tu   We    Th    Fr       s            Tot


                                                8    8     8    8                X    g     X     8    8            REG       80

                                                                                 4                                  OTS        4


                                    If the supervisor and the employee arc not able to schedule the hours off and payment
                                    is to be made for the holiday, then one-tenth of the employee's biweekly scheduled
                                    hours are entered as holiday time, I I0L. The employee will be paid the premium rate
                                    at I ;1, times the regular hourly rate for the hours worked on the holiday and will he
                                    paid the regular rate for the holiday. Record on the time report the premium time as
                                    OTP and the holiday time as H0L.

                                    Su   Mn    Tu   We    Th    Fri   Sa   Su   Mo    Tu   \Ve   Th    Fr       s            Tot


                                                8    8     8     8                    8     X     8    8            REG       72

                                                                                 8                                  flOL       ~


                                                                                 X                              _,_LOTP        x


                   unpaid absence   Ail of the hiwcek!y position· s sLmdard hours rnust            accounted for on the
                                    Biweekly Employee Time Report. If the regular hours and other paid hours do not
                                    total to           standard hour:-:, th~ Payroll f)iv1ston ,vdl ~-t.">Stunc~ that the
                                    unreported hours arc unexcused ahscncc-s and record ihi.::rn as l.JXA_

                                                                                                       Fr       S             Tol


                                                X          X                                                        RI,Ci     40
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                                    Employees cannot be unpaid for a l'uil pay p,:riod without being on an approved
                                    leave of absence.

          Reporting tardmess        An employee late in arriving for work or in returning from lunch must report the
                                    tardiness as unexcused absence         The time is rounded to the nearest tenth of
                                    an hour. A shorter lunch period or extcndmg ,he end of the work day docs nm
                                    make up for tardiness.




                                                                                            Trahanas-NU001364
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       C'orrcct1ng errors or: ihc   To correct an ,~rror on the Biv,cckiy Fmplnycc Time R,,port, an cmplovcc must
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                                    ~:cc-ur:1tcly ;•1ccoun1 fc~r all :--Yhcdu;i_---:j ::;,c; (~·,:: ..


                                    " the reason for the correction ar~dcr ··cxp1anaiion~-




                                    \Vhcn tur1c reported on the Biv-,;ct:kiy             'Tln1c f<cporf ciei~s noi conforrn tc
                                    University policy, or the paid time of/ entered i:, mure ,h,m 1h21 e,mFs'O, !he 1ime 1.vi!I
                                    be trcat:...:d as absent without pay. cudcd as l fX/\. /\_ rot7'ectcd rcnort rnusi be
                                    suhrr1ittcd to change the unpaid t}rnc t0 an appropriate paid 1in1c ccuegory.

                                    l'fa corrected n:port is rcccivc,d hy 5:00 P1Vl ()frhc payday, 2 payn1cnt correction can
                                    be paid the folh)\ving \Vednc~day. }fa corrcc1cd rept1rl is noL in by 5:00 PIV! of the
                                    payday, the adjuslmcnt ,viii bl' m;1d,_; in ihc next regular p:.iychcd,, C'ortccreJ rcpcirt:,
                                    must be delivered to !he Payroll Division of Human Resources, 720 University Place,
                                    I:vanston,

                                    \Vhcn th:.: paycheck 01 notice or deposit i~ jcJJ--;~~n:(i. tbl- LTnployec should compare
                                    the hours shov.In with tho:::;c n:po,-ted on 1hc Bivveekiy Ln1ploycc 'rln1c l(eport. If
                                    they arc not the same, the crnplnycc shmi!d notify ,he Pay•·o!I Division of Human
                                    Resources at 647 -467-7606.




                                                                                                                         Trahanas-NU001365
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          Time Reporting                                                                                                     43




           Using the Electronic Time     ETES is an on-line computer system that allows biweekly regular, temporary, and
           Entiy System (ETES)           work study employees to enter hours worked using a personal computer at the
                                         work station. ll replaces paper timcshccts. Employees complete their electronic
                                         time reports and have them approved by 5:00 p.m. on the second Friday of the pay
                                         period. An employee who works during the weekend may enter those hours
                                         worked on Friday or on the following Monday morning on return to work.

           ETES instructions             Detailed instructions for using ETES arc found in the on-line training al
                                         http:llwww.northwes/ern.edulhr/hrislhris/Jevelopment/eteslchtlindex.htm.

                                         Training manuals may be downloaded from:
                                         http://1-1•w1v.northwes1ern.edu/hJr/hjrs/hjrisldevelopmentletes/etesmanuals.html.

           ETES automatic calculations   ETES will calculate overtime, holiday earnings, tardiness, and grace periods using
                                         rules built into the system for each employee. After each biweekly payroll. leave
                                         accruals arc updated for sick time, vacation, and personal floating holidays and arc
                                         available to each biwcck ly stalT member in ETES.

           Supervisor's authorization    Supervisors of biweekly employees complete an ETES Authorizalion for
                                         Supervisors and attend an ETES training session in order to access ETES. The
                                         Authorization can be found at
                                         h11p:llnorlhwesfern.<'d11/hr/hris/hrisklevclopmenfletesle1esecauth/.pdf

           Approving time in ETES        Supervisors approve time reported in ETES by Monday at 10:00 a.m. following
                                         the close or the biweekly pay period. Email notices arc sent two days prior lo the
                                         approval deadline. reminding supervisors to approve time in ETES.

                                         A second reminder is sent to supervisors whose approvals arc missing by 8:00 a.m.
                                         Monday.

                                         If the supervisor docs not approve the time in ETES by l0:00 a.m .. the staff
                                         member is paid for the time reported, but a paper timcshect signed by the
                                         supervisor is required.

           Access to ETES                ETES is accessed with web browsers, Microsoft lntcmel Explorer or Netscape, by
                                         entering the address https:IIHww-etes.i1cs.northwestern.ed11/etes_prud/.

                                         Both the staff member entering time and the supervisor approving it should use
                                         their own University Net!Ds and passwords to log in. Questions about a NctlD
                                         should be directed to the Help Desk at 847-49 l-4357.

           Elapsed and positive time     The school or department detem1incs whether lo use elapsed time entry or positive
           entry                         pay for the members of the department. With elapsed time entry, the system fills
                                         in the scheduled hours as hours worked. The individual is required lo adjust the
                                         hours as worked or code them as taken for sick pay, vacation, personal floating
                                         holidays, or as other absence. Positive pay entry presents an empty time report and
                                         the individual enters the time worked or paid tor other reasons for each day.




                                                                                                Trahanas-NU001366
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     44                                                                                                   Time Reporting


                                       ---- ------------- -----------------
      Quick steps for entering time      l. Open Microso/l Internet Explorer or Netscape.
      into FTES                          2. Enter address hr11;,\·j!H·11w-etcs)/i·s.northwc.1·tcrn.ed11/erc,~prodl (This is
                                            ca;;icr if1hc addrc;;s is     as a bo0k1m1rk )
                                                  m thing. '-'1ctlD ,,nci
                                         J  Click "'My Time Sheet'·.
                                         5. Enter hours worked for the current pay period.
                                         6. For hours not worked but to be paid, select an appropriate earning code
                                            from the drop down menu and enter the hours in the ''Hours/Arnt" box.
                                         7. Click "Save".
                                           8.     View Summary.
                                           9.     Approve time sheet by clicking on the "Approve" box.
                                           l 0.   Click on "Save".
                                           l l.   Close 1he window.

      Overtime calculations           ETES calculates and pays overtime at 1½ times the regular hourly rate for hours
                                      reported beyond 40 in a work week. Time paid for a scheduled University holiday
                                      is considered as time worked in the week when the holiday falls for the purpose of
                                      calculating overtime for that week.

      Charging overtime to a          Nonexempt staff instrnckd to charge overtime to a spcciai account arc to report
      special account                 time in ETES as follows.
                                          In the "Work Hrs" box, enter the number of scheduled regular hours worked.
                                          In the "Earn Code'' box, select the OTP code from the drop down list.
                                          in the "lfrsiAmt" box, enter the hours of ovc1iimc worked on that day.
                                          ln the "Special Account" box at the far right, enter the special account to
                                          which the overtime hours are to be charged.

      Ib!idays in ETFS
                                      cntl}' system for the days on which the University observes scheduled holidays,
                                      and it inclndcs the earnings code HOL lo identify the hours. The number of
                                      hoiiday hours is calculated as one tenth of the biweekly scheduled work hours.
                                      The calendar of hoiidays is pubiishcd at the Department of Human Resources web
                                      site.
                                           - - - - - - - - - - - - - - - - - - ~ - - - ~ -..
      Work on a hoiiday               Instructions for entering time into ETES for work on a holiday arc found in the
                                      Users Guide fo1· ETES. pages 39-46.

      Unexcused absence               ff an employee is !ate or misses a scheduled work day entirely without prior
                                      approval of the supervisor, the scheduled time to work that was not excused prior
                                      to the absence is entered as Unexcused Absence, with the earnings code UXA.
                                      These hours arc included in the summary of hours reported but they arc not paid.

     Jury duty                        Time served on jury duty is reported as follows.
                                         ln the "Earn Code" box, select the code JUR from the drop dov,-11 menu.
                                         in !be "Hrs/A.rnt'' hox, record the number of regularly scheduled work hours.

                                          - - - - - ·--- ---------·-   -   -             - - - - - - - · - --·---- - -




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          Tm1e Reporting                                                                                                                    4S




           Funeral time                   Time taken to a1tcnd a funcrnl of a family member is indicated as follows.
                                             ln the '"Earn Code" box. select the earnings code FUL.
                                             ln the "'Hrs/Amt" box. cnkr the number of hours taken for ihe i'uneral.
                                             In the "Notes" for thal day, indicate the relationship of the deceased to the
                                             employee. Available time for funerals is described on page 2X.
                                                       ~ - - - - - - - - - - - - ~ - - - - - - -----------------------
           Viewing leave accruals         The current balances of leave acernals can be viewed by clicking on the words
                                          "Accrual Balance" at the bottom of the ETES time cntiy screen.

          Time summary in ETES            The summary of hours recorded for the cuncnt pay period is viewable by clicking
                                          on the "Summary" icon at the bottom ten of the ETES time entry screen. The
                                          summary shows the hours of each type, whether regular, sick. vacation, or holiday:
                                          and it shows overtime hours tha! will be paid for the period.
                                                                  - - - - - ----------------------- - ---~-----------~--------.. -----------~~-
           Employee approval of time      Each nonexempt staff member is notified by email two days prior to the end of the
                                          pay period to complete and approve time entry in ETES. lf the staff member docs
                                          not approve the time, the supervisor can do so without the employee's approval.

          Supervisor approval             Two days prior to the end of the pay period, the supervisor is notified by email to
                                          approve the time entered. The employee wiil be paid without the approval, but a
                                          paper timcshcct wiil be sent to the supervisor to confirm the aprroval.

           Updating addresses             The home address and phone number of biweekly and temporary employees may
                                          he updated in ETES on the "My Profile" page. Temporary employees may also
                                          update their check addresses in the "l'vly Profile" section.

           Errors and \Varn!ng~           Ydlovv and red warning messages mdieatc entries ou1side                     or
                                                                                                         !he Hrnckccping mies
                                          of the system. Red warnings reqmrc J correction \.o cmnpktc the entry. Yd low
                                          warnings indicate a possible error, but may be ignored 1r there is no cno1, known in
                                          ,he entry. The Users Ciuide fr)r ETES describes warn mg and error n,cssagcs.

          <)ucstions regarding F'rES      Further documcnt:iiion on using ETES b available un line al
                                          h I Ip il\1'1-\'W. nor/ h11'esf en1.edu/hr/hrisi}1risidcTelupme11/il'/es/1 ndex.h1 n1 I
                                          Assistance frorn the ETFS help desk is available at 847 -46 7-760(, or by email from
                                          e/eshe/p(r1 1111,rl hwestem. ech1
                                          ---~· -----~-·---'"---
          TransfCrring fron1 bi\vcekl:y   Employees who \rnnsfor from the biweekly to the monthly payro!! ret.a111 their
          position to monthly position    vacation and personal !loating holiday balances. but not their sick leave balance. Sick
                                          kave for monthly employees 1s not accumulated but is ailoeaicd annually.

          Leaving Nortll\veslcrn          To indicate departure from the Northwestern payrolL the departing employee ,hou!d
          cmpioymcnt                      circle the last day worked on the Biweekly Employee Time Report and record the
                                          final date on line marked "Explanation or comment'',

                                          After the employing department lrns notified the Payroll Division that an employee is
                                          leaving the University, a paycheck is issued after the pay pcnod of the last work day
                                          and will include pay for any unused vacation time and personal lloa11ng holidays.
                                          ---·--------·--------~--- ~ - - - - - - - ~ ----- ----------------·~----------




                                                                                                               Trahanas-NU001368
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         4o                                                                                                           Time Repc




          Rccvrdlng p<1id titll~   orr    This tabie shows the codes to use for indicating the hours of a paid absence and the
                                          reason lix the absence in order lo receive pay for these benefits provided by !he
                                          University.
                                                                   -···                -,                 ·-
                                          To be paid the hours "~~. - this                I
                                                               IVJ             See this       And for each day on tho.; report,
                                          benefit ...                          page ...       record the hours to be paid as ...

                                          Vacation                                22          VAC. vacation.
                                                                                                                                         ;
                                          Paid sick time                          26          SCK, sick leave taken

                                          Sick leave for family illness           27          SKF, sick family leave taken
                                          University scheduled holidays           23          HOL, holiday time taken.
                                          Work on holidays                       23           REG, and half the hours worked as
                                          when a substitute day off is                        OTS. When the holiday IS taken,
                                          scheduled within 30 calendar clays                  record the hours as HOL.

                                          Work on holidays when a
                                                                                  23          HOL, holiday time taken, and
                                          substitute day off cannot be                        record the same hours as OTP,
                                          scheduled within 30 calendar days.                  premium overtime.

                                          Personal floating holidays             24           PHI, personal floating holiday.

                                          Funeral leave                          28           FUL, funeral leave, and record the
                                                                                              name   and relationship of
                                                                                              deceased in the Comment line.              I



                                          Election time
                                                           ·----
                                                                                 28           ELE, election time.                        I
                                                                                                                                         f
                                          .hn;t   duty                           28           .llJR., Jury <luty, and anach a copy
                                                                                              of the court summons or the pay
                                                                                              stub from jury duty.
                                         ~--
                                          Military leave, when vacation is       29           MIL, military leave, and \Hite
                                          not used for military duty                          "military leave'' in the comment
                                                                                              !inc. Present your military pay
                                                                                              voucher to the Payroll Office when
                                                                                              you return.

                                          Occupational disabi!ity leave          25           WRK for the first three days of
                                                                                              absence due to a work related
                                                                                              illness   or   injury,  with    an
                                                                                              explanation. Any more lost time is
                                                                                              paid by the insurance carrier. DIS
                                                                                              should be reported for time after the
                                                                                              first three days of absence, while
                                                                                              Workers'         Compensation   benefits
                                                                                              arc paid.

         Questions                       Employees wilh questions abou, recording paid tim..:: off should call the Payroll
                                         Division at 847 467-7606.
                                                                                --------------------




                                                                                                          Trahanas-NU001369
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        Perfonnanec and Conduct                                                                                              47



        Civility, mutual respect, and   As members or the Norlhvicstcrn community, its faculty. staft~ and students me
        violence on campus              expcctcd to deal with each olhc·r with respect and consideration.

        Expected behavior               Each community member is expected to treat other community members with
                                        civility and rcspecL recognizing that di,;agrecmcnt and inlom,cd debate ::tre valued
                                        in an academic communHy.

        Unacceptable behavior           Demeaning, 111timidating, threatening. or v10lcnt behaviors that affect th,: ability to
                                        learn, ,vork, or live in the University environment depart from the standard for
                                        civility and respect. These behaviors have no place in the academic community.

        Violence                        Violence is behavior that causes harm to a person or damage to properly or causes
                                        fear for one's safety or the safety or others. Examples of violent behavior include
                                        physical contact that is harmful and expression of intent to cause physical hann.
                                        Such behavior is unacceptable in the Northwestern community.

        Weapons                         Weapons of any kind arc prohibited on campus except for those carried by sworn
                                        police officers or other ;.iuthorized security officers.
                                                                ----------~-----------
        Responsibility lo act           A member of the community who is involved in or witnesses behavior on campus
                                        that poses imminent danger should immediately contact the University Police.

                                        In situations that Jo not involve imminent danger or for advice on the appropriate
                                        course or action. a member of the community is to notify a supervisor, department
                                        head. or student affairs stall member. Alkrnativc!y, the observer may rcporl the
                                        1nc1dcnt to the Of!icc of the Provost, the            of Human Rc,m.1rccs. or ihl:
                                        Office of the Vice President for St11dcnt Affairs.

        Orders of Protection                         members whn have oht1,incd restraining      01   personal protection orders
                                                       to       a copy ;Jfthc urdc1 to                   Poficc for cnfc,rccn1cn1
                                        on campus.

        Visitors                        \/isiton-., vendor:-:, and !he fan1lhcs oi rncrnbcrs of lhc comrnunity arc c-xpcctc-d 10
                                        comply with the provisions uf this policy            Noncompliant behavior k,tds to
                                        removal from the carnp11.s

        Resources                       Guidance li..n identifying potc111ial thrcutcning or violent behavior and for the best
                                        ways to deal with mcidcnts is found at h11p.·lwww11orthwes/crr1.cdullrr!pol1cics.

        Violation                       ;\ comrnunlly member who has violated this policy is subject to disciplinary action
                                        which may include separation of the offending p:my from the University,
                                        consistent with established disciplinary procedures.




                                                                                                      Trahanas-NU001370
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       48                                                                                   Performance and Conduc



        Performance review         Performance evaluations for regular staff employees arc conducted annually, but they
                                   may be condue1cd a! any time .

                                   .Supervising sraff or        n1c1nbcrs nrc         to provide          tk>;cnpllons,
                                   facilitate !he creation orpcrfonnancc nhjcr1ivM, and monitor performance cir.d
                                   behaviors of each staff member.

                                   Staff members arc expected to understand the position dcscrjption, assist in the
                                   ..:rcation of performance objectives, monitor progress throughout the year, and
                                   meet with the supervising staff or faculty member periodically 1hrough the year.

                               A year-end evaluation should be completed based on a review of the periodic
                               summary information. The results of the year-end evaluation are used to
                               determine the merit increase and facilitate the creation of the following year's
                               pcrfonnance and development objectives. Pe1formance Excellence is the standard
                               program to conduct the performance process, although a supervisor may use an
                               alternative process that fulfills these needs.

       Violations warranting    Some violations of policy and rules are serious enough to result in immediate
       immediate discharge     discharge. These include but arc not limited to
                               • falsification of employee records, time reports. reasons for absence, or other
                                   University records
                               " improper disclosure or use or private or confidential information
                               • unauthorized use of information systems or data
                               • physical violence or the threat of it
                               ., 11agrant insubordination
                               • gross dereliction of duty
                               ~     joh abandonment
                               $     theft
                               e     intentional destruction of University property
                               •     conviction of a felony related to the job
                               •     professional misconduct
                               •     scientific misconduct

       Violations requiring     Less serious violations should be addressed through sleps of correcting performance
       \:orrcction             and generally do not call for immediate dismissal. Thcoc include but are not limited
                               to
                               .. tardiness
                               .. absenteeism
                               " neglect of duty
                               • disruptive behavior
                               • resistance to supervision

                               An employee who is not performing the assigned job as expected is advised of the
                               inadequate performance and counseled on needed improvement. Additional training




                                                                                              Trahanas-NU001371
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          Personal Safeguards                                                                                                 49



          Safety                             Job safety. [n the interest of their own safety and that of others. employees must
                                             read and understand the Employee Safety Handhook. available on line at
                                             http://www.northwestern.cd11/risklhandhook.h1111 or from the Office of Risk
                                             Management (847) 491-56 l 0.

                                             Security of property. To avoid theft, employees should be careful not to leave
                                             personal or University property unattended during absence from their work place, no
                                             matter how short the absence. The University is not responsible for loss of or
                                             damage to an employee's personal property.

                                             Emergency telephones. Public emergency telephones arc available in several
                                             locations on both the Evanston and Chicago campuses. Maps showing their
                                             locations arc available from the University Police offices on hoth campuses and on
                                             line at hllp:llwww.northwestern.edu/11plpreventionlsad.html. These telephones arc
                                             identifiable by their yellow color and. at night, they arc identified by blue lights.
                                             Litling the receiver on one of these telephones immediately connects the caller with
                                             University Police.

          Injury or illness related to the   In accordance with Illinois statute, the University provides workers' compensation
          joh                                benefits to employees who sustain job-related injuries or diseases. The Office of
                                             Risk Management administers the workers' compensation program and publishes
                                             brochures that describe in detail the University's policies and procedures. These
                                             brochures (one for the Evanston Campus, one tor the Chicago campus) arc available
                                             on line at http://www.11orthwestern.edu/risklclaims.h1m.

                                             Employees must promptly report such injuries or diseases to the claims manager and
                                             their supervisor.

                                             • For life threatening emergencies, call 911.
                                             • For the E~'anston Campus during business hours, the primary care facility is
                                               Occupational Medicine Evanston/Glcnbrook Associates (OMEGA), l000 Central
                                               Street, Suite 840, Evanston. Illinois, (847) 570-2620. or 2050 Pfingston Road.
                                               Suite 280, Glenview, lllinois. (847) 657-1700.
                                             • For the Chicago Campus during business hours, the primary care facility is the
                                               Northwestern Memorial Corporate Health, Gaiter Pavilion, 201 East Huron
                                               Street, 9th floor - Suite #240. Chicago. IL. (312) 926-8282.
                                             • During non-business hours, the hospital emergency rooms arc used at Evanston
                                               and Northwestern Memorial Hospitals.




                                                                                                     Trahanas-NU001372
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         50                                                                                          Pcrsonal Safegu,


                                    ---·-----------------------------
         Jndcnmification            The University protects each employee against legal liability or legal expenses
                                    incurred in connection with the performance of his or hcriob as long a~ the cmploycz:
                                    has performed the job in line with assigned duties, has acted in good faith in the
                                    pt;rfOnnancc: or the job, and has not vioiati.~d any hnv or
                                    --- -·--·----   ------
         Personal visitors in the   Individuals who make extended visits io the workplace but who do not have official
         workplace                  business with the University distract employees and follow workers from their
                                    responsibilities and may put visiting children at risk. Accordingly, visits by friends,
                                    children, or other relatives at the employee's work site arc to be limited to casual
                                    visits of short duration.

                                    The responsibility for the safety of children and other persona! visitors to the
                                    University lies with the University employee they are visiting.

                                    Buildings should be considered potentially hazardous, particularly for children, and
                                    as such are not appropriate as child care sites. The University has no liability for
                                    children's or other visitors' safety and docs nol provide resources in office or
                                    laboratory areas for their care or hospitality.




                                                                                              Trahanas-NU001373
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          Personal Sa fcguards                                                                                           5l


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           University policy on sexual   lt is the policy of No11hwcstcrn University that no male or female member      or the
           harassment                    Northwestern community         students. foculty. admin1strntors. nr sta!T - may
                                         sexually harass any other member of the community. Sexual advances. requests
                                         for sexual favors, and other verbal or physical conduct of a sexual nature constitute
                                         harassment when:
                                             submission to such conduct is made or threatened to be made. either explicitly
                                             or implicitly. a term or condition of an individual's employment or education;
                                             or
                                             submission to or rejection of such conduct is used or thrcatcn..:d to be used as
                                             the basis for academic or crnploym..:nt decisions affecting that individual; or
                                             such conduct has the purpose or effect of substantially interfering with an
                                             individual's academic or professional performance or creating ,vhat a
                                             reasonable person would sense as an intimidating, hostile, or offensive
                                             employment, educational, or living environment.

           Exumplcs                      Examples of sexual harassment include:
                                            Pressure for a dating, romantic, or intimate relationship
                                            Unwelcome touching, palling, or hugging
                                            Pressure for or forced sexual activity
                                            Unnecessary and unwelcome references to various parts of the body
                                            Belittling remarks about a person's gender or sexual orientation
                                            Inappropriate sexual innuendoes or humor
                                            Obscene gestures
                                            Offensive sexual graffitL pictures, or posters
                                            E.-mail and Internet use that violates this po!icv

           lnvesti2:a1ion and            All reports dcscribmg conduct ihat is inconsistent v-nth these policic'., will be
           confidcntiall:v               promptly and thoroughly mvcstigatcd.       Crnnplaints about v1olat1ons ot' these
                                         policies will be handkd confidentially, with facts made availab!c only to those
                                         who need to know in order \0 invcsl!gatc and resolve the matter.

           f.Zctaii~1ilon                The Un:vcrs1ty prohibits rctair:.i1ion ag:unst anyunc for rcgist<:ring a eo111plaint
                                         pursuant tn these policies. assisting another in making a complaint, or participating
                                         in an investigation under the policies. Anyone cxpencncing any conduct that he or
                                         she believes to he retaliatory should immediately report 11 to one or the individuals
                                         listed under "Where to go for help,"' below

           Rcsolu1ion                    lf a complaint of discrimrnation. harassment, or sexual harassment is found to be
                                         substantiated, appropriate corrective action wil! follow. up to and ulCiuding
                                         separation of the offending party from the Urnversity. consistent with Urnversity
                                         proccdu1c.

           Academic freedom              Northwestern University is committed to the principles of frc,~ inquiry and free
                                         expression       lo providing an cnvirnnmcnt that encourages the ,.::xploration and
                                         exchange of ideas. The University's discnminat1on and harassment policies arc
                                         not intended to stifle this freedom, nor will they be permitted LO do so. Prohibited
                                         discri111ina1 iun and harnssmcnt_ ho,vcvcr. arc neither legally protected expression
                                         nor the proper exercise of academic freedom: and such conduct is incompatible
                                         with the values of University.




                                                                                                Trahanas~NU001374
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         I{c..::;pnnsibiliti~s     ui1dc£     1-tn:::-;   A;l members of tiie Urnvcrslly community arc n:sponsiblc frn creating a working.
         pol JC\'




                                                              ,his p<,lic,
                                                              You believe you have been rctalialcd against in vwlarion ofihis policy
                                                              You hold a supervisory. management or lc:iching position, and have b,:c:;, tcid
                                                              abt)Ut ()t 1.viinc:-:,scd cnnduct 1ha1 you ihi11k 1nay \ iolatc this pQiicv.

         \ 1r:.:n<~crs,   co:ntro,,:1or;:; and            T'hc Univctsit::/.s policies 0n discrirnination and harassrncnL including ~exnai
        lhird parties                                     harassn1cnty apply to tlic conJucl of 1,,cndors~ contractors and third parties. Jf a
                                                          1nc.rnbcr of the lJnivc:r3ity cornrnonity bclie·.;cs that he: er shL: bas Deen subjcctcU to
                                                          conduct fh~H violates this puiicy by ~ \icndor contractor or third party~ he or she
                                                          shouid contact one of the individuab listed under .,·,\A/here 10 Cict _t\..dvlcc a1;d
                                                          Help.~•. T'hc Lnivcrsity Yvil! respond as appropri,11..:, gn,.cn the n~1tt1r(· oC its
                                                          rc.lat;onshlp to th;.:: vendor, con1rac1or ur lhird party.

        if you arc discriminated                              Don't blame yourself.
        age inst or hctn_!sscd.                               Say no.
                                                              R.cn1cmbcr th,1t ht.!rassn11~:_n: , l dl~~~~ri :-:1i;•1~:tiG1:..
                                                              arc agalns1 lJnivcrsity policy ar:d niay be agninst the iaw.
                                                              l(nov;.: your i:igbts under LJniversity policy.




                                                                                                                                                                                 •·y\_Jf_;:.,

                                                              education., at1d sc!f·•~ :tecc_i
                                                              1~:;":.rrnin:: I":o~.•/ utht:t:~
                                                                                                                                           students
                                                             ethic joke:~~               'jricnrcd :·(J'.r:rnc,
                                                             religion, or hclng touched (:r •::c:-(;t.! ;:u.
                                                                                                                                                            .~·•;11·'tS~.1~c:.
                                                             l)o not 1..Lc.;sun1c 1ha1 c,thc;s ·1.,i:J 12li ·•in,_1   1h{~V   an~ c,ffcnd,:.:-:r:i   {)!'                         ~




        1Cyou ~hink you rnay             fEl"'-..'\~         Apologu:c as soon as possible.
        nff~ndcd ur harassi...:::d                           Change your behavior.
        ::1on1cone .                                         Read the policies on discrm;ination. harassment and sexual harassment
                                                             Get advice rrom one of the rcsmircc peopic lis1cd in "1Nhcrc lo Go for Hc!p.n




                                                                                                                                           Trahanas-NU001375
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         Pcrsonai Safeguards                                                                                        53



          Where lo go for help      People arc available to help you The following individuals will take comrlnin!s of
                                    sexual harassment explain complaint procedures. ans,vcr questions. and ensure
                                    that appropriate action is taken.

                                    Director of the University Sexual Harassment Prevention O fficc
                                    405 Church Street, Suite 20 I
                                    Evanston Campus
                                    (847) 491-3745

                                    Associate Vice President for Student Affr1irs (student-to-student complaints)
                                    ScoH 1-:lall, Room 36
                                    601 University Place
                                    Evanston Campus
                                    (847) 491-8430

                                    Associate Vice President for I [uman Resources
                                    720 University Place
                                    Evanston Campus
                                    (847) 491-7505

                                    Director of Equal Employment Opportunity, Afilnnativc Action, and Labor
                                    Relations
                                    720 University Place
                                    Evanston Campus
                                    (847) 491-7458

                                    Office of the Provost Rchcc:ca Cwwn Center
                                    633 Clark Strccl
                                    Evanston Campus
                                    (847} 491-7040
                                    nu-provost(_a)nonhwcslc'.n1.edu

          Discrimination and        ln addition to these resources. each sLhool o.- unit of the        bas advjsors on
          harassment prevention     the focully and slaff who have been trained to receive a coinplaint and to answer
          advisers                  qucsl!ons about these policies.

          Confidential counselors   lf you wish to speak with someone whn is legally privileged io keep
                                    communications confidential, you may contact a confidential counselor. In order
                                    for the '"confidential counselor"          lo       to a particular discussion, the
                                    discussion nrnst be conducted confidentially and the cornrlainanl must have
                                    initiated the discussion for the purpose of seeking confidential counseling. Afkr
                                    consulting with a confidential counselor, a eomplainan! may decide to take no
                                    1·urthcr action; such a decision is completely with the complainant's discretion.
                                    Because of the confidential nature of the counsdor-complainan! relationship,
                                    seeking advice li·orn a confalcntial COlHlSL'lor docs not conslilulc reporting an
                                    incident.




                                                                                          Trahanas-NU001376
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        54                                                                                                Personal Safcguarc




        Drug free workplace              Northwestern University is committed to maintaining a drug free workplace in
                                         compliance wiih applicable hiws. The unlawful possession, use. distribution.
                                         dispensation, sale, or manufocturc of controlled substances iS prohibited on


                                         Violation of this policy may result in the imposition of employment disciplines
                                         defined for specific employee categories by existing University policies, statutes,
                                         rules, regulations, employment contracts, and labor a1:,>recments. At the discretion of
                                         the University, any employee convicted of a drug offense involving the workplace
                                         shall be subject to employee discipline or required to satisfactorily complete a dmg
                                         rehabilitation program as a condition of continued employment

        University policy on drngs and   Northwestern University prohibits the unlawfui possession, use, or distribution of
        alcohol                          illicit drugs and alcohol by its students and employees on University property, as part
                                         of any University activities, in vehicles owned or operated by the University, or at
                                         any work site or other location at which University duties arc being pc1formed by
                                         Northwestern employees.

        Health risks and                 The use of illicit drugs and the abuse of alcohol may pose serious health risks to the
        ussistancc                       user. Appendix A is a U.S. Department of Education summary of health risks
                                         associated with ak;oho!. Members of the No1thwcstcm faculty and staff arc
                                         encouraged to call the Faculty and Staff Assistance Program provided by
                                         Perspectives, Ltd., al 800-456-6327 for specific information about available
                                         counsciing, treatment, rehabilitation, or re-entry programs, Summary descriptions c'
                                         the programs arc included in Appendix B. A summary of health risks associated wit,
                                         controlled substances, prepared by the U.S. Department of Justice, is attached as
                                         Appendix C

       Sa.nction0                        Various local, state, and federal laws govern the possession and distribution
                                         (trafficking) of drugs and alcohol. Appendix D shows the penalties under federal law
                                         for trafficking in controlled substances and in ma,-ijuana. Appendix E provides the
                                         federal penalties for illegal possession of a controlied substance. Appendix F
                                         describes the sanctions for trafficking in controiled substances under Illinois law.
                                         The lllinois sanctions for possession of a con1rnlled substance arc in Appendix G.
                                         The ll!inois penalties for trafficking in or possession of marijuana arc found in
                                         Appendix ll.
                                               - - - - - - - - - - - - - - - - - - -------·---------------
                                                                                                     Sanctions continue




                                                                                                     Trahanas-NU001377
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         Personal Safeguards                                                                                             55



         Sanctions. continued   In addition to the sanctions listed in the appendices. the following additional
                                penalties arc prescribed by Illinois law:
                                    Conviction of a second or subsequent offense under the Controlled Substances
                                    Act may result in imprisonment, a fine, or both up to double the maximum
                                    otherwise authorized. A prior conviction under federal law or the law of any
                                    other state makes a conviction under lllinois law a second offense.
                                    Conviction for "cannabis trafficking" of 2500 grams or more or for "controlled
                                    substance trafficking" (i.e., bringing these items into Illinois for purposes of
                                    manufacture or delivery) may result in a prison tenn or ar least twice the
                                    minimum term otherwise authorized and a fine of up to twice the authorized
                                    amount.
                                    Delivery of a controlled substance by a person over l 8 to a person under 18 may
                                    result in imprisonment for up to twice the maximum tenn and a fine up to twice
                                    the specified amount.
                                    Delivery of cannabis (marijuana or hashish) by a person over l 8 to a person
                                    under 18 who is at least 3 years younger may result in imprisonment for up to
                                    twice the maximum tcm1.
                                    A person over 18 who uses another person under 18 to deliver controlled
                                    substances may be imprisoned for twice the maximum term.
                                    Violation of provisions of the Controlled Substances Act in or on the grounds of
                                    any school or public housing complex or within 1,000 feet of the same will
                                    increase the felony status (and prison term) and the applicable fine.
                                    Participation in any conspiracy with respect to cannabis may result in
                                    imprisonment for two to five years and a fine up to $200.000 plus ccrtilin
                                    forfeitures.
                                    Possession of cannabis plants may result. depending on the number of plants, in
                                    prison tcnns or up to seven years and fines of up to $ I00.000 plus costs.
                                    Conviction under the Controlled Substances Act or the Cannabis Control Act, in
                                    addition to all other penalties. will result in a fine or not less than the fi.tll street
                                    value of the items seized.

                                Possession of l O grams or less or cannabis by a person under age 17 may result in a
                                fine or up to $500 under Evanston ordinance.

                                Tllinois law provides for a prison term of anything less than one year and for a fine of
                                up to $ I000 for knowingly providing alcohol to persons under 21 or for providing
                                false evidence of age or identity. Persons under 21 who present or offer false
                                evidence for purposes of obtaining or purchasing alcohol may be jailed for up lo six
                                months and fined up to $500. The same penalties apply to possession of alcohol by a
                                person under 21 on or in any street or public place. Minors who consume alcohol arc
                                subject to prison terms ofup to 30 days and fines ofup lo $500.


                                                                                                  Sanctions continue




                                                                                              Trahanas-NU001378
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       56                                                                                      Personal Safeguard




       Sanctions, continued   In addition to possible prosecution under these laws. st11dents or employees who
                              violate the prohihitions of this policy arc subject 10 University-imposed disciplinary
                              sanctions consis,cn, with applicable procedures and regulations. Sanctions 1m1y
                              ,nciudc. bu, need noi b,: ;infr,cd to. suspension. expulsion, termination of
                              cmployrncnt. nr referral In appropriate authorities for prosecution. _A,ny discip!inar;
                              sanction imposed may also include the completion of an appropriate rehabilitation
                              program as a condition of reinstatement or continued employment.

       Monitoring             Northwestern University will regularly monitor its drug and alcohol abuse prevention
                              program to detenmnc its etkct1vcncss, to irnpiemcnt any necessary changes. and to
                              insure that its disciplinary sanctions arc consistently enforced.

       Notice of conviction   As a condi,ion of employment, ar1 employee of Northweslem will notify his or her
                              supervisor if he or she is convicted of a criminal drng offense involving the
                              workplace within five days of the conviction. In the event any such conviction
                              involves an employee working on a federal contract or grant, the University will
                              notify the granting or contracting federal agency within ten days of receiving notice
                              of a conviction.




                                                                                          Trahanas-NU001379
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         Personal Safcgnards                                                                                        57


                                 -------~--~~-~-------~---

         Employee complainls    Employees who believe that they have been treated unfairly on the job should voice
                                their complaints and have them reviewed. An employee who bt'licves that he or she
                                has not been lrc.Jtcd friirly in accordance with Univcrslly policies and who ha~: been
                                llnsucccssful in satisfying the complaint through discussion with the supervisor or
                                \Vithin the department may use the compbin1 procedure to obtain an administrative
                                review of the conditions or actions causing the complaint. Complaints arc to receive
                                review and response without retaliation against the employee voicing the complaint.

                                Employees who wish to express a complaint on the Chicago campus should contact
                                their human resources consultant. in Chicago, at the Human Resources office in
                                Abbott Hall, phone (312) 503-8481. In Evanston. contact their departmenl 's human
                                resources consultant al 720 University Place. f'vanston, (847) 491-7507.

                                Mattc,·s for complaint. Complaint matters calling for this procedure include the
                                improper or incorrect application of policy. suspension. and employment te1111ination.

                                Complaints regarding discrimination, disability, or sexual harassment may be
                                advanced through the means described in the sections on discrimination and sexual
                                harassment in this handbook.

                                Some matters arc resolved by means other than a complaint procedure. For
                                performance evaluation. the judgmcnl    orthe supervisor is normally dctennining. An
                                employee may include a rebuttal letter in the record if there is disagreement with the
                                supervisor's evaluation of perfoimancc. With respect to University policy and
                                dcpaiirncnt ruics, the employee is obligated to observe these. Recommcndalions fi,r
                                         in University policy may he made to 1hc Dcparlmcni of Human Resources or
                                through NUS/\C, and depar1mcnt::il ruk, rccoP,mcndations should be made lo the
                                head of the depmimcnt. For                aclllms such as m: unceucccssful c1ppl.icat1un
                                for promotion, the employee may seek an explanation from an staffing specialist or
                                Human Resources Consultant, hut the               of cmdidatcs for a     is dctc1rnincJ
                                al the discrcl10n ofthc_1ob's supervisor.

                                Accompanying employee. Except in a peer rL'Vicw ckscribcd below, an
                                may choose to be accompanied by <moihcr employee who may observe and provide
                                support through the s1eps of the procedure hut not express advocacy

                                Pay during formal process. Time spent during scheduled working hours in
                                meetings with Human Resources or in the lormal steps of the procedure is treated as
                                time worked for pay pnrposc~s. The employee mus1 obtain prior supervisory approval
                                for absence from duty and rnu:,i cooperate m scheduling such an absence to lessen
                                inconvenience to the department
                                                                 -~-----     --   ~----------




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        58                                                                                                        Personal S,:~fcguar,




        C'umplaint Procedure    Procedurn! options.           An employee may start with informal discussion or any of




                               •      Personal action. T"l1c cn1pioycc rnay l..k.'.cidc lO dct on h1s or i1t.:r O\\/n~ perhaps
                                      discussing the matter with the person complained against.
                               "      ]--Iurnan Resources facili1at1on. 'The cn1ploycc n1ay ask           btirna11 resources
                                      consultant to assist in a n1cctinr \-vith the person cc11r1plalncd agr1lnsL ! f thls
                                      rnecfing concludes vvith a sat!sfnc1ory· solution~ the c111ploycc m_ay choose to take
                                      no further action.
                               "      Formal investigation. The employee may ,vrilc to the aporopnate human
                                      resources consultant stating the complaint and asking fr)r investigation and
                                      resolution of the complaint. which may inciudc questioning the person
                                      complained against and other relevant parties. On the basis of the ;nform:nion.,
                                      the consuilant a rcsoiution of the compbint and ;1ntifics the parties ln 1hc
                                      rnmplaim. in writing when appropriaic.

        /\,ppeaI               A p,iny dissatisfied with the rcsull of the invcs1 igation may appeal by '>>vriting lo the
                               associate ·vice president fi)r hurnan resources \Vilhin 5 days of receiving the decision
                               \A/ithin 30 days, the assocjate vice prcsidcn1 rcvic\Vs the rnattcr afld notifies both
                               parties in writing.

                               A pa1iy dissatisfied \1/ith the dcclsion or the associate vice president fr--1r htn11,
                               resources rnay appcil by v-,rriting to the scn1or \:ice president fcff business (lnd finane-;.,


                                   : I;~

                               such    RS   those er~u1:ncra1.cd in the puiic;.,- un                  rnanag_crrten-c 1..hc :-;enH-.ir 1,·1ce
                               prcsfde:nt r~>1!c;1,:·s the n!atlcr                                   \.V?1!.lln fi·vc: dav~ nr
                               the appeal~ nott5Y-1ng ihern of the dccis]or.L F'or ;i;.1pcab or other rnattcrs, i.ht:
                               ,_~rnpleyeL~ rnay· n:qEcs1 a fC\ljC\V by the senior '/1CC pr;,.;sident ~:t.rid, if !he cn1.plo_ycc
                               choo;;cs: also rcqucrt 1:in 2Hivisory re·,/ic•;t,V t}y a pee, r-c·vic•,),: panel. ::.or all ~:ppca1~., the
                               decision of 1hc senior vice prcsjdcnt ;s the final (iccision f(;r the




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         Personal Safeguards                                                                                      59



         Peer review            Except for matters of discrimination, sexual harassment, or conduct leading to
                                immediate discharge, either party to a complaint may request a peer review when
                                making the final appeal to the senior vice president. The peer review assesses
                                whether the complaint proccdun: and the appeals were conducted fairly and whether
                                the complaint process was followed according to policy; but the peer review docs not
                                take action or recommend a specific action nor docs it review the substance of the
                                complaint or any corrective action. On receiving the findings of the peer review, the
                                senior vice president lakes appropriate action.

                                If a peer review is requested, the senior vice president selects three members of the
                                peer review panel from NUSAC, the faculty, or other members of the community as
                                appropriate. The panel meets with each party to the complaint who chooses to meet
                                with the panel and with the Human Resources representatives who have been
                                involved in the matter. The panel reviews any documentation presented by any of
                                those parties. There arc no accompanying employees or witnesses, and the panel docs
                                not conduct further investigation beyond what is presented.

                                Within 30 days of receiving the appeal notice the panel writes to the senior vice
                                president regarding the fairness and policy compliance of the complaint and of any
                                corrective action. The memorandum is the only record of the panel's review. The
                                documents presented by the parties arc returned to them.

                                Within five business days of receiving the panel's memorandum, the senior vice
                                president writes to both parties giving the final decision for the University.




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I        60                                                                                             University Safcgu;




         Solicitation                  University premises or resources arc not lo be used for the solicitalion of business
                                       other than official University business. Employees may noi use paid work time for
                                       solicitation for eharitablc caus<:s not sanctioned ,he

         Personal mail and phone use   Employees may not use the campus mail system for receiving or sending personal
                                       mail. Personal phone use during working hours is to be limited to emergency calis.
                                       University stationery is for University business only, not for personal
                                       correspondence. It should not be used for business or political rnrrcspondcncc by
                                       employees nor representing the University in an official capacity.
                                       ---··----·------ -----------
        Equipment and facilities       University equipment and facilities provided for use by employees - such as lockers,
        of the University              offices, desks, and personal and network computers, their files, disks, and peripherals
                                       - arc University property and arc fully accessible to the University at all times.

                                       Employees may not use University facilities, supplies, vehicles, or equipment for
                                       personal reasons unless auihorizcd to do so by their supervisor.

        Security of confidential       Information contained in University files and records, whether paper or computer
        information                    records, is to be used for its intended purposes only. Inappropriate employee access
                                       to, use ot: or disclosure of such infom1ation will subject an employee to corrective
                                       action up to and including discharge.

        Pcr::;onal appearance and      Departments or their supcrvi;;ors may set standards of pcrsonai appearnncc            <'
        hygiene                        hygiene as reasonable and appropriate for the operation of the department.

        Smoking                        Smoking is prohibited in University buildings and within 25 foct of building
                                       entrances, as wcli as in designated outdoor fricilitics
                                                                                      -----------------·
        ratcnls and inventions         Patentable discoveries or invcnlions occasionally result from the ,·escarch and
                                       -::ducational activities at the University. Nmihwcstern University desires io assure
                                       that all ideas and discoveries are properly disclosed and used for the greatest possibic
                                       public benefit. The University also desires to protect the patent rights of faculty,
                                       staff, and siucknts and to abide by federal law. University policy, and patent
                                       regulations of agencies and other sponsors providing funds for programs.

                                       Cc11ain staff members may be required to sign a patent understanding that assigns
                                       rights in such inventions to the University and to submit disclosures of all inventions
                                       made using University resources. If fonds arc received from the licensing of such
                                       inventions, they witl be distributed according to the University patent policy. The
                                       Technology Transfer Progrnrn administers this policy; further information is
                                       available from that office.




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         University Satcguards                                                                                              6!


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         Use of computers and       It is the policy of Northwestern University to maintain access to loeaL national. and
         networks                   international networks       ror
                                                                  the purpose of supporting its fundamental activities o!'
                                    instruction. 1·csearch. and administration.

                                    Users of the networks arc to take the necessary measures to s<.Jfcguard the operating
                                    integrity of the systems and the accessibility of other users.

         System use                 Network users arc responsible for:
                                    •  using the network in ways that do not interfere with or disrupt the nonnal
                                       operation of the system.
                                    •  respecting the rights of other users, including their rights as set forth in other
                                       University policies for students, faculty, and stall·- rights that include hut arc not
                                       limited to privacy, freedom from harassment, and freedom of expression,
                                    •  knowing and obeying the specific policies established for the systems and
                                       networks they access.

                                    Under no circumstances may users give others access to any system that they do not
                                    administer.
                                                                                             -----·---------------··----
         Network administration     Administrators of systems and networks have the responsibility to protect the rights
                                    of users, to set policies consistent with those rights, and to publicize those policies to
                                    their users. They have authority to control or refuse access to anyone who violates
                                    these policies or threatens the rights of other users. and !hey will make reasonable
                                    effort-; to notify users affected by decisions they have made.

                  ofan                                                                                                       or
         adn1ini:>trali.vc Jction   th,, decision to the approprialc office. Students may suhrnit appeals to the vice
                                    president for student aflairs,        members may appeal to the provost, and staff
                                    members may appeal to the associate vice president ror human resources.




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        C:()ntlict of intcrcs1    11 is the policy of Northwestern Univcrslly that its crnplcyccs conduct the atfairs of




                                 'ft)  avoid conflict of pi.;rsonal interests \iVith lJni~,:l;rsi1y interests, an en1plc:ycc rnust
                                 not be in a position of rnaking a decision for the lJnivcrsity if his or her persona!
                                 ('.C:onr1rnic interest rnay he directly affected by the ot.:tcornc

        IJcJ1n1t1ons             !"~- conflict of interest exists \vhcre the occurrence of an ou1~~idc activity cornpctes
                                 \Vith or din1inishcs the interest    or
                                                                       the University or intcd'eres \vith ihc crnpfoycc~0
                                 pcrfonrnmce of dwies on behalf of the University. A conflict cf interest also exists
                                 \vhcrc the outc-on1c of a decision that should be 1nadc Ht the bc~st intc~rcsr of the
                                 tJnivcr:_;ity i~:; in conflict -.-t-ith the pcr~:onai or cc··onc,n-11c nHcr~:st oC the l~rnploycc_
                                 1:xarnplcs of decisions that cornn1only present conflict::::. of interest arc those that
                                 require dclennining the use of suppliers, University rcsounxs, or one's own work
                                 tirnc.



                                 (.,iort}nvcstcrn University otnsidc rhe scope o} his or her regular lJn.1\,..er:3ity duties.
                                 ()utsidc act.~,/itic:: include partic!pat.!un n1 pr(.rf"essionaL Cl\'IC) or charitabic
                                 {}f'gan11:at}ons.




                                 :n be· D \/:~!dcd.


                                 Un1vers!ty and its f.:rnploye(~S ar1ci lo protect the finnncictl \vc11·-bcing         a1.1ti   lcga1


                                 Since lJnivcrsity sta1T arc knov;n 10 conduct tinivcr:~;i_ty business v.1ith high standards~
                                 this policy a.!sn establishes a ITicthod to protect staff rne1n.bcrs frorn any questionable




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         University Sufr:guards                                                                                              6.3


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         Apparent and real conf1icts   Apparent conflicts of interest. On occasion. a staff member may be presented with
                                       circumstances in which personal and University interests may be unclear or where
                                       there may be an appearance of conflict of interest. For cx:~mplc a staff member may
                                       have an outside business interest or time commitment that distracts attention from
                                       University work, invites use of University resources for that interest, or appears io
                                       influence judgment in University decisions. Often these conflicts arc more apparent
                                       than real, but the appearance may raise u question of conflict. For example, a job
                                       outside of University business hours is not inherently a conflict of interest.
                                       Questionable situations arc easily resolved by sharing them with the supervisor.

                                       Real contlicts of interest. On other occasions, an individual may huvc an interest
                                       outside University work which could present a conflict in making a decision or in
                                       committing time or University resources, such as one's paid time. ln these cases,
                                       infmming the supervisor of the potential conflict often serves to remove the conflict
                                       because the supervisor can then become involved in the decision, removing the
                                       burden of the conflict from the stalT member.

                                       Good Judgment of the staff is essential, and no list of rules can provide direction for
                                       all the varied circumstances that may arise. In case of doubt or a questionable
                                       situation, it is desirable to resolve the issue with one's supervisor.

         Examples of conl11ct of       The following activities arc examples ofsilualions that may raise conllict questions.
         interest
                                       Professional, drnritabk, or civic organizations, 1f Univcrsily time or resources arc
                                       used for profr:ssional, charitable, or community activities, the use or this time for
                                       thos(~ activities can    a conflict   inrcrest. Inc.idcnta1 cans or
                                       activities a1c nol likely in conflict with       duties. Participation m activities of
                                       proli:ssional association representing one's assigned               \Vork may align with
                                       rather than conflict with University interest. Conferences, workshops. and sympo,;ia
                                       as a presenter. allcndcc, or program              . or prof•2ssionul association busincs';
                                       activities in the indiviuual·s profcsswnai area may advance both the indiv1duai's and
                                       rhe Univcrsit_y's interests. /\ conflict ot rntcrcst exists if the supervisor         that
                                       the tum: on these matters subtracts mordinatcly frurn getting the assigned job done or
                                       judges thai the activity is in conllict wilh department objectives or job goals. /\
                                       discussion with the supervisor is needed lo resolve any concern and 1s needed 1fthcsc
                                       activities consume substantial work time or attention. A memorandum of the
                                       discussion and approval of the activity should be written lo assure undcrst:mdmg and
                                       to document approval.

                                       Consulting.     Consulting activity that uses University resources or an individual's
                                       time on the Job. because it competes with the University or conflicts with the
                                       pcrfonnuncc of the job, presents a conflict of interest. Consulting that docs not use
                                       the University's resources and docs not occur during University work does not
                                       present a conf1iel oi' interest. Activities that present a potential conflict of intcresr
                                       require the written pcrmiss10n of the supervisor or dcpanrncnt head. Permission is
                                       given if the aciivily docs not compete with University activities or interfere with the
                                       performance of the staff member's University duties.




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        64                                                                                    University Safogurm




        Examples. continued   Non-university activities during scheduled work use University resources,
                              ,vhcthcr in consulting or other persona! '.lei  _ and must he approved in ;:idvancc hy
                              rh,~ individual's supl:rvisor or department head. /\ cnnllic, exists when University
                                   work time: is used for         unrelated \o the

                              A gift or gratuity other than occasional meals. Favors of any value should be
                              recognized for their influence on the objectivity of judgment with respect to the
                              provider of the favor. Social invitations that do not place or appear to place the
                              recipient under any obligation arc acceptable. but their cflcct should be understood.

                              Use of University goods or services. A conflict of interest exists if University
                              resources are used for the personal benefit of an employee or an employee's
                              immediate family (spouse or children). Exceptions arc goods or services generally
                              available for sale to all employees, such as those advertised for disposal.

                              Economic interests. A business entity in v.-hicb an employee has an economic
                              interest represents a potential conflict of interest if the employee has any involvement
                              in the selection of that entity as a University vendor. An economic interest includes
                              the employee's or a rclativc's ownership or partnership in the business, including
                              serving as stockholder, director or officer in a non-publicly hcl<l company. Engaging
                              a rcla!ivc as an independent contractor is also a conflict of interest for an employee.
                              Conflict of interest can be avoided if the cmpioycc brings a supervisor into the
                              decision to engage the vendor.




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         University Safeguards                                                                                          65




         Approval process        Primary responsibility for conduct within this policy rests with each individual. An
                                 employee who may be involved in a conllicl of interest or has any question about the
                                 application of this policy statcmcnr to his or her activities has the responsibility of
                                 advance notice and following the disclosure process outlined below.

                                 Advance notice. An employee about to engage in an activity that may present a
                                 conllict or interest must provide written notification to the immediate supervisor or
                                 department head. The supervisor or department head considers all factors relevant to
                                 the situation and within five business days. if possible, advises the employee in
                                 writing whether the activity may be undertaken.

                                 Disclosure. In addition to the advance notice for an individual about to undertake an
                                 activity with a possible conflict of interest, each University staff member is to affim1
                                 a lack of conflict or disclose any conflict of interest or potential conflict on a periodic
                                 basis in response to a questionnaire distributed for that purpose. The immediate
                                 supervisor or the head of the unit reviews responses lo the disclosure questionnaire
                                 and approves or disapproves relationships or situations where conflict exisL<;.

                                 Appeal. A supervisor's disapproval may be appealed to the department head, if this
                                 is not the immediate supervisor, or to the dean of the school or to the vice president
                                 of an administrative area. The appeal should be in writing, and the individual
                                 receiving the appeal should respond within five business days.

                                 It is expected that conflicts of interest arc best resolved in the unit where the job is
                                 located, but staff members not satisfied with the appeal outcome may seek the help of
                                 the associate vice president for human resources in mediating the differences, or in
                                 further appealing the judgment if desired.

                                 Assistance. A staff member may also wish lo discuss his or her concerns regarding a
                                 conflict of interest decision with a human rc~ources consultant in the Department of
                                 Human Resources. A member of the Northwestern University Staff Advisory
                                 Council (NUSAC), while not an advocate in an appeal, may provide support in
                                 working through an appeal.

         Compliance              A member of the staff who docs not comply with this policy is subject to discipline
                                 up to and including termination ofemploymcnt.

                                 Coercion or pressure imposed by supervisors on their subordinates to perform tasks
                                 unrelated to University business on University time or to behave in other ways
                                 defined in this policy statement as a conflict of interest arc not tolerated and arc to be
                                 reported by the employee to the dean of the school or the vice president of the
                                 administrative area. The individual may seek advice or report such incidents to the
                                 associate vice president for human resources if personal identification is a concern.




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       Credit union           University faculty and staJT arc eligible for membership in First Nonhern Credi!




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                             an{1 better scrv 1cc.

                             Products. The credit union offers a wide range or financial products and services,
                             uHJuding savings accounts, checking accounts_ ntoncy 1riarkct accou1Hs~ J RP1.s .
                             share Ct:;rtffic:atcs     ;Jnd children :s club accounrs. FirsT f'iorthern also prc,vidcs
                             ils members with a hos, of loan producis, including hom1e equity loans and lines of
                             crediL first rnorlgage lo:-:uls: ncv/ ::rnd used vc11ic.1c loans. \lJSP. Platinun1 credit
                             cards~ ~1nd rnorc. C~on\/i~nicnt services include free on1inc banking~ autornatcd
                             t.:-1cphcne banking prograrn, di.reel deposit and payroll deduction.

                             Financial stahiiity. i'-1icJT1bc!·s enjoy the stability of a fi_nancia1 institution thar has
                             been growing stcadiiy for more than haif a ccmury AH savings arc insur,:e! both
                             ti:dcraiiy and privately for up to $350,000 pc:r acc:ount. Membership is free and
                             lasts a lifetime.



                             fv1cmbcrship applications are- available frorn the credit union~ \vhich is ioc.atcd in
                             ihc basement uf Rebecca Crown Center. Fir:,1 Northern Credit Union's contact
                             Jnfl)r inaiion is: 633 ('lark Street, Roon1 (J-594~ Evanston~ IL 60208- i i 2tL Phone:
                             {847) 491 ·-3062: Fax.




                             1,1crlh\vcstcrn University is fl1rnous f(;r the qualit:v of jts theater and rnusic progran1s~
                             ;Jnd crnploycc.:s rn.ay attend perfi)nrv.1.nccs at. rnodest cosL The ()hserver ·s calendar of
                             event:,::; and F;lclfr. ii Purple. the lJniversity 's on-!Jnc calendar fr1und at
                             ht1p:/laquovife.nor1htt·(.1..,·tern.etlu/r:allpp/ iis-r scheduJcd dran1ar.ic~ rnusic;·?L, and fiirn
                             presentations: kc17JP.:~: colloquia; and exhibits on both campusc~

       .Athletic events      Season tickets to intercollegiate athletic events arc availabie to staff members at


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                                                                             calling                         491-C:i\'JS.
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                                                                                                                                  Trahanas-NU001389
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        Services and Facilities                                                                                               67



        Physical education and            The University offers a variety of physical education and recreational facilities to its
        recreation facilities             employees.

                                          Evanston campus. The Henry Crown Sports Pavilion and Dcllora A. and Lester J.
                                          Norris Aquatics Center on the Evanston campus includes an Olympic-sized pool;
                                          tennis. handball, racquetball, basketball, and squash courts; an indoor running track;
                                          and fitness equipment. Employees may use this facility on payment of either a daily
                                          fee or an annual membership fee.

                                          The 15 outdoor tennis courts at Sheridan Road and Colfax Street and the 3 courts at
                                          the Coon Student Sports Center near Ryan Field arc available to faculty, staff. and
                                          students during daylight hours. Employees need an identification card to use the
                                          courts, and in the summer a tennis pass must be purchased at the Tennis Center, 2310
                                          Sheridan Road, from 8:30 a.m. to 7:00 p.m. Guests of employees must pay a $5 fee.
                                          Reservations must be made a day in advance by calling (X47) 491-3310 after 8:30
                                          a.m.

                                          The Blomquist Recreation Building, 6 I 7 Foster Street, is used for aerobics classes,
                                          volleyball, and basketball.

                                          Tokens providing access to the Evanston campus University beach arc available for a
                                          modest fee for employees and their immediate families from the Henry Crown Sports
                                          Pavilion or at the beach entrance. The beach is open from mid-June through Labor
                                          Day.

        Childcare resource and referral   Northwestern staff and faculty have access to a resource and rcfcn-al service through
                                          Action for Children. Call 773-564-8890 to speak with an account representative,
                                          who can help in identifying centers with spaces that meet your needs.

                                          For additional childcare programs, visit the website for family and childcare
                                          resources at /11tp:llw1vw.northweslern.ed11/hr/be11ejits/childcare.




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            68                                                                                                        NUSA



            I'hc Staff Advisory    Chartered by Northwestern University's president m 1973. NUSAC, the
            Council (NUSAC)        Northwestern University Staff Advisory CounciL provides service to the University
                                   community through rcprcsentatio11 of the opinions, concerns, and experiences of its
                                   nonexempt cind exempt staff, This ,-cprcscntaiion takes place in meetings with the
                                   Department of Human Resources and other Uni'.'Crsi!y administr.:tors a~: we!! ao:
                                   through opportunities to nominate staff members for service on University
                                   committees and task forces,

                                  NUSAC also provides service to University staff through networking and
                                  educational outreach by way of its newsletter, "brown bag lunch" seminars and by
                                  sponsorship of the president's annual State of the University address,

                                  Membership. Members arc regular fu11 time or part time staff with two or more
                                  years of continuous service, and they serve no more than two consecutive three-year
                                  terms, Eighteen non-faculty employees from botb Northwestern's Chicago and
                                  Evanston campuses serve on NUSAC, and each member serves on one of ihree
                                  standing committees,

                                  Committees. The Human Resources Committee works with the associate vice
                                  president for human resources to provide staff input and to discus::; proposed policy
                                  changes and procedures, The associate vice presiden, reports pending matters of
                                  staff interest and asks for NUSAC's input TI1is committee also appoints a safety
                                  officer to serve as liaison to the University Campus Safety and Security Committee,
                                  maintams a complaint liaison for each campus, and coordinates NUSAC activities r
                                  promote policies beneficial to Northwcstcrn's staff

                                  The Communications Commiitec coordinates the publicity and public relations

                                  the Council's goals and activities_ This committee publishes a periodic ncwslct1cr
                                  mailed to afl staff and organizes "brn,vn bag lunches" for staff to discuss issues with
                                  University representatives_

                                  The Benefits Committee works with the director of benefits and provides a liaison
                                  with the General Faculty Committee's Iknc!itf; Committee, This committee reporis
                                  ,;taff suggestions concerning benefits policies and procedures and responds back to
                                  the staff

                                  Contacting NUSAC.        The ideas, suggestions, and job-related questions of staff
                                  employees arc important lo NU SAC because it strives to address the points of view
                                  of all of Northwestern 's staff members and works to represent them to the
                                  University's administration. NUSAC is listed in the University telephone dircctorJ,
                                  with the names and telephone numbers of the current chair and vice chair_ NUSAC
                                  board members arc also found on NUlnfo,

                                  NUSAC Meetings, NUSAC meetings arc schcdukd /()!' the first Wednesday of the
                                  n~enth, during norrnal \..\'Orking hours, en ahcrnarc carnpu:-;c::.;. ~fhc n1cclings arc open
                                  to nny rncn:bcr of the st('.1ff. To be incluch~d on the agenda~ one shoulJ contact the
                                  chair in advance of the meeting.




L                                                                                                                ------ - - - - - -
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         Appendices                                                                                                                          69



         Appendix A.                 Alcohol consumption causes a number or marked changes in behavior. Even low
         f lcallh risks associated   doses significantly impair the _judgment and coordination required io drive a car
         with alcohol                safely. increasing the likclillllod that the driver will he involved in an accident. Low
                                     to moderate doses of alcohol also increase the incidence of a variety of aggressive
                                     acts. mcluding spouse and child ahusc. Moderate to high doses of alcohol cause
                                     marked impainnents in higher mental fi.mctions, severely altering a person's ability to
                                     learn and remember infonnation. Very high doses cause respiratory depression and
                                     death. l f combined with other depressants of the central nervous system. much lower
                                     doses of alcohol will produce the effects just described.

                                     Repeated use of alcohol can lead lo dependence. Sudden cessation of alcohol intake
                                     is likely to produce withdrawal symptoms, including severe anxiety, tremors,
                                     hallucinations, and convulsion. Alcohol withdrawal can be lite-threatening. Long-
                                     term consumption of large quantities of alcohol, particularly when combined with
                                     poor nutrition. can also lead to permanent damage to vital organs such as the brain
                                     and the liver.

                                     Mothers who drink alcohol during pregnancy may give birth to infants with fetal
                                     alcohol syndrome. These infants have irreversible abnormalities and mental
                                     retardation. In addition. research indicates that children of alcoholic parents arc at
                                     greater risk than other youngsters or becoming alcoholics.
                                     -------------·-----------------    ·--~-----   ----·--   ___________   _,   ---   ---------------·---




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       Appendix B.               Counseling and Psychological Sc1·vices (CAPS). Northwcstcm's Counseling and
       Programs available to    Psychological Service is a university cmmsciing center that provides counseling:.
       students and employees   cnsis intervention. con~ultalion, and ouircaeh services for the univcrsil_v community.
                                 Student!; ,nay seek assistance through C'J\ PS fOr alcohol <1r substance abu~c in a
                                variety of ways. /\.Ii students who seek ccunsciing service from CAPS arc screened
                                during the assessment interview for their level of alcohol and substance use. CAPS
                                professionals arc also available for consultation with others in the University
                                community who arc concerned about a student's alcohol and substance abuse, and
                                will assist others in planning how to refer a student for assessment and treatment.
                                CAPS also consults regularly with the NU Health Services Alcohol and Substance
                                Abuse Education program.

                                CAPS offers a variety of treatment alternatives depending upon the level of
                                intervention needed by the student. Frequently CAPS will refor to community
                                resources specializing in alcohol-substance abuse treatment after an initial
                                consultation and assessment.       l r a student has NU student insurance. CAPS
                                professional staff may authorize utilization of the policy for inpatient, day hospital, or
                                outpatient services. In cases where students arc referred to outside resources and
                                CAPS has a written release of infonnation, CAPS professionals may consult with the
                                student's treatment providers and serve as a professional resource for the student and
                                the treatment provider, helping lo arrange mcdicai withdrawals, medical clearance for
                                re-entry, and fo!!ow-up services at CAPS or in the community.

                                PHE. Peer Health Educators ( !'HE) is a student group created for the University
                                community. It is affiliated with BACCllUS. a national and community action
                                program for alcohol abuse prevention. ln addition, Peer Health Educators address
                                alcohol abuse within the context of other health issues, including s!rcss management.


                                The Pc"t:r Health Educators present fu-esidcs nnd conduct other educational progra1ns
                                on a variety of health-related topics. They receive extensive training on such issues
                                as alcohoL tobacco, and other drug abuse; sexuai health promotion; exercise and
                                fitness: stress management; healthy eating and eating di:mrdcrs. Furthermore, they
                                receive skill-based training on such areas as communication, conflict resolution,
                                cult11rnl competence, and intervention. Among other areas of expertise, they arc able
                                to assisl in idcntify-ing ?. peer who is aITccted by aicohol or drug abuse, as well as to
                                provide initial support and additional resources to the affected individuais.

                                For more information about PllEs, contact the Health Education Department at 847
                                491-2146.
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        Appendices                                                                                                           7i




        Appendix B.               ASAEP.      The Alcohol Substance Abuse Education Program (ASAEP) was
        Programs available to     developed as a means of assisting students who need more alcohol and drug
        students and employees,   infom1ation. ASAEP provides a structured cducalional environment designed lo hc!p
        con1inucd                 students explore attitudes and actions relating lo alcoho! and drug abuse.

                                  The program is designed to provide accurate infonnation about the psychological and
                                  physiological effects of alcohol and substance abuse.        It gives students the
                                  opportunity lo explore their personal reasons for using or abusing alcohol or other
                                  substances; examine values and influences associated with such use: explore and
                                  discuss responsible drinking behaviors and at1itudes; discuss and identity problem
                                  drinking, chemical dependency, and appropriate treatment; and identify available
                                  campus and community resources.

                                  Students may be referred to ASA EP by members of the University staff, or they may
                                  refer themselves to the program. Students mvo!vcd in ASAEP arc expected to
                                  abstain from the use or all mood-altering chemicals during the period of their
                                  attendance, allcnd the total program (tlm:e sessions or three hours each), participate
                                  in the program and complete written assignments, and meet with ASAEP staff at the
                                  closing session.

                                  Faculty and Staff Assistance Program. Any employee of Northwestern who has a
                                  drug or alcohol problem is invited to contact the Faculty and Staff Assistance
                                  Program provided to the University by Perspectives, Ud. to obtain confidential
                                  information and assistance. Perspectives, Ltd .. can provide counseling and referrals
                                  for diagnosis or trcmmcnr pnigrnms. including ;\ lcoholics .1\nonymous.

                                  including otliccs near hoth campuses.            Call Perspectives, Ltd .. at 800-456-(,3:::'7
                                  Couri:--clors arc avaii::iblc 2,i hours a day.




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             T2                                                                                                                                                                                             Appcndi


             Appendix C. Controlled Substances --- Uses and Effects
                                                                                                            -1 ----------      ---r- -T~- -lus""i--                        I
                                                         Trade or                Mcdic3i Uses                     oepHndence        l Toi:,-       jDur2tionjMethods Jr'oss1bls                   Effects of
                                                       OH,cr N~:n es                                          Phy;-;ical ?sychn     /, r't~'>th;s ,,          jcf Admin;- 1::::::fft:GlS          Overdose        Syr:;:irnrni·,
                                                                                                                          ioglcal
                                                                                                                                                  1
                                                                                                                                                  "     _____ _:s~:,ation __ ..
                                                                           l
           , ' ~,..,   ,   .   ,
                                                                          ---·                                                                                                       -···    -·
       !Opium                             !IIIIV Dover's Powder                Analgesic.                    Kigh       High        Yes        3-5         Oral.               Euphoria,          Slow and        \/Vatery eyes,
                                                   Paregonic                   andidiarrheai                                                               smoked              drowsiness,        shailow         runny nose,
                                                   Par-ctolin                                                                                                                  respiratory        breathing,      yawning,
       Morphine                              11111 Morphine                    Analgesic,                    High       High        Yes        3-6         Oral.               depression,        convulsions     loss of
                                                   MS Conlin                   anUfussive                                                                  smoked,             constricted        coma.           appetite.
                                                   Roxanol, Roxanol SR                                                                                     in..,cted           pupils,            possible        irrilibility,
       Codeine                             ililiV Tylenoi w Codeine            Analgesic,                    Moderate   Mooernie Yes           3-6         Oral,               nausea             death.          rremors,
                                                   Robitussan AC               antitussivc                                                                 injected                                               panic,
                                                    Formula w Codeine                                                                                                                                             cramps,
                                   -··
       Heroin                             !llliV Diacely!morphine              None                          High       High        Yes        3-6         Injected.                                              nausea,
                                                   Horse Smack                                                                                             sniffed,                                               chills. and
                                                                                                                                                           smoked                                                 sweating
                                              Ii Oialaudid                     Analgesic                     High       High        Yes        3-6         Oral,
       fi~~dromorphone
                                                                                                                                                           in,.,,..,ed
       Meperdine                                II Demerol,                    Analgesic                     High       High        Yes        3-6      Oral.
                                                   Meneman                                                                                              iniPcted
       Methadone                                 I Dolophine, Methadone,   Analgesic                         High       High-low Yes           ·12-24   Oral
                                                   Methadose                                                                                            :niect..,<>d
       Other Narcodics                     111111 Numorphan, Percodan,     Analgesic,                        High-Low   High-Low Yes           Variable Oral,
                                            IVV Percocet T ussionex,       antidiarrheal,                                                               injected
                                                   Fenlnyi, Darvon         antitussive
                                                   Ta!win, Lomolil                                   ~---
       -·--
       DEPRESSANTS
                                                                                    --··---·   --·
                                                                                                                                                                                     -----~,-- ---··----·-·-- -
                                             IV
       Chloral Hvdrate                            Notac                    Hyponotic                         Moderate  Moderate Yes            5-8         Oral             &urred                Shallow         Anxiety,
       Barbiturates                      11111 IV Amytal,                  Anasthelhic,                      High-Mod. High-Mod. Yes           1-16        Oral             speech,               respiration,    i nsomnia,
                                                  Losate                   anticonvulsant.                                                                                 !disorientation,       dammy           IffilTtf'"
       I                                          Nembutal
                                                  Phenobarbiatoi
                                                                           Veterinary
                                                                           euthanasia aoent
                                                                                                                                                                            drunken
                                                                                                                                                                            behavior
                                                                                                                                                                                                  skin.
                                                                                                                                                                                                  weak and
                                                                                                                                                                                                                  delE

       Benzodiazepmes                          IV Xana.x                   Anlianx,ety,                      Low        Low         Yes        4-8         Oral            r,••ithout odor        rapid pulse,    possible
                                                  Serax                    anticonvulsant                                                                                   of afcoho!            coma.           dealh
                                                  Valium                   scdahve.                                                                                        I                      possible
                                                  DiHmanc            .--- hvpnotic                                                                                         !                      rlP.H\h

       rethaquaone                                Quaalude                 Sedative,                         High       Htgh        Yes        4-8         Ota!
                                                                           hy notic
       1Glutethfmide                          :H Donden                    Sedative.                         High       Moderate Yes           4-8         Ora!
                                                                           h~ onotic



                                                                                                                                                                                                                                   J
       Other                              Iii !V Equarni. Miltown          Antianxiety,                      Moderate   Moderate Yes           4-8         Oral
        Depressants                               P!ecidyl, Valmid         sedative.
                                                                           i,, notic




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         Appendices                                                                                                                                              73


         Appendix C. Controlled Substances -- Uses and Effects. continued


                                                                                                            Usual
         Drugs                Trade or                Medical Uses       Dependence        Tole- Duration Methods    Possible             Effects of
       CSA Schedules          Other Names                            Physical   I
                                                                               Psycho-
                                                                                logiral
                                                                                           ranee           ofAdmini- Effects
                                                                                                           stration
                                                                                                                                          Overdose          Syndrome



       STIMULANTS
       Cocaine           II Coke. Flake             Local            Possible   High      Yes      1-2     Sniffed,     Increased         Agitation,        Apathy.
                            Snow. Crack             anesthetic                                             smoked       alertness,        increase          long
                                                                                                           iniecled     excitation,       in body           periods
       Amphetamines      II Biphetamine,            Attention        Possible   High      Yes      2-4     Oral,        pulse rate        hallucinations.   of sleep,
                            Dek:obase               deficit                                                injected     and blood         convulsions,      irritability,
                            Desoxyn                 disorders,                                                          pressure.         possible          depression.
                            Dexedrine               narcolepsy,                                                         insomnia,         dealh.            dis0<ientation.
                            Obetrol                 weight                                                              loss of
                                                    control                                                             appetite.
       Phenmelrazine     II Preludin                Weight           Possible   High      Yes      2-4      Oral,
                                                    control                                                 injected
       Melhylphenidale   II Ritalin                 Attention        Possible   Moderate Yes       2-4      Oral.
                                                    deficit                                                 injected
                                                    disorders,
                                                    narcoleosv
                         HI
       Other             IV Adipex,                 Weight           Possible   High      Yes      2-4      Oral,
        Stimulants          Cylert,                 control                                                 injected
                            Didrex.
                            Sanorex,
                            Tenuate,
                            Teoanil
       HALLUCINOGENS
       LSD                I Acid,                   None             None       Unknown Yes        8-12     Oral        Illusions and     Longer,           Withdrawal
                            Microdot                                                                                    hallucinations,   more intense      syndrome
       Mescaline          I Mexc,                   None             None       Unknown Yes        8-12     Oral        poor              "!rip"            not reported.
       and Peyote           Buttons,                                                                                    percepuon         episodes.
                            Cactus                                                                                      of time and       psychosis,
       Amphetamine        I 2.5-DMA, PMA,           None             Unknown    Unknown Yes        Variable Oral,       distance.         death.
                            MOA. MOMA, TPA
                            OOM,00B
       Phencyciidine     II PCP,                    None             Unknown    High      Yes      Days     Smoked.
                            Angel Oust,                                                                     oral,
                            Hoa                                                                             iniected
       Phencyclidine      I PCE,                    None             Unknown    High      Yes      Days     Smoked.
        Analogues           PCPy,                                                                           oral,
                            TCP                                                                             injected
                                                                                        Possib
       Other              I Butotenine, lcogaine,   None             None       Unknown le     Variable Smoked,
        Hallucinogens       DMT. DET,                                                                   oral,
                            Psilocybin,                                                                     injected,
                            Psilocvn                                                                        sniffed
                                                                                          -~---·-·-
       CANNABIS
       Marijuana          I Pot, Acapulco Gold,     None             Unknown    Modcrale Yes       2-4      Smoked,     Euphoria.         Fatigue,          Jnsomnia,
                              Grass, Reefer                                                                 oral        relaxed           paranoia,         hyperactivity,
                          I
       Tetrahydro-       II THC,                    Cancer           Unknown    Moderate Yes       2-4      Smoked,     appetite,         possible          appetite
        cannabinol          Marino!                 chemotherapy                                            oral        disonented        psychosis         occasionally
       Hashish            I Hash                    None             Unknown    Moderate Yes       2-4      Smoked.     behavior                            reported
                                                                                                            oral
       Hashish Oil        I Hash Oil                None             Unknown    Moderate Yes       2-4      Smoked,
                                                                                                            oral




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        Appendix D. Federal Trafficking Penalties
        ics,,:,______-.--P~e~n~z"l•v~----·--),
        1
                                                                         Ouantily                           Urug                     ·   1.        Qyantily            ···--·-···--P-e-n-a!-ty----·---7
               _2_n_d_O_ff_e_ns_,_,~!,__;_sl·o.ffense_,         -··'•H                  ·-- -·--·--·-                  -----·-·---       I                      i_.___    'istO{fense-    ·r·:~1x!Offf:n:w      I
                                                                    5-49 grn Cf                                                          15G Urn Oi r:iore      !
                                                                    50--199 gm                    t.,F.:TH/\~.1PHET,6 ,MiNE:                  or 500 qn or inore[
                                                                    mixture                                                              'mtxlure               t

               Nol less than         Not less than 5                100-999 gm                                                            1 kg or more              Not less than 10      Not less lhan 20
               10 years Not          years. Not more              f.:mixl=·:Uf::;e::,__--1,_ _ _ _ _..,H..,:E::R.:.O=IN,___ _ _ _-1:.:.mixl::,:.
                                                                                                                                             :::U,:;re;::,__ _ _.,"'°.,--"rs. Nol more    years. Not more
               more than             than 40 years.                 500-4999 gm                                                           5 kg or more              than life.            than life.
               40 years.                                            mixture                      COCAINE                                  mixture
              Ill death or           lf death or serious            5-49 gm                                                               50 gm or more             If death or serious   If death or serious
              ;senous ;n1ury,        injury, noi iuss             ,_m_ixl_u_r_e_ _-+-~---_J::_<)CAINE BASE                               ·mixture               'injury. not less than    injury, not iess
              rot  less
               than life.
                                     than 20 years. Nol
                                     more than life.
                                                                    10-99 gm or
                                                                    100-99gm                       PCP
                                                                                                                                          100 gm or more
                                                                                                                                          or 1 kg or more
                                                                                                                                                                    20 years, nor more
                                                                                                                                                                than !ife.
                                                                                                                                                                                          than life.

                                                                    mixture                                                               mixture
               Fine of not n--,oce                                  1-10gm                                                                10 gm or more
                                                                                                                                                                Fino of not more than
               than $4 million
                             Fine of not more             mixture                             LSD                 mixture                                      Fine of not more than
          II individual, $10 than $2 million              40-399 gm                                               400 gm or more $4 milfon individual, $8 million individual,
             million other   individual, $5              t-m=ix"-lu"-r~e---+------'-F=E~N-'T'-A"-N~Y-'L'------+m~•c..~cctu_re"-----,$10 million other than $20 million other than
             than            million ether than            10-99 gm                                               100 gm or more individual.                   individual.
             individual.     individual.                  mixture                  FENTANYL ANALOGUE              mixture
                    Drug      Quantitv Firgt Offense                                                               Second Offense
                                       Not more than 20 years                                                     Nol more than 30 years.
                   Others       Any If death or serious injury, not less than 20 years, not more than life.       tf death or serious injury. life.
                                       Fine S 1 mimon idivtdual, $5 million nor individual                        Fine $2 million idividual, $10 million nol individual.
         Ill         All        Any Not more than 5 years.                                                        Not more lhan 1O years.


         IV          All
                                       Fine not more than $250.00 ind1v1dual, $1 mitl,on not individual.
                               Any Nol more than 3 years.
                                                                                                                  Fine not more fhar: $500.00 individual, $2 million noi
                                                                                                                  individual.
                                                                                                                jNot more than 6 years.
                                                                                                                                                                                                                I
                                                                                                                  !Fine not more than $500.00 individual, $2 minion not
                                       Fine not more ihan $250.00 indivv..1ua!. $1 million not individual.        individual
         V           Ail       Any Not more than 1 year.                                                          Not more than 2 vears
                                       Fine not more than $100 00 individual, $250.00 noi individual              Fine not more th~n $200.00 individual, $500.00 not ino.
                                                                                                                '
        Law as ongmalfy enacted states 100 gm. Congress reques:ed to rm-lke lechrncai correction to 1 kg.        Does ncl mciude rnanJuana, hashish, or hashish oil.




        Federal Trafficking Penalties      ~   Marijuana
                                         ----·
            Quantity                 Descriotion                                     First Offense                                I                  Second Offense
                                                                                    !Not less than 10 years, not more than

              1.000 kg                          Marijuana
                                                                                    llifo.                                         Not less !han 20 years, not more than life
                                                                                     If death or serious inJury, not less l11an 20 If death or senous injury, not less than life
              or more; or                       Mixture containing                  !years, net more than life                     Fine not more than $8 million individuat
              1,000 or mer<,                    deteclable quantity*                Fine not more than $4 million individual,            S20 miH1on other th3n individual.
              plants                                                                S10 million olher than individual.
              100 kg                                                                Not less thar. 5 years, not more than -10   Not fess than 10 yearE, not more fhan life.
              to 1.000 kg;                      Marijuana                           years                                       If dealh or senous injury, not less than hf~.
              Of 100-999                        Mixture containing                  ( death or serious injury, noi less than 20 Fine not more man $4 million individual,
              plants                            delectable quantity*                 years, not more than life.                 $10 milfion other than individual.
                                                                                     Hne no! more than $2 rrnllion inaiV1auaL I
                                                                                     $5 million other than individual
              50 to 100 kg                      Mariiuana                           Nol more than 20 years.                      Not more than 30 years.
              10 to 100 kg                      Hashish                             If death or serious injury, not less than 20 If death or serious injury, life.
              1 to 100 ko                       Hashish Oil                         years, not more than life.                   Fine $2 mi:lion indi·,iidua:.
              50-99Dlants                       Mariiuana                           Fine $1 miUion individual.                   $10 million other than individual.
              less than                                                             Not more lhan 5 years.                       Not more than 10 years.
              50 ko                             Mariivana                           Fine not more than $250,000,                 Fine $500,000 individual,
              Less than                                                             $1 million olher lhan individual.            $2 million other than individual.

        t     10 kg
              Less than l    kQ   I
                                                Hashish
                                                Hashish Ci!
                                                              ·------ -----
                                                                                    I                           --.-
                                                                                                                                                                                                                !




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         Appendices                                                                                                75


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        Appendix E.             21 U.S.C. 844(a) First conviction: up to one year imprisonment and fined al least
        Federal penalties and   S l ,000 bu! not more than SI 00,000, or bnth.
        sanctions Cor illegal
        possession or a         After one prior drug conviction: at least fiflc..:n days in prison. not to exceed two
        controlled substance    years. and lined at least $2,500 but not morL' than $250.000. or both.

                                After two or more prior drug convictions: al least ninety days in prison, not to exceed
                                three years, and fined at least $5,000 but not more than $250.000. or both.

                                Special scntencmg provisions for possession of crack eocame.          Mandatory
                                imprisonment of at least five years, not to exceed twenty years. and fined up to
                                $250,000 or both, if:

                                a) First conviction and the amount of crack possessed exceed five grams;
                                b) Second crack conviction and the amount of crack possessed exceeds three grams;
                                c) Third or subsequent crack conviction and the amount      or
                                                                                           crack possessed exceeds
                                   one gram.

                                21 U.S.C. 853(a)(2) and 83](a)(7) Forfeiture of personal and real property used to
                                possess or lo facilitate possession of a controlled substance if that oftcnse is
                                punishable hy more than one year imprisonment. (sec the special sentencing
                                provisions immediately above with respect to crack.)

                                21 U.S.C. 881 (a)(4) Forfeiture of vehicles, boats. aircraft. or any other conveyance
                                u,;cd lo transport or conceal a controlled substance.

                                21 ll.S.C. 844(a} Civil lin,: ofup to SlOJ)OO (pcilding adoption offinai

                                I lJ.S.C. 853a Dcmal of federal benefit:-,, such as student loans, grants. contracts.
                                nnd professional and commcrciai licenses, up to one year for tlic firs! uiicnsc . up to
                                five years for the second and subsequent offonscs.

                                rn   lLS.C. 922(g; Ineligible to receive or purchase~: firearm.




111n:
                                                                                            Trahanas-NU001398
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            Appendix F. lllinois tra!fo..:king prnaitics - cnntroiled substances
                                       ---·--- - -
                                      Drug
                                                      -   - ----
                                                                   --r·- I
                                                                                          /\mount        felony
                                                                                                         Status
                                                                                                                      Prison
                                                                                                                      ~,
                                                                                                                       ,c-nn
                                                                                                                                                            Fine


              /\;1_y suh~1:1r,.-e   :...:011tam•ng   tn:RO!\J      ,,r   !   0   ·10- l 5 gs~ir:-t,;   Chlss 1    ~i-1 ~ yc<1rs   Up to s:,:iO./JO{J                                                i
              am1h1?, lh ;-,'.<'I
                                                                              i')-{JQ grctm.-.         Clas~ X    6-!-0yca~       Up to S:500.000
                                                                              IOO - 399 grams          Class X    9-40 years      Up to greater of $500,000 or foll street
                                                                                                                                  value
                                                                             400 - 899 grams           Class X     12-50 years    Up   to greater      of $500.000 or full street
                                                                                                                                  value
                                                                             900+ gram,-;              ClassX      15-60 year:,   Up lo greater of $500.000 or foll street
                                                                                                                                  value
             J\ny substance containing COCAINE or                            >I - 15 grams             Class I    4-15 years      Up to $250.000
             analog ,hereof
                                                                             15- 99 grams              Class X    6-30ycars       Up to $500,000
                                                                             100- 399 grams            Class X    9-40 years      Up to greater of S500,000 or /hi] street
                                                                                                                                  value
                                                                             400 - !::99 grJms         Class X    12-20 years     Up to gr~1tcr of 5500.000 or full street
                                                                                                                                  value
                                                                             900 1 grams               Class X    15-60 years     Up to greater of $5(Kl.OOO or fuli slrcct
                                                                                                                                  value
             Any substance containing MORPHINE or                            >1--15 grams              Class X    4-15 years      lJp to $250,000
             analog thcrcor
                                                                             15--99 grams              Class X    6--30 years     Up to $500.000
                                                                             I00-399 grams             Class X    9--40 :,,cam    Up to greater        o"   $500:000 or fuH      stri,
                                                                                                                                  value
                                                                             400--89'1 grams           Class X    12-50 years     Up (o greater of $500,000          ()';   foll street
                                                                                                                                  value
                                                                             900 + grams               Class X    15--60 years    Up to greater of 5500,000 or full slreet
                                                                                                                                  value
                                                                                                                                                                                         ··-----l
             Any substance          containing       PEYOTE        or        >50-200 grams             Class I    4-15 years      Up to $250,000
             analog thcrcc,f                                                                                                                                                                   I
                                                                             200+ grams                Class X    6-30 years      Up to $500,000
             Any suhslance containing Bt\RBITUR1C or                         ~·--50-200 gratns         Ciass 1    4-15 years      Up to $250.000
             analog thereof
                                                                             200 I gran1s              c·!ass X   6-30 years      Up to $500,000
             1\ny sub~tarn.:e containing 1\MPHETJ\Jv!lNE                     5-200 '."rams             Class l    4--15 years     Up to $2.50,000
             or MET! li\MPi!ETAMINE or analog
             thereof
                                                                             200     l-   grams        Class X    6-30 years      Up to $500,000




i

l                                                                                                                                             Trahanas-NU001399
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 742 of 871 PageID #:2496




          Appendices                                                                                                                              77



                                 Drug                               Amount             Felony     Prison                         Fine
                                                                                       Status     Tenn
            !\ny substance containing LSD or analog            .1-9 grains or > 3-9   Class I   4-15 years    Up to $250.000
            thcn:of                                            objects/parts
                                                               l 0-99 grams or        Class X   6-30 years    Up to $500.000
                                                               >IO objects/parts
                                                               I 00-399 grams         Class X   9-40 years    Up to greater of $500,()00 or full street
                                                                                                              value
                                                               400-899 grams          Class X   12-50 years   lip to greater of $500,000 or foll street
                                                                                                              value
                                                               900 + grams            Class X   15-60 years   Up to greater of $500,000 or full street
                                                                                                              value
            Any Substance containing PENTAZOCJNE,              > 10-30 grams          Class I   4-15 years    Up to $250,000
            METHAQUALONE or PCP or analog
            thereof
                                                               30 + grmns             Class X   6-30 years    Up to SS00,000
            Any substance containing a substanc.; or           50-200 grams           Class I   4-15 years    Up to $250.000
            analog of substance classified in Schedules I
            or II. but not listed here
                                                               200 + grams            Class X   6-30 years    Up to $500,000
            Any substance or analog classified            in   Any amount not         Class 2   3-7 years     Up to $200,000
            Schedu lcs I or II which is a narcotic drug        listed above
            Any sub.~tancc or analog classified m                                     Class 3   2-5 years     Up lo S 150,000
            Schedules I or II which is not a narcotic drug
            l\ny substance classified in Schedule Ill                                 Class 3   2-5 years     Up lo $125.(JfJO
            Any substance classified in Schedule JV                                   Class 3   2-5 years     Up to $100,000
            Any substance classified in Schedules V                                   Class 3   2-5 years     Up to $75,000




                                                                                                                     Trahanas-NU001400
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 743 of 871 PageID #:2497




                                              Drng                            Amount                   Felony               Prison Tcm1                                               Fmc




                                                                    tJOO grams                                                                     Up :u ~rcalc; ofS200.000 or full ,;ired v:iiuc

          /\ny :.;ubslancc contal11ing COC/.dNE                     15-99 grams                     Class I              --4-l 5 years             Up to $200,000

                                                                 I-I_O{_J_3_'_!9_g_:r._<'_"_'"_·--t-'--_ia_s_s_i_---;_6_-~~_~n_,-..-car::      , llp to greater of~200JH}O ur ful'.              :~tiC'.'.!   v;duc
                                                                    4ft0-- l{99 gran~              C!ass l               (}_,:l()   y;:~:------,   Up tu grcat;..J· ofS200.000 ;n· fuli stn.:1::-1
                                                                                                                                                                                                     -------;
                                                                                                                                                   Up     ir,   gn:ah:r ofS2(}0 _ 000 ur h:ll :-;trcci

                   sub-sunc-t-con1ai1iing i'vlUJ{)lii!Nl:           15-99 grains                                         4-15 ycnrs                Up !0 $200.00{)

                                                                                                   Class!                6-30 years                lJp    h)    greater     or S200.0(XJ or foll street
                                                                   400-899 gram,                   Cl:iss I              8-4-0 years               Up to greater of S200,000 or full :sirccl v;:duc

                                                                   9001- grnms                     Class I               !0-50ycar:;               Up     1.0 g11:;__i(cr   nfS:200.000 nr   run strc-i:t value
          / . ny   s11b:,1.a11cl'.   co11t..::in1ng PLY()T[.-      :?0-{) grams
                                                                          1                                              4-15 years                Up     w $200J!DD
          _1\;;y ~ub~;t:::ic-..' cm:tr::Hr;g                                                                                                       \Jp          $200,Ql}I)
          BARBITURJC AClD

          .l\ny ;;nhs!ancc ;_:-1mL.1ining /\i\1PHET,,'\MlNL or     ?t)();     gr~Fn-;              Class l              4- I 5 yt.:nr:;            Up     i<~   S200.000
      1   ivit•:·i·HAMPHiiT,,\Iviihiti.
          /t.ny :;u.h-~1,~ncc CO!H.J.inmg LSD                                                                           4- I~ year::               l !p   t(1   ~:2oOJ.fGO


                                                                                                   Class I              6-30 yean-;                Up to grc-atcr i.}f J:200,000 or tldl s,trcct v.:dw.:




                                                                                                                                                                                  Trahanas-NU001401
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 744 of 871 PageID #:2498




       Appendices                                                                                                                   79


       Appendix H. Illinois penalties for mari1uana (mdudcs hashish) trafficking




                                                      l'bssi1lc:l1ion                  Prison Term

              Up to 2.5 gram::;             Class B Mi~dcmcanor         l_.,p to 6 months            Up    lo   $500

              2.6 - l 0.0 grams             Cl:iss A Misdemeanor        Les~ th:m [ year             Up to $1.000

              I 0.1 . :lO.O grams                                         - 3 years                  Up 10 $ IO,O(Xt

              30.1 - 500.00 grams           Class :1 Felony                5 years                   Up to $50.000

              More lhan 500 grams           Class 2 Felony               - 7 year:::                 Up tn $100.000




                                        ILLINOIS PENALTIES FOR POSSESSION Of MARIJUANA
                                                      (INCLUDES HASHISH)


                             /\1nounl                 ('bssitlcalion                                                          Fmc

              lJp h> 2.5 gram:-:            Ciass C M 1sde111canli1     Up   lu   30 days            Up lo S500

              ? _(, - I 0.0 grams                                       Up tn 6 1r10nths             Up to $.500

                                                                                                     Up




                                                                                                     Up lot 10.000




                                                                                                     Lp    ln $   ! o_noo

                                                                                                     t:p   to   f, I O,Ol}O




-                                                                                                               Trahanas-NU001402
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 745 of 871 PageID #:2499




           80




         Useful phone numbers   University Police Emergency Phone                                    911
                                 Nnn-cmcrgcncv, Fvansion                                            3456
                                 I"ion-crncrgcncy. (J1icago                                      3-3°1-56

                                Benefits                                                         !---75i3

                                Cashiers, Bursar Office, Evanston                               1-5343
                                 Chicago                                                        3-8525

                                Chicago Campus Human Resources Oi1Jcc, Abbott Hall              3-848]

                                Child Care and Family Resources                                 3-6631

                                Compensation                                                     1-7506

                                Credit Union                                                     l-3062

                                Disability Services                                             1-7458

                                Equal Employment Opportunity and Affirmative Action              l-7461

                                Employment Evanston                                             1-7507
                                 Chicago                                                        3-848!

                                Employee Rciations, Evanston                                    i-7507
                                 Chicago                                                        3-8481

                                F~icuily :ind St,iff i\,:."i-ctance
                                  Perspectives, Ltd., 24 hours                            800--456-6327

                                Payroll                                                         )-7362

                                Parking, Chicago                                                3-8129
                                 Evanston                                                       l-3319

                                Records                                                         1-7362

                                Training and Devciopment                                        7-5081

                                School of Continuing Studies, Evanston                          l-4114
                                 Chicago                                                        3-6950

                                University Library                                              l-7658




                                                                                      Trahanas-NU001403
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 746 of 871 PageID #:2500




                                                                       Trahanas-NU001404
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 747 of 871 PageID #:2501




                         EXHIBIT B
                         DEP. EX. 8
  Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 748 of 871 PageID #:2502
0~/28/2013 TUE 15108            FAX    Pulmonary Northwe~tern                                                                                    ~002/005




  .PerfrJnnance Excdleuc·c .Aunual Plan
 With thi<; cloc:imwnt munayers and employees together ser perjornwnte o~feeliues, i·eview quarter1y
 progress, assess Northwesrern behaviors, 11·ack devdnpnwnt oq;ectives, and rate pe1forma1l{"e for the
 entfrc y,:ar_

 Note: To naviyltte through Ll1is dowmenr, 11n your t<Ih key ,>r mouse. T_11pe i111he greiJ texr fields.                      NORTllWESTERN
                                                                                                                                        UNJV!!JlSl'l 'l
 Use yuur c.1.1rsor Lo click on rite appmpriote boxfrw the year-emf ratings.


 Employe~; Dirulc Trahanas                                Employee ID number: 107•1557
 Man~er: Steven Scl1wulst                                 Updated: 5/13
 Start - End: 6/12 .


 PERFORMANCE OBJECTIVES

 Objective 1:                                     Qmu•tel'Jy .Progress:
 Mouse Handling
                                                  Year-End Rating,:     01    02      O:,i    04 Os                   ~6      •     7

 Objective 21                                     Quarterly P1-og1•es.s:
 Cell Isoatiou/Proccssing
                                                  Year-lt'.nd Rating:   01    02      •a      04         18) 5        Do 07
 Objccli.vc 3:                                    Quarterly J'1-og1•css:
 Flow CytomP.try

                                                  Yrar-Rnd llating:     01    0:..    03      04         l8J 5        06 07
                                                                                                              -· ---   -~-~·-  -"

Objective 4:                                      QnaJ"tcrly Fi•ogre&s:
Data Analysis

                                                 Year-Eml Rating:       01    Oa      03      04 0s 06 07
Objective 5:                                     Quarterly Progress:
Datn/Hecord M.imigRment

                                                 Year-Eu<l Rating;      01    02      Qg      04         05           1&16    Dr
                                                                                                   ..   _____ ____"




Objective 6;                                     Quarterly P1'011,ress:
Grant Accountinp,

                                                 Year-11.nd Roting:     01    02      •a •4              12?1 5       06      • -1


If you. need to tM.id more objectives: /'lease do not try to add rows 01· columns to this form. lnstea.'1, type additional obje.!'r:i11es,
qctartcrly pnXjress, and year-end ratings in the grey texl box b,:,low. You will end up with running t~tl lo be spaeed ClS you u1i~h-
Remember tofoctrs on _110111· higliesrprioritie.<: and add ol!jecl'iues only ifnec£S$Ci-ry.

                                                                                             EXHIBIT



                                                                                                                             T ra hanas-NU000040
  Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 749 of 871 PageID #:2503
CS/28/2013 TUE 15:08                FAX   Pulmonary Northwestern                                                               ~003/005




   Pcribnnan1:c P.xc(;Hcnc0 /\nnnal Pinn

 NORTHWESTERN BEHAVIORS

 Coacbability                                    Qu..nrLc1·iy Prog1-ess:
 Being receptimi tn.feeclback;
 willing to leC1111; iimh1·ac:ing
 crmtim.mus impr£11Jl."1m:mt.




 Being helpful, r,is1wctjul, apprcxu.:hable,
 and w,am uricntccl; bui/.ding slrong            Year-End Rating: O 1        O 2.     D   3   D4      D6      !ZI 6    0   7
 working relatio11ships and a positivf. work
 environment.


 Communication                                   Quarterly Progress:
 Balancing listening and talking;
 speaki11g and Wl"iting clearly and              Ytlar-End Rating;   0   l   D2       0   3   0   4   D5      ~6       0   7
 accurately; influenci11g otlters;
 keepinq others informed.



 Complmnoo                                       Qua1•tcrly 1'1-ogress:
 Honoring Univei-$ity po1ici,is and
 regulatory l'flquirnments.
                                                 Year•EndRating: 01          02       03      04      05      ~6       07



Customer Fm.-uN
Srriuing for high ci.1sromei· satisjoctiim,·
going out of rhe way to be helpful ,ind          Year-End Rating:    0   1   O ::i-   0   3   0   4   f8l 5   0   6    0   7
pleos,mt; making it as easy u.'I pm;sible
for the ct1stome1· (rathel' than rhe
depanment o,· 1he Uniliersiry).




                                                                                                                                     2


                                                                                                                      Trahanas-NU000041
         Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 750 of 871 PageID #:2504
      05/28/2013 TUB 15:09                   FAX     Pulmonary Northwest~rn                                                                ~004/005




           Performance Excellence Annual Plan

         NORTHWESTERN BEHAVIORS, continwrJ

         Efficiency                                         Quarterly Pl'ogi·css;
         Planning oheod; mano.ging          tim,i wdl;
         being on rime; being cost consciow;;               Year-End Rating:    01 02 03 04 Os '2l 6 07
        chinking of berter wt1ys to do things.

         Initiative                                         Quat'terly ProgreHH:
·· · ·- · · Tatdrrgmunr.,-rship·nfwark;·
        ciuing w!,at is needed wilhout
        being asked.:following tllmugh.
                                                            Year-End Rating:    •   1   02        • :-i   04 05 06 07

        Leadership (as applicable)                          Quarterly Progress:
        Setting cleor P.1-pe,:tations; nrufowiny
        progress; providi11gfeedback and
        guidance; holding people aeco1111table.
                                                            Year-End Rnlin.g:   01      •   :.!   Os 04            181 s 06 07




        DEVELOPMENT OBJECTIVES
                                                                                                   -·--·--·~-·-·
        Objective 1:                                        Q\lm1:e1•ly Progress:

        A~vanced Flow Cyt.om~try

                                                           Yeal"-End Rating:    01      •   2     03      04       ~fi   06       •,
                         ---~-"' <--· ·---~- -----
        Objective 2:                                        Qmu-te1•ly Va·ogress:

        Manuscript Preparation

                                                           Yei,r-End Rating:    01      02        03      04       Os    [8j 6    •    1




                                                                        to
        -{fyou need lo odd more ol,jectivesr 1'/ense do nnt try ad11 rows or columns to rhis form. 1nstea'1, type uddilim,al objeciives,
        quarterly progress, and yenr-r.nd rnti11gs in tile gny le.ti box below. Yo/l will end 1.1p with running texl lo be spaced ns you wish.
        Remember ro foclls on your highn">t priorities and add objectives only ifnr.Cf'.ssary.




                                                                                                                                                 3


                                                                                                                                 Trahanas-NU000042
   Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 751 of 871 PageID #:2505
05/28/2013 TUE 15: 09                      FAX   Pulmon~ry Nort.hweet.e:rn                                                            ~005/ 005




      Performance Excclkr1cc Annual Pinn                                                                                  .


 OVERALL YEAR-END RA TING

  D 1 ° Unsatisfuctory                                   ('.ommenti.:

  0 2 ~ Needs Improvement
 0 3 = Moderately Effccth·c
 0 4 = Effective
... ~ 5 =Highly Effet.'tive ..
 0    6 = Outstanding

 0    7 = Role Model
 .C:ee dejiJ11.ti()11.~ on1f y11idefines
 im   ne;:r:t p!!ye.




 T11is signature indicates thal tile emplnyee ha.; read, ll!J! doos 1w1 necessat>ily aq1-ee witli, lh<1 year-end mLing.
 Tnl.i employet m,:.ry <"fh:11:l," respcmSi! pagtt, if lie or Me wishes.




 Manager's supervisor signature (optional);                                                                                   Date:




                                                                                                                                             4



                                                                                                                              Trahanas-NU000043
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 752 of 871 PageID #:2506




                         EXHIBIT B
                         DEP. EX. 9
  Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 753 of 871 PageID #:2507




With this document managers and employees togethel' set performance objec!ives, review czum·terly
prog1·ess, assess Northwestern behaviors, track development objectives, one/ rnle performance for the
entire year.

Note: To nauigale lhrn11gh this document, use your tab key or mouse. Type in the grey textfields.                                        NORTHWESTERN
Use your cw·sor to click on the appropl'iate box for the year-end ratings.                                                                        UNIVERSITY


Employee: Diane Trahanas                             Employee ID number: 1079557
Manager: Steven Schwulst                             Updated: 4/17/14
Start - End: 4/13 - 4/14

                                                                                  <, •-' -   ··~---· -·-··- -·· ---· ---------     --..-",---~•-•--•----•----•A~•   --- - -- - -
PERFORMANCE OBJECTIVES

Objective 1.:                                Quarterly Progi·ess:
Enhance flow cytometry skills                Exceeds Expectations

                                             Year-End Rating:     01 02 03                         04               [815         06      07
Objective 2:                                 Quarterly Progress:
Improve quality ofbenchwork                  Meets Expectations

                                             Year-End Rating:     01 02 03                         [814             Os           06      07
Objective 3:                                  Quarterly Progress:
Better account management                    Moderately effective

                                             Year-End Rating:     01    02      [8J 3              04                Os          06 07
                                                                                                                                     - ----·---~------------- -
Objective 4:                                  Quarterly Progress:


                                             Year-End Rating:     01    02      03                 04                Os          06· 07
                                                                                                                                               ·-·--~~ ·- --·--·--
Objective 5:                                 Quarterly Progress:


                                             Year-End Rating:     01    02      03                 04               •s           06 07
                                                                                                                                                           ---·-~ ~-----· -----··-

Objective 6:                                 Quarterly Progress:


                                             Year-End Rating:     01    Dz     03                  04                Os          06 07



.ifyou need to add mol'e objectives: Please do not try to add rows or columns to lhisform. Instead, type odditional ol::iectiues,
qiwrtaly progress, and yem·-encl mti11gs in the grey text box below, You will end up with rnnning text to be spaced as you wish.
N.ememlwr to focus 011 your highest priorities and add objectives only if necessary.




                                                                                                                                       Trahanas-NU000046
                Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 754 of 871 PageID #:2508




            NORTHWESTERN BEHAVIORS

            Coachability                                Quarterly Progress:
            Being 1·eceptive to feedback;               Exceeds expectations
            willing to learn; embracing                 Year-EndRating: 01        02   03   04      r8J5    06   07
            continuous improvement.



·--~~-·-------- Collc.gia.li~•-------·-- _______

            Being helpful, respeciful, approachable,    Meets expectations
            and team oriented; building strong          Year-End Rating:     01   02   03   [8J 4   Os      06   07
            working relationships and a positive work
            environment.



            Communication                               Quarterly Progress:

            Balancing listening and talking;            Exceeds expectations
            speaking and writing clearly and                                 01 02                          06
                                                        Year-End Rating:               03   04      r8l 5        07
            accurately; influencing others;
             keeping others infarmed.



            Compliance                                  Quarterly Progress:

            Honoring University policies and            Exceeds expectations
            regulatory requirements.                                         01 02                          06 07
                                                        Year-End Rating:               03 04        0s

                                                                                                                 -·-·---------~   --   --····--   --~-· ·---"• ·--·-·
            Customcl' Focus                             Quartedy Progress:

            Striving for high customei· satisfaction;   Exceeds expectations
            going out of the way to be helpful and                           01 02                          06 07
                                                        Year-End Rating:               03 04        r8l 5
            pleasant; making it as easy as possible
           for the customer (rather than the
            department or the University).




                                                                                                                                                               2



                                                                                                                 Trahanas-NU000047
   Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 755 of 871 PageID #:2509




NORTHWESTERN BEHAVIORS, continued
-------------------------------------------·------·----~-·-·---
 Efficiency           Quarterly Progress:
Planning ahead; managing time well;           Meets expectations
being   on time; being cost conscious;
                                              Year-End Rating:     0   1   0   2   D3   f8l 4     0   5   0   6   D7
thinking of better ways to do things.

Initiative                                    Quarterly Progi·ess:
Taking ownership of work;                     Meets expectations
~fE_i}!_g what is needed without
being asked;following through.

Leadership (as applicable)                    Quarterly Progress:
Setting clear expectations; reviewing         Meets expectations
progress; providing feedback and
                                              Year-EndRating: 01           02      03   f8l4      Os      06      07
guidance; holding people accountable.




DEVELOPMENT OBJECTIVES

Objective 1:                                  Quarterly Progress:
Devise an independent side project            Meets expectations

                                              Year-End Rating:     01      •   2   •3   18'.j 4       5   06 07
                                                                                                                       _, ~~---·-------·~·---
Objective 2:                                  Quarterly Progress:
Write an original manuscript and present      Exceeds expectations
at a national meeting                         YeaI"-End Rating:    01      02      03   04        C?J 5   06      07




If !JOU need to add mol'e objectives: Please do not try to add rows or columns to this form. Instead, type mldilionn/ o/Jjecti?Jes,
quarterly progress, and year-end ratings in the grey text box below. You will end up with 1·1mning text lo be spllced as !.JOU wish.
Remember to focus on your highest priorities and add ob}ectives only if necessary.




                                                                                                                                                3



                                                                                                                  Trahanas-NU000048
             Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 756 of 871 PageID #:2510




 OVERALL YEAR-END RATING

 D 1 = Unsatisfactory                                 Comments:
 D 2 = Needs Improvement                              Ms. Trahanas has improved her performance in most areas with a particular emphasis

 D 3 = Moderately Effective                           on advanced flow cytometry skills. She should be considered for a performance based
                                                      raise. Areas for improvement include a more detailed management of accounts and
 D 4 = Effective
                                                     better interpersonal communication with members of the laboratory.
 f8l 5 = Highly Effective


 0    7 = Role Model
 See definitions and guidelines
 on ne.xt page.




     ,,-•'   -~;

,l,/~ .,- . t=/{                        - ~ -
Employee's signature:

  nis signanire indicates that the employee has read, but does not necessarily agree with, the year-end rating.
, ·he employee may attach a response page, if he or she wishes.




Manager's supervisor signature (optional):                                                                        Date:




                                                                                                                                            4




                                                                                                                          Trahanas-NU000049
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 757 of 871 PageID #:2511




                        EXHIBIT B
                        DEP. EX. 10
      Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 758 of 871 PageID #:2512




          From:          Diane Trahanas
          To:            Steven Schwulst
          Subject:       Morning Meeting
          Date:          Monday, March 17, 2014 11:39:14 PM


         Hello Steve.

         Just wanted to say Thank you again for meeting with me earlier today and being receptive.
         I'm excited with where things are going. Can't wait until SHOCK and this paper and the new
         stuff gets fine tuned.

         See you in the morning.

         Sincerely,
         Diane


         Diane M. Trahanas
         Northwestern University
         Feinberg School of Medicine
         Division of Trauma and Critical Care
         Department of Surgery
         240 E. Huron St
         McGaw Pavillion M360f
         Chicago, IL 60611
         Lab: 312.503.6260




                                                                                               EXHIBIT




CONFIDENTIAL                                                                              Trahanas-NU009952
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 759 of 871 PageID #:2513




                        EXHIBIT B
                        DEP. EX. 11
         Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 760 of 871 PageID #:2514


                   f ,;                                                              Diane Trahanas <diane.trahanas@gmail.com>


                                                                                                                       ---·--···-·         ,..   .

Fwd: Positions Update
2 messages
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Schwulst, Steven <SSCHWULS@nmh.org>                                                                      Mon, Mar 17, 2014 at 2:15 PM
To: Diane Trahanas <Diane.Trahanas@gmail.com>
                                                                                                                                -~. -- .
 FYI--

 Begin forwarded message:

 From: "Buikema, Nicole" <nashmus1@nmh.org<mailto:nashmus1@nmh.org>>
 Subject: RE: Positions Update
 Date: Marci) 17, 2014 ;(:07:23 PM CDT
 To: "Schwulst, Steven" <SSCHWULS@nmh.org<mailto:SSCHWULS@nmh.org»
 Cc: "Rufer, Rachel" <rrufer@nmh.org<mailto:rrufer@nmh.org>>, "Dulek, Krissy" <kdulek@nmh.org<mailto:kdulek@
 nmh.org>>

 Steve,

 I actually transitioned out of the Department of Surgery and into the BCVI several months ago so I am no longer in the
 Professional Affairs role. However, I can tell you that we will be entering our reappointment/merit increase cycle for all
 NU employees within the next 4-8 weeks. When you complete her annual review, you will also have the opportunity to
 propose a merit increase for her which would be effective on 9/1. Rachel Rufer or Krissy Dulek will be in touch with
 specific information about this process in the coming weeks.

  · you are looking to promote her, that will require a slightly different process but we should certainly begin those
 conversations sooner than later to ensure that a new position is entered into the budget and would then go into effect
 on 9/1, provided it is approved by the HR Compensation team.

 I've copied both Rachel and Krissy on my response so they can be in touch with next steps.

 Best,
 Nicole

 Nicole Buikema
 Bluhm Cardiovascular Institute
 312.926.8686

From: Schwulst, Steven
Sent: Monday, March 17, 2014 10:23 AM
To: Buikema, Nicole
Subject: Re: Positions Update

Nicole,

My lab tech is approaching her 2 year anniversary in the lab and we have started talking about raises and possibly
retitling her position to a higher level. What would that involve and what would be the process to do this?

Thanks,

Steve
                                                                                                  '    EXHIBrT
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Steven J. Schwulst, MD, FACS                                                                     1~5 t/ske
Assistant Professor of Surgery
                                                                                                                  Trahanas 21
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  Northwestern University
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 message is confidential and may constitute proprietary or non-public information under international, federal, or state
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 be unlawful. If you are not the addressee, please promptly delete this message and notify the sender of the delivery
 error by e-mail.



Diane Trahanas <diane.trahanas@gmail.com>                                                    Tue, Dec 16, 2014 at 12:05 PM
To: d-femandez@northwestern.edu

 This is the original email with mention of the promotion back in March.

 [Quoted text h,d(jen)


   iane M Trahanas
 Northwestern Universii.y
 Feinberg School of Medicine
 Division of Trauma and Critical Care
 Department of Surgery
 240 E. Huron St
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 Chicago, IL 60611
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                                                                                                         Trahanas 22
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                        EXHIBIT B
                        DEP. EX. 13
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  Daina L Fernandez

  From:                            Daina L Fernandez
  Sent:                            Wednesday, January 14, 2015 3:43 PM
  To:                              Heather Allwyn Burke
  Subject                          FW: Promotion



  Heather,

  Please follow up with Diana Trahanas. She has reached out to me before. We do not process these unless there is
  approval.via Department and Central FSM. Annette Czech in Compensation would and will process IF approved. Please
  sit down with Dr. Schwulst to discuss whether he has the funding and approval or not. We should not be making these
  types of promises to employees if we don't have the funding or approval. Please follow up as appropriate. I'm concerned
  that this employee might escalate, so please see what you can do by working internally and perhaps with Kathleen
  Dunne.

  Thanks, Daina

  Daina Fernandez, M.A., PHR
  HR Consultant
  Northwestern University
  720 University Place
  Evanston, IL 60208

   'hone: (847) 491-8575 Evanston Tu/Th
  Phone: (312) 503-1762 Chicago Mon/Wed/Fri
  r-ax: (847) 467-2688 Evanston
  Fax: (312) 503-1741 Chicago

  From: Daina L Fernandez
  Sent: Wednesday, January 14, 2015 9:45 AM
  To: 'Diane Trahanas'
  Cc: Steven Schwulst
  Subject: RE: Promotion

  Diane,

 I have emailed our Compensation Analyst, and will follow up today to see what conversations she has had about this. I
 see from the long email trail that there were concerns about the budget tlming, funding and Dean's approval. I'll have to
 touch bases with Annette to see what agreements, if any have been made and whether this is something that has been
 addressed and approved through central FSM. I have a call with her later today on another matter, so !'II be sure to
 discuss with her

 Thanks for your patience,
 Daina

 Daina Fernandez, M.A., PHR
 HR Consultant
 Northwestern University
 720 University Place




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   vanston, IL 60208

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  Phone: (312} 503-1762 Chicago Mon/Wed/Fri
  Fax: (847) 467-2688 Evanston        ,
  Fax: (312) 503-1741 Chicago

  From: Diane Trahanas [mailto:diane.trahanas@gmail.com]
  Sent: Tuesday, January 13, 2015 2:49 PM
  To: Daina L Fernandez
  Cc: Steven Schwulst
  Subject: Re: Promotion

  Hello Daina.

  I hope this email finds you well. It has been well over a month and I am still waiting on an answer and my
  promotion to be backdated and taken into effect. My accountant Vvill be doing my taxes and needs to have all
  the correct information as soon as possible.

  Please let me know when I should expect the changes to be implemented and deposited. As I said before, there
  should be no reason as to why this is taking so long- other promotions and pay raises took into effect
  immediately for other employees. We are talking about almost a year here- since last March. I feel like I am
  being misinformed purposely by the department and my time for my level of work and credentials is not
  properly being compensated. I have been patient and hum\)ly await for your information and response .


  •'hank You,
  Dirme



  On Wed, Jan 7, 2015 at 12:57 PM, Diane Trahanas <diane.trahanasgu.mailcom> wrote:
  Hello Daina.

  Happy New Year!

  Please let me know if you have any more information regarding the promotion. There are changes that need to
  be made in association with this decision. (I have spoken to a few others and they have informed me that once
  a promotion or title change was given to them, their next pay check or the next month's paycheck reflected
  their promotion and pay increase. It will be almost one year that I have been fulfilling these promotional duties
  and have not been paid. In addition, my taxes will need to be completed accordingly.

  Sincerely,




  On Tue, Dec 16, 2014 at 3:01 PM, Daina L Fernandez <d-femandez a northwestem.ed11> wrote:
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                                                                                           Trahanas-NU001887
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   Diane,




   It has to do with the review dates/processes for these types of requests throughout the year. Instead of taking in the
   requests one at a time; Compensation has requested that they come in during the off cycle. I have an email in to our
   Comp Analyst so that we can discuss anything she might be aware of. Heather Burke, as Administrator seems to be in
   the loop which is good.




   Best,

   Daina




   Daina Fernandez, M.A., PHR

   HR Consultant

   Northwestern University

   720 University Place

   Evanston, lL 60208




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   Phone: (3121503-1762 Chicago Mon/Wed/Fri

   Fax: (847l 467-268~ Evanston

   r-ax: (312) 503-1741 Chicago




  From: Diane Trahanas [mailto:diane.trahanas@gmail.com)
  Sent: Tuesday, December 16, 2014 2:01 PM
  To: Daina L Fernandez
  Subject: Fwd: Promotion




  Hello Diane.

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                                                                                                Trahanas-NU001888
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   I am a bit confused again. I am not understanding why Dr. Schvvulst needs to submit all this unnecessary
   paperwork, for something that was submitted and agreed upon back in March.

   In addition, the raise was supposed to be agreed upon back In September (Start of the Fiscal year) and as seen
   in our emails, we were waiting until Dr. Schwulst got back from clinical service so him and I could talk about
   the promotion/raise.

   The emails between Dept. of Surgery HR and I show that when Dr. Schwulst and I come to an agreement, the
   promotion/raise would be sent to the Dean for his signature/approval.

   Why is there even mention of an off cycle budget? This is something that was during the fiscal year cycle.

   Please let me know how to proceed.

   Thank you for your time and efforts.



   Sincerely,

   Diane



   ---------- Forwarded message ----------
   From: Steven J Schwulst <s-sch\onllst)northwestem.edu>
   Date: Tue, Dec 16, 2014 at 1:15 PM
   Subject: Fwd: Promotion
   To: Diane Trahanas <Diane.Trahanas u';.:maiLcom>

   See below. Can you start this while I am on service?

   Steven J. Schwulst, MD, F ACS

   Assistant Professor of Surgery

   Northwestern University

   Department of Surgery

   676 N. St. Clair St., Suite 650

   Chicago, IL 60611

   (312 >_695-3903


  Begin forwarded message:

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       From: "Burke, Heather" <hburke@nm.org>
       To: "Steven J Schwulst" <s-schwulst'iinorthwestern.edu>
       Cc: "Rufer, Rachel" <rrufer"@nm.orl!>, "Scarpelli, Chris" <Cscarpel(a),nm.org>, "Dulek,
       Krissy" <kdulek:1imn.orn>
       Subject: RE: Promotion

       Hi Dr. Schwulst,

       The process for requesting an off-cycle increase is attached. This document details the steps in
       the process, as well as supplementary information that you'll need to provide in order to move
       forward in the process.

       Please let me know if you have any questions.

       Thanks,
       Heather

       Heather Burke
       Manager of Professional Affairs
       Department of Surgery
       Northwestern Medical Group

       312.926.651.i office
       hburke"a'nm.orn<mailto:nashmusl:11nmh.onr>

       From: Steven J Schwulst [mailto:s-schwulshln._orthwestern.edu]
       Sent: Friday, December 12, 2014 2:00 PM
       To: Burke, Heather
       Cc: Diane Trahanas
       Subject: Re: Promotion

       Thanks Heather,

       After further discussion, there is not a v..rritten offer that can be shared. Nonetheless, I would
       really like to push for diane getting higher compensation off-cycle. Please advise on how to
       proceed.


       Steven J. Schwulst, MD, FACS
       Assistant Professor of Surgery
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        On Dec 11, 2014, at 2:29 PM, Burke, Heather wrote:


       Hi Dr. Schwulst,

       The mechanism for securing a higher compensation for Diane would be an off-cycle budget
       request. Attached is an outline of the off-cycle budget request process and all of the
       information we would need to proceed. Off-cycle budget requests are usually discouraged,
       however the fact that Diane does indeed have an offer somewhere else may help the case.

       We'll need to learn a bit more about the other offer- can you please send us a copy of her
       competing offer?

       Thanks so much,
       Heather


       Heather Burke
       Manager of Professional Affairs
       Department of Surgery
       Northwestern Medical Group

       312.926.6512 office
       hburkei<tlllm.or!.!<mailto:nashmus 11ammh.or!.!>

       From: Steven J Schwulst [mailto:s-schwulstlil•northwestern.edu]
       Sent: Thursday, December 11, 2014 9:22 AM
       To: Burke, Heather
       Cc: Christopher J Scarpelli; Shapiro, Michael
       Subject: Re: Promotion

       Heather,

       I have a problem. Diane, my research technician, is really unhappy with her compensation and
       is actively looking for and has received an offer for alternate employment. Other than her
       compensation, she is happy with the work and the work environment. I cannot afford to have
       Diane leave right now for a higher paying job, it will bring my research effort to a screeching
       halt. I need to get her a higher hourly wage. We need to find a way around this. Please
       advise.


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       On Sep 29, 2014, at 12:34 PM, Burke, Heather wrote:




       Unfortunately, the Dean's Office won't approve an off-cycle request of this nature due to the
       timing and source of Diane's salary since it is not funded.

       Heather Burke
       Manager of Professional Affairs
       Department of Surgery
       Northwestern Medical Group

       312.926.6512 office
       hburke@nmh.org<mailto:nashmus1(i/:nmh.org>

       From: Schwulst, Steven
       Sent: Monday, September 29, 2014 11 :43 AM
       To: Burke, Heather
       Subject: RE: Promotion

       There is now mechanism to increase her salary to a higher percentage until next year?

       From: Burke, Heather
       Sent: Monday, September 29, 2014 11:42 AM
       To: Schwulst, Steven
       Cc: Scarpelli, Chris
       Subject: RE: Promotion

       Dr. Schwulst,

       I apologize for my delay, I was out at the end of the last week.

       Unfortunately, since this request is now considered an «off-cycle" budget request and Diane's
       salary isn't funded, it won't be approved by the Dean's office. We will need to make sure we
       include this promotion and associated salary increase in the budget/salary planning cycle next
       year.

       Also, I see Diane had emailed us late last week, can you please communicate this update to
       her?

       If have any additional questions, please feel free to reach out to Chris Scarpelli directly.

       Thanks,
       Heather
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       Heather Burke
       Manager of Professional Affairs
       Department of Surgery
       Northwestern Medical Group

       312.926.6512 office
       hburke(jlnmh.org<mailto:nashmus 11,ilnmh.org>

       From: Schwulst, Steven
       Sent: Wednesday, September 24, 2014 4:29 PM
       To: Burke, Heather
       Subject: RE: Promotion

       Heather,

       I hate to do this, but I can't afford to lose Diane right now. Can we make her an RT3 at
       $21/hr. This should placate things for the time being.

       Steve

       From: Burke, Heather
       Sent: Wednesday, September 24, 2014 4:22 PM
       To: Schwulst, Steven
       Subject: FW: Promotion

       Hi Dr. Schwulst,

       Please see email below from Diane Trahanas. She reached out to Krissy with questions about
       her salary letter, which per our conversations, reflects the 3% merit increase that was originally
       submitted and keeps her at Research Tech. 2. We agreed that promotion would be pursued next
       year.

       Krissy advised that Diane reach out to you directly about this.

       Thanks,
       Heather



       Heather Burke
       Manager of Professional Affairs
       Department of Surgery
       Northwestern Medical Group

       312.926.6512 office
       hburket'ii)nmh.org<mailto:nashmus 1 ri,1mmh.org>




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       From: Dulek, Krissy
       Sent: Wednesday, September 24, 2014 4:18 PM
       To: Diane M Trahanas
       Cc: Burke, Heather
       Subject: RE: Promotion

       Hi Diane,

       Thanks so much for reaching out to me regarding you concerns. I certainly appreciate the
       questions that you have, but unfortunately am not the appropriate person to answer these
       questions. I urge you to please reach out to Dr. Schwulst with your concerns. As your
       supervisor, he would be your point of contact.

       All my best,
       Krissy

       Krissy Dulek
       Manager, Research Administration
       Department of Surgery
       Feinberg School of Medicine
       Northwestern University
       Chicago, IL 60611
       Ph: 312-926-7287
       Fax: 312-926-7404

       From: Diane M Trahanas [mailto:diane.trahanas'a'northwestem.ed!!]
       Sent: Wednesday, September 24, 2014 2:34 PM
       To: Dulek, Krissy
       Cc: Rufer, Rachel
       Subject: Promotion

       Hello Krissy.

       I have received a letter from Chris Scarpelli about my Annual Merit Increase. I wanted to
       inform you that this is not reflective of the promotion Dr. Schwulst issued me back in March.
       The title change should be from Research Tech 2 to Research Tech 3. The baseline pay for this
       is $20.55-$25.70 with the mid range being $23.13. With 2 Bachelors Degrees and a Masters
       Degree the increase is supposed to be at the very minimum mirroring my Research Tech 2
       rnidline pay ($23.13). I have been fulfilling my Research Tech 3 responsibilities since March
       and have yet to see the reflected title and pay change. Please let me know what other
       information you may need from me. I hope to hear from you soon.

       Thank You for your time and efforts.

       Sincerely,
       Diane

       From: Rufer, Rachel [rrufeuqunh.oru<mailto:rrufer wnmh.or,g>]


       Sent: Friday, June 27, 2014 2:50 PM
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                                                                                     Trahanas-NU001894
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        To: Diane M Trahanas
        Cc: Dulek, Krissy
        Subject: promotion RE: Chart Strings and Finances for Dr. Schwulst Lab
        Hi Diane,

        I understand your concern about receiving your promotion. This is something that is in the
        works for the new fiscal year which starts September I.

        Please let Krissy or I know if you have any questions.

        Thanks,
        Rachel


        From: Diane M Trahanas [mailto:diane.trahanas i1 northwestem.edu]
        Sent: Friday, June 27, 2014 12:27 PM
        To: Rachel C. Rufer
        Subject: Chart Strings and Finances for Dr. Schwulst Lab

        Hello Rachel.

        I have been informed again that the chart string I am using on our animal ordering is incorrect/
        or insufficient.
        Which Chart string has funds left for me to purchase mice/ Jab supplies on?

        The new Chart string \\Till not be in effect until July 1st, so I believe I need to use up that older
        one first.

        In addition, I know Dr. Schwulst submitted the paperwork for my promotion, but I have not
        seen the change since the submission. Is there someone I or Dr. Schwulst need to contact? Its
        been months that my pay increase has not been in effect- do we need to backdate this?

        Thank You for your time and efforts.

        Sincerely,
        Diane


       Steven J. Schwulst, MD, F ACS
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       Northwestern University
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       Fax il.lli 695-3644




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          <Off-Cycle_Increase_Process.pd£>




   Diane M. Trahanas
   Northwestern University

   Feinberg School of Medicine

   Division of Trauma and Critical Care

   Department of Surgery

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  Diane M. Trahanas
  Northwestern University
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 Diane M. Trahanas
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 Division of Trauma and Critical Care

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~U Northwestern
1,..., I Medicine·
     Northwestern University
     Feinberg School of Medicine




     September 2014



     Diane Trahanas
     Research Technologist 2
     MED-Trauma & Critical



     Re: Annual Merit Increase



     Dear Diane,

     I am pleased to inform you that you are being awarded a merit increased based on your performance over the
     last review period, as evaluated by your supervisor, as well as the position of your pay rate within the pay
     range and available funds.

     Effective September 1, 2014, your new hourly rate is $20.06 for an annual salary of $39,267.45, which will
     appear in the paycheck you receive on September 19, 2014.

     Your work in the Department of Surgery is greatly appreciated!




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         ..,,,.--..,.
       Gr~                      r

      FW: Promotion

     Schwulst, Steven <SSCHWULS@nmh.org>                                                                                   Wed, Sep 24, 2014 at 4:27 PM
     To: "Diane. Trahanas@gmail.com" <Diane. T rahanas@gmail.com>


        DinBc.



       Cm1 \Ve talk about ihi.:; ,vheH l ;:111 off ,trvice? My irnr)l'es~ion 1\as 1k111/Ji-, ~va~ ,1 subqantial percentage r:iise
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       From: Burke, Heather
       Sent: Wednesday, Sertember 24, 2014 4:22 PM
       To: Schwulst, Steven
       Subject: FW: Promotion


       Hi Dr. Scln\Ulst.



      Ple;ic;e St'e email lwlow from 1·,i,,11\:' irahan;J'- Sh" r,·,Khcd l'l!l ru Kri:,cc) .,, 1ih qtJ<>stic,n:,;:  her ½aim) kltt'L
      which pl"r our con\·('r<;8tion•; L"ilech the :;rx m(rit incrC,hl' rhat \,·a.;;         ·nali) suhrnitte:d and k,:cps her at
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        Heather Burke
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        lkp:1nn1.:n1 <)f S,11·gcl\




        312 926 6512 o/!:n·
        hburke@nrnh.org




       From: Dulek, Krissy
       Sent: Wednesday, September 24, 2014 4:18 PM
       To: Diane M Trahanas
       Cc: Burke, Heather
       Subject: RE: Promotion



       Hi Diane.



       ·rhanks so much for rcach1np ·.,,I! t1l 1112 regarding ynu c(mccrns. I ccrt<iinly appreciate the questions that you
       have. but unfor1unately am 11\\. iht.' <1ppropria1t person lo answer !hes,~ quc'.-tions. l urge you lo pkasc reach out
       to Dr. Scllwulst with your co1h .·ms. 1\:-:: your ~upcnis,)r. he would be your pnint of contact.




        .ll lll) bc-:t.




     Feillbt'rc: Schnol d \1ecki1L·




     Ph: 312-926-7287

     hi\: 312-926-7404




        1m: Diane M Trahanas                 I,,

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                                                                                                                                     Trahanas 262
                Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 780 of 871 PageID #:2534

        Sent: Wednesday, Septembe, 24, 2014 2:34 PM
        To: Dulek, Krissy
        Cc: Rufer, Rachel
        ~ubject: Promotion


        Hello Krissy.



        I have received a letter from Chris Scarpelli about my Annual Merit Increase. I wanted to inform you that this is not
        reflective of the promotion Dr. Schwulst issued me back in March. The title change should be from Research Tech 2 to
        Research Tech 3. The h;:iseline pay for this is $20.55-$25.70 with the mid range being $23.13. With 2 Bachelors
       Degrees and a Masters Degree the increase is supposed to be at the very minimum mirroring my Research Tech 2
       midline pay ($23.13). I have been fulfilling my Research Tech 3 responsibilities since March and have yet to see the
       reflected title and pay change. Please let me know what other information you may need from me. I hope to hear
       from you soon.



       Thank You for your time and efforts.



       Sincerely,

      Diane




      From: Rufer, Rachel [~:uter@',', n org]
      Sent: Friday, June 27, 2014 2:50 PM
      To: Diane M Trahanas
      Cc: Dulek, Krissy
      Subject: promotion RE: Chart ,trings and Finances for DL Schwulst Lab

      lli Diafa'



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     lls"~al year \vhicJ; ~tnns SepU·ir'i·:,:r         1




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                                                                                                                                               T rahanas 263
               Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 781 of 871 PageID #:2535




        From: Diane M Trahanas [maillo d1ane trahanas@northv1estern.edu]
       Sent: Friday, June 27, 2014 12:27 PM
       To: Rachel C. Rufer
       Subject: Chart Strings and Finances for Dr. Schwulst Lab


       Hello Rachel.



       I have been informed again that the chart string I am using on our animal ordering is incorrect/ or insufficient.

       Which Chart string has funds left for me to purchase mice/ lab supplies on?



      The new Chart string will not be in effect until July 1st, so I believe I need to use up that older one first.



      In addition, I know Dr. Schwulst submitted the paperwork for my promotion, but I have not seen the change since the
      submission. Is there someone I or Dr. Schwulst need to contact? Its been months that my pay increase has not been
      in effect- do we need to backdate this?



      Thank You for your time and efforts.



     Sincerely,

     Diane

     This message and any included attachments are intended only for the addressee. The information contained in this
     message is confidential and may constitute proprietary or non-public information under international, federal, or state
     laws. Unauthorized forwarding, printing, copying, distribution, or use of such information is strictly prohibited and may
     be unlawful. ff you are '"'vi the addressee, please promptly delete this message and notify the sender of the delivery
     error by e-mail.



  Diane Trahanas <diane.trahane5@gmail.com>                                          Wed, Sep 24, 2014 at 5:58 PM
  To: "Schwulst, Steven" <SSCHVI ULS@nmh.org>, "Dulek, Krissy" <kdulek@nmh.org>, hburke@nmh.org

    Hello Everyone.

    I just wanted to keep us all on the same page, so emailing all those concerned with the promotion. Dr. Schwulst is on
    Clinical Service and I would like to wait to talk with him when he returns to get everything straightened out. His clinical
    service won't be completed until the end of next week- falling into the month of October. He is very busy during his
    clinical time and don't think spamming everyone with emails will make any progress.


1tlps:/lma,l.google com/ma1l/u/0/?u1=2&1k= bd84 cec824&v,ew,,,pt& .. =148b2fa709ca02 27 &s,ml= 14a54435ee28f 33a&s,ml= 14a54b52197ctaa66   Page 4 of 10



                                                                                                                                 Trahanas 264
               Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 782 of 871 PageID #:2536

        My concern: Will the clarification/agreement we make when he returns in Oct. take effect for THIS September 2014? If
        so, I would prefer to wni1 until Dr. Schwulst returns. However, I am uncertain of how the "fiscal year" rules apply.

        Please let us know.

        Thank You.

        Sincerely,
        Diane

       [Quoted text hiddenJ


       Diane M. Trahanas
       Northwestern University
       Feinberg School of Medicine
       Division of Trauma and Critical Care
       Department of Surgery
       240 E. Huron St
       McGaw Pavillion M360f
       Chicago, IL 60611
       Lab: 312.503.6260



   Schwulst, Steven <SSCHWUL:1@nmh.org>                                                                                   Wed, Sep 24, 2014 at 6:01 PM
   To: Diane Trahanas <diane.traha·1as@gmail.com>


      FYI-


      The K resubmission got an            :1!,,ul1J1t>I)   horribk ,cnre ... PVt'r 2.5 x l()v.a 1han 1ht" 1H·iginal submis~ion.



      From: Diane Trahanas [mailto: ::;ane.irai1anas@gmail.com]
     Sent: Wednesday, Septc111ber 24, 2014 5:58 PM
     To: Schwulst, Steven; )ulek, Krissy; Burke, Heather
     Subject: Re: FW: Promotion
     [Quoted text hrdden]
     [Quoted text hidden]



  Diane Trahanas <diane.trahanas@gmail.com>                                                                              Wed, Sep 24, 2014 at 6:06 PM
  To: "Schwulst, Steven" <SSCHWULS@nmh.org>

    did u tell Harris yet?

    (Quoted text hidden]



 Schwulst, Steven <SSCHWULS@nmh.org>                                                                                    Wed, Sep 24, 2014 at 6:08 PM
 To: Diane Trahanas <diane.trahanas@gmail.com>




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                                                                                                                                       Trahanas 265
                   Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 783 of 871 PageID #:2537

                                                                                                                  p1.1snivc rcvi,:\, s Thi.; is the qrnc gnmt ju,r




         From: Diane Trahanas [mailto:.::·sne t1al1anas@gmail corn]
         Sent: Wednesday, September 24, 2014 6:06 PM
         To: Schwulst, Steven
         Subject: Re: FW: Promotion
         [Quoted 1ex1 hidden]
         [Quoted text h,dden)



     Diane Trahanas <diane. trahanas@gmait.com>                                                                                                 Wed, Sep 24, 2014 at 6:16 PM
     To: "Schwulst, Steven" <SSCHWULS@nmh.org>

         I know its a different institute, (,owever maybe b/c of all this funding being cut- they are shutting more people down
         and HARD.
         I believe this was the grant that Harris made you re write.

        1.) Can we submit your original good score submission ?
        2.) Can we submit your original good score submission? alongside this "newly scored" submissions edited version?
        3.) ?????

        #whyaretheysomean

        fQuoled lex! hidden]



          ne Trahanas <diane.tr;,han,3s@gmail.com>                                                                                              Fri, Sep 26, 2014 at 10:36 AM
          'Dulek, Krissy" <kdUlc!;.;@nmh.org>, hburke@nmh.org

       Hello Krissy and Heather.

       l am just following up on my ernail regarding waiting to speak with Dr. Schwulst, when he returns from clinical service
       about my promotion

       My concern: Will the clarif1cation/agreemenl we make when he returns in Oct. take effect for THIS September 2014? If
       so, I would prefer to wait until Dr Schv..;ulst returns. HowE,ver, i am unceriain of how the "fiscal year" rules apply.

      Please !et me know as soon as possible.
      Thank You,
      Diane
      [Quoted lex! hidden)



  Dulek, Krissy <kdulek@nmh.org>                                                                                                               Fri, Sep 26, 2014 al 12:18 PM
  To: Diane Trahanas <diane.trahanas@gmaiLcom>, "Burke, Heather" <hburke@nmh,org>

      Diane,

     Any changes would need 1o be approved by the FSM Dean's Office. If some change is approved, they can retroact.

     Thanks,
     Krissy




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                                                                                                                                                             Trahanas 266
                 Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 784 of 871 PageID #:2538

            From: Diane Trahanas [diane t, :c•>1nas@gmadcorn]
            Sent: Friday, September 26, 2014 10:36 AM
            To: Dulek, Krissy; Burke, Heather
            Subject: Re: FW: Promotion

            Hello Krissy and Heather.

            I am just following up c ;i my email regarding waiting to speak with Dr Schwulst, when he returns from clinical seNice
            about my promotion.

         My concern: Will the clarification/agreement we make when he returns in Oct. take effect for THIS September 2014? If
         so, l would prefer lo wait until 1r Schwulst returns. HowEver, I am uncer1ain of how the "fiscal year" rules apply.

         Please let me know as soon as possible.
         Thank You,
         Diane

        On Wed, Sep 24. 2014 at 5 58 PM. Diane Trahanas <ciiane lrc-ih2nas@ 2 me::.coi-n<mailto:diane trahanas@gmaii
        com>> wrote:
        Hello Everyone.

        I just wanted to keep us all on the same page, so emailing all those concerned with the promotion. Dr. Schwulst is on
        Clinical Service and I would like to wait to talk with him when he returns to get everything straightened out. His clinical
        service won't be completed until the end of next week- falling into the month of October. He is very busy during his
        clinical time and don't p-,;;il; sµamming everyone with emails will make any progress.

        My concern: Will the clarification/agreement we make when he returns in Oct. take effect for THIS September 2014? If
        so, I would prefer to wait until Dr. Schwulst returns. Howe,ver, I am uncertain of how the "fiscal year" rules apply.

        Please let us know.

        1   hank You.

       Sincerely,
       Diane


       On Wed, Sep 24. 2014 at 4 27 PM, Schwulst, Steven <S3CHVVULS@ntnh cg<mai!to SSCHWULS@nmh.org>>
       wrote:
       Diane.

      Can we talk about this when l am off service? My impression was that this was a substantial percentage raise (4.5% I
      think?) and in line with ,,.met we c!iscussed at your review Please refresh my memory if this is incorrect

      Steve
      From: Burke, Heather
      Sent Wednesday. Seotember 24. 2014 4:22 PM
      To: Schwulst, Steven
      Subject: FW: Promotion

     Hi Dr. Schwulst.

     P!ease see email below from Diane Trahanas. She reacred out to Krissy with ques1ions about her salary letter, which
     per our conversations. reflects ths 3% merit increase tha· was originally submitted and keeps her at Research Tech 2.
     We agreed that promotion would be pursued next year.

            ssy advised that Diane reach out to you directly about this

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                                                                                                                                                         Trahanas 267
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         Thanks,
         Heather




         Heather Burke
         Manager of Professional Affairs
         Department of Surgery
         Northwestern Medical Group

        312 926.6512<tel:312 926.6512> office
        hburke@nmh.org<mailto:na!.:n 11111s i@nmh.org>

        From: Dulek, Krissy
        Sent: Wednesday, September 24, 2014 4:18 PM
        To: Diane M Trahanas
        Cc: Burke, Heather
        Subject: RE: Prornotio!I

        Hi Diane,

       Thanks so much for reaching 0ut to me regarding you concerns. I certainly appreciate the questions tha1 you have,
       but unfortunately am not the a .propriate person to answer these questions. I urge you to please reach out to Dr.
       Schwulst with your concerns. 1 s your supervisor, he would be your point of contact.

       All my best,
       Krissy

      Krissy Dulek
        anager, Research Administration
      Jepartment of Surgery
      Feinberg School of fv'ledicine
      Northwestern University
      Chicago, IL 60611
      Ph: 312-926-7267<tel:3i7 9:,c, ~''.if7>
      Fax: 312-926-7Li04<tel :: ::: 9;,;:; i4Q,,>

      From: Diane M Trahanas [maino J;ane trar1;:m2s@northwestern.ec!u]
      Sent Wednesday, September 24, 2014 2:34 PM
      To: Dulek, Krissy
      Cc: Rufer. Rachel
      Subject: Promotion

     Hello Krissy.

      l have received a letter from Chris Scarpelli about my Annual Merit Increase. i wanted to inform you that this is not
     ref!eclive of the promotion Dr. Schwulst issued me back in March. The title change should be from Research Tech 2 to
     Research Tech 3. The baseline pay for this is $20.55-$2:,. 70 with the mid range being $23.13. With 2 Bachelors
     Degrees and a Masters Degree the increase is supposed 10 be at the very minimum mirroring my Research Tech 2
     midline pay ($2313). l have been fulfilling my Research Tech 3 responsibilities since March and have ye1 to see the
     reflected title and pay change Please Jet me know what other information you may need from me l hope to hear from
     you soon

     Thank You for your tim , and efforis.

         -::ereiy.

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                                                                                                                                                Trahanas 268
                Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 786 of 871 PageID #:2540

        Diane


        From: Rufer, Rachel [rrufer@nn111 org<mailto:rruier@nml1.org>J
        Quoted text hidden]
       Lab: 312.503.6260<tel:312.503 f:i260>




      Diane M. Trahanas
      Northwestern Universit :r
      Feinberg School of Medicine
      Division of Trauma and Critical Care
      Department of Surgery
      240 E. Huron St
      McGaw Pavillion M360f
      Chicago, IL 60611
      Lab: 312.503.6260

      [Quoted text h;dden)



   Diane Trahanas <diane.trahanas@gmail.com>                                                                                  Tue, Dec 16, 2014 at 12:01 PM
   To: d-femandez@northwestern.edu

      Hello Diane.

     These are some of the emails exchanged. I am not sure what the status is of the promotion, but I wanted to send you
     •tie emails requested.
       Iave spoken to Dr. Schwulst and he is aware that I have spoken with you and that I will not be giving a competing
     dgreernent to him/department.

     Please let me know if you h~v,'! any other questions.

     Much appreciation,
     Diane Trahanas

     [Quoted text h;dden)


    Diane M. Trahanas
    Northwestern University
    Feinberg School of Medicine
    Division of Trauma and Critical Care
    Department of Surgery
    240 E. Huron St
    McGaw Pavillion M360f
    Chicago. IL 60611
    Lab: 312.503 6260



 Diane Trahanas <diane.trahana::,@gmail.com>                                                                                 Tue, Dec 16, 2014 at 2:06 PM
 To: d-fernandez@northwestern.edu
   Additional information that may help piece the story together and allow you to help me understand what is going on.


lips ://ma1l.google.com/marl/u/0/? uI= 2& 1k = bd84 cec824 & view= pl& .. = 148b2f a 7 09ca0227 & s1ml= 14a54435ee28133a&s Iml= 14a54 b52 f97da a66     Page 9 of 10



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                Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 787 of 871 PageID #:2541                                             Yf • I.JI   r...i,   j   J ,WI   J""\IVI




         Thank You,

        Diane
        --------- Forwarded message ----------
        From: Schwulst, Stev~;; ~ssc: !WULS@nmh.org>
        Date: Wed, Sep 24, 2014 at 4:27 PM
        Subject: FW: Promotion
        To: ''Diane Trahanas@gmaiicorn" <Oiane.Trahanas@grnail.com>

        [Quoted text hidden]




       Diane M. Trahanas
       Northwestern University
       Feinberg School of Medicine
       Division of Trauma and Critical Care
       Department of Surgery
       240 E. Huron St
       McGaw Pavillion M360f
       Chicago, IL 60611
       Lab: 312.503.6260




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                                                                                                                                       Trahanas 270
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                        EXHIBIT B
                        DEP. EX. 18
                  Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 789 of 871 PageID #:2543
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         _,...--...,.
        G i ✓1
      Fwd: D. Trahanas Promotion

     SSCHWULS@nm.org <SSCHWULS@nm.org>                                                                                 Tue, Jan 13, 2015 at 3:40 PM
     To: Diane.Trahanas@gmail.com

        See below. I don't kno·,•.: what you've been doing but you need to stop. There is a specific protocol to get this done.
        We will talk on Friday when I am back from paternity leave.

        Steven J. Schwulst, MD, FACS
       Assistant Professor of Surge!)
       Northwestern University
       Department of Surgery
       676 N. St. Clair St., Suite 650
       Chicago, IL 60611
       (312) 695-3903
                                                                                                                          EXHIBIT
       Begin forwarded message:


                    From: "Burke, Heather" <hburke@nm.org>
                    Date: January 13, 2015 at 3:34:59 PM CST
                    To: "Schwulst, Steven" <SSCH'NULS@nm.org>
                    Cc: "Dulek, Kri~sy'· <r:::1L.:;_ ':£nm.erg>, "Rufer, Rachel" <rrufer@nm.ofg>, "Scarpelli, Chris"
                    <Cscarpel@nrn 1_,,g>
                    Subject: D. Trahanas Promotion


                   Dr. Schwulst,



                  HR-Compensation contacted me on Friday regarding Diane Trahanas' promotion. Diane has been
                  contacting them directly, rather than working with you and the department. It isn't appropriate for the
                  employee to be making this request directly, rather the employee's supervisor/manager should be
                  submitting the request. Additionally, per the departmental policy, this request must first come to the
                  department, along with a number of additional items, for review and approval before HR and HR-
                  Compensation can get involved.



                 In order to move forw<'!rd, we ask that you follow the process (attached again for your reference). Please
                 submit the follo\',1;ng items to me via email:

                     Request approval for an off-cycle promotion with an amount or percentage that you would like the
                salary to be increased by as a guideline

                                Detail wry an off-cycle increase is being requested:

                                   o Review prior year's performance evaluation. If the performance
                                   evaluation warranted a request for a higher increase, why was the request


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                                                                                                                                  Trahanas 45
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                                                                                            .... , ,....,, 'v,   .




                  not made at that time?

                  o If a higher increase was requested at the time of budget and was
                  rejected, why?

                 ·: Were funds budgeted for an increase in salary?

              What is the justification for the off-cycle increase?

                 o Wh8t additional duties is the employee performing?

                 o If applicable, consult the job description and Job Families matrix found on
                 the HR website, to determine if current duties being performed are in line
                 with job being performed. The Job Family matrixes can be found at the link
                 below. The department or HR may be able to provide the job description.

                 c http :/rwww. northwestern edu/hr/comper sation/job-families-
                 descnpt1ons/job-fami!ies/inde x. htm!

                 o If possible include a mid-year performance evaluation.

                " Retention off-cycle increases will only be considered if an offer has been
                made by another department or company. Proof of the offer must be
                provided.



 Please note, in addit1Jn to department review and approval, the FSM Dean's office must
 also approve this request



 Piease let me know if you have any additional questions and I look forward to receiving
 the above information



 Thanks,

Heather




Heather Burke
Manager of Professional Affairs
Department of Surgery

Northwestern Medical Group

25i E Huron Street, Gaiter 3-150
Chicago, Illinois 60611
3 '12 926 c;::;:":::. office


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                                                                                    Trahanas 46
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                        EXHIBIT B
                        DEP. EX. 22
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 792 of 871 PageID #:2546




                                                             ,.                                ld'l     a   lo
                                                          L''




                                                                                r   ,.,., '                     I°'-   '




     Good Morning, I'm on the 6:37 train and should be at the lab by 740. , I
     don't want to forget to do the NSS, let's meet around 8:10-15. I'll set up
     in th

                                           C      : ·,   ),',            fl..       (',•                    0     C




     e procedure room , and run the NSS before u come down.?.

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                ~
                I Sour:i9_s:gqod.     I have -grand rounds till BAM then need to cha nge my
                :..
                 '
                    clothes
                      ,·
                            .. I'll be down after that
                         .....
                 •   .l   • -•   L,_   '   -




                                                                                                                               How's lb's morning?




                                               Call me when you 're ready to head to the mouse house.

                                               ,',J      <..'v

                                                                 ~~.,-ii_-rP~ -
                                                                   I'll meet you in mouse house--around 8:35-8:4 0
                                                                                           -                               .




     Sounds good                                                                                                                 '    EXHIBIT
                                                                                                                                 ! 1-2
                                                                                                                                 C


                                                                                                                                 ltr~5 dsi;s
                                                                                                                                Trahanas-NU002177
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 793 of 871 PageID #:2547



                                                              , l




     Def just saw this, sorry :(




     Sorry!! I missed The earlier train. I'll be there by 9. Let's meet at 9:30
     in the procedure room.

                                   \       •·       ,   L l         ' i·"   ,   • •   ~r               ;,   i ..




     Hey, so I have to re-download the files from the LSR computer. I have
     to wait for Sasha to finish be he is running some hour long plate. As
     soon as he's

                               C   I   t        "                                    o             r   11   d



     done I can hop on, download and then flowjo the data from yesterday.

                              Jov b                                                        '   I




     Hey, so I have to re-download the files from the LSR computer. I have
     to wait for Sasha to finish be he is running some hour long plate. As
     soon as he's

                                   · 1h         L 1~



     done I can hop on, download and then flowjo the data from yesterday.

                                                                                1   1anf' , ra11an;:;<


     Hey Harris should be ready in fifteen to twenty minutes to meet in the
     lab.


                                                                                                                   Trahanas-NU002178
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 794 of 871 PageID #:2548




     Train is running ten min behind. I should be there by 8:10




                                     t    '       L::J   ,    J

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                                                                                                                                                    11
              ' ·Let me know wl1en you have -everything together so I can come get the
              ' data ·                                                                            .                                                 i
              ~~~~--. -·                                                                                                                    ·- - -i
                                                                              r"                 .. (' .




                                                         ,·       '


     Hey Steve. Are u going to Harris' lecture? I'll be there in a few min.
     Rans is going to show me where its at.

                                                                                   fQ1   i   I   ...---J   ~           cJ




     Rana**




                 1
     Hahaha ... l 11 be there in 5. On the bus still:(

                                                                                                           .-.,   lj   .-'IC




     One hour in this class and I've learned a bunch.

                                         '. IC,               l       <:,   Al\· TO      Diane ; ;·            ,r -i




                                                                                                                               Trahanas-NU002179
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 795 of 871 PageID #:2549




     Yea ... A lot of info yesterday. Some things I knew, but have a better
     understanding of how and y we do things the way we do for flow. It's
     been raining/




     cloudy here.


                                                                                                      -
                                                                                                          Haha
                                                                                                  :::\ __::.- -~-.-; ....
                                                                                                                       .    .




     Loi , its karma for sending Rana my 75 deg forecast.

                                                                          ,     I     '




     Hey- I had to go to church, on my way now.




                                                              T


     Hahaha, if I were Rana I would say yes. Loi. Its for my grandmas
     memorial.

                                 l        ,.,,r     1.,np     d       ,




                                        .'(         JJ   •£       1           'l ..



     Church and confession .

                                 ...,         'I




                                                                                          Trahanas-NU002180
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     Kk

                                      /




     They let us go for lunch then we gotta go back to be selected from a
     big group of jurors. That's when ill tell them my impartiality.




     This is brutal.. . They are interviewing us still .. I'm probably going to
     come by after and make our cocktails for tom .


                                                            .. •           I~-/,' -   '"' .,             • , ..__   ~       •-·}   _..::::=:.,.._   •   -   --,-




                                                                                                     S~~r.t .:k~~:.Yo~~~fnt
                                                                                                                                                                                     I




                                                       ., :· {0,·~-~\t]~~                                                                                               an_y~1ing?       :1



                                               1 \          ')                                       I   l




                                          '1         t, (        i   r,.                1C     jl·




     Thanks again for Lunch. Congrats to us :)

                                                                                      r ia . .,              " n        <




     I'm on my way, ill show u the data on prism and then we can see if you
     want to hit some heads today to prep tissue Monday.? .

                                                                                 .,
                                                                                                                                                               -    -


                                                                                                                                                                   What time?            I




                                                                                                                                     Trahanas-NU002181
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     I should be back by 1130. I'll start as soon as I get there.




     Sorry Big funeral so taking longer than usual.




                                                1 -SJ           (    1,- ~.




     Kk, sounds good . I'm waiting on Salina to give me a mouse.

                                'I a y   ~' / (.,
                                                    1
                                                        '   '   U'            .r   1   1r   F




                              . d'/ ',                               /1 \



     Let's do 9:30. Trains behind schedule




                                                                                                             II
     Another freight train delay so now I gotta take the eta. I'll call u when
     I'm all set up




     I'm Sorry.




                                                                                                Trahanas-NU002182
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                                                                                                  ,..,;,               -




                                                                                              .. ~e_•~e in lab meeting room




                                                                                                                 . How is my sweet LB?
                                                                                                                       .        -           .


                                                                    I.
                                                                                                           .-      .                             .

                                                                                                           Sorry meant                          tc;,r my wife ...
                                                                                                           --               ~       -   -                           .


                                          ) c<                           ;   :,



     Your presentation is going to blow these guys outta the water. Besides
     a couple from earlier they have no personality.

                                                                                  ,..I        r      :'I




                                                                                                                Yeah ... I basically rock ...

                                      ?    , 1      v r


                                                                                    Finally... Let's get some booze

                                            ~    ~r .. ,.

     She's the brunette on his website

                                                  "' .      .   (                        ..       ,t<




                                                                                                                                Where are you?

                                 ,'



     Dr. Brownstein and his group are going to The Mid. I like that idea
     better than any other. Any word from Werschenmeyer lab on activities?




                                                                                                                           Trahanas-NU002183
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                                   LIi       ·,,



                Unfortunately this is the first time I don't have good plans in place ...
                sorry... This meeting is kind of the lamest shock I've been to .. . I'm
                game for anything ... If touring the mid, I think you can also do a tour of
                the navy/marine base .. . Will have to ask the google.

                               d




                                                               Don't call him Dr. Brownstrein his name is Buddy...

                                                                          .   ,,


     It's ok, the Mid /Navy base is cool with me.




     Lolok

                                             .,c.f       .'l         ~.


                                                                                         I'm friggin freezing mr bigglesworth .. .




     It's ridiculously cold- they should have turned the heat on not just the
     air off.

                                                                                         1 •              ,)   '     J   -i




     Is there lunch before kayaking?

                               L,f',                      ("3     L• · - ' CJ~•    (L,   C       E.   1        J, ~,




                                                                   Not sure, I bet we 're on our own. I'm starving.

                                                     I     '~    : 18 ' : ;



     U know I am.

                               l'r-      l               013 '1 '.}3          • ' (' l'        d~P    rar          1',h



                                                                          Meeting in lobby at 7:30 to go to gas lamp


                                                                                                                              Trahanas-NU002184
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     Kk cool

                                                                                                            le   I   l



                                                                                                      What time are we hitting mice?




     I'm thinking around 11?




                                                                                                                                           II
     Ill be there by 815. We can look over flow and then ill set up and etc

                                                                                                      ,.'    l           '-




     Sasha is going to help me at 9- he's going to check my lung hating on
     those 4 non traditional markers.

                                                     <,       l         8                             ,-1'




     Gating*

                                       ,_,                             . : ·, '-)




                                   'O          L          ~       fl                       ,.    •r   rat, .


     BM looked good on flow Jo.

                               "   I         '(J1'            12••q •-~_, •         O'I'    ;_   "'



     Hey Steve. I felt a Iii better yesterday but then i was up all night with
     severe abdominal pain and I was throwing up again. I'm going to my
     docs at 3.


                                                                                                                              Trahanas-NU002185
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                                                   .~ -~~ -   •I   ~.......--r=:•:--:- . . •   ~


                                                   , V'!J~.'( ·:.½'.hqttl1e he)l    1'.~ _t~~. ~~.t?

     Maybe it's a flu bug




     I've never had food poisoning for this long




                                                                                    Stay away...




     Ok I'll keep u posted after the docs




     My doc isn't sure what I have yet. Running blood tests and cat scan.




                                                                           Trahanas-NU002186
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                                         I   ,L
                                                                                           "        '
                                                  -


                            Dude ... Take whatev~r tim~ you _need, ju~t don't g~t me sick .. .
                         .-   -:     '  -                                      .                           '




     I don't wish this on my worst enemy. Thank you




                                                                                                          How are you doing?

                                   'Lt




     I was so dehydrated they didn't get enough blood and I passed out, so
     they gotta redraw.




     But I stopped puking, thankfully.

                                                       v-     (' A v1        · a,   P   r r,        I,~
                                                  Dude, do you need to be admitted for IV fluids?

                                             1    If   LI )             •,



     My doc thinks I may need my gallbladder taken out, but she'll know
     after cat scan, and if I'm not recovered by Monday.




     I can stand today, I drank four big gatorades

                                                                                               r'




     Yesterday and ate some crackers.

                                                                 ;.   '\




     Thank you for asking



                                                                                                          Trahanas-NU002187
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                                                                                                                                       •~-=••~.; . ••    I

                                                                                                                                         Are 'you better?
                                                                                                                                      '-:.o,;i\~ - ·---~-



     Yea, slept a looot

                                             l   .                                                      'JI

                                                                                                              -   .       . _. --:---- ~--   - --:"""'

                                                                                                         Good
                                                                                                         I •
                                                                                                              . See you
                                                                                                             , •     ._
                                                                                                                        tomorrow ; )
                                                                                                   -    -~            -           -    -           ~




     I still have to go back to my doc. This week I needed off to take care of
     personal matters




                                                                                                                                                         Oh yeah

                             ·H c,   ,,.("            (        ,.




     ( it was the one I emailed u about)




                                                                         Come to Harris's office when you get in




               Princess Diana ... You rock . Have a great weekend . I' ll see you Monday.

                                     1   ,-..    ')       £'    (   .-    LI




                                                                              ,. , ,) r.   •P      "I         t12c,



     I sent that before you text me ... But it never went through.

                                                                          1         !   a 1e ':·    t .-,, 2c



     4&5 were the rea lly good hits. 4 was the NSS 8 score.

                                                                                                                                  Trahanas-N U002188
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                               C,   'r) 7r   l     ~,    r   •         •    r•        '     t( ,.,




     I had no reception so they never got sent...

                                                                                          !c ;




     You were right about the hemorrhaging ... Brains 4 and 5 with the
     really good hits had blood in their brains even after perfusion.




                               2,3,6,7, &9 also look like subarachnoid hemorrhage ... No?

                                    21 20    s ,., ..;

     I think a couple of those were just not great perfusions .

                                        /                             • t




     As I test them ill take pies after perfusions.

                                                                 ~'         t)   LI




                                                                                                     Which were sham?


                                                                                                     Trahanas-NU002189
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 805 of 871 PageID #:2559




      8-11

                                                                                           ,.J(t_i'                 ~ . " ' ,..               ' ....                   J~




                             I think we need to keep hitting them until they show near-death curling
                             up and hypoventilation.




     I agree


                                                                                                                                                                       1,.,                   .,, '

                                                                                                                                                  Did 4&5 still have bad deficits at sacrifice?




     4 was still NSS of 7 if not 8.

                                                                                                                                     •• I'        )



     And 5 had an NSS of 6



                                                                  i',...,   ·1· •••    =-- , .. -·             --                                                                                          -

                                                                            We should also keep t hem in groups: no gross contusion or
                                                                  ' hem_o ~rha~_e iS_fDild TBI
                                                                  '-~I                                  I _ : . __               •.



                                                                                '- t       D   I'   1          ., .-..,



     Solid 6 2 hrs post Tbi, 4 hrs and 24 he's

                                                                                  ~}                    .t.0


    Hrs**

                                                                                  S,>1 ~                                  ~, /          :.J       C''-J; r, !_) ane                       l'ld 'JS

                   I       _ f                  7     '•- ...----.- ---~ :             ,                          ...       i    •                       •     •                      -




                       Hmmm ... We really need to make sure our injuries are better across the
                       board.
                       I         .._      •     • -                         w                                                                                      ,          •

               •       -               ,; I •         •   I   I    ....::.__ _             ~            __                  _    _.._         •        -.- _   __      _ __       =        __    --




                                                                                                                                                                                                      Trahanas-NU002190
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 806 of 871 PageID #:2560




      I think the death curl idea is a good start

                                   L      .!(       • /..                1C       1   "'   .,,   dl''.l<;




     Very true, well see what the hitting tests yield this week.




                                                                        All right... Good work. Go do your P90X

                                                    .,.,                                             1.,.,-::



     Loi kk thanks.

                                                            \'I.   .-
                                   '
                                   •v •
                                                                  ''

                                                                                                     Are you coming in today?




     Yea on my way.

                                                                              . L,i · ,    ·     : ·nci


     I got some good and bad news with the TBls


                                          '     '           ,..

     l think our model is good.



                                                                                                                  - ~l! ..
                                                                                                                 detail after
                                                                                                                         . . .lunch
                                                                                                                 -~          ..   .



                                       2()13,



                                                                                           out for beers ... Rough week.


                                                                                                                Trahanas-NU002191
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               ~   I


               •-/rig
                       ~s~.x~uibri~9iJri~:Any::~~e~~ pa~ir_!e_s,?,.J: fl ce>uk;J [~-~!Jy:d_o wr(sq,m.e baklava ; •
                                1

                          htnow;~ .-. . · ._·; - ·
                                    ~                                     , , - ·r ~-- ;,.- ·

                                                                r   "II I        ~   le




      Bad news is it probably can't get better; ill elaborate when I get there




     Ok sounds good




     Bad news is it probably can't get better; ill elaborate when I get there

                                         , l t.            ,c



     I'm taking out brains today right?




     K
                                         •;.       ; [ ' ,. •                                                                •
                                                   .:' l                                           >,         ~




     I'm on The train - Ill be there by 10:15

                                                                            •(       1    I   ~i   "."1   1




    No. 4 had hem




                                                                                                                  Trahanas-NU002192
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 808 of 871 PageID #:2562




                                ~\ • ~' '")   1.   J(   •   'f   'I   .., ';"1




     Yesterday was a double day, so I am staying home today. I ran the flow
     - I think It looks better than before.




     This is what the whole brains looked like after my injuries. They only
     got 2cm hits, be they were still part of the weak bunch Jackson Labs
     sent us.




                                                                                 Trahanas-NU002193
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 809 of 871 PageID #:2563




     This is what the whole brains looked like after my injuries. They only
     got 2cm hits, be they were still part of the weak bunch Jackson Labs
     sent us.




                                                 -                       -   .

                                                     Are you going to be in the lab today?


                                                                       Trahanas-N U002194
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     I'm going to be in around noon .




     My mom broke her toe/ foot and Im taking her to the doc.

                                   c                ,   ,         I       ,-.    · .; a   1t.   ,     •'lo.


                             Going to a conference ... Out l:>y 9 and will head over to lab




     Ok .. I'm walking into lab now. See u when u get here




                Why don't you have all the mice drugs and equipment ready to go and
                we can hit first the practice perfusion on Saluna's mice

                                                                                   1     111e·r·H:...flc.,<



     Should we just practice perfuse- not on hit mice? Everything is pretty
     much set to go

                              'sO ✓           4,   2013, 7.4, AM                    J   a e fra•,,na~


                       I thought we wanted hit mice for the brain vs periph blood exp?

                             .'c,-.;   ...,       2JI


     Well hit those Tom and collect Monday?

                               J )\'          4             ';J       I         ,.J !~!cf t? r!i;l'lr\t




     Kk
                                                                                                                         -
                                                                                                              Trahanas-NU002195
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 811 of 871 PageID #:2565




     Did u want to come down for brain removal or should I start on my
     own?

                                                                                                     '         "i I

                             _,o   .- _- .. -        "~         :             T :-        I   '"-;                  -   .- -          --.-:    ---;-r· IJ -=-'.'-
                                   Get your_day started . What time do you want to injure?
                              )_•I~ _ -e! •~         -~-~Tt--==~•--=-1~-~-~ _ ...--._;:~_- -~                                                                       -•-~I



                                        .( I ~ -.    C'




     When I'm letting the auto macs run the Cd45 selection .. Around
     10-10:30




     Parking



                                                                                                     ~.       -~.-' --                ----:-
                                                                                                              Make sure it's not a tow zone;}
                                                                                                          -   - =       -         •     '•




     Loi. Not til 4

                                                jJ             t.   ,i   ,,   t       )   cJi t           -:--rc..'lf       d,.




                                                                              I need 20 minutes to down some coffee

                             I•·




     Yea np

                                                     . ';f.,        ~I            •Dare ,.-,,


     Ill set things up and meet u in the mouse room in 30

                                         L   c,•      6 '-                        -
                                                                                  '




                                                                                                                                               Trahanas-NU002196
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                                                                                                                                                                                                     -
                                                                                                                               ' rr          'J1a,


     Hey Steve. My aunt passed away yesterday. I won't be able to make it
     in today of tomorrow.

                                                            'h     11,        L   (J                    ,       (,ti

               ,· ~-.-:::.:.I~ --:-_-- ~- -.. --~".:~·                                          -~-·~--== -"-:-                            !" ::... ·'"';",;--..--=   -1
                                                                                                                                                                           1
                                                                                                                                                                               ~    •   :;·



                    So ·sorry'. .• My condolences We'JI talk Monday about what to do while
                    I'm on service.
               ':-.:~·-·_ ~r--_-::·:.:=-   1        ~
                                                        1
                                                              ._       -J   ua_~ __ ...                              L       ~-,-~.k-r-1._-·•-~~~~--- ._                                      1 ~




                                                                            /l)'l -{                t       ('f,              I (      I



     Thank you. I'll meet with Harris on Monday to go over flow. I do
     neuronal antibody stain next week too.


                        -                                          -                   .
                            Case cancelled ... I'm here all day so we can go over flow and make
                            P!ans for upcoming weeks
                                               ·-                                      .   ::       -            .                                                                 ·.




     Did she pass away?

                                                                 s      ,/(J                    l           L    !'"




     I'm on my way now

                                                                                                                             ·rr             •;:- lf·        l·•ana~


     I talked to Carla and I think I have a good busy plan for next week

                                                        >("   5 201                                         L            ;     ,,..,




     I didn't get to meet with Harris


                                                                                                                                                                                        Trahanas-NU002197
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 813 of 871 PageID #:2567




                                  ,r



     I'm taking Tom off since Tuesday was a double day and next week is
     going to be tiring. If u need anything email text or call me.




                                                             K... I'm still waiting to do a case

                                                   ..,   p




     Bluhhh




                                                                          Trahanas-NU002198
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 814 of 871 PageID #:2568




                              · c        l~   2,       1
                                                           4    2o     r       (,I             Td        c:   "lei ...




     Not to make your week more stressful, but I got a hemorrhaged brain
     and I think be it took the auto macs so long for 20 samples my cell
     counts and viability were crap. I'm redoing this week. I was so excited
     be we got the hem and then ... Disappointed.

                              1 'C   L    1   E   J         )                                  ~    'l




     Happy Holidays to you and your family!! Enjoy your mini vacation!

                              Lr     ~•II     • .. 1            t.._




     Thank you very much for the gift cards!! I'll put them to great use:)

                                                                           ,. . ~.   ...1,:'



     You coming to lab Tom? I'm coming in super early.




                                                           No .. . Not getting back in town till late afternoon



                                                                                                                         Trahanas-NU002199
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     Ok I'll shoot u an email with results




     Happy New Year Steve. I'm feeling like crap and just been getting
     worse since Monday. Staying home and getting rest. Maybe doc appnt
     Tom if these meds don't work.




                                                                                                Are you still alive?




     Kinda, I'm sleeping and sweating this thing off.

                                                  1J(                 I   (J




     Way to start my new year.




     Only me.

                               ;an   .:S, 20 ,,   1· 11 AM   'l L   •,t•f'     r, 1 ·,   ,,·




                Get better... I th ink we're on the cusp of a breakout year... Making plans
                for us to go to Detroit on Feb



     That would help us out a lot and diminish my disappointment with this
     cd45 dysfunction

                               ian J, 2014 1·1 44


                    Rana will help us out with that when you get back, don't sweat it...
                    Minor road bump




                                                                                               Trahanas-NU002200
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                                                             e   •




     Ok thanks




     HinSteve. Hope SF went well. Think I got things back on track. Hitting
     Monday or Tuesday. Hope it's our last data set. Keep you posted.




     I think I got the experiment to work. Had two great injuries with
     hemorrhaging. Took 24 hrs, but we can look at flow on Monday. I'm
     presenting next lab meeting.

                             .,   ·-   . ' I   ~,   L   cl




     (I did the peripheral blood and the neuronal experiment at the same
     time.)




                                                                     Trahanas-NU002201
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     Cars not starting .. If my dad can get it to start by noon I'll come in- if
     he can't ill work from home


                          -       -


                  We are confirmed to visit the Conti lal:> on 2/13. I'm thinking drive up
                  on t he afternoon of 2/12 and back the evening of 2/13.

                                                                                    ,,        f-   •




     Yea that's cool with me.




                                                                Can you do lab meeting at 2pm Thursday?




                                                                                                                        Ha rris is a flake

                                  ,. 28   2(1 l      ... ,r:,   .A'"✓   ,   ~   I   ,~-,e,               •'.. ,, ;


                                                                                               '
     Yea I'm going to work on PowerPoint today and Tom, That should be
     fine

                                  'cJ,   JO ,v ,   o:3,' ,11.M u 1.'1a·1e l                            ,ar,a,,
                              ,




                I have misplaced my wildcard .. . Will need you up lete in lab. What time
                are you getting in?

                                  ,, :,1 ,;'._. t~12A~' ,,                               ..        ·ar


     About to get on the train




     Let's say 8:30 ish to be safe .




                                                                                                                                   -
                                                                                                                     Trahanas-NU002202
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 818 of 871 PageID #:2572




      I'll text u when I get to union




      Just in case there are switch delays again




      Waiting on this never ending freight train.




                               di      8D   :,_1 1.'.       ,:




     Just getting to union ... Text u when I'm ten min away


                                                                 '       t,, "


     I'll Be there in ten

                               J   H   _;$Q ? ('        c    .: ;    1

                                                                                 .     -   -



                                                                                     On my way over...



                                                                                     Trahanas-NU002203
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                          I_.•   1 •,-.   ~~ .~     •     -     -   -   "'""41~          •    .•    I• I                    •       1'"'   .-       -   ---e:.-:';-.-.---....-. -
                      Couldn't find my badge .•• Can you let me know when you get in... I
                      need someone to let me in.
                      ·;;._-: . -- -~ ~;r.::             ·-_,t.~1 ~ ·, ·•                    · _-    4-            ~-       .t--"" - -          •       _· _   -_    _:!_ __.




     Loi yea np. I'll be there in 15




                                                                                                                                                                      Harris sucks :(




     I'm not going to say what tho


                                                  ' ''                                                                 f            I




     Loi. Well crank everything out. I want this paper as much as you

                                                                                                                        1       I




                                                                                                           Will need you to let me in again :(

                                                                                                                   .        t



     On the train still

                                                          i   I '   I      ,.     ..,,                     ' .._   i



     Going to look at flow with Sasha




     In ten minutes




     What time will we be back Thursday?




                                                                                                                                                          Trahanas-N U002204
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 820 of 871 PageID #:2574




                                                                                                          Bish or 9 isj




      Ok thanks.


                                            14 " ',               (   \   1   I./   'I   ~




                       Forgot wildcard ... Will need you to let me in the lab later th is AM .




     Be there by 10:30 again.




                   Princess D... Just got out of clinic ... I'm going to change clot hes and
                   grab a bite to eat... Let's meet at the Starbucks at noon.

                                  L   ?n,,~ '      -,.,n ,   ·1




     Just turned on my phone. Coming to bux




                                                                                             I'm heading to bux now

                                             ·1, r


     Kk



                                                                                             ~'   .   '


                                                                                             Did you get chocolate?

                                1 .     l   't "     qr

     No I thought were going to do swing by




                                                                                                  Tra hanas-N U002205
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 821 of 871 PageID #:2575




     Hey Steve. Cars gotta go to the mechanic. Dropping it off and I'll let u
     know if I make it to the city. Happy Monday :/




     FYI- our equipment fina lly came in. I have arrangements to get a
     private cabinet for it in the

                                         ,cl                                               f'       lcl   d I<

                    '-:JI~-"••· ....... . . . . :......
                   /-llll"i';,.U.~,l\,~-~•.l;•~,-.l!:-1 - w - - ~ ~ • , ; •=~..,.,.....-- ~ - -:, -------,
                                                          L,I..,....,,.~ ...._.. .... -;-1--rr"--r, .•,., -1.i;". • ,·,,- • : - I
                      Ca_rf",yoff email ri:i.e -updates ... ,Where are.we at? What' i~ left to do?
                     WJjen are \ ive' meeting wit ti ~arr ts·etc etc
                   ,~~-.. .,. --~.:~.,.,~..••,:-:L ·~~~ ' : : ~ ~ . --                                                           __i_-l .-   :


                                                 (   I.: ..,.          • r'("-   i.    I        l




     Procedure room- that way we don't have to deal with curious George's
     downstairs and any satellite business.

                                                                           • ,        l:, 'P




     Harris hasn't set a time with me- or emailed me back.



                                                          ,i'!::=- -.;-'' =--    ~-r~· -;----,r_·~ ~
                                                           ~    ~~ke¥,~y.t~Y.OlJ. 19u{ ir
                                                           :-._ ,_ - . ~ ..--i,iri .l....11 -~--
                                                                                                                 ¥Our hours for approval



     I'll annoy him. I'll email u a list of updates.




     I need to stay home today. I have a slight fever, sore throat and a
     migraine.




                                                                                                                     Trahanas-NU002206
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                                                                     • ~. I ;




     I'm going to work from home for a little be my ankle/foot is killing me. I
     can't run experiment until myelin beads come in- hopefully they'll be
     delivered Tom.




     My friends giving me a ride to the city, see u around 10:30.

                                 It,           I 4


     Top row are injuries. 3 hemorrhaged :). Running flow today




                                  ! 101(' ,,         ,•   JI ,   !    t.:•f f




     Everything is all good with IACUC visit. :}




                                                                                Trahanas-NU002207
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                                I,   ,,J       2''                                                     ~•        d




     Hi Steve- I'm still at the funeral. We just got fond at the cemetery and
     going to luncheon. If I get done before 2:30 I'll head in- if not I'll work a
     little from home and stay late Tom/ Friday.




     Done* not fond

                               1'.pr       ~       .'0 14, 1 l 54 f-''·n           U!ui ,.         a.-·'     l 1',

                               .~-;-~I~~ ~~-•If.,.. _=ii                               ~:.:-~r
                                     Don'i. worr:y,about it... Just.keep working on your paper.
                               ~1u:.~·-.JI-:-"r:'=-1;-~~~;;.~~:~-~.r,.•~.::                                                    .
                                   , g                   1~.01 ..ir   1'   ,   n     11· 11,;;;\   1        ,':lr,   ~




     Thank you Boss!

                                     r         ,   2J       )   I   f\ l

                                                                                                                              --
                                                                                                                                   Millenials ...



                                                                                                                         Trahanas-NU002208
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 824 of 871 PageID #:2578




     Softball~




     I'm coming in, driving - on my way

                                           pr!•.~,·                        '1-:.0                       ,d ,         rd              a


                     I have a deposit ion tl1is AM . Will be in after lunch. There is an annual
                     review on your desk, please complete and I will do the same. We'll
                     discuss our two reviews on Friday and submit your actual review Friday
                     afternoon.

                                                                                                            I•(->            , :u-1,




     Ok. Sounds good.


                                                                                   -             -                               -


                Are you coming in today? We need to do your performance evaluation
              . and submit it.
                 .         _:   -   .                    -   .         -            .                                                                          .




     Hi Steve. I need time to let my right side heal and prevent any re injury.
     My Dr. Is going to fax you the note. Email text me if we hear back from
     Harris about our paper and I can fix things remotely from home.

                                                                  'L        ,. 1       •   tc           ..vir       ra,     .i       d.,



                                                                                                       How long are you planning to be out?

                                        ,·'\    J            2(   1                                                   (cJ        i-P1-;c




     Until I see him again next friday to see if I can take the splint and boot
     off.

                                               1·   c-        .di1L·                       4
                                                                                               1...,     alP        ,..rr
                                                                                                                                              ~-

                                                                                                                                                    So 2 more weeks?
                                                                                                                                           .... _   '·   4-   ••




                                                                                                                                                    Trahanas-NU002209
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 825 of 871 PageID #:2579




     Yea this week until next Friday




                 OK. Just checked with HR... I wi ll need your doctor to fax my office
                 your letter of disabi lity deta iling what your activity restrictions are and
                 what the duration of t hose restrictions will be. Thanks .




     Ok. Called the office, it will be sent today with all the info.

                              :,   ....    \




     I gave them 312 695 3644 fax number and titled with attn: Dr. Steve
     Schwulst.

                               , dy            \.   --+   !   (•   ,. , ,_   t




                                          !2 ~'() a , :..H


     Yes following Drs orders:) peas and ice bags and elevating as much as
     possible.

                                                                                 Trahanas-NU00221 O
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                                       ,.,a     2 201LJ


     Hope you and Emily enjoyed the weekend, keep me posted after Harris
     reads the draft (16th)

                                         s·cl    I:? ::.01,{, I    1,1;                          )"           e II 11,r,.,




                                         d.     ·~    :o ,    1·11 -(   rt,J     l)m                          ,,e      "1fl,,.    I




     Hahahahahaha

                                         1.,, 12, ?014 1:os                1•        0   L       <a    ·,E'         rc111JI J<,


                   ~.:l"9"'~
                      Check you email ... I do need another figure made. Can you do it
                    , r~m9tely?
                    '   •   '   • ,.                                            •,           I        ..:..                       ~




                                         av          . LC t   1:03 i                                                             r,,l


     Too bad Salina is in the mouse fm most of the time so I would offer her
     up otherwise



                                                                                                                                        Trahanas-NU002211
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 827 of 871 PageID #:2581




      Yea I think so

                                                      i'            €i   "':l ,     0         I< ""P        f       81   c:1   r,   f)




                                                                    Do you have a draft of yor poster done yet?

                                                 4    '"
                                                     '"
                                       --


                       Can you check gmail? I nee~ yo_u to fix some things with the figure.
                       .   -   ·~...        ~.                                                                                           '




     Kk


                                                     ''014 ,,   L        f\


                                                      We are getting an undergraduate for the summer.




                                                                                                                    You can make her your biotch

                                                           2'


     Just ours or Perlmans?




                                       Technically Harris' but he is assigning her to our projects




     That's good- it's officially for is then.

                                                           2                      ·'1',       JcL       •       1   ,f         Id'·



     Us


                                                                         --   ..          -   '     -




                                                                         ,Appearantly' she 'a some
                                                                    ' ,,._ - .                   .
                                                                                                   sort
                                                                                                    ,
                                                                                                        of prodigy
                                                                                                                                              .
                                                                             -                                                                                   -

                                                                                                                                             Trahanas-NU0O2212
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 828 of 871 PageID #:2582


                                                                                      ' -1h r                  ,


                                                                                Probably smarter .than both of us
                                                                                          ~·-    --




     Thank fully cuz I won't trust some rich lazy kid




     Hahahaha highly doubt it

                                                                       '    '

     Softball players can be smart

                                                                                      r   I     .,.;:,._,




                                                                           I think she plays violin, not softball

                                          /              1   •""   1             ,r       l   1,c-1   r,   ~




     I was referring to myself lol

                               ;     ,5       -.,,   L                 ; ar      P        -




     Violin is even smarter

                                                             tc ) z,       'E'        ra 1d'las


                  I'm on service for 1 week next week and anticipate being very busy.
                  want you to perfect our new equipment and be the Midwest regional
                  expert_when lget back _ ;)




                                                                                                                             -
     Nevermind bout the violin. I will be the Midwest expert when u get
     back.   Iii '~~~

                                                                                                                   Trahanas-NU002213
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 829 of 871 PageID #:2583




     So far it's a bloody mess doing the whole drilling .

                   •




                                              •
                                                   ·-




                                                        ... I   (')   I




     I'm making progress though.

                              \.t......' t'   l~


               Ema the Brody lab at wash u and see how they do it... Get in touch with
               their tech and have phone call




                                                                          Trahanas-N U002214
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                                                      ..> .._,                   LI    1




     I got it down better, but we might have to slightly up the ket xyl
     dosage- they don't like the drilling

                                                                                           ; I



     I'll still touch base with wash u lab.




     Hi Steve, I'm still coughing annoyingly and not feeling good. Sta.ying at
     home to rest.

                               i·            /.' ~   'j, 8       •\i\.11   , ,   •,.       ; 1 .--   r-•   a1




     Your presentation done? I'll be there by noon. Ready to hear it after
     lunch if ur ready?

                                    ,.   ,




                                                                                                                            -
                                                                                                                Trahanas-NU002215
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 831 of 871 PageID #:2585




                                                                                                                     Pqster ready?
                                                                                                                  ----    .




     Yea, One final review I'll email u and Carla all the edits then print it.




     I'm still coughing (not as much) so keep the masks.




                                     _Make sure all figu_res are the highest resolution possible
                                                       .                                                         -    .


                                                                          S                 c·


     Definitely




                  Totally forgot... I am covering the ICU tomorrow for my boss ... So I may
                  not see you unti l Charlotte ...

                                                      (' ~.             · 11 ' I



                                                                                          Did you get in OK? How's the weather?

                                •i    ,_..   •, •~·   ld      ....       .l:




     Weather was gorgeous today! There's a taste if Charlotte going on .
     Hope it stays this way for the weekend

                                             '1 \ J    1             '"1 /l    '.: : ,   f( ••   l ,.,




     Hotel is pretty nice. Flight was 1 hr 35 min




                                                                                                             Anyone there yet?



                                                                                                             Trahanas-NU002216
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 832 of 871 PageID #:2586




     Haven't seen any other dorks like me carrying posters or anything.




     I've done some hwk a
     D asking/surveying- if it's nice Monday we could do the white water
     rafting and outdoor day pass - zip lining, biking, obstacles, kayaking
     wall climbing for 56$. If it rains- go karting type place.

                                           _,
                                           L'       ''




     Btw no bus for the hotel u gotta can it - 25~ bucks

                                                '   L
                                                             "

                                                                      Holy crap .. . Is this English?


                                                    -

                                   You can get your race number at the registration desk.

                              Jr   u   ,,, 1L            1
                                                                 it    ,,




     Winning gimp number right there.




                                                                               Trahanas-NU002217
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     Hahahaha, I expected u would. This guy right now is snoozing
     everyone.




                   He can invent all this stuff.. . But he can 't fit his slides on PowerPoint




     U read my mind, I'm hoping it's a conversion thing, but I doubt it

                               'f)8L01l                J()




     Hurry they just called up new investigators!!!

                                          , ~a   "f.



     These for now, but I'll fix them on my laptop and send those too.
     Congrats!
                                                                         Trahanas-N U002218
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 834 of 871 PageID #:2588




                                                                  Trahanas-NU002219
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     The entire Schwulst lab in one photo.




                                  2(.   8   I   '   :-/   (0 •    c'.   I   I   d




                                                                            What channel is the game on?

                                    4   · .,, r.•~        •")tn




    33


                                                                                      Trahanas-NU002220
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 836 of 871 PageID #:2590




     4th quarter




                                                                                 Lebron is such a bitch ...




                                                                          Wow... These guys are so good.




     I can't believe spurs lost




                                                                                            You weenie ...


                                               '   '

     Where u at?




     I'm walking to get my shirt

                                       1
                                   ~       1       ._   1 /.\ I   ' ;?I




                                                                                            Did you run?




     Yea




    l changed outta my boot




    That thing blew


                                                                                     Trahanas-NU0O2221
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                                                                                                      I didn't see you or at the picture




     I went back to take it oft

                                                                                             •        I   d


                                             i°I. •           •           - ......; -   •I       ('                     ••           '   •   •   '   •   '


                                                      I finished ages   -       . "'· ago
                                                                                      -- - .. and
                                                                                              . .. just got. out
                                                                                                               .
                                                                                                                     of
                                                                                                                     , the shower
                                               ---~       . . - . ,,. -   ....: ...            - • -    _._. ··~·· - L.J.




     I just finished with all the other weenies

                                                                                                          > .:



                                                                                                              Nice weather and nice course

                                                                      , l
                                                                                                                  ' '            I


     I'm dying of heat exhaustion but wasn't horrffic

                                                   ) 4



                                                                                                                                             I thought it was nice

                                    '   ,'

     I wore two long sleeve Ori fits




     I'm sprinting to get ready..
                                                                                                              r              I
                                                                                                                                                             -
                                  ,r1    c'    t        1- • f., J   ~/




     I thought it would be cold


                                                                                                                                                 Trahanas-NU002222
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                                                                                                                                                                              ~•--,-:'
                                                                                                                                                                              ' lt;s ·N.C. in June ...
                                                                                                                                                                              '•~~~ =
                                                                    ,        (J 1 ,, ~ b




                                                                              4


     It's cloudy aaaand I'm always cold. Those are my excuses




     I won't embarrass our lab

                                                                            C14        'i ){ •

              • -- - 1·-----:- = ' - -                     ',           .•        -      -                  -      •-                  -·              .        I ••     •     I I •- •       '

                  Make sure you check when the poster needs to come by... or else they
                  wi_
                    ll th.rough it awa_y.
                              '        •       •
                                                          .             •                                               I                                                       •
                                                                                                                                                                                                         .
                                                                                                                                                                                                         1




                  .   -   .       --   -

                      They just announced ... Posters have to be taken down by 1PM or they
                      get trashed .
              1




                  .
                              ---
                              ··-
                                           -       - - -        .

                                                                                                                            ,!3•lt·      ,       ~     d ....



     I just tk it down now



                                                                                  ." --=-• . - , ~ -._. -                                    -             -, ~-~
                                                                                        We are meeting in lobby at 12:45 to go rafting
                                                                                  '   ••••" -   •__   _:-   ~ ~ - ~ - 1&1--al    -    • - -'   t ...   ~-L; i_\.-      ._->    =.... -.




     Awesome!




     U walked a tight rope death trap yesterday- so don't be nervous ull be
     fine!


                                                                                                                                                                              Trahanas-NU002223
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 839 of 871 PageID #:2593




                                                                                     Wow... You are really hamming it up ...




                                                                                                            You know, karma is            a bitch ....



          Hahahaha technically I should've been in the boot all weekend. So
          karma will get me

                                         '   ,,                           .,...



          This lady was insistent on getting me to board early- southern
          kindness I suppose.

                                                                                                                         d




          The other videos are too long I'll dropbox or google drive them to u.

                                               .l   £       I.'                          '.,    ..               l   C




                                   H"I                                    ,   ..•.
                                                                                                                                                II
    ...
   !Ra~j
    '
    ~


   /R ·...
    n
             .
                 i.




   Inn ,. ,,
    ----
                                   :ur 7 , 01           ~, 11     PV t         > /le?r               r,tn~ ...:.tr a!.


                      I need you to send me all the Courses our new student completed so I
                      can add her to our protocol

                                    Lr       1<..   ~   L         ~ l '              .: 1r"''        ·df1   -1       2




                                                                                                                             Animal courses that is




                                                                                                                                Trahanas-NU002224
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          Harris said she would come in yesterday/ but he wasn't sure. I'll send u
          her info ASAP

                                                             £   C




    n
    ·r,
    ~
    r,         -"'r,
   1,.~~a5
    iri         ...




                                                      1l .                                       ,1




          After a few hours they woke up and were semi mobile. NSS tom. I'll
          keep u posted. 2mm tip is piercing the brains- literally making brain
          goop upon impact so 5mm tip seems to be the MVP. May try 2mm tip
          with yellow rubber pieces from old weight drop.

                                               :?O    ,(l .                                      ,>   >




          Kathryn (our assistant) is definitely helping us out. May order mice on
          Thursday to have for experiment next week. I will shoot u an email with
          better details. (We have another inspection so that's been keeping
          Harris and us preoccupied this week.

                                             '7,,     ;·st ,,


          All brains wlhave hem. I will discuss details with u on their impact vel
          and tip diameters when u return Monday. NSS 6 is highest so far.
          Without splatting the brains.

                                    , • ·,        I                                  ••   c<   l ld



                                                                                                           You 're the best!!

                                              7                      ;   ')   • ..    ~   r 1'a'ld~


                                                                                               We 'll talk MCAT strategy too


                                                                                                          Trahanas-NU002225
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     Sounds good.




     Are you Emily and Sydney going to Harris party Sunday July 13?




     Ok, Rana sent out another reminder for the rsvps
                                                                                                      •
                                                                                        ,.-
                                                                                              Yeah I told her
                                                                                       '· __-
                                                                                        ,




     Ok cool. See u manana.

                                              (     I        .P




     Sidney*** sorry

                                 ; l)         .,.i.)14   ' l?f".,P   ,.1        ;-




     I hope the foam roll helped- since I won't see u for two weeks on clinic
     can u bring it to Harris'?

                                                                           ,,




     thank you
                              't11   "I   /
                                                                                                     -
                                                                                     Trahanas-NU002226
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 842 of 871 PageID #:2596




                                                                                                                               -~-
                                                                                                                               r-.what is his address
                                                                                                                               ~                  -




     9050 Tamaroa Terrace Skokie, IL.




     ill be there after 5, world cup in overtime.




     a lot of head injuries today




     Hope service isn't killing you. I don't have the latest copy of the
     manuscript and I guess Harris can't find it- can u rend it to us both?
     That way I have a copy if he has any more issues finding it?




     24processing Tom and 72 hrs on Thursday. I'll send u picks.


                                                                                                        I         "

                                                                                                              , - I '-~- -: •:-•,r. •
                                                                                                                               ='.°~;

                                                                                                              . Ar~f yo_u c;:().IT.!i.rag in today?
                                                                                                              ,   : - L~-- • I ~   .l_.,1(11~' ' _ -



                                                  'v.,        "'l ·   'l    ,.   1'       \I? '         r1        ; -   c. .

     I'll be there Tomorrow.

                                     , ug        I 2014, '•O )b ,.,,,, c L                JI r    f         lcH'i:JS

               r    ~~       "';- ~-;;•-.
                              ~

                   _
                   Sent you some emails ... Need figure revision so we can submit paper
                . ~¥.~~.P-.9t 't!~t~?
                      '• 11.J-_-~.~
                -.:, i t .                  11



                                       ·a            '   <,     H•    H:,        o    r   "1('        ra a'ld'


                                                                                                                                                       Revisions


                                                                                                                                   Trahanas-NU002227
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 843 of 871 PageID #:2597




     Yup, looking at the emails now



                  •.

               · Can you make the circles of the brain figure tighter? Some need to be
               . bigger, some need to be smaller, some need to be moved over.
               ·- 1.,   ''l:'




                                                                                   r,--.--:-.- • - -               =--              .         ::-!   : :;:    -


                                                                                          They don't all have I be the same size
                                                                                   I "\ ._:.~1~ --- - _:..    Lt:_-~- ~•-·--"!..-·~~1.,                           _:_       ____ . =




     Ok. Gotcha

                                                                      ,,   ;



     We stayed and ran flow last night, so I'll analyze flow from home.
     Brains looked like before- good.


                                                                                                                       - .. --.--           .-- -·;:----.=;             -
                                                                                                               '               .
                                                                                                                         K··· I'm ~tuck in clinic :(
                                                                                                                   '                    .   ~-               -•




                                •u 1            -''   ,·,    ~,                                         rd'    d




     Bluh, I'm studying so ldk how much better I have it.

                                '      (




     Hey, finishing submission in the lab to ensure everything gets done
     perfectly. Is the author order correct? You have yourself as first author
     instead of Senior author?

                                           u   Lr           l_(                    10        d ''-'   r hara ,
                                                                               J~·r.,,i_= ·. --:. ,. -~ .· -
                                                                                  N_ o,._you are first and I am last (senior)
                                                                               I    r; ~ 2 , • =; ~•;:•:~:::I_
                                                                                    .~•




                                g                                 '        t               ,:,


     Ok thanks.


                                                                                                                                    Trahanas-NU002228
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 844 of 871 PageID #:2598




     Brains look "gorgeous" on the LSR. Let's hope we can continue using
     the auto macs. See u in 12 hrs.




     Feel like death- coming in to square away our paper and wrap stuff up
     from yesterday then heading out. U won't want be by u for long
     anyhow




                  Paper resubmitted . Did we do that effing Isis shit? Harris forwarded
                  me a nastygram about it today...

                                      L(.;   '




     Yea, Kathryn and I did it Wednesday!

                                        ('                                         r



     I emailed you a screenshot of your test completion.

                              -er,   tl, i l l 4, '         PfV•   'v   L,, ,,         'd11,



                           Sparta!! How was it? Did you make that MCAT your bitch?!

                                                 1     <     Al\.'tc.;r)dJP            'd•dld-->

                                                           '..,,,..~"!!"-= ;.,--;-=· ~-=-~ -::-t~
                                                           '•=;•~·1.:,f\SJ ,'~           _;~~~--=e_~. .
                                                             iHey.. :·How ~ou doing? Coming in today?
                                                                                                                 ~i_,

                                                                          '12 ••        iH ,-11" ,•



                                                                                                         Is he feeling better?

                                         , ,,,       ~r ,

     Who is he?

                                                       (    ' ~I


                                                                                                      ~
                                                                                                        . So"rry,   wrong··,. person
                                                                                                      ..w,hoilr - -~-,--
                                                                                                        ~ y..-:::c.___··




                                                                                                           Trahanas-NU002229
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 845 of 871 PageID #:2599




     Figured




     Should I still finish that schematic or are we changing the specific
     aims?




     Ok, cool.
                                                                                                                                                                      •
                                                                                               ·           · d' ,dtlC:: ,

                        _;I   ~=-·•~   11
                                         •.•     ,   .:;'·:            .•·       -:-,7r •
                       · Hagis _
                               wants a $Chematic tha_t inc_
                                                          o rporates all the aims of the
                         proposal, not one for each-aim
                       I,;.•~.:.:-~- . ,··__ · . _                       . -•• .::~ ._.. I_                         - •--

                       --_-----=y=•• -, .,,,          .   =                  -     ~J·T_,              .        I:·__ ·.- ..                            '.
                         Can you go over ideas with Harris and -complete by Wenesday?
                       . . ·.•~=...,_:~ -~ ~-   ·1_ ~---. _--      ----~-            - · :" ... __ -           ~-~.-            • • .,_._, ,·   ·• _·    -~-~-:   -




                                  . . ,.,/t.t   L,.'1t    LOS


     I have experiment tom and Wednesday but I'll figure it out, yes.




     Harris is looking for u- had a question I couldn't answer. Told him id be
     here around 1.

                                                          J   .. 1.,     \
                                  '· '('!




     Ud*


                                                                                                       -                    .    -              .   -    -




                                                                                               On my way over now... Had clinic
                                                                                                                                     '              .

                                                                                                                                                Trahanas-NU002230
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 846 of 871 PageID #:2600




           No worries



   ••er;;:. Verizon LTE             e:1a PM            73%--•
                             Arman Fathi
   ( Back



                Hey sup saw your post. I have
                season tix to the bulls, section
                206 row 1 with a parking pass
                for each game. I can do this
                Sunday at $120 for the pair
                and Dec 27 at $240 for the
                pair. Keep in touch if you're
                interested.)
        0




       I    • ·,;:;:_1    (I•   I
                          •~.1_.1      [   ~·-·   L
                                                  -"
                                                       ,.,
                                                             ',   1.) 10 4   t       •~r-...;       f       •       ,_,           e


       Whatcha think Boss?

                                                                    5   (lj.\    ?')



                                            Let me look at the seat pictures online and will get back ... Definitely
                                            interested

                                                                                                I       (       1         ,..._




       U got it. Keep me posted.

                                                          • ,      , , 201Ll ' ? l


                                                                                                                                      Is that a friend of yours?




                                                                                                                                            Trahanas-NU002231
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 847 of 871 PageID #:2601




     It's a friend of a friend. But She's a lawyer and if she's referring me- I
     trust him.




     I'll put you two in touch once you approve of the seats.




                                                                                          Go ahead and put us in touch
                                                                                                   "                         .




     Kk. Are u on FB?

                                'C           ('                 r
                                                                    I
                                                                        I   ~   I   t' :), ,   1




                                     "   ) '') ,1 ,> •· • • '



     Ok I'll have him message you directly.
                                                                                                                   •
                                                                                                                  -
                                                                                                       Tra hanas-N U002232
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 848 of 871 PageID #:2602



   Hva,, Verizon LTE          8:35 PM                  67%.-:.,
                           Arman Fathi
   (Back
               .::::vu ruw , w1u1 c:t µe1.rl\u1y µ-a:,.::i,
               for each game. I can do this
               Sunday at $120 for the pair
               and Dec 27 at $240 for the
               pair. Keep in touch if you're
   •           interested:)




                      Hello Ar1  I
                                   ~an . Mv. !JOSS IS
                      def111, te/Y inl eresled in
                      purchaf mg your Dec27 hx•
                      111eanin~ he's buying .        f)   His
                             if
                      name Steve Schwulst. I
                      fo rwar tred him your inlo/
                      mess~~- e. I'm 1101 sure how u
                      se ll n maflyl gel paid so
                      pleas message him so you
                      two c n gel everything
                      sc,ttl e .




    A.,    •
                                   , ..
                                  1 '.._'
                                               ,,
                                                          ...
                                                                      • () 1 Ll.     1   L   ,I.}:


                             12'10AM
                           Arman Fathi
   ( Back



               Sounds good! This Sunday is
               well below face value and the
                December game is about
               where face value is 1f you
                purchased It at a single game
               price. It's easiest to meet
               somewhere and do cash . The
               bulls stopped sending us the
               booklet so everything IS digital
               now.... therefore all hard
               tickets are paper tickets
               instead of the souvenir
               tickets. The parking passes
               are still the same though.

               Keep m touch! My number is
               3128885400. Feel free to text
   9I          at you're convenience




   ,l\;,   • . ,' '                          lJ:,.        ...
                                                                ,ct 1f 2014         · 19 1\M 1.0 ~: a 1e   rai1anas


                                                                                   Dude ... Did you get me email about the paper?

                                                                                                                      Trahanas-NU002233
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 849 of 871 PageID #:2603




     Yea, I'll get that in today after mouse house stuff




     I got it when I came up for lunch yesterday - figured we'd get that done
     today




     I'm obviously excited :)




                                ,.   C   ,:Q14   4:"', -·~.


                                                                                    Sweet :)




                                                              What time will you be in today




                                                                         Trahanas-NU002234
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 850 of 871 PageID #:2604




     11.



                                     . . .;.8°J' ' ,:. s   -"   ,.
                           ~
                               l wil-l'. be
                                          ----•outbythen
                                                     .               .   .. .
                                               .• ,, ---· . for my·boy's parent teacher conference
                                                                                        •.•




                                     ,,~,:f'.
                                     .~ .!: yp,u have the tickets on you or are they in the lab?



     Oh yea ... Ok




     I'll bring em by before j go to the airport.

                                                                         r,,


     I knew we'd forget.

                                                                                •             I   •




     Getting ready now. Should be there by 9 . Lab or your office?

                                 r   'it-                                 '7'       r




     Ok, Rosemary sent me the form. If I sign it as me- will our grant from
     shock still cover it? They won't charge us until later.

                                                                            :       !·



                                                                                                      Forge my signature




     Ok.




                                                                                                      Trahanas-NU002235
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 851 of 871 PageID #:2605




     It's been a month and a week since I asked Harris to upload my LOR.
     He's leaving wed for a conference. Suggestions on how to push him
     without being too pushy?


                                              '           ;        '                                                         le'

                                            , ,_
                                                  ~-;-                     ,-        .-                            --
                                                                                                                              -
                                                                                                                                       -                 -     -                          .

                                            , C~ll ,h~m and tel l hi_
                                                                    m it need~ to be done today. ,
                                              -       ~                    ·--   -   =--='"=--____£           ....:::._ ..... ---:::--_.           -1'~~     ---         ·--        •




     Ok thanks Steve.




     Ru coming to lab meeting?




     Starts at 4




                                                                                                                                                                               He'll no

                                                      / ~' r,r.                             l ,E          'cl            l




                                 . ~., J1         1           ..           .

                                                                                                      •



                                                                                                      Hey, are   you
                                                                                                                     .
                                                                                                                      working this
                                                                                                                                   -



                                                                                                                                    week?
                                                                                                                                               -   ,     I
                                                                                                                                                         .     .   I I    ~
                                                                                                                                                                                -
                                                                                              . .· • .     "" .·  - ~  - I,.     .·
                                                                                                ~._               .:.,                     :           -J-     ••._



                                                                                                  e r ,                  ~




     It's snow drizzling

                                            8 UO                       I                       ()e        f         l<l li'J<"




     What was that other shooting u were telling me about today? Not the
     Nordstrom one ...


                                                                                                                                                         Trahanas-NU002236
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 852 of 871 PageID #:2606




      My mom just got into a car accident- I need to go back home.




                                                                                                              Is she OK?




     ldk




                                                                                                OK ... Take care of stuff




                                                                                                     How is you r mom?

                                  ,'(',    .f       r, -~    Ir        r,


     Getting a CT- whip lash and a concussion.




     Has nausea and vomiting




                                                                                               Sorry, are you at Christ ?




     Yes.

                                                                            • ,'.'I   ..   •




     She should be ok

                                  :, J •   ), _,•   r ')    < 11   '         I




                                                                                                               -
                                                                                                    Trahanas~NU002237
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 853 of 871 PageID #:2607




     Thank u. I'll be at work tomorrow.




     Doesn't look like a neck fracture

                                    ,,    1 :-;




                                                   ,,' I   j...   I ~   1   l   I\   ...




                                                                                                        II
     She's talking she'll be ok

                              t r




     Sasha might not come in -although I already rented the machine- I'm
     going to try to do the injections w/ Carla and Salina if they have time
     today.



                                                                                           Trahanas-NU002238
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                                                                      ,,


     Get things moving and keep us on schedule.

                                                                                                                                    '        d




                                                                                                                                          , A~e you coming in today?
                                                                                                                                                ~              -       -   -




                                                                                                              )        '

     Yes. Car issues delayed me.


                     -~   -   -

                   Did you get my email? I've talked with HR about salary increase and
                ,_ need to discuss with you.

                                  ''.C   :2 2r 4      ('   1\ '       .:,\,1:                                         It           t,    ,,]'°) ,<




     Yes, I was going to talk to you.

                                              I(· ,          ""'..'        l'   t .~       'I.       '   ar                rral"'I        P...i<
                                                                                                                  -                                                .

                                                                                                         Are you taki~.9 vac~tion this week?
                                                                                                     -        .            .
                                                                                                         ) ..,,nf- , 1                  ,, -,        ... .._




     No. I'm at the doctors. I'm coming in after I'm done here.

                                         23                                                                                 I ,.    •               -I   ~




     I'm assuming one of the cards on my desk is from u. Not sure if said
     you will be in lab tom or not. I won't open it until Xmas, but Thank You!

                                                                                       <         L                             ',        .
                                                                                                                                                                               Game Time!!




                                                                                                                                                                       Trahanas-NU002239
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 855 of 871 PageID #:2609




     They've been doing well! Hope it's a good game




                                                                      0'     ,, e ra   i ,,



     If only they got paid based on performance

                               a      4   L.f/! ... ,    ."J6        ll'



                                      Please confi rm meeting in my office at 8 :15 tomorrow

                             .,,




                            ··-~-Pl~~s;
                            I-• '•-   · ~ ·~
                                                ~i~; i~ ~t~- my office number now. 312-695-3903
                                                        __:_ • - -   -•• -


                                                                                              Trahanas-NU002240
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 856 of 871 PageID #:2610




     I've printed out the performance plan twice but there is no numbering
     on it. Do u just want me to sign it and scan u that page?




                                                                                   Yes please




     Ok.




     I Sent it to both your gmail and northwestern.

                                                               ., <




     Ok.
                                          t   .,                      1 '
                                                                                     -
               Great. I have M&M, a meeting with Harris, and another meeting with
               HR, so I will check in with you later t his AM to map out our plans for the
               next few weeks . I submitted your salary increase request this AM.
               Please put a reminder on your ca lend_ar for a quarterly review April 1st




     I will be going down with Funien for Clodronate injections between
     12-3- whenever she picks up the macjine.

                                                       )   .
     Machine




                                                                            Trahanas-NU002241
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 857 of 871 PageID #:2611



                                                          '       ~ '   ~-
                                                         '~~~~
                                                            Trying·to get
                                                         ~,n-,"'"!..,,,··-::i -;- i11~ fingerprinted     .. . Taking ·forever
                                                                                       1.~ •. , __. ~ - .. .l L•_JI     · : __ .. ,
                                                              I   •          •.• ~ . . .                     ~LIi&=:.----= _   •· -   ---


                                                                                           'c'




     It shouldn't. How many people are there?

                                                                  ('         ·   ' d lt!         d 1a ld

                                                                  ~




                                                                       Cover of Shock!!! That's pretty badass ...
                                                                  '•
                                                                  -,    -
                                                                        L




     That's great for all of us!!




                                                                                                             Issue will come out 2/15




     I will fix the color letter figure thing when I get home on my computer.
     I'll login to the work Mac and fix it.

                                    )   ,._ (   I   ~I                               ;,,          C, I




     That seemed so far away, and it's just around the corner now. Pretty
     cool




                   Are you going to be able to show Harris and me the data at our 10:30
                   meeting?




     I think so.

                                                                                 (   it      r     a ,-...


                                                                                                                           Come now


                                                                                                                  Trahanas-NU002242
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 858 of 871 PageID #:2612




                                                                                                                                                           Come now, Harris' office




     Clodronate worked for 24 he experiment we just did. Facial bleeds
     show no monocytes 24 hrs after injection and right before injury. The
     monocytes develop into similar pattern as the 48 hr thing we saw.

                                                                f,, ' 0 •                   ~    1.             •   1ne                           •7
                           _.,~II             i'            .             .     _-           L                 \,--·                ---;-.--           -    I._.·


                           . Huh.~·-Hop~fy,lly Sasha can he!p us -figure !his out tomorrow
                            H·1'...:__   ~a,:_                     :, -         ~ -       •~;::: -- -- • -: •                         ..,   >~   -~-   -   -•---- _'_    ~""t.:




                                                        h          (      c._         Q               ('                ;:,



     Yea.

                                                    ;;r1~                        '1                   '    '        ,   ·")    .,:




     Harris is forcing us to go to this lecture in Lurie. I'll be back at 1.

                                                    /              ·(.,




     :(
                                   •; ,,            I            ·r 1'          ' , ,,                                                                                            -
                                                   :•7


     Sasha thinks we should hold off on the 24 hr experiment this week.
     Run the naive mice blood first -25,48,72 hrs.

                                                                                                                              J('     J -    I




     I'm about to give injections, but I don't want to wait but more so not
     waste mice. sou tell me what you want.

                                         ,1         l 20 S ·.


     Do we have enough for this weeks abstract?


                                                                                                                                                                        Trahanas-NU002243
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 859 of 871 PageID #:2613




                                                                                                                                                 Let's do it all




     Ok cool. On it.




     Were u going to stop by and look through the data from data?

                                                                                                                        ,          ,
                                    -                         .                                            -




                           . ~.u st el7'.1ajl the.prism and l'll ·call your cell tomorrow to talk
                            .   .       .   ,· .     .                      -    ~-   -   ~          .,_                    .




     Ok cool




     I'm just going to come in after my dentist appointment. I have stuff set
     up- but it's going to be a hurdle without us collaborating next to each
     other.

                                ,:.Jf' l':J,       ( 15,               1/       ~:VI to fl• ne                     !   ra,iano~


                                K... Let's knock it out and get you out for a long weekend

                                                                  ,J                  C    .....,,         (Ji              cl 1




     Yea that's cool. Np

                                               20 1      ,;   10 17             r'    t'' [J!,        r,n '             a 1 a·1c,
                                                                                                               -                       -

                                                              Big D... What time do you think you will get in?




     I should be done by 11:30- are u taking lunch at noon?



                                                                                                                                           Trahanas-N U002244
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 860 of 871 PageID #:2614




                                   ,,-,         t ,       ,C       '                           )   "-           <"I




                   Whenever... We can do a work lunch at our desks if it speeds up the
                   process and us getting out of here

                                                      :J               .   n           d   P




     Are we focusing on blood and brain data for this abstract?




                               ..,?f                  ..,      M. I        •   •   (




                 Only a few hundred words so probably just one set of data. Whatever
                                                                                               .,.., •'"1         d ..
                                                                                                                                         •
                 is most interesting




     Yea, ok that sounds good

                              .~     ..   )\.



     Ok. Looking like the 48 hr stuff.

                                                      4        '                                        ~   I         •   l




     I do like how cool their tools look.




                                                                                                                              Trahanas-NU002245
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                                                        h
                                                                    .   .   .            .                               ~
                                                                                                                                     .

                                                                        Are you doing irradiator training today ?
                                                                                  .                                                                   .

                                                ,l(l,       •       r       , I




     Today is the day off from working overtime last week. So next one .

                               .• , ,            ! J 1:-,       1




                Please make sure you are at next session so that we can start building
                the BM chimeras--- I'm doing the training today

                              pl·.,     l        ' •£"


     Ok I'll confirm the reservation with Joe today.

                                 e          f
                                                                                      1 ......   j   -·   ..   -,.""=

                                                                                             Ar~ we ·m~eting with Harris today?
                                                                                             a_      -          - -     ------




                                                                                                                                 T rahanas-NU002246
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 862 of 871 PageID #:2616




     He changed the time last week and hasnt confirmed this week. I will be
     staying home sick today. The presentation is on the big Mac's desktop,
     if u wanted to look at it.

                                    (·




                                                       Are you OK? Can you call me?




                                                                   Trahanas-NU002247
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 863 of 871 PageID #:2617




                        EXHIBIT B
                        DEP. EX. 24
                Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 864 of 871 PageID #:2618


                    ~ -✓·',
                    t. _ .I


        rwd: D. Trahanas Update

        Steven J Schwulst <s-schwufst@northwestern.edu>                                                                                              Wed, Feb 4, 2015 at 10:02 AM
        To: Diane Trahanas <Diane.Trahanas@gmail.com>

         Diane,

         See below, your raise was approved retroactive to 1/19/15. Abouta 6 grand raise. Congratulations!

         Steve

        Steven J. Schwulst, MD, FACS
        Assistant Professor of Surgery
        Northwestern University
        Department of Surgery
        Trauma and Critical Care
        676 N. St. Clair St., Suite 650
        Chicago, IL 60611
        Office Phone (312) 695-3903
        Lab Phone (3i2) 503-626J
        Fax· (312) 695-3644


        ""egin forwarded message:


                From: "Burke, Heather" <hburke@nrri.org>
                Subject: D. Trahanas Update
                Date: February 4, 2015 9:48:11 AM CST
                To: "Schwulst, Ste 1 'en" <SSCHVVULS@nrn.org>
                Cc: "Rufer, Rachel' <:rufer@nm.org>, "Scarpelli, Chris" <Csca1·pe!@nm.org>,
                "Rufer, Rachel1' <ri ui,::r·@nm.org>

                Hi Dr. Schwulst,

               i'm writing to update you on the salary increase request for Diane Trahanas. NU approved
               the increase and this change has been entered into the payroll system with an effective
               date of 0l/19/2015.

               Please let me know if you have any questions.

               Thanks,                                                                                                                                                EXHIBff
               Heather



It~.,    ,e11I -~~oogle. corn/ma1 l/u/01? ut=~ 2 & 1k~ t G84 cec2.24&v!e1,v::c:pt & __ 14~;5552-d00e8e1 dt>&.s:r-nk 14 tJ5:5S:~d00e8e ·1 dS&s lf:1!:::: l L b5 7663oebt1cJ967   Page 1 of 2'




                                                                                                                                                                      Trahanas 43
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                  Heather Burke
                  Manager of Professional Affairs
                  Department of Surgery
                  Northwestern Medical Group

                 251 E. Huron Street, Gaiter 3-150
                 Chicago, Illinois 60611
                 312.926.6512 office
                 hburke@DlILQI9
                 nm.org




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    Diane Trahanas <diane.rrahanas@gmail.com> ·                                                                             Wed, Feb 4, 2015 at 7:41 PM
         Steven J Schwulst <s-schwulst@northwestern.edu>

       Thank You Steve. I very much appreciate it.

      Sincerely,

      Diane
      [Quoted text hidden)


      Diane M. Trahanas
     Northwestern University
     Feinberg School of Medicine
     Division of Trauma and Critical Care
     Department of Surgery
     240 E. Huron St
     McGaw Pavillion M360f
     Chicago, IL 60611
     Lab: 312.503 6260




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                                                                                                                                        Trahanas 44
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                        EXHIBIT B
                        DEP. EX. 26
      Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 867 of 871 PageID #:2621




         From:           Diane Trahanas
         To:             Rana Saber
         Cc:             Steven Schwulst
         Subject:        Re: this seems right up your alley
         Date:           Friday, March 1, 2013 1:34:51 PM


         im offended b/c in no way do i want to be associated with Lebron.
         but i could see the basketball connection. lol

         On Fri, Mar l, 2013 at 1:20 PM, Rana Saber <ranasaber@gmail.com> wrote:
          http://www.youtube.com/watch?v=Ir2TdfSwH8g




         Diane M. Trahanas
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         Lab: 312.503.6260




                                                                                   '      EXHIBIT
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CONFIDENTIAL                                                                           Trahanas-NU010187
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 868 of 871 PageID #:2622




                        EXHIBIT B
                        DEP. EX. 27
      Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 869 of 871 PageID #:2623




          From:          Diane Trahanas
          To:            Steven Schwulst
          Subject:       football in basketball
          Date:          Monday, March 25, 2013 10:17:37 AM


          http://www.youtube.com/watch?y=sSX-A WViw60


          Diane M. Trahanas
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          Feinberg School of Medicine
          Division of Trauma and Critical Care
          Department of Surgery
          240 E. Huron St
          McGaw Pavillion M360f
          Chicago, IL 60611
          Lab: 312.503.6260




                                                                           '     EXHIBIT
                                                                           I      z7
                                                                           lv-~s       ,/sltB
CONFIDENTIAL                                                                   Trahanas-NU010259
Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 870 of 871 PageID #:2624




                        EXHIBIT B
                        DEP. EX. 28
      Case: 1:15-cv-11192 Document #: 104-2 Filed: 07/19/19 Page 871 of 871 PageID #:2625




         From:            Diane Trahanas
         To:              Steven Schwulst
         Subject:         millenial selfie
         Date:            Wednesday, April 16, 2014 2:37:45 PM


         https://www.youtube.com/watch?v=SuyG-11kNow

         millennial written all over this

         Diane M. Trahanas
         Northwestern University
         Feinberg School of Medicine
         Division of Trauma and Critical Care
         Department of Surgery
         240 E. Huron St
         McGaw Pavillion M360f
         Chicago, IL 60611
         Lab: 312.503.6260




                                                                            f      EXHIBIT

                                                                            I       26
                                                                           ~s            1/s/Je
CONFIDENTIAL                                                                    Trahanas-NU010267
